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      EXHIBIT 1
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                          DECLARATION OF KATHLEEN NOLAN

                                PURSUANT TO 28 U.S.C. § 1746

        I, Kathleen Nolan, have personal knowledge of the following facts and matters discussed

in this declaration and, if called as a witness, could and would testify to the facts stated in this

declaration.

1.      I am a citizen of the United States and am over eighteen (18) years of age. I am a Federal

Trade Investigator (Investigator) for the Federal Trade Commission (FTC). I am assigned to the

Division of Financial Practices of the FTC’s Bureau of Consumer Protection. My work address

is 600 Pennsylvania Avenue, NW, Mail Stop CC-10232, Washington, DC 20580.

2.      I have been an investigator with the FTC since March 2014 and prior to joining the FTC

was an investigator at the U.S. Department of Labor, Office of Labor-Management Standards,

for eight years. I have been a Certified Fraud Examiner (CFE) since November 2015. The CFE

is a certification awarded by the Association of Certified Fraud Examiners. To become a CFE, I

had to pass an exam which tested four subject areas: (1) fraud prevention and deterrence;

(2) fraudulent financial transactions; (3) fraud investigations; and (4) legal elements of fraud.

3.      In May 2017, I was assigned to the iBackpack of Texas, LLC (iBackpack) investigation.

The investigation concerned four crowdfunding campaigns for a high-tech backpack and other

products that Douglas Monahan and his entity, iBackPack of Texas, LLC, offered on Kickstarter

and Indiegogo. The first campaign launched in August 2015, but at the time the FTC opened the

investigation, no consumers appeared to have received their products and Monahan appeared to

have cut off all communication with his backers. It was my job to obtain evidence bearing on

whether iBackPack of Texas, LLC, and Douglas Monahan violated Section 5 of the FTC Act. I

took investigative steps that included (1) obtaining corporate filings; (2) capturing the iBackpack
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crowdfunding webpages; (3) contacting consumers who backed the campaign; (4) reviewing

Civil Investigative Demand (CID) responses; and (5) conducting a financial analysis of relevant

bank account and financial records.

                                       Corporate Filings

4.      Attachment A is a true and correct copy of the Certificate of Formation for iBackpack of

Texas, LLC, which I obtained from the Office of the Secretary of State of Texas. The company

was formed on June 19, 2015. Doug Monahan is listed as the sole manager with an address of

100 Congress Avenue, Suite 2000, Austin, TX 78701.

5.      Attachment B is a true and correct copy of the Texas Franchise Tax Public Information

Report for iBackpack of Texas, LLC, which I obtained from the Texas Comptroller of Public

Accounts. Monahan is the sole member listed on the form with an address of 4500 Steiner

Ranch Blvd #1106, Austin, TX 78732.

                                       Website Captures

6.      I captured the terms of use from the websites of Indiegogo and Kickstarter in the FTC

Internet Lab using Adobe. Attachment C is a true and correct copy of Indiegogo’s terms of use.

Attachment D is a true and correct copy of Kickstarter’s terms of use.

7.      I captured images of the four crowdfunding campaigns in the FTC Internet Lab using

Snagit, a screen capture software program. Attachment E is the images I captured from the

“iBackpack” campaign on Indiegogo. Attachment F is the images from the “iBackpack 2.0”

campaign on Kickstarter. Attachment G is the images from the “MOJO” campaign on

Indiegogo. Attachment H is the images from the “POW” campaign on Indiegogo.

8.      I captured images of updates that were posted to the four crowdfunding campaign pages

in the FTC Internet Lab using Adobe. The updates posted to the “iBackPack” campaign page are
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included as Attachment I. The updates posted to the “iBackpack 2.0” campaign page are

included as Attachment J. The updates posted to the “MOJO” campaign page are included as

Attachment K. The updates posted to the “POW” campaign page are included as

Attachment L.

9.       I captured images of LinkedIn or MyOpportunity.com profiles for ten individuals or

businesses who received payments from accounts associated with the crowdfunding campaigns

in the FTC Internet Lab using Snagit. Attachment M is a copy of those profiles.

                                           Complaints

10.      I searched Consumer Sentinel, which is a secure, password-protected complaint database

designed to allow law enforcement and consumer protection groups to share data about fraud, for

complaints related to the crowdfunding campaigns. Consumer Sentinel contains millions of

fraud and identity theft complaints and is accessible to more than 2,000 agencies worldwide. I

located 18 relevant complaints. I downloaded the consumers’ stories into a spreadsheet and

attached them to this declaration as Attachment N. To highlight some of their comments,

consumers reported the following:

            •   The company continues to promise a perk for a pledge without ever delivering a
                product. It is like the modern version of the bait and switch. They are talking
                about a ‘3.0’ version when they never delivered on the ‘1.0.’ I requested a refund
                from the company however, the owner stated they will not ever give refunds.
                Period. All I wanted was my money back.

            •   I received a notice that my pledge on indiegogo was refunded. The problem is it
                wasn’t refunded directly, but rather was marked as “refunded to indiegogo.” I
                didn’t receive any refund, though. By marking my pledge as refunded, I can’t
                post any questions, so effective it silences me on the crowdfunding site. I’m fine
                with this, but I’m not fine with not actually being refunded.

            •   Supported an indiegogo campaign which seemed to be promising, but turned out
                to be a fraud. The company website is now shut off and also the facebook profile
                of it was deleted. I never received any goods or services for my pledged amount,
                and suddenly 2 months ago, all contact stopped.
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            •   Project was funded back in 2015 with a delivery in 2016. Fast forward to now, its
                been almost 2 years and still no products have been shipped and the
                founders/employees of said company can not be contacted as it seems the email
                address doesn’t exist anymore as does the parent website.

11.      As part of the FTC’s investigation, a CID was sent to Indiegogo. As part of its CID

response, Indiegogo provided a log of comments that were posted to the comments section of the

“iBackPack” campaign page. The log has 3,515 entries. A copy of the comments log is attached

hereto as Attachment O. Many of the later entries appear to be from consumers who backed the

campaign expressing concerns that they have been ripped off. For example, on April 25, 2017,

one consumer posted the following:

         You know what Doug? Did you even place the final bag order at all? We need hard
         evidence proof that you placed the last bag order and without that proof, we have high
         evidence that you have played us all and scammed us from the beginning. Have I hit the
         nail on the dot sir?

On May 4, 2017, the following comment was posted:

         Have you noticed that for every project Doug Monahan has on IGG, backers haven't
         received anything and are asking for refunds? . . .

On May 19, 2017, the following comment was posted:

         Haha wow what a scam. Someone needs to track down this dude.

12.      As part of its CID response, Indiegogo also produced a log of emails that it received from

consumers about the “iBackPack” campaign and that it sent in response. The log has 1,391

entries. Many of the entries are consumers complaining that they do not believe that they will

receive their campaigns products or expressing their belief that the campaign is fraudulent. One

consumer sent Indiegogo the following on May 22, 2017:

         I have attached my order information. The estimated shipping date says March 2016. So
         now it has been a year. I have tried contacting the campaign manager a few times and
         have had no luck. What do I do next? I am now really concerned about my backpack.
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         I received a response about checking the FAQ, but I have not found anything. Can I just
         please have an estimated delivery date. As you can see by the info I have provided it is
         way past the date. I have tried to contact the campaign manager a few times and have not
         received any reply. Is there any info at all you can give me? Can you please just help
         me? Is there anyone else that I should be contacting so that I can get an actual answer? I
         am really concerned about this matter. Please and Thank you.

13.      As part of its CID response, Indiegogo provided a list of all the “iBackpack” campaign

backers and their email addresses in its CID response. I reached out to 82 of them to see if

anyone ever received the product; 72 consumers emailed me back. The 72 consumers who

responded all stated that they had not received their backpacks.

14.      As part of its CID response, Indiegogo also provided copies of its communications with

Monahan. A copy of certain of these communications is attached hereto as Attachment P.

15.      As part of the FTC’s investigation, a CID was sent to Kickstarter. In its CID response,

Kickstarter produced copies of complaints that it received about the crowdfunding campaigns.

Those complaints are attached hereto as Attachment Q. One consumer sent Kickstarter the

following on January 8, 2017:

                 iBackpack and its founder, Doug Monahan, has scammed hundreds of thousands
         $$$ through IndieGoGo and Kickstarter. The campaigns started back in 2015. I was an
         original supporter who “invested” in the iBackpack back in March 2015. In the
         beginning, there would literally be dozens of e-mails per month from them discussing all
         of the exciting features the iBackpack would have. Then promises of shipping dates that
         would then get delayed. I received e-mails on at least three separate occasions asking me
         to give them my shipping address in a ruse to make me think I was about to receive my
         iBackpack. But nothing ever arrived. There were upgrade offers and BOGO offers. It
         all seemed quite legit except they never fulfilled their promise of sending project
         investors a backpack. Then, during 2016, the volume and frequency of e-mail updates
         slowed until, in late 2016, they stopped. Now, when you go to their website, it links to
         some outdated website for a company called “Daybreak”, and when you send an email to
         their contact e-mail of info@backpack.mobi, it kicks back as undeliverable. So, we
         appear to be victims of this Doug Monahan guy who gets people to invest in his stupid
         ideas and then walks with their money. Anyways, beware of iBackpack and Doug
         Monahan. Do not invest in or tryst anything that Doug Monahan is associated with. You
         will lose your money.
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                                         CID Responses

16.      Stripe is an online payment processor for internet businesses. The company processes

payments for both Kickstarter and Indiegogo. As part of the FTC’s investigation, a CID was sent

to Stripe. Through its CID response, Stripe confirmed that it processed payments for these

crowdfunding campaigns. A document that identifies basic information about Stripe’s

relationship to the crowdfunding campaigns, provided as part of Stripe’s CID response, appears

as Attachment R.

17.      For the Kickstarter account, Stripe’s CID response listed Monahan as the contact and the

address listed is Monahan’s then-home address: 4500 Steiner Ranch Blvd., Austin, TX 78732.

Stripe’s CID response stated that payments were to be sent to an account at PlainsCapital Bank

ending in 4587.

18.      For the Indiegogo account, Stripe’s CID response listed Monahan as the contact and the

address listed is 4500 Steiner Ranch Blvd, Suite 1106, Austin, TX 78732. Stripe’s CID response

stated that payments were to be sent an account to PlainsCapital Bank ending in 4587.

19.      As part of the FTC’s investigation, a CID was sent to PayPal Holdings, Inc. (“PayPal”),

which produced documents in response to the FTC’s CID. PayPal’s CID response indicated that

Monahan has a PayPal business account that had been associated with various entity names.

From the records produced in PayPal’s CID response, I confirmed that Monahan had iBackPack,

4500 Steiner Ranch Blvd. #1106, Austin, TX 78732 added as an address on this account on

August 28, 2016. The records included in PayPal’s CID response also reflected that a

PlainsCapital Bank account ending in 4587 in the name of iBackPack had been linked to this

PayPal business account. A document that identifies basic information about PayPal’s
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relationship to the crowdfunding campaigns, provided as part of PayPal’s CID response, appears

as Attachment S.

20.      As part of the FTC’s investigation, a CID was sent to PlainsCapital Bank, which

provided documents in response to the FTC’s CID. PlainsCapital Bank’s CID response included

information about the account ending in 4587 identified in Stripe’s CID response. A copy of the

signature card for this account is attached hereto along with other bank account records as

Attachment T. The account is in the name of iBackpack of Texas, LLC. Doug Monahan signed

the signature card and is the only signatory listed on the form. The signature card notes

Monahan opened the account on August 12, 2015. In addition to the signature card, attached are

copies of transfers, a cashier’s check, and a monthly statement regarding particular transactions.

                                       Financial Analysis

21.      Of the funds obtained through the crowdfunding campaigns, $519,640.40 was deposited

in the PlainsCapital Bank account ending in 4587 and $230,766.81 was deposited directly to

Monahan’s PayPal account. Other amounts that were paid by consumers that did not arrive in

either of these accounts went to transaction fees and charges connected with Indiegogo,

Kickstarter, Stripe, or PayPal.

                             PlainsCapital Account Ending in 4587

22.      The majority of crowdfunding money Monahan raised for iBackpack was deposited into

iBackpack’s PlainsCapital business account ending in 4587. The account opened on August 12,

2015, and closed on February 15, 2017. In total, over the life of the account, $884,572.97 was

deposited into the account, although the account balance at any given moment was never that

high. I broke the money deposited into the account into five categories based on its source:

(i) deposits from the four crowdfunding campaigns, (ii) deposits from accounts in the names of
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other entities owned by Monahan (Daybreak and GeoApps), (iii) deposits from accounts in

Monahan’s name, (iv) refunds/credit adjustments, and (v) unknown sources.

Crowdfunding (Kickstarter and Indiegogo)            $519,640.40

Daybreak/GeoApps                                    $200,000.00

Monahan (wires, electronic transfers, deposits)     $129,280.51

Refunds/Account Adjustments                         $22,756.46

Unknown (wires, transfer, credit memo)              $12,895.60



23.       I reviewed the account for instances in which Monahan appeared to be converting funds

to his personal use. As described below, I identified the following totals:

      •   $97,391.24 in personal credit card payments

      •   $66,161.00 in ATM Withdrawals

      •   $48,281.50 in Bitcoin from Coinbase.com

      •   $69,159.55 in debit card payments for restaurants, liquor store purchases, groceries,

          dental expenses, etc.

24.       I used the computer software program Comprehensive Financial Investigative Solution

(CFIS) to scan the pdf bank statements provided by PlainsCapital and group the transactions

based on debit item description. The payments Monahan made to his personal credit cards

appeared on the bank statements as AC CARDMEMBER SERV WEB PAYMENT, ACH

DEBIT CARDMEMBER SERV ELECT PAYMENT, AC-CARDMEMBER SERV – ELECT

PAYMENT, and USAA CREDIT CARD. In total, those payments equaled out to $97,391.24.

25.       The money Monahan withdrew from ATMs appeared on the bank statements as

WITHDRAWAL DDA or ATM WITHDRAWAL OTHER CASH WITHDRAWAL and the
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location description. A breakdown of the total ATM withdrawals Monahan made, grouped on

the basis of location description, is attached hereto as Attachment U.

26.    Monahan used the PlainsCapital debit card to purchase Bitcoin from Coinbase.com. The

transactions appeared on the bank statements as AC COINBASE.COM/BTC or ACH DEBIT

COINBASE.COM/BTC. In total, Monahan bought $48,281.50 of Bitcoin on Coinbase.com.

27.    Monahan used the PlainsCapital debit card to pay for goods or services at grocery stores,

liquor stores, restaurants, the dentist’s office, dry cleaners, etc. A breakdown of those debit card

purchases by vendor is attached hereto as Attachment V.

28.    From the PlainsCapital account, Monahan made one wire transfer for $150,000 to an

account at USAA Federal Savings Bank ending in 4644 in the name of his mother, Arleta Keith,

on May 18, 2016, and a second wire transfer, this time for $125,000, to the same USAA account

on May 19, 2016. Monahan also made two $5,000 electronic transfers, one on October 15, 2015,

and one on May 6, 2016, out of iBackpack’s PlainsCapital account to a USAA bank account in

his name. Monahan had a cashier’s check made to close out the account on February 15, 2017

for $1,941.75. These transactions total $286,941.75 withdrawn from the PlainsCapital account.

These records were all included with the PlainsCapital signature card in Attachment S.

                                    Marketing Expenditures

29.    As part of my review of financial records, I also identified numerous expenditures that

appeared to be marketing efforts in an attempt to solicit more campaign contributions.

30.    One step I took involved identified three companies that received payments that clearly

would have performed a marketing role: Facebook; Psynapsis.net LLC, a digital marketing

agency; and INEWSWIRE, a press release distribution company. Payments to these companies

totaled $59,083.63.
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31.    Another step that I took to identity funds spent on such marketing efforts was to identify

other individuals or entities who received payments from the PlainsCapital account and PayPal

account who would have performed a marketing role. I identified two such individuals as

follows: one, Ile Jugovski, was identified by Monahan as “VP of Marketing” in a

communication provided in Indiegogo’s CID response; the other, Haley Felchak, has stated in a

sworn declaration that her duties chiefly involved conducting promotional webinars and making

sales calls. In addition, I reviewed the publicly-available LinkedIn or MyOpportunity.com

profiles for ten individuals or businesses who received payments from the PlainsCapital account

and PayPal account. Those profiles, which appear at Attachment M, reveal that those

individuals worked directly in sales calls or in promotional roles (such as social media, video

editing, or web design).

32.    I calculated the payments made to each of these twelve individuals and entities, which are

reflected at Attachment W. These payments total $133,644.06.

33.    In addition, I identified numerous contributions made to other crowdfunding campaigns.

Using his Plains Capital debit card Monahan made 136 contributions to Kickstarter campaigns

totaling $1,397.26 in mostly $1.00 charges. From complaints that other campaign operators had

registered with Kickstarter—for example, Attachment Q, page 17—I learned that Monahan

made these small dollar contributions so he could then email other campaign operators, often

asking to exchange customer lists in violation of Kickstarter’s terms of use. (Kickstarter does

not offer a general option to email a crowdfunding page; a backer has to first make a contribution

to the crowdfunding project before Kickstarter will provide the project’s contact information.)

For this reason, I concluded that these expenditures were for marketing purposes rather than

purposes of creating and providing products. Monahan also made small dollar contributions to
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                                        Explore              For Entrepreneurs    Start a Campaign         Sign Up        Log In




     •   Home
     •   Explore
     •   For Entrepreneurs
     •   Equity Offerings
     •   Start a Campaign
     •   Log In or Sign Up




                                                                                 Let us know if you think this campaign
                                                                                 contains prohibited content.


                                                                                 Sign Up for Inspiration

                                                                                  Sign Up Now
                                                                                 Private, secure, spam-free
                                                                                 Follow us




  Closed

  iBackPack - WiFi, Ultra-Thin &
  Powerful Batteries
  WiFi, Many Batteries, 16 USB Ports, Bulletproof, Car and
  Wall Charger, High-Tech USB Cables + More


            Doug Monahan
            Austin, United States
            About



  $720,965 USD total funds raised
  890% funded on October 14, 2015




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2                     8/30/2017
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  OVERVIEW                        PHONES & ACCESSORIES PRODUCTION


  The iBackPack has the capability to hold all of your electronics. There is a optional
  built-in WiFi connection and batteries galore. It includes a 20,000 mAh primary,
  8,000 mAh secondary and a half a dozen other batteries that ensure your
  electronics are constantly charged.
    ఙ                                                                            చ


         STORY UPDATES (54) COMMENTS (3,692)

           BACKERS (4,034)




               posted by Doug Monahan                                6 months ago
               Mar 1, 2017 • 6:43PM




      Dear iBackPackers :


      We thought we would provide you an update regarding
      the latest developments. As you know, Lithium iOn
      batteries are still quite a dangerous item on the market.
      Toward our efforts of finding a safe and reliable product,
      we are looking toward arranging appointments with
      battery bank manufacturers in China - specifically
      Shenzhen. It is critical for any products we release to be
      completely safe. There is no way we could have
      foreseen such a situation.


      For the skeptics, take it for what you wish, for the true
      backers, thank you all for your belief in our project.
      Hopefully, the technology will be released that is proven
      to be safe beyond any reasonable doubt. Once that
      happens, we will be able to determine the best steps
      toward ensuring all of the commitments made are

https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     fulfilled. There are many unforeseen situation in crowd-
     funding and this is one of them.


     Our hope is that once we have visited plants in China,
     receive assurances they batteries are safe and have
     them go through extensive tests - we will be able to
     address the delivery of same. No-one's life, or limb, is
     worth a backpack and for those who have written to just
     ship it and you will take the responsibility - that isn't the
     way the US courts work. The responsibility for safety
     always remains with the company that ships the product,
     regardless of any sort of indemnification that you, or any
     of the backers may sign.


     Sincerely,
     The IBackPack Team
     Los Angeles, California.




             posted by Doug Monahan                     7 months ago
             Feb 9, 2017 • 2:07PM




     Dear iBackPack Backers:




     As you may have noticed, there were some problems
     with our website. It was hacked. The great majority of
     the problems were fixed and the remaining are being
     worked on. You can access a landing page that was put
     up while the real site is being brought completely back to
     life.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     As you know, we have suffered set-back after set-back
     regarding the iBackPack project. The mishaps have all
     been in one way or another are related to the Lithium
     Ion issues. It has cost Samsung many billions of dollars
     and caused hundreds of vendors such as ourselves, as
     you as a backer issues.




     We went out of our way to create a first rate product in
     every sense of the word and are continuing to do so –
     despite all of the various issues and distractions. Many
     thanks to everybody who understand the situation. In a
     summary, the iBackPack project is continuing on. Our
     iBackPack was hand-made. We designed every single
     stitch, picked each zipper style and even the type of
     waterproofing the bag itself has. In short, the iBackPack
     is a superior product in every sense of the word and it
     will be shipped with updated and safe batteries as soon
     as that is possible. Hopefully, we will have a better idea
     regarding when this will be possible this Fall, 2017.




     BELOW ARE A COUPLE OF VIDEOS FOR YOU TO
     WATCH

     https://www.youtube.com/watch?v=0rjn5BC3EOQ - We
     expect to able to know more about the safety and
     stability of the Lithium iOn batteries by Fall of 2017. We
     will keep you informed as we know more. Your safety
     and security is of the tantamount interest.




     https://www.youtube.com/watch?v=qPYMrXcPNY8




     Sincerely,


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     IBackPack Team

     Austin, Texas, USA




             posted by Doug Monahan                    8 months ago
             Jan 11, 2017 • 8:46AM




     The iBackPack has not been cancelled. It will be
     delivered as soon as we feel the product is 100% safe.
     The anticipated delivery date is Fall, 2017. Should this
     date change we will let you know. We will be following
     up this email with numerous photos and videos of the
     product under production. You will be able to see first-
     hand that the iBackPack, and all of the components, has
     been built with the highest concern for quality and
     safety. We are not going to ship the a backpack without
     the electronic components – for that is not the
     iBackPack.

     Your contribution toward the iBackPack was not the only
     funding it received. Hundreds of thousands of dollars of
     the iBackPack of Texas, Inc. monies were invested prior
     to receiving any monies via any crowd-funding site. We
     would like to remind you, as a backer, you did not
     purchase any products.

     The exact wording on the Indiegogo Sites clearly states
     “By clicking 'Submit Payment', you acknowledge you are
     contributing to a work-in-progress and not making a
     direct purchase. Perks are managed by campaigners
     and cannot be guaranteed by Indiegogo. You also



https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     acknowledge and agree to our Terms of Use and
     Privacy Policy.

     We thank you for your pledge to support our iBackPack
     product. We will continue to provide best efforts to
     deliver any PERKS that were listed when you made your
     contribution. Should you have any additional questions
     about same you can visit the terms and conditions
     section of the Indiegogo website at
     https://www.indiegogo.com/about/terms/ /.

     Sincerely,

     The iBackPack Team




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             posted by Doug Monahan                    8 months ago
             Jan 11, 2017 • 3:58AM




     THIS IS ONE OF SEVERAL POSTS WE ARE GOING
     TO MAKE TODAY

     Dear iBackPack Backer:


https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     Thank you for your recent letter. We apologize for the
     delay in getting back in touch with you. Our team has
     been working night and day toward the identification of a
     new type of battery we can include with the iBackPack.
     Tantamount to our choice is your personal safety.If you
     have written multiple times, you should expect to receive
     multiple answers. As you know the iBackPack includes a
     large number of internal batteries. At the core of the
     iBackPack is the ability for it to connect to the Internet
     via an internal modem. The modem has an 8,000 mAh
     battery. Other batteries include multiple 3,000 mAh
     credit card style, 2,600 mAh lipstick tube cases,
     lamps/flashlights with 6,000mAh or 8,000 mAh capacity.
     The headsets have batteries in them. A special USB
     port was added to the iBackPack specifically for the
     purpose of recharging the massive quantity of batteries
     that come standard with the iBackPack. In short, the
     iBackPack is a virtual power house of energy.




     Unfortunately, Lithium-iOn batteries started catching fire
     beginning in April, 2016. The issue became so
     problematic that Amazon stopped shipping the Hover
     Boards all together. When we became aware of these
     issues we decided to shift to what we believed to be a
     much safer batter – one that was manufactured by one
     of the largest and most respected electronic
     manufacturer in the world – Samsung. While we were
     not happy about delaying the product until December,
     2016, we felt it was the safest route for our customers.




     September 17th, 2016 Samsung announced it would not
     doing a major recall for the Galaxy 7. Airlines have
     refused to accept these Lithium iOn batteries as cargo s
     and have taken the highly-unusual step of not allowing


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     passengers to carry the Samsung products on their
     planes. While we have not faced any issues with any of
     the many thousands of batteries we have shipped during
     our BETA phase of our technology, we are now on
     notice these products are potentially dangerous to both
     life and limb.




              posted by Hector Armenta                10 months ago
              Nov 14, 2016 • 7:51PM




     Regarding some of the comments that have been made
     about myself and our company I find it rather necessary
     to update the status of the project, the main reason of
     the delay stands on my decision of not shipping a
     product that could cause great physical harm and even
     death.

     Due the rising problems with battery systems catching
     fire, we did not mean to cause any delays, but the safety
     of our supporters. Unfortunately, this has resulted to a
     huge loss of money, time and effort. I can assure you
     that the decision was not easily made.

     Before we knew about the problems and fully
     understood the magnitude for the Lithium Ion fiasco, had
     anyone been harmed it would have been a tragedy, but

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     not an illegal act. Once an individual, or a corporation
     has knowledge that the product they are shipping might
     cause a death, result on legal liability

     We had originally planned on shipping the iBackPack in
     March of 2016. We had no indication there were any
     dangers to Lithium Ion batteries. We did know that the
     price of the batteries was suddenly jumping up 250%. At
     first, we thought the manufacturers were greedy. But,
     after searching the market, our suppliers were right and
     these batteries was suddenly shifting in weird ways. We
     absorbed the extra money and didn’t go back to our
     backers for additional donations, contributions.

     There were problems no doubt, and we were not able to
     ascertain the exact issue and I made the decision, as
     CEO of the company, that I wasn’t going to ship the
     iBackPack with batteries that possibly had major
     problems. Our backers were not happy thus we
     announced an updated planned shipment date of
     December, 2016. My thought process was that while 9
     months is a long-time to allow me the time to

     a) choose a safer battery

     b) get the battery manufactured

     c) get them to the USA in time for the December 2016
     promised shipment date.

     As promised, we have assembled a great deal of
     information regarding the iBackPack for you. We have
     discontinued taking orders for the iBackPack on the
     Indiegogo site. We are focusing now on completing all
     the pledges made in the campaign before taking any
     other orders for the iBackPack, or all of its individual
     components, via our website www.ibackpack.co.




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     Our channels of communication will be open to keep
     everybody updated and receive any questions you
     should have; I appreciate your interest and
     comprehension and kindly remind you to address any
     questions you may have to our Customer Service
     Account on Twitter @IbackpackHelp

     Doug Monahan




             posted by Hector Armenta                 10 months ago
             Nov 7, 2016 • 9:38AM




     Dear iBackers:

     As you may have noticed, it has been a couple of
     months since our last update. The reason for the lack of
     communication reason is that we have been working
     diligently toward ensuring the iBackPack’s that are
     shipped to you more than meet your expectations,
     regarding this, we have now a Customer Support
     account on Twitter, in which you can address all the
     questions, inquiries and doubts you may have and
     receive a timely response. Follow us at
     https://twitter.com/IbackpackHelp. We are going to
     respond any question you may have at this Twitter
     account. Posting questions on Facebook is now not the
     way to get any questions answered We do not have the


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     support staff to answer individual questions on multiple
     venues. Instead we will be watching very carefully the
     @IbackpackHelp during business hours Monday
     through Friday 9:00 AM to 6:00 PM. Any question asked
     during these hours it will answered within the hour –
     sooner if possible.

     In addition to this Twitter account, we will be posting all
     questions and answers to the FAQ section of the
     website https://ibackpack.co/faq/
     Beginning next week we are going to be aggressively
     working toward ensuring that every single question you
     may have is answered there.

     As you may remember, it was announced this summer
     that we expect to be shipping product in December. For
     those of you who forgot the situation that caused the
     great majority of the delay - 80% of it – it was the battery
     issue that we were facing – the batteries were failing
     and in some cases catching fire, it was extremely
     troubling to all of us at the iBackPack. The other 20%
     was because we had continued to make a tremendous
     number of changes to the bag – which we have still
     continued to enhance.

     We are sticking with our promise and going to be
     beginning our shipments toward the end of December –
     after Christmas but before New Years. We will provide
     much more information as it becomes available. We
     welcome any questions you may have via our Twitter
     account.

     We will also be posting a great many photos, videos and
     other materials similar to the way we used to. If you wish
     to not be on our mailing list – write Indiegogo and tell
     them to remove you from updates being delivered in the
     UPDATE SECTION. We believe they will remove you
     upon request. While some of the b


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     ackers complained about getting daily updates from our
     Founder and CEO – the great majority of the backers
     appreciated the personal time and attention he put forth.

     – Doug Monahan




             posted by Tracy Tran                     11 months ago
             Oct 7, 2016 • 2:08PM




     Follow up Update to Bruce Lim's Recent
     Message: please read this carefully and save this
     message as it will contain Links, documents, and
     instructions that you will need for future reference.

     This is Tracy Tran, and I was your former VP of sales,
     beta tester of iBackpack products and 5+1 wifi and 2.0
     upgrade backer. I am sending this follow-up message to
     clarify what Bruce Lim recently posted.

     What Bruce Lim was trying to say is that I recently took
     on a new career and business venture and it's taking
     over all my free time that I had allotted to volunteer my
     efforts here. I have officially handed over all my
     previously made tools that I personally created for
     iBackpack to streamline their processes and sales pro
     leads to Bruce, who is actually employed at iBackPack
     now. I was just a volunteer beta tester. I was going to
     help further by answering questions in iBackpack and
     such, but now that my own business venture is
     beginning to flourish, I need to channel my focus there
     to grow that, otherwise I would be spreading myself too
     thin. So I'm officially handing over all that I have to
     Bruce Lim since he is now officially employed with
     iBackpack. You might see me commenting something
     here and there as a regular backer, but I'm handing this


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     to Bruce Lim now and YOU will be in good hands. But
     don't worry guys, I have prompted Bruce on using my
     tools to guide you through, and since Bruce is also my
     friend I have also been guiding him myself for several
     months now in iBackpack with my deep knowledge of
     the product, so he does know A LOT.

     PLUS, what I will do for all the loyal backers NOW is that
     I'll give you explicit instructions and documents in this
     post update to reduce the
     confusion/questions: https://drive.google.com/file/d/0Bwa-
     dSjTnJQAME...

     PLEASE SAVE THIS EMAIL AND DOCUMENT
     ABOVE because it contains tools, links and
     iBackpack documents needed for future reference.

     Thanks,

     Tracy Tran

     (5+ 1 Wifi and 2.0 backer, Chemical Engineer, Tech
     enthusiast, Beta Tester of innovative products, and
     Entrepreneur)

     YouTube Channel where you can watch Tracy Tran
     test iBackpack and other innovative products:
      https://www.youtube.com/channel/UC_lpceUKEm5_ScRuY3SUMmw

     Link to iBackpack
     Campaign: https://igg.me/at/ibackpack/x/437720




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             posted by Bruce Lim                      11 months ago
             Oct 7, 2016 • 9:35AM




     Hi, my name is Bruce Lim Tracy has given me the sales
     pro leads. Tracy Tran will no longer be helping with
     iBackpack anymore. I officially work for iBackpack now. I
     will be the contact person distributing the leads to the
     appropriate sales pro backers. Everyone needs to fill out
     the contact form to expedite the processing of your
     order. Do to the popularity of the orange and blue/grey
     interior colors, we are pleased to offer you both colors
     https://goo.gl/forms/yS5UFlwWQMMxRNuf2




             posted by Tracy Tran                     11 months ago
             Oct 5, 2016 • 5:11PM




       SPECIAL NEWSLETTER FROM iBACKPACK BETA
                       TESTER TRACY TRAN!!


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     Contains Information about SALES PRO LEADS,
     INTERIOR/EXTERIOR FINAL COLOR of the
     iBackpack, Pictures of prototype iBackpacks,
     important information needed to process your order
     and MORE!!

     BOOKMARK AND SAVE THIS NEWSLETTER BELOW
     FOR REFERENCE!!

     Hi everyone! This is Tracy Tran and I was your former
     Vice President of Sales for iBackpack. I left about 1.5
     months ago on August 15, 2016 to pursue my personal
     and educational goals and to pursue other career and
     business opportunities. However, I've never stopped
     being involved with iBackpack as I'm still a passionate
     backer (5 +1 wifi and 2.0 upgrade) & heavily involved
     volunteer beta tester. My passion for iBackpack has
     lead me to still be in constant contact with the team and
     especially, CEO, Doug Monahan.

     Disclaimer: My knowledge for the iBackpack product line
     and the questions I can answer come from a deep
     understanding of the product as a beta tester and
     through formerly being employed at iBackpack. Since I
     am NOT currently employed with iBackpack, I might not
     know all of the answers to your questions, but I will try to
     the best of my abilities to make sure this campaign will
     move along smoothly and end successfully to the best of
     my abilities, and time available as a volunteer beta
     tester. Please make sure to bookmark this update as it
     will contain lots of things you will need to keep for
     reference. I told you guys that I was going to get on the
     racetrack and race until the end with you, and so here I
     am, doing that in a different light as a passionate
     volunteer beta tester!

     Link to the Newsletter:
     https://drive.google.com/file/d/0Bwa-dSjTnJQANm...


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     If you haven't pledged for an iBackpack yet you can do it
     here: https://igg.me/at/ibackpack/x/437720

     Warm Regards,

     iBackpack Beta Tester and 5+1 wifi and 2.0 upgrade
     backer, Tracy Tran




             posted by Bruce Lim                      11 months ago
             Sep 27, 2016 • 10:56PM




     The 1.0 - 2.0 Expansion Upgrade will expire October 1,
     2016. The retail price is $300 or 75% off. This a great


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     steal of a deal. I've got my Expansion Upgrade, do you
     have yours?




             posted by Charles Aguillon               11 months ago
             Sep 27, 2016 • 9:40PM




     Special update for our backers! We are pleased to show
     you iBackPack products in production now in China. We
     hope you are getting excited!!!




             posted by Bruce Lim                      11 months ago
             Sep 20, 2016 • 2:27PM




     Thinking about backing the iBackPack or upgrading to
     the 2.0? We will have another Q & A tomorrow Sept 21,
     2016 10AM Pacific time.

     www.ask.fm/iBackPackINC




             posted by Bruce Lim                      12 months ago
             Sep 12, 2016 • 6:13PM




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     Just to clarify about the optional $75.00 - 1.0 to 2.0
     expansion upgrade (perk). To prevent anymore
     confusion, the optional $75.00 - 1.0 to 2.0 expansion
     upgrade (perk) it upgrades both your bag and
     electronics to 2.0. This is separate from the bag you are
     purchasing. You will get everything (devices) that is
     mentioned in the 1.0 electronics (WiFi optional), and the
     bag.
     Read More




             posted by Bruce Lim                      12 months ago
             Sep 10, 2016 • 10:03AM




     We will be having another Askfm Q & A on September
     14th from 9a-9p central standard time. Thought about
     backing the iBackPack, but had questions that stopped
     you? Are you a current backer, and want to know about
     the progress of your iBackpack?
     Now is your time to ASK Come join our Q & A and ask
     anything!

     ask fm/iBackPackINC
     Read More




             posted by Bruce Lim                      12 months ago
             Sep 8, 2016 • 6:33PM




     The 1.0 to 2.0 Expansion Upgrade, for $75.00 which is
     deeply discounted at $75% off, will go away Oct. 1,
     2016. Please don't miss out on this exciting upgrade, as
     it will go away soon.

     Read More

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             posted by Bruce Lim                      12 months ago
             Sep 8, 2016 • 4:19PM




     Thank You to all who came out and posted a question
     on askfm. We will try to do one askfm Q & A every
     Wednesday, whenever possible. We ask that you come
     and join the Q & A, and ask anything you want
     pertaining to the iBackpack. Here is the link to our askfm
     Q & A: http://ask.fm/iBackPackINC. See you next time!

     Read More




             posted by Charles Aguillon                   1 year ago
             Aug 19, 2016 • 11:46PM




     LAST UPDATE FOR A WHILE!

     We are busy finalizing all the various components of the
     iBackPack ™ so we will be limiting future updates to
     focus on our work.

     Thank you to everyone who volunteered to be part of the
     iBackPack™ Beta team. We had over 500 people
     participate in the United States and internationally. We
     wished we could have gotten to everyone who applied,
     but we ran out of products to send out. Anyone who has
     not received a beta box as of today, was unfortunately
     not selected.



     We have officially closed the hardware phase of our
     beta program. Beta testers are still encouraged to post
     video reviews of our products on our Facebook page.


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     Our current version of the actual iBackPack™ bag is out
     in circulation across the world right now for us to receive
     feedback on. Designing the best bag for you is our top
     priority!



     This is your last chance to upgrade to the 2.0 hardware
     at https://igg.me/at/ibackpack/x/11766302

     Contact: info@ibackpack.co




             posted by Haley Felchak                      1 year ago
             Aug 17, 2016 • 2:02PM




     Good afternoon! Today at 1 and 7 pm, Hannah will be
     talking about our new TECH LIVE CHANNEL - TLC that
     will be coming soon! Tech Live Channel is a new show

https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     that features viewers and customers LIKE YOU that
     come on and discuss how awesome the iBackPack is,
     along with other AWESOME technology in the up and
     coming!

     Come hear about the world's most powerful battery. We
     love interacting with our customers and answering all
     your questions.

     https://global.gotomeeting.com/join/532830821




             posted by Charles Aguillon                   1 year ago
             Aug 17, 2016 • 9:46AM




     Hannah is on now!!
     https://global.gotomeeting.com/join/745519077 Check
     out the new feature we discovered with our USB port!




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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             posted by Charles Aguillon                   1 year ago
             Aug 16, 2016 • 7:38PM




     JOIN ME NOW!

     https://global.gotomeeting.com/join/877570357




     Read More




             posted by Charles Aguillon                   1 year ago
             Aug 16, 2016 • 7:31PM




     Hi everybody - Charles here. I am about to start a
     meeting where I will be showing off the new iBackPack
     that we just received.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     I welcome you to join the meeting and ask questions,
     see the latest and greatest technology changes
     including the new single port that we are going to be
     placing throughout the bag. We are going to be having
     guests in these presentations.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     The guests are going to be those who have a) created
     videos about their experience with the iBackPack
     technology , b) who have upgraded to 2.0 and c) have
     the wherewithal to do video type presentations.




     We are still looking for volunteers to assist with
     Facebook, Twitter, Instagram and other social media
     sites.

     Join me now for a great
     presentation. https://global.gotomeeting.com/join/877570357

https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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             posted by Haley Felchak                      1 year ago
             Aug 16, 2016 • 1:11PM




     Join Doug's new EA, Haley, in the discussion about
     our new innovative webcast, Tech Live Channel -
     TLC! She is live NOW!

     https://global.gotomeeting.com/join/745519077

     If you are a current BETA TESTER, now is your time to
     shine! We are looking for BETA TESTERS to join our
     webcast show. You would be talking about the
     iBackPack products you have received. We are excited
     to hear about your experience with us!

     Haley will be listening to any new ideas you guys might
     have for the new iBackPack we just received in the
     mail.

     See you soon!




             posted by Tracy Tran                         1 year ago
             Aug 15, 2016 • 2:28PM




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     I'm back from vacation so join me in a LIVE Goto
     Meeting NOW at:

     https://global.gotomeeting.com/join/450379989

     AGENDA:

     I currently have the 17-prototype, along with all the
     accessories to still do a full product demonstration as
     usual. I will be getting the new prototype iBackpack to
     demonstrate soon but I will be talking about new feature
     changes, progress of the iBackpack, and its new
     direction with Tech TV. If you have new suggestions or
     feedback to make the iBackPack better please voice
     them in this meeting as I will actively capture them and
     create another Google/Form or sheet. These
     suggestions will go directly to the engineering team for
     approval and if we like the idea, it will be incorporated
     into the prototypes and then eventually make it to the
     final product! I will also talk about the Bar/Uber business
     package and how that works.




     Reminder:

     Brought back by Popular Demand - the custom made
     50k mAh monolith battery and powerpack to wifi


https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     upgrade are still available:
      https://igg.me/at/ibackpack/x/437720

     We are looking for 20 people to receive the 1st 20 bags
     off of the assembly line - you would need to be ready,
     willing and able to do 3 to 12 presentation a week to
     show off the new bag technology. Write
     info@ibackpack.co or haley.felchak@ibackpack.mobi if
     you can do it.

     EVERYONE is STILL REQUIRED to fill out this
     Editable Contact Google Forms to expedite the
     processing of your order and minimize delay:

     https://goo.gl/forms/pFDA5EtwXrgl5ITf2

     Submit ANY Question to iBackpack to Our NEW and
     Improved Online FAQ:

     Note: You may also complete an interior
     iBackPack color survey on the FAQ Google Form as
     well.

     (We are working to answer each question that is
     recorded but please continue to still capture your
     questions on this form please. Thanks for your
     patience.)

     https://goo.gl/forms/NCxSyYcqyvaSBr3t2

     Here is a visual pie graph from the interior color
     survey:




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     Cast vote NOW in our Interior Color Survey at:
      https://goo.gl/forms/NCxSyYcqyvaSBr3t2

     We've been taking all of your suggestions & have been
     improving the iBackPack as seen in each prototype that
     we have created thus far. In the end, we will have a
     one-of-a kind innovative and technologically advanced
     iBackPack that you will be proud of owning and
     sharing: https://igg.me/at/ibackpack/x/437720




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     ***I'll be making a new sheet/form that captures all
     the changes/sugestions or advice that you give to
     us during the LIVE Goto meetings to improve the
     iBackpack.***

     Join me: https://global.gotomeeting.com/join/450379989




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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             posted by Haley Felchak                      1 year ago
             Aug 15, 2016 • 9:12AM




     Hannah is LIVE NOW! She will be telling you about all of
     the cool new updates, some EXCITING news for
     iBackPack and will be talking about the Beta Program!
     Also, there is a big surprise coming your way with our
     new Tech Live Channel! Join her now!
     https://global.gotomeeting.com/join/745519077

     Read More




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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             posted by Doug Monahan                       1 year ago
             Aug 14, 2016 • 12:46PM




     We are looking for 20 people to receive the 1st 20
     bags off of the assembly line - you would need to be
     ready, willing and able to do 3 to 12 presentation a
     week to show off the new bag technology. Write
     info@ibackpack.co or
     haley.felchak@ibackpack.mobi if you can do it.




     Notice the new compass we added and the new holes
     such that the battery cables can easily charge devices in
     other sleeves.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     Send us your phone number to info@ibackpack.co
      or to haley.felchak.mobi if you are interested.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     Notice we added a base to better protect the bag
     from the water. We are getting ready for the
     international BETA program - send your info with
     phone number to us at info@ibackpack.co if you are
     interested.




     The straps have been widened by a full half an inch.
     They make it easier to carry the bag as well as
     provide wider pockets for your cash and credit
     cards. Send info@ibackpack.co your phone and
     info if you are interested in doing same - meaning
     you would like to be part of our LIVE TECH TV
     SHOW that we are running three times a day - one at
     8 am, another at 12 pm and another at 4 pm - we


https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     want to have regular people as well as those who
     are excellent in front of a camera.




     If you look closely at the bag fabric you should be
     able to tell the difference. It is much stronger. The
     bag is made to last for a full twenty years. Write
     info@ibackpack.co if you are interested.




     Tracy Tran will be back tomorrow and leading at
     least one of the presentations each day - hopefully
     two on some days. write info@ibackpack.co if you
     would like to be one of the online air personalities.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     WE have replaced the flap at the bottom of the bag
     that held the mama battery so that we can have five
     of these ports scattered throughout the bag. The
     current prototype has one - but it will have five with
     the next prototype. write info@ibackpack.co




     This is one of the many batteries we are testing. It
     has 4k mAh - powerful enough to charge a couple of
     the iPhones and one iPad from a dead state. Write
     info@ibackpack.co if you are interested in being one
     of our presenters..




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     There is still plenty of room to hold multiple mama
     batteries in the bag - and we are providing all of the
     cables the presenters will need. write us at
     info@ibackpack.co is you are interested in being
     one of our on air personalities.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     We still have about one hundred of the iron man and
     captain america batteries that we are providing to
     those who pledge for the WIFI version + upgrade to
     2.0 within the next week.




     Charles. A went to Disn




             posted by Doug Monahan                       1 year ago
             Aug 13, 2016 • 8:37PM




     1. Please join my Webinar.
     https://global.gotowebinar.com/register/127618579


https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     we are trying out a new web software tool so the
     images may look bad - but these are the photos of
     the brand new bag we got yesterday




     Read More




             posted by Charles Aguillon                   1 year ago
             Aug 13, 2016 • 10:22AM




     Join Hannah this morning as she shares the latest with
     iBackPack!
     https://global.gotomeeting.com/join/745519077
     TWENTY NEW IBACKPACKS CAME IN YESTERDAY!
     IT IS THE LATEST VERSION OF THE BAG YOU
     HELPED BUILD! Who gets these bags? Glad you
     asked! We are looking for people who are willing to
     STAR in our new TECH LIVE CHANNEL show featuring
     Read More




             posted by iBackpack of Texas                 1 year ago
             Aug 12, 2016 • 10:12PM




     TWENTY NEW IBACKPACKS CAME IN TODAY! IT IS
     THE LATEST VERSION OF THE BAG YOU HELPED
     BUILD!

     Who gets these bags? Glad you asked! We are looking
     for people who are willing to STAR in our new TECH TV
     internet show featuring the latest in emerging
     technologies. Come meet other tech enthusiasts and
     leaders in the industry who will showcase their products!
     Read More


https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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             posted by Haley Felchak                      1 year ago
             Aug 12, 2016 • 9:32AM




     Come join Hannah at her LIVE WEBCAST now! She
     has a HUGE surprise for everyone today! Also, learn
     EVERYTHING you want to know about iBackPack and
     it’s new features we have just added. She will be
     discussing the beta program requirements for all of
     those who are looking to join:
     https://global.gotomeeting.com/join/745519077


     Read More




             posted by Doug Monahan                       1 year ago
             Aug 11, 2016 • 10:41PM




     TWENTY NEW PROTOTYPES SHOWING UP
     TOMORROW - we are distributing these to people who
     are willing to join in on our Tech Review where we are
     featuring new technology and reviews with a specific
     focus on mobile tech.




     One of the wireless chargers we are evaluating and will
     Read More




             posted by Haley Felchak                      1 year ago
             Aug 11, 2016 • 9:28AM




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     Read More




             posted by iBackpack of Texas                 1 year ago
             Aug 10, 2016 • 9:59PM




     Hi Everybody - We are getting 19 of the new prototypes
     on Friday. Woo hoo. Finally! Within hours of receiving
     same we will have photos of each of the various layers,
     pockets, trimming, zippers, hidden pockets, shoulder
     straps (much, much larger we know), the rubber base to
     keep it out of up to an inch of water and much more.




     Read More




             posted by Charles Aguillon                   1 year ago
             Aug 10, 2016 • 4:12PM




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     Read More




             posted by Charles Aguillon                   1 year ago
             Aug 10, 2016 • 11:09AM




     Quick update----technical glitch

     New
     meeting: https://global.gotomeeting.com/join/895125285

     Read More




             posted by Charles Aguillon                   1 year ago
             Aug 10, 2016 • 9:57AM




       ఙ                                                      చ
     Read More




             posted by iBackpack of Texas                 1 year ago
             Aug 9, 2016 • 11:56AM




     IBACKPACK 2.0 BETA PROGRAM ABOUT TO GO
     INTERNATIONAL - UPGRADE TO 2.0 TO BE
     ELIGIBLE



https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     The iBackPack 2.0 BETA Program in USA is in full-
     swing. We are receiving daily updates, videos and
     reviews from BETA backers in USA. We are continuing
     to add individuals to the USA BETA program as we
     b
     Readi More
            h I          i    lT      i   Th BETA




             posted by Doug Monahan                       1 year ago
             Aug 7, 2016 • 7:12PM




     INTERNATIONAL BETA PROGRAM KICKING OFF -
     SEND US YOUR INFO IF INTERESTED - WE ARE
     QUALIFYING THIS WEEK - SHIPPING ASAP - SAME
     FOR PHASE ii OF REST OF WORLD BETA
     PROGRAM PART II

     Interested in testing the technology? Like being the first
     on your block to have the latest gadget? The iBackPack
     BETA Program is ideal for you Send your phone to
     Read More




             posted by Tracy Tran                         1 year ago
             Aug 5, 2016 • 5:41PM




     Read More




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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             posted by Doug Monahan                       1 year ago
             Aug 5, 2016 • 2:08PM




     https://global.gotomeeting.com/join/342625125

     If you would like to see a presentation by myself
     Doug Monahan about the iBackPack prior to Tracy
     Tran doing her presentation - click on the link. This
     is an informal - not scheduled demonstration where
     I am doing a demo to show Haley Felchak my new
     EA as well as Bill, Bruce and Aaron - three of our
     backers who are considering joining our new
     Read More




             posted by Tracy Tran                         1 year ago
             Aug 4, 2016 • 6:48PM




     Read More




             posted by Tracy Tran                         1 year ago
             Aug 3, 2016 • 6:50PM




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     Read More




             posted by Tracy Tran                         1 year ago
             Aug 2, 2016 • 5:50PM




     Read More




             posted by Tracy Tran                         1 year ago
             Aug 1, 2016 • 3:34PM




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     Read More




             posted by iBackpack of Texas                 1 year ago
             Jul 31, 2016 • 2:00PM




     1.0 vs. 2.0 iBackPack CLARIFICATION - WHAT IS A
     FREE UPGRADE AND IS AVAILABLE AS A PAID
     FOR UPGRADE.

     TO MAKE THIS CLEAR: The iBackPack consists of
     three components.

     1. THE BAG ITSELF 2. THE ELECTRONICS. 3.
     INTERNET CONNECTIVITY

     1. THE BAG ITSELF: . We have - thus far - included all
     of the updates, enhancements, improvements to the bag
     itself as a perk AT NO COST - despite there being many
     cost increases for the bag itself. Not once has anyone
     been asked to pay for any of the enhancements FOR
     THE BAG ITSELF. In the future - at retail and on IGG
     the cost for the bag itself will increase - that does not
     affect anyone who has pledged thus far. Simple.

     2. THE ELECTRONICS: There are two levels of
     component offerings - 1.0 and 2.0. If you pledged for 1.0
     electronics - you will get 1.0 electronics. If you upgraded
     to 2.0 electronics - you will receive the 2.0 electronics.
     Simple.

     3. INTERNET CONNECTIVITY: The iBackPack 1.0 and
     2.0 both include a modem/router. They both allow you to
     call your internet provider and add a device. Simple.

     SHIP DATE: December, 2016.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     NOTE: The comments section for our page here on
     IGG is for legitimate questions and answers. It
     is monitored accordingly. Our FAQ section on the
     www.ibackpack.co site is being updated on a regular
     basis to include every question asked. Be respectful of
     our time as well as the other users.




             posted by iBackpack of Texas                 1 year ago
             Jul 31, 2016 • 12:43PM




     VIDEOS OF THE BETA PROGRAM - OUR OWN
     UNITED LABS

     INTERNATIONAL BETA PROGRAM GETTING
     READY TO START - If you are outside of the USA and
     have upgraded to 2.0 you are eligible to participate.
     Make sure to email info@ibackpack.co or
     shanze.gillani@ibackpack.mobi with your phone, and
     skype so we can discuss same You will need to put
     Read More




             posted by Tracy Tran                         1 year ago
             Jul 30, 2016 • 9:49PM




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     Read More




             posted by Shanze Gillani                     1 year ago
             Jul 30, 2016 • 6:30PM




     Hi guys, Shanze here.

     Having the meeting right
     now: https://global.gotomeeting.com/join/187755253

     I'm going to be showing off the backpack today in
     specific so I'm going to be showing you all of the
     pockets, speaking about the straps, the hidden money
     pockets discuss with you the ship date and much much
     Read More




             posted by iBackpack of Texas                 1 year ago
             Jul 30, 2016 • 6:19PM




     http://bit.ly/charles_ibackpack1

     Shanze Gillani is doing an online video presentation 15
     minutes . She is going to specifically focus on the
     iBackPack vs. the hardware/software and electronics.
     The iBackPack hasn't started its Bag BETA Program yet
     but Charles A. has been given the last prototype prior to
     Bag Beta. He has taken it to Disneyworld as well as
     added two of the Mama 20 000 mAh batteries 14
     Read More




             posted by Tracy Tran                         1 year ago
             Jul 29, 2016 • 12:49PM




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     S l More
     Read P          t ti             b   kb P   l   D    d!




             posted by Tracy Tran                         1 year ago
             Jul 28, 2016 • 12:31PM




     Read More




             posted by Maria Lucille Lacsican             1 year ago
             Jul 28, 2016 • 10:01AM




     Hi iBackPackers - Lucille here - I have one of the new
     iBackPacks here - at my office - as well as all of the 1.0
     and 2.0 products open and ready to share with you. I will
     have my camera on and doing presentations all day
     long. (I do have to have lunch though for an hour or so)


https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
iBackPack - WiFi, Ultra-Thin &amp; Powerful Batteries | Indiegogo                     Page 51 of 69
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     This is a great opportunity for you to get to see what we
     are offering and get to know me more.
     The link to the meeting is :
     Read More




             posted by Tracy Tran                         1 year ago
             Jul 27, 2016 • 5:36PM




     Read More




             posted by Doug Monahan                       1 year ago
             Jul 24, 2016 • 1:38AM




     CHRISTMAS, 2016 IS UPDATED SHIP DATE -
     DETAILED BREAKDOWN BY DAY IS BEING
     TOUCHED UP THIS WEEKEND AND NEXT WEEK.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
iBackPack - WiFi, Ultra-Thin &amp; Powerful Batteries | Indiegogo                     Page 52 of 69
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     The entire iBackPack team has been working nights,
     weekends, holidays and their respective birthdays
     to finish the bag and




     components.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
iBackPack - WiFi, Ultra-Thin &amp; Powerful Batteries | Indiegogo                     Page 53 of 69
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     We are going to make sure the iBackPack is everything
     you pledged for. No doubt, we have pushed the limits on
     the technology, no doubt we are focusing on making
     items such as stitching the best in the market - and we
     have also been stretching and pushing the technology in
     the very best way possible.

     Send Shanze Gillani - shanze.gillani@ibackpack.mobi
     your phone and updated email address so she can get
     in touch with you regarding many aspects of the bag.
     We need to talk with you about the kind of internet
     connectivity you are using. If you forget that it then write
     info@ibackpack.co




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
iBackPack - WiFi, Ultra-Thin &amp; Powerful Batteries | Indiegogo                     Page 54 of 69
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     We have some special perks we can discuss over the
     telephone with you specifically for internet connectivity
     internationally. Your phone or email will not be shared
     with anyone We've been limiting the number of posts so
     we could focus on getting the bag and components to ou
     and others. More to come on that tomorrow.




             posted by Doug Monahan                   over 1 year ago
             Feb 7, 2016 • 1:21AM




     iBackPack 1.0 Update - BETA Program - Hardware
     components - 110 V to 5 A Wall Charger Unit

     We have chosen the best-of-the-best components for
     inclusion with the iBackPack. The 110 V to USB wall
     charger is one. It has two outputs, 1 1A and another 1
     2.1 A. It is modular such that it has the capability to
     connect to any wall outlet in the world as well as can
     easily fit into your pocket. This is one of the products
     being included in our BETA program and will be shipped
     to all IGG backers wishing to participate in our BETA
     program. If you have already stated BETA me in the
     comment section - you don't need to do it again.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     Next week, we will be sending many more closeups of
     the backpack itself. Please continue to give us your


https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     feedback about same. Each and every one of your
     comments are being put into a spreadsheet and we are
     grading them as to feasibility. Please remember that
     everything is still a work in progress.




     This isn't included with either 1.0 or 2.0 but we are
     thinking about making it an option - it is a caribiner that
     swivels. We think it is ideal to keep the ibackpack off the
     ground. They launched on Kickstarter recently - just
     trying to figure out if they would give us a special
     discount.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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     Please make sure you have updated your physical
     street address to ensure the products come to you as
     planned. We are planning on switching to use Backer
     Kit's tools in order to better keep track of all orders.




     Notice how small the 110V wall to USB charger is. The
     plug itself can be quickly and easily be folded and put
     into the device. While this device is only one small
     component among dozens - it serves as a testament to
     our commitment to ensuring you have the very best.




     You will be able to tell us which type of cable you want
     when a questionnaire is sent to you through our partner
     Backer Kit soon.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
iBackPack - WiFi, Ultra-Thin &amp; Powerful Batteries | Indiegogo                     Page 60 of 69
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     We plan on shipping BETA product together vs. one at a
     time in order to keep costs down; however, it depends
     on timing of receipt of same.




     We plan on hosting go-to-meeting updates and record
     same. This will allow us to have a question and answer
     segment. If you wish to pledge to receive additional
     products you can do so by making a custom pledge.
     IGG is a bit clunky when it comes to performing
     transactions - hopefully in the future they will have it
     more like a shopping cart. In the mean-time we are
     going to have to rely on their system + backer kit
     options. More info will follow.




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
iBackPack - WiFi, Ultra-Thin &amp; Powerful Batteries | Indiegogo                     Page 61 of 69
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  PERKS




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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 Language
 English




https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-iphone-battery--2   8/30/2017
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 Campaigning
 Start Your CampaignInDemandEquityEnterpriseGenerositySuccess StoriesPricing
 Contributing
 ExploreCollectionsPartner PagesEquity
 Sign Up for Inspiration

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 Private, secure, spam-free
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 Language
 English




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                   APPENDIX J
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Share this project
 Done

   Share          Tweet         Share       Pin   ‫ ہ ۋ‬Embed
Share this project
 Done



                                                          Tweet


                                                          Share


                                                              Pin


                                                       ‫ ݩ‬Email




           iBackPack 2.0 - 4G MiFI, HiTech Batteries -
                         Smart Cables




https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 2 of 17
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                                                                           iBackPa
                                                                           ck 2.0 -
                                                                           3G/4G
                                                                           Wi-
                                                                           Fi/Mi-
                                                                           Fi,
                                                                           Bluetoo
                                                                           th
                                                                           Audio,
                                                                           Massive
                                                                           Batterie
                                                                           s, 6
                                                                           USB,
                                                                           Wireles
                                                                           s/Car
                                                                           Charger
                                                                           , 50
                                                                           Pockets
                                                                           ,
                                                                           Bulletpr
                                                                           oof
                                                                           Options



                                                                           Created by

                                                                           Doug
                                                                           Monahan



                                                                           252 backers
                                                                           pledged



https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 3 of 17
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                                                                                 $76,694 to
                                                                                 help bring
                                                                                 this project to
                                                                                 life.




Rewards         Campaign         FAQ           Updates 27         Comments 211          Community




                           March 1



               iBackPackers
                   Dear iBackPackers :

      We thought we would provide you an update
    regarding the latest developments. As you know,
    Lithium iOn batteries are still quite a dangerous
           item on the market.... Read more


                   8 Comments        4 likes




                                                       Feb 2017




                        February 9



          iBackPack Update
                Dear iBackPack Backers:




https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 4 of 17
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       As you may have noticed, there were some
     problems with our website. It was hacked. The
    great majority of the problems were fixed and the
                 remaining... Read more


                       3 Comments




                                                        Jan 2017




                        January 26



                   iBackPack
        8 Comments     4 likes       For backers only




                                                        Dec 2016




                                                        Oct 2016




                     October 19, 2016



      Production Update for
         our Backers!!!
               http://youtu.be/69-p6DUuqSw



               http://youtu.be/3opwI6qaeFw




https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 5 of 17
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                   5 Comments      1 like




                      October 7, 2016



       PLEASE READ -
    Important Newsletter of
    iBackpack tools to keep
   from Tracy Tran - Follow
      up from Bruce Lim's
         Facebook post
   Follow up Update to Bruce Lim's Recent Message
     in Facebook and Indiegogo: please read this
   carefully and save this message as it will contain
   Links, documents, and instructions that you will
                  need... Read more




                      October 5, 2016



     SPECIAL 10-5-2016
    NEWSLETTER FROM
     iBACKPACK BETA
   TESTER TRACY TRAN!!
     SPECIAL NEWSLETTER FROM iBACKPACK BETA
                  TESTER TRACY TRAN!!
    Contains Information about SALES PRO LEADS,
     INTERIOR/EXTERIOR FINAL COLOR of the
      iBackpack, Pictures of prototype iBackpacks,



https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 6 of 17
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    important information needed to process your...
                     Read more


                   2 Comments       3 likes




                                                    Sep 2016




                                                    Aug 2016




                     August 20, 2016



      LAST UPDATE FOR A
            WHILE!
   We are busy finalizing all the various components
   of the iBackPack ™ so we will be limiting future
             updates to focus on our work.

       Thank you to everyone who volunteered...
                      Read more


                          5 likes




                     August 17, 2016



        Come Chat With Us!
   Good afternoon! Today at 1 and 7 pm, Hannah will
   be talking about our new TECH LIVE CHANNEL -



https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 7 of 17
            Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 158 of 427
   TLC that will be coming soon! Tech Live Channelis
                      a... Read more


                   2 Comments       1 like




                     August 17, 2016



    Join Hannah at 8:00am
             CST
                     Hannah here!!

    https://global.gotomeeting.com/join/745519077

       I welcome you to join the meeting and ask
     questions, see the latest and greatest technology
    changes including the new single port that we are
                  going to... Read more




                     August 16, 2016



       JOIN ME NOW!
  https://global.gotomeeting.com/join/877570357
    Hi everybody - Charles here. I am about to start a
      meeting where I will be showing off the new
            iBackPack that we just received.

           I welcome you to join... Read more


                           1 like




                     August 16, 2016




https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 8 of 17
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     Haley is LIVE talking
    about our new Tech Live
           Channel!
   Join Doug's new EA, Haley, in the discussion about
    our new innovative webcast, Tech Live Channel -
                 TLC! She is live NOW!

    https://global.gotomeeting.com/join/745519077

      If you are a current BETA TESTER, now is...
                        Read more




                     August 15, 2016



       Join us for a LIVE
      meeting to hear what's
      new with iBackPack!
       Join Tracy live as she covers some new and
            important updates to iBackPack!

   https://global.gotomeeting.com/join/450379989

                        AGENDA:

   I currently have the 17-prototype, along with all the
         accessories to still do a full... Read more




                     August 15, 2016



     Check out the new USB
     feature we are testing!

https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 9 of 17
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                  Thanks Kickstarters!!!

              https://youtu.be/1u-T0HfMGNU




                           1 like




                     August 15, 2016



     Hannah is LIVE talking
       about all the new
           updates!

  Hannah is LIVE NOW! She will be telling you about
   all of the cool new updates, some EXCITINGnews
    for iBackPack and will be talking about the Beta
                  Program!... Read more


                          2 likes




                     August 13, 2016



        Photos of Latest
     Shipment of IBackpack
             8-12




https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 10 of 17
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                       ... Read more


                          8 likes




                     August 12, 2016



   First of Many Consistent
    Updates Regarding the
           iBackPack
        We apologize for the lack of consistent
   communication regarding our iBackPack product.
     Toward the goal of ensuring you receive this
   consistent communication we have added several
     more individuals whose primary... Read more


                   2 Comments       4 likes




                     August 12, 2016



     LIVE WEBCAST NOW
       with all of our new
       iBackPack updates
   Please join Hannah's LIVE WEBCAST now to learn
   EVERYTHING you want to know about iBackPack



https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 12 of 17
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        and it’s new features we have just added:
    https://global.gotomeeting.com/join/647118677


                   2 Comments       2 likes




                     August 10, 2016



         Check out our
     GoToMeeting LIVE to
   learn about all of our new
      iBackPack Updates!
    Please join my LIVE Goto Meeting Now to learn
     about EVERYTHING you want to know about
  iBackPack and it’s new features we have just added:
   https://global.gotomeeting.com/join/647118677

   AGENDA: Come learn EVERYTHING... Read more


                          2 likes




                                                     Jul 2016




                                                    Jun 2016




                       June 13, 2016




https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
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     SHIPPING ADDRESS
    AND PHONE NUMBER
        3 Comments     6 likes      For backers only




                       June 10, 2016



     SHIPPING ADDRESS
    AND PHONE NUMBER
        2 Comments     7 likes      For backers only




                                                       May 2016




                       May 13, 2016



             VISIT TO
          MANFACTURERS
     Attached are some videos of the products being
       manufactured. We thank everyone for their
                       support.


                          3 likes




                                                       Apr 2016




https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 14 of 17
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                                                  April 13, 2016

                       Successfully raised $76,694 with 252 backers




                       April 5, 2016



    More Videos and Photos
     of Manufacturing the
          iBackPack
   No doubt, there are dozens of "bag" offers here on
   Kickstarter. We are going to do our best to share
      the entire process with you. Unique to the
               iBackPack is... Read more


                   3 Comments       4 likes




                       April 3, 2016



    Trip to Shenzhen, China
     Photos and Videos of
    Manufacturing Facilities
   We will take you through the experience with us.
  We are building the most advanced backpack in the
  world. Each of the components were designed from
         scratch - specifically for... Read more


                          5 likes




https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
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                                                    Mar 2016




                      March 27, 2016



    Kevlar Questions - Tech
     Questions and more
  When creating the iBackPack, our primary goal was
    to build a high-technology solution. The only
   people who carry brief-cases are older than 50
        years - virtually all younger business
              professionals... Read more


                   1 Comment        3 likes




                      March 26, 2016



      Updated Photos - 326
   We received some additional photos of the Kevlar
    as well as the Automobile/Truck jump-starting
                       batteries.

          On Monday, we have a professional
     photographer/videographer who is visiting the
          roughly five plants we... Read more


                          5 likes




                      March 25, 2016




https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
iBackPack 2.0 - 4G MiFI, HiTech Batteries - Smart Cables by Doug Monahan — Kickstarter Page 16 of 17
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              Updated Photos
   The iBackPack 2.0 is by far the very best backpack
  on the market today - at least when it comes to how
     to best carry electronics, keep them recharged
                     and... Read more


                              6 likes




                          March 23, 2016



     iBackPack 2.0 Update -
      Many More To Come -
        Sorry For Delays
  Hello iBackPackers - We apologize for not updating
   you more about the development of the project -
  we've been focused manufacturing facilities, initial
       orders and ultimately getting a hot new...
                      Read more


                              8 likes




                                                  March 9, 2016


                                           Project launched



   About us                        Help                   Discover                             Hello

   What is Kickstarter?            FAQ                    Art                                  Happening
   Who we are                      Our Rules              Comics                               Company Blog



https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
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                                                          Publishing
                                                          Technology
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https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/upd... 8/30/2017
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  Closed

  MOJO - Bag, Battery, Cables, Plugs &
  Sales Leads
  Worlds most powerful Bag and Battery + recharging system
  for all electronics, RFID blocking & more


            Doug Monahan
            Austin, United States
            About



  $3,644 USD raised by 33 backers

  36% of $10,000 flexible goal




https://www.indiegogo.com/projects/mojo-bag-battery-cables-plugs-sales-leads                                          8/30/2017
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        STORY UPDATES (5) COMMENTS (50) BACKERS (33)




             posted by Doug Monahan                   11 months ago
             Sep 23, 2016 • 7:49PM




     We are in progress of manufacturing the iBackPack -
     www.ibackpack.co and would like to be able to close
     out this campaign. In the spirit of fairness to all of those
     who pledged for the MOJO product - we are willing to
     offer the iBackPack to same. If you are interested in
     same - send an email to haley.felchak@ibackpack.mobi
     with the following statement:

     Dear Haley:

     I'd like to swap out my pledge for the MOJO product for
     the iBackPack product. Please provide me with same
     pledge for the iBackPack product and accept this as a
     full release for the MOJO product campaign.

     Sincerely, Your name

     The MOJO products have had numerous issues -
     primarily due to the low volume of backers and ability for
     manufacturers to deliver same with only 34 backed. The
     company has not given up its efforts toward providing
     the MOJO product to you - but feel it might be better
     deal for you - if you were to accept same as a swap. Let
     us know by sending same and we will work toward
     closing out this campaign. We must have everyone's
     written authorization prior to accepting same.



https://www.indiegogo.com/projects/mojo-bag-battery-cables-plugs-sales-leads             8/30/2017
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             posted by Doug Monahan                      1 year ago
             Aug 12, 2016 • 8:58PM




     MOJO is coming soon. As you may be aware, we have
     been tied up on the creation of batteries, cables and
     other devices that are complimentary to the MOJO bag.
     We apologize for any inconvenience but will be
     providing same to you as quickly as possible. We have
     some other company tie-ins that we are close to being
     able to announce - so sit tight - and you'll be hearing
     more shortly. The MOJO Team.




             posted by Doug Monahan                  over 1 year ago
             Jan 19, 2016 • 1:09AM




     Hello All - I know we sent an update yesterday - but
     wished to restate the fact that anybody who pledged for
     the MOJO product is going to be fully satisfied. No
     doubt, we should have been in touch with all of our
     backers much more; however, the past is the past. This
     note to you today is a further testament to ensure you
     receive all you pledged and more.

     Below are some photos regarding the cables and
     batteries we are designing from scratch. These new
     advanced technologies put us in a great position to be
     able to ensure your pledge for the MOJO project was
     not in vain.




https://www.indiegogo.com/projects/mojo-bag-battery-cables-plugs-sales-leads             8/30/2017
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     While these batteries are not all included with the MOJO
     project they are a testament to our power prowess and a
     demonstration toward ensuring you receive the very
     best ability to keep your electronic gear powered up all
     of the time.




     More information will follow as we determine the exact
     number of pledges we received and our commitment
     regarding same. We take every single pledge very
     seriously - hence this additional update today.




             posted by Doug Monahan                  over 1 year ago
             Jan 17, 2016 • 9:26AM




https://www.indiegogo.com/projects/mojo-bag-battery-cables-plugs-sales-leads             8/30/2017
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     Hello All -

     While all of us within the iBackPack company had high
     hopes of the MOJO product being received well - it
     obviously was not - with only 34 backers. It is my fault
     for "burying my head in the sand" like an ostrich. While I
     had high hopes for the product - it was obviously a
     disappointment. I will make sure that everyone who has
     pledged to receive this product is taken care of.

     We will be not only providing you with the MOJO product
     - but also providing a free iBackPack for your support.
     Please check out the iBackPack here on IGG. The
     product is quite valuable and far more expensive than
     MOJO - but that said - we will add your name to
     receive the iBackPack when ships.

     I apologize for the confusion. It is my fault and no-one
     else's. Below are some photos of the iBackPack that
     each of you will receive - in ADDITION to the MOJO
     product. It is the least we can do for ignoring this project
     while we focused on the iBackPack and our upcoming
     POW batteries and cables.




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             posted by Doug Monahan               almost 2 years ago
             Oct 8, 2015 • 3:40PM




     Hello MOJO Backers - My name is Doug Monahan. I am the
     CEO and Founder of the iBackPack of Texas, Inc. MOJO is
     the 2nd product we are releasing. Our first project is
     https://www.indiegogo.com/projects/ibackpack-revolutionary-
     wearable-technology--2/x/10019428#/story

     We are working to make the MOJO the most powerful battery
     known to man. The 20,000 mAh battery is just the beginning
     and the minimum. I promise you we are doing all we can to
     give you something extraordinary. Let us know your ideas -
     tell us how we can make the MOJO all you need in your daily
     life and we will do it. Thanks, Doug



  PERKS




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  Closed

  POW - Super Smart USB Magnetic
  Cable System
  USB Super Smart Cables - Micro - Lightning - USB C
  Combo + Charge Lights - Magnetic Connector + more


            Doug Monahan
            Austin, United States
            About



  $7,982 USD raised by 156 backers

  16% of $50,000 flexible goal




https://www.indiegogo.com/projects/pow-super-smart-usb-magnetic-cable-system--2                                 8/30/2017
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        STORY UPDATES (5) COMMENTS (127) BACKERS (156)




            posted by Hector Armenta                10 months ago
            Nov 9, 2016 • 3:03PM




     THANK YOU EVERYBODY who has accepted the
     SWAP offer that either Haley Felchak had made some
     time ago - and I - reiterated the offer yesterday. Send
     "HECTOR - SWAP ME UP" in the subject line and send
     to HECTOR.AQUILES@IBACKPACK.MOBI and we
     will get the magnetic cables and other promised product
     to you asap. The gist is we need to get this campaign
     closed today - and all of the products shipped to you
     asap. The original offer from Charles/Haley was a one
     for one offer for the magnetic cables. As mentioned
     before - the work very well - the magnetic pull is quite
     strong but weak enough such that if your leg hits the
     cable it won't knock anything off of the table. They are
     much easier to connect - working right side up and
     upside down.

     In order to both reward you for your patience as well as
     provide an incentive to get this acceptance document to
     us TODAY - We are upping the ante - and shipping
     some Light Sticks/Power Cables/Data Transfer sticks to
     you as well. Make sure to update your shipping address
     as quickly as possible.

     Send "HECTOR - SWAP ME UP" in the subject line and
     send to HECTOR.AQUILES@IBACKPACK.MOBI and
     we will get the magnetic cables and other promised
     product to you asap. I've seen photos of the products in
     boxes and been promised they are on their way via air.

     Below are some of the videos from our BETA TEST
     PROGRAM for you to review. I'm planning on sending

https://www.indiegogo.com/projects/pow-super-smart-usb-magnetic-cable-system--2          8/30/2017
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     as many photos as this posting window will allow. Thank
     you for taking care of this today.




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     In the picture you will see two extra products that we will
     ship to you as a special incentive to get this sent to us
     today - There is the zipper cable which is 3 feet long and
     has both a MICRO and a LIGHTNING connection and
     immediately to the right you will see the LED Light Stick
     Charger and Data Line. We will include these two
     products to you as a special thanks. NOTE: While the
     Light Sticks function quite well as a data and power
     transfer cable I have found they are ideal as a night light
     where I stick next to my bed stand and use it to read a
     book at night. It also is great when traveling on the
     airlines because it gives you plenty of light directed just
     as your stuff vs. the pax sitting next to you.

     In case you forgot - here is the way the magnetic cable
     works


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     Make sure to send your email today - and give us your
     phone number if you haven't already done so - and
     make sure your shipping address is updated. Thank you
     very much. Hope you are having a great day.




            posted by Hector Armenta                10 months ago
            Nov 9, 2016 • 6:08AM




     Dear POW Cable Backers:

     It is my understanding that you have pledged to receive
     a POW product under this campaign. As you may know,
     I am new in this position and doing my best to ensure
     you are receiving any, and all, or the PERKS you were
     promised. I believe you were offered, and over 140 of
     the 157 backers have accepted, to receive an updated
     version of the POW magnetic cable from a strategic
     partner of ours vs. POW.

     The Magnetic Cable you will receive is of the highest
     quality and includes both a LIGHTNING and MICRO
     connector. I'm aware Charles made the original offer
     and I agree to honor anything he agreed to in writing. In
     addition to honoring Charles swap, you would be
     receiving several other complimentary incentive PERKS



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     approved by myself - most likely the light sticks/data
     transfer/cables.

     I'll do my best to provide as much as possible to reward
     you for your patience and open the door to a long lasting
     relationship. I will need these TODAY if you wish to
     accept my offer - but of course - we will honor the one
     Charles made. I want to close out this campaign as one
     of my first tasks on the job.

     We realize almost everyone has already accepted the
     offer - but we need you to further solidify the deal by
     sending me an email saying "SURE HECTOR - I
     ACCEPT" to hector.aquiles@iBackpack.mobi in the
     subject line.

     I'm new to the position and trying to dot the i's, cross the
     t's and take care of any issues outstanding as quickly as
     possible. I've seen the Bill of Lading and the products
     are already in the air from China.




     Products boxed up on way to our offices in Austin.




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     BEFORE sending you this letter I asked, and received,
     photos from our manufacturing plant in Shenzhen,




     We've "moved on up" the chain - now getting our own
     shipping boxes (you should have seen the others
     before) In case you are interested - the issue was such
     a small order - there were only 137 pledges and the
     minimum order was 500 so we had to swing a deal to
     get part of a strategic partner's order of a few thousand.
     The most important thing is to get you taken care of -
     JUST WRITE "SURE HECTOR - I ACCEPT" and send


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     over today in order to be eligible. The products are
     coming via air but I can't guarantee an exact time you'll
     get them because we are getting these as part of a
     larger order. But, if you add in all of the extras Charles
     authorized, plus the data transfer lights/sticks that I'll be
     throwing in it will be quite a good deal.




     Sincerely,

     The iBackPack Team




            posted by Hector Armenta                  10 months ago
            Nov 8, 2016 • 9:57PM




     Dear POW backers

     We have now a Customer Support account on Twitter, in
     which you can address all the questions, inquiries and
     doubts you may have and receive a timely response.
     Follow us at https://twitter.com/IbackpackHelp. We are
     going to respond any question you may have at this
     Twitter account. Posting questions on Facebook is now
     not the way to get any questions answered We do not
     have the support staff to answer individual questions on
     multiple venues. Instead we will be watching very
     carefully the @IbackpackHelp during business hours
     Monday through Friday 9:00 AM to 6:00 PM.




https://www.indiegogo.com/projects/pow-super-smart-usb-magnetic-cable-system--2          8/30/2017
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     In addition to this Twitter account, we will be posting all
     questions and answers to the FAQ section of the
     website https://ibackpack.co/faq/
     Beginning next week we are going to be aggressively
     working toward ensuring that every single question you
     may have is answered there.

     We are aware of the delay may cause. We are
     expecting the POW cables will be shipped sooner than
     the iBackpack, this month hopefully.




            posted by Doug Monahan                   11 months ago
            Sep 23, 2016 • 8:01PM




     We have 500 of the cables here soon - according to our
     manufacturing partners. We would like to get all shipped
     to all right away. We wish to close out this campaign so
     we can focus on the iBackPack and the technology it
     includes. Send an email to
     haley.felchak@ibackpack.mobi with your updated
     shipping address and we'll get the products to you asap.
     As we said a month ago - there are supposed to be here
     any day. The biggest lesson we have learned from this
     campaign is to purchase in minimum order of 1,000 if
     you expect products to be delivered in a reasonable
     amount of time. Send us your information so we can
     close out this campaign and make sure you are happy.
     The products work as promised and look forward to you
     receiving same.




            posted by Doug Monahan                       1 year ago
            Aug 12, 2016 • 8:56PM




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     Hi Everybody - Good News- The Magnetic Cables
     are FINALLY on their way here. Everybody is going to
     receive all of the perks you were promised within the
     next 6 weeks or so - or ON TIME. It's been along difficult
     road but the technology works. We will be sending
     photos and videos of the products first. Additionally we
     are looking for those who would be interested in doing
     an online presentation to a new Tech web based TV
     show. If you are interested, let us know.




     We are receiving over fifty close-ups tomorrow, but
     spent several hours on the phone today with our
     manufacturing partner and will be receiving via air vs.




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     boat. The cost is considerably more - roughly five fold -
     but we are shipping via air. More to come.




  PERKS




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                  APPENDIX N
Reference # Date      Source        Name              City     State Comments
                                                                     Recieved an unsolicited e-mail requesting voting for a crowdfunding
                                                                     effort. In an attempt to unsubscribe by clicking a link provided in the e-
                                                                     mail, it takes you to a 404 - Page not found on their website
                                                                     (ibackpack.co). Searching their website does not provide any way to
                                                                     unsubscribe. My information was not provided to this organization
63998451   07/17/2015 FTC           iBackPack, Inc.   Austin   TX    directly and is obiviously old information that was for an old address.
                                                                     Dear Sir/Ma'am,<br /><br />My upfront complaint against this company
                                                                     is they are defrauding their customers by promising a product but
                                                                     never delivering. Ibackpack is in the early stages of development. It is
                                                                     currently involved in a crowdsourcing campaign on Indiegogo.com.
                                                                     www.indiegogo.com/projects/ibackpack-wifi-batteries-bulletproof-
                                                                     more/. I acknowledge that the website says that you are pledging for a
                                                                     work in progress and not a direct product. I made a pledge (225$) in
                                                                     return for a perk (a backpack). The website estimates it will be
                                                                     available March, 2016. So I thought I was safe. Indiegogo said it would
                                                                     arrive by May 18th. When it didn't, I started to call and email the
                                                                     company to determine what was happening with my shipment.<br
                                                                     /><br />Ibackpack ignored my requests for awhile until I contacted the
                                                                     Indiegogo support team. It was then that I discovered that the
                                                                     backpack is still in the beta phase. The company continues to promise
                                                                     a perk for a pledge without ever delivering a product. It is like a modern
                                                                     version of the bait and switch.<br /><br />This scam includes another
                                                                     campaign that had multiple problems if you were to read the
                                                                     comments. https://www.indiegogo.com/projects/mojo-bag-battery-
                                                                     cables-plugs-sales-leads/x/13982561#/. This Mojo bag was another
                                                                     bag where the owner flat out said they will not give the bag to
                                                                     customers and will devote the companies time on Ibackpack. Through
                                                                     all the pledges, Ibackpack has never provided a product. They are
                                                                     talking about a '3.0' version when they never delivered on the '1.0'.<br
                                                                     /><br />If you cannot tell, I am extremely mad and disappointed. I
                                                                     requested a refund from the company however, the owner stated they
74092882   05/30/2016 BBB TX Austin Mobilezapp Inc.   AUSTIN   TX    will not ever give refunds. Period. All I wanted was my money back. I
                                                                                                                                                  Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 224 of 427
                                                                  It was described as a tech backpack with charging capabilities. I
                                                                  pledged for the wigi version for $199 + shipping, total was $214. The
                                                                  campaign started fine, but over time it started to change. Initial
                                                                  products that were promised were changed to others. Hardware that
                                                                  was promised also changed to lesser quality products. In the last
                                                                  month the push has been to have all current backers increase their
                                                                  pledges to get better hardware, though nothing has shipped yet.
                                                                  However, I know this is crowdfunding and to be expected. My
                                                                  problem, though, stems for interactions with the CEO, Doug Monahan.
                                                                  In the last 1-2 months he's posts have become very aggressive at
                                                                  times and accepts no critism. He's attempted to stop people from
                                                                  posting any negative information about the campaign to the point of
                                                                  erasing any posts on indiegogo that are critical of the direction the
                                                                  campaign is going. My problem started last week. I'm a support but I
                                                                  want to make sure everyone in the campaign is being treated fairly,
                                                                  and not being bullied by Mr. Monahan. I posted several messages
                                                                  asking for simple clarification. He refused to answer in a post that
                                                                  everyone could read, rather wanted me to call him. I don't give out my
                                                                  phone number, especially to people who's other business is collecting
                                                                  contact information for cold calls and email spam. So I refused and
                                                                  eventually he reluctantly posted the response on the site for every
                                                                  backer could read it. Later that day he had an open gotomeeting that I
                                                                  attened, as all backers were welcomed. I actually didn't say a thing
                                                                  and was just listening when he noted me there and verbally attacked
                                                                  me, after which he disconnected me from the meeting. I didn't think
                                                                  much of that until about 2 hours later when I received a notice that my
                                                                  pledge on indiegogo was refunded. The problem is it wasn't refunded
                                                                  directly, but rather was marked as "refunded off indiegogo." I didn't
                                                                  receive any refund, though. By marking my pledge as refunded, I can't
                                                                  post any questions, so effective it silences me on the crowdfunding
75140599   08/08/2016 FTC   iBackPack of Texas, Inc Austin   TX   site. I'm fine with this, but I'm not fine with not actually being refunded.
                                                                  Hello , Firstly i saw their product through Facebook page so i decided
                                                                  to purchase 3 bags from their products , they were selling their product
                                                                  via indiegogo platform and Estimated delivery time was 15-03-2016 . i
                                                                  have purchased 3 bags with total cost 687$ .. after that i tried to call
                                                                  their via facebook and their website and all repiles i got that they didn't
                                                                  even made it .. i purchased my bags 6 month's ago and i can't
                                                                  complaint them any where they blocked me from facebook and i can't
                                                                  contact them again even via website their customer support is very bad
                                                                  .. i want to refund my money please .Here's a link to see my purchases
                                                                  via indiegogo website ..
75817569   08/28/2016 FTC   iBackPack               austin   TX   https://drive.google.com/file/d/0B6PTdTIOaEXOdDZ4VzlUNkpuMkk/vi
                                                                                                                                                 Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 225 of 427
                                                            hello i have ordered 3 bags from ibackpack from 6 month's and till now
                                                            i didn't receive my order ... i have tried to contact the owner but he
                                                            didn't respond to my messages... their customer support is very bad
                                                            and they refuse to refund my money.. is there is any legal way to
                                                            refund my money ?? Product Link
                                                            https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-
                                                            batteries-backpack-technology /x/12752388#/             they blocked me
75966339   08/31/2016 FTC   iBackPack         Austin   TX   from messaging them over facebook , Owner doesn't respond to my
                                                            This Tweet pretty much covers my story:
                                                            https://twitter.com/kenkawakenkenke/status/811277229032374272.
                                                            Backed the project on September 6, 2015. Haven't received the
79183194   12/22/2016 FTC   iBackPack Inc.    Austin   TX   product yet, and now this.
                                                            a company called iBackpack, Inc. made a campaign on Indiegogo and
                                                            Kickstarter started March 2015, and they have not deliver what we
                                                            have ordered from them. there are over 4000 backers and the
                                                            company have raised half a million for their campaign. been asking for
                                                            a refund but no answer from the campaign owner. their emails and
                                                            contact numbers couldn't be reached anymore and the emails were
                                                            bounced back. the campaign owner is Doug Monahan, and i believe he
                                                            have another company named Daybreak and many other companies
                                                            under his name, so does many other campaigns under his rule. i hope
79205278   12/24/2016 FTC   iBackpack, Inc.   Austin   TX   to get our money back and hope the authority held him accountable for
                                                                                                                                      Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 226 of 427
                                                          I learned about the IBackPack through a friend who told me about the
                                                          kickstarter project for it. There was plenty of information regarding the
                                                          backpack, what it came with, and pictures/videos showing all the
                                                          features, components and add-ons. Link to the kickstarter page:
                                                          https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-
                                                          fi-bulletproof-bluetooth-aud/d escription. Once the pledge period was
                                                          over they did a pretty good job updating us about progress. I thought it
                                                          was a bit fishy when they sent me an email asking for my address
                                                          twice but after answering both times i never got a reply confirming they
                                                          got it. As per Kickstarter, the product was due to ship in September,
                                                          however, later updates stated they had to push the date back to
                                                          december. For a month or 2 during the summer the kickstarter page
                                                          went dark, no updates or anything and some of the backers got
                                                          nervous. Finally they started posting updates again to appologize; they
                                                          started doing live updates in gotomeeting and posting updates through
                                                          youtube throughout the month of August. Then throughout September
                                                          we heard nothing again. We received 1 last update on October 19th
                                                          with a youtube link which has since been removed from youtube. i
                                                          have all the emails saved to a folder if needed however most of the
                                                          updates are viewable on the kickstarter page. Since that last update
                                                          there has been no communication from the company, their facebook
                                                          page is gone, and the comments on the kickstarter page are all stating
79227511   12/26/2016 FTC   IBackPack INC   Austin   TX   this was a fraud. I found Doug's Linked in account as well and there
                                                                                                                                      Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 227 of 427
                                                              I contributed to the iBackPack campaign on 10/13/15. I had been
                                                              watching the campaign for a few months gauging if it was legit. I finally
                                                              opted to contributed when I saw that the campaign was closing soon
                                                              and wanted to lock in on the low price. At the time the estimated
                                                              delivery date was end of the year 2015. New years came and went and
                                                              backers were on receiving updates mainly on a car charger that was
                                                              part of the stretch goal and not on the bag itself. Finally, an update was
                                                              sent stating that the new estimate would be March 2016. Multiple
                                                              backers including myself contacted the owner Doug in March only to
                                                              get a reply stating that March could mean anytime during the month. In
                                                              the meantime he started the same campaign on Kickstarter
                                                              (https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-
                                                              fi-bulletproof-bluetooth-aud). After March passed he switched to saying
                                                              that it was only an estimated date and not a promise date. Since then
                                                              the updates have been very rare. Mostly stating that they are hard at
                                                              work to get the product out and that's the reason for no
                                                              communication. In October or November, we finally received an update
                                                              that the bags would be delivered between Christmas and New Years.
                                                              The last update I received was on 11/14/16. You would think that it
                                                              being Christmas Eve the backers would have received trackingID's by
                                                              now or at least an update that the date has been pushed again. Also to
                                                              add, the bag has gone through many changes since it was originally
                                                              posted. While this is not in itself a bad thing Doug has wanted to
                                                              charge the original backers more to get these updates. And many of
                                                              the original promises have slowly no longer become a part of the
                                                              campaign. I spent $215 on this campaign and was told at the beginning
                                                              that all original backers would automatically be included in all
                                                              upgrades. This story changed. I beg you to please look into this
                                                              campaign and any others that are created by Doug. His backers have
                                                              lost all communication with him and seek full refunds.Facebook is no
79227584   12/26/2016 FTC   iBackpack Inc   Round Rock   TX   longer available -
                                                                                                                                           Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 228 of 427
                                                               In March of 2016, I back a project on Kickstarter for the iBackpack 2.0.
                                                               The backpack was touted to be in beta testing with multiple great
                                                               features. The project had been backed by over 100 people on
                                                               Kickstarter and also through a program on Indie Go Go. I backed the
                                                               project with my credit card on March 31, 2016 and my card was
                                                               charged $274. $249 for the backpack and a $25 shipping fee. The
                                                               backpack was initially slated to be shipped in October of 2016, but was
                                                               delayed due to issues with production until December of 2016. In
                                                               October, the company stopped posting updates to the project as
                                                               required by Kickstarter's Terms of Service and has also stopped
                                                               responding to any questions emailed by backers. After seeing the lack
                                                               of updates I looked into the owner, Doug Monahan, and discovered he
79227895   12/26/2016 FTC   iBackpack                          has an extensive history of starting projects like this that he cannot
                                                               Supported an indiegogo campaign which seemed to be promising, but
                                                               turned out to be a fraud. The company website is now shut off and also
                                                               the facebook profile of it was deleted. I never received any goods or
                                                               services for my pledged amount, and suddenly 2 months ago, all
79228154   12/27/2016 FTC   iBackPack        Austin       TX   contact stopped. Hope to get this resolved.
                                                               i have pleadged money to them and they have lost contact with
                                                               everyone. i have found lots of people that have been trying to contact
79245804   12/27/2016 FTC   Ibackpack        Round rock   TX   them and are trying to get refunds from the company i pledged back in
                                                               I purchased this product through indigogo. I was supposed to recieve
                                                               this item by Thanksgiving. Now when I reach out... I don't get a
79245966   12/27/2016 FTC   iBackpack, Inc   Austin       TX   response. And there are hundreds of others that haven't recieved their
                                                               I was one of 252 backers of this project thru a kickstarter campaign for
                                                               a project that was to produce a specialty backpack. the backpack was
                                                               suppoosed to ship in Sept 2016 then they claimed a delay & it would
                                                               ship in Dec but now they took down company website & none of
                                                               backers can reach them. There has been no communication since Oct
                                                               2016. the president is listed as Doug Monahan but we are now being
                                                               told thats not even his name & hes done this before. Complaint made
                                                               to kickstarter but they still havent pulled the project from thier website.
79369293   01/04/2017 FTC   iBackpack 2.0    Austin       TX   We cant reach anyone to get refund & we are beyond the dispute
                                                                                                                                             Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 229 of 427
                                                          ok so to start, a good crowdfunding campaign came up in indiegogo
                                                          and kickstarter from &quot;ibackpack&quot; company, offering backers
                                                          to help make a super delux backpack ideal for technology and
                                                          traveling. They were offering many different variations and perks for
                                                          contributing to the project. Well i decided that i was going to contribute
                                                          and help out as i wanted the products offered. (the webpages are still
                                                          up on indiegogo and kickstarter if you wanna see for yourself, along
                                                          with the thousands of backers that got screwed over). anyway i
                                                          contributed a total amount of $722 for the projects from both sites,
                                                          detailing firmware upgrades for the products, a special buy one get one
                                                          deal (for 2 backpacks), kevlar back plates (bulletproof), and a normal
                                                          contribution for 2 more backpacks. Project was funded back in 2015
                                                          with a delivery in 2016. Fast forward to now, its been almost 2 years
                                                          and still no products have been shipped and the founders/employees
                                                          of said company can not be contacted as it seems the email address
                                                          doesnt exist anymore as does the parent website. The company's last
                                                          update online was about 10 months ago stating there was an issue
                                                          with the batteries that were being made for the project and that they
                                                          will update the status again soon. again that was 10 months ago. The
                                                          project raise almost, if not over $800,000 total between indiegogo and
                                                          kickstarter campaigns. So far i havent recieved any product though i
                                                          was entered as a beta tester for them, havent recieved any emails, and
                                                          said company is no longer posting updates online, making thousands
                                                          of backers scared for the almost $1M we invested into this company
                                                          and have basically lost. The owner/CEO DOUG MONAHAN cannot be
87645456   08/18/2017 FTC       ibackpack   Austin   TX   contacted as the same with his team, and honestly we the pledgers
                                                          iBackPack posted a crowd-funding campaign on IndieGoGo, to which I
                                                          contributed. The campaigner, Doug Monahan, has posted 3
                                                          campaigns on IGG and another duplicate campaign for iBackPack on
                                                          Kickstarter. No campaigns for crowd-funding have been fulfilled, yet all
                                                          have been fully funded and funds distributed. Across all 4 campaigns a
                                                          total of $809,285 has been charged to backers, with all but the vendor
                                                          fees transferred to Doug Monahan. Updates have stopped as of March
                                                          2017. Due to the nature of crowd-funding and the timeline necessary,
                                                          most of our credit card companies are declining the dispute. While we
88450976   09/10/2017 FTC       iBackPack   Austin   TX   may not get our money back (still hopeful), we do want some legal
                                                          NOTE: In addition to the complaint notes immediately below, the Ohio
                                                          Attorney General's Office provided additional information in fields
                                                          whose header titles are quoted and follow the complaint notes. ---
                                                          Product or refund --- Topic Description: Product updates from
                                                          12/15/2015 thru 2016 with estimated delivery date of02/2017.
                                                          Additional payment asked for in 2016 with promise to add features not
                                                                                                                                       Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 230 of 427




90202697   09/14/2017 Ohio AG   Ibackpack   AUSTIN   TX   originally included. Payment made. No product ever delivered.
                                     CFPB Issue Type: Problem with a purchase shown on your statement |
                                     Credit card company isn't resolving a dispute about a purchase on your
                                     statement --- What Happened: Approximately two years ago, I
                                     purchased the iBackpack through Kickstarter.com. It has been
                                     determined that the product will never ship and was simply a fraudulent
                                     way for the kickstarter creator the obtain money from consumers as a
                                     scam. I have spoken with the credit card company and with Kickstarter
                                     and the vendor, and nobody seems to want to take responsibility for
95682746   05/14/2018 CFPB   |   |   refunding the scammed money. --- Have contacted: CC Issuer --- Fair
                                                                                                               Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 231 of 427
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                  APPENDIX O
               Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 233 of 427



                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Or ship the bag without the battery, but have a place for it to plug in... That way we can use it NOW with batteries we own and add yours when it's ready! Also, since it's taken so long to deliver,
 7192406      5/22/2017       658564
                                         you need to add USB C and its power requirements to your spec and cables.
                                         Funds were dispersed so count IGG out as help on a refund, you (we) have to work with the person who has our money to get a refund. Dont hold your breath if you think he will even reply to you.
 7189153      5/21/2017      12918366
                                         Only option is legal.
 7188811      5/21/2017      5816277     hey Doug maybe send us this bag http://amzn.to/2rFg2m8 and get it over with!!!
                                         when will i get my backpack?
 7187966      5/20/2017      11924657
                                         I've been waiting for too long
 7188160      5/20/2017      8900239     Does anyone know away to get a refund or the steps I need to take towards a refund?
 7186041      5/19/2017      13221091    Haha wow what a scam. Someone needs to track down this dude.
 7184826      5/19/2017      13045880    hi..i do not like complaining but out of curiosity when can i get the product? - nik
 7185546      5/19/2017      4219427     how are we doing here?
                                         Look this nice projet: https://www.indiegogo.com/projects/smacircle-s1-the-ebike-that-fits-in-your-backpack-bike#/

 7184603      5/18/2017      12794309    This bike uses built in Samsund Ion Lithium batteries.

                                         Let us hope it will not blow up! Becuse remember: "No backpack nor no bike is worth the loss of anyone limb!"
 7182263      5/18/2017      7887510     Can we get an update please. It has been several months since you told us anything. You used to give us updates several times a day, now you have given us nothing.
 7176118      5/16/2017      11745067    Look I understand that there are battery issues, but just write an update that even says that your team is still working on the project
 7175293      5/15/2017      9797830     No updates since 2 March 2017. Any news on the batteries issue? Other companies have managed a way forward, even Samsung. What's the status of the iBackpack?
 7168470      5/13/2017      12918366    I personally will be sitting back and enjoying the show, a little birdie told me that IGG and Doug has come under the radar of people who don't out up with unjust practices.
                                         So what I've been basically reading all over the place is that with crowdfunding your are taking a huge risk. I don't know about you guys but enough is enough. If we can't get recourse via the
 7168465      5/13/2017      12918366
                                         people who take our money (IGG in this case), who protects themselves only with the terms what else are we supposed to be doing?
 7168455      5/13/2017      12918366    http://crowdfundingwebsites.net/indiegogo-review/
 7166391      5/12/2017      10593430    So.. when are we getting our backpacks?
                                         I have emailed Doug many a times but he has never replied. I finally emailed Indiegogo and got a reply immediately within 48hrs and subsequently a reply to one of my many emails from
                                         ibackpack. But again it did not work. Every time i ask them about the ibackpack i get a reply all the details are there in the page in comments. When asked for a refund i was told to read terms &
 7156135       5/8/2017      11765796
                                         conditions wherein its written it indirectly says not possible.
                                         What are you all upto Doug?
                                         You keep doing R&D on your batteries. Till then send us our Ibackpack.
 7156141       5/8/2017      11765796
                                         The day u think its safe send us.
                                         If you guys are truly not screwing all of us over, please either send the uncompleted backpacks with everything minus the batteries, we can use our own rechargeable ones as a substitute. Please
 7149469       5/6/2017      8456828
                                         respond. We would like our product.
 7148560       5/6/2017      9330334     No response from FB class action group weeks after requesting to join... What gives???
 7148575       5/6/2017      14544053    Ship the backpack, cables and other accessories now. Follow up with the battery packs when/if you ever decide they are safe. You're stalling and it's bullish!t
                                         I am really surprised why Indiegogo is not helping contributors to get the product or their money back. I am sure they are loosing reputation and soon people will stop contributing their money on
                                         their website. I contributed in two more perks around 2 years ago but still not received the product nor anyone replies from them. Even I tried to send email to Indiegogo team but no response at
 7148274       5/5/2017      8101361     all.

                                         I am sure i will not contribute anymore on Indiegogo. !!!
 7147912       5/5/2017      12860107
 7142935       5/4/2017      12918366    Dig a little deeper on Doug and you'll see it extends beyond IGG and Kickstarter. Read reviews from his employees at previous jobs, most have the consensus that he is a dirt bag.
 7145389       5/4/2017      9495957     Are we ever getting these?
                                         Have you noticed that for every project Doug Monahan has on IGG, backers haven't received anything and are asking for refunds?
 7142688       5/4/2017      12794309
                                         https://www.indiegogo.com/individuals/10019428/campaigns
                                         @Mitch - if Doug is using the recent Samsung battery issue as an excuse he is absolutely full of it. It is a Samsung only issue where they believe a batch of their batteries had a coil that was
 7140085       5/3/2017      12918366
                                         wound too tight.
 7139461       5/2/2017      5660073     Why is it that other companies world wide have found batteries and ways to ship them. Ship my product or send refund.
 7139511       5/2/2017      12640940    @Mitch all the companies in the world are wrong and only Doug know the REAL truth about how dangerous it it ;)
 7132249      4/30/2017      12794309    @charles42570 I have no Facebook account, yet you can court me in for the class action (pacoubat@aim.com)
 7129280      4/29/2017      12918366    Doug doesn't know it yet but he regrets ripping us off. But karma will remind him.
 7130163      4/29/2017      12640940    @jeremy it was proposed numerous time to him...Doug always refused he have no intention on delivering nothing even if it would sence to do it.
 7130448      4/29/2017      11646503    Can you give me some progress of my product ?. To this day I do not know when they will send it to me. My email is: polo.pastenes@outlook.com
                                         @Mike Harding excellent class action initiative. As our strength is our number I suggest you join the Facebook group to get a lot more people to support this class action.
 7130483      4/29/2017      12270219
                                         https://m.facebook.com/groups/580759835449546
                                         Jeremy there is no battery issue, it's an excuse. When Samsung had the battery issue, it was due to a batch of batteries with a coil that was would too tight. Just Samsung, doug is full of nescient
 7129275      4/29/2017      12918366
                                         illogical excuses.
                                         Here is a bright and interesting idea... Why dont they deliver on all the items that they promised OUTSIDE of the batteries. When the issues with the batteries is resolved, then ship the batteries.
 7128596      4/28/2017      10521169    For the WiFi package, there is only one item that is battery... at this point, I think most would agree that a partial now, partial then delivery would be better than what we are experiencing now...
                                         and besides, could ward off a lawsuit! Just a thought!
 7127116      4/28/2017      12918366    I wonder what Doug will do when someone shows up at his door step, I wonder what excuse he will have then.
                                         People dont be so harsh to this poor Doug its not his fault if battery are exploding every minutes everywhere in the world!! ;)..And he cant produce the bag alone because there is a 0.0000001
 7126764      4/27/2017      12640940
                                         percent chance somebody can suffocate with the bags on their head...There is no risk to take here!!! ;)
                                         I am starting to believe too many of these crowdfunders are scams. By the time you get them, if you get anything I should say, there are better versions available that you can buy right now and
 7125465      4/27/2017      9773147
                                         probably a lot cheaper.
                                         I have filled out the form. It is obvious that with the time he has had to make good on his promise of perks and the simple lack of response. We will not be getting any perks or refund. Seriously
 7125962      4/27/2017      10521169    though, if you think about it. Even with a class action lawsuits, the money is already gone. Should a judge decide to rule in our favor, the next day a bankruptcy will be filed by the company and
                                         Mr Doug himself. WE'VE BEEN SCAMED!
                                         I am very surprised to see that IGG are still not responding to the multiple Press Reports uncovering Doug as a Con-Artist Fraudster and the iBackPack is his (following a long previous line)
 7126057      4/27/2017      11615484    Latest Scam http://crowdtoolz.com/sorry-ibackpack-backers-you-got-scammed/everyone who has invested here needs to join the FaceBook Group who are currently organizing a Class Action
                                         Lawsuit against Dodgy Doug; this follows a significant amount of collective evidence and Investigation by this Group.
                                         Ladies and Gentlemen, Dear fellow backers,

                                         Have you seen that nice picture of our favorite person on earth: https://www.linkedin.com/in/dougmonahan

 7123866      4/26/2017      12794309    Drinking Veuve Cliquot Champagne to the success of this campaign!

                                         Juste in case Doug would change his LinkedIn picture: http://hpics.li/a32adc5

                                         Have a nice day, admiring how our money bubbles for shameless individuals!
 7122164      4/26/2017      12918366    It is clear that Doug has no interest in simply responding. I want you to remember that Doug, you could prevent this.
                                         Doug how about you give us another totally irrational update only you know how to. Btw im still waiting on your answer on my idea of gas mask to scam even more the contributers!Think about all
 7121490      4/26/2017      12640940    the steakhouse meal and/or cheap dates you can get with that money!Even better ask the contributers to pay even more for a new version when the first one never seen the light of day! I know
                                         what you think you dont need help to find ridiculous idea from amateur like me. Gosh you are good we all fall for it.
                                         We need hard evidence proof of videos and pictures of progress. Because as it stands, now, you have nothing to show for in this project, besides the beta products that youâ €™ve sent out to
 7119467      4/25/2017       437720     people. Stop with your LI-battery excuses because you know that from the beginning you listed this campaign stating LI-Polymer batteries, and plus you specifically told all of us that you solved
                                         that battery problem long before and were in time for the December 2016 shipment.
                                         Just completed the google form.... I always give someone a chance to produce what they say that the can deliver, but the longer I wait, I get nervous and have lost confidence in participating in
 7119483      4/25/2017      14804599    another campaign on IGG or Kickstarter. I had high hopes for this campaign. And we should get our money back because we did not receive what we were promised by the timeframe they
                                         specified. I will gladly join any class action suit to get our money back for something we did not receive.
 7120434      4/25/2017      6532252     Please refund my money. I have waited for years and didn't recieve my backpack. I don't need it anymore.
                                         So IGG, shape up and FIX THIS PROBLEM. STOP interfering in us getting our money back as we have not received the PERKS that we were promised and pledged for. Doug owes us products,
 7119449      4/25/2017       437720     money back, an explanation in a decent update. Believe me, this is not the way to earn moneyâ€¦by hurting or scamming peopleâ€¦period. And BACKERS, if you have not already joined the
                                         iBackpack Buyers Group in Facebook, please join it now to help facilitate your money back: https://www.facebook.com/groups/580759835449546/
                                         You know what Doug? Did you even place the final bag order at all? We need hard evidence proof that you placed the last bag order and without that proof, we have high evidence that you have
 7119465      4/25/2017       437720
                                         played us all and scammed us from the beginning. Have I hit the nail on the dot sir?

 7119520      4/25/2017       437720     BACKERS, if you have not already joined the iBackpack Buyers Group in Facebook, please join it now to help facilitate your money back: https://www.facebook.com/groups/580759835449546/.
                                         Backers Please read the message I've typed below, it reads straight down. And Doug, the message is meant especially for you sir.., so please read it.
                                         What happened to this project and your enthusiasm for it? You BELIEVED in the iBackpack, and made us ALL believed in the ibackpack and in YOU. This project was exciting and you could
 7119477      4/25/2017       437720     have made it HUGE in the marketplace as it was a breakthrough project with a little bit of everything to be the wifi, be the powerhouse, and be the charger? Remember that saying? BUT what
                                         happened? YOU TRICKED ME and EVERYONE!
                                         So, what is your excuse now? If youâ€™ve spent all the money, through bad money management, or through overspending on beta products, or (I hope not) if you planned to scam us all in the
 7119462      4/25/2017       437720     first place, then please just give it up already Doug. It is not too lateâ €¦.just admit your mistakes and let us know what is going on. Hiding behind the computers and taking on another identity is
                                         not the way to live.
                                         WHY? WHY? WHY? Why have you taken advantage of good people and scammed us all is my question to you. With all due respect, how can you sleep at night DOUG, when the guilt of
 7119489      4/25/2017       437720
                                         scamming people has eaten into you?

 7119458      4/25/2017       437720     As it stands now YOU owe me and over 4000 backers some backpacks or our money back. And INDIEGOGO, as a company that provides a platform for this crowdfunding transaction, we as
                                         backers, are ashamed of the way that you have let this scam continue on for so long? INDIEGOGO, stop interfering in backers requesting their money back through their credit card company.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Back in October 2016, when I last spoke to you, YOU PROMISED ME THAT I WOULD BE GETTING MY 5+1 ibackpack items and I have proof of the skype conversations. At the time, YOU said
 7119490      4/25/2017       437720     that you were busy getting manufacture bags placed and that we would be getting it in time. You typed all of these messages out to me and told me this verbally over the phone that we were all
                                         getting our items soon.
                                         Was this all an act? Or did the project just flop? But then again thatâ €™s not a valid excuse as youâ€™ve gone into hiding, not admitting your mistakes, and refusing to post real pictures or
 7119474      4/25/2017       437720     updated videos. The videos youâ€™ve posted are from months ago, not recent manufacturing videos. Your battery excuses and the paper trail that you left with the updates and such donâ€™t
                                         add up as youâ€™ve contradicted yourself several times as you have that clearly typed out in email updates to everyone.
                                         NO MORE GAMES DOUG! Just send us the bag and send us the batteries later. If you cannot even show us hard evidence of ordering the bags, we will not believe your good faith in this
 7119469      4/25/2017       437720     project. Stop paying for cheap overseas helpers or taking advantage of employees to post or deliver messages for you. YOU OWE us an update directly from YOU. And Iâ €™m not talking
                                         about a generic update.
                                         So where did all the money go? You raised a total of over $800,000 between Kickstarter and Indiegogo but only spent a fraction of it on beta products, research, and operational costs. But Doug,
 7119470      4/25/2017       437720
                                         it is not too late to changeâ€¦.you have the CHOICE to turn this situation around and admit mistakes and just let us know HONESTLY.
                                         Doug Monahan, I finally have the ability to post in IGG comments so I'm going to tell you a special message so please read it with all due respect. Please STOP hiding and be a MAN and come
 7119492      4/25/2017       437720
                                         out and give us a REAL update as YOU PROMISED ME and OTHERS that you will deliver by December 2016 â€“ January 2017 and it has long passed.
                                         Because of our negative experience here, it has turned many thousands of us into non-believers of your platform, and turned enthusiastic backers into people who will never once again back a
 7119455      4/25/2017       437720     single campaign in crowdfunding sources like Indiegogo and Kickstarter again. The ripple power effect of word of mouth will do itâ €™s deed as those that are hurt will spread their news around
                                         and others will not use your IGG campaign again.
                                         I just filled out the Google form as well. I have not only been ignored by IGG, but I've gotten a refund from my CC company and then had it taken away from me by IGG when they sent a simple
 7114048      4/24/2017      14292214    email back to my CC company stating that I'd inquired about getting a refund! This is ignorant and stupid garbage and It's unfair to backers who signed up expecting to get a perk. There's
                                         nothing unsafe about the batteries being used unless they're used improperly, and that's on the user, not the company.
                                         the Campaign Owner will work with the Contributors to reach a mutually satisfactory resolution, which may include refunding Contributions. Please note that if Campaign funds have been
 7115171      4/24/2017      12069548
                                         disbursed to the Campaign Owner, then it is the Campaign Owner's responsibility to issue refunds to Contributors.
                                         Disputes between Campaign Owners, Third Parties and Contributors
 7115170      4/24/2017      12069548    Campaign Owners are legally bound to perform on any promise and/or commitment to Contributors (including delivering any Perks). Indiegogo does not recognize any third party and/or agency
                                         affiliated with the Campaign as a Campaign Owner. If a Campaign Owner is unable to fulfill any of its commitments to Contributors (including delivery of any Perks),
 7107385      4/21/2017      12918366    IGG support is simply closing the requests sent in with no response anymore for me.
                                         Luke, don't hold your breath on IGG support. I've been bugging them for months and all they do is quote their terms and tell you that you can use them to file a law suit to try to get a refund. Once
 7104213      4/20/2017      12918366
                                         the money is dispersed, IGG will not help in situations like this.
                                         I signed up as well. And I emailed igg requesting assistance for dougs company violating terms of this website. Hopefully some sort of resolution is in the near future. 270 bucks is a lot of money.
 7102431      4/19/2017      11766082
                                         I backed this product in August of 2015 it's highline I see some product or my money back.
 7099062      4/18/2017      6360482     So I'm curious how that trip to China a month ago went ;P
                                         As an update: narrowed down a shortlist of lawyers who may be able to take this case. I've reached out to them and currently reviewing a few of predicate trials and outcomes so that we can
 7099513      4/18/2017      11764068    determine realistic outcomes. My goal isn't to spearhead this but to get the ball rolling in the right direction. I urge everyone who can do participate in this lawsuit. See link in comments below.
                                         Thanks to everyone who has come forward thus far, already have a lot - but want to help ALL backers of this scam!
 7100487      4/18/2017      12918366    Thanks Mike for taking steps like this. Whatever we can do to help just name it.
 7096652      4/17/2017      11793112    signed the form too. i mean this is absolute bullshit. this guy is violating Indiegogo's terms of use, and they still do nothing about it.... this was my first and last crowdfunding venture...
 7093705      4/16/2017      12918366    This is a small taste Dougie boy, respond and refund or I'll tell the world who and where you are.
 7093701      4/16/2017      12918366    Possible cell: 512 663 0964
                                         Send the backpack. Holding it up for one lithium battery? Come on, everything has lithium batteries, so it cant be that hard to source an alternative. Or do you even have anything to deliver?
 7093451      4/16/2017      12011365
                                         Where is the form to sign?
 7093431      4/16/2017      10413863    Signed the form.
                                         Numbers that have been associate with Doug:
                                         5122666371
                                         5123428220
 7093704      4/16/2017      12918366
                                         5124191541
                                         5125140303
                                         5122152412
                                         Dmonahan@sunsetdirect.com
                                         Dougmonahan@msn.com
 7093693      4/16/2017      12918366
                                         Nghitq@gmail.com
                                         Douglasmonahan@excite.com
 7093714      4/16/2017      12918366    Your investors have a right to hear from you.
                                         4500 Steiner ranch blvd apt 1106
 7093699      4/16/2017      12918366
                                         Austin, tx 78732
 7092630      4/15/2017      11692015    Signed the form and I would like to see prison time for Doug.
                                         The SEC has regulations ok crowdfunding and specific rules to protect investors. I will be reaching out to then and suggest everyone else do the same. The more complaints will give it more
 7091792      4/15/2017      12918366
                                         legitimacy and force an investigation. We should be blowing up media outlets as well. It looks like the same thing is happening on kickstarter.
                                         We used to get 5 or 6 updates a day now we are not receiving any contact? Give us an update or give us our money back. I am convinced that this project is going nowhere and I want my money
 7092037      4/15/2017      7887510
                                         back.

 7090118      4/14/2017      9970086     Just added my name to the planned class action lawsuit. I have been quiet about this and patient long enough. I guarantee these clowns have ran out of money to full complete production. So
                                         they are jerking us around until they can get more capital.......I know the game. There are more bags out with the same capabilities....you guys killed yourself on this one. Good luck.
                                         Here's a number I have for Doug:
 7090521      4/14/2017      11904861
                                         (512) 402-5283
 7090199      4/14/2017      12918366    Doug has his cell number on here not long ago, I'm not seeing it anymore. If anyone has any of his contact info please post it. I'm done with this guy and he will know it.
                                         In order to get results someone (IGG and Doug) need to feel some pain. I am staring with flooding both of their emails daily until a response is received. The more people who do this the better.
 7089470      4/14/2017      12918366
                                         And it should only escalate from there.
                                         You have run out of time iBackpack team, as backers in this project/product, you have failed to keep to your time frames repeatedly with dubious and unconvincing reasons. I as well as others
 7089308      4/14/2017      8960136     here do not require and/or want the batteries any longer. If your next post does not at least give me/us the option to receive the bag you have designed and shown us I as well as many others will
                                         continue with including ourselves in your backers planned class action lawsuit. I suggest GIVING US AN OPTION.
                                         Doug i got an idea for you in order to make even more money from people here!!!...With all this North korea problem and other crisis in the world that use chemical weapon you should invent an
 7083962      4/12/2017      12640940    imaginary gaz mask and charge 150$ usd for it!!. While i think about it to sell it even more please use your fancy politically correct bullshit that only you know the recipe!! Im sure you can make
                                         that work you are an expert at that. I estimated you can get another 100k$ usd from that! no? what do you say?
                                         As an update, I've reached out to a handful of attorneys that have practices in Texas (where IBackpack is based). I encourage you to fill out the google form link I attached previously. The more
 7079866      4/10/2017      11764068
                                         we have, the better our case stands. As I receive more info I'll start emailing instead of using comments.
 7080957      4/10/2017      13117616    Form completed. The fact I was called to pay extra $60 after about 1 year and after $249 payment, makes this twice painful. It's a calculated scam!
                                         Gustavo,

 7079862      4/10/2017      11764068    You are mistaken. You can certainly file a lawsuit against IBackpack and Doug Monahan for breaching Terms of Use on IGG. Specifically, "perks" in exchange for contributions were not provided
                                         by the campaign. Additionally, since he "perks" were not delivered, mutual compromise was not achieved or even attempted. So yes, legal repercussions can take place. Please read the Terms of
                                         Use again and tell me if I'm mistaken. IGG has also confirmed this via my emails.
                                         Check this backpack out! 1000 times better than the backpack the piece of SHIT Doug scammed us out of!
 7076729       4/9/2017      11904861
                                         LIVEFREE WIRELESS CHARGING BACKPACK HITS KICKSTARTER
 7074291       4/7/2017      12538346    If you cannot deliver then issue us a refund back. I contributed for 2 iBackpacks with 2 upgrades.
 7073432       4/7/2017      10593430    You people are idiots you cannot file a law suit against a crowdfunded company through indigogo.
 7071687       4/6/2017      11664242    filled out the form and sending it to my friend that bought two. it's the only crowdfunded item he's backed and he got burned. i feel bad for telling him about indiegogo.
 7068801       4/5/2017      12918366    Signed. Down with the clown!
                                         I was literally looking to see if anyone had received anything since the last "Oh hey, people are really mad and hacking our website, but LOOK HERE!! EXPLODING BATTERIES!!" redirection
 7065615       4/4/2017      4318083
                                         post. Turns out all we got was more organized on getting our money back. Good enough for me.
                                         i'm in also. this person should go to jail. if he was doing something actually, he would post anything like pictures or videos at least once a week for contributors, not posting 1 time in 2 month and
 7064213       4/4/2017      9401987
                                         say he is sorry and battery is too dangerous or some kind of crap.
 7065635       4/4/2017      11909723    I filled out the Google form. Let's bury this clown.
 7062533       4/3/2017      11904861    PERFECT! IM IN!!
 7062367       4/3/2017      11764068    Maybe now that I have Dougs home address I can ask in person how it feels to steal money from so many people.

                                         If any of you are interested in participating in a case against IBackpack and Doug Monahan, please fill out the form in the link below. This is not a drill, we are going to go after this company.
 7062433       4/3/2017      11764068
                                         https://goo.gl/forms/vgG56GP5GzD75KYg2
 7063392       4/3/2017      10146672    I'm in. Info Submitted!
                                         Hey Doug! wake up its your contributers!!! we would like another of your fantastic update telling us how Lithium ion is evil and there is NO way you could build a bag without your outdated
 7061737       4/3/2017      12640940    electronics! This time try to be original and explain us with only arguments that make sense to you only please. I would strongly advise you use anything you find on youtube as an excuse to not
                                         deliver even partially what have been promised so many time. I'm sure you will come up with something logical!!!!!!!!
 7059583       4/2/2017      12918366    If the batteries are such a big deal why have you not recalled the beta products?
 7059582       4/2/2017      12918366    If the batteries are such a big deal why have you not recalled the beta products?
 7059581       4/2/2017      12918366    If the batteries are such a big deal why have you not recalled the beta products?
 7059580       4/2/2017      12918366    If the batteries are such a big deal why have you not recalled the beta products?
                                         Dougieeeee are you there!? i would really like another fantastic illogical update telling me the same crap for the last year please....oh wait im a psychic i can see it thru my crystal ball...wait...i see
 7055671      3/31/2017      12640940    it...wait...oh nothing thats what i tought like all your project its just smoke and air...But please try to convince me you do your best and its not your fault and you are a poor victim...Those really
                                         entertain me every time i read them...if i were you ill ask everybody to upgrade 3.0 for 60$
 7056982      3/31/2017      10413863    Any update?.......................
 7056013      3/31/2017      12428944    Can we get an update soon?




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
 7054987      3/30/2017      11769855    I have batteries that I carry in my backpack made by real companies. God help me for ever putting faith in this product.
                                         Sooo. I did receive a lot of the extra options from them about a year ago, got the lipstick battery, the credit card battery, the zipper cables, the cable with the light in it, the fan. Has anyone else
 7054695      3/30/2017      12833509
                                         received any product from them? Are these batteries part of the "unsafe" batteries that they are trying to replace?
 7054821      3/30/2017      14608037    any news?
                                         I emailed the woman who called all of us (or emailed) to get the 2.0 upgrade fee (I think $60) which I was charged twice and the email bounced back. So I am out the product and two upgrade
 7050794      3/29/2017      9061364
                                         charges!!!
                                         Just going to leave this here:
                                         http://www.whitepages.com/name/Doug-W-Monahan/Austin-TX/4a9yten
 7049201      3/28/2017      11764068
                                         Google isn't that hard guys. Also, CNN may be picking up this story. Details to follow.
 7048622      3/28/2017      6726573     Doug, where are we on this? If you're so concerned about the batteries, just send me the backpack...or is there a problem with that as well?
 7047584      3/28/2017      12162293    I don"t ever expect to receive my backpack. This is the last time I will ever fall for the scams on indego.
 7046521      3/27/2017      12027875    That it I need money back.
                                         So you are going to post pics of people that were HIRED to do specific jobs, and themselves have been scammed by Doug, and then claim they were in on it?! REALLY!? After all the proof in the
 7041554      3/25/2017      11754774    iBackpack buyers proving they were not willingly going along with a scam, but rather THEY WERE NOT PAID FOR THE WORK THEY DID. Some did get some money at first, but then the $
                                         stopped coming. And then YOU DONT GIVE YOU NAME AND STAY ANONYMOUS? GROW SOME REAL BALLS like the rest of us did. AND DO RESEARCH!!!!
                                         I will never trust anymore "Indiegogo", "Kickstarter" etc ... project ... :/
 7042317      3/25/2017      11881697
                                         They took my money and never refund it ...

 7039678      3/24/2017      12886050    Well Sebastian better luck with the next election! I like the idea! My guess is that this campaign will follow the Pop-slate fiasco! Does anyone have a photo of Doug? He moved show to LA I'm
                                         there a bit every month. I checked the dimensions of The Plug , a campaign here and on Kickstarter and the dimensions will fit the bag so.....??? And it FDA and TSA and FAA approved!
 7040416      3/24/2017      11791671
                                         https://ksr-ugc.imgix.net/assets/005/246/097/d76c9f2442677f66e018bd6aacffc6a4_original.jpg?w=680&fit=max&v=1453740179&auto=format&q=92&s=9534048bf64d10fd05c2b7e1bc497eb8
 7040874      3/24/2017      11891794    I think it's mismanagement. Continuing filling the web with his name. Anyone good at SEO or creating a free Wordpress page for him?

                                         COPY AND PASTE THIS. THE iBACKPACK SCAM ARTIST TEAM
 7040419      3/24/2017      11791671
                                         https://ksr-ugc.imgix.net/assets/005/246/097/d76c9f2442677f66e018bd6aacffc6a4_original.jpg?w=680&fit=max&v=1453740179&auto=format&q=92&s=9534048bf64d10fd05c2b7e1bc497eb8

                                         COPY AND PASTE THIS. THE iBACKPACK SCAM ARTIST TEAM
 7040418      3/24/2017      11791671
                                         https://ksr-ugc.imgix.net/assets/005/246/097/d76c9f2442677f66e018bd6aacffc6a4_original.jpg?w=680&fit=max&v=1453740179&auto=format&q=92&s=9534048bf64d10fd05c2b7e1bc497eb8
                                         For some
 7040878      3/24/2017      12069548    Reason I still have some hope but in other end I already have pic of him and all his plataforma Twitter and bal bal I already contacte a tv show and they gonna investigate and hope we end up
                                         not we Doug with kickstarted and Indiegogo it self.
                                         @meghan We are all angry at him and the situation and i understand your frustration but please refrain from spamming the comment box its childish and useless and it dosent let the other
 7038399      3/23/2017      12640940
                                         contributers pass their opinion
 7038380      3/23/2017       11885      Any news of the bags ?!
 7039065      3/23/2017      9189273     Can we kickstart a fund to find Doug M.?! I'm serious!!
 7036146      3/22/2017      12918366
                                         I'm about find Doug's personal information and post it online so we can start paying this scam artist a visit in person to get an explanation. Let's see you work your way out of that Doug.
                                         @Danny Waldman, i invite you to be member under Facebook backers page and share inforrmations, we start this page for all backers and find solution for refund money, IGG do nothing and
 7037003      3/22/2017      11766005
                                         host a people like Doug (shit)...https://www.facebook.com/groups/58075
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033662      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033677      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033661      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         GET ME MY BAG DOUGH MONAHAN, YOU STOLE HUNDREDS OF THOUSANDS OF DOLLARS FROM HARD WORKING PEOPLE FROM ALL OVER THE WORLD, and Indiegogo: I will
 7033784      3/21/2017      10516982    think twice, three times, four times before I ever trust You, You've done completely nothing for us.
                                         I hope the FBI can find and arrest this fraud and thief Dough Monahan.
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033670      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033673      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033668      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033688      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033680      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033676      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033672      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033687      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033684      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033693      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033690      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033691      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033664      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)




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  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
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                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033682      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033675      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033683      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033685      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033666      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033681      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033686      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033674      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
                                         Hey Dougie! These updates are such bullshit! You need to get some balls and get the truth out... you have no intention of ever producing this bag! Please also let all of know what you spent our
                                         money on.
 7033665      3/21/2017      14832570
                                         Sincerely Meghan Flynn (you should be hearing from my lawyer S Flanagan from Flanagan and associates)
 7032343      3/20/2017      11748041    This is taking soo long time, since 2015, either send the bag, or refund the money.
                                         We have a lot of people that would like the backpack "AT LEAST" Did Doug will consider it? Never! he is too busy going with our money to steak house and get cheap dates telling them how
 7028881      3/19/2017      12640940    sucessful he his! Stop asking for refund you wont see your money back the only think you can do his complain to the deaf staff of indigogo or try to get your money back with your credit card
                                         supplier
 7028853      3/19/2017      12011365    How about start with sending the backpack and once you get a battery, ship that one? If everything else is done as you have assured us, lets have the bags.
 7028183      3/19/2017      9152130     I never received my backpack this is far from what I expected
 7024912      3/17/2017      4219427     Just looking for an update?
 7025104      3/17/2017      1616612     Can we get an update Just on the bag?
 7026140      3/17/2017      10283913    Doug is it possible for you to become any more popular? You are certainly a well liked and successful entrepreneur. Keep up the strong work, you assbag.
 7025089      3/17/2017      11774453    I just want my backpack or my money now
 7025324      3/17/2017      9487746     Where is the bag?
 7019673      3/15/2017       602999     SEND THE BACKPACK DOUG, I'LL SUPPLY MY OWN BATTERY.
                                         It's so amazing how these lithium-ion batteries keep getting in the updates as a problem.

 7017740      3/14/2017      11079183    If they were such a problem, would Apple continue to use them in .. well .. EVERYTHING?

                                         http://www.apple.com/batteries/
                                         Doug, how do you sleep at night? The constant lies about the batteries are just that ... LIES. Even if you somehow ship this crappy backpack next year, this product is already technologically
 7017083      3/14/2017      12041725    outdated, and you're a total fraud. You had no idea what you were doing and used our money to fund your research (as well as other fraudulent projects). I want my money back, and can't wait
                                         for your day in court.
 7017402      3/14/2017      10018814
                                         Interesting Doug, if you would bother to ship the actual backpacks, and that the battery shipments will follow once they are deemed safe, some people might still have a little faith in this project
 7015249      3/13/2017      9796483
                                         This product is completely out dated before even going into production. iBackpack is a total scam. Zero chance of getting any product just hype after hype. My warning stay away from this!!!
 7014978      3/13/2017      11615629    for those of you still following this scammer, here is a group you may be interested in joining https://www.facebook.com/groups/1178150862229253/
                                         My lawyers have been contacted and they will be in touch, this is plain and simple fraud. We have waited over 2 years and got nowhere and instead have been lied to and robbed. You will be
 7011736      3/12/2017      11791671
                                         hearing from an attorney and us court which I am sure you will end up in.
 7011746      3/12/2017      8301663     A great idea just post the bag and leads, forget the battery and then the project will be a little success and everyone will be somewhat happy.
                                         Another think... IGG took Stark bikes off the site so it is in controll of fraudulent projects. Doug apparently now is in LA?? Austin is out???? Anyone know where I can visit a place Doug may
 7008455      3/10/2017      12886050
                                         be????
                                         I have investments in 3 battery companies all with full FAA in cockpit approval. I own a flight school and a part 135 operating certificate. The FAA is the most stringent in the world so your claims
 7008448      3/10/2017      12886050    that there aren't and available safe batteries are failed claims and straight out lies. The dimensions are the same as the test batteries you sent me as part of your beta testing program! BTW those
                                         batteries work fine. Another side note Samsung has no idea about your claims to use there batteries??
 7009092      3/10/2017      12918366    As an investor and for legality I am demanding written documentation for proof of the constant delays. The next step is court, a lawyer has been consulted .
                                         Another Thing to Note, IGG don't give a "Rats Ass" that you haven't received anything for your contributions. They have had their contribution and feel this is now nothing to do with them. Even
 7004896       3/8/2017      11615484    when people have tried to Get Refunds from IGG through their Credit Card Companies, IGG have then Blocked it and in some cases "Recharged" the Payment Method again to get the money
                                         back!!
 7003021       3/8/2017      12860107    nothing new, same as always
                                         Just came and had a look to see if Dodgy Doug had posted any more lies on this forum; unsurprisingly I see nothing has moved, Changed, whatever and Dodgy Dick Doug is still spouting his BS
 7004881       3/8/2017      11615484    about Batteries. RE: the Comments about what his Investors consider more important; do you seriously think Doug give a Flying "You Know What" about what you want. For those who didn't
                                         know, Doug has a string of Fraud Charges against his name in the US ; apparently he is well known for breaking the law!!
 7001803       3/7/2017      11871645    I'm getting really nervous
                                         Doug, consider this: you say that the batteries are the keystone to this product line and yet, if you honestly polled those of us who participated, I think you'd get a different answer. So many
 6994124       3/4/2017      10142885    posters have stated "Send the bag now and the batteries later." Treat us like the investors we are--ask us what we prefer. If you want respect from those of us who didn't anticipate waiting over 2
                                         years from investment to receipt, then treat us as partners who deserve to have input into delivery timing.
                                         This is the type of campaign that makes me nervous about backing projects on this site. It shouldn't take two years. We all know the battery story is mostly bullshit. It was only the battery in ONE
 6994970       3/4/2017      9970086
                                         samsung device that was a problem. Telling us the whole Samsung battery collection is bad isn't going to work. Are you guys out of money?
                                         I ordered XGimi H1, and I received it without the stand and bag. Because production is delayed. I am still patiently awaiting it. Similarly, Doug, you could just send us the bags and other
                                         accessories without the batteries... Trust me, everyone who supported this are savvy enough to buy batteries from Amazon or even aliexpress.
 6992877       3/3/2017      13117616
                                         So I beg you in the name of God, send bags without batteries and we will know you've done your best. I'm one of the people that was called and paid extra Â£60. It hurts.
                                         just what Thomas and others say: Give us our bags now and the batteries when they're ready.!!!!!!! (of ever!!!!)
 6993177       3/3/2017      10516982
                                         Show some respect to those who paid You hundreds of thousands of dollars!!!
                                         I honestly would have been fine if they had given me a good bag alone, that way I could say they tried but not this a hole, he is leaving us high and dry. I was really taken in by the
 6991478       3/3/2017      8960136     communications of the project but once they started to let people go it fell apart, and really the battery is stopping you? I got a 10300 mAH li-ion off amazon and it never heats up the bs about
                                         exploding batteries is from miss use don't give me that sh!t
 6993038       3/3/2017      5111890     Just checking in.
                                         i dont want your silly excuses that you use since more than 1 year...Batteries are Not a problem its proven with the millions of cell phone on the market...only the note 7 had a problem and they
 6989767       3/2/2017      12640940    didnt sell their battery...You are a lie and a fraud and i know i will never see my money back as you dont have the brain to complete this project. If you had one ounce of decency you will admit it
                                         and work with us to AT least provide the bag. I really hope one day Karma get back at you for what you did!
 6991229       3/2/2017      11776802
                                         Just sent us the bag and cables and battery are safe I have the same one you where using in the bag fore five years nothing happens to it so fare just sent it out ore give us are money bag
 6990597       3/2/2017      11765695    So what's up, just give me my backpack without the battery's then give me money back as well all I'm asking for
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988411       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988418       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988422       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988412       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988410       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
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                            Account ID
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988403       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988426       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988408       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988398       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988415       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988402       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988424       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988400       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988397       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988399       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988419       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988396       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988417       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988421       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988413       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988427       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988404       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988406       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988407       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988409       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988423       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988414       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988401       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988425       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988428       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988416       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.

                                         Hey Doug,

                                         Really appreciate you looking out for my "life and limb" so how about you just ship the bag and not waste my money on another holiday to China.
 6987945       3/1/2017      11955673
                                         Can I suggest using a portion of MY money which is allocated to the purchase of the "mysterious exploding batteries that no-one has" for shipping, if there's any left after that you keep it.

                                         Hope your enjoying California, must be a nice change from Texas.
                                         Doug you really need to give this shit up! You are a hustler that has screwed so many people over! There are so many people including myself that have no desire to get this stupid bag now &
 6988420       3/1/2017      14832570
                                         would like our money back but you have pissed itaway! Well Doug your a total piece of shit and go F@ck your self.
                                         Solid work Danny, I did the same and got instant response from IGG that the trust/legal team is looking into this for fraudulent activity. I also forwarded screenshots of Doug badgering me about 5
 6981869      2/27/2017      11764068
                                         months ago. Finally hope to see Doug get what he deserves.
                                         Aung- proceed with your referral. The more people that make an external stink the more pressure we put on them. I referred IGG support to a news video in Boston about this campaign. IGG
 6975495      2/23/2017      12918366
                                         immediately sent this to their Trust and safety team for investigation.
                                         If you cannot provide those Purchasers who trustees you and sent you their money, you leave us no option other than to refer you to the International Trade Organisation and INTERPOL for
 6974202      2/23/2017      12507918
                                         fraudulent activities.
 6965975      2/19/2017      14765378    Can I change my address
 6962083      2/17/2017      11664242    so you might know when you'll ship a solid two years after I backed this?
 6961168      2/17/2017      12507918    Completely ripped off. F*cking Indiegogo also included in this bullsh*t ......
 6957164      2/15/2017      12250529    Could we see some pictures of the non-battery related items?
                                         Based on the last update. Looks like they have no idea when they will ship, but will have a better idea in the fall? If they are that confident that they will ship a product. Will they offer a full refund
 6958554      2/15/2017      11881232
                                         to those no longer interested in waiting?

 6953766      2/13/2017      12004589    What we should also mention is that on the 30th of May 2016, I received an email from iBackPack that they were preparing to send my product. In the email they were asking if I wanted to update
                                         my perk for 60$ as this would be the last opportunity to do so before they sent it out. And I said yes and contributed another 60$. Now I know this was all organised crime.
 6953774      2/13/2017      12004589    And don't forget that Indiegogo received a share from our contributions and they should reimburse us at least this amount.
 6953851      2/13/2017      12004589    dougmonahan.info is the website which will warn people about Doug Monahan so he can't trick others.
                                         Just look a this video, shows you all about Fuck Monaghan and iScamPack
 6948459      2/11/2017      14343464
                                         https://www.youtube.com/watch?v=vVx-RycDfa4&app=desktop
                                         This campaign just gets better and better...

                                         Previous update you 'anticipated shipping in the fall'.

                                         Latest update you say you hope to know 'more' in the fall....
 6947310      2/10/2017      11955673


                                         So are you setting us up for yet another delay?

                                         Just refund what ever of the money is left.
 6947358      2/10/2017      11864144    https://www.youtube.com/watch?v=vVx-RycDfa4&app=desktop
                                         Dougie boy stop with the lies already. it wasn't a battery issue it's a we've all been ripped off issue. No one believes you any more so now you're just embarrassing yourself. Like really
 6947439      2/10/2017      11395150
                                         embarrassing yourself
                                         i challenge you Doug to provide hard and tangible proof that the bag is in production! I also challenge you to provide any shred of information that your battery have any link to Samsung even if
 6943866       2/9/2017      12640940    we have the proof of the contrary...I challenge you to provide anything more recent than 6 months of any work done on this project! Dont worry i dont expect you to even anwser this message you
                                         are too busy hiding in your mom basement.
 6944360       2/9/2017      3120603     Send the backpack now,and the batteries when you solved the issues.
 6943943       2/9/2017      13221091    I'm not saying that I don't believe yours don't work @Danny, but just because yours don't work doesn't mean that everyone else's don't either.
                                         can you ship me my backpack without the batteries? happy to add them in later.
 6943861       2/9/2017      11141941
                                         #please #prettyplease
                                         Where are the answers and original posts?? Answer the question why no one at Samsung know who the hell you are???why are there 22 FAA approved charging if devices on the market right
 6945703       2/9/2017      12886050    now?? They are the same or better MiIAH as your original claims. Why did you give me a beta battery and not tell me it was dangerous? Just answer the simple set of questions from 6 months
                                         ago.
                                         Doug...you still repeat your lie! you cant have samsung battery its proven with multiple emails from samsung...From your own mouth at least 6 months ago you said you used li-po battery who
 6943798       2/9/2017      12640940    are 100% safe so it more than enough time to have found an alternative! Where the bag!? still no videos of the bag in production!! its either you are a chronic liar or you just are a extremely bad
                                         manager since you cant resolve a simple issue like that in more than 1 year!




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                            Account ID

                                         I will not speculate, or at all attempt to defame this companies owner, I will only state facts known to be true.
                                         -
                                         We were promised lithium polymer batteries, not lithium ion.
                                         -
                                         The bags have not been ordered from the supplier.
 6944735       2/9/2017      11754774
                                         -
                                         The beta testers never found a dangerous problem in the batteries.
                                         -
                                         You called my work threatening to sue them, saying I had sent threatening emails from my work email, AND tried to get them to invest in your latest idea "Daddies Home" at the same time!

                                         REALLY?!
                                         This campaign is a huge embarrassment to crowd funding! But Dave sure can bull shit people. I'd think the fine state of Texas would not allow such a low caliber individual to do business in their
 6945707       2/9/2017      12886050
                                         state. Let alone the Capital city!
 6943851       2/9/2017      12918366    Luke, I'll be glad to ship you my beta products ask you can see for yourself.
                                         I am amazed that Indiegogo allow this farce to continue. Still allowing contribution solicitations when latest date mentioned is fall 2017. They should ban all activity that involves further payments
 6943838       2/9/2017      9881468
                                         to anything involving Doug Monahan until this is resolved and certainly all any funds racing him.

                                         I still find it had to believe Indiegogo have not responded to the multiple complaints about this campaign. It's even more incredible that people are being allowed to hand over money to it.
 6945142       2/9/2017      8645792
                                         For anyone looking at this campaign, keep your money to yourself and close this browser tab! Don't join the list of people who have little hope of receiving a product ...
                                         I'm going to have to disagree with you @Danny on the point that the Beta products don't function well. Mine still work perfectly, and I've used them all many times over. Now that does raise the
 6943790       2/9/2017      13221091
                                         question about why they're taking so long about the "safety" of the batteries if the beta batteries had mostly positive feedback.
                                         Its just a lie and we never see the product you where talking august off shipping now its fall witch is October just send as the bags the cables and everything and send the battery's latter then we
 6943900       2/9/2017      11776802
                                         my believe you
                                         Ok, iBackPack/Doug, you keep stating batteries as the issue. We would like to see progress on this front, please. What have you been doing to test these batteries if they are having issues? Did
 6943944       2/9/2017      11767779    any of your beta testers report issues? Did any of the manufacturers report issues? We keep getting the same update, yet no progress report. None of the videos you linked to today are
                                         iBackPack related specifically. Please show us, in good faith, where this project is.
 6943849       2/9/2017      12918366    Doug you were absolutely not hacked, the ibackpack site was simply redirected to one of the other websites that you own. Please explain this lie or prove me wrong.

                                         Thanks for the "totally relevant" videos in today's update (#53).
 6943804       2/9/2017      12851509    I've always been curious to know how Lithium Ion batteries exploded. I'm wondering what that has to do with the Lithium-Polymer batteries you promised in updates 6 months ago though.

                                         Please advise
 6942636       2/8/2017      12860107    @Danny, ok , will wait IGG. thanks for update
                                         Part of a response from IGG: However, our minimum expectation is that a campaign owner is transparent to contributors about the status of their project by posting updates to their campaign. We
 6941733       2/8/2017      12918366    will be reaching out to them directly to urge them to post an update and/or respond to your refund request. While we canâ €™t force them to do so, if they continue to remain unresponsive, you
                                         can use our Terms of Use to take legal action against the campaigner.
 6937097       2/6/2017      12918366    One Doug, 4 thousand of us. Who do you think has the power here?
                                         Jabir- indiegogo just shunned me off in an email as well. They didn't even read my initial message judging from their response. There are thousands of backers here who have been blown off, why
 6937089       2/6/2017      12918366
                                         aren't we spreading the word ok the Internet about this scum bag service and the scammers like Doug??
 6937396       2/6/2017      12860107    @Bernardo, done
 6935711       2/6/2017      12860107    No ibackpack, no refunds, no help from indiegogo as reply of help ticket, even no Doug!. So, what's the next plane? just wait? another year?
                                         I just sent IGG a message here. Please consider doing the same:

 6937303       2/6/2017      2454442     https://support.indiegogo.com/hc/en-
                                         us/requests/new?ticket_form_id=68803&subject=iBackPack%20violates%20TOS&campaign=1395593&description=https://www.indiegogo.com/projects/ibackpack-wifi-ultra-thin-powerful-batteries-
                                         iphone-battery--2/x/2454442
 6937395       2/6/2017      12860107    @Danny, I agree with you
 6933848       2/5/2017      12918366    And I will be fore hire for the other backers.
                                         If you are so worried about our safety why have you not recalled the beta products? Btw on that subject, all of those products have failed at this point, it originally looked like decent quality
 6934017       2/5/2017      12918366
                                         products but that quickly broke down.
 6933975       2/5/2017      12918366    Anyone knowledgeable enough to have anonymity online should google "anonymous low orbit ion cannon".
 6933844       2/5/2017      12918366    Three strikes and you're out Doug, you do not want me to come get my 500+ back because I will extract interest. Refund or you will pay more than I did.
                                         I like how you have quoted the terms and conditions yet yourself have violated them. Prompt replies ? Excessive shipping delays? You could have shipped the backpack as a good faith effort to
 6934117       2/5/2017      12918366
                                         fulfill your responsibilities to the people who gave you 700k.
                                         Check kickstarter, the same thing is happening there and that website actually shows when the owner last logs in. He was in Feb 2 so I guarantee he is lingering around here either laughing at all
 6933973       2/5/2017      12918366
                                         the people who have been scammed or trembling in his panties that so many people are going to come after him.
 6931013       2/3/2017      14343464    And Indiegogo Bastards do nothing about it, because they dont care for us, just for money. Fuck USA
 6930034       2/3/2017      12851509    @ Jose Doug's ran away with the money. None of those people that you mentioned work for the campaign anymore and were also subsequently tricked.
                                         Order Details
                                          Status
                                         Order Placed
                                         This is the current status of your contribution
                                         Order ID 3832
 6929562       2/2/2017      10906435    Contribution Date
                                         August 3, 2016
                                         Estimated Delivery Date
                                         December 2016
                                         Selected Perk
                                         1.0 to 2.0 Expansion Upgrade
 6929497       2/2/2017      10906435    And their is more... let's go after him. https://www.indiegogo.com/about/terms/ /.
                                         CONTINUATION:
                                         20,000 mAh battery Mama 5 - 2.1 USB output ports, 2 micro USB input ports, 3k Credit Card - micro + lightning. 2.6k PowerTube Battery, 5 port USB 3.4 A Wall Charger with Qualcomm 2.0
 6929566       2/2/2017      10906435
                                         Quickcharge 3X charging speeD, 6 additional 3 foot LED recharging cables, 2 more 2 in 1 (3 ft) Zipper cables. 2 USB Fans, 2 USB LED Lightsticks Power/Data Transfer, Bluetooth Hi-fidelity
                                         Controller Headphones, 5 additional "standard" six inch recharging cables + numerous surprises and BETA eligibility.
                                         Contribution Confirmation
                                         Pledge ID:13110073
                                         Perk:iBackPack Wi-Fi Version
                                         Estimated Delivery:March 2016
                                         Shipping Address:Jose Cintron
 6929551       2/2/2017      10906435    Payment Method:Credit Card
                                         Contribution:$199.00 USD
                                         Shipping:$15.00 USD
                                         Total Contribution:$214.00 USD
                                         Questions about perks or the campaign? Contact the campaign owner, Doug Monahan.
                                         Please note: If you paid with a credit card, the charge will appear as â€œIndiegogoâ€ on your statement. Questions about your payment? Contact our Customer Happiness team.
                                         Mr. Campain Owner (DougMonahan),
 6929575       2/2/2017      10906435    Let's get serious and please share the information requested by ALL Backers...YOU have my information... What is going to take from your end for us to have piece of mind and believe again in
                                         you?
                                         How" truthfully" has the Campain Owner been with us? He has to stop jerking our chain with more empty promises (The anticipated delivery date is Fall, 2017. Should this date change we will let
 6929538       2/2/2017      10906435    you know) that have no backup detail information. If detail information that satisfy all backers is not presented by the Campain Owner IMMEDIATLY this new date will be consider UNTRUTHFULL
                                         AND WE SHOULD PROCEED WITH LEGAL ACTION...
                                         indigogo is not responsible but they have terms that will favor us in a case like this as the "CANPAIN OWNER" has not kept with indigog's TERMS. Hi is in the hook for this... We donot have to
 6929512       2/2/2017      10906435    wait untill FALL as he is suggesting with out a new GARANTEE and DETAIL INFORMATION of the PRODUCT STAGE. He has fail to "Campaign Owners will provide timely, frequent and
                                         substantive updates to their Contributors"
                                         Or should I say TRUST on you...
 6929576       2/2/2017      10906435    Best Regards,
                                         Jose R. Cintron
                                         AND he is obligated tonegotiate with the backers - " the Campaign Owner will work with the Contributors to reach a mutually satisfactory resolution, which may include refunding their
 6929519       2/2/2017      10906435
                                         Contributions"
                                         Please read...Campaign Owners will respond promptly and truthfully to all questions posed to them by Indiegogo or any Contributor. Campaign Owners will provide timely, frequent and
 6929496       2/2/2017      10906435    substantive updates to their Contributors. If any Campaign Owner is unable to fulfill any of its commitments to Contributors (including delivering any Perks), the Campaign Owner will work with
                                         the Contributors to reach a mutually satisfactory resolution, which may include refunding their Contributions.
 6925212       2/1/2017      11395150    I don't know why people keep asking for refunds and what is going on etc. read the past comments, your money is ling gone
                                         Hope we'll be refund ...
 6925796       2/1/2017      11881697
                                         No one made a class action ?
 6923626      1/31/2017      14343464    refund
 6924070      1/31/2017      11776802    We won't get a update Doug is gone




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                                         Straight Q's.

                                         Any updates on the products?
                                         What are you planning to do as a Campaigner?
 6923953      1/31/2017      10454042
                                         What do we, as Supporters do now?
                                         What action does Indigogo do to sort this issue?

                                         Pls provide us at least with this, so we don't have to wait for karma to kick in.
 6923627      1/31/2017      14343464    refund
 6923621      1/31/2017      14343464    refund
 6923624      1/31/2017      14343464    refund
 6923623      1/31/2017      14343464    refund
 6922373      1/31/2017      13176426    Refund
 6923625      1/31/2017      14343464    refund
 6923619      1/31/2017      14343464    refund
 6923628      1/31/2017      14343464    refund
 6923629      1/31/2017      14343464    refund
 6923622      1/31/2017      14343464    refund
 6923307      1/31/2017      9152130     I never received my ibackpa
 6923707      1/31/2017      11537868    Dough on behalf of everyone on here I hope you can die miserably alone as usual in hell
 6920005      1/30/2017      12348251    How about Monolith battery? And itÂ´s car jumper cables? I have paid 100 $ for it!
                                         Hey Doug hope youre enjoying your break, all the stress of these batteries exploding on you must have taken its toll on your nerves and memory...

                                         Three weeks ago you promised and I quote
 6919008      1/29/2017      11955673
                                         "We will be following up this email with numerous photos and videos of the product under production."

                                         So come on then.. post the photos and videos of the product under production, or give us the name of your supplier so we can check.
                                         SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM SCAM
 6918724      1/29/2017      11664242
                                         SCAM

 6915625      1/27/2017      12152997    Doug, also in your email updates you sent, there was this line, "just yesterday in Houston, Texas - our home state - the lithium ion batteries that were inside a shoe caught fire - we are not using
                                         this type of battery". You know ion batteries weren't safe. You didn't select them for the backpack, and now you say the backpack has them. Can you clarify that statement?
                                         Doug, you last updated us two weeks ago. What can you do to provide us with updates on the battery situation. How did you test them? What are you planning to do? Can you provide us with
 6915620      1/27/2017      12152997
                                         at least that?
 6912570      1/25/2017      14343464    We could do a DDos on Indiegogo, maybe they will do something then :D
 6911247      1/25/2017      11776802    Refund
 6908704      1/24/2017      12918366    http://www.scamadviser.com/check-website/ibackpack.co
                                         We all need to do something against Indiegogo and their campaigners for false advertising and unfair business practices. This is just one of many SCAMS conducted by Indiegogo and all of their
 6909767      1/24/2017      10852577
                                         campaigners!! Need my refund ASAP!!
 6909238      1/24/2017      8243466
                                         Lies, lies, and more lies. Develop a second product before shipping the first. What a joke. So disappointed. If you had an ounce of legitimacy you would refund customers who asked for it.

                                         ugh ... I knew this was going to happen.

                                         From the very beginning it was clear that this Doug fellow knew nothing about the products he claimed he would produce, and was going to do all of the research required on our dime. When he
 6909269      1/24/2017      12041725
                                         sent out the email telling us all to grab our guns and start fighting terrorists using the backpack as a shield (with some bonus Islamophobia thrown in for good measure), I knew we were screwed.

                                         Doug, you should be ashamed of yourself.
                                         Worst. Kickstarter. Ever.
                                         What scumbags!
 6907252      1/23/2017      13629874
                                         Get it, see what I did there? ;)
 6906457      1/23/2017      11664242    Is anyone filing a class action or doing anything about this fraud?
 6906125      1/23/2017       719540
                                         And now Doug has gone quiet yet again, too scared to even try spouting any more nonsense. All his 'employees' are gone...it's just a sad man drinking and hiding behind his mother...SAD
                                         The iBackpack link as posted on this project is officially dead. Seems Doug can't even afford to pay for his server host, let alone deliver on perks he promised (which is against IndieGoGo terms
 6906438      1/23/2017      12259110
                                         of use, btw). This guy is a full on scammer and it's a shame that his shady reputation is going to tarnish those of other project leaders on this site.
                                         For all the people requesting refund forget about it he said multiple times he wont refund a penny. For the people asking for partial shipment he also said forget about it...The only thing you can do
 6906182      1/23/2017      12640940    is call police and/or your bank to be refunded its the only way you will get anything. hes a liar and a fraud and he will stretch this project to no end. Since 5 months he didnt gave any shred of
                                         evidence on the status of this project even after posting himself he will provide proofs..
                                         Early on I disclosed my opinion on how poorly managed this project was. I guess I truly overestimated the leadership required to produce a backpack with a bunch of near useless trinkets (e.g.
 6906332      1/23/2017      12175397    Lipstick batteries, etc). Now that I have been scammed I looked into Mr. Monahan's background. A West Point drop out that steals contacts from employers to start his own. When that dries up,
                                         start a project and keep the money. Sucks for those that work hard for theirs. Kharma and attorneys are a bitch.
 6907972      1/23/2017      11395150    If anyone lives in Texas contact KXAN they are desperate for someone to speak on camera about this scam
 6904941      1/22/2017      11442614    i want a refund. This is my 3rd request!!
 6904544      1/22/2017      14343464    I want a refund too
 6904997      1/22/2017      11871645    I want an answer!
 6903072      1/21/2017      2898436     Refund please
 6901755      1/20/2017      12918366    I'm willing to wait and not be upset if the prior
 6901668      1/20/2017      11537868    HAHA 891% use to show 892% that's what you get you fucking lonely ass bitch fucking scammer. Hope you fucking die painfully Doug
 6901063      1/20/2017      14343464    They have nothing to say. Because Indiegogo is involveld in this shit, indiegogo is a fake too
 6900715      1/19/2017       47047      I'd like to know what Indiegogo has to say about fraudulent activity on its platform.
                                         After spending two days putting together a list of fake excuses and putting up old "production" videos on Vimeo, Doug has once again dropped off the face of the Earth, disabled the Facebook
                                         iBackpack page, and taken the ibackpack.co website down (and redirected it to his other company, Daybreak Design).
 6899321      1/19/2017      12851509
                                         If there is anyone that still thinks this project is still happening, please take a second and look at the facts as well as the progression of what's happened.
                                         https://techcrunch.com/2017/01/19/samsung/
 6899768      1/19/2017      11395150
                                         So if Samsung announce no other batteries were involved then this will expose Doug's massive and poorly planned lie for what it is. Like to see how you will explain this one Doug!
                                         @ Hao Imho this project will not see the light of day...lie after lie...no tangible proof of anything...refusing to short ship or refunding. He got us good :/...you will see once the deadline is passed
 6899524      1/19/2017      12640940
                                         he will invent another stupidity to cover is non ex
                                         The problem with narcissistically posting about how wonderful you and your non-existent product are, is that you leave a trail of evidence of your fraud.

                                         "Over ten man-years worth of effort have been invested in the WiFi and battery components alone."
 6895389      1/17/2017      11395150
                                         http://www.bizjournals.com/prnewswire/press_releases/2015/12/11/NY75073

                                         I'm betting it isn't more than ten man-minutes.
 6896731      1/17/2017      11881232    I am curious. If we request a refund. Will you issue a refund? Will it be in full or partial. If a refund's are given what is the turn around?
                                         Excuse of the day: Today another Big and nasty problem hit the Ibackpack team it seem that the plastic used to cover the non existent backpack cause major risk. As per multiple serious news it
 6896705      1/17/2017      12640940    seem those platic bags can strangle you when you receive your packages. Doug cant live with the possibility that one of those nasty bag could attack any of the ibackpack supporter. Till he found
                                         a new type of plastic that dosent exist on this plane of existence he will need to postpone the project....
                                         kindly note my new address:-
                                         Mr. Adnan janjua
                                         SAIF TEXTILE MILLS LTD, 3rd Floor, KHASMIR COMMERCIAL COMPLEX
 6896763      1/17/2017      10285907    FAZAL E HAQ RD., BLUE AREA, ISLAMABAD,
                                         Post code 44000
                                         PAKISTAN
                                         CELL NUMBER +92 300 5551715
 6894507      1/17/2017      11911623    https://ibackpack.co/faq/ doesn't exist.
 6896068      1/17/2017      9249768     How about we forget about all the perks that were promised. I would settle for the backpack empty with no battery at this point
                                         Now it looks like he didn't pay his database bill on the website ibackpack.co is redirected to :-).

                                         Warning: mysqli_real_connect(): (HY000/2002): No such file or directory in /var/www/daybreakdirect.com/wp-includes/wp-db.php on line 1490
 6896690      1/17/2017      12175397
                                         Error establishing a database connection
                                         This either means that the username and password information in your wp-config.php file is incorrect or we canâ €™t contact the database server at localhost. This could mean your hostâ€™s
                                         database server is down.
                                         Still waiting for that proof you have ordered anything Doug...Super easy to do Doug...you must have invoices for all the 'amazing tech' you have just waiting to go out the door....i mean your all
 6892564      1/16/2017       719540     ready to ship it all right?...just need a battery you said...maybe we should start beta testing that App you had gone on and on about...who's your programmer doug? Maybe this super obviously
                                         not imaginary person should say hi and share how dev is going.
 6893677      1/16/2017      11639756    Please note that if Campaign funds have been disbursed to the Campaign Owner, then it is the Campaign Owner's responsibility to issue refunds to Contributors.




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  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
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Comment ID   Created Date
                            Account ID
                                         Campaign Owners are legally bound to perform on any promise and/or commitment to Contributors (including delivering any Perks). Indiegogo does not recognize any third party and/or agency
 6893675      1/16/2017      11639756    affiliated with the Campaign as a Campaign Owner. If a Campaign Owner is unable to fulfill any of its commitments to Contributors (including delivery of any Perks), the Campaign Owner will
                                         work with the Contributors to reach a mutually satisfactory resolution, which may include refunding Contributions.
 6892672      1/16/2017      12640940    @max bowman gosh you are difficult ;) asking fancy questions...what its going to be next? you will request your perk to be delivered...;)
                                         Excuse of the day: Today it seem there a big risk involving the cardboard box that will be used to ship the ibackpack. There is a high risk of deadly papercut. Till they invent a 100% safe carton
 6894213      1/16/2017      12640940
                                         box this project will be delayed till further notice. Doug will not be able to live with himself if anything so tragic happen.
                                         Doug,

                                         Just as you remind us that we didn't "purchase a product" I'd like to remind you that you said you were DEFINITELY shipping at Dec 2016, then shut down your Facebook, then had a
 6892324      1/16/2017      7400277     nonfunctioning site and now have shut down FB again.

                                         If you set a deadline and you know you'll miss it, don't stay silent. Communicate that and let us know. People are so angry with you because you keep failing to do what you promise and failing to
                                         communicate proactively.
                                         In addition to this Twitter account, we will be posting all questions and answers to the FAQ section of the website https://ibackpack.co/faq/
                                         Beginning next week we are going to be aggressively working toward ensuring that every single question you may have is answered there.
 6893740      1/16/2017      11639756


                                         You're website appears to no longer be yours. Curious.
                                         I expect my yearly update for december 2017 telling me that its delayed till june 2018 because of the zica virus. It seem the textile that the ibackpack is made of has been in contact with the
 6892329      1/16/2017      12640940
                                         virus...There too much risk involved and they are not going to take any risk. Doug said he wont be able to live with himself putting people at great risk.
                                         Not surprisingly one of the comments deleted appear to be his statement from a few days ago committing to post evidence of work in progress "by end of day". Nothing posted and now comment
 6890623      1/15/2017       47047
                                         removed. Sums up this campaign perfectly. Dishonest.
                                         This campaign made sense 2 years ago or whenever it was first posted because the products were not ubiquitous and the idea was relatively innovative. A lot has changed in that time as other
 6891721      1/15/2017       47047      competitors have come and gone launching products in half the time whilst all the components are now freely and cheaply available off the shelf. The reason I am now 100% certain that this
                                         campaign is a fraud is that even ignoring the last 1-2 years of 'development' I could spec from scratch ... (part 2 above)
                                         (Continued) There simply cannot be an viable excuse for another 9 months delay when the equivalent product could be deliver from scratch in less time.
 6891733      1/15/2017       47047
                                         The only question is whether the fraud was intentional from the start or simply the incompetence and mismanagement of the company.
                                         So many deleted comments and still not one shread of any proof this product has been made...there should be hundreds of backpacks in your apartment Doug...where are they?...Oh wait...whats
 6890609      1/15/2017       719540
                                         that?...you never ordered any after you got some "beta" bags to use for your pyramid scheme?...such a shame.
                                         You know whats scary about this project?
                                         A) You have not planned the budget of the bag well.
                                         B) You have realised the materials cost will result in no profits
                                         C) you are eluding all questions
 6890784      1/15/2017      11791671    D) You do not have enough funds to supply refunds
                                         E) It has been pushed back constantly
                                         F) The technology is aging
                                         G) There is not indication of confirmed shipping date
                                         H) There are plenty of 'Off the shelf' batteries which are available but you are being very reclusive about the one you are using.
                                         Hey Sunny, I know you're pissed. We all are. But Bruce and Ruth both jumped on as backers originally as well. Bruce no longer works for Doug, and Ruth never did. And honestly, Bruce has 5x
 6891197      1/15/2017      12851509    more reason to be frustrated than any of us because he put his faith into Doug, did the work he was told to do, but sources say that he wasn't even paid for any of it AND that his employer was
                                         one of America's top 100 scumbags. Bruce got shafted just as hard if not harder than all us other backers.
                                         Bruce, Ruth, Doug, What guarantee do we have that these backpacks will ship? Would you be able to personally guarantee this? I think we should set up a personal guarantor document where
                                         we would be entitled to refunds if the project fell through.
 6890773      1/15/2017      11791671
                                         I have contacted the IRS as I believe this is a huge scam which you are just biding your time with your employees and realised its not as easy to get away with. We need to know when we ae
                                         recieving refunds.
 6890555      1/15/2017      11395150    Is Doug at it deleting posts again? I check back here daily and the Comments count goes up and down like a merry go round horse!
                                         Doug, Bruce, This is becoming beyong a joke now.
                                         AUGUST 2015 I paid my money, Its been 2 years since you have taken my money and the shipping dates just keep getting pushed back. It was supposed to ship for Christmas. I wouldnt be
 6890760      1/15/2017      11791671
                                         surprised if you are earning interest from the money deposited in your account. This is a shameful and dishonest campaign - I believe you have no intention on delivering any products. AND
                                         NOW? Surprise surprise FALL 2017 ?! It will be 3 years.. mark my words. Shameful
                                         (Continued from below) The reason I am now 100% certain this is a fraud is that I am able to spec today for delivery within a month a customised backpack with all or close to promised electronic
 6891728      1/15/2017       47047      gizmos for a fraction of the original price. The backpack that Doug photoshopped for some of the images on this site is available for Â£30 on Amazon retail. Batteries and cables for the same
                                         again. This is not bleeding edge tech but cheap commoditised products brought together in a single package.
 6891099      1/15/2017      11940881    Man is not what he is, he is what he hides!
                                         Keep at it doug...make sure to spend all your time silencing valid complaints...this would all end if you would just do what you were funded to do...you have the power save your own reputation (i
 6890639      1/15/2017       719540     mean it's a long shot, but still you could)...it can't be that hard Doug...just show one shred of evidence.Maybe even just an invoice for the Wifi modems, backpacks, cables. You know all the stuff
                                         that's not the "unsafe (ie you even forgot which battery tech you claimed to be using)" batteries.
 6889375      1/14/2017      11395150    https://petapixel.com/2017/01/13/lily-drone-sued-accused-luring-customers-faked-promo-video/
                                         Hi Doug, what Wifi modem are you putting into the backpack? What model is it and which vendor are you using? I never heard that you talked about this?

 6889002      1/14/2017      11940881    Also how is the development of the Android and iOS App going along? Any wireframes? And who is doing testing on the GPS capabilities?

                                         I will send you a detailed list of questions and I would like to get detailed answers on these.
 6889410      1/14/2017      12851509    There are simply too many inconsistencies to ignore. Either Doug is horrible at designing a product, or he never intended to put one out in the first place. Which is it, Monahan?
                                         Aug 15, 2015 was my pledge... Since then I have seen ibackpack 2.0 even though I didn't even receive the 1.0 on top of this a even prolonged date to the end of fall of 2017. 2 years to develop a
 6889859      1/14/2017      11771050
                                         backpack that has obsolete items... Woo hoo...
                                         Hi Doug, what is happening with the Monolith 50,000 mAh Battery? I thought you are custom building this battery? I guess after you are having trouble with the 20,000 mAh batteries of the shelf,
 6889459      1/14/2017      11940881
                                         the 50k mAh battery is a moon shot project, correct? I am curious what your progress on this is.
                                         ...resolution, which may include refunding their Contributions."
 6888020      1/13/2017      12152997
                                         I just think we want more substantial info. I understand you are busy, but try to see it from the customer perspective as well.
 6887355      1/13/2017      11395150    Do the other backers not read the posts? "Hi hope all is well I'm willing to wait for a good product". You're either stupid or fake profiles set up by Doug!
 6887280      1/13/2017      11766005    This fall ... this fall which fall exactly doug !! 2017...2018...2019...
                                         If you have funded this campaign, here is a link for you to consider using. Make your own decision.
 6887612      1/13/2017      9419242
                                         https://www.texasattorneygeneral.gov/cpd/frauds-and-scams
                                         Doug, I read your post about reading the Terms. On Indiegogo's ToS it states, "Campaign Owners will respond promptly and truthfully to all questions posed to them by Indiegogo or any
 6888019      1/13/2017      12152997    Contributor. Campaign Owners will provide timely, frequent and substantive updates to their Contributors. If any Campaign Owner is unable to fulfill any of its commitments to Contributors
                                         (including delivering any Perks), the Campaign Owner will work with the Contributors to reach a mutually satisfactory...
                                         Doug I hope everything goes well now on. One thing I do ask and insist you do is if you could at least give us updates every couple weeks or so like we received during the beginning of the
 6887334      1/13/2017      11689037
                                         campaign. Goodluck, thanks.
                                         so this campaign is a shame, no response of IGG after open 10 tickets hotline, no response of Doug Monahan, Website is close, FB close !! in which world we are...LIE WORLD !!
 6886942      1/13/2017      11766005
                                         Congratulations IGG
 6887466      1/13/2017      14683186    Is anyone else having an issue finding the iBackpack Facebook page? Either it's been taken down again or I've been blocked from viewing it.
 6887176      1/13/2017      12027875    How long I have to be waiting for my backpack???
                                         I had so much hope for this project now im just hoping i could return in time and cancel my pledge. All this time and money lost because of bad management of this project and bad decisions. On
 6887942      1/13/2017      12640940    top of that to add to the insult you refuse to even supply the bag in a sign of good faith. You have no respect for the hard earned money of the people that believed in you. All this aggravation
                                         really make me doubt the crowfunding method. The worst is you were laughing of the coolest cooler..shame on you
                                         I don't really know why I am bothering wasting my time with this question but I am fascinated to hear an answer, any answer,

                                         What exactly will you be doing between now and autumn? What exactly needs to be done that will take exactly nine months to complete when only 30 days ago you were convinced that the bags
 6887410      1/13/2017       47047
                                         would be shipping in weeks?

                                         Please tell..
                                         @Hassan Sleem dont wait something and open ticket support at IGG for refund,Doug lie to everybody and this man "So don't piss off professional IT guys at someone place of work... they found
 6888096      1/13/2017      11766005
                                         out that Doug is listed as 97th in the nation for running scams!
                                         Wow. That's closing up shop fast. Though the Twitter "customer service" Help is still there: https://twitter.com/ibackpackhelp
 6887077      1/13/2017      11079183
                                         But, really? Dozens of comments just deleted and gone. That's really telling as to whether or not this project would even stand a chance of being completed. Makes ya wonder what the "Beta"
                                         products were really made of there. Off the shelf stuff just with a few extras tagged on to make it look good? How deep did the fraud go here?
                                         Since few months my confidence in this project is at 0% you want to make me believe in it provide those now:
                                         1- Factual proof of the backpack production
                                         2-Stop blaming the battery safety few months ago you said you changed to Li-po battery who are 100% safe..You never had access to samsung note 7 battery.samsung confirmed that in multiple
 6887932      1/13/2017      12640940
                                         emails.
                                         3-provide NEW videos of the new component of the backpack
                                         Till i see real tangible proof i will keep chalenging anything i have a doubt on this project




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Dear Doug the swindler and Bare Faced Liar!!
                                         Keep deleting comments Doug; what your not seeing is that your days as a Swindler are limited as your Corrupt ways have been passed onto various public interest forums and Websites that are
 6886699      1/13/2017      11615484
                                         exposing your lies and deceit. I don't think that any crowd Funding Platform in the future will allow you to con any more unsuspecting Backers. I would be surprised if anyone will trust you enough
                                         to buy a Coffee from you in the future!!
 6887281      1/13/2017      11766005    Doug the greatest comic of the century in the area of the bag has back
                                         P.s. If anyone is still looking for decent backpack this one looks pretty good and will ship in the spring.
 6887423      1/13/2017       47047
                                         https://www.kickstarter.com/projects/543113100/udee-the-worlds-most-versatile-backpack-with-19-fe?ct=t(Udee_first_pitch1_13_2017)&mc_cid=f73b86f497&mc_eid=ccb311e777
                                         @Doug, you're wrong, it's not just a backpack. It's not just the 260+ dollars I contributed. It's over $800,000 you saw fit to just take from thousands of people without giving them what they were
 6886052      1/12/2017      12447685
                                         promised in return. You have our money, and you had our tr
 6885575      1/12/2017      12452532    Is it just me, or did a ton of comments just get deleted?
                                         Hahaha I guess it's "comment clean up time" again Hahahah

 6884908      1/12/2017      11940881    Doug I thought you are working on your batteries?

                                         By the way if you want I have contacts at Samsung, HTC or LG. If you want we can setup meetings to work on the battery issues that we can get the backpack out.
 6885828      1/12/2017      11395150    Doug is so busy deleting comments that he will have to delay the release of the iBP until 2018 :p
                                         The lesson I learned from this ... I will never back another Indiegogo project without giving the process time to play out so I can first read backers' comments to see how the development is
 6885304      1/12/2017      10348187    progressing and if a quality product actually ships. The only positive I have taken from this is that it has saved (prevented?) me from supporting other projects that I might otherwise have lost
                                         money on and felt completely $#@%'d over about. Until IGG comes up with a way to protect backers, I'm out.
                                         Doug Monahan:
                                         "I'll be posting a note, hopefully my last post. You would think people were waiting for the heart pacer for their dying child or grandmother - it is a backpack - jeez"
 6885000      1/12/2017      12062631
                                         Yeah Doug. It's just a backpack. Why is it taking 2 years to manufacture?
 6885596      1/12/2017      11537868    @Joe yeah Doug is deleting lots of comments...very suspicious http://crowdtoolz.com/sorry-ibackpack-backers-you-got-scammed/
 6884694      1/12/2017      11774453    Looks like doug is deleting post again
 6886054      1/12/2017      12447685    http://crowdtoolz.com/sorry-ibackpack-backers-you-got-scammed/
 6885829      1/12/2017      11395150    http://crowdtoolz.com/sorry-ibackpack-backers-you-got-scammed/
                                         So doug in your last update under IGG you post 5 videos but problem you re video date since 9 months so in finallity its not a update ...i can proove with this link :
 6882277      1/11/2017      11766005
                                         https://vimeo.com/daybreakdirect/videos/page:16/sort:date/format:thumbnail
                                         I was told in the beginning that because of the hover board fires that doug was switching to a safer polymer battery sound great well a few months later i received lithium ion batteries from a
 6882749      1/11/2017      11774453
                                         cheap china wholesale company and was told thay will be upgraded to Qualcomm so that means i was lyed to and was given unsafe batterys
 6882682      1/11/2017      11766005    @Geof Smith hello thanks for this information Geof and we need to official paper from samsung, have you FB account pls ?
                                         2/2

 6882444      1/11/2017      7138335     Mr. Monahan; I initially backed this campaign b/c I thought it was a great idea, and I was happy to see that it was a start-up based in my state. I understand also that intended timelines are not
                                         always static, delays happen, I get that. However - I feel that I no longer need nor want your product. If you actually do bring this to fruition - please - just donate mine to a deserving student. I
                                         now feel that the design and application of the thing to be better suited to primary education.
                                         Doug Doug Doug. Old videos is how you update people and assure your backer base. Very disappointing indeed. Or should I say a continuation of the disappointment. But you are only trying to
 6882816      1/11/2017      11395150    cover your ass because you know that we are bringing the rain down on you. Too little too late! You hid behind a fake battery issue that has been easy to disprove and not delivered on a single
                                         one of your other products. Woeful
                                         1/1
 6882433      1/11/2017      7138335
                                         I first backed this campaign in August 2015. I too feel for the "upgrade" - and paid for that. At this point, I really just don't care to actually get the damn thing. I have plenty of portable batteries
                                         (none of which have combustibility issues). Additionally, I have plenty of stylish bags/backpacks (with lots of pockets) that I can put said batteries into.
                                         Hello everyone, we have created a group for all buyers who have been made by Doug Monahan, I invite you to join us and share our strategies and our knowledge in order to advance on the
                                         scam of this site IGG. You will be asked to prove your identity with your order number under IGG so that this dear Doug does not enter into our discussions, IGG does not seem to want to react
 6882287      1/11/2017      11766005
                                         when this situation gives a very bad image internationally to this folder.
                                         Https://www.facebook.com/groups/580759835449546/
                                         Fall 2017 now man this is ridiculous, I paid for bag a year ago now have to wait almost another year until Fall man this is a scam. A waste of money by the time your bags show up they will be
 6882259      1/11/2017      13458982
                                         dead technology. This company is unprofessional and overwhelmed and should have no business taking anyone elses money.
                                         What a disappointment. Being in law enforcement and having bought 6 units here and 2 on KS as well as Kevlar upgrades I finally see this is over. I will contact via my friends in other agencies
 6882531      1/11/2017      4004086     the appropriate people. We have thousands of lithium batteries that never failed and to use this as an excuse should be a way to get most people their money. That is just fraud. Sending the
                                         backpacks out without "problem batteries" would at least show the project isn't fraudulent. Pitiful Doug!!
                                         2/2
                                         - I'd be careful about proclaiming the product as 100% safe when or if it ever ships. Even the occasional iPhone has been know to catch fire.
 6882333      1/11/2017      11911623
                                         - Not posting updates, loss of (apparently) your whole staff, websites and social media sites disappearing: these are not signs of a robust and viable project.
                                         It's now official!!! Samsung knows absolutely nothing about the battery issue. They will give their legal team the information and we can see where it goes from there. Let's see him wiggle his way
 6882621      1/11/2017      12886050
                                         out of this little jam! Oooops you lied about the wrong company Doug! Karma is a bitch buddy! Good luck!!!
                                         1/2
                                         Doug, regarding your recent updates:
                                         - The assembly videos are old, from before the "battery problems" developed.
 6882322      1/11/2017      11911623
                                         - Samsung did issue a recall for the Galaxy Note 7, the only Samsung product with a battery problem. They also issued a software update rendering them unusable.
                                         - Current wording on the IGG site has no bearing on pledges made over a year ago.
                                         - FAA prohibited Galaxy Note 7s ONLY, not "the Samsung products" from airplanes.
 6882917      1/11/2017      12851509
                                         @ Roman Yep. So I guess the next step is to inform IGG that Doug came out of his hole in the ground, but gave us 9 month old videos as an attempt to reassure us that he hasn't walked away.
                                         Doug, Just send the bags. " But that's not the iBackpack". Well, its better then no bag at all. You want us to quite "bitching? Then swallow your damn pride and send the damn bags. You're
 6882248      1/11/2017      14767048    violating so many terms and conditions not only on IGG, but legal actions as well. I grantee you will receive less hate mail. Go ahead and insult me like how i'm wasting time by complaining or
                                         that I'm dumb. You'll only prove that you're not only a poor Businessman, but a short tempered man with no dignity.
                                         Doug, Doug, Doug. I offer my help, and ask a simple question, for which there are several good answers. But no, you had to go and insult me. Your sir need to go back to business school and
 6882479      1/11/2017      11754774
                                         learn the basic foundation principles of business. The most basic is treat your customers well. If you can't treat people well, then you shouldn't be a CEO.
                                         A day in the life of Doug...repost 9 month old videos, delete backer comments...What else does today have in store? Perhaps actually work on the product we paid for...let us see 30 bags Doug (i
 6883009      1/11/2017       719540     mean you must have wayyyyyy more than that if they are all done and ready, so 30 should be pretty easy to get out of boxes)...in one photo...hell throw todays copy of the 'Statesman'...would
                                         pretty much end all this negativity real quick.
                                         @Jerry Riechert. He has a viable company I am sure. Here was a 2015 press release: Austin, Texas based iBackPack is hiring hundreds for full-time employment in order to support the demand
 6882458      1/11/2017      12175397
                                         for it's high-technology and bullet-proof backpack. There are engin
 6882264      1/11/2017      13458982    I say show these post to every social network and YouTuber with 1k or more followers and pass the word that this company is a scam and no one should ever give them money
 6882266      1/11/2017      13458982    Make sure to include Doug Monahan by name
                                         I've been very patient for a long time. Now we have to wait another 8+ months just so you can source batteries? And you have started another company in the mean time?
 6882362      1/11/2017      1615720
                                         Doug, the only way you will ever get this into retail space is to fix it quick. And give your customers something extra to make them forget about this debacle.
                                         Doug, those videos from Update #52 were great when they FIRST surfaced on the internet... But how about some CURRENT updates to back up your claims that you're actually still working on
                                         this project and haven't walked away with the money?
 6882899      1/11/2017      12851509
                                         What are you doing NOW to make sure it comes out? If anything?
                                         Where is the proof behind your claims? After 3 massive reschedules and freakouts on your backer base, your word doesn't mean much now without proof.
                                         Im on a ski trip but i have second to post a comment. I have talked with samsung thay are aware of doug Monahan and ibackpack i have received a email from Samsung saying that as of today
 6882731      1/11/2017      11774453    thay are only aware of the note7 battery problem and have no reports of any other devices affected i would post the email but im limited to 500 works but i posted it in the comments on ibackpack
                                         Facebook page i really wanted this to work but just to many things just don't add up
                                         So Doug you report the problem on Samsung batteries but Samsung is not aware of anything and you will be contacted by Samsung's legal department shortly !! You play with fire for months and
 6882689      1/11/2017      11766005
                                         it will stop short .... you will not need 750 000 dollars but much more !!!
                                         Hi All, I did a poll on what people prefer. Backpack with or without battery. The current poll status is that 82.5% want to get the backpack without battery. Doug, are you listening to your backers?
                                         At least listen once and send what you have. Otherwise refund our money.
 6882546      1/11/2017      11940881
                                         By the way Tesla is building a car during the time you are building "a backpack with a battery of the shelf" ...
 6882608      1/11/2017      11766005    thanks Roman Baumgaertner for this Survey, and i hope Dough listen backers and send product without battery and stop to take people for stupid
 6883737      1/11/2017      4874525     Con artist he is
                                         Holy Shit ... look at this backpack

 6882922      1/11/2017      11940881    https://www.amazon.co.uk/dp/B006E0WB2K/ref=cm_sw_r_cp_api_z-ODyb35FFBZ8

                                         Looks like the iBackpack ... Do the comparison ... iBackpack has only small mods.
                                         Doug your comments below show you have lost patience and clearly represents who you are as a person and someone who is unfit to be a CEO. Based on what you said before it's not complete
 6882316      1/11/2017      11689037    so you won't ship the bags. Well you can at least send us pictures of the warehouse and show bags of boxes not random boxes. If this isn't don't then based on laws of the country you could go to
                                         jail. You need full proof you have the bags, charging cables, speakers, gps unit, and the internet device. No batteries
                                         Really thought more of this product when I donated. I am very disappointed and truly feel I will never see the a backpack delivered. I will caution anyone thinking of donating to IGG, Ibackpack,
                                         and especially any of Doug Monahan's companies.
 6882428      1/11/2017      14765800
                                         Very disappointing.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                           Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         This 500 word limit sucks i aslo received a beta backpack so you all know im a true believer of this product and put many hours into this backpack and i wasn't even getting paid well i thought i
 6882761      1/11/2017      11774453    was getting payed by keeping the products i tested but last week when i put my first complaint in i was told that what i received is all im going to get and if im done taking so he could be done with
                                         me. Well i still want my final product and i will be hanging around till i get what i payed for
 6882758      1/11/2017      11776802    Nice old videos from a year ago. Show us so thing new al old date
                                         The reason why Scamahan responded here on the comment section is because he had to

                                         From the Indiegogo page (https://support.indiegogo.com/hc/en-us/articles/526746-Will-I-get-my-Perk-)
 6882913      1/11/2017      11940881
                                         What if I Don't Receive My Perk?
                                         ... Campaign owners are required by our Terms of Use to fulfill their perks. If a campaign owner does not fulfill a perk and has been unresponsive, please notify Indiegogo.We will get in touch with
                                         the campaign owner to reiterate to them their obligations as a campaign owner.
 6883385      1/11/2017      10852577    Fraud
 6882373      1/11/2017      13176426    i want my money
 6883565      1/11/2017      11639756    So no communication for two months and you come at us with attitude? Are you kidding me?
 6883060      1/11/2017      11766005    Be careful with this campaign again of Doug ... https://www.indiegogo.com/projects/mojo-bag-battery-cables-plugs-sales-leads#/
                                         bonjour Ã tous, nous avons crÃ©er un groupe pour tous les acheteurs qui se sont fais avoir par doug Monahan, je vous invite Ã nous rejoindre et partager nos stratÃ©gies et notre savoir afin
                                         d'avancer sur l'arnaque de ce site IGG. il vous sera demandÃ© de nous prouver votre identitÃ© avec votre numÃ©ro de commande sous IGG afin que ce cher Doug ne penetre pas dans nos
 6882286      1/11/2017      11766005
                                         discussion, IGG ne semble pas vouloir rÃ©agir
                                         https://www.facebook.com/groups/580759835449546/
                                         Hey men, calm down. I obviosly want my backpack asap, but as long as I get a good product I can absolutely wait till august without dying for this. I bought the 2.0 and it wasnÂ´t a cheap thing to
 6881643      1/10/2017      14944415
                                         do, so I do preffer to have a good product later than a bad thing now.
                                         So according to that link they sent in the most recent update.
                                         https://www.indiegogo.com/about/terms/
 6882173      1/10/2017      11775189
                                         Campaign Owners are legally bound to perform on any promise and/or commitment to Contributors (including delivering any Perks).
 6881310      1/10/2017      13117616    I quite like Doug's sense of humour and sarcasm...it's the first time I've read comments thread to the end. Provides some laughter in the face of ibackpack adversity.
 6881993      1/10/2017      12770234    So now you are using the Samsung note battery as your excuse. The batteries were not Samsung batteries!! We would like a refund now.
                                         how can other bags in development, like life pack, manage to get their bags done if there's an issue with batteries. seems like this has been an issue for months yet it's still being pushed back to
 6882071      1/10/2017      13986886
                                         the fall, a whole year and a half after the original date it was supposed to be released? none of this passes the smell test.
                                         HAHAHAHAHAHA his latest update is a JOKE.Sure Doug, I believe you.I believe all those fake, edited videos you put up on this website.Yes I will be getting my iBackpack.I dont know when I will
 6881958      1/10/2017      11642786    be getting it,But i will get it.Probably when everyone moves into virtual Cloud storage. By that time I wont need my iBackpack anymore.You know why? Coz the world has moved on to other
                                         technologies.Anyone in here GULLIBLE enough to believe his LIES are in for a good run. I'm just waiting,Doug.Still waiting.
                                         "Campaign Owners are legally bound to perform on any promise and/or commitment to Contributors (including delivering any Perks). Indiegogo does not recognize any third party and/or agency
                                         affiliated with the Campaign as a Campaign Owner. If a Campaign Owner is unable to fulfill any of its commitments to Contributors (including delivery of any Perks), the Campaign Owner will
 6880795      1/10/2017      8342118     work with the Contributors to reach a mutually satisfactory resolution, which may include refunding Contributions."

                                         1/2
 6880806      1/10/2017      12851509    What happened to Doug? I thought he was going to spend 'all day answering all' but it seems that he disappeared around 34 minutes ago. It's 3:56pm PST right now.
 6881642      1/10/2017      11891772    This is a scam!!!!
                                         Fall 2017, what crap. Glad I ended up making my own. Tumi backpack with Anker 28000 mAh battery, $350. This project, $200 down payment for a product that I'll probably never see. Luckily
 6881992      1/10/2017      11764068    the bag I have now is much better quality than anything I've seen from this team. Such a shame. Hope Doug doesn't call me whiny like he did last time I commented, the ones I still have
                                         screenshots of.
                                         Everyone, dont waste your time trying to convince this mofo to send us our bags. The whole focus now is to bring this guy down so he won't scam other people too. Trust me, justice will be
 6882017      1/10/2017      11642786
                                         served. And Karma will be sweet. Your money swindling days will be over soon, Douggieboy. Enjoy it while it lasts.
                                         Dear Doug, I placed an order for 2 2.0 Wifi ibackpacks 1 1.0 Power Ibackpack, and 1 monolith battery all totalling around $800. When I first came here, your company showed me much promise
 6880867      1/10/2017      11773883    and exactly what I was looking for in the bag alone! (All the batteries were a bonus!) now I am surrounded by thousands of upset and angry backers, and beginning to question why. I can see why
                                         they are upset and so I want to propose a question to you. Rather than give you grief and tell you how I am feeling
                                         I know everyone is heated and upset, I was too, but this isn't a store. We gave our money to the iBackPack team because we believed they would create an exceptional product. This is no
 6881063      1/10/2017      11631833    different than the stock market, sometimes you win and sometimes you lose. Nothing is guaranteed on Indiegogo or Kickstarter. I have lost thousands of dollars backing campaigns I believed in
                                         but ultimately failed. Never back a campaign you don't believe in and never pledge money you can't afford to lose.
                                         Doug when I still see your new update finally after 3 months without giving any news to anyone, you still come to tell us stories and hide yourself with the Samsung story when it has been proven
 6881614      1/10/2017      11766005    that it is not Samsung that you Produces batteries !! We have a file on you to make you fall into your poor existence !!!! And stops writing but sends us the backpacks without batteries !! poor guy
                                         !! you are the shame of this site and your story go around the world via the media

 6880926      1/10/2017      6360482     Since the batteries are coming by boat, mind posting information on which batteries you've decided on, as well as the WiFi module, headphones, etc. At this point since you've been working
                                         quietly for the last 2 months without any updates you must have decided on these. Order/shipping invoices would be nice also to help restore some faith that this are progressing.
                                         Mr. Monahan again I don't appreciate the tone you take in your response to me. I was not attacking you in any way. There is no need for you to come at me like that. I truly believe that your
 6881899      1/10/2017      14683186    product could be something awesome. It is frustrating when one puts out a large sum of $ and all communications stop. I'm am willing to help in any way I can to see your product happen. In the
                                         future you might consider being abusive to those attacking you and not the ones who are just asking for answers.

 6881547      1/10/2017      14343464    @Doug, maybe i was wrong with my comments here. I want to apologize.
                                         I am sorry for saying bad stuff about your Campaign and IGG. I was just frustrated because everyone here said its fake and there was no response from you guys. I hope you unsterstand.
                                         Any reason the website http://ibackpack.co/ refers to a company called daybreak and a completely different business that has nothing to do with this bag at all... followed the link at the bottom of
 6882105      1/10/2017      6326481
                                         the story page...
                                         As predicted, this is the next Coolest Cooler of Crowdfunding. Lithium-Ion batteries have been safely used in the industry for years now. This is just a smoke-screen to cover up fraud. Too bad this
 6882074      1/10/2017      11079183    is the kind of thing that crowdfunding does allow sometimes. The moment the excuses started rolling in, I've been saying the same thing: this is a hoax, nothing about this is real, and there will
                                         never be a backpack from this group. We've been had.
                                         So Doug, what do you need help with to get the packs out? And when were the batteries ordered? Also I am wondering why you switched to a lower quality battery? Back in May you posted
 6881172      1/10/2017      11754774
                                         updates saying that it was a good thing you had went with the Li-Pol batteries instead of the Li-Lon that people were scared of.
                                         Mr. Monaghan first off I don't appreciate the tone you took in your response. I must say in reading your responses to your backers clearly you are losing your cool. You should sit back and look at
 6880850      1/10/2017      14683186    it from our perspective. I personally am upset because I truly believed in the iBackpack project. As did many other backers. It is the way you chose to conduct business that has set many down
                                         the path of negativity toward you and your company. We as backers have every right to "BITCH".
 6881042      1/10/2017      12560393    This is unbelievable, please don't purchase anything from this website , it is definitely fraud
                                         So Doug 2 comments in 2 days !! whats happen man ? you find again money for continue project ??? after your last annonce, you push video that everybody see since More 1 year now.. so for
 6882032      1/10/2017      11766005    me all is product except your fake problem with battery !! so you know what .::: send ibackpack without battery !! its ok for us !! waiting again 1 year for fake problem is enought Doug or maybe
                                         your burn all money and ibackpack never exist or prouve under IGG, FB and your website with date a prroduct !!!!!
                                         You had all my contact information! I've tested products for all military service branches and your claims make no sense! If you paid Samsung to produce the batteries I'm sure they will refund
 6882206      1/10/2017      12886050
                                         you. I also have 7 companies I can tell you that have approved batteries that are less expensive and already approved for use in commercial aviation
                                         Dear Doug the swindler and Bare Faced Liar!!
                                         We know you haven't even ordered a lot of the Products you claim are part of the IBackPack. As far as I am concerned, keep the Plastic Accessories and just send me the Bag!!! NO, cant do
 6882001      1/10/2017      11615484    that?? Wonder why that would be; perhaps because you haven't actually got any finished bags as all you have are Samples & Prototypes maybe ?? There's you Challenge, just send me the Bag,
                                         Batteries not included :)
                                         As I know you will not reply, THOUGHT NOT!!
                                         As luck / Karma would have it... I'm picking up some Samsung folks from CES 2017 in Vegas to fly them home. I'll keep you posted on what they have to say about your claims and if they now
 6882192      1/10/2017      12886050    who you are? I'm sure they will be interested to hear what you claim about them being the cause of your delay! I'm also going to turn the batteries you gave me over to the FAA to test the safety of
                                         your products! If they are unsafe then you should have notified me of the safety issues with the product!
                                         About my funding of the Ibackpack, I am going to bite and ask since you have made the request. I still harbor some faith in your product and now I ask you. What is it that we can do, to help you
 6880872      1/10/2017      11773883    fufill our orders with safe batteries? Please give me a list or detailed explanation as to what we could offer to help you produce this product. Thank you, I filled out the email and have spoken to
                                         you before feel free to contact me at email or by phone. I am awaiting your response
 6882174      1/10/2017      11775189    Who ever formed the ibackpack buyers group on fb please add me.
                                         Like many of the backers here, I began to worry about whether or not I was ever going to get this bag. I came to this page to see if there are any updates only to find out it's being delayed for
 6882171      1/10/2017      9797830     nearly another year. It's been nearly two years since I paid money into this. Then the original team fell apart, they added more info and, much to my embarrassment now, I paid for the upgrade.
                                         As I read the comments and the replies from the campaign owner, I am surprised at the tone of his replies.
                                         I ordered my backpack in 2015 , supposed to get by march 2016 , then they changed it to December 2016 and it's already January, I would never ever purchase something from this website
 6881028      1/10/2017      12560393
                                         again, so disappointing
                                         @s.rohit .. well, look at that: it's because the company specializes in "the largest and most comprehensive contact list databases available today. Our contacts are up-to-date, downloadable and
 6882111      1/10/2017      11079183
                                         provide complete contact and organizational information." Sou
 6882194      1/10/2017      11775189    EVERYONE REPORT ALL COMPLAINTS TO BBB Better Business Bureau. If anything will light a fire under this scammers ass that would be it.
 6881060      1/10/2017      11395150    Just more empty promises from this empty shirt!
                                         100% safe???? 'cmon Doug. There are so many options for batteries and other components. Projected delivery - Fall of 2017........ Very disappointed at the progress and management of this
 6881982      1/10/2017      11765610    campaign. That and your focus really seems to be on the other part of this business and that is with sale leads generation per the link to ibackpack.co which has nothing to do anymore with the
                                         product presented here but with. A refund would be course at this point, though I know, that is not possible.
                                         Oh, and Douggy, you're correct it is just a bag... So please explain why 'just a bag' takes two years to design and build.
 6881523      1/10/2017      11955673
                                         Ps - Where's the software, the Apple certified cables, the speaker and all the other stuff.... Has that been delayed because of the batteries too????
                                         I believe in this project I just need a clear answer. I know is hard to make a little bird fly for he first time. But in the process just make sure any little question is answer even if it sound stupid or not
                                         worthy to
 6881076      1/10/2017      12069548
                                         Answer. Just keep the hard work and keep us updated on the shipping the batterie and the actual backpack. At this stage we need to see a clear pic of how the backpack will look like. As well
                                         with the bullet proof vest, and the speaker. I know is hard but what we need is comunica




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Doug you idiot, read your shit before you try to hide behind indiegogo terms. It clearly states you have to provide the perks or pay up. Or indiegogo will give us your contact info and i will show up
 6882191      1/10/2017      11775189
                                         at your door knock shoot you through the door and take my fucking money back. Please go fuck yourself and die you massive sack of shit.
                                         Doug, thanks for the condescending response.

                                         Yes, I have watched every pointless video, and read every pointless 'update' you've posted.
 6881510      1/10/2017      11955673
                                         Further, I've added my details to your pointless form and attended several pointless goto meetings a couple of which i saw you doddering around.

                                         Do me the courtesy of pointing out EXACTLY which update gives me the FINAL specifications for your 'bag o batteries'.
 6882003      1/10/2017      5973931     Can you at least send us the bags without the batteries?
 6881097      1/10/2017      12069548    And I'm agree you never mention Samsung battery and in many updates you mention to built the batterie from scratch
 6881626      1/10/2017      11442614    2nd contribution, 2nd scam. no refund. What a shame. I want an immediate refund.
 6881793      1/10/2017      9768518     can you send the backpacks now, then send the batteries at a later date?
                                         So I'm reading a lot of the other backers received an email today (1/10/17). I am one of the few who did not. Is there a loss of information or am I less important since I decided to only purchase a
 6880536      1/10/2017      11931717    Sales Pro 2.0 for myself? I really want to be in the know as to the status of this project. It concerns me that there is no recent update nor reply to any of our questions. Also, the Sales Pro
                                         Database via Google Drive is now missing. *just a note
 6881554      1/10/2017      10593430    And yet another bs story as to why we wont be getting our backpacks anytime soon.
                                         Lot of us know this is from scratch and is hard to
 6881085      1/10/2017      12069548    See it flying but as well we have see that you have focus on other project on the side and not finish the backpack it self. I was disappointed that I didn't have the backpack but heyyy I know
                                         sometime we don't get what we one on time, I will wait as long is a great product and we have a actual shipping time no play no joke, just fact. You
                                         One suggestion is to look at the folks from G-RO, and outstanding product born on Kickstarter. Here is a link to their battery https://g-ro.com/collections/shop-all/products/g-ro-
 6882065      1/10/2017      12175397
                                         power?variant=20682722245. They had a few delays, but was extremely transparent and I received my perk.
                                         How about trying your luck for another round of scamming, Doug? Promise an iBackpack 3.0 upgrade perhaps? Ohh and don't forget those force field shields as perks. You know the one that
 6881964      1/10/2017      11642786
                                         Marvel superheroes use? Yeah I want one of those.
 6878581       1/9/2017      11766005    So we receveid again a fake information by email where we need to wait again fall 2017 !! Hahhah doug stop and refund monney !!
                                         If Doug intended to deliver the ibackpack to his backers, who have trusted him with our hard earned money, he would be updating this campaign on Indiegogo, not referring us to twitter last
                                         month, or apparently now posting an August delivery schedule on Facebook.
                                         This is the old fashioned shell game.
 6877838       1/9/2017      14641744
                                         Which website is the Bean under.
                                         Let me stall until the statute of limitations runs out.
                                         Very clever Doug!
 6878294       1/9/2017      11689037    Doug if there is something wrong with the batteries you can still ship the bags. So I expect my bag within the next 3 weeks if not then their is a bigger issue
                                         Poll iBackpack with or without battery
 6878606       1/9/2017      11940881
                                         https://poll.fbapp.io/ibackpack-with-or-without-battery
                                         This campaign used to spam us twice/day as long as the campaign were alive and on demand.. not to mention selling our information to third parties.. currently, nothing!! like we don't even
 6877893       1/9/2017      8861108
                                         exist.. do the math
                                         Good Day,
                                         Mr. Doug, the most innovative idea person,
                                         I hope that you are fit and fine, God Willing,
 6879383       1/9/2017      10285907
                                         i have favor to ask, which is that i need to change the shipping address which would be a better option rather than to loose my perk at all, like i did for 90 % of my items due to the Egyptian
                                         customs.
                                         kindly inform
                                         2/2 . So, please stop announcing delays due to safety problems. If you are in good faith, you have only one solution: Ship the bags without batteries until you find a solution, and let us know about
 6879433       1/9/2017      11940255    Wi-Fi/ MiFi, Bluetooth speaker, Controller Apps, Anti-Theft Alarm, Notification System and GPS Tracking. Otherwise, be prepared to face hundreds of legal actions from your furious backers who
                                         will certainly not wait until Fall 2017, especially if they placed their order, as I did, in August 2015.
                                         1/2 . @Mr. Doug Monahan or whoever is left in â€œthe iBackpack teamâ€: Your January 10th 2017 e-mail from â€œinfo@ibackpack.mobiâ € is an insult to my intelligence. In the hundreds of
 6879434       1/9/2017      11940255    updates that you used to send us, I NEVER read that you were purchasing batteries from Samsung. Instead, you announced that you were switching from lithium ion to polymer ion batteries.
                                         Check your updates May 13th, May 17th, May 28th, June 5th, June 13th and Shanze Gillanyâ€™s reply to my post on July 16th 2016.
                                         Doug, you want us to believe your story on the batteries, well how about a show of faith.

                                         Prove to us the the bags and other peripherals exist, show us emails to your bag manufacturer with orders for all the bags, show us way-bills and shipping manifests.

                                         Show us proof that the cables are certified by Apple and not some cheap crap bought from Alibaba.
 6879552       1/9/2017      11955673
                                         Show us a video of the tracking and anti theft software being tested, heck just tell us how it works.


                                         Show us proof youre not a fraud!!
                                         Samsung has OFFICALLY confirmed that no other batteries aside those made and installed specifically into the Note7 were ever affected by the safety recall nor had issues. Doug, there is so
 6878160       1/9/2017      11615629    much more to the backpack than the batteries. Why are we ONLY getting updates about batteries. What about the app? The security tracking? Bluetooth speaker? Cables, chargers, and don't
                                         forget, the ACTUAL BACKPACK.
 6876203       1/8/2017      11911623    I don't believe you Doug. I don't believe I will ever receive my backpack or other accessories. Please refund my money.
 6876801       1/8/2017      14343464    Indiegogo is a shame
 6876152       1/8/2017      6360482     Regarding the batteries, here's Doug himself posting he went with the safe lithium polymer batteries...from May: https://www.facebook.com/doug.monahan/posts/10154310679854171
                                         Submitted my IC3 complain!
 6876110       1/8/2017      11940881
                                         (here is a good read why we all want to submit this https://www.fbi.gov/news/stories/file-cyber-scam-complaints-with-the-ic3)
 6876208       1/8/2017      11766005    What you wait for close this scam project with doug and refund everybody !! IGG open your eyes and do something quickly for everybody !!! Its a shame to see that on your website !!!
                                         Give my mine money back ore just send us the bag because the big has nothing to do whit the battery so just ship that whit the cables I have a few batteries that I can use a replacement until you
 6875925       1/8/2017      11776802
                                         ship those.
 6877545       1/8/2017      11766005    IGG IS A SHAME TO HOST THIS PROJECT AND DOUG Â§Â§Â§Â§ SHAME TO INDIEGOGO
 6875983       1/8/2017      14683186    @Aaron Mathewson can you please approve my request to join the iBackpack Buyers group? I submitted the request almost a week ago.
 6875199       1/7/2017      14343464    Wow now the removed the Website too
 6875605       1/7/2017      14804599    @Aaron Mathewson, i sent a request to be added to the Facebook group, but it still shows as pending. just curious if you can add me at your earliest convenience.
 6875526       1/7/2017      11941121    Anyone wanna get a lawsuit?
 6875520       1/7/2017      14765378    I want my money back are you kidding me August of 2017 we have been waiting long enough
 6874408       1/7/2017      12652558    I WANT MY MONEY BACK, WHEN ARE YOU RETURNING MONEY? I WILL FILE CASE AGAINST YOU IF I DO NOT GET MY MONEY BACK..
 6875442       1/7/2017      11130288    Haha the Facebook page is back up new date now August 2017 hahahaha what a load of rubbish
                                         so many videos and mails and options and where is the bag?
 6874356       1/7/2017       11885
                                         one more scam and 300 dollars for some ... some...
                                         August 2017 is a bit too long to wait for something i ordered four months ago and they want me to wait another 8 months?! Can i at least get a letter or e-mail sent to me to guarantee its coming
 6875606       1/7/2017      14804599
                                         instead of some update on Facebook that i'm not sure if i believe it or not...
                                         Check out the following page which shows the domain names he bought only to give you an idea how serious he is in scamming people. If he is serious on delivering on his promises he would
 6873228       1/6/2017      11940881
                                         personally give us an update. Instead some fake users are sending messages that they talked to Doug Scamaham.
                                         You will never get your order. This shit was fake all the time. And Indiegegogo supportet this shit! Everyone who backed the iBackPack lost a lot of money. And we can do nothing about it.
 6873789       1/6/2017      14343464    Indiegogo wont help us too. I contacted my Bank and Indiegogo Support but they can do nothing for you. Just contacting Monaghan, but if he is a Fake you will never get your answer. Idiegogo
                                         sucks.
 6873669       1/6/2017      13117616    If batteries are such big issues...why not just ship without the bloody batteries.
 6872894       1/6/2017      11881232    *Sigh* came here for an update and disappointed. Please add me to the group (request was sent). I would like to see some updated information. nothing new here..
                                         Please add me to Facebook group. We should contribute real money and Sue both indiegogo and the creators of this scam. It's more painful because he had the gut to collect $60 more from me
 6873667       1/6/2017      13117616
                                         for upgrade.
                                         For example the genius fan ...
 6873227       1/6/2017      11940881
                                         https://www.aliexpress.com/item/Portable-USB-Fan-Mini-Fan-for-Xiaomi-Power-Bank-Notebook-Laptop-Computer-Power-Supply-Android-
                                         Smart/32678245868.html?spm=2114.40010708.4.42.9BlVVn




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         By the way when you call one of the numbers you find for the iBackpack, a Barry Jones voicebox or something like this is answering. Listen carefully and will notice that this Barry is no one else
                                         than Scamaham.

                                         List of Domain names owned by Scamaham

                                         http://domainbigdata.com/daybreakdirect.com/mj/YaDXVGy6buEC0RSZAUXTxA

 6873230       1/6/2017      11940881    He uses companies like

                                         Daybreak Designs
                                         Mobilezapp
                                         Mobilesapp
                                         ...

                                         to cover up his dirty business.
 6872828       1/6/2017      14945458    Add me as well to the group, please
                                         In case you still think this is legit: Doug claims he won't ship batteries that may explode but none of the beta batteries have exploded. Because he bought them from established companies. He
 6873182       1/6/2017      11395150    blames Samsung but none of the batteries in the beta were made by Samsung. The mama battery was bought off (likely) Amazon. Why no update of a completed bag? Phone app? Speaker?
                                         WiFi hotspot? Because none of these things exist. Get angry. Start making calls
                                         So far every indigogo campaign I have supported has been a scam! Been very successful on KickStarter. The last one was the G-Ro travel roller bag with a 23,000mAh battery and only one
 6873014       1/6/2017      12175397    request for my address. Stay away from indigogo and definitely stay away from this POS. I remember thinking he was an amateur when BackerKit "scammed" him/us. They have worked
                                         flawlessly for all the Kickstarter perks (I actually received them).
                                         But who cares about the battery ... The damn fool wanted to deliver on the following

                                         Wifi Hotspot
                                         GPS tracking
                                         Android and iOS application
 6873225       1/6/2017      11940881
                                         ...

                                         but he never mentioned anything about this.

                                         All the other stuff he offered on HW is cheap Chinese BS which you can buy in One Dollar store.
                                         Holy shit, I thought this was funny. He is a professional scammer without a shred of credibility.
 6873077       1/6/2017      12175397
                                         http://www.prnewswire.com/news-releases/ibackpack-hiring-hundreds-in-austin-texas-300188554.html
 6873152       1/6/2017      14343464    Now i put a Scam on too :D
 6873734       1/6/2017      11743155    Where are the orders?
                                         The following battery is the one he put the iBullshit logo on
 6873224       1/6/2017      11940881
                                         https://www.amazon.com/Portable-External-Battery-Charging-Smartphones/dp/B019R8V4RI
 6871643       1/5/2017      11793112    please add me to the facebook ibackpack buyers group. i sent a request about a week ago
 6870231       1/5/2017      11911623    I've previously asked for a refund and was ignored, no response at all. After all this time I don't want the backpack or battery.
                                         Really frustrating when you looking for a answer and they just ignore you. After athey updated us everyday for a 0 update. I was hopping to have my items now sinces I'm going to a trip but it
 6871067       1/5/2017      12069548
                                         looks like it won't happen. At least let me know a estimated time of delivery.
                                         Felix, Dough Scamahan is busy with this here

 6871087       1/5/2017      11940881    https://www.linkedin.com/pulse/hot-swappable-iphone-7-battery-system-launching-oct-25th-doug-monahan?trk=hp-feed-article-title-comment

                                         There is no money left to send out backpacks ...
 6871431       1/5/2017      9495957     So Christmas has come and gone still no backpack.. what's going on?
 6871014       1/5/2017      11395150    Raymond the batteries Doug is using and not Samsung ans have probably never been. This is a bullshit delaying tactic. Please don't be so naive
                                         HELLO everyone i have recently talked to doug the other day he is having problems on finding batteries that will not burn up into flames that is why our bag is delayed but he is not giving up on
 6870938       1/5/2017      13328608
                                         the bag and he is going to do futher research on trying to find the right batteries that wont hurt us thanks yall any further questions i got you guys
 6871462       1/5/2017      12069548    Thx
 6870814       1/5/2017      11765610
                                         So no responses to email or inquiries. The website: https://ibackpack.co/ now take you Daybreak and lead generation site, which I assume was funded by me or at least what I contributed.
 6872358       1/5/2017      9495540     Please add me too. I bought this backpack from Italy.
 6871693       1/5/2017      12843051    Please add me as well
                                         After expend round 500 in your company the least I deserved is a message from
 6871075       1/5/2017      12069548    You saying sorry I couldn't send the items on the dec; not some one come in a said that spoke with you and give me a not official information. I unedersatans that there is lot of baker that are
                                         not easy to please but right now this attitude of not give us any information is not fair.
 6870859       1/5/2017      3385874     I just got an email from a reporter with KXAN in Austin, they are looking at doing a story on the iBackPack. I'll be trying to speak with them today.
 6869144       1/4/2017      14343464    Please approve me in your group too.
                                         OK, so there have been so many requests to be in the group that I couldn't keep up with them on my phone. Also, I have been notified that Doug is using my name to try to discredit me. So
 6868803       1/4/2017      11754774    please bear with me as I deal with these issues. I will send you a request for more info if you requested into the group, it just may take a little time. Also, we were on the radio with a talk show that
                                         deals with investigating scams today, and they called me for info from the group. things are moving forward!!
 6869544       1/4/2017      11395150    Another thing everyone needs to get used to is the idea that there are no refunds. Your money is gone gone gone. You'd best get used to the idea
 6868808       1/4/2017      11754774    FYI: It is looking like the best option will be to have as many people submit claims to the small claims court, though it is still being looked at by a lawyer.
 6869540       1/4/2017      11766005    so INDIEGOGO CAN SAY SOMETHING ABOUT SITUATION ? please or join FB grooup for buyers
                                         I'm still waiting to be approved for the Facebook Group. If the moderator is seeing this please approve me or if someone here knows them please contact them on my behalf to approve me. Thank
 6867992       1/4/2017      14683186
                                         you so much. Any updates on how this radio show mentioned went?
                                         Hey Doug, I guess you are reading here every line ... screw the battery. No one needs a battery which can be purchased over Amazon or Alibaba. We can do this on our one. Ship the damn
 6869036       1/4/2017      11940881    backpack. Or run a poll and ask what people want. Waiting for the Christmas .. eh battery or shipping the backpack now. By the way I heard Netflix is producing right now a TV about professional
                                         scammers ... I think one episode about Doug Monahan might be pretty neat.
                                         SHOW TIME GUYS!!: The Martino Talk Radio 630 KHOW starts at exactly 10:00 am MST at 303-713-8255. James Nalesnik or Brendan Barker can you call within that time period and you will be
 6867505       1/4/2017      11766005
                                         on LIVE AIR with Tom Martino describing our story?!!
 6869300       1/4/2017      11912984    please add me to the list- I want a refund immediately
 6868309       1/4/2017      11940255    @Aaron Mathewson: I am in the same situation as Jeremy Schoener. Can you please approve me in the iBackpack Buyers group? Thanks.
 6868020       1/4/2017      12249547    @Doug Monahan, I request a refund NOW as I've never got my backpack -- neither in time, nor at all.
 6869639       1/4/2017      14683186    Aaron please add me to the Facebook Group!!
                                         To add to Aarons comment, no final design or images of the backpack have been offered either.

                                         Further, IF Doug were being honest then surely what ever issues were found with the Hame, sorry I mean the Mama battery which require yet ANOTHER delay would have been spotted by buying
 6868913       1/4/2017      11955673
                                         2 or 3 and evaluating them properly rather than wasting 1000s of (our) dollars on a pointless beta exercise!

                                         However optimistic you are of getting 'Dougs Bag O Batteries' you have to question his management abilities!!
 6867766       1/4/2017      12069129    So Indiegogo website doesn't need to anything due to this case?
                                         Doug, what's about this one?

 6869049       1/4/2017      11940881    https://www.amazon.com/EasyAcc-20000mAh-Dual-Input-External-Portable/dp/B01422TC14

                                         It costs as much as the Chinese shit you have sent out for testing!
                                         All of the most recent communication anyone has had with doug, he has said that he is waiting on there to be a safer battery then he will ship everything at once. The problem with that is there
 6868819       1/4/2017      11754774    already was safer batteries on the market. the problem batteries were "flat stack lithium-ion" type. From opening the batteries up, none of them are the flat stack type, and if it was an issue, he
                                         could switch to "lithium-polymer" type batteries. So it is just an excuse to stall and not give the product.
                                         Anyone else can call in too, Aaron Mathewson, Wayne Petherick others. When you call that number at 10:00 am MST you will be LIVE on air and thousands will hear you. Here is our time to help
 6867506       1/4/2017      11766005    get viral with this ibackpack scam that all of us poor victims are in. Make sure to tell them our private information has been sold/traded and Indiegogo is turning a blind eye on us. Everyone call
                                         in... Oh and if someone has capability to record this talk show, please do that for all of us to document!

 6867507       1/4/2017      11766005    Consumer Advocate Tom Martino has been fighting for consumers more than 30-years utilizing Radio, TV, Newspapers, Magazines and the Internet. His well-known brand â€œTroubleshooterâ€
                                         has garnered millions of loyal fans.He has recovered hundreds of millions of dollars for consumers in cash, merchandise, exchanges, refunds and services across all mediums.

 6865799       1/3/2017      11940881    Well Billy, which phone number did you use to reach Doug Scamahan? Why is he talking to you and not to other people? Why is he not updating the campaign about his changes? What is with
                                         the Wifi hotspot? What happened to the Android and iOS application development? Why does he have to test Samsung batteries? I thought Samsung is already doing testing?
 6864923       1/3/2017      11940255    @Aaron Mathewson: would you be so kind to include me in the iBackpack buyers group that you have created on Facebook? I registered a couple of days ago. Thanks.
 6865646       1/3/2017      14683186    I have requested membership in that group but have not been approved as of yet.
                                         Just spoke with Doug Monahan
 6865769       1/3/2017      11764739
                                         He will not ship a product without the batteries. that being said they will update every one when they get the go a head to use the Samsung batteries.
                                         ...it's not over until the fat lady sings, I've not given up yet! Why would someone go to such lengths in making the product samples in the first place if they were planning all along to simply take
 6866646       1/3/2017      11693985
                                         the money and run...? As frustrating as this is on the face, trying to keep the faith!
 6865424       1/3/2017      12288674    Hello. Sir/maam. Did not get the anything yet. I thought i can have the bag end of the year. Can i get refund then.thank you. HAppy new year




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                      Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Doug Monahan is the biggest thief in the world, typing his name on Google and you're going to be afraid of what you're going to read, I do not understand how INDIEGOGO could bear and believe
 6866975       1/3/2017      11766005    a thief like this !!! It is a shame and I hope that your site will close as soon as possible !! You have changed your terms and conditions because of this file !!! You steal me 900 dollars because I
                                         paid on your site in 2015 and I want my money!
 6865354       1/3/2017      2898436     I haven't received anything yet. Can I get a refund?
 6867050       1/3/2017      11766005    5125652524 doug phone !! call everybody
 6865776       1/3/2017      6360482     None of the beta batteries he shipped were Samsung made, so unless he's changing horses mid-stream this is another stall.
                                         Anybody else think its sketchy that they took down their Facebook page? Nobody has got their backpack, yet Doug has pocketed nearly $750,000. This guy almost made $1million off of
 6865419       1/3/2017      12452532
                                         scamming us. Has anyone been able to get a refund? What to do?
 6866512       1/3/2017      13710085    I've had a request into the Facebook page for a couple weeks and no one has approved.
 6865474       1/3/2017      12851509    There's a group on Facebook called 'iBackPack Buyers' where we're discussing the next plan of action due to Doug being a potato.
                                         Twitter, Facebook, and the website are down. Face it guys your money has been spent and Dougie is driving a shiny new car with it. Seriously, he is. Face it guys we all got scammed. The
 6866814       1/3/2017      11395150
                                         sooner you accept it the easier it will be!
                                         Hi Backers - I contacted Indiegogo yesterday and they sent back this message FYI;
 6866643       1/3/2017      11693985
                                         We will send a message to the campaign owner of iBackPack to remind them of their responsibilities to keep you and backers updated on the status of their project. In addition, I encourage you to
                                         continue trying to get in touch with them directly.
                                         IGG are you happy with this situation and how you can wait 4 months likee that without action of your Boss !!!!!! its a shame and now nobosy trust your website and you agree with your end of
 6866966       1/3/2017      11766005
                                         life !!! SHAME on YOU IGG
                                         Guys get angry. There is no bag and there is no batteries. This is a massive scam and Doug is living large off our money. Join the Facebook group because we have big plans for Dougie and
 6865637       1/3/2017      11395150
                                         his scams!
                                         I recieved some stuff for beta testing mostly wires n crap with the logo and the were orange and lit up and everything but i never recieved the actual backpack. Just saying thats what I got. I also
 6865012       1/3/2017      12349519
                                         recieved some rechargable battery packs. But i hav'nt heard anything about the backpack it self.
                                         I imagine Mr.Monahan is waiting for the Easter Bunny to approve the batteries, though the Easter Bunny has to wait for the tooth fairy who in turn has to wait for Santas little elves to produce
                                         them.
 6866320       1/3/2017      11955673
                                         But dont worry... they're definately coming!
                                         so for refund money ???? i attack Indiegogo with lawyer now its enou
 6864022       1/2/2017      11766005
                                         ght !!!
 6864780       1/2/2017      12886050    Maybe they're all partying with the Pop Slate people
                                         I'm thinking this might be an issue that TSA would like to pursue base on the back packs ability to carry so many batteries that are not approved! Remember the TSA approved tag scam this
 6864769       1/2/2017      12886050
                                         campaign tried to pull???? Write your local TSA rep could be of interest to them!
                                         I'm worried i will never get the backpack i was promised... December 2016 came and went.... Can we at least get an update on the progress. Even if i have to wait an extra month, it may be ok
 6862663       1/2/2017      14804599
                                         as long as you give us status updates?! this is not ethical business practice to leave your backers in the dark....
 6862935       1/2/2017      9881468     Sorry but parallel activities pushing variations and lack of any activity suggest this is just a ripoff.
 6864742       1/2/2017      12886050    I'll be down there in a few days to see if I can find out any info in this situation. Texas is the wrong state to pull off a scam!!!!!
 6864738       1/2/2017      12886050    This guy screwed a bunch of the wrong people over I'd move out of state if I were he!
 6864774       1/2/2017      12886050    This make 5 out of 1- backed campaigns a scam on this site. What a fool I am!!
                                         I was an early bird for the iBackpack. nearly a year later and there's an 2.0 version, and I haven't even received my now 1.0 model.
                                         I gotta say, that is a big BS move. Especially since the 2.0 has all the "extra" features that the 1.0 was supposed to have.
 6863553       1/2/2017      13503498
                                         Yet neither exist outside AUSTIN TEXAS yet......
                                         "From what I know of at least."
                                         Finally found an email that doesn't bounce back

 6863064       1/2/2017      11130288    Flood it people

                                         doug.monahan@daybreak-texas.com
 6863646       1/2/2017      11940881    https://www.facebook.com/Mobilezapp/ founded by Doug Monahan
 6862067       1/1/2017      11130288    Refund now or I'm contacting my bank!

 6862045       1/1/2017      11395150    Yeah. So Doug has taken all of our money and run to somewhere. But fear not, there are a doings a transpiring and some of us are working to make sure he can never do this again. To anyone.
                                         I'll also be asking a question of the lawyer about the platform too who seems to accept not responsibility for this despite providing the platform through which this can be done...
 6860999       1/1/2017      11940881    Happy New Year Doug Monahan? Where are you? In the Philippines? The backers here will make sure that you will never be successful with any of your future ventures!!!!!
 6860971       1/1/2017      11723143    INDIEGOGO DO SOMETHING ABOUT THIS!
                                         Technology Officer, Oszkar Miklos Senior Creative Director ... How did you pay these guys Doug? Did you pay them at all? Seems like they are all on LinkedIn ... Are you trying to finance your
 6860277      12/31/2016     11940881    other BS projects with iBackpack campaign money? Did you run out of money already beginning of this year when you asked people to spend money for iBackshit 2.0? If you have any decency
                                         give all these backers some answers!!!!!!!!!!
                                         Why has it been two months since the last update? This is beyond ridiculous behavior. I want to know when the product will be delivered or my money returned in full. I smell a class action
 6859795      12/31/2016     9447570
                                         lawsuit.
                                         Hello all! It's now officially New Years and there is no updated information on the shipment of the ibackpack. The project is now defunct and considered a scam. If you wish to start looking for
                                         legal recourse, now would be the time to do so. You won't receive any reply via twitter and the Facebook page has been deleted.
 6860470      12/31/2016     11878402
                                         Good luck in receiving a reply, and if you do, please let us all know so we can document it for any legal actions that may be taken.

                                         Thanks!
                                         SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM.
                                         SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM.
 6860344      12/31/2016     13629874
                                         SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM.
                                         SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM. SCAM.
 6860112      12/31/2016     11794176    Anyone notice that the team members are just Doug Manahan at the bottom of the page?
 6858201      12/30/2016     4219427     I am going to Mexico late March 2017. Do you think I will have my back pack to make the trip?
 6859483      12/30/2016     11130288    one day to go looks like another load of bull**** refund now!!!!!
 6858601      12/30/2016     8301663     Any news with only one day to go from the promised before new year schedule? Feeling let down after investing and upgrading
 6857315      12/29/2016     11395150    Apparently he is close to his mother. Has someone thought about putting in a call to her to see if she knows the kinds of shady things her son is up to???
                                         Douglas, assuming you are seeing posts and not sitting on a beach with our money. I am throwing down the gauntlet. I questioned you a many times and got shouted down and challenged to a
 6856952      12/29/2016     11395150    fight (by you). I'm not one to let things go and letters I write get people fired so listen up. Give us an update of your promises to us. Show some photos. Show some good will. Show you are
                                         not a MASSIVE fraud. I'll give you a day or two to get your shit together. Then I start writing and calling.
 6858119      12/29/2016     14765378    When are they shipping again
 6856955      12/29/2016     11395150    Oh and just so you know I am not messing around, I'm a criminologist with MANY contacts in the USA including state and federal law enforcement.
                                         Dougy, Dougy, Dougy....

                                         Seems you're well in over your head me old china.

                                         The end of the delivery schedule YOU advertised is fast approaching, time to come clean.
 6857104      12/29/2016     11955673
                                         You've got all the money so how about you give us a final update. Come clean, tell the truth - is the bag being manufactured or has all the money gone up in flames?

                                         I'll keep an eye out for your post.

                                         Cheers mate
 6857164      12/29/2016     10604064    Are refunds being processed ?
 6857000      12/29/2016     10006050    ENOUGH !!! YOU ARE THE CROOKS !!! NOT EVEN HAVE TO OBSERVE THE SHIPMENT DECEMBER !!! I WANT MY MONEY BACK !!!
 6855306      12/28/2016     11793112    where is my backpack????
 6855439      12/28/2016     13478118    I want my money back or a backpack. This is ridiculous.
                                         In the FB group that's has been set up https://www.facebook.com/groups/580759835449546/ we have several links to report this fraud and scam to the Austin TX PD, FTC, US Gov, and news
 6852557      12/27/2016     11754774    outlets. Also we have a lot of info proving this is a scam. Please join together with us in exposing Doug for the fraud he is. When you join, you will be contacted via FB messenger for some info
                                         before you can get in. Please be aware, this will go to your "other" msg folder.
 6852590      12/27/2016     7226866     Where is my backpack?
 6850846      12/26/2016     10006050    ENOUGH !!! YOU ARE THE CROOKS !!! NOT EVEN HAVE TO OBSERVE THE SHIPMENT DECEMBER !!! I WANT MY MONEY BACK !!!
 6850642      12/26/2016     11955673    @Ben... I personally wouldn't count ongetting anything back. If this turns out to be a scam and assuming there is any money left you might get something...
 6851655      12/26/2016     11776802    Refund
 6850660      12/26/2016     2604764     Joining the group. Money that could actually be useful not that I'm not getting anything.
 6851138      12/26/2016     2706045     Maybe they should rename this the "Coolest" Backpack
                                         I just submitted a request to IndieGogo to have them review it yet again, this time giving a bunch of detail about what was there and now isn't and also requesting that they review these comments
 6852158      12/26/2016     14292214
                                         thoroughly. I flagged it as a possible scam campaign. Obviously nobody can guarantee anything, but we can always hope they come up with something...
                                         1) Well, it's been obvious for quite some time that this was a scam.
 6849260      12/25/2016     5986744     Do consider that the original deliviery date was late 2015 or early 2016. That's what the campaign says in the FAQ section on the "Story" page here on IGG: "From the time the Indiegogo program
                                         ends [wich was 14 Oct, 2015] the first group should be leaving our shipping docks within ninety days." All backpacks should be delivere "in six months".




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                              Project
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 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         5) And if you really want a good backpack - take a look at Peak Design. They crowdfunded their Everyday Pack on Kickstarter. Campaign finished 10 Sep, 2016. They've shipped 99% of the
                                         produced backpacks before this Christmas, 24 Dec, 2016 - in three months. And it's a great one. Get one, then get your own batteries and USB cables ... or get a Grid-It Backpack frÃ¥n Cocoon
 6849275      12/25/2016     5986744
                                         Innovasion and fill it up with junk.
                                         (I'm not affiliated with any of those companies - just a happy user of both products.)
 6850305      12/25/2016     11689037    This is a case of fraud which means I can get my money back. Based on everything sounds like this guy is going to be in thousands of debt and behind bars.
                                         4) It's an open question how many of these that even existed, I say. And constant addition of extra channels - documents on google drive etc - for "surveys" with just more links down the rabbit
                                         holes; channels that no other IGG campaign hav needed to add. The erasing of traces (like Tracey Lins YouTube Channel etc.)
 6849268      12/25/2016     5986744
                                         And, a major excuse for anything - batteries. Funny, I can buy good ones anywhere.

                                         Hard lessons. But Doug Monahan made it away with over $800,000 (IGG and Kickstarter combined.)

                                         2) Raising money at Kickstarter as well, although the IGG campaign was almost 10x overfunded. The web site claiming that "GoFundMe", "GiveForward" and "Crowdrise" were "partners".
 6849261      12/25/2016     5986744
                                         Then, of course, came all kinds of trickery: the move to an upgraded version 2 before there was a version 1. An avalanche of verbose messages. Strange perks - "10,000 B2B contacts
                                         downloadable per month" - obviously nothing more than illegaly harvested email adressess - and why would you throw in that with a backpack?
                                         hello all backers !! please joint this FB page for create a big discussion to attack Doug M and push this story to TV show at NBC inverstigation please :
 6849969      12/25/2016     11766005
                                         https://www.facebook.com/groups/580759835449546/
                                         3) Then asking for more money for even more features (bulletproof shields). Request for marketing volunteers even when there were no product. Giving email adresses to company contacts that
                                         where not working.
 6849262      12/25/2016     5986744
                                         The "team" listed at the IGG site is different from the team listed at the company site. The "author" of the blog posts on the sites is on neither lists of teams. A constant flow of new names as
                                         "customer representatives".
 6850304      12/25/2016     11689037    This is a case of fraud which means I can get my money back. Based on everything sounds like this guy is going to be in thousands of debt and behind bars.
 6848625      12/24/2016     11794176    Santa forgot my Ibackpack!
                                         Federal Communications Commission
 6848286      12/24/2016     12851509    Attorney General (I think)
                                         Better Business Bureau
 6848316      12/24/2016     11940255    Thanks Hao
                                         Never ever again I will support whatever crowdfunded campaign if all this turns out to be true (and it will). I too have reported to Indiegogo but do not expect anything to be done about this shitty
 6848771      12/24/2016     11949440
                                         situation. Bet Doug has spend all of our money now on a sex change and is now known as Debbie somewhere safe.
 6848085      12/24/2016     6360482     FCC, AG, and BBB contacted
 6848189      12/24/2016     11940255    @Aaron Gunderson. Sorry for this question but I am a foreigner. Would you be so kind to tell me the meaning of FCC, AG and BBB please? Thanks in advance.
 6845868      12/23/2016     6539297
                                         I remain optimistic that we will receive "something" from these folks. However, I've requested to join the iBackpack Buyers FB page, and will also follow any class action legal resolution.
 6847215      12/23/2016     11766005    So Facebook Ibackpack close since today !! so now its time to all backers react and open ticket to IGG to support
                                         So here is the latest for those of you who do not have FB:
 6847096      12/23/2016     11754774    We have gathered lots of evidence of Doug's scam dealings in the past. MANY businesses, and some even accused of misusing customer contacts to try to sell a product that isn't real. We are
                                         also making headway on the press side of things, and working on what legal action we can take.
 6847192      12/23/2016     11940255    @Aaron Mathewson. Thanks for your explanations.
                                         @Aaron Mathewson: I am not on Facebook and do not intend to be. Therefore I cannot open https://www.facebook.com/groups/580759835449546/. Is there any alternative allowing me to be
 6845984      12/23/2016     11940255
                                         informed? Thanks a lot.
 6847212      12/23/2016     12851509    Well it's official. Let's start the process now.
                                         Some of them are in the FB group, and have expressed themselves to the point they can without violating their NDA. Ruth was never an employee, tho like me and other she was a active
 6846786      12/23/2016     11754774    supporter. Some of those you mentioned never invested, and I could elaborate but that all is in the FB group. In that group we are coming up with and evaluating our options on what we as a
                                         group can do, besides get out our pitchforks and point them everywhere.
 6847198      12/23/2016     11689037    Wow, they deleted there Facebook page. Unbelievable this is actually 100% fraud because I paid for a product and one I don't have it and two they kept changing it.
                                         I agree with grmoreton that we must wait until end of january before talking about any legal action. But Iâ €™m afraid that we wouldnâ€™t find even one dollar in Mr. Donahanâ€™s pockets. I am
 6845982      12/23/2016     11940255    still persuaded that he had no intention to deceive us. He just made huge marketing errors trying to manufacture the â €œbest product in the worldâ€ and he spent all our money before finding out
                                         that he wouldnâ€™t be able to maintain any promise. I think he is awfully disappointed.
                                         Once again, what happened to the â€œenthusiasticâ€ fans and/or employees; Tracy Tran, Charles Aguillon, Bruce Lim, Haley Felchak, Ruth Velasquez, to mention only the most recent? It is
 6845985      12/23/2016     11940255
                                         strange that they donâ€™t feel it necessary to give us their opinion or they knowledge. I would appreciate to see them back in this forum.
 6845814      12/22/2016     11794176    Guess what I'm getting for Christmas? Not an Ibackpack 'cause it hasn't shipped yet.
                                         hello all backers !! please joint this FB page for create a big discussion to attack Doug M and push this story to TV show at NBC inverstigation please :
 6845258      12/22/2016     11766005
                                         https://www.facebook.com/groups/580759835449546/
                                         I advise everyone to join our Facebook page to get the latest news on Doug and his shocking behavior that we've captured in screen shots. it's made my blood boil what he's doing with our money
 6845421      12/22/2016     14767048
                                         and many other situations.
 6844577      12/22/2016     11395150    One. Big. Scam. Nice one Doug. Does anyone know if there is a way in the US to get someone struck off from starting up companies? Seems like it might be appropriate here.
                                         Morning All - Just wanted to share my thoughts on Mr Doug Monahan (https://www.linkedin.com/in/dougmonahan) and the iBackPack team. I have spoken with a friend of mine in the Legal
 6845339      12/22/2016     11615484    Sector who says we must allow iBackPack the published timescales of "Late December into January 2017" for delivery of the Perks the IGG and Kickstarter Backers have pledged. If Doug, aka
                                         iBackPack fail to honor this latest commitment, we then have "Legal Grounds" to take Legal Action against Doug as the CEO
 6843975      12/22/2016     11766005
                                         Hi everybody please subscribe on facebook page who create aaron mathewson and you can find link in comments... indiegogo say nothing and dont want help nobody with this doug !! Shame !!!
                                         As a continuation of what I said below; there is a trend in a number of IGG Campaigns that have been organised by either Doug or had participation and updates from "alleged" iBackPack
                                         employees. The updates on Delivery for these Campaigns has also stopped with no feedback!!
                                         Its a shame IGG are not more Diligent !!
 6845367      12/22/2016     11615484
                                         https://www.indiegogo.com/projects/pow-super-smart-usb-magnetic-cable-system--2/x/11615484#/
                                         https://www.indiegogo.com/projects/mojo-bag-battery-cables-plugs-sales-leads/x/11615484#/
 6841903      12/21/2016     6360482     The link to the tweet or a screenshot as it will likely be deleted now, would be great.
 6841458      12/21/2016     10626311    So in short we have all been screwed
                                         My concern is this started as a legit campaign, but unrealistic goals, poor money management and unfocused leadership has lead to the money being spent and having little to nothing to show for
 6841565      12/21/2016     6360482
                                         it. I'll be happy if a bag does ship, but I'm not getting my hopes up.
                                         Does anyone on this board live near Austin?
 6841611      12/21/2016     8260513
                                         Can they drive by 100 Congress Ave.
                                         Suite 200 Austin, TX 78701 and see if the lights are still on?
                                         Maybe. I actually had a phone call with Doug and Charles months ago and at the time it sounded like things were progressing. This was around the time Tracy was still doing videos and beta
 6841557      12/21/2016     6360482     products were shipped. I actually have a prototype bag and it's a legit prototype, not an off the shelf bag that the iBP logo was sewn on. However, since then, things have gone south,
                                         communication has stopped, no one seems to work at the company anymore (I contacted all the prior posting employees.)
                                         @Ryan - I called this months ago when they were so insistent on getting our phone numbers. If you look up the CEOs history, the main company's product is selling contacts. Not surprised at
 6841374      12/21/2016     6360482
                                         all.
                                         So things are progressing, a couple members of the FB group is working on getting some media attention, and if all goes according to plan, legal action will follow. My hope from the media
 6842264      12/21/2016     11754774
                                         attention would be for Doug to be the first person featured in a new tv show that could be called something like "scumbag millionaires"...!
                                         The main business: http://daybreakdirect.com/ . Interesting looking through the site, as all the demos seem to be related to this project and the portfolio is a little suspect. Even better is the press
 6841405      12/21/2016     6360482
                                         release page: http://daybreakdirect.com/press/
                                         @Aaron, re your previous post.

 6842828      12/21/2016     11955673    What about a website? Hosting would be minimal cost as would be buying the domain name. There are forum plug-ins that can be installed.

                                         The beauty of a website is we can moderate it as we see fit and also ensure Mr. Monah
                                         The Facebook group is blowing up! I am looking to move it to a regular forum system but need ideas on where and how to do that. Message me on FB or my email is aaron1mathewson@aol.com
 6839937      12/20/2016     11754774
                                         I want to do this for everyone that doesn't have FB...
 6839497      12/20/2016     5816277     WOuld like to get a refund on this product, this is taking to long i already got a different backpack since this one is MIA
 6840428      12/20/2016     11794176    You would think that some thing would come up since they have 11 days to deliver the product.A tracking number maybe?
 6839219      12/20/2016     10626311    Why are you selling people's details? I did not authorize this!
                                         IMPORTANT PLEASE READ
 6839258      12/20/2016     10626311    This campaign is contacting other projects on here offering to sell details of all the backers for a fee! I have proof of this and can provide a link to a tweet which has a copy of the email he sent,
                                         care to explain?
 6837442      12/19/2016     11754774    It can be difficult to disseminate info, but I think using both is a great idea.
                                         So I have created a Facebook group to discuss iBackpack, and the concerns we have, as well as what can be done about it.
 6836392      12/19/2016     11754774    https://www.facebook.com/groups/580759835449546/
                                         Or search for Ä°BackPack buyers and you will find it.
 6838308      12/19/2016     11442614    please refund my money
                                         If someone who is also on Kickstarter could share this there too, that'd be great!
 6836520      12/19/2016     11754774    Here is a group I started for Ä°BackPack buyers:
                                         https://www.facebook.com/groups/580759835449546/
 6836985      12/19/2016     14641744
                                         For those of us who don't use facebook,why don't we just discuss the issue here. Indiegogo is as much a part of the problem as ibackpack since they obviously have no support for backers.
 6837580      12/19/2016     12538346    Any idea of when it will be shipped out?




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         You know, it's a shame when you are scammed. A lot of people bought into this, and it appears that most of them were not accurate representations. Better hope no attorney gets wiff of this, or
 6833829      12/18/2016     13307149
                                         you could be looking at some jail time for malicious intent and fraud!
                                         So it seems none of the direct contacts I had work any more (all emails bounce) and the contact form doesn't work on their site...
 6835387      12/18/2016     9732178
                                         Seems fairly safe to say we've been scammed here.

 6835157      12/18/2016     11395150    Like others I think and update would be nice. Got shouted down in the past for concerns about a scam but waited it out. Now I am thinking scam again. Looks like another one of Doug's
                                         campaigns that won't deliver on anything. Shame campaigns like this stop people like me pledging on ANYTHING. I'll wait until an established company actually makes it before I buy it
                                         All I have gotten was the general responses from customer support for Indiegogo. I'm well beyond pissed like the rest of us. We need support from Indiegogo. Do you not realize that all the people
 6832625      12/17/2016     12770234    here were scammed? This could potentially tarnish your image as well. Over 400 people blogging, tweeting, facebooking, etc about your company and Doug's company hmm?? People we all
                                         need to contact media sources asap.
 6832331      12/17/2016     10283913    I was a beta tester for the ibackpack and even I'm skeptical this will be delivered by the end of Dec, if at all. The canned twitter responses certainly aren't inspiring confidence either.
                                         This project and indiegogo no react after ticket open !!! Its a shame !! Everybody want refund money and nobody give news !!! What the project and support !! No news by email, no news by FB,
 6832540      12/17/2016     11766005
                                         nothing !! Stop and cancel this project ! All backers want refund !!
                                         Does anyone have any faith left whatsoever? No replies here. No replies on twitter or facebook, non existent website. Indiegogo refuses to reply.
 6830821      12/16/2016     8342118
                                         How do we go about getting out money back from these scammers?
 6827925      12/15/2016     8260513     No one is getting any refunds because there is no money left. They only raised $725,000. Don't you think they have blown through that in 14 months with all of the overhead?
 6827549      12/15/2016     12436407    For the time it taken to get me my product I want the full upgrade plus a whole another bag just because there is no reason why it's taken almost a year and a half to get my stuff
                                         Jerad,
 6830201      12/15/2016     8260513
                                         Are you implying that he moved from a 6,000 sf home on Scout Island to an apartment at Steiner Ranch? That is not a good sign.
                                         Here is Doug's current and previous know addresses
                                         4500 Steiner Ranch,Austin, TX 78732

                                         Previous Addresses:
                                         5700 Scout Island,Austin, TX 78731,
                                         8701 Mo Pac,Austin, TX 78759,
                                         9390 Research,Austin, TX 78759,
                                         7322 Jefferson,Baton Rouge, LA 70806,
 6829308      12/15/2016     11692015
                                         7322 Jefferson Place,Baton Rouge, LA 70809,
                                         5517 Oakwood,Austin, TX 78731,
                                         5811 Mesa,Austin, TX 78731,
                                         9340 Research,Austin, TX 78759,
                                         1550 Brickell,Miami, FL 33129,
                                         1556 Euclid,Miami, FL 33139,
                                         4510 Druid,Dallas, TX 75205,
                                         6010 Balcones,Austin, TX 78731
 6826165      12/14/2016     10317102    The Twitter feed is @ibackpackHelp
 6826975      12/14/2016     13307149    Listen, if you can't fill the orders and you've made some bad decisions, fine, but if you can't do what you say, then maybe you should think of offering some refunds back?
 6827133      12/14/2016     14767048    The twitter page is up, but they just keep saying the bags will be delivered between now and new years... Not really an update...
                                         You know a project isn't doing well when even it's community is against it...
 6825296      12/14/2016     15371856
                                         Perhaps the overdue update on the campaign and confirmation of the December shipping date could calm everyone down, too bad it looks like it'll take another Christmas before another update
                                         will be announced..
                                         Last Update is one month ago. Please update. It is to bad that the iBackpack was not shipped by now. Now I have a trip and would need a new backpack.
 6826708      12/14/2016     12443065
                                         So many promises and they were all show only.
 6823052      12/13/2016     12886050    Face book , twitter I don't do , ....so screw me?????
 6823057      12/13/2016     12886050    ....... And hector ship the flipping back pack they won't catch fire if you don't put the batteries in the box fix that later!!!!!
                                         How do I get a refund $900 you miss 2 xmas Dates you send out explosive batteries? You aren't at all professional. I've seen 8 companies start and get back packs out. Ship the bags out and I'll
 6823051      12/13/2016     12886050
                                         put my own battery in it!
 6819092      12/12/2016     4861882     Btw it is the second campain that failed since August 2015
 6820782      12/12/2016     11911623    Matt, Where do see a recent update? The only tweets I see are from November.
 6819083      12/12/2016     4861882     Ordered August 2015, just hear about updates, phone Numbers ...nothing real....very disapointed. At least it is on Indiegogo with the bad taste. No Campains anymore.
                                         Matt Dobecka, me i want information under this plateform and i dont want search information under twitter, FAcebook or other , i push my money here and everybody want inform now here and
 6821334      12/12/2016     11766005    we dont receveid no email, nothing since more 1 month and me i push 900 dollars under this project and i really hope indiegogo close this project and refund my money, nobody have order for
                                         christmas because soomebody give me response under FB ibackpack and "maybe" in march 2017

                                         Doug, you owe the backer community an update. An update on Indiegogo, not twitter. I dare say none of us committed to your "project" on Twitter.
 6820621      12/12/2016     14641744    We have heard nothing about the software, mifi router, or GPS, only about the bag itself batteries, and cables. How about some updated info on the parts of the ibackpack that make it unique.
                                         I'm still hoping for a December delivery, but hate to get my hopes up.
                                         After all, even your biggest cheerleaders - Tracy, Bruce, and Ruth are now silent..
 6819724      12/12/2016     10317102    Their Twitter feed is active again saying that they are still in business and that orders will be shipped between "This December and New Years".
                                         please open tickets under indiegogo for all backers now :: its enought to wait since more 15 months...
 6818522      12/11/2016     11766005
                                         https://support.indiegogo.com/hc/en-us/requests/new?ticket_form_id=45336
                                         Hello to all BACKERS of this campaign, like me nobody have news from nobody and all mails except Mr doug work but this guy dont give news now since few weeks, so please do like me , open
 6818517      12/11/2016     11766005    ticket at indiegogo for this campaign and ask refund money....if campaign dont give answer quickly indiegogo do start process for cancel campaign but open tickets indiegogo like me ..and we
                                         see..,we write comments but we dont have answer under indiegogo or mail or faceboook....
                                         i lost my job due to shortage of work, and I contributed about 300 Canadian dollars to this shampaign. i could really use my money back instead of this ridiculous product that has taken you guys
 6817557      12/11/2016     11793112
                                         15 months+ to put together...
                                         2/4. Is Mr. Doug Monahan still in the company? Is the company still alive? It seems now very unlikely that we will receive anything in the next few weeks as promised.
 6814887      12/10/2016     11940255    Personally, I donâ€™t think that it was Mr. Monahanâ€™s original intention to deceive anybody. After I heard him a few months ago in a Gotomeeting, I understood that he was sincerely trying to
                                         achieve a very special product. But I also understood that he was risking a nervous breakdown.
                                         4/4. I have invested,15 months ago, 519 US $ (including absurd 115 US $ shipping cost) in Mr. Monahanâ €™s adventure and, frankly, I would not be happy to lose this money.
 6814885      12/10/2016     11940255    But, in any case, Mr. Monahan, I think that we deserve to know what is really going on. If the problem is with batteries only, then I suggest that you ship at least the bags for the time being. If your
                                         project is still alive, you can ship batteries (and app) later on. If the project failed, then I think we should know it now.
                                         1/4. Well, it is about time to admit that there is a problem: No replies to our questions; no replies to e-mails; no more fights; no more insults to backers who dare talking about scam; no more
 6814888      12/10/2016     11940255    removing offending posts; no more posts from â €œfansâ€ Tracy Tran, Bruce Lim, Ruth Velasquez, Charles Aguillon, etc.; strange language in iBackpack Customers support ( all iBackpacks that
                                         â€œwouldâ€ be sent out, instead of â€œwillâ € be sent out): my fellow backers are perfectly right to be worried.
 6815667      12/10/2016     10852577    ALL INDIEGOGO CAMPAIGNS ARE A SCAM!!!!!
                                         3/4. I think Mr. Monahan realized, too late, that selling batteries represented a very high risk (I donâ€™t know whether he submitted the batteries to an official testing lab rather than running only
 6814886      12/10/2016     11940255    internal tests) and that he was not able to maintain his commitments. I also think that he gave up when he understood that he could not achieve the 1M US$ target he needed in order to sell to
                                         Walmart and others.
 6814420      12/9/2016      11891794    Yes, totally agree!!! We supported you coz we wanted to see you succeed and enjoy what u built. If you failed, admit it and share the reasons and the lessons learned.
 6814376      12/9/2016      11537868    I agree with both @Rob and @Craig
                                         Itâ€™s been since August 2015 I contributed, but still no backpack. Please send me a refund or I will start an international class action suit. In my opinion Indiegogo is also to blame for this and
 6812843      12/9/2016      11808011
                                         may go down with this campaign. Let's see how many people from other campaigns have been scammed. Trust me this could get ugly fast
                                         I agree with Craig, please give an update or send something... We have been patiently waiting, and I along with everyone else am becoming stressed about this project. PLEASE LET US KNOW
 6813685      12/9/2016      9635563     WHAT IS GOING ON!!!!!
                                         Robert Bower
 6813229      12/9/2016      11748041    This is taking for ever, either you deliver or refund our money.
 6812741      12/9/2016      10060808    It's been over a year since I contributed, but still no backpack. Please send me a refund.
                                         Their has to be a way we can get our money back. No updates, customer service and company emails are now saying they no longer exist... really? At this point we've been scammed, and
 6812928      12/9/2016      14767048    indigogo is pretty much promoting scams as long as they let this company operate. I'm out $375 that I could use for food and rent, but now I have to watch this joke of a company get away with it.
                                         legal action will be taken.
                                         Doug I have been waiting patiently for updates not griping or demanding a refund, but come on you have to do send out a real update. Where are the bags? If the bags aren't ready but the
 6813365      12/9/2016      10018814    electronics are send the electronics out to people now, If the bags are ready but your waiting on electronics, same thing send the bags. At least contributors would see a partial return on their
                                         investment and if it's the bags that are ready, photos on Facebook & Twitter will help create a demand for future sales
                                         Indiegogo recently updated their terms of use to be tougher on campaign owners ( https://www.indiegogo.com/about/terms) In particular there must be "timely, frequent and substantive updates
 6811084      12/8/2016      3385874     to their Contributors". Also "failure to adequately fulfill Campaign obligations may result in Indiegogo removing the Campaign(s) from Indiegogo, and seeking reimbursement of Campaign funds
                                         raised, including by using third-party collections services." Write to Indiegogo support, point out the violations!
                                         @Mike Harding. Yup read the new T&C's.... Too little too late from IGG unfortunately, but at least they are trting to close a loop hole.
 6811492      12/8/2016      11955673
                                         This whole project started looking suspicious when Mr. Monahan started new schemes on here then failed to deliver on
                                         This means that transactions which fall outside our refund policy are not able to be refunded by Indiegogo. In these cases, any refund would need to be worked out between the Backer and the
 6812239      12/8/2016      11766005
                                         Campaign Owner. To help facilitate communication between you and the Campaign Owner, we have previously provided you with the Campaign Owner's contact information




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                      Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Refunds
                                         Contributors may request a refund from Indiegogo before the end of a Campaign. For Campaigns that have entered the InDemand program, Contributors may request a refund from Indiegogo
 6812237      12/8/2016      11766005    within 10 days of the contribution.
                                         Contributions are eligible for a refund by Indiegogo unless (a) the contribution funds have already been transferred to the Campaign Owner, (b) the Perk associated with the contribution has been
                                         fulfilled, or
                                         how are we supposed to get satisfaction here? a lot of us spent a lot of money on this bag, and now we're not sure if their was a bag to begin with. I'm running out of patience and money because
 6811069      12/8/2016      14767048
                                         of this scam. please for the love of God, someone help us get our money back!!!
                                         From my view, I have invested $364 between the pack and upgrades... I ether want my products I ordered, or my money back. I could threaten, I mean I know where Doug lives, but I'm not that
 6812292      12/8/2016      11754774
                                         person. I will pursue all means of getting compensation ether in a refund or product. Rather than let this be another "coolest cooler" scam I loose to.

 6812286      12/8/2016      11754774    So purely from and outsider view, they would see that the people associated with this keep changing. "Evidently Doug can't keep good help" is what they will think. Also they can understand the
                                         delay and reasons behind it, but now it's Dec and no one is receiving their packs and batteries. So now they will say, I don't want to invest here cuz they can meet one simple deadline...
 6812241      12/8/2016      11766005    so i think everybody lost money of this project when i see response receveid from Indiegogo support..
                                         c) Indiegogo determines that there has been an abuse of these Terms of Use. Indiegogo reserves the right to terminate User Accounts and remove Campaigns for any abuse of this refund policy.
 6812238      12/8/2016      11766005    For Campaigns that have ended, or in situations where the contribution funds have been transferred to the Campaign Owner, Contributors should contact the Campaign Owner directly regarding
                                         refunds.
                                         So i invite everybody to send directly email to company and you see everybody left company and nobody answer and failed delivery mail... info@ibackpack.co not work and you have response to
 6810467      12/8/2016      11766005
                                         send request at indiegogo and indiegogo is not problem... so how we can refund money with this project !!!! Its shame since august 2015 !! 900 dollars !!
                                         I think we've all been more then patient with this company I understand that they don't want to send out batteries that could cause bigger explosions then a galaxy note but the fact is there are no
                                         other RELEVANT updates and with December ending in a few weeks looks like they will not be shipping them out as promised.
 6807419      12/7/2016      11130288
                                         I wouldn't mind but the fact that I placed an order on October 13th 2015!!!!!! Then an upgrade to 2.0 kit to get it faster HA!!!! Hell my mother was still alive when I ordered it!
                                         Looks like it's been a month since the last campaigner or "true believer" has posted. Does that mean they've decided to stop maintaining the facade? Unless shown otherwise, looks like
 6808073      12/7/2016      6360482
                                         everything that was posted regarding concerns over the last many months has been true. Not surprising if you spend anytime looking up the CEO's history online.
 6806920      12/7/2016      11766005    so with new Terms and use of Indiegogo you need to propose REFUND option and you cannot provide this option ???? why ?????,??
                                         Cont... if my backpack is not at my house by 23:59 on December 31st I'll contact my card issuer and get a refund I hope all these comments are read by ibackpack and the staff and I hope there
 6807422      12/7/2016      11130288
                                         is a decent relevant update soon and no more updates on bulletproof plates or acid squirting flowers or a siren that can call dogs or any other upgrade that isn't needed....
 6806855      12/7/2016      11766005    update from Indiegogo by email today but i dont find where is possible to send request for take money with this campaing
                                         â€¢We updated information about recovering Campaign funds, including the right to attempt to recover or hold Campaign funds, and the right to use third party collections agencies;
 6806852      12/7/2016      11766005    â€¢We updated information about Campaign Owner responsibilities, including requirements to: (1) provide frequent updates, (2) certify that the physical location of the Campaign Owner matches
                                         the legal residence submitted to Indiegogo, and (3) fulfill any outstanding
 6808092      12/7/2016      6360482     Just tried to email all the prior contacts at ibackpack - they all bounced back as invalid. That's promising.
 6804575      12/6/2016      9090654     I want my money back! Tell me how and I will follow the procedure ! My patience is over !
                                         J. Waygood, did you see Indiegogo just updated their terms of use?

 6805616      12/6/2016      11764068    "Campaign Owners are legally bound to perform on any promise and/or commitment to Contributors (including delivering any Perks). In the event of any dispute, such as a Campaign Owner's
                                         alleged failure to comply with the Terms or alleged failure in fulfillment of a Perk, we may provide the Campaign Owner's contact information to the Contributor so that the two parties may resolve
                                         their dispute."
                                         Curious to know when you'll be shipping my backpack? Please let me know ASAP! Thank you!
 6802830      12/6/2016      8954231
                                         Tim Huizenga
 6799445      12/5/2016      12252408    How can we return our money?
                                         Alaxx... Ive tried a couple of times to get a satisfactory response from IGG the first time was 6 months ago and again a couple of months however they are unwilling to help.
 6801039      12/5/2016      11955673
                                         Keep trying though... you never know!
                                         Backers if you're reading this, please spam indigogo about this scam. I have already tried but I'm just one person. if all of us write a complaint, then we might get somewhere. iBackPack is doing
 6798884      12/4/2016      14767048    nothing for their backers at this point. we need to make a point here. We all wanted this backpack, but now their are better bags out there that are cheaper. Everyone please message indigogo
                                         and explain the issues we are having. Put iBackPack in their place!
                                         This project is a shame, it's been 16 months since I paid and no news !! No way to collect his money because indiegogo does not want to know anything and it is not their problem !! You have
 6798265      12/4/2016      11766005    financed your project at 876% !!!! And I want to get my money back over 900 dollars, you have not kept any of your promises and I want to cancel my order and get my money back !! Your follow-
                                         up and your project is a shame on such a platform!
                                         indiegogo why dont nothing about situation with more 4 000 backers !!!! and nobody receveid news and product since now more 16 months !!!! Doug Manathan where are you !! like RAZOR
 6798760      12/4/2016      11766005
                                         project , this ibackpack start to close and refund everybody now its enought !!!
                                         @rahid You make no sence at all... there is a difference between spamming 2-3 times a day for meeting and give update once per month...Please use your logic we are 1 month for the delivery
 6795546      12/3/2016      12640940
                                         deadline and we got 0 feedback at all on the status of anything c
                                         Totally with SÃ©bastiens note.

                                         We have had zero facts just forms and pointless 'beta testing'. There has been massive staff turnover which is a sign of a project in trouble, there has been zero communication on the final bag
                                         size let alone the other peripherals i.e bag tracking application.
 6796073      12/3/2016      11955673
                                         Look at Dougs other projects on here, they dont inspire confidence.

                                         I will be surprised if any of us get what we ordered let alone delivered this side of 2016.
 6795275      12/3/2016      11779629    i want a refund
 6794802      12/3/2016      11939211    i think the eta is by the end of december,,i hope they can quickly get it done so i dont have to buy a new bag by new year :D
                                         Hmmm can't you guys be patient...I see hypocrites everywhere first they always updated a lot but ohhh wait you guys didn't want updates since they were being too much similar to a "spam" but
 6792782      12/2/2016      11537868
                                         now you guys are complaining since they haven't updated in a while. I mean what's wrong with you all first it's we don't want any updates and now you do???
 6793532      12/2/2016      11794176    ETA?
                                         OK enough is enough. I would have been happy to get exactly what I ordered at the beginning all the new bells and whistles are nice but I have already gone on two of the trips that I originally
 6790321      12/1/2016      9773147     wanted this for. If you pay attention to the market you will find that if you want to keep selling you make improvements to keep making it better and keep the product on the market. At this rate
                                         many backers will not recommend your product. Just give us what we purchased and give up on the rest.
                                         This is becoming a one way street communication game. I don't see or feel that we are been treated fair as backers. You are giving your "BACK" to does that back you up with this behavior...be
 6790575      12/1/2016      10906435    aware Karma is a BITCH. Don't do anything that you would not want to be done to you... Just get back to your backers (give us an update) or this would show your true intentions - not to follow
                                         thru with this project.
 6784814      11/29/2016     13117616    Have we just moved from almost spammy updates to none at all? That's such a steep change.
 6780051      11/28/2016     12640940    earth to ibackpack team...earth to ibackpack team do you read me? *crickets* Are we on time with december delivery? Any status at all? anybody hear me!? thats what i tought...

 6779722      11/28/2016     4413888     I had a customer complaint because my emails were not answered. The other staff member answered that he will not excuse for the bad experiences with the company because someone else did
                                         the fault. I requested an excuse from the staff member which did ignore my emails. No response. I wrote again, again and again. But no answer. Why do you ignore all of my emails?
 6778778      11/27/2016     12443065    It is near December and no new Updates and comments. What is happening?
                                         I too have Issued a refund through my card provider for false advertising and scam. This champagne is nothing but a scam. The entire team is a joke who only wanted to get rich. You see how
 6768880      11/23/2016     14767048
                                         carelessly they update us on this backpack. We will get our money back. One way ore another.
 6767366      11/22/2016     11642786    I am filing a fraudulent sales report to the authorities. I am also making a police report. Scam artists like Doug Monahan should be put behind bars.
                                         All I want is the backpack and what was originally promised. Will the iBackpack be delivered in December-Januart 2017 or not? If you guys just concentrated on delivering the iBackpack as is and
 6767109      11/22/2016     11179413
                                         did not go crazy with the expansion upgrade, You might had time to check the safety of the batteries months ago.
 6767200      11/22/2016     12438054    I really lost the patience to wait for the shipment. Could you please refund me?
 6766110      11/22/2016     11864144    Really annoyed with this now and have requested a refund from my card issuer. I advise everyone else to do the same
                                         hello,
                                         I have followed your campaign from the start, with enthusiasm.
                                         To date 15 months later I read that maybe ship it to the end of December.
                                         I am no longer willing to wait. you have not met expectations.
                                         I do not consider useful, after all this time, the backpack.
 6757686      11/18/2016     11766005
                                         I want a refund of all my 249 USD.
                                         This does not seem serious.
                                         look quick confirmation for the return.
                                         thank you.
                                         Giuliano
                                         hello,
                                         I have followed your campaign from the start, with enthusiasm.
                                         To date 15 months later I read that maybe ship it to the end of December.
                                         I am no longer willing to wait. you have not met expectations.
                                         I do not consider useful, after all this time, the backpack.
 6757689      11/18/2016     11766005
                                         I want a refund of all 3 orders i do please as soon as possible
                                         This does not seem serious.
                                         look quick confirmation for the return.
                                         thank you.
                                         johan




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         hello,
                                         I have followed your campaign from the start, with enthusiasm.
                                         To date 15 months later I read that maybe ship it to the end of December.
                                         I am no longer willing to wait. you have not met expectations.
                                         I do not consider useful, after all this time, the backpack.
 6751257      11/16/2016     10006050
                                         I want a refund of all my 249 USD.
                                         This does not seem serious.
                                         look quick confirmation for the return.
                                         thank you.
                                         Giuliano
                                         It is what it is at this point but the main reason why I signed up for this project was the iPhone/Android mobile apps, Lost/Stolen Bag Retrieval System. Why have there been no mention of this
 6751005      11/16/2016     11911979    anywhere and it's almost time for delivery of the bag. We had a full year of battery testing but no even one mention of iPhone/Android mobile apps, Lost/Stolen Bag Retrieval System, Please
                                         update with this info. Like other have posted, you can get a bag and similar electronics pretty much anywhere else now
 6752114      11/16/2016     13629874    I want a refund. If you don't refund my money soon (take a % as a "fee"), I'll be contacting AMEX and having them reverse the full charge.
 6752715      11/16/2016     13176426    i want refund ..i want all my money back on my orders 4073 2321 and 2315

 6750712      11/16/2016     7775399     I've reached out various times via various methods (website, facebook, twitter, indiegogo) and have yet to receive a response in regards to what my options are for getting a refund for my pledge.
                                         I'm more and more disappointed with this campaign and the people that run it. All I want is to get my money back. It's been over a year since I've back this project with nothing to show for it.
                                         @Dennis...
 6749265      11/15/2016     11955673
                                         Good idea regarding the credit card provider, Indigogo have washed tgeir hands unfortunately.
                                         Honestly, I have to give props to Doug for professionally handling the situation and coping with the negativity.

 6746645      11/14/2016     15371856    However, with all due respects, I believe that a confirmation date, or estimate, would be very appreciated in the community, especially after the backpack having to go through an extra year of
                                         changes, mainly from it's ion battery. Everyone is just restless, and who wouldn't be after waiting an entire year?
                                         Adding on, information on the handler and type of shipping would be nice too
 6747049      11/14/2016     3731523     Oh yes...still waiting for my B2B contacts...hmmm.
                                         What is the latest on the delivery of the products? The only other campaign that I funded that has been as long is the touchjet wave. They have been giving regular updates through the design &
 6746343      11/14/2016     11754774    build process. The biggest difference is any question backers have asked has been answered quickly by employees that were specifically tasked with replying. I'm not talking about you Bruce, you
                                         should not have to try to find the right person to get answers, and you should be paid a wage.
                                         I'm okay with receiving the bag in December, but no further excuse.
 6746241      11/14/2016     11692015
                                         Jan 1 I will pursue class action.
                                         I don't use Twitter. I didn't pledge for this product on Twitter. I haven't complained about delays, self serving updates, customers being the voice of the product in the comments, BS Google
 6746182      11/14/2016     14641744
                                         sheets that were never updated, but to expect loyal backers to ask questions on Twitter rather than in the comments is bad business.
                                         "Not understanding Li-ion technology that could cause serious injury or even death when shipped"
 6746138      11/14/2016     9978787
                                         Yeah, did I mention I'd like my money back?
                                         As backers, supporter and investors, I think we would like a detailed budget of how all funds have been or are being used. Since refunds aren't happening because you view this as an investment.
 6746185      11/14/2016     11256652
                                         As investors, I pretty sure were entitled to see how all fund are used. For transparency.
                                         The project was funded at 892% or nearly 9 times the amount expected by the starters to deliver a working solution based on your IndieGoGo offer. Doug, better get a lawyer. Your statements in
 6747047      11/14/2016     3731523     the latest update may be fraudulent, notwithstanding the battery safety issue. Time to deliver, commit to delivery times/dates, or start issuing refunds. Those in doubt about this project with
                                         credit cards should file claims through the card provider.
                                         Why not just send the ibackpack as is without the battery, with all the other gear. This will give you time to find a battery or batteries so we have options. If there is a cost change for the battery
 6746213      11/14/2016     5999917     you can then allow us to choose to pay for it or not. This case gives us the ibackpack now so we can start learning and using it in our own way. Something to consider for the 4,051 backers, just
                                         image the feedback you will get. also please start selling as many as you can so you have cash flow.
                                         Just give us a refund.
 6746694      11/14/2016     11955673
                                         There are better bags with better batteries at better prices already on the market.
 6744007      11/13/2016     11776802    THE campaign team keeps changing as wel
                                         This is getting ridiculous. I had contributed to 4 backpacks expecting to get them by last years Christmas and use them as gifts. It's almost a year later and we still don't have a shipping date.
 6743450      11/13/2016     10784266
                                         Can you please confirm.
                                         hello,
                                         I have followed your campaign from the start, with enthusiasm.
                                         To date 15 months later I read that maybe ship it to the end of December.
                                         I am no longer willing to wait. you have not met expectations.
                                         I do not consider useful, after all this time, the backpack.
 6740794      11/11/2016     10006050
                                         I want a refund of all my 249 USD.
                                         This does not seem serious.
                                         look quick confirmation for the return.
                                         thank you.
                                         Giuliano
 6737106      11/10/2016     11776802    There is no new News ore movies ists just old data reposted i doubt i Will get in december
 6733390      11/9/2016      8007983     @ Eliot: Speaking to the Executive Team, once again.....I am working with Hector to get your questions answered. We were on a call for 30 mins.
                                         I DON'T WANT TO READ YOUR SPAM! I DON'T NEED TO KNOW EVERYDAY WHAT IS HAPPENING! STOP THIS!!! JUST WRITE WHEN MY BACKPACK WILL BE READY OR GIVE MY
 6734321      11/9/2016      12252408
                                         MONEY BACK!
 6734896      11/9/2016      11955673    Why has the the total funds raised dropped by $300k
                                         Well so much for Bruce promising to attend to issues I raised on this forum many weeks ago concerning the broken promise by Doug when the campaign launched and he assured me prior to me
 6735447      11/9/2016      5917588     outlaying the funds that there would be mobile version of the ibackpack . Despite making it clear I needed a mobile backpack (and the site showing that option initially) the option disappeared
                                         once the campaign was funded. I have been trying ever since to cancel the order (over 18 months). Still no response :-(
 6733389      11/9/2016      8007983     @ Eliot: Speaking to the Executive Team, once again.....I am working with Hector to get your questions answered. We were on a call for 30 mins.
 6733887      11/9/2016      11537868    The heck happened to the videos?!??!
                                         About the Cusromization, all of the bags, whether corporate or not, may be personalized by you adding a patch. Corporate customers may contact us at info@ibackpack.co for orders of ten or
 6731936      11/8/2016      15360152
                                         more with their corporate logo added.
                                         Can questions and answers posted on Twitter be copied here too please.
 6732369      11/8/2016      11955673
                                         I think it important that IGG be able to monitor communications and that current and/or potential backers have a single point of information rather than chasing the latest flavour of communication
                                         i.e Google Forms, Facebook, IGG and now Twitter.
                                         Regarding refunds, when you made your pledge to support the iBackPack you didn't purchase a product, but instead backed our project. Based upon your contribution, we have purchased
 6731932      11/8/2016      15360152    products, invested in engineiring, advertisements for staffing, continued our research and development efforts and worked diligently toward the goal of delivering you, and all of the other backers,
                                         the perks that were promised when you made your contributionYour perks will be delivered as quickly as possible.
                                         I am an old man; I have no Facebook or Twitter accounts. Same as Jonathan Waygood, I would appreciate if my questions, of general interest, I think, could find an answer in this Forum.
                                         Thanks.
 6732702      11/8/2016      11940255
                                         RE-RESENT: How do you want us to chose the interiorâ€™s color without a photo of the â€œblue/greyâ€? What happened to the TSA lock? Has the process of changing batteries from lithium
                                         ions to lithium polymer been successful? Who tested these new batteries? When will we see a demo of the app?
                                         @Hector Armenta Yes, we did agree to the pledge. However, we didn't pledge for the changes to the bag, the time delays, you're screw up's with the products, the lack of updates, and over all the
 6732221      11/8/2016      14767048
                                         sketchiness over the past year. We backed a project that has
 6731329      11/8/2016      8318767     Ok, waited forever. Where is this thing???
                                         Dear backers, we have now a Customer Support account on Twitter, in which you can address all the questions, inquiries and doubts you may have and receive a timely response. Follow us at
 6731859      11/8/2016      15360152
                                         https://twitter.com/IbackpackHelp. We are going to respond any question you may have at this Twitter account.
                                         We remind you that our policy is not to respond to messages of anger and hate, if you need an answer courtesy preserves. We are working also updating the FAQ on ibackpack website
 6731885      11/8/2016      15360152
                                         https://ibackpack.co/faq/
 6728975      11/7/2016      9978787     I'm with Alaxx, proper scam material. Money back pls, I don't want this poorly thought out product. And when I do get mine (if at all) I will openly slam it in any forum I can find to listen
 6730152      11/7/2016      11955673    I wonder if IGG would let us start a "Refund me" campaign
 6727718      11/6/2016      12507918    You guys should stop tricking people over and over ...... Keep sending f*cking emails but don't know where is the bloody product ......
                                         I think so too, that the new timeline is really bad. Most people are on vacation over christmas and not at home. If someone has to pay tax for the backpack than it can't be delivered to a neighbor.
 6727749      11/6/2016      12443065
                                         So please send it so that it will be delivered bevor christmas (international delivery).
 6727090      11/6/2016      11804216    Official* - that image sums up this entire experience.
                                         @Marc Rodriguez Yup, it's astonishing they didn't notice a misspelling in the headline image of their post. They claim they're going to ship between Christmas and New Years? That's a horrible
 6727109      11/6/2016      3385874
                                         time to ship anything. Many folks won't even be home to receiv
                                         Despatch over Christmas = Lost in transit
 6727199      11/6/2016      11955673
                                         Sigh....
                                         I think most people will find that their Perks will not arrive until Sometime in January or Later. I think this has to be one of the worst updates yet, a perfect Example of "We Have Your Money, Now
 6727426      11/6/2016      11615484
                                         Wait" Its a pitifully poor example of a Campaign that IBackPack have "Milked" as long as they can without Providing anything to their Backers... Disgraceful!!
 6727744      11/6/2016      14767048    look, just give us back our money. this is all just a scam.
                                         Hello Bruce,
 6725402      11/5/2016      11772023    I have sent you two emails, however you have not responded to them. Could you please get back to me about my Inquiry? Other than that I'm still looking forward to using my Backpack come
                                         December. Thank you.
 6724991      11/5/2016      10429749    are we still getting are iBackPack for dec delivery




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
 6725479      11/5/2016      11537868    I'm so eager one month away any updates please no more delays I want to get it so bad right now please tell me we will get it in the first or second week of December
                                         Bruce Lim, this is not an acceptable "update". More information is needed, please.
 6722838      11/4/2016      6539297
                                         Like many others, I bought into this concept well over a year ago, then upgraded days before the price dropped to $60, and now $75. We've supported you thus far, and we want to believe that
                                         you will honor your end of the bargain. But no solid information for almost a month is not putting our minds at ease.
                                         Thanks Bruce.
 6722967      11/4/2016      11955673    Whilst speak at Doug, can you also ask about the software too. I dont recall hearing anything about that, also with Haley now working for/with Tracey along with a couple of Dougs software
                                         engineers will that impact the software build?
                                         1) To all first I want to begin by saying that I'm not a fanning girl like I had beensaid to be.. I would appreciate if I don't get bullied on here , now what I do want to say is this is not a scam I
 6722830      11/4/2016      9557475     happened to be a beta tester and was able to test the products and the bag. I pledged for 4 bags and I wouldn't be saying it's not a scam because imagine I would be out over$1,100 since I
                                         upgraded my perks. I also want to say I never have and an not an employee of the company.
                                         2) I know it's been a very loooong!!! time waiting for our product it just so happens the battery issues really made this campaign fall way behind schedule because it was thousands of batteries
 6722839      11/4/2016      9557475     that had to somehow be replaced.. Think what if one of your kids would've gotten a bad battery and gotten severely hurt? I'd rather at this point have a bag with electronics that are safe. Please
                                         again I'd appreciate not getting bullied on here. Thank you
 6722887      11/4/2016      8007983     I'm working with the "Power's to be" to get you a real comprehensive update, including a grey/blue bag picture, updates from the manufacturer. I know it has been a long journey.
 6720827      11/3/2016      11918765    It looked good for a while and I was excited to get my backpack. Now it looks like it was a scam after all. Sad.
 6721326      11/3/2016      8007983     Backpacks will start shipping in December of 2016. It is not a scam. You will ALL get your backpack.
                                         Looks like I'm not the only one who has problems getting in contact with the creators. Who do we talk to about this to get our money back? There clearly has to be some regulation for scams
 6721252      11/3/2016      8456828
                                         right?
 6721327      11/3/2016      8007983     Backpacks will start shipping in December of 2016. It is not a scam. You will ALL get your backpack.

                                         Yeap, please show your colors. I mean show your "face". This is not what people pledge for, I knew something was wrong when you started PUSHING the upgrade and other "goodies". Promises,
                                         promises. Now, what can you do for the 4,043 backers? How about if we request a 15% money back for your "Not Compliance". $723,066 -15%=108,459.90 LIKE IT...
 6715716      11/1/2016      10906435
                                         Bruce Lim 7 days ago
                                         iBackpacks will be delivered December 2016
                                         Show me that they are been produce/assemble/stored. Did you say December!!! What 2017 2018?
                                         I supported this back in August, 2015. Similarly to many others, I now feel that this is beginning to look like yet another scam. I have seen many other similar products that have been rolled out,
 6717098      11/1/2016      9881468     and have to say that at this stage I am beginning to take a very dubious view of the current crowdfunding scene. I think that it needs some form of proper regulation. Does anybody believe they
                                         will ever receive anything from thse people.
 6715499      11/1/2016      12436407    I need to know when I am getting my product it's been a year already and still nothing if you don't have my products send me back my money
                                         It appears that this could be a scam. This is very unfortunate. The campaign's job is to get us the product as efficiently as possible, not to continue selling useless updates. It is many months late.
 6716010      11/1/2016      10384306
                                         I need a definitive date on which I will get the bag!
 6713344      10/31/2016     11906310    Bummer!!! A Great Project Gone Bad. The TOC have very clear directions to handle issues through arbitration. Doug, where we at with this? At least be open and honest.
                                         RESENT: @Bruce. I think that we deserve to get a serious, real update. Roughly three months without â€œhearingâ€ the CEO, and on your Facebook page only advertising of Lightningstrike but
 6706618      10/28/2016     11940255    no new information on the iBackpack: How do you want us to chose the interiorâ€™s color without a photo of the â€œblue/greyâ€? What happened to the TSA lock? Has the process of changing
                                         batteries from lithium ions to lithium polymer been successful? Who tested these new batteries? When will we see a demo of the app?
                                         @Eliot I doubt youll get much more of a response.
 6707093      10/28/2016     11955673
                                         Its very clear that 'team ibackpack' are focusing their attention elsewhere on 'bigger and better' schemes.
                                         @ Jonathan: They keep deleting my comments on Facebook because I keep calling them out about them not having time to update us because they're busy, but have enough time to promote
 6707467      10/28/2016     14767048
                                         other products... this whole thing is a scam. it's obvious that us as back
                                         Its been more than 20 days with zero update! No bag picture..No battery update....No video of those new products except the credit card and lipstick battery that we have seen months ago....And i
 6704035      10/27/2016     12640940    see that the team working on the Ibackpack grow thinner and thinner as time pass they were at least 10 people when i gave my pledge and now they are only 4 on the roster. Do we need to
                                         worried? And please don't repeat it deliver in December we got that part..
                                         If I don't get to decide on my backpack design then I can take this to court because when I pledged I was promised certain things and it's illegal for them to be changed after. Just like you can't
 6704661      10/27/2016     11689037
                                         use my money towards other products.
 6705237      10/27/2016     6726573     @Ruth Velasquez That worked for a while. Not anymore. I've had other second rate cables that went the same route.
 6701794      10/26/2016     4219427     I can hardly wait as it seems like a very long time...
                                         I have been waiting for this backpack for almost a yead now and I still do not have it. I really need to speak to customer service to raise my confidence in that I will get my backpack by March
 6698804      10/25/2016     11769428
                                         2017. Please send me and email at contactsofiasantos@gmail.com . Thank you!
                                         Can we at least see everything that comes with the 1.0 and 2.0? It says, it comes with a Bluetooth speaker and headphone, but we know nothing about them. I'm sure we'd like to see where our
 6696978      10/24/2016     14767048    money is going to products we bought, or if it's being fronted to this lighting brand you all are promoting. Because all we have seen In the China video is the 2600 mAh, and 3k mAh power banks,
                                         and the data chords. I'm wondering if their going to be made for quality.
                                         My biggest fear is realized. The zipper cable no longer will charge my iPhone or iPad. When I asked if these cables were to be Apple MFi certified I was told not to worry. Now what happens when
 6696156      10/24/2016     6726573
                                         the bag finally arrives and I need to go buy my own cables?
                                         @Steve Duncan I had the same problem and what I found if I just turned the tip over and inserted cord
 6697243      10/24/2016     9557475
                                         it began charging again. I hope this helps you.
                                         @Bruce. I think that we deserve to get a serious, real update. Roughly three months without â€œhearingâ€ the CEO, and on your Facebook page only advertising of Lightningstrike but no new
 6697666      10/24/2016     11940255
                                         information on the iBackpack: How do you want us to chose the inter
 6693489      10/22/2016     4413888     I wrote you more than 5 emails and got never a response. Is my money wasted?
 6693608      10/22/2016     11962489    I'm moving on December so I need to change my shipping address, who should I sent email to update my address??
                                         when will you have an update on the mobile app/lost stolen retrieval system? We are almost on November and nothing. There are too many places you guys ask us to post questions and none of
 6690893      10/21/2016     11911979    them are updated. The Google doc has not been updated since 9/7 and the other avenue has not been updated either. I am trying to be patient but without the app and retrieval system, I can buy
                                         a bag and all the batteries and stuff anywhere today.
 6691851      10/21/2016     9978787     I can't even remember when I backed this & haven't seen any of it. What a complete fraud
                                         I pledged for the ibackpack right when it was available which said black, color bags, textured. Also the Sales Pro you get to put a logo on bag. I spent $264 with tax. When will I decide on my
 6687414      10/19/2016     11689037
                                         textured bag. The example had red and blue with your log here.
 6683638      10/18/2016     11940255    RE-RESENT: Again, before selecting our choice of the interiorâ€™s color, can we see a photo of the blue/grey version? Other backers made the same request as well. Thanks.
 6679483      10/16/2016     2898436     Where is my backpack!!!
 6677124      10/14/2016     12389604    Good to know, let's just hope this is the case...
                                         Bruce any response on this Modem/Europe UNLOCKED Question please? Again, before I purchased the wifi version back in Nov 15 for $249, I was told it WOULD work in Europe and be
 6676128      10/13/2016     12389604
                                         UNLOCKED, but looking at your pictures they look like US modems...this should be a very straightforward question to answer. Many thanks, Scott
 6673437      10/12/2016     11940255    Again, before selecting our choice of the interior's color, can we see a photo of the blue/grey version? Other backers made the same request as well. Thanks.
 6669653      10/11/2016     12389604    Bruce any response on this Modem/Europe UNLOCKED Question please?
                                         Hi, I have ordered my backpack in September of last year. While I understand that these campaigns take normally longer than expected - is there any firm delivery date yet? My original estimated
 6670159      10/11/2016     8016748
                                         delivery date was March 2016. Thanks for clarification.
                                         "Better" is subjective and it's worth nothing that that bag comes with significantly fewer gadgets. And you'd have to wait until May 2017. I do like the idea of a central battery pack that can be
 6669597      10/11/2016     12851509
                                         charged wirelessly but there's only 10,000 mAh of power in that thing....
                                         Like the iBackpack, but only better... oh and cheaper too...
 6668805      10/10/2016     11955673
                                         https://www.kickstarter.com/projects/barracuda/barracuda-konzu-the-worlds-most-advanced-backpack
                                         Bruce, thanks for your reply on the modem..it needs to be UNLOCKED, otherwise it will be useless in Europe. Before I purchased back in November last year I asked if it would work in Europe
 6668734      10/10/2016     12389604
                                         and was told YES...
 6666702      10/9/2016      12389604    Also if I do the 1.0 to 2.0 upgrade now will I get the different upgraded bag itself? Or has the deadline for this gone? (I initially paid $249 on 10th November for the wifi version)
 6666687      10/9/2016      12389604    Please can you confirm the Huawei modem being sent out is UNLOCKED (as I am based in Europe). Thanks
                                         Because I'm the original creator of the Google Contact Forms that everyone needed to fill out, I easily added this section, Luggage Tags & ID Cards so you can type your exact first & last name of
 6666877      10/9/2016       437720     the ID/Luggage tags for your order. This is important if you've pledged multiple iBackpacks, like a 5+1 backer like myself. Bruce Lim, please make sure everyone goes back into the Google
                                         forms & fills out this new question: https://goo.gl/forms/OjfTOdlToEi9jM6x2. Post on FB/update so people are aware.
                                         For those backers who are fed up with receiving newsletters.etc, these are from Indiegogo, here is how to turn it off.
 6663862      10/8/2016      14973556
                                         These are from Indiegogo. Click on the down arrow, Click on My Settings. Click on the subscriptions tab. Click on or off, anythiing you don't want to receive.
                                         You fking asked me for more money for postage and a upgrade and you dont even fking reply to my messages. And i still havnt received my fking bag....
                                         At least fking tell me you flat out scammed me so i can move the fk on.
 6665086      10/8/2016      8005764     Fking over these kickstarter sites.
                                         Lost enough money on different projects that it aint ever worth using again.
                                         Get fked c*unts
                                         @Bruce. I see that my questions below were not clear. Must be my language problem, sorry about it.
 6664865      10/8/2016      11940255
                                         Explanation of my question Item 2: I am offering the two WiFi 1.0 iBackpacks to my sons. The ID cards and luggage tags will have to be written under their n
 6663698      10/8/2016       47047      If we have already filled out the google form one or more times when previously requested do we need to fill it out yet again?
                                         Explanation of my question Item 4: WiFi/MiFi etc. I ordered two WiFi 1.0 iBackPack. WiFi/MiFi is not an additional perk, it is included in my iBackpacks. My question is: How did you test the
 6664863      10/8/2016      11940255
                                         WiFi modem/router? How do you know that it works in Europe? When can we see a demo of the app?
                                         For those backers who are fed up with receiving newsletters.etc, these are from Indiegogo, here is how to turn it off.
 6663861      10/8/2016      14973556
                                         These are from Indiegogo. Click on the down arrow, Click on My Settings. Click on the subscriptions tab. Click on or off, anythiing you don't want to receive.
 6664864      10/8/2016      11940255    Explanation of my question Item 3: Measures of the 15 inches bag: I was asking about the external dimensions of the bag: L x W x H, not the size of each pocket.
                                         The questions asked on FAQ spreadsheet get no answers. Please reply here: 1) Can we see a photo of blue/grey interior before selecting final color? 2) Where do we have to mention (for ID
 6664021      10/8/2016      11940255    cards, luggage tags etc.) the names of the persons we are offering the iBackPacks to? 3) In Tracy Tranâ€™s October 5th photos, is the bag on the right the 15 inches bag? If so, it seems very
                                         big. What are its measures? 4) What about WiFi/MiFi and the app? You never talk about them. December is in a few weeks now.
                                         @Hao thank you for trying to clarify however I don't and have never worked for ibackpack. I'm passionate about all the campaigns I back (30ish) or so and try to help
 6662504      10/7/2016      9557475
                                         promote. I find you to be a gentleman just by the way you expressed yourself unlike many




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Re: The Last update.... Lol. That was one typo that was about to cause a HUGE uproar in frustration... Lesson to everyone to always check your writing before you post it.
 6662499      10/7/2016      12851509
                                         Glad to hear that everything is actually ON SCHEDULE to ship to the backers in December 2016.
                                         What a coincidence that Mr Lim that was judging everybody's comment as a simple Backer (He said that on at least 8 posts) He his now part of the backpack team Im SO surprised. Thanks a lot
 6662059      10/7/2016      12640940    for proving me right on multiple post i sent back in the past and even some i sent yesterday, Now that you are out of the closet can you answer the multiple people asking for a simple
                                         question....What happening with the Backpack after the announcement on Facebook?
                                         @Ruth Your comments I've read does nothing to help the frustrations the other backers feel what they are getting is real. Your passive aggressive comments on top of this isn't going to make the
 6662537      10/7/2016      11771050
                                         other backers feel better. (stated with your comment with you
                                         Sebastien, Bruce was originally just a backer. Then he became a beta-tester. Then iBackPack started hiring to replace some of their staff in August and Bruce and Ruth were hired because of the
                                         amount of support they showed for the project. He has never said he is "just" a backer. He IS a backer that eventually got hired. It happened on the GoLives.
 6662259      10/7/2016      12851509
                                         Now, I'm very very tired of their endless sales pitches to us, people that already own the products, as well but they were never 'in the closet.'
                                         Just watched Miss Tran's video of the backpack. I use my backpack to carry camera gear as well. Are the mesh pockets suitable for carrying extra lenses for a mirror less camera? I'm trying to
 6663563      10/7/2016      1803651
                                         visualize where I would put the camera itself (Sony a6000).
 6661075      10/6/2016      8260513
                                         Where are Bruce and Tracy to feed us more bullshit about this half-baked project? Are they too busy telling us how we are missing out on the $75 "deal" to upgrade this POS product?
                                         I think it would be fair is your updates were signed with a full name rather than with just â €œiBackpackâ€. I cannot believe that Mr. Doug Monahan is really accepting to lose what is left of his
 6660792      10/6/2016      11940255    credibility in talking now about Beta bags arriving from China late December. So it must be someone else who is posting these ridiculous updates and I think we deserve to know who is
                                         responsible.
                                         "We are waiting for the shipment of the BETA BAGs for the iBackPack from China right now. They are due to be here toward the end of December."
 6660090      10/6/2016      8260513     https://www.facebook.com/iBackPackOfficial/?hc_ref=NEWSFEED&fref=nf. Please explain how it takes a factory in China 2.5 more months to produce a few dozen bags. This is looking more
                                         and more like a scam. The iBackpack Team is now focusing on their other ventures. FAIL.
                                         Alright... what the hell is going on here? BETA BAGS at the end of DECEMBER?! Final bags are due by then... I swear to god if we could get our money back, we'd demand it back in a heart beat.
 6661040      10/6/2016      14767048    This is outrageous. How many more delays are we going to be forced to wait? How do we know if we'll even get the bags, and if they'll be made of good quality? Their are too many questions we
                                         have that aren't being answered. How about the owner of the campaign speak for himself?
                                         Can someone explain to us what the last update on your Facebook page meant? Your BETA BAGS are scheduled to be here toward the end of December? I thought we were supposed to already
                                         have our finished product bags by then. If this is another delay, would you please clarify?
 6660628      10/6/2016      12851509
                                         Also, I'm sure the products you're helping promote are amazing, but I can't even look at them right now because I still don't have all the other stuff I backed on IGG lol...
 6660298      10/6/2016      11911623    So, is it a 15 inch bag or a 17 inch bag?
                                         This campaign is such a shame. Ibackpack could have been a good product with potential, now its just a bit sad really.

                                         Nothing says classy product like an inbuilt hood with fake 'fur' but lets not stop there we can put holes all over the bag too to pass cables through, then lets adds dozens of secret pockets, a gun
 6660986      10/6/2016      11955673
                                         pocket and add a Kevlar plate and another handle....

                                         Hey presto the James Bond 2000 bullet proof, rain coat super bag shield with a battery and a water bottle holder... sigh
                                         Hi, my name is Bruce Lim Tracy has given me the sales pro leads. Tracy Tran will no longer be helping with iBackpack anymore. I officially work for iBackpack now. I will be the contact person
                                         distributing the leads to the appropriate sales pro backers. Everyone needs to fill out the contact form to expedite the processing of your order. Do to the popularity of the orange and blue/grey
 6661987      10/6/2016      14973556
                                         interior colors, we are pleased to offer you both colors
                                         https://goo.gl/forms/yS5UFlwWQMMxRNuf2
 6659970      10/6/2016      10348187    Is it still possible to get the 2.0 upgrade? I tried to sign-up but when I tried to submit payment nothing happened. Thank you.
                                         Can we stop the campaign of secrecy? If the Facebook post is true, and the BETA bags are coming late December, then why have Bruce posting 2 days ago that the final bags are still expected
 6660636      10/6/2016      6360482     then? You can't have just found out about a delay this huge. I also second the request to stop plugging other products. Until my bags are in hand, I'm not touching another product promoted by
                                         iBackPack.
                                         So, the mantra to data has been that the bags will be delivered in December, Now you are saying on Facebook that the BETA BAGS are scheduled to be shipped from China in late December.
 6660098      10/6/2016      8260513
                                         This has become an unfunny joke.
                                         I would like to channel everybody to the FAQâ€™s so that we can streamline the iBackpack process to minimize answering the same questions over and over again.
 6660052      10/6/2016      14973556
                                         https://goo.gl/forms/qL5CAThaxp0qxMEf1
                                         @Aaron we are on the same page here...It was supposed to be march 2015 then it got postponed again to i don't even remember when then they promised Dec 2016 and then....Flip the coin we
 6660689      10/6/2016      12640940
                                         "may" have a more accurate answer on when they intend to deliver the
 6660303      10/6/2016      11911623    So, another delay. What a shock. I've lost count of how many trips I've now taken that I had planned to have my bag.
                                         @RUTH i didnt wanted to add to it but it seem you are trying to play the victim here but lets point out that since im following this campaign i have seen myself at least 10 posts from you all stating
 6658471      10/5/2016      12640940
                                         the same sentence over and over . Expressing an opinion
                                         @ruth Please stop making your fangirl comment every time somebody express how they feel about how things are handled everybody have a right to their opinion and also please refrain from
 6658023      10/5/2016      12640940
                                         using pre mashed sentence that we heard multiple times on this board
                                         EVERYONE needs to fill out the Contact Form & make sure information is up to date for order processing. Here you can choose your Interior ibackpack Color and indicate if you are a Sales Pro
 6658369      10/5/2016       437720     backer: https://goo.gl/forms/dEGa4nmmWKv3Ym082 . Please read this important newsletter update that contains information about final color, sales pro leads, prototype pictures, changes of
                                         ibackpack, and more, if you haven't already: https://drive.google.com/file/d/0Bwa-dSjTnJQANmFlRWllLWZlQm8/view?usp=sharing
 6658390      10/5/2016      12851509    Tracy, if we've filled out the form before do we go into our edit link to answer the two new questions?
                                         @ Tracy, thanks for your efforts. I have a few questions, though. 1) before selecting a final color, it would be nice to see a photo of the "blue/grey" interior. 2) Where do I have to write the names
 6658403      10/5/2016      11940255
                                         of the persons I am offering the bags to [for ID cards,
                                         @Sebastian because of people that make ugly comments is why I posted my comment, remember I'm in the same boat. I guess because of my profession I just try to ease everyone's anger
 6658209      10/5/2016      9557475
                                         and/or rage. Yes everyone is entitled to their opinion therefore I posted
 6658927      10/5/2016      11537868    Anyway to confirm that I had filled out the survey as I had already did so
                                         I am a backer like everyone & also a passionate beta tester for the iBackpack line &some answers I don't know offhand. I will try to get them for you all but since my volunteer time is limited to
 6658436      10/5/2016       437720     my hectic schedule, I need for you to please channel your questions to the online FAQ so I can ask them all at once when I speak to the iBackpack team & particularly Doug:
                                         https://goo.gl/forms/gys1Jvw2SHtaqIFj2 . Everyone will love the quality! Thanks for taking the iBackpack journey along with me.
 6658296      10/5/2016      8251331     Who do I need to get in contact with about my order?
 6653776      10/3/2016      2898436     When am I ever going to receive my back pack as I am one of your original contributors. Is this just a scam?????
                                         Lots of ugly comments on here. I'm a beta tester I contributed 9/2015. I want to say that everyone will be happy with what we are getting. All the upgrades we are getting at at no additional cost
 6654146      10/3/2016      9557475     will be awesome ie the side zipper pocket will be raised and will have thermal fabric to keep drinks cool/hot, mesh will be stretchable to last longer just some examples. We've contributed to
                                         something not made yet and it's a process,we didn't buy it that's why we're getting a perk for our contribution
                                         Can I please get my contribution back? This has been dragging on for quite some time. This was going to be a birthday present but now unfortunately I will have to get my sister a different gift.
 6653055      10/3/2016      11779883
                                         Thanks
                                         Really bad customer service no responses other then automated replies that yo cant reply back to at this point i just want my money back next time don't promote a 2.0 product when 1.0 isn't out
 6651058      10/2/2016      11771050
                                         yet on top of charging your backers for an upgrade to what they already spent money on.
 6650763      10/2/2016      8260513     So, it is sill allowing me to upgrade from 1.0 to 2.0 on October 2nd (which I don't plan on doing). What happened there? Did the scare tactics not work?
 6651134      10/2/2016      14767048    Are our orders based on indigogo, or do we have to complete a survey?
 6647460      9/30/2016      14973556    There are NO refunds, because we are paying the manufacturer company.
 6647459      9/30/2016      14973556    There are NO refunds, because we are paying the manufacturer company.
 6646155      9/29/2016      11779883    Could I get a refund please? Thanks.
                                         Hello.
 6643185      9/28/2016      4219427
                                         Do you have a solid date for my order?
 6643719      9/28/2016      7325550     How do I cancelling my pledge?
                                         Can you show us an example of the 1.0 components? A video showing them in action would be great. You are spending a lot of time BETA testing the 2.0 components, can you confirm that the
 6643598      9/28/2016      8260513
                                         1.0 version will be properly tested when you ship them out?
 6643053      9/28/2016      7775399     How do I go about cancelling my pledge? I no longer have a need for a backpack of this type.
 6641301      9/27/2016      14973556    The 1.0 - 2.0 Expansion Upgrade will expire October 1, 2016. The retail price is $300 or 75% off. This a great steal of a deal. I've got my Expansion Upgrade, do you have yours?
 6640601      9/27/2016      1844699     So is the backpack getting shipped out to the rest of the contributors in December?
                                         No one has received there iBackpack, they put up an update on what was being done at NO EXTRA COST! to the bag , making sure the side handle is leather as promised making the side
 6640685      9/27/2016      9557475     pocket expandable and insulated just 2 examples of many other goodies being done. Come December 2016 the bag will be delivered. Thank you team for paying attention to even the most
                                         minute detail to deliver a great bag.
 6639900      9/26/2016      11646503    When I send my backpack? ... You could communicate with me? I need to know how to get my product. mail: polo.pastenes@outlook.com
 6639063      9/26/2016      8347283     I want a refund. I still don't have my bag and I found a better one. Please contact me
 6638320      9/26/2016      12851509    Blue/gray is my choice by a landslide for the interior.
 6635481      9/25/2016      14773861    We are trying to figure out the color on the inside. We really like the blue/gray. What colors do you like?
                                         who can I submit a prototype 3D model of my padlock idea to? I'm a young drafter and work extensively with autoCAD and Inventor. I have a 3D prototype of the TSA lock. I want to make sure
 6636003      9/25/2016      14767048
                                         every angle is taken to lock the laptop, and main pocket. It's real important (to me at least) that both can be locked at the same time.
 6636557      9/25/2016      11794176    Any updates regarding the Kevlar Roman shield or monolith?
 6635510      9/25/2016      11940255    @Haley. Concerning the TSA lock, in my opinion, if there is only one, it should lock the laptop compartment. For the other compartments, we may use normal padlocks. Thanks
                                         Oh and we have heard you! We are trying to make the TSA lock turntable to lock the laptop compartment as well. If that is not possible, we may move the YSA lock to that section. What is more
 6635485      9/25/2016      14773861
                                         important to you? @tracytran
 6634305      9/24/2016      9557475     Eliot her email is haley.felchak@ibackpack.mobi
 6634745      9/24/2016      14773861    We would like to add velcro all around the inside to organize cords.

 6634744      9/24/2016      14773861    For all of you moms out there.. We are looking into raising the closed zipper pocket on the side at the bottom 3 inches, turning it into an accordion style for the ability to pull the pocket out further
                                         and adding thermal fabric on the inside so that you can fit any size baby bottle in there. You would also be able to fit bottled soda and cans as well. Anything that needs to stay cold or hot!
 6635181      9/24/2016      11537868    Happy Birthday Mr. Monahan have a wonderful birthday and take a break you deserve one!




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         We will be making the rubber grips on the bottom 1.5 inches tall so that when you put your bag in water a) you do not track water wherever you go, b) your bag doesn't get drenched, c) even
 6634739      9/24/2016      14773861
                                         though the bag is waterproof we want to ensure your electronics are 100% safe.
 6634747      9/24/2016      14773861    We are loving the idea of adding faux sheep fur to the inside of the hood along with the ability to tighten it more for all of you guys who go live or visit the cold areas of the world.
 6634736      9/24/2016      14773861    We would like to add padding at the inside bottom of the bag where your computers and electronics will be so that if you drop your bag, nothing breaks!
                                         I would like to wish the CEO, Doug Monahan a HAPPY BIRTHDAY & let him know that I appreciate all the hard work & countless hours he's putting into making the best innovative tech iBackpack
 6635022      9/24/2016       437720     to meet the Dec 2016 deadline. Doug, thanks for the opportunity to work with you directly.Through its ups & downs, it has been a long & harrowing journey, but one that is unique like no other, &
                                         worth taking. Never stop making products that empower lives, be kind, humble, & keep paying it forward.- Tracy Tran
 6634328      9/24/2016      11940255    @Ruth: I will try, but it is strange, because I was just using the e-mail address Haley used when she wrote me. Thanks for your help.
                                         Haley,there should be velcro on the mesh pockets to hold the items in & prevent them from falling out. Here's an idea: What if you had two types of hood: one with the faux sheep fur for winter &
 6635006      9/24/2016       437720     one with the rain lining like it is now in our prototypes for warmer/rainer weather? Both of these would be hidden and you can choose which one you want to use depending upon the weather.
                                         Wouldn't that be cool? Also, I would like to see the TSA lock be on the main laptop compartment if only one is used.
 6634742      9/24/2016      14773861    We will be giving everyone as promised for the leather handles. We are currently working on the handle to make sure it lasts a lifetime for you all.
                                         Lots of new things happening for iBackPack. Doug and I had a discussion today about many things we are adding to the bag one last time before we get our final production done. I will post each
 6634735      9/24/2016      14773861
                                         idea in a comment and please reply with if you think it would be benefitial or not. Remember we are adding these extras for NO EXTRA COST!
                                         For all of my beta testers, please email me at Haley.felchak@ibackpack.mobi a video documentation with your ideas, things you like or dislike about the bag. Also, please make sure you post
 6634752      9/24/2016      14773861
                                         your videos onto Facebook and YouTube please!
                                         We are looking to make all of the mesh pockets into STRETCHY MESH FABRIC. This is one I am extremely excited about. The fabric is already extremely durable, but now it will be stretchy AND
 6634741      9/24/2016      14773861
                                         durable!
 6633476      9/23/2016      11794176    Any updates on the monolith? Input/output wise? Or specs?

 6633958      9/23/2016      11940255    I just replied to an email that I had received from Haley Felchak at her e-mail address: haley.felchak@austin-design.org , but it was rejected : Quote "The error that the other server returned was:
                                         550 <haley.felchak@austin-design.org> recipient rejected". Unquote. What's wrong? Thanks.
 6632093      9/22/2016      11926056    When will I get my delivery?
 6631044      9/22/2016      11771050    Who can I email about clarifying my pledge from Aug 15, 2015
                                         Just a question after a long time does the iBackPack itself has a pre-built in battery that could be possibly charged by an AC Adapter? That would be really great as in some cases I'm sure I won't
 6629028      9/21/2016      11537868
                                         be able to carry that much portable batteries?
 6628441      9/21/2016      6360482     Out of curiosity, are you involved with the lightning strike charging case or is it just something cool you came across?
 6628080      9/21/2016      11939211    Can u check on my order n see if my bag is whether ugraded to 2.0 or not..thanks (not the hardware)
 6627756      9/21/2016      14765378    I want to claim my super hero chargers that were in the emails
 6625712      9/20/2016      9557475     Go on FB and see the video I posted the bag is fantastic and when you get it in December is going to be even better.
                                         Dear backers,,can u guys please stop complain already,,they are already working hard to get the bag done and already give us estimated time until december,so please encourage them to until
 6625494      9/20/2016      11939211
                                         then,,me too am a backer and gonna moved to other city by end of the year,,so we just hope to get the bag by the end of the year,,no offense okay :D
                                         As a backer (5+1 wifi and 2.0 upgrade) and beta tester myself, there have been times I was frustrated with the level of communication of iBackpack, but I can assure you that this campaign is
 6625404      9/20/2016       437720     indeed NOT a scam and they are progressing on time with the December 2016 delivery. To point out, hundreds of products were made and shipped out to beta testers like me and many others to
                                         evaluate, review and give feedback and results were posted on FB. Please participate in AskFM & FB for updates.
                                         I would like to applaud Bruce Lim for his continued dedication to help to answer IGG questions & for running AskFM. Like all of you, he is just a backer, but with his continued passion and
 6625415      9/20/2016       437720     dedication to this project he has only volunteered his time to help answer your questions and is not directly employed with iBackpack.Therefore, I wanted to thank Bruce publicly & tell him that I'm
                                         proud of his work, continued passion, & dedication for the success of this project.We race together till the end!
                                         Wow... That's great... Respond to other people's posts but not mine that wasn't even rude or anything. I worded a very polite email to you asking to cancel my order and nothing... And nothing
 6625630      9/20/2016      6853311
                                         here... That's terrible customer service. You didn't mind calling me ten times to verify my order before...
                                         I believe people forgot what we contributed to... It was something that was going to be built/made. We didn't purchase we contributed to a project someone thought of and ask we help by backing
 6625706      9/20/2016      9557475     them or investing in the end once the project was complete we would receive the finished product as a reward for our investment. This is NOT A SCAM!!!! I guarantee you. I'm a beta tester and
                                         have tested some of the product s
                                         Beta Testers:
 6623825      9/19/2016      14973556
                                         Doug wants all of s to submit a list of what improvements, pros and cons we want about the iBackpack ASAP on skype @ doug.monohan.50. Beta Testers please ONLY
 6624967      9/19/2016      6853311     I asked for a refund and no one responded.
                                         Dear Bruce, when you done ignoring me, could you be so kind as to respond to the fact this campaign is a complete scam. I've send numerous emails and messages, but no response, or
 6624518      9/19/2016      11891772
                                         backpack or refund. So, I'm out $249 and the only thing I get is email spam.
 6623199      9/19/2016      9557475     About 2 1/2 months left to get our bags. I'm excited.
                                         when will we see something of the apps
 6621487      9/18/2016      10516982    that come with the iBackpack?
                                         I've asked this a while ago but still no answer or an email we can download from Apple or Android Play Store, Beta testers need this app too to do their job properly.
                                         Glad to
 6621590      9/18/2016      12069548    Hear that thank you so much. Can wait till
                                         Dec. I'm fly to a Europe tour in January so will post some video with my backpack
 6619833      9/17/2016      12069548    Indiegogo baker will get the free bag upgrade to 2.0
                                         If I don't need the extra hardware expansion, how can I get the 2.0 hag. Since I have go pro . And I though Thea everyone will get Indiegogo was getting a free bag upgrade to a 2.0 ( not the
 6619823      9/17/2016      12069548
                                         hardware) just the bag it self
                                         In this company in perks and gadgets and I don't mind wait till dec but I don't think is fair that I have to pay more for something you guys had said will be free. Them I realize this we not getting
 6619832      9/17/2016      12069548    other gadgets in the bags like the gps, the alarm, the speaker is not integrated to the bag is just a regular speaker that have to put it in a pocket. So I just need to know what we standing with this
                                         or I have to go all the way down and screen shot the update were one of the staff said all
                                         If there is any difference between the bag it self the 1.0 to the 2.0. Because I'm confuse wilth all this 1.0 2.0. I have the wifi backpack, with the bullet proof plate, plus the 50, k batterie. Now I don't
 6619488      9/17/2016      12069548
                                         need more batteries but I'm seen people comment and I got wonder if the bags itself is different
                                         Sorry my keyboard news in Spanish. I don't need the extra hardware. However I want the 2.0 hag and since I have go pro. And you guy in other commmeng down there had said that everyone
 6619828      9/17/2016      12069548    in Indiegogo was getting the 2.0 bag as a free upgrade sinces the problem that people in Kickstarter was getting a free extra bag. That's why I'm so confuse because till this time we don't even
                                         know what we getting. You guys say we gettin something and month later forget you guys offer it. I have over 400
 6618796      9/16/2016      8251331
                                         i am so done. i didnt want to post on this public forum but since you wont answer emails i guess i have no choice. i would like to request a refund. i backed for the backpack and the 2.0 upgrade
                                         Marima it would appear that the only way anyone can get a response is via this public forum. Like you I have tried for months via email with no response. Why do we have to communicate (and
 6619154      9/16/2016      5917588
                                         clog up the public forum with personal issues that should be dealt with via email) in order to get the courtesy of a reply?
                                         I've been trying to get a response from this company via email for 10 months. Someone finally rang me 3 months ago, and promised to check on my concerns and get back to me - that was the
 6617780      9/16/2016      5917588     last I heard from her. I have no confidence in this company whatsoever when they ignore 8 emails sent over 6 months and never return calls. I am wanting a refund as one of the original functions
                                         promised has disappeared off the list of options, rendering the bag useless for my purposes. Very disappointed.

 6616418      9/15/2016      9557475     I'm reading a lot of negative comments, I'm one of the very first backers and I will say the campaign is going through. I've backed several products and actually waited about 24 months but got a
                                         heck of a product. REMEMBER when we contributed this product didn't exist it was going to be made. I myself can't wait to get mine either. All good things come to those who wait.
                                         I'm reading a lot of negative comments and I'm getting a bit nervous. I hope they change the TSA lock to lock all 4 compartments, but I'm more worried that I'll end up getting no bag at all. I
 6615566      9/15/2016      14767048
                                         ordered the $169 bag along with the $75 2.0 upgrade. I just hope this campaign goes through. It's clear that the majority of us are upset. Please listen to your backers.
                                         I have given almost 300 dollars and you all are going to do this to me. just give me my money back. I have been dealing with this and have been very patient after being promised this and
                                         promised that and nothing has happened except me giving more money. the MOJO is what I want if you ever decide to do it I want one. But this has been one big nightmare!
 6614031      9/14/2016      12728819
                                         Thank You. for nothing, Lee
                                         Unless you figure it out. I want my money back. I have given 75 and 15 for the MOJO project it didn't get funded. So CEO Doug promised a free Ibackpack. That promise was broken and MOJO
                                         cancelled. So I decided I wanted ibackpack 2.0. So I gave another 169 and 25 for shipping. I believe that is more than enough for a ibackpack 2.0 and the some. Which is a couple of batteries if I
 6614224      9/14/2016      12728819    remember right. So figure it out or give me my money back.

                                         Thank You, Lee
 6614301      9/14/2016      12728819    Thank You
                                         So I have tried to get a hold of anybody at this place. I have been emailed that I hadn't upgraded to the 2.0. And I upgraded through Sherly. I'm hoping this will get someones attention as I have
                                         been trying to get in touch with you for almost three weeks now! Also been wondering about the MOJO project which Doug has said will happen. Please.
 6614003      9/14/2016      12728819
                                         Thank You, Lee
 6615037      9/14/2016      11891772    Dear Bruce, please refund my money. This has gotten ridiculous. Regards, Maurits
                                         Hi Brian could you ask charles to reply on the mail conversation we had in august ?
 6613178      9/14/2016      12754051
                                         still awaiting his feedback on a question
 6613335      9/14/2016      14973556    Go to: http://ask.fm/iBackPackINC, NOW to ask iBackpack anything you every wanted to know about the backpack, concerns and comments are welcome.
 6614018      9/14/2016      14973556    There is still an hour and 45 mins to ask a question on http://ask.fm/iBackPackINC. W will ask any questions you may have regarding the backpack.
                                         @Bruce...

                                         Incase Doug and Co haven't locked in a charger supplier...
 6612847      9/13/2016      11955673
                                         This (twist version) looks pretty useful
                                         http://oneadaptr.com/
 6611502      9/13/2016      1045075     If I already did the 1.0 -> 2.0 hardware upgrade from a few months ago, is there any reason to get this 1.0 to 2.0 Expansion Upgrade?
                                         Hey guys I'm a little confused. On the iBackPack.co site it says iBackPack 2.0 is only $169. Doesn't anything about an additional $75 hardware upgrade. Is that missing from the site or are you
 6608416      9/12/2016       129656
                                         not charging new backers for the hardware upgrade?
                                         WHERE IS ANYTHING? I have not beta backpack, no free battery and no product. I get there is no product, but them why take my phone number, call me twice and not ship me a beta- THEN
 6609511      9/12/2016      11912984    tell us we get free batteries and to choose one, and months and moths later want reply to my questions about WHERE IS THE FREE BATTERY. Honestly, we have been in your live chats where
                                         the girl tells us to email, we have commented here, we have sent emails- THIS IS UNACCEPTABLE- and smells bad.
 6608714      9/12/2016      11766005    Hello so i make 3 orders and i just take upgrade 1.0 to 2.0 for order of Iback pro can you check please on my profil




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                      Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Hi there, Team. Great job with your product, I'm curious if be any chance we can try including the option to purchase solar charging? I knowit was scrapped as a stretch goal, but considering the
 6609268      9/12/2016      11614646
                                         campaign continues to grow, I figured it was worth mentioning.
                                         A little food for thought for those who've gotten upset that we haven't received our product... As many of us know Samsung is having a major issue with the new Samsung Note 7 ( phones literally
 6608888      9/12/2016      9557475     exploding) a few months back same issue with hover boards exploding... that's when Doug took matter into his own hands to find a way and prevent any of HIS batteries having the same problem
                                         I know it's frustrating at times but see it this way.. What if this happened????
                                         I understand Damien Nichols when he talks about confusion. Please check by yourself:
                                         On iBackpack.co site, iBackpack Power version at 169 US$ is shown with a WifI icon. Why? It should have only the Battery icon. In the same site, in â €œBecome a WiFi hot spotâ€, you say
 6610335      9/12/2016      11940255
                                         â€œPre-order for just 169 US$â€. Price is wrong. Should be the price of WiFi version, 225 US$. In Indiegogo site, under Perks, the Power version at 169 US$ (again with wrong WiFi icon) is 1.0
                                         while on iBackpack.co site it is 2.0.
                                         For those who are asking about the Sales Pro leads, I have contacted Charles ( who is in charge of that), and he will get back to me sometime next week. Thank You for your patience and
 6603576       9/9/2016      14973556
                                         understanding.
                                         Information requested on android/ios app that will control the functions such as GPS, anti-theft, etc -- Hi, can we ask of the status of the android/ios app? We have about 3 months before
 6603749       9/9/2016       437720     delivery of the iBackpacks and no word at all about these apps or functions. It takes a while to develop a good app that has a good graphic user interface that is also user friendly. So we would
                                         like to see if you have even started the design of this at all and when we can see the beta test results for this.
                                         As I'm typing this IGG message, big CEO's from other corporations have privately messaged me about my experience with iBackpack. I would love to say that I love everything about it but alas
 6603553       9/9/2016       437720     the Customer service side is very lacking so my purpose of typing all of this is to give iBackpack positive criticism so that you can build better relationships with your customers.Please no more
                                         sugar-coated answers or delays. We would like answers to our questions.Let us feel totally proud of your company.
                                         Some customers have been afraid to ask questions but I am not, so I will be the voice of others to ask ANY and ALL the questions that have been waiting for answers that were collected for the
 6603507       9/9/2016       437720     past few months on our FAQ spreadsheet. iBackpack I know you have time to answer these questions since you are not actively doing Goto meetings for us. Please do not give us superficial
                                         answers and expect us to be satisfied. Also, don't erase comments because it just shows you are trying to hide things.
                                         @Bruce & Charles for the Sales Pro leads, please make sure to list the exact date that the sales pro leads will start & end. The customers that have purchased this need to know the exact details
 6603652       9/9/2016       437720
                                         not that one day they are poof gone. Make sense? I heard f
                                         I don't want to only lock one of the compartments, I want to protect my laptop AND batteries from being stolen. I want to lock BOTH AT ONCE. Even if the zipper pulls were made stronger and
 6603669       9/9/2016      11754774
                                         used a padlock that would be fine, but I want to protect my investment in both compartments.

 6603537       9/9/2016       437720     It's especially important for a starter company to not only build a great product, but build the relationships of the people within. As backers WE have believed in your products first, so PLEASE
                                         take the time to build quality relationships with US. It would be easier to make it in the big retail world when all of your backers are raving about your product and service right?
                                         During the last Goto meetings, your new employees were seen looking at other products not related to iBackpack on their screen share. Please have your employees stay on task especially
 6603545       9/9/2016       437720     during the times allotted for answering questions & presentations. If you want your backers to remain loyal please answer ALL of our questions. The power of word of mouth is very powerful &
                                         not answering questions causes much frustration & a sense of distrust in this campaign. We are waiting for your answers.
                                         There is no reason why the TSA lock protects a pocket containing batteries since it is forbidden by airlines to carry spare lithium batteries in your checked baggage. You can carry them only in
                                         your cabin baggage (where a TSA lock is not necessary, since you are here to open it if requested):
 6603437       9/9/2016      11940255
                                         https://www.faa.gov/about/office_org/headquarters_offices/ash/ash_programs/hazmat/passenger_info/media/Airline_passengers_and_batteries.pdf
                                         If there is only one TSA Lock, let it protect the laptop pocket.
                                         @Bruce: Please donâ€™t try to make the TSA lock rotatable, as you wrote, because, unless I misunderstood you, this would mean that the lock would be fixed in only one position and it would
 6603445       9/9/2016      11940255
                                         become very fragile and easy to tear away. If Iâ€™m wrong, please
 6603953       9/9/2016      9557475     Is the next ask fm Q&A taking place next Wednesday after all?
                                         I am still very passionate about iBackpack & its technology & that is why I'm rigorously trying to get the hardest questions answered for us ALL. iBackPack I ask that you PLEASE not ban
 6603521       9/9/2016       437720     customers from your FB page or spam or delete their IGG comments just for asking hard questions that you don't feel like answering. Also, please process all customers orders with the same
                                         treatment and not treat them any differently or plan to send their orders last just because they are asking hard questions.
                                         I'm asking iBackPack this question on behalf of customers that had purchased Sales Pro Packages. I have personally heard Doug say that those customers that purchased Sales Pro packages
 6602448       9/8/2016       437720     would get their sales leads by the end of August but it is now September and no leads. AskFM said "We are trying to get those delivered by the end of October." Can you confirm an exact date
                                         for these customers please as you say "try" and it doesn't sound confident. Please confirm an actual date. Thanks.
                                         I ordered 2 iBackpack last year and upgraded for version 2.0 paid for that... But I'm wondering, I received an email from "Allija Tria" who asking directly on my PayPal for delivery charges. I
 6602194       9/8/2016      12507918
                                         thought delivery charges was included ...... Can someone please tell me what going on ???
 6601868       9/8/2016      11754774    Also is this replacing the tech tv idea?
                                         Over the past few months we have collected many questions about iBackPack that have been left
                                         unanswered(https://docs.google.com/spreadsheets/d/1MCsqE4ZRgc6lwSihZVgDggxVIdXsOAakL8MMvDbDkdE/edit?usp=sharing).In yesterday's Q&A session I was able to transfer some
 6602295       9/8/2016       437720
                                         questions into AskFm & ask a few of my own for iBackpack to answer, but some answers weren't as complete as we'd like it.Therefore, I will ask some of those hard questions here on behalf of all
                                         of us so everyone will be on the same field.
                                         Before you delete my post again, can I get the perks I paid for:
                                         Status
                                         ORDER PLACED
                                         This is the current status of your contribution
                                         Order ID
                                         1569
 6602292       9/8/2016      12175397
                                         Contribution Date
                                         September 20, 2015
                                         Selected Perk
                                         iBackPack Sales Professional
                                         iBackPack Sales Professional includes all features from iBackPack PowerPack + WiFi version plus up to 5k B2B contacts/month (incuding emails) from our 100 Million contact list database. *
                                         Expected retail price $399 - PLEDGE NOW AND SAVE 38%
 6602352       9/8/2016      12507918    When can I expect my iBackpacks or are you guys fooling people around since years ???
                                         @ Jonathan: Question 1: Is it the intention for all the internal pockets to remain as mesh?
 6601865       9/8/2016      14973556    Most of them are mesh and will remain mesh. We want to keep the mesh since it is such a durable piece of fabric for those pockets.
                                         Jonathan: Question 2: Will any
                                         Sorry I keep posting/pestering you all. I just have one final question. Is their any possible way to lock all the main pockets with the TSA lock? Only having 1 of 3 pockets lock and it not be the
 6602732       9/8/2016      14767048    laptop pocket is kind of a downer. Would a 2nd TSA lock or an extended duel sided lock be possible or is the one lock the final product? I upgraded to the 2.0 in good faith for this project. You all
                                         have come a long way and I can't wait to get my bag. Thank you again!
                                         Lifepack does not have WiFi. iBackpack does. Lifepack has one Solarbank USB charger. iBackpack has many batteries (20,,000 mAh + ) to keep your devices charged. Both backpacks have a
 6601969       9/8/2016      14973556    bluetooth speaker. Lifepack's integrated lock, looks like it can be cut off easily, whereas iBackpack's integrated TSA lock is riveted to the bag, and can not be removed without tearing the bag.
                                         The iBackpack is a far superior bag. Hope that answers your question.
 6601957       9/8/2016      11537868    What's the difference between LifePack and this?
                                         On 3/16 you sent an email:
                                         "Dear Sales Pro iBackPack Customers:
                                         You paid $100 for access to the Daybreak/iBackPack data. We promised to give you up to 10,000 contacts each month out of our 100 Million contacts. Our iBackPack B2B Contact List Online
 6603110       9/8/2016      12175397
                                         Downloading System now available..."
                                         I responded as instructed (several times). I followed up with posts here several times. 1st time I get: We'll investigate. Yesterday I get: we are trying to get them in October. Why no response
                                         from March?
                                         Asked in Ask Fm: When is TechTv starting and in what format or platform are you using? (i.e. Goto meeting, here, etc.) What happened to the 20 bags that you said was going to be available for
                                         TechTv?
 6601876       9/8/2016      14973556
                                         Tech TV planning is being paused temporarily so that we can allow more time to work on the bag. We hope to have it going in October. The 20 bags was for beta testers. Those have been sent
                                         out.
 6602342       9/8/2016      14973556    Thank you Tracy for the suggestion.
                                         Hi iBackpack team 1st thanks for your hard work in creating the best tech backpack on the market.Bruce thank YOU for all your hard work; I'm proud of you and you finally got the access that you
 6602277       9/8/2016       437720     deserve to make updates! With that said, I know iBackPack has created a useful Q&A session for us yesterday but the process was delayed & some of the answers were incomplete or didn't
                                         totally satisfy the question.I would like to see a function added to the question where others can add their comments too.
                                         Before I start asking questions on behalf of ALL of us customers, I ask that the iBackPack team PLEASE not spam any of it because as consumers we DO have a right to know BOTH the
 6602317       9/8/2016       437720     negatives & positives of a product/story so that we can make a correct informed decision. By spamming hard/negative comments, all it does is dodge questions & causes frustrations for us.This
                                         is a journey that iBackpack & all customers are taking together so don't be afraid of objections as we are in this race together!
 6601867       9/8/2016      11754774    What's this about ask fm? I didn't receive any email about it.
                                         @Bruce Lim. Thanks but my question about WiFi/MiFi, Bluetooth Speaker, iOS/Android Controller Apps, Anti-Theft Alarm and Notification System, GPS Tracking has been cut in AskFm and they
 6599325       9/7/2016      11940255
                                         say they can's understand it. I doesn't matter, I will write them by
                                         Question and answer from iBackpack on AskFm: How do we choose bag color?
 6599209       9/7/2016      8007983
                                         The bag color will not have an option. We are looking to make the colors blue and grey. We did a poll and blue and grey won.
                                         @Tracy: Thanks, here is my question again: " I pledged for two WiFi 15 inches iBackpack 1.0 because I was interested only in Wi-Fi/ MiFi, Bluetooth Speaker, iOS/Android Controller Apps, Anti-
 6599398       9/7/2016      11940255
                                         Theft Alarm and Notification System, GPS Tracking. How come your
 6599203       9/7/2016      8007983     @ Eliot. I am asking AskFm on your behalf to iBackpack. That is the best They can do. Once the questions are answered, I will post them here. Is that ok?
                                         Another great question asked on Askfm: How long is the USB connector cord that is connected to the USB plug on the outside of the bag?
 6598850       9/7/2016      8007983
                                         The USB is an input. You would plug whatever iBackPack cord you like into the USB input.
                                         Answer from iBackpack for you Eliot: Another ? from Eliot, he can not access Askfm: . When are you showing us the smaller 15 inches bags I am waiting for?
 6599239       9/7/2016      8007983
                                         We have the 15 inch bags in. That is the one we have been showing everyone through pictures and presentations.
 6600992       9/7/2016      8007983     Hi
 6598847       9/7/2016      8007983     A question was asked on Askfm: What is the capacity in liters of the iBackpack: Answer 65 liters
                                         Looking at the interior color survey preference (https://goo.gl/forms/zVWdcxBLoclLUlAY20) on 9/7/2016, out of 171 responses, we have 53.4% (grey/blue) & 46.6% (orange).This shows a trend
 6599604       9/7/2016       437720     preferring both colors. I'd say it would be wise for iBackpack to offer both interior colors so that more customers will be happy in the long run & ultimately drive more sales. I added a question
                                         about color preference in the required Contact form so update your info NOW: https://goo.gl/forms/pFDA5EtwXrgl5ITf2
                                         All the bags I see in your Beta testersâ€™ videos or photos are ENORMOUS. Maybe it is what many people need for camping or other holidays activities, but it is not what I was interested in
 6599115       9/7/2016      11940255
                                         when I pledged, more than one year ago. When are you showing us the smaller 15 inches bags I am waiting for?




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Geat Question asked by Alaxx on Askfm: Is their anything possible way for me to run a cable from a surge protector outside of the bag? I would like the idea to charge all of my tablets, phones,
 6598842       9/7/2016      8007983     laptops, and batteries by having a surge protector at the bottom of the bag, and just plug my bag into the wall. Thanks! Alaxx Wayne Hogan
                                         Depending on the size of the surge protector, it should fit. A standard surge protector will fit at the bottom. However, it might be a fire hazard. Be careful, Alaxx!
                                         I can't login in AskFm. I need relies from "campaigners" only please: I pledged for two WiFi 15 inches iBackpack 1.0 because I was interested only in Wi-Fi/ MiFi, Bluetooth Speaker, iOS/Android
 6599113       9/7/2016      11940255
                                         Controller Apps, Anti-Theft Alarm and Notification System, GPS Tracking. How come your Beta testers never tested these features and you never talk about them?
                                         @Christof Kinet. Shipping questions would best be answered by Charles or Doug. I'd advise you to use the FB messaging system & message them directly using the IGG messaging system to
 6601105       9/7/2016       437720
                                         ask the same question you posed below.
                                         @Tracy Tran
                                         Hi I had a question for you guys
 6600835       9/7/2016      12754051
                                         Charles Aguillon told me on the 20th of august that my beta test pack was still waiting to be shipped as you were changing shipping company until now he hasn't come back to me on when I can
                                         expect my beta te
                                         Everyone, BTW with my continued passion for iBackPack & its technology and also because I'm a backer (5+1 wifi & 2.0 upgrade) & beta tester myself, I still like contributing my knowledge &
 6601117       9/7/2016       437720     expertise in answering questions. I invite you to read this document I made for the set of useful tools & message that will answer the majority of your inquiries:
                                         https://drive.google.com/open?id=0Bwa-dSjTnJQAQ2lBbjFYZ3lHalU . Remember I'm on the track with you guys now & we are going to race until the end!
                                         @Eliot. I'm transferring ALL Unanswered questions I see in the FAQ spreadsheet, including your question below and a few of my questions too in AskFM (http://ask.fm/iBackPackINC) to have
 6599416       9/7/2016       437720
                                         them answer it. Remember you can access the FAQ spreadsheet here: h
                                         @Eliot please ask your questions in the open so others can see what it is because we might be wondering the same thing. It must be very important so it deserves an answer. This is our chance
 6599370       9/7/2016       437720
                                         TODAY to ask all the questions and have them answered so I'm t
                                         Ask isnt working for me either.

 6599414       9/7/2016      11955673    Question: Is it the intention that all internal pockets remain as mesh?

                                         Question: Will any of the pockets be specifically made to measure to fit the mama battery?
                                         Question asked on Askfm: With the ouside pass thru for the charge cords, does it allow water to get in?
 6598855       9/7/2016      8007983
                                         We are currently testing that. So far we have only seen two drops in one of the 20 beta tested bags. The other 19 have not seen any water on the inside.
                                         Where is this Q&A meeting and how will we know
 6597856       9/6/2016      8007983
                                         It will be on here. Instead of having your questions answered hours later, we will be having the Q&A LIVE to get your questions answered immediately. Hope to see you here tomorrow!
 6597335       9/6/2016      9557475     SUPERHERO
 6597239       9/6/2016      9557475     http://ask.fm/iBackPackINC
                                         One of the questions that was asked, that will affect everyone is:

 6597850       9/6/2016      8007983     When is the cut-off date to upgrade for $75. 1.0 - 2.0 electronics?

                                         SOON! We are looking at October 1st being the cut off.
 6597272       9/6/2016      9557475     Tomorrow iBackpack will have aQ&A on ask fm... If you don't have FB go on the internet sign up on ask fm and search for iBackpack and you will be able to be part of the Q&A.
 6597846       9/6/2016      8007983     The Q & A will be from 9A-9P Central standard time. Any and all questions you have for IBackpack will be answered. The link again is: http://ask.fm/iBackPackINC
                                         when I receive my product?
 6594909       9/5/2016      11646503
                                         This already seems a fairy tale, it is almost impossible to finish.
 6594918       9/5/2016      8007983     @ Sunny: You will get Sales Pro 1.0. The difference between 1.0 and 2.0 is the electronics. If you look at the $75.00 upgrade on the right (first perk) You will see the 2.0 electronics.
                                         Hi I pledged in August 2015 and it will now come up to over a year awaiting shipping.
 6594894       9/5/2016      11791671    Can you guarantee that these will ship in time for Christmas?
                                         Also, Slightly confused with version 1.0 vs 2.0, Based on the early pledge of $299.00 for sales PRO I made, Which version will be shipping to me?
 6594914       9/5/2016      8007983     @Gianpoldo: As of August 15th, we will be shipping the iBackpack December 2016
 6592566       9/4/2016      8007983     @ Alaxx; First question: As of August 15th, the delivery date of the iBackpack, will be sometime in December of 2016
                                         @ Alaxx. Second question: Copy and paste this link:https://l.facebook.com/l.php?u=https%3A%2F%2Fgoo.gl%2Fforms%2FiLO1SLIYLK1yNh0k1&h=FAQGgUOkz.
 6592564       9/4/2016      8007983
                                         We are taking a survey on the color of the backpack, Orange or Blue/Grey. and see what the majority of the bac
 6593267       9/4/2016      14767048    Thank you very much Bruce Nim!!!
 6592521       9/4/2016      14767048    Oh, and How will I be able to chose the color I want?
 6593026       9/4/2016      12175397    Still waiting (over 6 mos) on my B2B contacts. What a sham.
 6593299       9/4/2016      8007983     @Alaxx: Welcome!
                                         I just contributed the the 1.0 iBackPack. Not going to lie here. I'm supper hyped and scared at the same time. This is my first contribution ever so I'm a little nervous... However I'm really excited
 6592519       9/4/2016      14767048
                                         to see this take off! When in December can we expect to see this? Thanks again!
 6592024       9/3/2016      8007983     @bforeman. You will get the 2.0 bag upgrades. If you bought the 1.0-2.0 upgrade, then you will get all of the electronics from 1.0 as well as the 2.0 electronics.
                                         I am wondering what I actually will get for having upgraded to 2.0. I had a video/voice call and was told I was selected to be a beta tester but I never received any of the items I was told I would
 6591957       9/3/2016      8573420
                                         receive. What will I actually get for having 2.0 that 1.0 wouldn't since I don't seem to be getting to beta test?
                                         Hi, I have contributed to the iBackPack 1.0 WiFi long time ago.
                                         Now I am confused that you change the description for this bag to "wifi capability" whereas you mention for the 2.0 wifi is included,
 6591111       9/2/2016      7775668     Can you please confirm that iBackPack 1.0 WiFi includes the WiFi modem as originally mentioned? A simple YES or NO would be great. Please be already aware that I will repeat this question
                                         until I have a clear answer ;)
                                         Have a good weekend, Matthias
 6590674       9/2/2016      11766302    Now they are located in both locations.
 6591238       9/2/2016      8007983     @ Alles: YES!
 6591042       9/2/2016      11955673    Thanks Charles
                                         Just watched Haleys post on FB. Please can you relocate the cable holes through into each compartment at the bottom and not the top.
 6590669       9/2/2016      11955673
                                         As can be seen having the holes at the top stops you getting anything out of the bag without unplugging what ever it us you're recharging.
                                         Is it possible to get a refund and cancel my purchase?
 6591017       9/2/2016      13629874
                                         Please let me know and thank you.
                                         So we were talking about not being able to use a battery as a standard outlet... Well someone came up with this for charging only. (No running your toaster!)
 6590009       9/2/2016      11754774
                                         https://www.indiegogo.com/projects/omnicharge-smart-compact-portable-power-bank-smartphone-powerbank#/
                                         Question: How will Kickstarter, and Indiegogo backers, who don't have Facebook, get info on updates on TechTV. Answer (Charles: Campaigner) Once we launch, we will send a schedule out--
 6583176      8/30/2016      8007983
                                         not for every show but for the week so your mailbox doesn't fill up!

                                         Hi Everyone, iBackpack is currently beta testing the BAG. The goal is to create the best tech iBackPack ever. I have created tools in a FB post to capture potential ideas, feedback to improve the
 6583995      8/30/2016       437720
                                         iBackPack, & to report any issues beta testers are having with any beta products in one organized location: https://www.facebook.com/iBackPackOfficial/posts/1178745118866113:0 . This is
                                         your chance to speak up & help iBackpack fine tune specs to meet or exceed your expections! Warm regards-Tracy Tran
 6582208      8/29/2016      11766302    Bags are being sent out this week! You will see new videos posted on our Facebook page of the beta testers trying out their bags!
 6582336      8/29/2016      8007983     Can't wait for mine (Charles)
 6582337      8/29/2016      8007983     Can't wait for mine (Charles)
 6582213      8/29/2016      11766302    Beta bags are being shipped out this week. We have them going all over the world for people to try! New videos will posted by our beta team on Facebook soon!
 6579727      8/28/2016      8007983     Question: How is Tech TV Live. Answer: it's coming together very soon!! Will announce on here when we launch (Facebook) IBackpack.
                                         I am interested in the advertised Tech Live TV. Can a link be posted so all of the backers can see how the Tech Live is progressing. If the Tech Live TV has been sidelined to expedite the
 6579680      8/28/2016      14641744
                                         shopping of the bags before December that is fair enough, just let us know.
                                         In my beta testing I've uncovered an important issue: My phone was plugged in to the sipper cord when I dropped it on its side, and now the Lightning plug of the cord doesn't work, it looks fine
 6578577      8/27/2016      11754774    and my other cables work fine, fit the zipper lightning doesn't work. I duplicated the same drop with cords of other random brands, and they kept working fine... So there must be some weakness
                                         in the zipper cable that needs to be looked at.
                                         Still confused as to whether I'll be receiving the 2.0 upgrade for free, as an early backer (9/7/15) ... oor if I need to pay the $75 for the upgrade. This note on the doc Tracy created about the 1.0
                                         vs 2.0 seems to indicate I'll be upgraded for free, but I got a call a little while back saying I needed to pay for the upgrade. Can someone clarify?
 6578531      8/27/2016      12041725
                                         "NOTE: ... If you pledged Midnight August 1, 2016 and prior you will receive the 2.0 BAG upgrades for free."
                                         I agree with Bruce! We were told by Doug, Haley,and Hannah about Tech TV Live. They told us that they had 20 prototype bags, and that they were looking for people to show and tell the bags on
 6578578      8/27/2016      9557475     Tech TV Live. What has happened to Tech TV Live and when will it start? Also there hasnâ€™t been any new GoTo meetings recently. We should be kept abreast of what is happening with the
                                         progress of the iBackpack. Please be honest with us. We have spent good money to get a product that we believe in.
 6578388      8/27/2016      11201672    I preordered ibackpack in March this year, when this can be shipped?
                                         I am curious. I was told by Doug, Haley,and Hannah about Tech TV Live. They told us that they had 20 prototype bags, and that they were looking for people to show and tell the bags on Tech TV
 6578545      8/27/2016      8007983     Live. What has happened to Tech TV Live and when will it start? Also there hasn't been any new GoTo meetings recently. We should be kept abreast of what is happening with the progress of
                                         the iBackpack. Please be honest with us. We have spent good money to get a product that we believe in.
                                         Hello Hightech Daily,
 6578429      8/27/2016      9557475
                                         The iBackPack is due for delivery this upcoming December 2016.
                                         To all that want more information... go to this link, it's a PDF document that TracyTran put together for all us backers, it talks about the differences between the 1.0 and 2.0 hardware
 6578436      8/27/2016      9557475
                                         https://drive.google.com/open?id=0Bwa-dSjTnJQATG13dWVPSDVEWU0 .
 6578569      8/27/2016      8007983     @Matt: You get the 2.0 BAG upgrades for free, not the electronics, the electronics 1.0 to 2.0 expansion upgrade is $75.00
                                         Matt you only get the free upgrade for the bag not the hardware, for hardware upgrade is $ 75.00
 6578566      8/27/2016      9557475      I myself upgraded...I'm a backer since the beginning and have quite a bit of knowledge, I was fortunate enough to have the time to attend the GoTo Meetings that the team had been offering and
                                         got to meet some wonderful people including the Inventor/Owner Doug . Rest assured we will be getting and awesome bag.
                                         To all who have been concerned with the production of the iBackpack. as of August 15th, 2015, the delivery date of the iBackpack will be in December 2016. the reason you see Tracy, Ruth and I
 6577077      8/26/2016      8007983     commenting on your questions, is to free up the iBackpack team to finish and deliver the iBackpack. As for the $75.00 upgrade, you will want this. Having extra batteries fully charged, means that
                                         you won't have to worry about a dead phone and plugging in your portable electronice, for several days




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                            Commenter
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                                         +9-10 months added for delivery of a backpack... I feel like the money would have been better utilized in a CD investment or for me to go purchase all the components myself. Time to move on
 6576520      8/26/2016      1054443
                                         and actually get my sorely needed new backpack.
                                         1.Hi Frank,I'm a contributor as well since the beginning.I have attended numerous GoTo meetings when they were being offered I learned a lot about the bag and its components..in some of
 6576581      8/26/2016      9557475     those meeting Doug the inventor of such came on to literally show us how he was putting or I should say inventing some of these batteries that you can't find anywhere. There was also some
                                         problems with some of the hires that cheated the company and basically had to hire on new people.
                                         Hi Everyone. My drive & passion for the iBackPack persists as I continue to contribute my knowledge and expertise as an ibackpack beta tester & 5 +1 Wifi & 2.0 backer. By now, if you have not
 6576683      8/26/2016       437720     been convinced about upgrading to 2.0 yet, I invite you to examine the many reasons why upgrading to 2.0 would be a wise choice. This document will help you find answers to many of your
                                         inquiries: https://drive.google.com/open?id=0Bwa-dSjTnJQAQ2lBbjFYZ3lHalU. Check the iBackPack FB for beta reviews & more!
 6576583      8/26/2016      9557475     2. I assure you once you get your bag with it's components you will not be disappointed.
                                         How many of the 2.0 component upgrades are you selling at $75? Do you think that sales with spike at $300?
 6576767      8/26/2016      8260513
                                         When are you going to BETA test the 1.0 components? Are we expected to wait another several months for them?
                                         @ David Landes, I wished you would have had the opportunity to attend my LIVE Goto meetings when I had them. However, as an alternative please examine this pdf document I created that
 6576835      8/26/2016       437720
                                         talks about 1.0 and 2.0 differences, which will answer a lot of your
 6576600      8/26/2016      9557475     Don't forget to upgrade to the 2.0 components BEFORE time RUNS OUT!!!
 6574330      8/25/2016      8007983     @ philipmarc. If you go to www.ibackpack.co, and you go to the "Orange" tab the devices, you will see on the bottom right hand side, that they are including a USB-C connector
                                         I just got the new Samsung Note 7 and it has the USB C connector. I'm guessing that this is the wave of the future. As the bag is still in production, I think adding these might be a wise move.
 6574270      8/25/2016      11101244
                                         Just my opinion.
 6570523      8/23/2016      8007983     @Raymond: You are welcome!
 6569785      8/22/2016      13328608    i apperctate it bruce :D
 6568296      8/21/2016      8007983     @ Raymond: It hasn't been decided yet, wether or not the backpack will be offered in two colors. Right now we are busy finalizing all the various components of the iBackpack.
                                         hi everyone whats that whole Bobby backpack thing about and idk if its just me but i really think the orange is just good with the bag but i also wanted to know if the people that vote for orange or
 6567718      8/21/2016      13328608
                                         the blue and gray can get what the have voted for but im sorry to be picky but i just love the orange thank you guys so much for making the work of art :)
 6566386      8/20/2016      11794176    :/ ok
                                         @Jorge: Here is the latest:

 6566344      8/20/2016      8007983     LAST UPDATE FOR A WHILE!

                                         We are busy finalizing all the various components of the iBackPack â„¢ so we will be limiting future updates to focus on our work.
                                         @duanj99: Here is th link if you want to change your shipping address, and contact information.
                                         Copy and past the link.
 6566166      8/20/2016      8007983
                                         https://docs.google.com/forms/d/e/1FAIpQLSewiIkV9-hAPil0QiCRBpIjTyJVZ48J464cfgiEucKpz2iloA/viewform?c=0&w=1
 6566425      8/20/2016      9557475     Hey guys ! wanted to let you know that my zipper cable's lightning tip doesn't charge anymore.
 6566318      8/20/2016      8007983     Hey team, my LED cable died. The lightening tip came off two of my zipper cables
 6566327      8/20/2016      11794176    Hey guys are there any updates on the monolith?
                                         Look what I found!! It's a farewell post from Tracy on her YouTube page:
 6564839      8/19/2016      11754774
                                         https://drive.google.com/open?id=0Bwa-dSjTnJQAQ2lBbjFYZ3lHalU
 6564745      8/19/2016      8007983     Why isn't a dual TSA lock for locking the MAIN laptop compartment. If that isn't available, have another lock.
 6561016      8/17/2016      12861003    been wondering about the beta. i haven't recieved anything yet though i been contacted 2 times about it and to verify my address.
 6560606      8/17/2016      11911623    Maybe they're having trouble getting new orders so are falling back to pushing the upgrades to keep some money coming in?
 6560881      8/17/2016      12069129    Does Anyone know who should I contact, since I didn't receive any backpack until now
                                         I have been patient but now my patience is wearing thin....Stop sending update about your meeting that happen every 6 hours and explain the same thing that we can read in our e-mails
 6558844      8/16/2016      12640940    everyday. Also please stop repeating how much 2.0 is good and we should all pay extra on a product that should have been delivered a long time ago to start with. I will not pay extra on a 2.0
                                         version when the 1.0 that made your campaign successful never seen the light of days yet.
 6558511      8/16/2016      12252408    @Bruce Lim: And how i can stop your everyday mails? I need ONLY information about my iBackPack!
                                         Why does the Sales team keep "preaching to the choir"? We have all made our pledges, you have our money. We don't need to be convinced about the product. If we liked the idea a year ago,
 6559127      8/16/2016      8260513     we probably still like it, we don't need to hear how much better you think it is. Spend some time getting new clients and make sure this thing happens. You seem to be spending a lot of money on
                                         new hires, translate that into new sales.
 6557589      8/15/2016      12252408    I DON'T want to read your mail everyday, but I WANT by backpack! What to do? I unsubscribe from all this spam?! But i don't know when you will send my backpack!
 6557349      8/15/2016      8007983     Everybody has done this right? https://goo.gl/forms/pFDA5EtwXrgl5ITf2. Copy and paste this link into your browser. If you have done this, we Thank You!
 6558099      8/15/2016      8007983     @Adrian: Backpacks will be delivered Dec 2016
 6557350      8/15/2016      8007983     Everybody has done this right? https://goo.gl/forms/pFDA5EtwXrgl5ITf2. Copy and paste this link into your browser. If you have done this, we Thank You!
 6557352      8/15/2016      8007983
                                         Here is a link that you can post your questions to: https://goo.gl/forms/NCxSyYcqyvaSBr3t2. Please copy and paste this link to your browser. We thank you for your comments and concern.
                                         @alexander at the bottom of your emails is there a unsubscribe link? or in IGG you can also change your email preferences and can eliminate what ever campaigns you don't want to receive
 6556883      8/15/2016      11754774
                                         emails from. I too am a backer and get all those emails and I actual
 6556599      8/15/2016      11666270    hi, I puchased the 50k mAh battery charger back on Feb 6th. the estimated delivery date was July 15th. can someone tell me when I can expect this product?
                                         Bruce I wasn't in any meeting and I dont plan to attend. I'm not part of the BOD and I just bought a bag that you dont deliver and spam my email with your gadget reviews. How can I stop those
 6556717      8/15/2016      2445946
                                         updates all the time?
                                         @charles, with the exploding batteries that happened, it forced a redesign of everything to make sure there were no problems like that in anything else, and also caused doug to have to design
 6556720      8/15/2016      11754774
                                         that battery from scratch because it didn't exist in a safe bat
 6555114      8/14/2016      8007983     @Ruth. Thank You for your willingness to contribute and help out the team!
 6554916      8/14/2016      11794176    I've tried going to a go to meeting on my phone and tablet (even tried downloading the app) and it didn't work. Do I have to be on a computer?
 6554981      8/14/2016      8007983     @Jorge: it works on my Iphone. It's a better experience on a computer.
                                         @Jorge Rodriguez....no Jorge, I usually log into the GoTo meetings from my phone.. I know both iTunes and Google play have the app download the app...when a meeting is called write the
 6555249      8/14/2016      9557475
                                         number that you see after the word join...go to the app and input the
 6555173      8/14/2016      11766302    Ruth and Bruce- thank you for always sharing with everyone! It goes a long way!
 6554731      8/14/2016      12851509    I've attended plenty of GoTo Meetings, Bruce. I've interacted with you on some of them but I don't have the time to be at every single one.
                                         Not everyone has the time/ability/inclination/data plan/etc to be able to attend GoTo meetings on iBackpack's schedule. While a good supplement, there's no saving of the information given
                                         leading to the same questions over and over (at least for the couple of meetings I listened to).
 6554646      8/14/2016      11911623
                                         The FAQ seemed like a good idea but there are plenty of unanswered questions in there.
 6554566      8/14/2016      8007983     I can't emphasise this enough. Please attend a GoTo meeting. You will receive first hand information about the backpack!
                                         Hello everyone, I thought I'd give all a bit to think about, there is a product called-Coolest Cooler. I was on their site and there's 100's of complaints about the craftsmanship of it. People
 6555053      8/14/2016      9557475     complaining the product is breaking, this brings me to iBackPack how Doug's putting good quality material and electronics into the bag. One of the reasons it's taking a bit longer. I don't even
                                         know of anyone else having done Beta testing. I believe in this product 100%. Good evening all.
 6553812      8/13/2016      11766302    Jonathan- we are working on a very clear list as I type. Will release to everyone very soon.
                                         For the $75 1.0 to 2.0 expansion upgrade.
                                         I think I'll just buy a similar mama battery on amazon (for $33)and just stick it in the bag. I already have a 10 port qualcomm quick charge usb 3.0. I honestly don't need anymore cables or
                                         batteries and I have 3 pairs of headphones.
                                         Mama battery
 6553483      8/13/2016      11794176
                                         https://www.amazon.com/dp/B019R8V4RI/ref=cm_sw_r_other_apa_Ey1Rxb95DQ3JV

                                         AUKEY USB Charger with 2 Charge 3.0 Port & 8 Quick Charge 2.0
                                         https://www.amazon.com/dp/B01FJ7HURO/ref=cm_sw_r_other_apa_BC1RxbZDX8817
 6554489      8/13/2016      9978787     I really wish I could get my money back on this pledge. Like, really wish.
 6553627      8/13/2016      11794176    *waaay too
                                         From the chats between Bruce Lim and Jorge Rodriguez about the â€œmobile routerâ€, I am sorry to see that my concerns about August 7th, confusing, update were justified. There is no dongle
 6553540      8/13/2016      11940255    in the original 1.0 WiFi/MiFi module, and the car charger has always been described as the two ports car charger (we got hundreds of photos from factory about it). Please read again my last
                                         weekâ€™s message that I resend below.
 6553487      8/13/2016      11794176    @Bruce Lim: Thanks Bruce! You've been very helpful.
 6553450      8/13/2016      8007983     @jorge:No Qualcomm for Mama battery, per Doug today.
 6553839      8/13/2016      11955673    With respect Charles, that list should have been produced prior to taking peoples money.
                                         @Bruce Lim:" 2 port charger with 2.0 and 1.0" 2.0 and 1.0 what? So with the 1.0 version you put the sim card in a usb adapter to make it work and with the 2.0 you just insert? USB style Hotspot
 6553622      8/13/2016      11794176
                                         are outdated. Also are we gonna get 4g or 4g LTE? With curren
                                         It'll be pretty cool if you had these on there too.
 6553486      8/13/2016      11794176    RA: Wearable LED STRAPLIGHT! Smart Outdoor Safety"
                                          http://igg.me/at/zyntonyra/shre/11794176
                                         Hey Charles,
 6553888      8/13/2016      9557475
                                         I couldn't attend this a.m meeting could you let me know what the big SURPRISE! was? Thanks
                                         @ Bruce. I donâ€™t agree. Check the picture of the standard 1.0 configuration and you will see that the photo of the WiFi module is not the same as the photo of the one with a dongle shown in
 6553604      8/13/2016      11940255
                                         August 7th update and in which the words â€œMobile Power 3G Rou
 6553572      8/13/2016      10516982    When will the app be ready, it's an essential part if you want a thorough Beta-test!
 6553565      8/13/2016      8007983     @ Eliot: The 1.0 stuff will be the same not downgrading. the 1.0 WiFi is a dongle. 2 port charger with both 1.0 and 2.0
 6553737      8/13/2016      11911623    While going through the old updates I also see other batteries such as 5,000 and 10,000 mAh, some in iBackpack packaging (beta, I assume).
 6553530      8/13/2016      8007983     @Jorge: I'm glad to help!
 6553324      8/13/2016      11911623    The OmniCharge definitely looks interesting.
 6553495      8/13/2016      11794176    I'm actually thinking about integrating the hot spot with an Amazon echo dot. I've already pledged to Zyntony RA and OmniCharge. Hopefully this all works out.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         @Charles, Doug, Bruce et al. Simple
                                         question, with a yes or no answer please.
 6553809      8/13/2016      11955673
                                         Are the original pledgers of the wifi version of the backpack getting the 8000mAh battery that was orginally advertised and paid for?
 6554474      8/13/2016      9750632     To all customers: This campain seems to be a big fraud!!! - We will never see our IBackPacks! They just stave off, again and again!!!
                                         RESENT Your hardly readable update August 7th 2016: Are you really downgrading our 1.0 hardware in order to encourage us to buy the 2.0 upgrade?The Wi-Fi module I pledged for in 1.0 has
 6553544      8/13/2016      11940255    never been a gadget with a dongle, that you declare as â€œ..bothersome compared with the 2.0 which is much safer for the SIM card..â € . It is the one that you show now as belonging only to
                                         2.0. Same thing for the Car charger. Has always been the 2 ports in all updates. Please reconsider. These changes are confusing.
 6553478      8/13/2016      8007983     @Jorge: It is a question, that i will have to get more information first. i will get back to you!
 6553637      8/13/2016      8007983     @Eliot: This is an official reply. I asked Doug Monohan (the founder) in a Go To Meeting this am. He stated to me that the 1.0 is a Dongle, and the 2.0 is a self contained unit
 6554169      8/13/2016      12851509    What's going on with the IronMan/CapAmerica for 2.0 backers? The update today was a little bit confusing in its wording.
                                         With the dongle it is waaa too susceptible to break, especially if it's in a backpack rocking around. That port is gonna loosen up or the metal part of the usb will snap off. Working in the
 6553626      8/13/2016      11794176
                                         electronics/cell phobe industry I've seen it happen.
                                         @Bruce or Doug
                                         From the reply to Elliot a few minutes ago you have confirmed that you have DOWNGRADED original pledgers of the wifi backpack version from a router to a dongle.
 6553695      8/13/2016      11955673
                                         I notice also that there is no longer mention of the 8000mAh battery to go wi
                                         I saw the dongle difference between the two on the update but my question is where there's a difference in SPEED, SHARABLE DEVICES, DATA CAP. ie. One provides more mps than the other/
 6553465      8/13/2016      11794176
                                         one being 4g vs. 4g LTE, one device being sharable with up to 4 devices vs. The other being 8 for example.

                                         Yes, the 8,000 mAh battery has disappeared from the description. The Oct 30 update says
                                         "HALLOWEEN UPDATE -
 6553735      8/13/2016      11911623
                                         As promised - here is our weekly update regarding the iBackPack. Hopefully by now everyone has learned we have upgraded the batteries from 6k mAh to 20k mAh + secondary 8k mAh."

                                         The update from Oct 24 shows the same 2 port car charger. Oct 30 update mentions looking for a 4-port.
                                         @Bruce. If this is an official reply, then I am extremely disappointed. There have been several episodes that I did not approve in the past, e.g. the 2 for 1, the zipper cables question, the recent
 6553685      8/13/2016      11940255
                                         bag upgrade â€œmisunderstandingâ€. But this is officiall
 6553452      8/13/2016      8007983     Jorge: Dongle for the 1.0, and self contained WiFi for 2.0
                                         @charles: Thanks for the clarification Charles! I just wanted to know the main differences between the 1.0 hotspot and the 2.0.Also if the monolith along with the mama battery will have any type
 6553832      8/13/2016      11794176
                                         of Qualcomm quick charge capabilites.
 6553484      8/13/2016      11794176    Thanks though.
                                         (1/2) I sent this email to Doug right now. I am posting it to make sure he reads it.

 6552106      8/12/2016      12033382    "I am getting ready to send a letter to Indiegogo requesting that your campaign be taken down for numerous terms of service violations. I will not send the email if you refund my money today
                                         and I will send you a list of the violations so that you can act accordingly. I will also be sending this note to as many employees of your company as I have and post it on the iBackPack Facebook
                                         page. Please call me...
                                         In a April IGG update, this was said: "We think it is only fair you receive more, for less than those from Kickstarter campaign. You were first - so you EARNED THE RIGHT to benefit from same.
 6552365      8/12/2016      12033382    Like people who bought stock in Apple in 2002 - $600 investment is now worth $60,000 - the early believers get to benefit the most. Why? They were there first, believed the most, supported us
                                         when we were just getting started. We will ALWAYS treat you as our original founding partners."
                                         Yes> prior to 8/1/16 if you got the 1.0 bag you get upgraded for free to the 2.0 bag with 1.0 components. If you want all the extras you get with the 2.0, or you want to be a part of the BETA, you
 6552528      8/12/2016      11754774    need to upgrade to the 2.0. to see the difference look at the picture on IGG of the 1.0 WIFI and then on iBackpack.co just below the bag at the to of the page click on "THE DEVICES" and it will
                                         show you the 2.0 contents. Also if you had the WIFI or SALES bag you do not have to re-buy it.
 6552564      8/12/2016      8007983     No Jorgeit is not, but the wall charger has qualcomm
                                         Also what are the specs on the 50,000 battery besides it having 5 micro usb ports? How many usb output ports does it have?
 6552015      8/12/2016      11794176
                                         Are they Qualcomm 2.0? Are you guys including jumper cables with it?
                                         Have you guys hears of this?
 6552775      8/12/2016      11794176    Omni charge
                                         http://igg.me/at/omnicharge-smart-portable-power-bank/shre/11794176
                                         (2/2) ...will let Doug and the team know what rules they could be violating so that they can get everything fixed up.
 6552346      8/12/2016      12033382
                                         I applaud their effort, and hopeful success, at making a safe and great backpack. But going against their previous promises and making it more expensive for the original believers than the late-to-
                                         the-game contributors is plain unfair and disrespectful.
                                         2) Doug has been working endless hours to make a GREAT! Bag at the expense of his health, I know this because I witnessed it in one of the GoTo meetings. I know we've waited a very long
 6552335      8/12/2016      9557475
                                         time but it will all be worth it.
 6552351      8/12/2016      12033382    @Charles, can you please just issue a refund and provide me an email account where I can send the violations? I'm not the only one frustrated by the past year of updates.
                                         I doubt that there is even a 1.0 version of these electronics. Why would they spend any time or money producing another inferior product line when they supposedly have better product out for
 6551973      8/12/2016      8260513     BETA testing? Notice that there are no 1.0 BETA testers. Typical upsell tactics. Lots of smoke and mirrors. Now I see the HP has a very similar backpack on the market at the same price.
                                         Good luck raising prices.
 6552607      8/12/2016      11754774    Actually I'm not sure if the mama battery will have 2.0 or not. I know they were doing a redesign of it to fit the idea they had for it so, it may.
 6552009      8/12/2016      11794176    *would get
 6552222      8/12/2016      8007983     Jorge: To get the MAMA battery, you have to upgrade. It is the first option to your right $75.00. I'll get you more information on the 50,000mAh battery.
                                         (1/2) Looking at the comments on another, logged out device, mine seem to have disappeared. Here it is again.

                                         I sent this email to Doug right now. I am posting it to make sure he reads it.
 6552226      8/12/2016      12033382
                                         â€œI am getting ready to send a letter to Indiegogo requesting that your campaign be taken down for numerous terms of service violations. I will not send the email if you refund my money today
                                         and I will send you a list of the violations so that you can act accordingly. I will also be sending this note to...
 6552807      8/12/2016      11794176    With the mobile router, is there a difference in speeds regarding 1.0 and 2.0 difference?
                                         To those who may be dissatisfied with the delay here, check out eliomotors.com This is a crowns funded project that has been years in development and is still going. I've been following it since
 6552736      8/12/2016      11754774    it started through its ups and downs. And IBackpack has given way more communication that that project. And due to the nature of the issues here it has caused some confusion. Everyone is
                                         trying to fix that now and put out better info.
                                         But how do the GoTo meetings make up for violations of the IGG terms of use? I've participated in other crowdfunding campaigns and did not have such an unpleasant experience ever before.
 6552364      8/12/2016      12033382    This backpack was a birthday present for my son. He's waited nearly a year for it, and now has to get another backpack for school. We're spending more money than we needed to because of
                                         this ordeal. Anybody that has control of refunds, please refund me or I will report the page to IGG. It's just not fair.
 6552787      8/12/2016      8007983     @Jorge: No, but i will double check to make sure
 6552783      8/12/2016      11794176    @bruce Lim : No for mama and monolith or neither?
                                         I am also an original backer. I wish more people would attend the GoTo meetings. You will get a better understanding of what is going into the manufacturing of the bag. Your original pledge will
 6552356      8/12/2016      8007983     not cost you any more money. If you pledged for the 1.0, then you will get the 1.0 bag and the 10 electronics. I agree with Ruth I was also there at that meeting, andDoug at the expense of his
                                         health is willing to give it his all.
                                         (1/2) Look, @ruth and @aaron, my 14 year old son read the IGG terms of use and found a bunch of violations made by iBackPack. I still think that this product is a great idea, but if they are
 6552345      8/12/2016      12033382    scamming people, they shouldn't get away with it. The price for the 2.0, per their website, is only $5 more than what I paid for a 1.0, but for me to upgrade costs $75. That's unfair, especially
                                         when they said the original founding partners will get the best deal. At this point I want a refund and I...
                                         1) I'm appalled at the threats on here from backers. I'm an original backer and have attended many, many of the Goto Meetings they offer for us, let me tell you I've contributed to at least 28
 6552330      8/12/2016      9557475     products and this one here is the ONLY! one that has gone as far as to have these presentations. EVERYONE! needs to understand we are giving a contribution,not buying a product. However as
                                         a perk for our contribution we receive such product.
                                         I was one of the early backers and I'm wondering if I could get the mama battery included in my package or do I have to upgrade. ( I know this question might have been answered before but
 6552003      8/12/2016      11794176
                                         can't figure out to get to the FAQ's section)
 6552109      8/12/2016      12033382    (2/2) back or refund the money TODAY."
 6552548      8/12/2016      11794176    Is each port on the mama battery qualcomm quick charge 2.0? It's a deal breaker for me. Also I hope the monolith is quick charge also.
 6552227      8/12/2016      12033382    (2/2) ...as many employees of your company as I have and post it on the iBackPack Facebook page. Please call me back or refund the money TODAY."
 6552442      8/12/2016      11911623    Bruce, Everyone who pledged (1.0 or 2.0) prior to August 1 (I believe it was) is supposed to get the 2.0 bag.
                                         @heyhayley I understand your pain. I was one of the original backers & have been seeing the same things you have & attend many of the webinars & asked many questions. What I found out is
 6552262      8/12/2016      11754774
                                         that it initially took longer to find the necessary production, then
                                         Hi,
 6549823      8/11/2016      2445946     It looks like the campaign is not moving. I got spammed by you with all the changes and my email is full of your "updates". I bought a backpack, not gadget reviews. Your emails become spam
                                         and I don't even read what you wrote. Please take me out from updates because I understood that I won't get a backpack but you still spamming me. Thank you.
 6551021      8/11/2016      8007983     Alexander, have you been to any of the GoTo meetings?
 6549456      8/10/2016      11776802    Still no answer if I am beta tester international. And I have been told I was. No answer if I need to fill every form again. Would like some answer
 6548642      8/10/2016      8007983     It is only 120V
 6548729      8/10/2016      11911623    Bruce, Actually 100-240VAC. See my reply below.
                                         I was on the GTM meeting today and I want an official confirmation on the issue below. On August 7th, an email update went out and it is also on the update tab. It had three pictures showing the
 6548291      8/10/2016      11911979
                                         difference between 1.0 and 2.0 such as battery, car charger, etc. I asked why does it show an old looking car charger in 1.0 vs. 2.0.
                                         Bruce, Sure but even the iBackpack comes with a multi-port AC charger. This is just an alternative.
 6548852      8/10/2016      11911623
                                         Personally, I just don't see enough in the 1.0 to 2.0 upgrade to interest me. I don't have lightning devices but do have several USB-C devices that are ill-served but the offer.
                                         This one is tempting:
 6548627      8/10/2016      11911623
                                         https://goo.gl/JuMf5j
 6548295      8/10/2016      11911623    There are still plenty of unanswered questions in the FAQ doc.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                     Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Is there some way we can get a confirmation on the Google Doc you need everyone to fill out? I know I've done it once, but no way to know it's been received or even submitted and with the
 6548054      8/10/2016      7139810
                                         frequency of your requests to make sure they're filled out I get concerned that mine may not have received and if so I would have no way of knowing.
 6548838      8/10/2016      8007983     Jerry: but isn't the idea of iBackpack to be portable, if you are away from a power source?
 6548837      8/10/2016      8007983     Jerry: but isn't the idea of iBackpack to be portable, if you are away from a power source?
                                         Everywhere else is shows the new charger whether you sign up for 1.0 or 2.0 hardware. I was told by Charles and Aaron that the items in the pictures for the 2.0 version are included for both 1.0
 6548293      8/10/2016      11911979    and 2.0 backers. I was told before you had to upgrade to 2.0 hardware to get those items. This campaign is getting more confusing by the day and each ibackpack website contains different
                                         information. Please go through all your sites, FB and put out a consistent message. Thanks for your reply.
 6548641      8/10/2016      8007983     It is only 120V
                                         I am starting to get very worried about this campaign. I've been accepted into the beta program several times. I've been told I was on the list ,that the items would ship shortly , I've confirmed my
 6548098      8/10/2016      8251331     information and yet it's been several months and I have nothing to show for it. I complained here a few days ago and was given an email address which I don't even know is monitored because
                                         it's been three days and no reply. I'm starting to think this is all a scam and I've been taken for a ride.
                                         Any questions for the iBackpack team, please copy and paste this link into your browser: https://docs.google.com/forms/d/e/1FAIpQLSc3EdimmA5sahOUir_8xqR0sSsRt6Nj-
 6544650       8/8/2016      8007983
                                         VrYsDLJ7JBZQxxb7g/viewform?c=0&w=1
                                         Everyone who is a backer whether on here or Kickstarter, has to fill out this form ONCE! Please copy and paste this link if you have NOT done so, Thank You!
 6544835       8/8/2016      8007983
                                         https://docs.google.com/forms/d/e/1FAIpQLSewiIkV9-hAPil0QiCRBpIjTyJVZ48J464cfgiEucKpz2iloA/viewform?c=0&w=1
 6544344       8/8/2016      11940255    Thanks, Aaron. I did.
 6544959       8/8/2016      8007983     Eliot, I wil find out the correct information for you.
 6544185       8/8/2016      11911623    If the beta program is testing 1.0 and 2.0 hardware, why can't 1.0 level backers beta test 1.0 hardware?
                                         After watching the video on the new update, a question kept popping up in my mind. Is the speaker going to be waterproof? It looks like it's exposed on the side, and the weather won't always be
 6544237       8/8/2016      13221091
                                         nice and sunny.
                                         @Bruce Lim: Thanks for your suggestion to use the FAQ for our questions. But, apart from the fact that, as I already wrote in one of my questions, cellsâ €™ format is wrong ( text should wrap
 6544902       8/8/2016      11940255
                                         automatically so that you can read the full questions and replie
                                         @h.abdelkader - I'll be honest, even as one who's been critical of the campaign at times, I like the iBackPack's design more than HPs. The prototype bags we've been teased looks significantly
 6544432       8/8/2016      6360482
                                         more durable and I'm not a fan of the HPs color. The external
 6543494       8/7/2016      6360482     Would you make the comparison pictures in update 18 a little larger? Thanks
 6544024       8/7/2016      11776802    My post got deleted. But I ask you do I need to sign up fore the beta program again as a international backer. Become I have done it in the past multiple times.
                                         Your hardly readable update August 7th 2016: Are you really downgrading our 1.0 hardware in order to encourage us to buy the 2.0 upgrade ?!!! The Wi-Fi module I pledged for in 1.0 has never
 6543947       8/7/2016      11940255    been a gadget with a dongle, that you declare as â€œ..bothersome compared with the 2.0 which is much safer for the SIM card..â € . It is the one that you show now as belonging only to 2.0.
                                         Same thing for the Car charger. Has always been the 2 ports in all updates. Please reconsider. These changes are confusing.
                                         Interested in testing the technology? Like being the first on your block to have the latest gadget? The iBackPack BETA Program is ideal for you. Send your phone to info@ibackpack.co or
 6543548       8/7/2016      8007983
                                         haley.felchak@ibackpack.mobi if you would like to participate.
                                         The BETA Program includes a wide range of batteries, cables and other products we are considering to make part of the "standard" which everyone receives. It includes both 1.0 and 2.0 products -
                                         thus to be eligible to participate in the BETA program you must have upgraded to 2.0.
 6543549       8/7/2016      8007983
                                         BETA Program includes wall chargers, car chargers, numerous products we are considering for inclusion in both 1.0 and 2.0. send your phone and best time to reach you to info@ibackpack.co or
                                         haley.felchak@ibackpack.mobi
 6544096       8/7/2016      8007983     Jan, please email haley.felchak@ibackpack.mobi with your name and number.
 6543979       8/7/2016      6360482     @Eliot email me - kaedryl@gmail.com
 6544095       8/7/2016      8007983     Jan, please email haley.felchak@ibackpack.mobi with your name and number.
 6543788       8/7/2016      4203718     https://www.amazon.com/dp/B01J9QK410/ref=cm_sw_su_dp
                                         I've contacted you guys several times about the beta program. Each time someone got in touch with me,told me to send my information and that I was in. This happened three times! What do I
 6543302       8/7/2016      8251331
                                         have to do to get into the beta program or atleast get a solid no instead of a yes that is never followed up on.
                                         Marmia hi!
 6543458       8/7/2016      9557475     My name is Ruth here's the person to email info to, however you have to contribute to the 2.0 bag in order to be a beta tester here's the address
                                         haley.felchak@ibackpack.mobi she's Doug's assistant. Make sure you specify it's for beta testing. Good day.
                                         I encourage to all who have contributed and future to get the 2.0 bag with the 2.0 electronics plus the KevlarShield. Many people ask why? REMEMBER! with all the shootings and innocent
 6541913       8/6/2016      9557475
                                         people getting killed why not be prepared? Thought I'd give you something to consider the Kevlar Shield...
 6541722       8/6/2016      8007983     Any questions you have can be answered by me or Ruth. If we don't know the answer, we will get the answer for you
 6541948       8/6/2016      8007983     Ruth has a great point, The Kevlar shield is 16"Lx10"Wx1/4" thick. You can use your iBackpack as a Roman Shield, further protecting you from bullets. $165 is worth saving your life
                                         I keep emphasizing this, come to a GoTo meeting.....and you will get all of your questions answered. Jorge, I asked Doug personally about the Kevlar/Roman shield. The Kevlar plate is
 6541396       8/6/2016      8007983
                                         16Lx19Wx 1/4 thick. Doug and Tracy also demonstrated how to use the IBackpack as a Roman shield.
                                         To all the contributors of this amazing product... Please remember Doug wants to deliver to us only the best. EVERYONE!!! Is invited to the GoTo meetings, however if time doesn't permit then go
 6541635       8/6/2016      9557475
                                         to iBackpack FB page or check on the updates on here.
 6540494       8/5/2016      6360482     Note to project people: Don't have a meeting, say anyone that wants to learn about the iBackpack can join, then dismiss them for no reason.
                                         For those of you who couldn't be at the GoTo meetings, here is a YouTube video of the 17 inch bag
 6540004       8/5/2016      8007983
                                         https://www.youtube.com/watch?v=LYj0T5x1bFM
                                         Get ready for me to launch this 1.5 hour Power packed Goto meeting in just a few minutes. Show up and learn the SURPRISE! Sorry not going to tell you. LOL. If I did it wouldn't be a surprise!
 6538813       8/4/2016       437720
                                         See you at the meeting.
                                         Hello everyone, if you haven't upgraded to the 2.0 electronics I encourage you to do so. You're going to get one of a kind gadgets, plus some surprises. Remember the i BackPack will be sent out
 6539338       8/4/2016      9557475
                                         in December of 2016 to everyone.
 6538810       8/4/2016      8007983     You are welcome Rahid
 6538788       8/4/2016      11537868    Yeah thanks Bruce at that time I wasn't at the gotomeeting
 6539275       8/4/2016      8007983     Kevlar shield is 1 lb 1/4 inch thick. The iBackpack project is going through with a ship time frame in December 2016
 6537674       8/4/2016      8007983     Jorge: look the right under perks the third perk is the iBackpack BulletProof Kevlar.
                                         Also back by popular demand
 6539342       8/4/2016      9557475     The 50,000 mAh Monolith Battery
                                         will be back ,go to the perks page and order yours today.
                                         There haven't been any updates regarding how to go about upgrading the shield or detail regarding the upgrades (how much more protective it is, weight, perks) Also I'm inquiring bc i live in
 6538841       8/4/2016      11794176
                                         Chicago.
 6536975       8/4/2016      8007983     Please explain in more detaill your question Jorge?
                                         @Bruce Lim
 6538840       8/4/2016      11794176    I contributed for the Kevlar plate back when it launched. A few days after the Orlando shootings Doug sent out a message saying it was on hold giving me the impression that iBP may/may not go
                                         forward with it. Also there was an update mentionin
 6538626       8/4/2016      11940255    Just a big thanks to Aaron Gundersen for his highly professional and exhaustive test of the â€œMama Batteryâ€.
 6538842       8/4/2016      11794176    Answers regarding the shield have been answered on the FAQ sheet but the O es I asked weren't on there.
 6532353       8/3/2016      8007983     Again, these GoTo meetngs are very helpful, If you can attend, please do!
 6531919       8/3/2016      9557475     Okay great.
 6534059       8/3/2016      11794176    Any updates regarding the Kevlar Roman shield?
 6532151       8/3/2016      11537868    Just a question regarding the iBackPack 1.0 and 2.0 I backed in June along with the 2.0 upgrade would I also get the 2.0 iBackPack or not?
                                         Rahid Uddin,: Copy and paste this link, this will answer most of your questions regarding the 2.0
 6532349       8/3/2016      8007983
                                         https://drive.google.com/file/d/0Bwa-dSjTnJQATG13dWVPSDVEWU0/view
 6531908       8/3/2016      9557475     He he he! Posted before my message ended. You guys are doing a fantastic job!!!
                                         I can't emphasize it any more clearer. You need to attend the GoTo meetings! We had a guy from Ity, and Wales attend! There is plethora (lots) of information that you can't miss. Copy this link it
 6529493       8/3/2016      8007983     is a special detailed PDF about the bag and the electronics: https://drive.google.com/open?id=0Bwa-dSjTnJQATG13dWVPSDVEWU0. Ruth has some great information go to this Facebook page,
                                         cut and paste this link: https://www.facebook.com/iBackPackOfficial/posts/10208372103792891. Thank YOU for backing!
 6532854       8/3/2016      9557475     This just head to the updates here on this page and it'll give you the link to the Q&A Tracy posted
                                         Bruce, Tracy: Thansk for the pointers and PDF showing the 1.0 hardware. I'd still like to see explained what the differences are, if any, for the 20000 battery and wall charger. Or are these two
 6531734       8/3/2016      11911623
                                         items going to be the same for 1.0 and 2.0?
 6531901       8/3/2016      9557475     There hasn't been any meetings called today if so I didn't receive notice. Tracy the system thinks you're a spammer. He he
 6532137       8/3/2016      8260513     Whatever happened to Emma Bostian? Her videos were better.
                                         Go to this page
 6528320       8/2/2016      9557475
                                         https://www.facebook.com/iBackPackOfficial/posts/10208372103792891
 6526269       8/2/2016      11794176    Are there any updates regarding the Roman shields. Distribution and upgrade wise?
                                         Can we get a complete, up-to-date picture, list and specs of the 1.0 hardware and
                                         the same for the 2.0 hardware? That would allow people to make an informed
 6522747       8/2/2016      11911623
                                         decision as to what hardware package they want. There are many pictures, lists and
                                         that conflict with and each other and confuse the issue.
 6523840       8/2/2016      8007983     Jerry, did you look at IBackpack on Facebook?
                                         Bruce, yes that's a list of the 2.0 stuff. How do I compare against the current 1.0 package? For example, both include a wall charger. Are they the same ? If not, what's the difference? Same for
 6524091       8/2/2016      11911623
                                         20000 mAh battery? Same for any other "common" items?
 6522358       8/2/2016      8007983     Evan, and the rest of the backers, search iBackpack on Facebook, and you will see all the current updates, explained to you in detail. Thanks, and have a great day!
                                         Hi, I'm temporarily locking the online FAQ sheet, as someone keeps messing up the Questions column. I'll integrate it into a Google Forms for asking questions and then make the sheet for
 6527001       8/2/2016       437720     VIEWING ONLY. This will prevent questions from disappearing. The purpose of this Online FAQ was to create a view-able online resource for everyone but I check it once in a while and the
                                         questions column is messed up. I'll notify everyone when they can start entering questions again. Thanks for your patience.
                                         Look at iBackpack.co. Scroll down and click on the light orange tab "Devices" That is the 1.0 stuff. The headphone that you see are prototypes. On the right of this page is the 1.0 to 2.0
 6525021       8/2/2016      8007983     Expansion Upgrade. you will get al these extras. Everyone that pledged 8/1/2016 BEFORE MIDNIGHT CST AND PRIOR will get 2.0 bags for free. They however, wonâ€™t have 2.0 electronics
                                         unless they pledged for them or upgraded to them for $75. Makes snse now?
                                         Bruce, I see one USB-C cable mentioned. It also shows a different main battery, different wall charger, etc. So, not only differences on the one page but differences between the indiegogo page
 6517591       8/1/2016      11911623
                                         and the ibackpack page.




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                                         Hi Everyone. Tracy Tran here. Please come to my LIVE Goto meeting today when I post it. I'll make it clear as day, if you are still confused on 1.0 and 2.0. I'll be making an important update
 6515156       8/1/2016       437720     post announcement when I post my Goto meeting link regarding the bag and upgrade at that time so please pay close attention. Thanks Bruce and Ruth for your comments. If you haven't
                                         attended one of our LIVE Goto meetings, I would highly recommend doing so since it will answer SO MANY of your questions.

 6515574       8/1/2016      6360482     However, I will say this, the 2.0 electronics for $75 is a good deal based on the list currently in the perk. Pricing everything out separately on the big A (you can find everything identically there),
                                         the cost is roughly $150 for just the electronics. Plus so far what I've tested, as I only received the beta box a couple of days ago, the items are also very good quality.
 6517257       8/1/2016      11395150
                                         Another confusing update email. The wording made it sound like you needed to update to 2.0 to get the 2.0 bag and electronics. Does anyone there proofread this stuff before you send it out???
                                         I have questions regarding the newest update. Can you guys call or email me so I can get my questions answered. You should have all my contact info. If you require any of it again please PM
 6516658       8/1/2016      7887510
                                         me.
                                         I would like to suggest to all who haven't upgraded to 2.0 hardware to do so. The 2.0 bag is different from the 2.0 hardware. Please try to attend a go to meeting, I'm a backer and am not getting
 6517579       8/1/2016      9557475
                                         paid I however been to a few meetings and have learned alot about what the bag will consist of.
                                         Hi Everyone One more time....Pay attention closely please: I WILL make an announcement TODAY when I post my LIVE Goto meeting link and make things clear as day for the 1.0 and 2.0, the
 6515295       8/1/2016       437720     bag, and details about your order. Please I ask that you be patient until then. But don't worry, the announcement will be IN FAVOR of those that have already backed us already all the way
                                         through today AUGUST 1, 2016, YOU THE LOYAL backers. Remember Patience is a virtue and all good things come to those that wait.
                                         Hi everybody. I followed yesterday night (italian time) Tracyâ €™s presentation about the bagâ€™s upgrade, as per her update. But I also had the opportunity to see and hear Doug for the first
 6520175       8/1/2016      11940255    time and I have been impressed by his will and obsession to create, at his healthâ€™s expense, the best existing backpack. Donâ€™t worry for delays or misunderstandings. We will have an
                                         exceptional quality product. As far as I am concerned, from now on, I will post my questions only on the spreadsheet, as requested.
                                         @ Wayne. You DO need to upgrade to 2.0 to get the bag and electronics if you pledge after today. Everyone that pledged today and prior will get 2.0 bags for free.
 6517295       8/1/2016      12851509
                                         They however, won't have 2.0 electronics unless they pledged for them or upgraded to them.
 6514326       8/1/2016      8007983     You stated that you were looking into gettiing reduced WiFi plans from the major carriers for the WiFi module. How is that going?
                                         Ooow god. I understood everything until the update of yesterday (difference between 1.0 and 2.0, between bag / electronic...).
                                         But since this last update, I'm totally confusing. What? I understood the 1.0 bag (not electronic) didn't exist anymore (last version of the bag for everyone) - and now, for people who doesn't
 6521635       8/1/2016      8542374
                                         upgrade for 2.0 electronic, they will have the first version of the bag too?!
                                         Guys please, be clearer in your updates!
 6516774       8/1/2016      11084760    What about Mojo backers? I had asked for a refund because I don't want another backpack. I didn't get a reply on that site. I like the idea of something smaller to carry around.
                                         I think all we need is the answer to the following:

 6514014       8/1/2016      6360482     Is there more than 1 version of the physical bag?

                                         Once that's answered then they just need to fix the FAQs and survey.
 6514623       8/1/2016      6360482     I don't need a phone call. Just post here if there is one or more than one version of the physical bag. That's all I think most of us need. Not sure how one question is besieging you.
                                         Ok, with the latest update, as an original backer for the 2 bag Wi-Fi which I paid X amount. And now as I paid to upgrade to the 2.0 on July 30. Where do I stand now? I'm sorry I'm just a little
 6516579       8/1/2016      9816870
                                         confused. Can someone e-mail or call me? You guys should have all my info, as well as original pledge date info. Thank you.
 6515045       8/1/2016      9557475     I believe once again if you can attend one of the meetings or watch several videos posted on You tube and on their FB page I believe many of your questions will be answered.
                                         Have done both - meetings and Facebook - that's where the discrepancies started. Go to their Facebook page right now, read the pinned post from July 28th:

                                         "Again I want to emphasize that the 2.0 upgrade not only gives you what you see below and more, but it upgrades your ENTIRE BAG FEATURES as well! So you get BOTH HARDWARE and
 6515146       8/1/2016      6360482
                                         BACKPACK UPGRADES when you only spend $75 to upgrade to 2.0!":

                                         So the simple question: Is there more than 1 version of the physical backpack.
 6514960       8/1/2016      8007983     Please let the iBackpack team work their magic.
                                         Have to say I'm not that impressed with the 2.0 hardware upgrade. maybe the mama battery and wall charger IF significantly improved over the 1.0 versions. No Apple products here so anything
 6517249       8/1/2016      11911623
                                         lightning is worthless to me. Don't want more fans, LED charging cables, lightsticks, etc.
 6516843       8/1/2016      11955673    All previous 'perks' have been deleted... Do you still my order details?
 6517497       8/1/2016      8007983     Jerry, please check out www.ibackpack.co. scroll down to where you see the devices Tab. It mentions USB-C Tabs
 6517139       8/1/2016      7013908     Hi, just been on the meeting and suggested that the wording on the $75 expansions should be changed to 'Bag' and 'Electronics' upgrades to make it clearer
                                         Please, please, let the iBackpack team work their magic. They need the time to finish the project, and not answer questions. There is an email that was sent. 1: There is ONE bag. 2.:THE
 6514847       8/1/2016      8007983     ELECTRONICS: There are two levels of component offerings - 1.0 and 2.0. If you pledged for 1.0 electronics - you will get 1.0 electronics. If you upgraded to 2.0 electronics - you will receive the
                                         2.0 electronics.
                                         Michael everyone from midnight back is getting a free 2.0bag upgrade NOT the 2.0 software update
 6517078       8/1/2016      9557475
                                         There's a meeting right now if you can go on now you can comment
                                         NOTE: The comments section for our page here on IGG is for legitimate questions and answers. It is monitored accordingly. Our FAQ section on the www.ibackpack.co site is being updated on a
 6510347      7/31/2016      14671907
                                         regular basis to include every question asked. Be respectful of our time as well as the other users.
                                         To the backers: You don't need the more than 170 suppressed updates to know about the bag. The bag's upgrade is promised in the recent FAQ spreadsheet: "We have upgraded all 1.0 backers
 6509685      7/31/2016      11940255    free of charge to the 2.0 bag design only not the components." ; "All original backers for the ibackpack on Indiegogo will automatically be upgraded to 2.0 bag design itself..."; "We have upgraded
                                         all 1.0 backers to the 2.0 bag with all the design changes suggested by all our IGG customers..."
                                         Hey there, in the FAQ collection there is a question about 2.0 upgrade and you answered: "We have upgraded all 1.0 backers free of charge to the 2.0 bag and components." So, do I have to pay
 6513679      7/31/2016      9712769
                                         75$ to upgrade or I just choose Yes in the google form you sent? Thanks.
                                         1.0
                                         - 20,000 mah Battery with integrated flashlight (different from the Mama battery, I think)
                                         - 5 smart cables - need clarification if zipper vs the lighted ones, and if micro USB or lightning
                                         - Car charger (I think retractable cable one)
 6511676      7/31/2016      6360482
                                         - USB wall plug
                                         - Bluetooth speaker
                                         - Anti-theft system
                                         -
 6512002      7/31/2016      8007983     $169.00 is the Basic Backpack, the $225 one includes WiFi, scroll down on the right for descriptions
                                         @Jerry
 6511666      7/31/2016      6360482
                                         There was a very nice update that broke down the differences between 1.0 and 2.0 electronics. Unfortunately, they erased it along with 170+ other updates. I think I have it screenshotted,
                                         though, give me a minute.
 6509707      7/31/2016      6360482     @Eliot - That's also the faq that says: "all original backers will be part of the beta program." We know how that played out - no upgrade to 2.0, no beta.
 6512367      7/31/2016      11776802    Do i need to sign up again fore the beta program ore I am stil on the list as international beta tester
 6509699      7/31/2016      6360482     Screenshot that FAQ. I guarantee that it will change in the very near future to remove that line.
                                         Yep, the google form needs to be reworded. As it currently reads:
                                         "The 2.0 upgrade not only gives you what you see below and more, but it upgrades your ENTIRE BAG FEATURES as well"
 6511273      7/31/2016      6360482
                                         If everyone is getting the same physical bag, then it doesn't upgrade the bag to everything listed (compass, go-pro clip, etc...) and should be reworded to prevent further confusion.
                                         To be fair.. We've been told over and over that component 1 (Bag itself) was going to be upgraded free of charge. The confusion came in the new form on Page 3 where it explains the benefits of
                                         upgrading to 2.0.
                                         "Upgrading to 2.0 not only get's you the extra accessories you see on IGG but it upgrades the ENTIRE iBackpack itself. "
 6510547      7/31/2016      12851509
                                         "The 2.0 upgrade not only gives you what you see below and more, but it upgrades your ENTIRE BAG FEATURES as well!"

                                         Thanks for clarifying though.
                                         To Doug: I read in your recent FAQ spreadsheet's answers about the anti-theft feature: ...Yes there is a monthly subscription charge for the WiFi iBackPack version. The price is still yet to be
 6509686      7/31/2016      11940255    determined..." Doug, you NEVER mentioned anything about a monthly cost for the GPS. Please explain better what you mean.You also say in the same answer: "...We have a great video that
                                         describes the services we provide..." Where may I see this video please?
                                         Just went through my computer, luckily I have screen shots of multiple, multiple updates and direct posts from Doug that ALL IGG backers would be receiving 2.0 backpack. Plus alot calling us
 6509844      7/31/2016      6360482     greedy and demanding for questioning the 1.0 vs 2.0 electronics promise. So, unless something has changed, we should all be receiving the 2.0 backpack. Might want to change what's on the
                                         google form that says otherwise.
                                         Suggestion for the FAQ spreadsheet: I just found an explanation in today's spreadsheet, at lines 68 and 69, for the question I asked today to Doug about GPS monthly cost. This FAQ spreadsheet
 6509766      7/31/2016      11940255
                                         may therefore be useful but we canâ€™t read everyday all the questions in order to look for an update. Can you please add the date to your questions and reply? Thanks.
 6511609      7/31/2016      11911623    When you say below that "The iBackPack 1.0 and 2.0 both include a modem/router" clarify that's if the order is for a wifi version, not the basic version.
                                         I am more confused. I did a gotomeeting last week, and was explained that there was a 2.0 bag and 1.0 bag, and the 2.0 has upgrades that were not available to 1.0, unless you upgraded. The
 6513844      7/31/2016      2332434     required form said the same. Now, iBackPack of Texas is saying that it only upgrades the electronics and not the bag. I just paid the upgrade fee, and I didn't want the electronics upgrade, just
                                         the bag upgrades. Who is telling the truth, Or are you both trying to say the same and not realize it is confusing?
                                         1.0 vs. 2.0 iBackPack CLARIFICATION - WHAT IS A FREE UPGRADE AND IS AVAILABLE AS A PAID FOR UPGRADE.

                                         TO MAKE THIS CLEAR: The iBackPack consists of three components.
 6510335      7/31/2016      14671907
                                         1. THE BAG ITSELF 2. THE ELECTRONICS. 3. INTERNET CONNECTIVITY
                                         1. THE BAG ITSELF: . We have - thus far - included all of the updates, enhancements, improvements to the bag itself as a perk AT NO COST ' despite there being many cost increases for the
                                         bag itself. Not once has anyone been asked to pay for any of the enhancements




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                              Project
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 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         2. THE ELECTRONICS: There are two levels of component offerings - 1.0 and 2.0. If you pledged for 1.0 electronics - you will get 1.0 electronics. If you upgraded to 2.0 electronics - you will
                                         receive the 2.0 electronics. Simple.
 6510342      7/31/2016      14671907    3. INTERNET CONNECTIVITY: The iBackPack 1.0 and 2.0 both include a modem/router. They both allow you to call your internet provider and add a device. Simple.

                                         SHIP DATE: December, 2016.
 6511287      7/31/2016      6360482     Also, this is a "COMMENTS" section, not an iBackPack approved Q/A area. Engage with your backers, don't just try to silence dissent now that you have our money.
                                         Hi Doug. Actually, the confusion about the bag came from your update July 28th on your Facebook page: â €œWHY UPGRADE TO THE 2.0 HARDWARE ON iBACKPACK?â€. Thank you for
 6510872      7/31/2016      11940255    your explanation which clarifies everything. Concerning your FAQ spreadsheet, if I type a question in column B, is it enough to press â €œEnterâ€ then close the Web page in my browser, or do I
                                         have to perform another operation in order to send you the spreadsheet with my question? This is not explained in the instructions. Thanks.
 6511596      7/31/2016      11911623    How about a clear list of EXACTLY what is included in the 1.0 bag and what is included in the 2.0 bag? Don't just say "2.0 gets all these extra things!!!!".
                                         On the right side there are two separate 1.0 to 2.0 upgrade packages, both $75. While worded differently, they appear to be the same thing although one was claimed by 9 people and the other by
 6511578      7/31/2016      11911623
                                         67. ???
 6511969      7/31/2016      11911623    Thanks Aaron. As your comments indicate, it isn't clear exactly whats included nor the differences between 1.0 and 2.0 products.
                                         Here's a link to those asking in regards to the bullet proof.
                                         https://www.facebook.com/iBackPackOfficial/
                                         posts/10208371500377806

                                         And this other one is how it all began
 6509837      7/31/2016      9557475
                                         https://www.facebook.com/iBackPackOfficial/
                                         posts/10208371819905794

                                         Go check it out
                                         It's also sketchy that all the updates have been conveniently removed. That's where we had the multiple, multiple posts that EVERYONE gets the update bag. That was their mantra for months
 6509586      7/30/2016      6360482     to quiet dissent - "don't be greedy, we upgraded so much on the bag." Now it's clear IGG backers will get a kick in the teeth and our information shared in Doug's other business (which is
                                         providing marketing contacts....)
 6509512      7/30/2016      4567169     I agree with you Otto. This is not what we original surporters were promised. The information keeps changing and I'm very disappointed.
                                         The kicker is that when people were frustrated about getting the upgrade to 2.0 bag but not 2.0 tech, one or two of those who do the auto replies, and one update called us contributors "ungrateful"
 6509604      7/30/2016      11828622
                                         I think the term was. So is the campaign just backtracking on that or what?
                                         I was really proud to support you. But now I am not sure. You change every day your own word. You said the upgrade would be only for the accessoires and all backers would get the same bag.
 6509301      7/30/2016      12443065
                                         That were your words. But now you say the upgrade is also for the bag. It is really poor behavior of you to change things bevor you deliver the first bag.
 6507746      7/30/2016      9557475
                                         We just ended a meeting. To all that haven't been to one I suggest you try and attend at least one. A lot of your questions will answered and you can also give your input and they will listen.
                                         I asked about this a month or so ago, but I must voice my frustration now. What is happening? By that I mean why does it now seem that the whole promise of the FREE upgrade to the
 6509600      7/30/2016      11828622    ibackpack 2.0 [bag only] isn't happening? When I asked about it before, whoever replied basically said that you made more changes to it after that initial 2.0. Okay, fine then call it the ibackpack
                                         3.0 instead.
                                         hi everyone umm i don't mean to be a jerk but do we really have to pay the the kevlar plate or will this be just added to the order regardless i dont know i just also would love to just know i'm safe
 6505624      7/29/2016      13328608
                                         waring your bag but anyways im so proud of you guys and i can't wait for my iBackPack thank you guys so much keep up the good work :D
 6502714      7/29/2016      11794176    @bruce Lim not all phones support 3.0 but they still benefit from it (it charges faster.).darn I was hoping it did. Thanks for the response.
 6501745      7/29/2016      2332434     So I thought the iBackPack 2.0 itself was being given as a free upgrade to 1.0 backers. Now I have to upgrade to 2.0 for $75? I saw so many updates about batteries.
                                         That applies to the iBackPack only. There have been multiple discussions on this. Basically you get the 2.0 physical Back Pack, but not the 2.0 electronics. Though, with the most recent survey
 6502529      7/29/2016      6360482     that was sent, it sounds like there will be a 2.0 bag that you only get if you upgrade - mentions the compass, leather handles, etc... I thought EVERYONE got the same backpack, and it was only
                                         the electronics that changed.
                                         I seem to get a whole bunch of emails about any and everything I do not understand as it relates to this project. My question is very simple!! When are we going to get the product that was paid
 6496306      7/28/2016      10902780
                                         for?
                                         What is the status of the mobile app? Will it be ready alongside your Dec 2016 ship date? One of the developers chimed in when I asked months ago saying â €œitâ€™s being worked onâ€ but
 6494861      7/28/2016      11875938
                                         have not seen a single update. Would also be curious to know whether he still works for the company.
 6496741      7/28/2016      8007983     I love the beta testing, the products are great. Jorge, not all phones support qualcomm quick charge. It says we are getting qualcomm 2.0
 6498376      7/28/2016      6360482     Have you considered having a forum for beta users to discuss the items?
                                         !!!!BUYER BEWARE!!!!
                                         This is a 100% scam.
 6496184      7/28/2016      11919908
                                         I funded their campaign nearly a year ago and haven't received JACK from them.
                                         !!!!BUYER BEWARE!!!!
                                         Hi Everyone! Please try to use this FAQ form to submit ANY questions about iBackpack that you want Doug and the iBackpack team to answer. That way we can be more efficient in getting
 6497608      7/28/2016       437720     answers to you and be focused on the target production schedule of the iBackpack:
                                         https://docs.google.com/spreadsheets/d/1MCsqE4ZRgc6lwSihZVgDggxVIdXsOAakL8MMvDbDkdE/edit?usp=sharing Thank you so much!
 6496637      7/28/2016      11794176    Will all the ports on big mama and big papa have usb quick charge 3.0? I hope all the batteries get it.
 6489617      7/27/2016      14671907    hi
                                         Hey everybody - Lucille here- This is my link https://global.gotomeeting.com/join/898470517 join me now if you can I'll be here with the iBackPack and all of the various components with my
 6491175      7/27/2016      13966229
                                         camera on and looking forward to showing you all of the last developments.
                                         The CORRECT form link for those of you who are wondering (see latest update email) is this:
 6491442      7/27/2016      9727208     https://docs.google.com/forms/d/e/1FAIpQLSewiIkV9-hAPil0QiCRBpIjTyJVZ48J464cfgiEucKpz2iloA/viewform?c=0&w=1&usp=send_form
                                         Yes, yet another form to fill out :-|
 6485401      7/26/2016      11911623    You might want to update the estimated shipping dates on the right side of the page.
                                         OUR INFORMATION IS LEAKING. Someone who named Alija Tria keep asking me to pay the shipping fee otherwise I don't get the product. She said she is a sales and customer survive
 6475849      7/25/2016      11962489
                                         director. PLEASE ENSURR THAT OUT PERSONAL INFORMATION IS SECURE.
                                         Alija Tria is a name I haven't heard of before, I think that by_telly is correct. fortunately I haven't received that email, and the only names I have dealt with are: Doug Mohanan, Shanzi, Tracy, and
 6476808      7/25/2016      8007983
                                         James
                                         What is the status of the mobile app? Will it be ready alongside your Dec 2016 ship date? One of the developers chimed in when I asked months ago saying "it's being worked on" but have not
 6472442      7/24/2016      11875938
                                         seen a single update. Would also be curious to know whether he still works for the company.
                                         Hi there team Good evening,
 6469701      7/23/2016      9557475
                                         Would you please post or email the number we're going to be called from in order to answer. I don't answer calls from numbers I'm not familiar with thanks.
                                         so since 15 august 2015, i always receveid no product !!! i buy 3 models Wifi , pro and middle and after 300 mailings ! (great because no real infos except infos for other project !! ) what the deal
 6466388      7/23/2016      11766005
                                         !! you remenber date of delivery product !! its shame i want my money !!!!
                                         I suggest you clarify the ship date. Both the email and update here tease a shipping date in the body of the text but then no dates are mentioned other than yet more beta shipments. I'm still also
 6467559      7/23/2016       47047      quite confused by the obsession with the safety, or lack of it, of lithium ION batteries. Apple and Samsung have shipped quite literally billions of devices using these batteries without issues.
                                         Probably best to stop going on about it now.
                                         If anyone is trying to reach me by my old email (tracy.tran@ibackpack.mobi), it is broken and I cannot respond to anyone there because it thinks it is spam for some reason. Please use the new
 6469621      7/23/2016       437720
                                         email tracy.tran@ibackpack-texas.com if you have to send me a message.
                                         Any news on the time line which was mentioned recently?

                                         i.e:
 6468494      7/23/2016      11955673
                                         bag testing between x and y dates
                                         bag modifications between x and y dates
                                         etc, etc.....
                                         I'm not criticising the timing per se. Simply the lack of communication and obfuscation. Don't send an email with subject 'delivery date below' and then fail to add that vital info when it is all the
 6468450      7/23/2016       47047      majority care about. As for the lithium battery noise call me a cynic but I see this simply as a smoke screen for general delays. Again I have no issue with a project taking time but be transparent
                                         and honest about it.
                                         Oliver, have you ever tried a Indiegogo project? Apple and Samsung have the lithium ion batterys down to a science, and they have been using the same suppliers for years. Do you think they just
 6468287      7/23/2016      8007983
                                         accept a new battery for their cell phones, and ship them out? I challenge you to start a project, select a ship date, and deliver your product on time.
                                         Christmas, 2016 is our expected ship date and we are going to ship with all of the products we have had planed Godspeed. There is a great deal of work for all of us to do. We will be sharing the
 6469539      7/23/2016      10019428
                                         time-line and updated info sunday or monday.
 6469734      7/23/2016       47047      Thank you for the clarification of the new delivery target date.
                                         Your saying iBackpack will be delivered in December yet in the announcement you posted it states shipping begins next week!!! I'm confused???? Maybe this needs to be removed because it is
 6462687      7/22/2016      9557475
                                         misleading
 6465889      7/22/2016      11911623    Haven't see anything about beta testing the 1.0 hardware for those that are staying on that level.
                                         Can you choose the kevlar level or is there only the IIa, because Iâ€™d like the level IV one, and if you can choose, how much more is the level IV??
 6464541      7/22/2016      5908321
                                         Thanks
 6459755      7/22/2016      7887510     In your last update you did not include the email addresses of the people that you want us to send our phone numbers to.
                                         Could you give the phone number of whoever I need to verify my address to because I have tried emailing but I did not get any response and the phone number provided at the bottom of the
 6462631      7/22/2016      12131405
                                         email doesn't work. please and thank you :)
 6464172      7/22/2016      11463600    How about the mobile app? See nothing from all updates.
                                         TSA Lock's position: Hi Doug. Could you please tell me why you have placed the TSA lock in such a position that it protects only one of the "partially opening" pockets? In my opinion, if you have
 6461893      7/22/2016      11940255    only one TSA lock in the bag, it should protect the "fully opening" large pocket, the one in which you keep your laptop(s). The other smaller pockets can easily be protected with a normal padlock,
                                         but I think the large pocket deserves the TSA lock. Thanks.
 6456988      7/21/2016      6360482     Just curious, why do you need to discuss our internet use over the phone prior to shipping? Really makes no sense.
                                         Re today's update:
                                         - I see that beta shipping has begun and will begin for international next week. Unless I'm getting a beta bag this doesn't help me. I see nothing about shipping the final product.
 6456487      7/21/2016      11911623
                                         - It's nice Quick Charge is mentioned but no mention of USB-C capabilities.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
 6456445      7/21/2016      13451794    I believe I have sent the phone number but did not get any call so far. Which mail address should I contact to for confirmation on my contact information?
                                         I moved, and I sent an email with new address, can you verify you received it please, is it
 6459239      7/21/2016      10529360
                                         To late to upgrade to 2.0 without setting back delivery time
 6456438      7/21/2016      11748041    When the ibackpack, will be shipped.
 6457153      7/21/2016      11537868    I'm still confused the update states it mentions when the iBackPack start shipping but reading it so far all I've seen is just about Beta products again??
 6456887      7/21/2016      10019428    @Jerry Riechat - read the update - it is very clear
                                         Step by step, your business going forward! Nice job. I think that's a good idea to make less updates in Indiegogo and more in Facebook.
 6458050      7/21/2016      8542374
                                         I'm going to a big roadtrip in Norway next summer (during 1 or 2 months) and I believe to have my iBackPack. Many usages and difficult trials for it!
 6457257      7/21/2016      11915119    Please let me the contacts number to call because i want know when my ibackpack can send to me in korea
 6456496      7/21/2016      11911623    Are comments being deleted? I'm sure I saw someone asking for the shipping date and now it's gone.
                                         I have been receiving emails from an Ellija Trija asking me to send my contact information. Most recently I have received one saying "we are about to ship" and asking if I got an invoice. Is this
 6451589      7/20/2016      11395150    someone from iBP or some type of scam? They are coming from an Outlook.com address and I don't see anyone from iBP with this name. Plus my understanding was there is still a while to go
                                         before shipping...
 6452675      7/20/2016      11915119    Please let me know when my ibackpack will send to me?
                                         It would be nice to receive the Backpack before the end of the decade. Perhaps you will be taking pre orders for the iBackPack 6.0 by then and still not shipped to your original supporters. I'm
 6448105      7/20/2016      8243466     saddened that you have used our funding to build more products without supplying us original backers the products we where promised, and then force us to pay more to upgrade to the latest
                                         tech. The v1 would have been great a year ago. Now we will receive our of date technology unless we pay more for 2.0.

                                         I just saw Tracyâ€™s presentation of 17 inches bag. Someone asked what happens to the TSA lock if you check the bag and TSA opens it. But, unless Iâ€™m wrong, according to this FAA file,
 6439240      7/19/2016      11940255
                                         you cannot check baggages including spare lithium batteries. These can be only in carry on baggages (cabin). This is another reason why the bag should be as small as possible.
                                         https://www.faa.gov/about/office_org/headquarters_offices/ash/ash_programs/hazmat/passenger_info/media/Airline_passengers_and_batteries.pdf
 6441107      7/19/2016      8007983     FYI USB -C will now be used on the new Samsung Galaxy Note 7 :-)
 6443325      7/19/2016      11793112    I had pledged about 300 dollars Canadian towards an Ibackpack back in October of last year and have not received it yet. who can I contact?
 6442594      7/19/2016      11776802    Last night we had the ibackpack on the biggest the radio station of holland because people are running out of battery playing Pokemon go. So they advice in the ibackpack
                                         Please use YouTube or something more conventional, should be easy. I've watched a few reviews from your beta testers there and all is good but I still have questions and cant make it for the
 6438333      7/19/2016      8960136
                                         meetings at least if its on YouTube I can attend via the app
 6442378      7/19/2016      10395670    Im sorry, I feel this bag has missed its mark and focus and decided to push the accessories. I'd dont like the way this product being directed, I would like a refund please.
 6440147      7/19/2016      8461035     Who do I email if I have a change of shipping address?
                                         Hi, again not to pressure anyone or something here, Just wanted to know roughly when will we get like an ETA on the bag. I.e when is it estimated to start shipping etc. Sorry if this post were
 6438566      7/19/2016      10407699
                                         similar to some of the other dudes below but i'd really like to know ! Aside from that i hope the backpack's still running on schedule .
 6442463      7/19/2016      11442614    Dear, delivery is not sure and so long... I want a refund.

 6430834      7/18/2016      12534193    I just want my money. Back. This has turned into a joke. A crappy backpack with a bunch of junk accessories. And order format too confusing and misleading. Nobody wants the 1.0 an already
                                         outdated product that has no appeal now there's a 2.0 model. I didn't find this campaign for second rate junk. Refund now please. And change your effing delivery dates. How pathetic.
                                         The iBackpack Team CAN have LIVE feedback from the backers through our LIVE Goto meetings. Bruce has been showing up at almost every one of our LIVE meetings and has been a great
 6431655      7/18/2016       437720     supporter! The Goto Live meetings allow collaboration, in depth product demos, and questions are encouraged. Ultimately, we are going to creative a safe, innovative, technologically advanced
                                         and one-of-a-kind iBackpack that you will not only be proud of owning, but proud of sharing!
 6434257      7/18/2016      8007983
                                         Tracy, Guy and I commented that going to the drive link doesn't work, even if you are logged into a google account. It tells us to ask for access. My idea for the Momma battery is Charge it all.
 6433182      7/18/2016      10395670    IS there a way I can get a refund?
                                         The team can't have live feedback from the backers. We are able to use out web cam to explain to te presenter what we are taking about, if words aren't enough. I get to hear other backers ideas
 6430253      7/18/2016      8007983
                                         as well.
                                         The iBackpack team is looking for some professional names for our 20,000 mAh "Mama" battery and our 5000 mAh "Papa" battery.
 6431706      7/18/2016       437720     Please join in on the fun and submit your suggestions here:
                                         https://drive.google.com/open?id=17dYSJ6PCZr1PzFR5jtaS4wKMKYCKEqCDlbSiEFxtpTE
 6435414      7/18/2016      12252408    When you will send me my iBackPack 1.0 WiFi?!
                                         Can you choose the kevlar level or is there only the IIa, because I'd like the level IV one, and if you can choose, how much more is the level IV??
 6436272      7/18/2016      5908321
                                         Thanks
 6434256      7/18/2016      8007983
                                         Tracy, Guy and I commented that going to the drive link doesn't work, even if you are logged into a google account. It tells us to ask for access. My idea for the Momma battery is Charge it all.
 6425085      7/17/2016      11766302    Glad you attended a meeting Ruth-Tracy and her team are doing a great job keeping backers involved and informed!!!

 6429598      7/17/2016      7775399     I haven't read through all of these comments or participated in any of these presentations... but when are we actually going to get this backpack? I'm appreciate all of these updates but I back this
                                         project in Sept last year where the initial estimated delivery date was in March of this year. It's the middle of July now... I'm almost tempted to cancel my order, if that's even option.
                                         Good day everyone, I thought I say that I've had the chance to be able to attend one of the meetings. Tracy Tran was the person there that day and I couldn't have been happier after attending
 6425069      7/17/2016      9557475     because there was a lot of input from contributors as well as note taking by the team members, my questions were answered my inputs were considered. Overall I was extremely satisfied after
                                         that meeting, if anyone has time try and join one of the meetings and you'll see for your self.
                                         Also, I did not ping you because 1) I was asleep 2) I just stated that deferring responses to everyone in 1 v 1 is not effective to communicate to 3500 ppl 3) I have spoken to you on Skype and
 6424329      7/17/2016      11875938    attended your meetings in the past and asked about the wifi and tracking. You simply outlined how it will work like the campagin page and did not offer any specifics and focused on batteries.
                                         Power is important but WiFi is listed first and is your selling point not a backpack with batteries from amazon.
                                         As a backer and volunteer I know I want my iBackPack too, but I've also been burned in IGG and Kickstarter by products that were rushed and turned out to be a waste of money. Some I have
 6425046      7/17/2016      11766302    retuned to get fixed so many times I have lost count and stopped trying. I want my contribution to yield the BEST products and this project is on the way to do that. As with all tech, it continues to
                                         evolve and get better & that is why there are different & better products being produced from the original post
 6424409      7/17/2016      8007983     Colin: you said that the batteries are rebranded, or you can buy them on Amazon. You had the opportunity to research this project, before you decided to pledge any amount.
 6426073      7/17/2016      12438054    Hi, can someone update the shipping status? I bought 4 ibackpacks for my uncle, but he said he's till not receiving anything.
                                         Actually Bruce, the tech you are beta testing now are not identical to those in the original campaign. No where in the original campaign page (which I do have screenshots) does it say they will be
 6424908      7/17/2016      11875938
                                         beta testing a sampler of existing products. Rest assured if those intentions were explicit I would not have pledged any amount.
                                         All, I would be quite ecstatic to have the actual back pack now, and get the other tech stuff later. I expected to see the backpack shipped by now. I understand all the start up issues on the tech
 6425022      7/17/2016       602999
                                         side. Maybe make that an option to your backers?
 6426178      7/17/2016      13176426    why you don't do your presentations on youtube or Google hangout on google+ ?? i don't have to install additional software .
                                         When you say the tracking and wifi tech are being worked on and your engineers are trying out devices right now, are they developing a product or are they testing out tech that I can already
 6422140      7/16/2016      11875938    purchase myself on Amazon? Every accessory listed so far I can find an exact copy on Amazon or the streets of Hong Kong (ie: "Big Mama Battery"). I don't want to wait two years for a
                                         backpack filled with rebranded tech I can get already myself. Please provide details and specs of how these are different.
                                         BAGâ€™S SIZE: I couldnâ€™t see Shanzeâ€™s GTM friday July 15th presentation of the bag because the info arrived too late for me in Italy, but I saw Tracyâ€™s one and I found the bag to be
 6420569      7/16/2016      11940255    enormous. Please confirm that final sample will be, as requested many times, much smaller, much thinner, and will fit up to 15 inches laptop (we use 13 inches, so 15 is already too big, but there
                                         was no choice), and that 17 inches will be an option, only on request. Please post comparative photos of all prototypes.
 6422204      7/16/2016      12793462    @Colinâ€¦. good question.
 6420890      7/16/2016      11911623    What happened to beta testing of the 1.0 components or the POW batteries?
                                         Morning iBackPack team - Just for clarity, as previously mentioned, I will not be investing any more money in this Campaign. In August 2015 I Pledged for the Top Perk that was the Wifi
 6423457      7/16/2016      11615484    BackPack. this included the 3/4G Wifi-Mifi, the BlueTooth Speaker, Anti Theft Tracking and the Central Hub USB Powerpack. I then reluctantly upgraded to the Version 2 Hardware as it was later
                                         anounced that was the only way to get the "Version2" BackPack when "Version1" hadn't even been produced. Continued Below:
                                         RESENT: â€œ@ Tracy: Since you have a Mama Battery, could you please in your next Beta test, check, and let us know, the batteryâ€™s behavior (blinking leds during charging operations,
 6420578      7/16/2016      11940255    batteryâ€™s temperature, voltage (if possible) when charging it : a) Through Input 1 , b) Through Input 2, c) through both Inputs 1 and 2? Does the batteryâ€™s temperature increase significantly
                                         when it is charged inside a bag? Thanks.â€
 6422189      7/16/2016      11940255    Of course, I am as interested as Colin and Jonathan in your response. Please be so kind to give us as much details as possible, about the app's function as well. Thanks.
                                         @rebranded tech. The extreme outliers of this campaign either think it's a scam or will follow you to a 3.0 version. Most of us are in the middle (ie: trust but verify). Rebranding tech is a red flag
 6422364      7/16/2016      11875938
                                         to me. From the Big Mama to the 50,000 mAh monolith
                                         hello everybody i hope all of you are doing well :) i only had one question and that is are we going to be emailed the time line or will it be posted on here or is it "excusive" (lack of a better word)
 6421120      7/16/2016      13328608
                                         for people that attend the live meeting thank you
 6420325      7/16/2016      1616612     I would love to go to one of these meetings but I am usually asleep when it happens :(
                                         @Jonathan. Thanks. I already read the reviews weeks ago and they are goods. I just saw that when you chatge it the led blinks only with input 2. This is the reason why I asked Tracy to make her
 6421901      7/16/2016      11940255
                                         tests. It would be a good idea to improve this feature in my
 6422002      7/16/2016      11911623    If you go back through the FB postings, one user posted a picture of the mama battery that clearly shows the Hame logo
                                         @Eliot, when I asked for empircal data I had my post deleted, as i sure this one will be too. In my opinion this beta phase is primarily a marketing/smoke and mirrors excercise.
 6421844      7/16/2016      11955673
                                         If i were you I'd email Hame as the mama battery appears to be their "2000
                                         Echoing your sentiment Eliot. I want to know the real status of these important features. I imagine we will be fed more generic responses like "contact me at email X or ask your question at the
 6420924      7/16/2016      11875938    next live meeting" instead of just giving concrete answers. The guy who responded about app development months ago has vanished. I put it at the alpha stage at best. Jumping through hoops
                                         to get answers to find out the two reps I contacted no longer work for the company does not boost my confidence.
 6421290      7/16/2016       47047      Am I right in thinking that Apple has used Lithium Ion batteries in every one of the approximately 1 billion iPhones it has sold to date?
                                         Doug, my apologies.
 6422258      7/16/2016      11955673
                                         You never said "show and tell", i miss quoted you, sorry.
 6421320      7/16/2016      12449256    I just moved for work reasons anyway I can update shipping adress since they havent shipped yet?
                                         RESENT: â€œLithium ions / Polymer: @ Tracy: I read your Newsletter. These newsletters will give more space on the board to the backersâ€™ comments. One question: You write: â€œ...we
 6420574      7/16/2016      11940255    successfully ensured the safety of the batteries so the Lithium-Ion batteries do not catch fire and put lives at risk...â € Does this mean that you are improving Lithium-ion and giving up Polymer
                                         technology, or is it my misunderstanding?â €
                                         @Colin.... good question.
 6422148      7/16/2016      11955673
                                         Im interested in the response too.




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  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         This is laughable. I was not "upset", and only stated what many bakers feel-- the 173 "updates" contain very little concrete information. Quality over quantity. We would like more info on the tech
 6424310      7/16/2016      11875938    included. Why? Because you yourself admit that 1) you don't know what specific tech to include yet (super misleading since the campaign suggests finalized components) 2) you rushed to
                                         Amazon for the battery. We can all shop online for existing tech and put it in a backpack.
 6421179      7/16/2016      11911623    Colin, That sure looks familiar.
                                         I welcome the opportunity to speak with anybody RIGHT NOW - just give me your phone and I'll personally call you to discuss what we are doing - and would LOVE TO GET YOUR OPINION -
 6422533      7/16/2016      10019428
                                         but cannot do it unless you give me your phone 0r skpe ID - or ping me at doug.monahan.50
 6422235      7/16/2016      11955673    ....and a response in writing so ALL backers can read it, rather than the 'show and tell' (Dougs words) of a goto meeting.
                                         Doug, thanks for trying to reach me. Not sure about the remote access code. You should have my cell as I have given it to two of your now former employees (a bit concerning). A common
 6422305      7/16/2016      11875938    response to questions raised is that it's too much work to draft an answer so we should contact you or your team instead. I would argue since a large number of us are interested in your
                                         response, it's easier for you to address us all in a written update so everyone can see rather than deferring it further .
                                         hello everyone, as estimated ship date was passed by more than 50% of original time frame and no other update about delivery time of the bag itself was even mentioned, I have decided to create
 6423462      7/16/2016      11775750    my own setup (my current bag is well overdue for replacement) and if someone would like to have my pledge for half of the price please let me know (August 2015 pledge, 199$ for WiFi bag, 50$
                                         for int'l shipping, 25$ "gift" pledge = 274$ total)
                                         Instead of "Big Mama Battery" why not call it a HAME Charging Station:
 6420968      7/16/2016      11875938
                                         https://www.amazon.com/Portable-External-Battery-Charging-Smartphones/dp/B019R8V4RI
                                         RESENT: â€œI fully agree with Colin Wu and Thomas Smith. Please reply to my [last weekâ €™s] message: " I am pleased to see that your Betatesters are happy with the components that they
 6420581      7/16/2016      11940255    have received. But, personally, I pledged in august 2015 for two Wi-Fi 1.0 ibackpacks only because I was interested in Wi-Fi/ MiFi, Bluetooth Speaker, iOS/Android Controller Apps, Anti-Theft
                                         Alarm and Notification System, GPS Tracking. Can you please let us know the real status of these important features? Thanks."
                                         I know as a Beta tester I'm just evaluating for a final revision but these batteries were put to a real test last night and saved me a ton of head ache. I had to travel to a police department and two
 6415006      7/15/2016      12918366    fire houses to fix 30 computers in cars/rigs. I was dependent on my cell phone and laptop and had no access to a charger. I was able to spend more than 6 hours heavily using my equipment and
                                         keeping a full charge without thinking about it. There is an entire city thanking IBackPack right now.

 6418278      7/15/2016      10018814    During the meeting Shanze was showing off what is being called the "mama" battery but stating that probably would not be a good name for it going to market I would think something like
                                         Portable Master Charging Station, or Mobile Master Charging Station might be a good choices for the official name of the "mama" battery when you go to package it for market sales
                                         Shanze, the fact that the Wifi and anti-theft modules are "being tested" and that "nothing has changed" is worry some. Since the campaign has ended, there's been 100 updates about cables and
 6414955      7/15/2016      11875938    batteries and none about the Wifi and GPS tracking module. If the plan is to slap on some existing tech out there then please be honest about it and lmk what has been chosen. If you're
                                         developing your own tech (which I doubt) then you should show and demonstrate its progress and development.
 6417270      7/15/2016      11789260    So are you even going to beta test the 1.0 stuff? Since we will have already tested the 2.0 why not just make the 1.0 the same way?
                                         I've said for months now that this was a scam. The continued rash of comments and now seeing the results of the "beta testing" to find that nothing actually new has been produced but merely
                                         rebranded, I'm continued to be amazed at the brazen audacity of this company.
 6415143      7/15/2016      11079183
                                         @Julian Alexander (or anyone else): if you decide ever to file a class action, count me in. This mess is worse than Coolest Cooler. At least CC tried to deliver some final product at all. My money
                                         is gone, I'm sure. What a waste.
                                         @ Emmanuel Jucaban @ Shanze Gillani - For the record, I would just like to emphasize that I will certainly NOT BE HAPPY at having to wait anytime beyond 2016 and with that said, will not still
 6418584      7/15/2016      11615484
                                         be waiting for another year to see something materialize from
 6417718      7/15/2016      8007983     I can't emphasize it any clearer. Go to the GoTo Meetings if possible. It is invaluable information. Questions are encouraged!!!!!!!!
 6417421      7/15/2016      10019428    GOTOMEETING is acting weird - and not allowing people in - so we are on with GTM tech support and fixing issue - a new meeting will be started shortly and the number posted here.
 6418822      7/15/2016      11955673    Im with Craig, though i think the battery should be renamed the "20000mAh Super Power Bank"

                                         According the the Indiegogo stats, they have only sold a few hundred bags total. I'm sure there were a few more on Kickstarter ($76,000). At this point, couldn't everyone be a Beta Tester?
 6412019      7/14/2016      8260513
                                         Do we really think they are going to make a bunch of changes to the product for only a few hundred orders?
                                         To those that want their products already, please wait. I am a beta tester and have noticed some problems with some of the products. I'm sure if they were to send the backpack and items now,
 6413385      7/14/2016      12843051    that you guys will not be fully satisfied. It is good that they are really making us test the products before sending us an incomplete item. I don't mind waiting another year as long as the product I
                                         receive is worth the money I paid for. I ordered 2 backpacks both upgraded to 2.0 and other items as well.
                                         First off--I am a backer and have been for a long time. I have backed MANY projects on IGG too. This one is special as it represents multiple products in one project. I have seen the prototype
 6408142      7/14/2016      11766302    iBackPack in person and have been testing products for a while now. Here is my latest video on how I used them on vacation:
                                         https://www.facebook.com/iBackPackOfficial/videos/1135258479881444/
                                         So the decision was made that 2.0 upgrade is required to be a beta tester. However, those of use that pledged on kickstarter pledged the 2.0 bag. So, shouldn't we already qualify for the beta
 6409712      7/14/2016      6360482
                                         without upgrading on IGG?
 6411009      7/14/2016      8007983     David: From Shanze: Yes, that is completely true. If you have pledged for the 2.0 then we can add you as a part of our beta program instantly!
 6411029      7/14/2016      11756381    Can we please get an update on the status of the 1.0 bags? I get that development is s process, but this is more than a year of waiting
                                         If you have the time, please go to the GoTo Meetings (especially the Beta Testers) that Tracy Tran is putting on. YOU are welcome to put in your input. Tell her, and all of the attendees, what
 6409664      7/14/2016      8007983     works what does not work, your concerns. I am very happy that they hired Tracy! If you can not go to the Live meetings, send her emails@Tracy.Tran@ibackpack.mobi. She wants, and will hear
                                         your concerns, comments, questions.
 6410649      7/14/2016      8260513     Since I decided not to upgrade to 2.0, can I beta test the 1.0?
 6414036      7/14/2016      11953182    Thanks for the refund, Doug. And to think, all I needed to do was be honest. Too bad you only did it to keep me quiet. And no, you can't have your beta junk back.
                                         For clarification, will the iBackPack bag 1.0 be exactly the same as the 2.0 bag, just no 2.0 batteries/electronics? Basically, will the 1.0 bag be identical to the bag shown on the indiegogo
 6409626      7/14/2016      1566911
                                         iBackPack web site?
                                         I do get the frustration that there has been delays but make no mistake, this is for real. I have product in hand and see the care and attention to detail IBackPack put into this. Id rather wait for a
 6408488      7/14/2016      12918366    final version that is what we expect as backers than to settle for something now that could have problems. A lot of R & D is gong into this and I certainly support these folks no matter how long it
                                         is taking. They are simply trying for perfection and a real time frame cannot be out on that.

 6412135      7/14/2016      12862315    Is there anyway you can stop making updates and ship me what I payed for almost a year ago? I get that you want this to be the best backpack in the world but if you never stop updating this or
                                         that and never actually put the backpack together to sell, it won't ever be a backpack, it will just be a lot of cool gadgets and chargers and stuff like that. I payed for a backpack, will I ever get it?
 6411394      7/14/2016      6360482     @Shanze I've actually sent my info in a few times for beta, have yet to receive anything.
                                         I'm extremely happy with the batteries so far and don't see that changing. My job calls for me to carry multiple cell phones, laptops and tablets and be available 24 hours a day. With these
 6408421      7/14/2016      12918366    batteries I'm no longer coupled to having to stay close to an outlet, if I'm being honest iBackPack is providing a means for me to have some freedom to go places without worrying about how I'm
                                         going to charge something. This is an amazing concept and these guys are working very hard for perfection.
                                         Timeline of Delivery to Beta Testers Missing Mama Battery: I am actively having all beta testers missing their mama batteries to email me at tracy.tran@ibackpack.mobi ASAP. I will compile a
 6403966      7/13/2016       437720     master list and will announce in here when we are shipping those missing items. Remember to provide your full name, phone number, email, order number, address, and date ordered in an
                                         organized email with the title clearly stated and opening clearly stating the problem. This will greatly expedite solution!
                                         We are rigorously and actively streamlining my sales team NOW and soon you will see the light at the end of the tunnel! Yay!We will together trek through this journey of watching, witnessing,
 6403897      7/13/2016       437720     and participating in the steps for this innovative iBackpack to be built from the ground up.Feel the excitement and energy in my writing and when speaking to me live in meetings and understand
                                         my passion for this product.I want each and every one of you to feel the same passion that the iBackpack team does!
                                         Just wow. Post after post of useless information followed by "look at how great we are". To me, this smacks of trying to clear out the legitimate concerns people have posted with feel good crap
 6407715      7/13/2016      11395150
                                         from the campaigners. Seeing as few of these posts meets the 500 words cap, it appears that the number of posts was more important than the content.
                                         What is Beta Testing?: This stage is SUPER important and is a normal part of EVERY company. This is the last stage of testing, and normally involves sending the product to beta test sites
 6404135      7/13/2016       437720
                                         outside the company or real-world exposure. This data and feedback is collected and used for enhancing and fine tuning the final product.
                                         iBackpack referral link can be converted to QR code used to post and spread the word: 1) This is optional, 2) Go to IGG page and copy your personal ibackpack referral link, 3) Go to
 6404119      7/13/2016       437720     http://www.qr-code-generator.com/ 4) Paste the referral link in the â€œwebsite urlâ€ box, 5) Hit Create QR Code, 6) Hit â€œDownloadâ€ to get the QR code. Thatâ€™s all! 6) Use QR code
                                         PLUS the personal referral link BOTH when making posts or spreading the word!
                                         I have compiled below a list of some questions in an organized format that answers some of your concerns. Please take the time to read them straight down like a book and it will answer some of
 6404174      7/13/2016       437720
                                         your questions. Thank you in advance for reading and Enjoy!
                                         Another product I've found issues with the USB to Micro USB transfer light stick does not work at all, either as a light or to transfer data or to recharge one of the batteries. Last product Zipper
 6403695      7/13/2016      10018814    cables are not working right. First it appears that using the lightening connection it only sends half the power from the battery to the device the other half is wasted if you aren't using the Micro
                                         USB, second the tip of the lightening plug is breaking, it wiggles loose and appears ready to come off.
                                         Attention all people that send me emails to tracy.tran@ibackpack.mobi: Please always provide your full name, order number, phone number, and address so it expedites the processing of emails
 6403873      7/13/2016       437720     and in helping me to solve your problems in a timely and orderly fashion. Please try to title your subject to reflect the issue you want resolved and state it clearly in the opening of the email.
                                         Thank YOU all so much for supporting our campaign and for spreading our word of the iBackpack.
                                         How Do I become a BETA Tester: It's easy to become a Beta Tester. 1) Itâ€™s not too late, 2) Buy an iBackpack, 3) upgrade to 2.0 hardware. 4) Send an email to one of our team members or
 6404133      7/13/2016       437720
                                         use the IGG messaging system to let us know you upgraded to 2.0 and want to beta test. Email includes full name, address, phone number, order number.
                                         Hi I've been testing various products I was sent for Beta testing & I've had issues with three of the products, so far. A note about the credit card battery, and when trying to get out the lightening
 6403671      7/13/2016      10018814    adapter, you have to be careful because mine launched out of the battery and onto the floor, so I've learned to cup one hand under the battery to catch the adapter, last thing you want is it
                                         bouncing on to the floor on an airplane or on a bus.

 6404118      7/13/2016       437720     iBackPack T-shirt and Cap: 1) One of a Kind product created by Tracy Tran, 2) Priceless now but if you guys like it let us know on social media, on our FB page, and on IGG. The more we hear
                                         people rave about the T-shirt and Cap, the more it will be a possibility of working it into the campaign! Thank you guys for the compliments of my craft project. So bring on the comments!!
                                         Thank you for visiting this comments page on this fine Wednesday. I hope you all are having a great day in life and at work. We at the iBackpack team had a very productive day in training all
 6404176      7/13/2016       437720     day trying to get systems in place to streamline the sales process. The goal of setting up these Goto training LIVE sessions is a tool for us to provide effective and better customer service, to
                                         showcase the ibackpack bag, batteries, cords, and accessories and to answer your questions live!
                                         There is no problem too large to solve. Objections and problems are a part of sales, engineering, and the designing process. In addition to my 12+ years of sales experience, I have an
 6403942      7/13/2016       437720     engineering degree and have worked in the past on root cause identification and problem solving. We have a team of talented employees each with their own unique strengths. Each beta tester
                                         and person that gives us feedback and reviews also have their own strengths in their unique ways.We all learn from each other!
                                         We at iBackpack, will pledge to you to continue striving for better customer support and a streamlining of the sales process. Together we can do this! Now all BACKERS and the iBackpack are
 6404172      7/13/2016       437720
                                         ALL a team and we journey through this iBackpack adventure together! Thank you for allowing me the opportunity to be your VP of Sales.

 6404125      7/13/2016       437720     Stages left in iBackpack Production: 1) Finish Beta Stage of Batteries, Cords, Etc. 2) Identify Star handpicked people for bag beta. 3) Start Bag Beta, 4) Make sure Quality checks are all passed,
                                         5) Start mass production, 6) Deliver products in batches, 7) Receive product, 8) Continue using referral link to earn incentives (products and possibly money)! 9) Smile and Enjoy LIFE!!




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                              Project
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                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Thank you Doug for your continued passion, hard work, and dedication to this company and to the iBackpack! Thank you for your innovative ideas and your belief this your product and team.
 6404170      7/13/2016       437720     Doug has been working around the clock for us and literally has been overexerting beyond his health and sleep cycles. So remind Doug how great this product is and send him some thank you
                                         notes and make his day!
                                         Does the fan come with a 2 year warranty or lifetime warranty. It is confusing. 2 yr in a circle, and Lifetime below it. Remove the wording that the USB charging cables, can charge cameras,
 6403099      7/13/2016      8007983
                                         computers, and virtually anything.
                                         Hi Everyone! I hope you are having a great day. Our sales team is actively having a training day today on Goto Training and setting up separate accounts so that each sales member will be able
 6403741      7/13/2016       437720     to host their own Goto meetings to showcase products and answer questions live EVERYDAY all day long!This is our pledge to providing you with better customer service and interacting with all
                                         customers, because in a way, YOU are ALL part of this team. Keep the comments coming and remember to spread our word.

 6404126      7/13/2016       437720     Where is my iBackpack?: Number one question we get. When you pledged on IGG, you didnâ €™t buy a finished product but pledged to watch and witness an innovative product being built from
                                         the ground up. And in turn we pledge back to you our commitment and dedication to providing the best customer service and a product that you will be proud of owning and sharing.
                                         How do I become a BAG Beta Tester: 1) Buy an iBackpack, 2) upgraded to 2.0 hardware, 3) participated exceptionally WELL as a Beta Tester for Batteries, Cords, and Accessories. So in short,
 6404124      7/13/2016       437720     current Beta Battery Beta Testers Go out there and ROCK your reviews, pictures, posts, and videos and Prove to Me and the team that you stand out from the ordinary tester. Bag testers are
                                         limited and will be handpicked. Prove you are the BEST.
                                         What Stage is the iBackpack Production in?: We are currently in the Beta Testing Stage of the batteries, cords, and accessories. We are spending a great deal in this section since it composes
 6404138      7/13/2016       437720     of the important components of the iBackpack. Our utmost priority is SAFETY to you and want to ensure all products pass quality checks and the beta stage before proceeding to beta testing the
                                         bag.
                                         How do I use my referral link and where is it?: 1) This is a feature available to existing backers. 2) If you havenâ €™t pledged for iBackpack yet you can do that and will receive your own referral
 6404121      7/13/2016       437720
                                         link. 3) This is located on the IGG page as a paper clip symbol near the top of the campaign page.
                                         Attention Beta Testers Who are Missing the Mama battery: Please send send an email Now to tracy.tran@ibackpack.mobi (even if you have already mentioned it or wrote below) and I will
 6403784      7/13/2016       437720     compile a master list of those that need shipments of the mama battery. Everyone was not typically sent a wall charger because they are coming in the next shipments. Also, no one received
                                         luggage tags and KeyFOBs because there was a hiccup in the manufacturer and will be shipped with the iBackpack.
                                         Benefits of being a BETA Tester: 1) Your Role is SUPER important 2) Letting your voice get heard directly and providing us with valuable feedback. 3) Actively getting to participate in the
 6404128      7/13/2016       437720     iBackpack design process (good for resume), 4) Getting free beta products to test out and experiment with that you get to keep Forever! 5) Qualifying for promotions only Beta testers get. 6)
                                         Being proud that you helped the iBackpack team create an innovative product from the ground up!
                                         With the new Goto Live GotoTraining sessions that we are currently setting up, which will be held as a service for you everyday, we will be able to have the capability to record the webcam,
 6403732      7/13/2016       437720     screen, and audio. We would like to build a library of videos & FAQ's for everyone to easily see and use as a valuable reference. We are dedicated to bringing you the best customer service.
                                         Thank YOU to those that attended our first meeting yesterday.And I look forward to speaking to each one of my customers!
 6401434      7/13/2016      10958119    I love the T- shirt how much is it ?

 6404122      7/13/2016       437720     What do Beta Testers need to post: (Beta testers need to use the beta kit products and be the Experiment.) 1) Post Quality Video review of products, 2) Quality Product Pictures, 3) honest
                                         opinions, 4) Post to your FB and all social media, Youtube, forums, newspapers, etc, 5) Post to our FB page, 6) Include your personal referral link from IGG in every post for incentives.
                                         Attention Beta Testers Interested in Our July Promotion of Captain America or Iron Man Batteries in Exchange for QUALITY Video and picture reviews and feedback: Please send an email NOW
 6403864      7/13/2016       437720     to tracy.tran@ibackpack.mobi even if you have mentioned it or wrote below and state you want to participate in the beta testing of these CA/IM battery review and y our choice. Remember the
                                         July promotion is limited to the first 500 that respond. This includes beta testers so please be fast and send me emails now.
                                         If you have a chance after the other beta testing I've dome I would like to try testing more lightening products, I would like to test one of the lighted USB to Lightening cable, the USB to Micro USB
 6403705      7/13/2016      10018814
                                         lighted cable appears to work well enough but I would love to test the lighted lightening cable since that will get much heavier workout from me.
 6396822      7/12/2016      11926056    I got a call saying I would be part of the beta test but have not received the package yet. What is the ETA?
 6397132      7/12/2016       437720     Join us again LIVE right Now in an interactive Goto meeting: https://global.gotomeeting.com/join/933686245 to get all your questions answered
 6399627      7/12/2016      11955673    Can anyone who went to the meeting advise on timescales and milestones?
                                         Mama Battery: In order to get the maximum capacity out of it, I think you need to use two high capacity chargers. You wonâ €™t get the same result charging it with a standard charger or with
 6395159      7/12/2016      11940255    your laptopâ€™s USB. Personally, in order to avoid further production delays, I wouldnâ€™t lose time in increasing the number of charging inputs. I would leave them as it is, although the
                                         position of the two charging inputs is absurd (takes more space when you put it in the ibackpack with 7 cables plugged).
                                         Ibackpackâ€™s size: I feel better now that I have seen Shanze Gillaniâ€™s reply to Jerry Riechert. I was really worried when I saw on your Facebook page the enormous sample received by
                                         Spencer Stephens! It was probably the first prototype for which Doug was saying on December 23d 2015:
 6395140      7/12/2016      11940255
                                         â€œ this version of the bag is about 1.25% the size it should be - the 2nd version will be .75% of sameâ €. I am therefore looking forward to seeing something more recent and much thinner.
                                         Thanks.
                                         @ Tracy: Since you have a Mama Battery, could you please in your next Beta test, check the batteryâ€™s behavior (blinking leds during charging operations, batteryâ€™s temperature, voltage (if
 6395164      7/12/2016      11940255
                                         possible) when charging it : a) Through Input 1 , b) Through In
 6394106      7/12/2016      8007983     Make things easy. Ask what connector they want. If they want a lightning connector, then include one. If they want a USB-C connector then add that one to their package.
 6397216      7/12/2016      1607110     Love the shirt Tracy
 6396300      7/12/2016      11911623    For what I've ready paid you can bet that I want the promised electronics as well.
 6397142      7/12/2016      10958119    Hi there!! I have not received the mama battery please
                                         Can you please update us on the bag, no one cares about the useless batteries that are already available from other manufactures for cheap prices. We want the bag we paid for not pictures of
 6396155      7/12/2016       746254
                                         batteries we dont care about
                                         Hi everybody!

                                         We understand that everyone here has a lot of questions that they need to ask. Some people want to see what the bag and the beta kit both look like. So we have decided to put up a LIVE
 6395703      7/12/2016      11721820
                                         presentation for all of you guys. The time for this will be 3.30pm Texas Time (CT) TODAY. It will be conducted by Shanze Gillani, the Executive Assistant to the CEO. We reckon that the meeting
                                         should be about 40 mins but you guys can drop off whenever you feel like.
                                         Thank you!
                                         @ Tracy: I read your Newsletter. Thanks. These newsletters will give more space on the board to the backersâ€™ comments. One question: You write: â€œ...we successfully ensured the safety
 6395152      7/12/2016      11940255
                                         of the batteries so the Lithium-Ion batteries do not catch fire and
 6397208      7/12/2016      1607110
                                         I am an original Beta tester an would request a Captain America battery and never received the Mama Battery. Tracy requested I email in. I have a YouTube and iBackpack website video.
                                         There's a video of "the actual bag" on the FB page. It still looks pretty big although there's not a good view of the thickness of the bag. It seems it's approaching overhead bin size vs under the
                                         seat size. We need dimensions.

 6395550      7/12/2016      11911623    Agree that the thickness of Spencer Stephens' bag was ridiculous.

                                         I'd probably be OK with adding a micro to USB adapter to included cables. This works for charging/using most batteries, I think, but not the credit card battery since there's no place for said
                                         adapter.
 6395914      7/12/2016      8007983     Shanze, is this a GO To meeting, and how do we access it?
                                         The Beta stage for the batteries, cords and accessories has progressed very well. This has enabled us to discover potential problems and make minor adjustments to the products. During this
 6389334      7/11/2016       437720
                                         stage, we successfully ensured the safety of the batteries and switched from using Lithium-Ion to Polymer-Ion batteries so they do not catch fire and put lives at risk.
                                         Personally, Iâ€™ve always been a tech enthusiast and was looking for a solution to a problem of having to stay around WiFi and outlets. Life moves fast for a busy working mother of 4. I'm so
 6389285      7/11/2016       437720     happy to find the iBackpack because I can be a Powerhouse and WiFi hotspot for my kids/ friends. It has features like being bullet/weather proof, GPS, proximity alerts and being able to quickly
                                         charge multiple devices simultaneously. I was so excited, that I pledged for a 5 + 1 wifi and 2.0 upgrade myself!
 6391877      7/11/2016      11955673    I'll also keep quiet for a refund!!!!
                                         So please take the time to read through these special messages from me and be on the â€œsame pageâ€, understanding, and knowledge as our company. We always continue to appreciate
 6389383      7/11/2016       437720
                                         your patience and will continually keep you posted with updates and messages.
                                         @Jerry: Ask yourself one question... is it worth waiting through yet another round of beta testing for batteries and cables that support the new (and still a bit fringe) USB-C? Or would you rather
                                         receive something in this lifetime?
 6390734      7/11/2016      11953182
                                         No... I'm being dead
                                         OnTheMark, I wish I knew what you did. I'm ready for a refund as well. I'll gladly keep quiet about a refund if that's what it takes.
 6391729      7/11/2016      11911623
                                         I don't know their plans yet to support USB-C and they probably don't know yet, either. Including some A to C cables just means twice the number of cables I need to carry: one to charge the
                                         battery and one to charge my phone. And I don't know whether that will support USB-C fast charging.
                                         So please take the time to read through these special messages from me and be on the â€œsame pageâ€, understanding, and knowledge as our company. We always continue to appreciate
 6389271      7/11/2016       437720
                                         your patience and will continually keep you posted with updates and messages.
                                         Hello Everyone, this is Tracy Tran, Vice President of Sales for iBackpack and beta tester for iBackpack products. I have prepared this special newsletter below in the comments section and it
 6389407      7/11/2016       437720     reads straight down like a letter. Because each posting in the comments section of the IGG page is limited to only 500 characters I am faced with multiple listings. If anyone wants the full typed
                                         up newsletter in one document I can link to it as well. Thank you in advance for taking the time to read!
                                         Normally when responding to questions, I am faced with creating multiple postings to accommodate the many things that I have to say about iBackpack. What can I say about the iBackpack?
 6389394      7/11/2016       437720
                                         Lots of things. Why? Because I am passionate about the technology and product, not just because I work here.
                                         Is there a time table for beta testing any other components -- i.e., the GPS, speaker, Mifi and/or the bag itself? As I have pointed out before, these are things that can be done in parallel to save
 6388695      7/11/2016      11953182    time. And at the risk of playing the role of Capt. Obvious, this project could really use a turbo-boost -- and a basic acceptance of "best effort." In life, there IS no PERFECT; the iBackPack will be
                                         no exception. And for most of us, there's not much difference between "perfect" and "really good."
                                         who suggested that then? didnt read it in the comments. As a "valued customer" i suggest you sit down with douge and the team and give some time frame to delivery. it could be 6 months from
 6389623      7/11/2016      11864144    now i don't care. i and many others just want an eta. im really ashamed to be part of this campaign . i got others to purchase your product and fell i have let them down. from the start it has been
                                         false promises and out and out lies. igg customers wikl be looked after you said.....far from it!
                                         @ Eliot He didn't end up posting the link here. And FYI he didn't send it to me via email either so I guess we'll all have to wait until Wednesday. At least they took the critique though and Tracy
 6388251      7/11/2016      12851509
                                         gave us an actual notification as to the day this time
                                         @Jerry: It's a fair point to bring up, and I don't blame you for that. But I fear endless testing and refinement and no finished product. Their resources are limited, and the more time that passes,
 6390927      7/11/2016      11953182
                                         the thinner those resource get. At some point in a projec
                                         understand the concerns and the updates they are making, the effort of the team , why do you have to criticize them? If all you are doing is looking for a product, you could have gone to a
 6387575      7/11/2016      8066242     departmental store and put together everything iBackPack is offering into a bag and called it quits. But I am sure most of you , like me, want a product that is innovative, useful and great for tech
                                         guys. So, give them time, give them breathing space. They are working on the product and updating us constantly.




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                                         Morning iBackPack team - I would keep permanently quiet for a refund also, but, ideally I would like your Wifi iBackpack i contributed to in August 2015. I thought then as I feel now, that the
 6391951      7/11/2016      11615484    concept is great. I really don't care about all the additional dressing and multiple batteries,fan and lights, these were never why I wanted the Backpack in-fact were not even part of the campaign
                                         at that time; I still paid for the upgrade for things I didn't want, hoping this would speed things up!
                                         Tracy, what's with all the board spamming? Every time someone has something to say, you wipe it out with the same repeated messages. This is not in keeping with the spirit of discourse, such
 6389365      7/11/2016      11953182    as was the design of a dynamic public forum like this. I have been in vocal support of this project and the team for quite some time, but if you wish to keep my support and that of others like me,
                                         please take efforts to preserve its transparency and integrity. Do not become a part of the problem.
                                         Now that I'm seeing versions of the backpack, it is absolutely huge. I can't see how it would ever fit under an airline seat which is what I want / need. I can just see getting on a plane, it doesn't fit
                                         under the seat and the overheads are full. Can you say gate check all your electronics?
 6391734      7/11/2016      11911623
                                         What are the dimensions?
                                         Bruce, true but here's a list of more than twice as many USB-C phones. Plus the latest Macbook uses USB-C as well.

 6390303      7/11/2016      11911623    http://www.gizmotimes.com/lists/smartphones-with-usb-type-c-connectivity/6520

                                         My point is not, necessarily, an either/or situation. See where the market is going and respond accordingly.
                                         So be proud that because of YOU, it is possible to build this great innovative next generation iBackpack from the ground up. So this makes each of YOU special, and in a way, YOU are part of
 6389249      7/11/2016       437720     our team. Because together, we will start a revolution for an innovative portable technology of the iBackpack, so in the end, you can carry on and chase after the most important things in your
                                         life!
                                         Tracy, please address the following and post in the updates page for easy access (and not clutter the comments page):

                                         1. At what stage is the wifi tech? Will you have to go through 500 versions like the battery or do you already have one in mind? If so, please provide the make and model and specs.
 6391335      7/11/2016      11875938
                                         2. Ditto with the GPS/anti-theft. These are features you wanted as well but the team has been hush about it.

                                         3. I doubt the app is currently functional so what is the timeline for its release?
 6389368      7/11/2016       437720     Well now is the time to speak up and give us your feedback and ideas and we will try to incorporate them into the final design.
                                         In my opinion the key to this product is the backpack.

                                         Now you have the final battery product line you have the required dimensions, so now is the time to reallocate resources to the design and functionality of the bag, specifically how to keep the 20k
 6391199      7/11/2016      11955673
                                         battery and wifi etc in place, then cable routing etc etc...

                                         Looking at the bag prototype on Facebook, the interior needs significant work on it as it appears, on the inside, to be just loads of mesh with zipper pockets.
                                         Guys,
                                         How many of you pledged for products and how many of them delivered? Is it that difficult to understand that every product has a life cycle and it has to go through the cycle? I have pledged for
 6387557      7/11/2016      8066242
                                         over 40 projects combined on Kickstarter and Indiegogo. Some of them are back in 2014 and I have not even received a product yet. I have been in touch with Doug and the team and I have
                                         constantly kept myself updated with the updates they are making. If you cannot find time to attend a meeting and

 6389081      7/11/2016       437720     We are actively in the Beta testing stage for the batteries, cords, and accessories. We are still working on the intricacies of international shipping in conjunction with the beta testing. Then, we
                                         will have a small select group of beta testers that performed exceptionally well during their battery review to do a short bag review. Then, we will go into mass production and deliver products!
                                         You're considering double lightning or double micro zipper cables. Suggest considering double USB-C .

                                         Along with Qualcomm quick charge how about considering USB-C fast charging?
 6389985      7/11/2016      11911623
                                         Have you ever posted the dimensions of the ibackpack? Specifically a smaller 1.0 which I ordered. There's a FB post today of someone using a ibackpack that looks aboslutely huge, much larger
                                         than the renderings shown on this site. I want it to fit under an airplane seat.
                                         Jerry, not all cell phones use Qualcomm quick charge, here is the list of devices that do:
 6390079      7/11/2016      8007983
                                         https://www.qualcomm.com/documents/quick-charge-device-list
                                         @prateekreddy :: I think you should go back re-read the critiques more carefully.
 6388423      7/11/2016      10712598
                                         Quite Simply: 1.0 Wifi Backers have been asking for and not receiving status of that specific deliverable. Instead, seems the MO (method of operation) is to smoke scre
                                         When Doug puts his heart and passionate effort into something he believes in, he puts forth 100% of and more by working around the clock to help ensure that when you finally get the iBackpack
 6389380      7/11/2016       437720     in your hands, it would be everything you dreamed it to be and more. Thank you for taking the iBackpack journey with us and we will keep you posted with more updates and progress. As the
                                         sales team starts to get their Beta bags in, we will be posting a sneak peak at what the bag features would look like.
                                         Just sent a message back to Jean Lucero, telling her that someone needs to pay attention to the Chat Window during these GoTo meetings. Some of us do not have microphone capability for
 6388920      7/11/2016      6539297
                                         one reason or another, and iBackpack needs to ensure that those of us that cannot Voice our concerns do not get ignored or left out of the conversation. Peace.
 6389352      7/11/2016       437720     We apologize, but for Beta Testing packages, the id cards and tags were not sent yet due to a hiccup with the manufacture. These will be shipped out with the iBackpack.
                                         Please stay tuned for video reviews and Goto meetings from us, and letâ€™s continue trekking forward together in this journey to create an innovation one of a kind iBackpack! Donâ€™t hesitate
 6389375      7/11/2016       437720
                                         to contact any of us anytime and my email is tracy.tran@ibackpack.mobi. Thanks for reading!
                                         Once again... please provide some sort of road map with ETAs for the remaining milestones. That way, people won't default to the inevitable assumption that you guys are just flying by the seat of
                                         your pants. You're doing good work, but not making the most of it in terms of PR -- directly due to the lack of this very important info. Share with us your key target dates, and what you hope to
 6390755      7/11/2016      11953182    deliver by then. Frustrations will settle down with the knowledge of where we are.

                                         Just trying to help...
                                         Special Quote of the day for everyone: "In life, many things don't go according to plan. If you fall get back up. If you stumble regain your balance. Never give up." To our existing and new
 6389263      7/11/2016       437720     backers, the iBackpack team has pledged to never give up on this product or our customers. We have a team of dedicated individuals and an extremely hard-work CEO, Doug, who believes in
                                         this product, who works hard around the clock to bring you only the best!
                                         Beta testers were only shipped a small portion of batteries and accessories for real life testing and evaluation. However, this doesnâ€™t represent the full line of the final products that you will be
 6389349      7/11/2016       437720     receiving in the end. The USB-C type connection cables are in the works of the final product specifications and we might incorporate a double micro or double lightning zipper cable in the final
                                         design as well.
 6393061      7/11/2016      11955673    Are negative posts being deleted or hidden?
                                         Doug was talking about adding more micro USB input ports to recharge the battery faster. We also plan on incorporating Qualcommâ €™s 3.0 Quick Charge technology in the mama battery so
 6389363      7/11/2016       437720
                                         that devices would charge in say 20 minutes or so, instead of 90 minutes or more. That is an exciting change and I cannot wait to see the final battery!
                                         wow. tracy your filling up the comments section with all these statemenrs so people cant see the hundreds of negative comments. you could have used updates as ibackpack is familiar with
 6389509      7/11/2016      11864144    thoes as ive recivied hundreds. if your a thinking about buying one of these dont bother. pointless updates non commital in shipment dates, and beta the hell out of everything which is never going
                                         to give them that many insights due to the small scale. your logic astounds me. please do not reply tracy!
                                         So as you have pledged to foresee this product being built from the ground up, we will pledge to never give up on any of our customers. Each person who asks a question deserves an answer and
 6389258      7/11/2016       437720     that is our goal, is to provide that unique answer to YOU. In IGG when you pledge, you get to witness and see each stage of the company and how an innovative product is built from the ground
                                         up.
                                         Hello everyone: I have uploaded the newsletter to a shared google drive and you may view it here: https://drive.google.com/open?id=0Bwa-dSjTnJQATHZwNHo1VHpnUzg . Thanks in advance
 6389461      7/11/2016       437720     for reading and we look forward to answering your questions in the upcoming Goto meetings. We might need multiple meeting to accommodate everyone's needs. Please be a lookout for more
                                         communication from the iBackpack team -- Tracy Tran (VP Sales iBackpack and Beta tester)
                                         I have seen projects which have promised and not delivered. These guys are trying their best to fulfill their promises and make sure all the backers are happy. Its just not a battery with a
 6387589      7/11/2016      8066242
                                         backpack. Its about the integration of all the promised products and how well they can be fit into the backpack without causing a mess in the backpack.
                                         After the beta stage for the batteries/accessories, we will go into the Beta testing of the bag next. Then we will go into mass manufacturing and then ship out iBackpacks to all our customers very
 6389370      7/11/2016       437720     soon. So now is the time period to make suggestions to us as we are listening and incorporating changes now! Havenâ€™t you ever bought a product and thought to yourself, â€œI wished this
                                         had this feature?â€
                                         We want you to read every single one of these comments including the negative ones and our response to them. We are preparing an FAQ document like someone suggested and are listening
 6389544      7/11/2016       437720     and responding to concerns. Whether negative or positive comments we welcome your opinion. Someone requested that I post more information so that is what I'm doing. Please, I welcome
                                         anyone and everyone to read all and email me at tracy.tran@ibackpack.mobi or any other team member if you have any other concerns.
 6390830      7/11/2016      11911623    OnTheMark, I thought about that as I was typing. Having a type C helps me, especially if it support fast charging. QC fast charging or lightning doesn't help me at all.
                                         Normally when responding to questions, I am faced with creating multiple postings to accommodate the many things that I have to say about iBackpack. What can I say about the iBackpack?
 6389294      7/11/2016       437720
                                         Lots of things. Why? Because I am passionate about the technology and product, not just because I work here.
                                         We are currently in the Beta testing stage and the data, pictures, videos, and feedback we received have been phenomenal. With this feedback, we were able to fine tune and enhance the
 6389361      7/11/2016       437720     product and uncover problems and errors that have been fixed or will be fixed. Beta products were sent to testers to evaluate, give feedback and critique our products in a real world situation. The
                                         purpose is to use this data to fine tune and enhance the final product.
                                         I agree with the sentiment. All the flair just detracts from the backpack itself. I grew up in Hong Kong (actually visiting there now) and I visit Shenzhen often. All the additional dressing shown
 6392868      7/11/2016      11875938    here appear as rebranded versions of what I've seen. Hence, I don't care much for the lights, fans, cables, and batteries. The web meeting I attended before was a show and tell of these items. I
                                         want to know more about wifi and tracking. Please provide a timeline and demonstration of these tech.
                                         As beta data comes in and things are changed and enhanced, beta testers may receive additional products to test, evaluate and provide additional feedback. We will definitely keep you posted.
 6389332      7/11/2016       437720
                                         Thank you so much to our beta testers for the valuable videos, pictures, and feedback that we have received. We couldnâ€™t do this without you!
                                         We are not only doing one thing at a time; we are definitely multitasking several components at once, but some processes are transparent to you and some are not. The number one question
 6389083      7/11/2016       437720     that we want answered -- timeline of delivery. We want to ultimately pinpoint a rough estimate of time so that we know when to expect our products. We will communicate information to all
                                         backers immediate as soon as information is confirmed and made available to us.
                                         These ideas, changes, and suggestions are all being discussed actively in our team and that is why we are in the beta testing stage so that we can optimize the best solution for the final product.
 6389344      7/11/2016       437720     This beta testing stage is crucial and critical to creating a successful product that is error-free and problem free. This stage is a part of all companies and now you get to witness and participate in
                                         this very important process!
                                         This campaign has become so convoluted that's I'm not sure what I'll end up with. I've received my beta box which I'm beginning to think is a way to get items into our hands and then we will have
 6390517      7/11/2016      6726573     to configure the bag, if and when it arrives. I'm still disappointed in the lack of lightning adapters. Funny how my picture of the fan, which appears to be upside down, never made the share. It
                                         does keep my feet cool when plugged into my laptop. It's time for an eta on the finished product.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         We are currently in the Beta testing stage and the data, pictures, videos, and feedback we received have been phenomenal. With this feedback, we were able to fine tune and enhance the
 6389124      7/11/2016       437720     product and uncover problems and errors that have been fixed or will be fixed. Things ARE being tested parallel behind the scenes. You Only see a portion of what beta testers do but this
                                         process is complicated and we pull in the necessary beta testers and internal testers when needed.
                                         Colin makes really good points to, I too am curious about the anti-theft features. What happened there? Is it a proximity alarm? Or self activated? How long will its battery last? Will it have it's
                                         own speaker? Has any work started for it's accompanied app if there is one?
 6385478      7/10/2016      8960136
                                         Sorry the indiegogo app isn't letting me post in the comments here
                                         I also signed on to be a beta tester early on. I gave out my number so the team can call and "verify" my info but it was more like a sales call to get me to upgrade. I was told I was good to go and
 6384547      7/10/2016      11875938    all set with the beta program but now it's changed to 2.0 upgrade is required to be a beta-tester? So I have to buy into the testing program? I declined the upgrade because I'm not convinced that
                                         the tech I'm interested in (Wifi, alarm, gps) will be up to par as there has been no detailed info.
                                         And.....once again a new carrot dangled in front of new backers while old backers are still left wondering "where's my backpack?" Or "where's the beta I was told I was part of?" Or "where the hell
 6386249      7/10/2016      11395150
                                         is the phone call I have been promised and at one point even threatened with by Doug himself?"
                                         A meeting isn't necessary as my questions could and quite possibly are the questions others have. Make a web page of simple question and answer format that can quickly be ctrl+f searched.
 6385422      7/10/2016      8960136     That way repeat questions can be linked to the answer quickly. For instance when people didn't know the difference between ibackpack 1.0/2.0 this would be a quick and simple way to answer.
                                         Finally can I just get an answer here; When can we expect this beta testing done? And when would we get the final product?
                                         Personally I'm just going to use my Chargetech portable outlet or my Anker E7 and call it a day. I just want a durable backpack with a built in wifi hotspot and an alarm/tracking system in case it
 6385453      7/10/2016      11875938    gets stolen in a crowded place. If it's taking 6 months for you to finalize what battery and cables to provide, I'm questioning how the rest of the tech will come along. Are they already set or still in
                                         alpha stage (ie the tracking app development)? Please provide detailed updates and descriptions.
                                         I fully agree with Colin Wu and Thomas Smith. Please reply to my last week's message: " I am pleased to see that your Betatesters are happy with the components that they have received. But,
 6385987      7/10/2016      11940255    personally, I pledged in august 2015 for two Wi-Fi 1.0 ibackpacks because I was interested in Wi-Fi/ MiFi, Bluetooth Speaker, iOS/Android Controller Apps, Anti-Theft Alarm and Notification
                                         System, GPS Tracking. Can you please let us know the real status of these important features? Thanks."
                                         Can I get a time frame of when this will be shipped? I mean yes you got a beta test going great, you want to give us the best product awesome but its a freaking battery, look at the specs, wear it
 6382914      7/10/2016      8960136     around and be done with it. Post total weights, ask us which is ok and how much it'll all weigh with other things in the end and stop dragging this on please. I've NEVER got 162 updates on a
                                         project it's getting out of hand you already got so many products pick one and stop jerking us around
                                         One reason why we are holding a live Goto meeting is to answer questions, show off the beta bag, give you progress updates, get you to understand the journey you have pledged as a backer,
 6385105      7/10/2016       437720     and more. When you pledge in IGG, you witness and may actively participate in steps/design that a company goes through from the ground up. The iBackpack is a complicated and innovative
                                         product with MANY different components and parts. Each component has to be fully tested before we release the final product.
                                         Replace the lightning adapter with a micro to C adapter to the credit card battery would solve the problem there. Adding storage for an a C adapter to the other batteries might be a possible
 6383946      7/10/2016      11911623
                                         solution.
                                         The team is working hard, I just want more concrete info in the updates. 100 pics of batteries is not useful. There are different versions/sizes, great. What about the rest of the tech (wifi,
 6385425      7/10/2016      11875938    antitheft, etc)? What stage are they in? What is your timeline? These things are useful to provide in EACH update instead of spamming pics. I'm not the only one who wants updates on these
                                         features. You defer to meetings and "email XYZ" but two of those reps I contacted no longer work for you.
                                         Comment about a USB-C lipstick battery (for example). If you don't make a lipstick battery with a USB-C connector, you'll have to include a micro cable and a C cable. This means 2 cables to
 6383937      7/10/2016      11911623    keep track of, transport, etc: one to charge device and one to charge battery. Changing the C cable to a micro to C adapter makes for a smaller package but the adapter by itself is more easily
                                         misplaced. Not sure the answer to this.
 6384470      7/10/2016      8251331
                                         I got the beta call and was told my beta kit would be sent out in a week. it's not only been several weeks but the backpack itself doesn't seem any closer to production.what is going on?
                                         How do we know that the credit card battery and the lipstick batter are fully charged? The Mama battery has 4 small almost invisible indicators, when tha battery is charges. How do we charge the
 6383742      7/10/2016      8007983
                                         Mama battery? We have to kwwp it plugged into the computer for 7 hours?
                                         Same as several other people, I cannot attend your Go-To meetings. But, following Doug's post several weeks ago, I expected to be able to view these meetings on line but I might have missed
 6386033      7/10/2016      11940255    something. This is Dougâ€™s message: â€œHi Hao - I recorded a presentation done several days ago that lasted 90 minutes. I will find that link and post to the post updates section in just a
                                         minute." Can you please let us have these links?
                                         I supported the IGG campaign early on because I find the WiFi and alarm features unique. I've been bombarded by batteries and cables related updates for a year and no updates pertain to the
 6384521      7/10/2016      11875938    wifi module or the anti-theft system. Is the tech already set? If so, then demonstrate it. Or will you need to go through another year of updates to refine those features in a 3.0 pack. Every time I
                                         post I was asked to contact a rep. Neither Shelline nor Renae has replied to me so I'm asking again...
                                         You keep on relying on these meetings but I work 12 hours, I can't attend any. You're quite simply excluding those who don't attend so start answering these questions here. Start posting the
 6384862      7/10/2016      8960136     answers to each question somewhere, keep track of them, make the answers public, documented and updated. It's great you want to give us the best but someone well versed in tech can tell you
                                         what that is and a poll on which items we want in this will give you our collective answer. Also why aren't there polls
                                         Can you at the very least give a very rough estimate of completion? I think any honest date at this point would speak tremendously! Even if it's two years from now. I don't think many would like
 6378548       7/9/2016      11789260
                                         that number, but at least we wouldn't hear soon and not see anything for months!

 6378482       7/9/2016      10529360    I am kind of disappointed, I wrote to be a beta tester, I told the person who called, I wanted to be a beta tester, I sent suggestions and appraisals of the original project. I have supported this from
                                         the beginning. I bought 2 for 1 on Kickstarter to support a project I believed in........ Nothing no beta testing, no information on either Indiegogo or Kickstarter. Very disappointed
 6378617       7/9/2016      11911623    FYI, I posted all my reviews on Facebook.
                                         We are in the beta testing stage and use this data to fine tune the final product. We apologize, but for Beta Testing packages, the id cards and tags were not sent yet due to a hiccup with the
 6379296       7/9/2016       437720     manufacture, and will be shipped out with the ibackpack. Beta testers were only shipped a small portion of batteries and accessories for real life testing and evaluation. This doesn't represent
                                         the full line of the final products that you will be receiving in the end.
                                         As beta data comes in and things are changed and enhanced, beta testers may receive additional products to test, evaluate and provide additional feedback. We will keep you posted. Thank you
 6379315       7/9/2016       437720     so much to our beta testers for the valuable videos, pictures, and feedback that we have received. One benefit is that this data has enabled us to make a decision to add the Qualcomm 3.0 Quick
                                         Charge technology to all ports of our products including the 20,000 mAh mama battery, car charger, and wall charger.
                                         For new potential buyers:don't be left behind, join me in a new revolution of a next generation ibackpack and discover how you can spend more time chasing the important things in life rather than
 6379490       7/9/2016       437720     slowing down and molding to an outlet or a WiFi hotspot in a cafe or store. Please don't hesitate to contact me for any questions or concerns. I will look forward to showing off this awesome
                                         product, the features, and answer your questions live in an upcoming public live Goto meeting for all to attend!
                                         Your campaign is a joke! I signed up for the beta. Still havent received anything. All i want is the bag. there are far better batteries and portable power supplies on the market and on here which
 6377536       7/9/2016      11864144    actually take full plugs. they havent been in production for a year and "beta" tested the life out of. still no word on the WiFi which would have made the product slighty unique. And how could you
                                         not have finished the bag design yet? absolute joke. like most written this campaign off. pure scam
                                         i contacted indiegogo also to express my concerns about how this campaign is going. indiegogo is "reviewing" this campaign. remember strength is in numbers. voice your concerns if you have
 6378966       7/9/2016      12793462
                                         any.
                                         Personally, I've always been a technology enthusiast and was looking for a solution to a problem of having to stay around wifi and an outlet. Life moves fast for a busy working mother of 4. I was
 6379496       7/9/2016       437720     so happy to find ibackpack because I can be a Powerhouse and WiFi hotspot for my kids and friends.Plus, it has features like bullet/weather proof, GPS, proximity alerts and being able to quickly
                                         charge multiple devices simultaneously. I was so excited, I pledged for a 5 in 1 wifi and 2.0 upgrade myself!
                                         When you pledge for any product on Indiegogo you get to witness every stage of the company and get to see how a product is built from the ground up. Thanks to all existing and potential
 6379381       7/9/2016       437720     backers for supporting ibackpack. Beta tester and backers YOU are a part of this team to help us build this innovative one of a kind next generation backpack from the ground up. Together we
                                         create a powerful, innovative final ibackpack that you will not only be proud of owning, but be proud of sharing!
                                         The Beta stage for the batteries, cords and accessories has progressed very well. This has enabled us to discover potential problems and make minor adjustments to the products. During this
 6379357       7/9/2016       437720     stage, we successfully ensured the safety of the batteries so the Lithium-Ion batteries do not catch fire and put lives at risk. After batteries/accessories, we will go into the Beta testing of the bag
                                         next. Then we will go into mass manufacturing and then ship out ibackpacks to all our customers very soon.
                                         Haven't received and actual adapter to charge any of the electronics with my shipment.
 6380022       7/9/2016      2604764     Will have to find something to charge to test the batteries since my phone uses USB-C type cables. And received extras of a few items in the shipment. Will be testing the batteries as a
                                         replacement for my main portable battery during the next few days,
 6380706       7/9/2016      11615484    @ Tracy Tran - Love the way you have bumped all the negative comments down the list and off the opening page by putting on multiple comments on at the same time <3 <3 :)
 6377341       7/9/2016      11911623    I remember when last March was a delivery date. I've already gone on several trips that I had hoped to use my iBackpack.
                                         I'm amused that a number of beta testers have posted pictures of the beta packages they've received showing multiples of several of the items (LED lights, zipper cables, fans, etc). Heck, I
                                         received 2 zipper cables and don't own an Apple product that I could use it.
 6377421       7/9/2016      11911623
                                         Seems like spreading them out over more testers would make more sense.
                                         As for refunds, I dispusted the charge with my bank and they reversed it, but as IndieGogo acts as broker between Contributors and Campaigners, they're stance is they've delivered their part of
                                         the arrangement, so the charge was restored on my card.
 6371458       7/8/2016      10712598
                                         Essentially, this campaign has already been delivered their cut of the contributions, and Indiegogo is not an arbitrator in this mess.
 6374084       7/8/2016      11395150    This is the coolest cooler of backpacks!
                                         This is starting to sound like a, look like a and smell like a steaming pile of scamâ €¦
                                         I unsubscribed from their updates a while back after several unanswered emails asking about real, simple, clear status updates (the ones they were sending out were chock-full of useless info, in
 6371067       7/8/2016      11919908
                                         my opinion, and not enough "here's what you'll receive and whenâ€¦â€).
                                         It wasnâ€™t until I realized that I actually paid for my bag that I felt marginalized as a customer. Thus the rant.
 6374210       7/8/2016      8007983     Hope I get the backpack before October
 6373495       7/8/2016      8007983     The things that are mentioned in the 2.0 upgrade, were NOT all delivered. the bluetooth headphones lamp battery, please advise
                                         @Jonathan Waygood: what's your dishonest opinion then? Bruce paid $100 for a false upgrade, and is still lacking the full package, yet you're an apologist for this "campaign".
 6375201       7/8/2016      10712598
                                         Do you work for iBackPack or have some inside scoop, maybe just an optimis
 6376168       7/8/2016      8007983
                                         If I didn't want to be a beta tester......and didn't believe in the product, I would have waited patiently like the other contributors. Jim, I get good response from: nori.hernandez@ibackpack.mobi
 6373104       7/8/2016      11911623    I noticed there is no refund button on the order status page. :(




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                            Commenter
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                                         Good to see the consensus coming to terms of the fiasco.

                                         I filed a complaint with IndieGogo 10 days ago and their watching this campaign, I suggest others follow up, as many of us signed up for a 1.0 backpack, keep asking for and not getting updates
 6371412       7/8/2016      10712598
                                         https://support.indiegogo.com/hc/en-us/requests/new

                                         Per the terms: Disputes between Campaign Owners and Contributors :: Campaign Owners are legally bound to perform on any promise and/or commitment to Contributors (including delivering
                                         any Perks).
                                         @Bruce....

 6374285       7/8/2016      11955673    IMHO - upgrading to 2.0 i imagine only allows you to be part of the beta 'testing' marketing campaign.

                                         The couple of fans, a few cables and a torch you've upgraded to, I again imagine, will be delivered sometime in the future.
 6370557       7/8/2016      12011874    I would like to cancel my order of the 1.0 I got here. How do I do so?
                                         @Jim...... An optimist and most definitely not an employee, affiliate, associate or an apologist.

 6375361       7/8/2016      11955673    Just a deeply concerned contributor.

                                         Ps i always though the H in IMHO meant 'humble' so cheers for putting me straight!
                                         I've really had enough of all this bull and am seriously considering taking action against you. I've been led by then boss, upgraded. Paid for extras. Had shipping dates moved. Endless testing of
 6369230       7/7/2016      7774429     basic items like batteries and cables?? Seriously?? What about the backpack itself?
                                         Someone should contact me. I have had enough and will consider a class action otherwise. Enough.
 6369820       7/7/2016      11395150    Good luck even getting a reply Julian. For all the rhetoric about email us blah blah they never reply.
                                         Ran across the below as an example of how a laptop could be charged/powered by the iBackpack.
 6365379       7/7/2016      11911623
                                         https://www.indiegogo.com/projects/the-lightest-smallest-portable-wall-outlet--2#/
 6365373       7/7/2016      11911623    Definitely need more accommodation for users with USB-C devices or combinations of micro- USB and USB-C.
                                         Seriously considering this must be a rip off.
 6367796       7/7/2016      11919908    It's been nearly a year since I spent $214 to get one of these "revolutionary bags".
                                         If I don't hear from them before the year is up, I'm going on a spampage...
                                         Rubber zipper pullers: It may be nice not to burn your fingers when temperature is high, but, as I asked several times without getting a reply, please use pullers with a lateral ring in which you can
 6358181       7/6/2016      11940255
                                         use a padlock. Otherwise two large pockets out of three in the bag will not be protected against thefts in crowdy places (e.g. Subways).
                                         Received a box of schwag today, though not sure why. We did have a good laugh at going over the inventory, like I WON at a parking lot carnival.

                                         https://goo.gl/photos/1GSQY5zFbxuZS9Hy8

 6359942       7/6/2016      10712598    I'm a 1.0 Wifi backer (Aug 2015). That's all I wanted, though now not interested in receiving anything from this campaign. It's got tainted mojo.

                                         3-in-1 Lightening/Micro/Led cables is not $75 value; here for $6.50 :: https://amzn.com/B014PAYD5S

                                         I consider my pledge a donation to the snake-oil cause.
                                         Morning iBackPack team - I have noted on various forums and comments from IGG and KickStarter Backers concerns about this campaign. Its seems that there is a growing opinion that this
 6362070       7/6/2016      11615484    Campaign is going to be dragged out until it reaches 1 Million US Dollars. Doug has himself stated that he needs this before Walmart will consider placing the IBackPack in their Stores. Please
                                         can you confirm if this is true, as currently you are only just above half of this target after nearly 12 months?
                                         I'm looking for more Beta testers to join our team to have their voice heard, to directly influence the fine tuning of iBackpack, to earn free product, and to have money earning opportunities in a
 6358623       7/6/2016       437720     tiered reward program that I'm currently creating. I highly encourage everyone to upgrade to the benefits of the 2.0 hardware at a significant discount now. If you've upgraded to 2.0 and want to
                                         be on our team as a beta tester, please let us know and I'll have your Beta package processed and shipped.
 6362311       7/6/2016      11776802    I signed up as beta tester nothing yet so far. But that could be that I live in the Netherlands.

 6358176       7/6/2016      11940255    In what position do you intend to place the two â€œMama Batteryâ€™sâ€ charging inputs in order to charge the battery while it is in the bag? I suppose on the 4 USB Hub. Is it correct? have you
                                         considered my suggestion to place the 4USB Hub vertically instead of horizontally in order to reduce the side size of the bag? What about the wiring diagram mentioned some time ago?
                                         So let's talk turkey: how far from completion of 1.0 are you? I have no interest in throwing more money into this "business" for 2.0 and I don't want more double talk about beta testing and how
 6362812       7/6/2016      11395150    this will be "the best product on the market". Like so many KS and IGG projects they take so damned long to hit the market a bigger more successful company is already producing the items and
                                         will be well into V2 & 3 before yours is in hand. So - how long until we have SOMETHING?
                                         Hey team, how goes the beta? Have you been receiving good data on how the batteries/cables are performing? I think you have detailed reviews on everything I received. Let me know if I left
                                         anything out.
 6361599       7/6/2016      11953182
                                         Btw, are you also planning to beta test the "mama" batteries? I received and tested the older type 20k battery -- which as I reported, did not seem to approach its stated capacity. Wondering if
                                         other testers experienced the same as I did, or if the "mama" battery is any better.
                                         Can anyone tell me what the Amperage is for the car charger please?
 6361456       7/6/2016      11955673
                                         Ta
 6358379       7/6/2016      8007983     Is my shipment being prepared?
                                         Due to its heavy weight, â€œMama batteryâ€ will need a central dedicated pocket in the bag, but please make it easily accessible in order to be able to switch it On or Off and to disconnect some
 6358170       7/6/2016      11940255    or all the 7 cables (5 output and 2 input) if necessary. Please confirm, as already suggested by OntheMark, that it will be possible to always check its status trough the app. If impossible, then we
                                         will need this indispensable info through a separate display in the bag.
 6363641       7/6/2016      11856862    I got some stuff as a part of the BETA program, but I'm having some concerns about the products. Should I post them here, or would an email to someone in the team be preferred?
                                         We are currently in the Beta Testing stage for the batteries and cords. The progress is going well, Feedback and data has allowed us to enhance and fine tune those products. The next step will
 6358352       7/6/2016       437720     be to do the beta testing on the bag itself. In this test, we will be fine tuning the layout of the bag components and the fine details like zippers, cable holes, where the batteries actually go, guides,
                                         etc. Being an IGG backer allows you to witness every stage of a product being made from the ground up!
                                         I am pleased to see that your Betatesters are happy with the components that they have received. But, personally, I pledged in august 2015 for two Wi-Fi 1.0 ibackpacks because I was interested
 6358166       7/6/2016      11940255    in Wi-Fi/ MiFi, Bluetooth Speaker, iOS/Android Controller Apps, Anti-Theft Alarm and Notification System, GPS Tracking. Can you please let us know the real status of these important features?
                                         Thanks.
                                         I signed up as beta tester nothing yet so far. But that could be that I live in the UK.
 6362431       7/6/2016      13117616
                                         Even then... Yes or No would've helped.
                                         Here is another thank you to all existing and potential contributors. Our team is working hard around the clock to fine tune this product for you. Beta packages are actively being shipped out
 6353228       7/5/2016       437720     again after the Holiday weekend. If placing a new order or upgrading to 2.0 hardware, please be sure to include your telephone number and ensure that your shipping address is correct. If you
                                         have not provided an updated phone number, a representative will be sending you an email for your prompt response.
                                         Jerry, but you have to make sure that the external 120v charger has the correct wattage allowable. I have a Sherpa 50 USB/120v inverter that is rechargeable by solar power, but it won't handle
 6351077       7/5/2016      8007983
                                         MacBook Pro. It is rated for 75w, and the MacBook Pro is 100w.

                                         Another option is to have a battery with an additional DC output that can be used for a laptop. Several examples:
 6350596       7/5/2016      11911623
                                         https://smile.amazon.com/45000mAh-Multi-Voltage-Portable-External-Notebooks/dp/B00VT13SDK/ref=sr_1_30?ie=UTF8&qid=1467736726&sr=8-30&keywords=anker+portable+charger+laptop

                                         https://smile.amazon.com/Intocircuit-Monster-32000mAh-Portable-Charger/dp/B011BGPUSI/ref=sr_1_3?ie=UTF8&qid=1467736798&sr=8-3&keywords=anker+laptop+charger
 6352317       7/5/2016      8260513     So, if we haven't upgraded to the 2.0 (and have no intention to upgrade), why can't you send out the 1.0 now? If you aren't going to Beta test the 1.0, send it out.
                                         Nori:

 6353251       7/5/2016      8007983     Bruce Lim
                                         6234 Arcadia St
                                         Eastvale, CA 92880
                                         For those who wonder when they are going to get their bag, be thankful that Doug, Tracy, Nori, Emma and the other awesome people on staff are beta testing the product. I ordered a previous
 6350042       7/5/2016      8007983
                                         product on Indiegogo. I never knew when they were going to deliver the product, they never beta tested the product.
                                         This product will be powerful and exciting and I highly encourage all of you to upgrade to the 2.0 hardware at a significant discount, if you havenâ €™t already. I can't send any more money for a
 6353635       7/5/2016      5111890
                                         project with no "estimated" delivery date. I have asked the quetion " is there a delivery estimate. It is a yes or no answer.
                                         This product will be powerful and exciting and I highly encourage all of you to upgrade to the 2.0 hardware at a significant discount, if you haven't already. Plus if you upgrade to 2.0 and want to
 6351907       7/5/2016       437720     be a Beta tester, just send us a message and I'll work on getting you into the Beta testing program. Beta Testers: Thank you! Your job and feedback is very important to us so don't take your role
                                         lightly. If you have any more ideas, enhancements, bugs to troubleshoot, this is the time to speak up!
                                         As part of my strategic sales plan, I'm in the process of streamlining the sales process, and streamlining the effectiveness of communication of our team members internally, and with customers
 6352030       7/5/2016       437720     just like you. I'm in the process of implementing ideas for a tiered referral rewards program that will enable customers an opportunity to earn free product and/or money. I'll be releasing a update
                                         soon that will showcase more details of this exciting plan and possible addition to our campaign.
 6353641       7/5/2016      5111890     After the parts beta finishes... Does the bag beta begin?
                                         I gave up following the emails and updates, to me, it was a big mess and no one answered my questions. I want to know what this upgrading to 2.0 is, and how can i do it? Because i cant do it
 6353935       7/5/2016      11940851
                                         from indigogo with it saying my order is locked in.
                                         So I will be personally sending a thank you note from me to every one of you. When you receive my personal thank you message, please write back and update us with your phone number so
 6351846       7/5/2016       437720     that one of our representatives will be in touch with you to verify shipping address and confirm order details. Remember we are in Beta testing and are actively using this data to fine tune and
                                         enhance the product. Don't hesitate to ask questions or give suggestions. We are actively listening and responding!




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                            Commenter
Comment ID   Created Date
                            Account ID
                                         Thank you Jerry Riechert and Bruce Lim for the suggestions. I'll meet with Doug to discuss these ideas and see if these are possible in our design. That's why we are in the Beta testing stage so
 6351611       7/5/2016       437720
                                         that we can modify, enhance, and perfect our design based on data, results, and feedback that we get.
                                         For each and every one of our backers, this message is for you: be proud that you have contributed to designing a one of a kind innovative product from the ground up that surpasses all of Doug's
 6351697       7/5/2016       437720     initial expectations. This could not be possible without valuable customers like you! When Doug puts his mind and heart into designing a product, he puts 100% and more of his effort in creating
                                         a superb product that you will not only be proud of owning, but also be proud of sharing with others!
                                         I understand that most laptops aren't chargeable over USB. What I was looking for is a way to use the USB output of the battery to supply the DC voltage needed to charge the laptop via whatever
 6350594       7/5/2016      11911623
                                         connector the laptop uses. I've looked but haven't found such an item.
 6354538       7/5/2016      11201672    Hi, when can I get my tracking number?
 6343954       7/4/2016      8007983     Tracy, so I am on the shipment list for the Beta program. Any ETA when i will receive my stuff?
 6347578       7/4/2016      8007983     You can't Jerry, most laptops aren't USB chargeable.
 6345851       7/4/2016      11911623    Is anyone going to try and charge a small laptop, Chromebook, etc. that uses an AC charger? If so, how?
 6342647       7/3/2016      5111890     Any estimated date on the delivery? I am not 2.0. Thank you
                                         Just for clarification, when did the Ibackpack team decide that to be a beta tester, you had to upgrade to 2.0?
 6334074       7/2/2016      8007983
                                         When Doug first asked for beta testers, there was no mention of the upgrade. I'm not upset, just wondering who made that decision, without the consensus of the backers.
                                         Bruce you are in the shipment list for the Beta program. Thank you in advance for your contribution and help. We look forward to your quality videos, pictures and feedback. Because of this
 6335164       7/2/2016       437720     valuable data , Doug and the team are able to enhance and fine tune the final product. Look forward to some new exciting enhancements and surprises that I'll announce in an update in the near
                                         future.
 6333286       7/1/2016      12168317    Hi I want to know when can we receive the stuff?
 6331951       7/1/2016      10994381    Really stoked. Just got some Beta test items in from iBackPack and can't wait to start testing them. More to come!
                                         We have someone currently working on the server for the https//ibackpack.co/ site now. Beta testers please continue to do video reviews of your products with your honest opinions and post
 6330299       7/1/2016       437720     them on Our iBackPack FB and Your FB in the meantime. The more detailed and effort you put into the videos, reviews, and pictures, the more valuable the information is to us. Thank you in
                                         advance for this valuable work. Remember to spread the word about the iBackPack and use your referral link for credit!
                                         If you feel that your idea is lost in the many comments please feel free to send me, Doug, or any one of the campaign members a direct message via the IGG system. We will do our best to
 6326848      6/30/2016       437720
                                         answer your questions for you.
                                         The strange thing about these batteries is how some (most) of them actually deliver power that is at least on the order of their labeled capacity -- and yet a couple of others do not. I tested all of
                                         them using similar methods of charging and then discharging, leading me to what I consider to be an objective conclusion.
 6326661      6/30/2016      11953182
                                         Working on figuring out how to do a reasonably good video review... ;)
 6326815      6/30/2016      11953182    Good suggestion, JW. I'm not very experienced with a volt meter, but I do have one and am willing to learn and do this if others might find it useful...
 6326702      6/30/2016      11776802    I am a beta tester but I live in the Netherlands so I will start on later stage
                                         You can actually check all the numbers whit a simple volt meter how if youn have olde cable keep sub conecter en cut the other side of it get the wires put the conecter a of the volt meter you can
 6326683      6/30/2016      11776802
                                         check volt amp ohm as wel
                                         Tested the PowerTube batteries yesterday. They may be rated at 2600 mAh, but they are not transferring all that power to our devices. Using two different Power Tubes, and two different phones
 6324945      6/30/2016      6539297     (both Samsung Galaxy S5, 2800 mAh battery), the fully charged Power Tube raised the charge on both phones to from 10% to 55%. Recharging a PowerTube, and plugging it back into one
                                         phone, raised the charge from 55% to 90%.
                                         Hello,
                                         I was told that I would be put on the beta testing list, but hadn't received an email or anything confirming so, so I asked if I was on that list still and was told that I needed to upgrade to the 2.0
 6326818      6/30/2016      5908321     version, but I already had. Does it make a difference that my brother (Helaman Tafua) bought this as a birthday gift for me, but I'm the one who purchased the 2.0 upgrade?? I did so through his
                                         account here on Indiegogo, but with my credit card.
                                         Thanks
                                         You Will lose always power in battery you will never get the max amount off power out of it. The other thing how you can achieve that is how you charge a battery that way the last longer and
 6326582      6/30/2016      11776802
                                         release more of the power.
                                         I'm currently working on blasting this campaign info to one of my former WAH forums to get this product known to more potential buyers. This WAH forum has access to hundreds of agents and
 6326783      6/30/2016       437720     I'm well known there. As your VP of sales I plan to not only streamline this sales process to increase sales, but to also streamline the communication process of our team so that we can get
                                         better, more effective, and accurate answers out to all of you. This will be a win-win situation for everyone.
                                         I'm in the process of streamlining my sales team and streamlining the tools that our team has. When everyone on our team is on the same page in communication, the answers that we provide
 6326850      6/30/2016       437720     you will be standardized and we will minimize discrepancies. So I apologize on behalf of the company on any shortcomings that we may have had in the past. Thank you for your continued
                                         support and patience. The wait will be well worth it, I can guarantee you!
 6328957      6/30/2016      12754051    Hope to recieve my backpack by the end of October will take a trip to Thailand also in the jungle so the extra power would do nicely
                                         A Challenge for you:So if you are not already excited for the product I'm working on the goal to increase this same passion and excitement for every one of our backers already. So today, I
 6326865      6/30/2016       437720     challenge every backer here to go out and spread the word to at least 1 person that you know and get the word out about the iBackPack campaign. This is truly an innovative product designed for
                                         everyone in today's generation: mothers, students, WAH people, doctors, hikers, you name it. Use your link for credit.
                                         Thank you everyone for your continued patience in this campaign. We are progressing very nicely and Doug Monahan has been working quite hard (14 hours straight yesterday, in fact). Thank
 6326821      6/30/2016       437720     you Doug for your hard work and dedication. We are actively listening to each and every one of you. Your ideas are not lost and your feedback is crucial to this fine tuning stage of the product
                                         now. This is the time period to speak up with your ideas and comments.
 6326852      6/30/2016      8007983     Where is my BETA Package?
 6327493      6/30/2016      12918366    Your website seems to be down, I was going to start posting about the beta products I just got.
                                         So we need to ensure that future advertisements do not specify how many times a particular battery will charge a device. It is physically impossible to transfer ALL available power from a storage
                                         device to another device. If there are battery engineers, electrical engineers or physicists on the project, perhaps they can provide a better explanation.
 6325012      6/30/2016      6539297
                                         While it's better than no backup power, I wish the Powertubes would raise our phones more than 45% of full charge (which took 2 hours).
                                         I'm not an electrical engineer or physicist, but I do know that ANY battery will not discharge to completely empty. There will always be some capacity left in the battery, but it will not be available
 6324972      6/30/2016      6539297
                                         to the electrical bus (circuit) below a certain value. It's not a glass of water that can be completely emptied, to be filled full again.
                                         Hi iBackPack team - Please can you confirm if you have sent anything out to me via USPS? I didn't think you would be sending me anything as I am in the UK, however I have had an email last
 6329505      6/30/2016      11615484    week suggesting something was on route to me. Unfortunately this appears to have either got stuck in London when it hit the UK since June 28th as nothing has arrived yet and the USPS status
                                         hasn't changed since Tuesday. Can you confirm if you have sent anything out to me?; it started from CHICO,CA,95973
 6327555      6/30/2016      11953182    Yup, beta site is down. "Error establishing a database connection." It seems your database server is on the fritz.
                                         Brian Naas (my son, and the other backer of our iBackpacks) just posted his first video on the FB page. Apparently it isn't visible just yet.
 6320893      6/29/2016      6539297
                                         We'll be testing the PowerTube and thin "credit card" batteries next, and will post results.
                                         #iBackpackbeta Update:

                                         Tested 20000 mA battery (old style w/ 2 USB out ports), and found it to be of both iffy capacity and painfully slow performance.
 6320650      6/29/2016      11953182
                                         Started w/full charge and took an iPad3 from 10% to 80% (took SIX HOURS), leaving only 1 bar left on the battery. Given an iPad3's full capacity of 11560 mA, this means I used about 8092 mA
                                         to bring the the battery pack from 100% to somewhere well under 50%. That does not suggest a full 20000mA capacity.

                                         But hey, this is why we beta!
                                         Hi all! Jean here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is jean.lucero@ibackpack.mobi and my phone is
 6318370      6/28/2016      13966225
                                         512-818-1121. You can call me directly if you wish.
                                         Doug I know you want to deliver the best product possible but at some point you need to stop adding things & get the bag into a production. Is the leather handle practical? I've had leather bags
 6316146      6/28/2016      10018814    where the handle broke from dry rot but a quality heavy duty ballistic material handle didn't. With leather you have other decisions such as brass or leather loops to secure the handle which
                                         means more testing & delays. Note-please make shoulder & waist straps large enough for big/tall people if possible
                                         Doug, I was going through LOCTOTEâ„¢ bags which are crafted from a double-layer advanced cut resistant fabric in the world. Woven from a blend of high molecular weight polyethylene and
                                         other state-of-the-art fibers, this fabric was developed for use in high performance body armor and personal protection. The fabric has the highest possible Blade Cut - Tear - Abrasion Resistance
 6316824      6/28/2016      10454042    & are 5 times more cut resistant than KevlarÂ®.

                                         Why not make the iBackPack 3.0 with this fabric. Just a thought.
                                         and you get a situation where many of us do not have time to go back and reread the multitude of updates to parse what is actually being shipped to which backers and who can be a beta tester.
                                         I'm excited to get the product when its ready. Doug should understand some of these folks frustrations. Lashing out at your early backers is not only bad business, it casts the leader of this
 6316256      6/28/2016      12329271    campaign as out of his depth.

                                         I'll hope for progress, although as I tell my clients, hope is not a strategy.
                                         Tracy, as VP of Sales, I'd try to put yourself out here as a buffer between Doug and the backers. I have to say, I've been patient, I read the updates and when I see comments from Doug that
 6316239      6/28/2016      12329271    simply say over and over again "read the updates" its not only unhelpful, its also insulting. The fact of the matter is that there have been TONS of updates and they sometimes contradict
                                         themselves. Couple that with the 2.0 upgrade option that has further muddied the waters...continued next post
                                         Incredible. IBackPack Campaigners are deleting comments?
 6312598      6/28/2016      10712598
                                         https://twitter.com/jimsander/status/747798497823318016
                                         hello stop your mailing list since 1 year and after 3 orders and send email,sure you send for other products !! but stop mailing and work hard for delivery ! 1 year and always nothinng !!!!! work
 6314167      6/28/2016      11766005
                                         and stop to marketing strategy , you are on kickstarter and indiegogo and you propose update V1.0 to 2Â°.0 !! and you chosse again battery !! please work and stop
                                         Hi! I ordered the lightening cable package and assumed it was standalone and not an add-on. It says delivery expected in June but I haven't received any tracking info. Was I wrong in assuming it
 6315293      6/28/2016      8461035
                                         is standalone? I was really looking forward to the cables. Please let me know if they're just going to ship out later than planned. Thanks.
 6312654      6/28/2016      11766302
                                         For those wanting to the iBackPack products in action--check out some of the Beta testers and their feedback on our Facebook page: https://www.facebook.com/iBackPackOfficial/?fref=nf
                                         Please be actively checking the update page as I'll be helping to post more updates for the product. We are in Beta testing right now, which is a critical step in attaining valuable data to fine tune
 6315465      6/28/2016       437720     this product to the best it can be. Be patient and I can assure you that Doug has been working hard around the clock to not only streamline the team for more effectiveness, but also to ensure
                                         that the beta testing results that we get will be directly used to fine tune the final product.




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 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID

                                         Hello,
 6315409      6/28/2016      5908321     I asked if I could be apart of the beta program about a week ago, because I'm a digital media arts major and I have tons of photography/videography experience and was told that I would be put
                                         on the list, but I've not received an email or call confirming so. Just wondering if I was still on it?? If you call and I'm not home could you please at least leave a message so I know it's you.
                                         Thank you
 6314568      6/28/2016      10271804
                                         Hey i was on the list to be shipped beta products, i ever have tracking #. It hasn't shipped, and it has updated at all. Please let me know why, just curious. Thanks for the updates and great work.
                                         Doug is not going to be shipping just a mediocre product but is actively and constantly using Your Beta Testing results, feedback, and advice to fine tune a product that will be the best innovative
 6315491      6/28/2016       437720
                                         product of its kind on the market today. Thank you Doug for the multiple updates and for your hard work and effort in building this product from the ground up.
                                         At this point, with Doug's attitude towards supporters, I'm no longer interested in this unicorn, even if it showed up today, regardless of what feature set it came with.
 6314456      6/28/2016      10712598
                                         I will not be surprised it's revealed to be a ponzi scheme just to build a brand and not deliverable product, just to be sold off to bigger pockets. The upgrade is to buy time, wait for version 3.0
                                         when 3300+ backers still haven't received anything at all.
                                         I'm as much of a customer as any one of you are. I contributed to the 5 + 1. I believed in this product from the beginning because I'm not only a technology enthusiast, but I was looking for a
 6315554      6/28/2016       437720     solution to not be strapped down to an outlet/or wifi spot all the time. Please understand that Doug and the team are working hard around the clock to fine tune the product to the best it can be.
                                         Soon you will be getting the product but not until we perfect the fine details and surpass your expectations.
 6312700      6/28/2016      11764068    Jim Sander- don't worry, I've screenshot Dougs comments already and sent the same to the LA Times as he so kindly recommended. So much for an education, huh?
                                         We accept all positive criticism because that is how we can design the product better but please I just ask one thing, be Patient. Remember that patience is a virtue and all good things come to
 6315528      6/28/2016       437720     those that wait. So rest assured in no time you will be getting a state of the art iBackPack that no one on the market can compare to! Enjoy some sun and relax guys and wait while we work our
                                         "Magic" and grill out the product you are long awaiting for. Beta Testers keep the data coming. Thanks.
                                         We accept all positive criticism because that is how we can design the product better but please I just ask one thing, be Patient. Remember that patience is a virtue and all good things come to
 6315529      6/28/2016       437720     those that wait. So rest assured in no time you will be getting a state of the art iBackPack that no one on the market can compare to! Enjoy some sun and relax guys and wait while we work our
                                         "Magic" and grill out the product you are long awaiting for. Beta Testers keep the data coming. Thanks.
                                         So I ask that you be very patient in waiting while we fine tune the product in its final stages. Here's a big thanks to every single one of the contributors on this campaign, the beta testers, Doug
 6315511      6/28/2016       437720     Monahan, and the staff for working hard and collaborating all of your efforts together to create this innovative one of a kind product. Your patience will pay off and when you receive the final
                                         product be proud of it. It will surpasses the other existing products on the market today.
                                         You guys ever seen 'Greatest Freak-Out Ever' on youtube? That's what just happened here lol.
                                         Look, I really appreciate everything the iBackPack team and Doug have done for us, but honestly it's really hard to keep track of what's happening. There's 160 updates! And sometimes things
 6314100      6/28/2016      12851509
                                         change, and the things that got changed are changed, and then those things are changed again. I'm at the point where I just have to trust the process is in the right hands... Because I'm too
                                         confused to keep track.

 6315378      6/28/2016       746254     I would like a refund because all you guys seem to be doing is showing off the battery packs and cables instead of the actual backpack. All the products you guys are showing us are already out
                                         and available for sale from numerous other manufactures such as Anker. I would like a refund on my contribution since you have yet to show more information on the actual backpack
                                         I have backed many crowd funded projects over the years but have never been asked what I thought. That's what makes project different! I had the opportunity recently to visit with Doug in person
 6309534      6/27/2016      11766302
                                         and to see the work he is doing on our behalf and its impressive! I want my bag too but I want the BEST one out there!
                                         Some of these posters are absolutely right. Doug has "Doug'd" this one. Yes, I see the value in what you are doing. But we all contributed money for less than what you are offering, so why not
 6309469      6/27/2016      11764068    just offer that and use the proceeds for later R&D? Can't speak for everyone, but I don't need a "mama" battery or a freaking handle to shield myself (or Kevlar for that matter). I wanted a nice
                                         backpack with charging Mifi capability - that's it. None of which we have heard much about besides the 2.0.
                                         Doug, utterly disgusted at your attitude and your posts.
 6311328      6/27/2016      11955673
                                         Id like a refund please.
                                         @Wayne, I'm estimating October for delivery, lets hope i'm correct.
 6308902      6/27/2016      11955673
                                         Also hoping that the 'beta testing' of the tech also caters to us Aussies and not just US voltages.
                                         What is wrong with some of you? Have you not read the posts - there are 160 of them. We have kept everybody up to date at every second of the way. We are making the iBackPack sensational
 6311014      6/27/2016      10019428    in every way - regardless of what the "whiners" say - you know full well that this project is a work in progress. Nobody BOUGHT a bag or any product here on IGG - you PLEDGED to fund this
                                         project regardless of how long it takes.Go and read the licensing agreement. If you want to whine and moan and groan call me
                                         I think I'm in the same boat as a lot of others here. I was confirmed multiple times for beta, yet now I'm not because I haven't upgraded. Frankly - I shouldn't have to pay $60 to test "beta"
 6309462      6/27/2016      11764068    products that I was already told I would get to test. I'll be honest, I was very excited about this product. Now I'm not so sure. I work as an engineer in the biotech industry and am VERY familiar
                                         with design controls. Last I checked, you don't release "v2.0" without releasing 1.0. (See next post)
                                         Maybe my last question wasn't taken as a question as I neglected the punctuation.

                                         How is there a 2.0 beta version, when 1.0 hasnâ€™t made it out the door? What are iBackPack 1.0 WiFi Version contributors going to receive, and when ?

 6308352      6/27/2016      10712598    Jean Lucero, Doug Monahan, anybody affiliated with iBackPack ? ? ?

                                         Has anybody received a version of 1.0, given the March 2016 delivery date has passed?

                                         How is it original backers have been skipped and and then you somehow decided to move onto a 2.0 version ? ? ?
                                         Wow.. Thanks Chuck..... You live in the same city as Doug? I just checked out Doug's INDIEGOGO history? What is up with the other 2 failed to deliver projects? I notice on the USB one the
 6310059      6/27/2016      5111890
                                         mention they were still beta testing?
 6307314      6/27/2016      10712598    How is there a 2.0 beta version, when 1.0 hasn't made it out the door? What are iBackPack 1.0 WiFi Version contributors going to receive, and when.
                                         Jim good question. Those questions don't get answered except for a "hi I am X from customer service and I'll be making calls to everybody today". No one has a bag but a few have some
 6308843      6/27/2016      11395150    batteries and cables. In short there is not really any 1.0 anything. I think the bag and contents will still be 6 months away as a conservative estimate. I'm a couple of dozen emails in with Doug
                                         and co and only ever received one response when I started making noise here. And that ended in an empty promise.
                                         You are useless. You are calling me whiny and asking me if I have a college degree, yet you are the one saying "boo hoo?" I guarantee I have a higher education than you have. You don't get it
                                         Doug - sure we read the Terms of backing the campaign. But why do you think we did? It wasn't because we believed in you - we believed in the product. Hope the BBB in Texas won't be too
 6311579      6/27/2016      11764068    harsh. Once they see these screenshots.

                                         Other backers- hope you see how he treated my comments. Shows true character.
                                         Just a quick note to everyone backing this project. I wanted to share a personal testimony to how this project is progressing. Just as you, I am a backer and have been early on. When I started
 6309532      6/27/2016      11766302
                                         attending the online meetings I realized how much interest there was in getting this right. So many great ideas have been shared by backers and integrated into the bag.
                                         It's a shame that this is 3 months late. I've now got a nice $300 Tumi pack, bought a $30 charger, and a free Mifi from Verizon. And so far it's much better than your product for the exact same
 6309477      6/27/2016      11764068
                                         price - that's all I can say since you haven't come through. Wishing for a refund now.
                                         Can you just finally give me my money back? This is the most insane campaign I've ever seen. IGG should be disgusted to have this on their site. How do you call yourself a businessman and
 6312117      6/27/2016      2040878
                                         then insult all your customers?
                                         greeting want to know the status of this project,
 6309184      6/27/2016      9152130
                                         It not received my backpack
                                         So now I see that the beta test is of the version 2.0 accessories only? So when do those who didn't upgrade going to have their products tested or are they already produced? If so why can't they
 6308906      6/27/2016      11395150    be sent? If they aren't produced why are the original backers being left out to dry? Much ado about 2.0 while the people who didn't want to give your company more money because of such poor
                                         treatment, get more poor treatment. Unbelievable
                                         Hi all! Lucille here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my
 6301778      6/26/2016      13966229
                                         phone is 512-402-5286. You can call me directly if you wish.
                                         Also, I am timing how long the fan will run off a fully charged battery. Car charger is very nice with the retractable cord and dual adapters.....particularly useful as I have both an Android and
 6303384      6/26/2016      6596419
                                         iPhone. Will test to and from work this week. took pictures and video as I unpacked the items. More to come....
                                         I've been testing the zipper cables as well as the batteries I noticed the zipper cable seems to only be charging at half the as a standard lightening cable. The battery seemed to discharge faster,
 6304717      6/26/2016      10018814    using the zipper cable but the device does charge any faster. Also the lightening cable half of the zipper cable does not seem as sturdy micro USB cable. On the lighted micro USB cable, any
                                         chance I can get the lightening version of this product to test as it seems sturdier than the zipper cables.
                                         Just got the latest update and wondering if you changed the rules on the beta program? I have looked back through the updates and this is the first time I see you had to update to 2.0 and be in
 6303554      6/26/2016      11395150    the USA to be a part of it. Despite being told I was in the beta and identifying that I was in Australia in the multitude of emails I have been asked to send. Still haven't had that elusive phone call
                                         but have tried to call many of the numbers given, and get voice mail every time. Refund. Please.
                                         Dear backers, I filed a formal complaint to Indiegogo regarding this campaign. In addition, I would like to reach out to all regarding the possibility of initiating a class-action law suit against
                                         Indiegogo and Mr. Doug Monahan's campaign on 2 accounts:
 6306333      6/26/2016      11673929
                                         (1) Frequent battery updates sent out to your emails even in the middle of the night and (2) Fraud campaign with indefinite delay on shipment date of the actual iBackpack. People with same
                                         experiences please reach me on Skype @gloria.le.justice

                                         I saw I was on the beta list and had tracking info sent. Now I check today and see that my shipment information was "voided." Any update on this? Was looking forward to this shipment.
 6303484      6/26/2016      11764068
                                         Thanks,

                                         Mike Harding
                                         Hi all! Jean here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is jean.lucero@ibackpack.mobi and my phone is
 6306656      6/26/2016      13966225
                                         512-818-1121. You can call me directly if you wish.
 6303556      6/26/2016      5111890     Alot of bold talk for an undelivered product, 3 months behind delivery date
                                         As a suggestion, rather than doing your tech and bag beta testing in serial do the testing in parallel...

 6303547      6/26/2016      11955673    i.e bag and tech beta as two separate teams..

                                         Undertaking this testing in serial is going to add months to the delivery of the final product.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Received and opened all of the items shipped and found packaging to be more than adequate. no need to expend resources on this front. Fully charged both batteries in about 2 hours: Lipstick
 6303379      6/26/2016      6596419     flashed red while charging and is solid when complete, credit card flashes blue and solid when complete. I found both to sleek in design, with no heat generated while charging. Attached the USB
                                         Fan to the lipstick charger, which works as a handheld and stationary, although a clip would be useful.
                                         I'm trying to test all the products you sent, but one I can not seem to get to work is the USB light stick, I'm not sure if I'm doing something wrong or if I have a defective unit. One thing missing
 6306600      6/26/2016      10018814    from all products was instructions on that item. While most items are somewhat self explanatory, I feel some type of instructions should be included even if they are very basic. Any help with the
                                         light stick would be appreciated
 6303647      6/26/2016      6360482     Wayne, this wouldn't be the first time they changed the rules retroactively.

                                         AT THIS POINT IT SEEMS USELESS TO ATTEMPT TO COMMUNICATE TO DOUG OUR COMPLETE DISSATISFACTION WITH HIM AND HIS INABILITY TO FOCUS ON THE PRIZE!! HE
                                         HAS TAKEN A GREAT CONCEPT AND "DOUG'D" IT UP BY FULLY LOSING FOCUS OF WHY WE INVESTED OUR MONEY WITH HIS ORIGINAL CONCEPT IN THE FIRST PLACE!
 6303884      6/26/2016      11904861
                                         STOP THE BETAS!
                                         FINISH THE ORIGINAL IBACKPAK!
                                         SHIP SAID (because you use "said" way to often) IBACKPACK TO YOUR ORIGINAL BACKERS OF WHICH I AM ONE!!
                                         What exactly are we getting with our 1.0 iBackPacks as far as the features of the bag? I see these calls to upgrade to 2.0, but what exactly am I getting with my 1.0 so I know if I need to
 6303289      6/26/2016      13986886
                                         upgrade? A lot of the things listed under 2.0 are things I was under the impression I was getting with the one I purchased.
 6299355      6/25/2016      11766302
                                         Hi there! You are correct the lightening fans were not in the shipment. The cards will be sent at a later date. Thanks for the support. Make sure to share your thoughts on video on social media!!
 6300741      6/25/2016      11955673    Liking the new wall charger. Great work team iBackpack!!
                                         Sure wish I had investigated this campaign before I pulled the trigger. Seems the founder is more interested in sales than actual deliverables, as in no service after the sale. March 2016 has
 6299927      6/25/2016      10712598
                                         come and gone, and I still don't the mystical basic iBackPack Wi-Fi Version.
                                         #ibackpackbeta update:
                                         Tested 2-port wall adapter. Good fit and finish. Works to spec, total of about 3.4A, distributed along 3 ports including the lightning cable. This also means that only one 2.1A draw at a time,
 6300004      6/25/2016      11953182
                                         which is a bit limiting. USB ports are very tight and sticky. Removing cables is a bit harder than it should be. Lightning cable is handy but could really be a bit longer for when you use it on a low
                                         wall plug. Some phones might be left dangling a bit.
                                         How come your a have moved away from the bag The back is the most important thing to get out first to people as most have probably bought the bank for their holidays etc but they are probably
 6300655      6/25/2016      10429749    not going to get the bag till next year at this rate. I think you giving everyone the free stuff so they will forget about the bag to a later date. I ordered mine last year to have for my Thailand
                                         holidays in August now you say you can't tell me if it be ready then.
 6300726      6/25/2016      9472552     When will be seeing this backpack; countless updates about betas which most dont have access to and calls to upgrade to 2.0 months ago...there needs to be an endpoint...
                                         I got beta products even though I never once asked to be part of the beta program. It didn't include the key fobs and ID cards the packing slip says it should have. Some things I've noticed: no
 6300587      6/25/2016      2040878     actual part to plug into the wall so everything needs to be plugged into other wall adapters. Is there wall plugs coming? On led data cable packaging says "3 foot retractable cord" it's not a
                                         retractable cord or 3 feet. Also how do you know when the lipstick battery is charged? Also only got usb fan.
 6301351      6/25/2016      11463600    Any schedule to ship the backpack?
 6296023      6/24/2016      12175397    Since I have not had any response to my supposed B2B database contact requests (at least 4 months and counting), why don't you switch my perk to the 2.0 version.
                                         #ibackpackbeta update:
                                         Tested the 5000 mAh, thicker "credit card" battery pack. Battery stays cool during charge/discharge, as with the others. Capacity appears in line with its claim -- charged a fully dead HTC M8
 6296519      6/24/2016      11953182
                                         (2660 mAh cap), leaving 1/2 capacity as indicated by the orange bar display. To date, only the powertube battery fell well short of claimed capacity in my testing. Built-in cable works well, though
                                         it a bit challenging to pull out of its slot for use. Tactile feel is good too.
                                         I have requested to join the Beta programme about 4 times.. Just no response. What other criteria is needed other than being able to review a product. I've supported fro. Early on and even
 6296153      6/24/2016      13117616
                                         upgraded to 2.0

                                         Update: I was able to access the website under risky security measures.
 6297146      6/24/2016      10593430    Also I would like to inform iBackPack that the Beta Program Items I received are not all the items which were supposed to be sent.
                                         According to the document I should have received both Fans but only received the USB 2.0 and not the Lightning type. I also did not received the Membership Card, Luggage Tag ans Keyfobs.
                                         I did however receive an extra Zipper Cable.
                                         I pinged Doug on Skype but with no response. I only have a smartphone camera, so I'm not sure if you would want me to make videos for BETA, since you said before that it looked
 6296061      6/24/2016      13221091
                                         unprofessional. Would you still want me to make videos, or just stick with giving you feedback via the comments here or on the designated BETA website?
 6296332      6/24/2016      11777573    Are the solar panel attachments still be offered?
 6296899      6/24/2016      10593430    Just received a package for the Beta Program. It says to go to www.ibackpack.co/beta to input all testing and reviews, but it seems the site is not functional yet.
 6288540      6/23/2016      11430892    Hi, may I get the tracking number? What is the status of my order?
 6291768      6/23/2016      11766302    Thanks for the feedback! The luggage tags, etc. will be a future delivery. Nice review- can you put a video out on Facebook to help us promote the beta products?
                                         WRT Sayed Mohamed Alzalzalah comment below, if the temps reach 60 Celsius, that's around 140 Fahrenheit. Agreed that rubber could melt at that temperature!
 6289913      6/23/2016      6539297
                                         Metal would be too hot to hold onto for a zipper pull tab. How about a woven nylon tab instead? My 20 year old LL Bean daypack has these types of tabs, and they have never failed.
                                         #ibackpackbeta

                                         Recieved my beta products 2 days ago. I got the USB 2.0 fan, Data/power/lightstick cable, 2x micro lightning and usb cable, Powertube 2600 mah, 6mm ultra thin 3000 mah battery, and the LED
 6291556      6/23/2016      12843051
                                         cable. Didn't get the membership card, luggage tag, and the keyfobs though. My reviews so far is this.
                                         1. The packaging was well done. Hats off to the team that handled that. I would rate it about 4.7 out of 5
                                         2. The powertube's LED light should turn blue if it was fully charged.to be continued
                                         Hello everyone i only had one question was i supossed to upgrade to 2.0 to go through with the beta program i would really like to know but im so proud of you guys honestly for making such an
 6292721      6/23/2016      13328608
                                         amazing product
 6288972      6/23/2016      8318767     I have been offered to upgrade my order twice but have not gotten the email to do so. Plz someone contact me again. Torben
                                         Just got off the online meeting with Doug. Wow! I can not believe what extras we are getting. As far as continued design of the bag goes----I am happy to wait until it is perfect!!!! Plus, I have
 6285263      6/22/2016      11766302    never been part of a project where WE are involved in design changes, etc. I know Doug would appreciate feedback to him if there is something you would like to see differently---better to be
                                         direct than post complaints on here---he listens!!! Looking forward to getting it!
                                         I do like the orange! I only just opened the box. Nice to see very consistent packaging and design. I too am missing the ID card, Fobs and luggage tags. Will post more as I open the items,
 6285387      6/22/2016      11765610
                                         inspect and start charging the devices.
 6285976      6/22/2016      13176426    Please Replace the Rubber Zipper Pull with Metal Zipper Pull because in my country Kuwait the temperature Reach 60 Celsius so it will melt ...please change it with metal
                                         @Raffaele: I did not receive any either, and I think others have commented on the same. I suspect they probably printed the lists out before noticing they didn't have the tags yet. I'm sure we'll
 6284400      6/22/2016      11953182
                                         get them by the time the bags are ready.

                                         #ibackpackbeta update:
                                         2600 mAh Powertube battery seems to stop charging at about 50% of its listed capacity, as tested twice using a phone with an identical capacity. Not convinced this unit is actually 2600 mAh.
 6283120      6/22/2016      11953182
                                         Credit card battery, on the other hand, works as specified. Total capacity looks very close to the 3000 mAh indicated.

                                         On the color... Not that I mind the orange color, but I think I'd prefer silver (5315) or blue (286). Batteries should reflect same color scheme as the bag, IMO,
                                         I have asked for a refund on 3 separate occasions via email due to delays, dissatisfaction with where this product has gone, and serious ideological disagreements with several of your emails
 6282982      6/22/2016      3733996     which paint you as a company that I do not want to support. I have not gotten a single response and the first one was sent weeks ago. I want a refund, I want nothing to do with this "backpack full
                                         of batteries" and I need to know who to contact since apparently emails are ignored.
                                         Dude, deleting comments is shady af.
 6285638      6/22/2016      6805465
                                         I see comments aren't deleted anymore. Thank you for acting, IndieGoGo Support!
                                         HI I wrote "beta me" awhile ago when I had free time but when the list of people in the beta program was released I wasnt on it. I was gonna leave it alone because I had a vacation planned for
 6284819      6/22/2016      8251331
                                         July but now that I no longer have that obligation I would love to help beta test everything and be added to the official beta list.
 6285336      6/22/2016      5111890     Still wondering the next ship date so I can get out of this mess.
 6285889      6/22/2016      11201672    When I can get my tracking number?
                                         So reading between the lines of the latest update, despatch of the final bag etc is probably a minimum of 2 months away, which means delivery sometime in September?

                                         Based on the assumption that the batteries pass the 'testing'.
 6284886      6/22/2016      11955673
                                         Will the bag be beta tested to? If so i imagine that will add another month or to the delivery estimate.....

                                         Yay... Christmas present!!
 6283300      6/22/2016      12414081    I just received my ibackpack beta box but my luggage/ID tags were not included as the letter says they were. Any way I can get these shipped out to me?
 6276927      6/21/2016      11938981    Hi! How can I know have you already sent my order?
                                         I just received a phone call to follow up for BETA. I will not be home until Thursday, so I will not be able to get my BETA products until then. Then I will be away for a week, with limited to no
 6278173      6/21/2016      13221091
                                         internet/service. It all happened at the wrong time D: But I will try my best to get a video out for you guys as soon as I can.
 6272496      6/20/2016      11789260    I thought we were going with the black outside and orange inside? I'm thinking that would be great since it is your company colors! And that's what all the pictures had anyway.
                                         (cont'd)
                                         Since we're not an Apple household I always considered the extra lightening connector or adapter as a necessary evil to make one set of "universal" products. With USB-C in the mix now, the
 6272747      6/20/2016      11911623    problem is even worse.

                                         Consider not referencing the flat battery a "credit card style". To me that implied that the battery was actually close in size to a credit card.
                                         Just opened the package of items for beta test. I received 2 zipper cables, 1 car charger, 1 Powertube, 1 3000mAh "credit card style", 1 LED light and charge data cable/stick, 1 LED data cable, 1
 6272744      6/20/2016      11911623
                                         USB fan. I did not receive the Luggage tag/key fobs/ID card.
                                         (cont'd)Unpacking these revealed a large deficiency that just occurred to me. My wife and I just upgraded from phones with micro USB ports to phones with USB-C ports. As such, none of these
 6272745      6/20/2016      11911623    accessories will work without the use of additional adapters or cables. And, I suspect, that using one of the batteries with a micro-to-C adapter will limit charging to micro USB speeds, not
                                         allowing the fast charging USB-C is capable of. I'm not sure if these batteries are recommended for fast charging.
                                         I'm a digital media arts major so photography/videography are right up my alley. I have a wide range of camera equipment so I can get some really nice shots of the products. I live in Hawaii, so
 6272715      6/20/2016      5908321
                                         what would be the best time to contact you about being part of the beta program??




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         (cont'd)
                                         I can submit reviews later using my old phone but wanted to get this back to you ASAP. As it is, though, I'm much less interested in the concept without USB-C capabilities.
 6272748      6/20/2016      11911623
                                         FYI, I can't submit a review online as I get an error for the field that asks "What Products You Were Testing?"
 6269653      6/19/2016      11779629    put me in the beta :BETA ME
 6268540      6/19/2016      11931717    Was called to confirm shipping address for beta about a month ago. But now I don't see my name on the BETAs to be shipped out. Is there a second batch? Or if anything: BETA ME
                                         I'm having a hard time finding this information, so I'm just going ask in this section. I know way back when, like a few months ago, it was stated that those who had backed at that time would get
 6268032      6/19/2016      11828622    the 2.0 bag instead of the 1.0 at no extra charge. I'm just confused with the last update and some of the other comments talking about needing to pay this amount to 2.0 bag. So I ask, do I need
                                         to pay to have my 1.0 power pack bag upgraded to 2.0 power pack bag now?
                                         The recent update regarding the pantone colours. Just so I'm clear you're asking us to choose two colours specifically for the backpack.
 6269971      6/19/2016      11955673
                                         One colour for the outside of the bag and another colour for the inside of the bag?
                                         #ibackpackbeta

                                         All beta battery packs (2600 mAh lipstick, 3k mAh cc, 5k mAh flat and 20k old style) have been tested so far for temperatures during recharge, and for functionality of overcharge circuitry, if any.
 6268861      6/19/2016      11953182    All showed very nominal temperature hikes (no higher than 94F) @ 5 minutes (near full charge), then cooled after 15 minutes. This indicates that charging is shutting off within 5-15 minutes of
                                         full charge.

                                         So far, so good. Testing discharge of batteries next.
                                         I'm not quite understanding the BAG upgrade options. There is a 1.0 bag, and a 2.0 bag, and the only way I can get a 2.0 bag (actually two of them, since I ordered a Wi-Fi and a Basis version of
                                         the BAG) is to upgrade both orders with the 2.0 hardware/batteries/fan/etc?
 6265749      6/19/2016      6539297
                                         What if I do not need or want the 2.0 hardware? Is there an option to upgrade the BAGS without the hardware?
                                         Very disappointed Iâ€™m not on the beta list. Had a call to verify BETA program shipping and handling information, but now my name is not on the list?. I messaged Doug on Skype so Iâ€™m
 6267257      6/19/2016      11918374
                                         hoping I can get added??
                                         Please help me get OFF your beta list. I get NO emails from you, but somehow I am part of a beta for a product I no longer even want. I only found out that I am part of this after getting a UPS
 6270870      6/19/2016      10569378
                                         shipping notification. I will not be providing any feedback or help to a company I find morally disagreeable. Please let me know who to contact to get OFF the beta.
 6262722      6/18/2016      11233814
                                         So am I right that the new features added to the bag only apply to the 2.0 Version ? Because I ordered the 1.0 Wifi one and can only find a Hardware upgrade regarding batteries from 1.0 to 2.0.
                                         I'm entered in BETA as my mother's name, just to clear that up beforehand. But I do not own a Facebook account, and she doesn't want to post it on hers. So it doesn't look like I will be able to
 6262560      6/18/2016      13221091
                                         make extensive videos for BETA. What should I do?
 6262619      6/18/2016      12435181    I am kinda upset and disappointed that I have to pay more to upgrade my 1.0 backpack here on indigogo. than I paid for my 2.0 packs on kickstarter.
                                         Hi, yesterday an email was sent out about upgrading from version 1.0 to 2.0 of the backpack for $60, deal ending midnight on Saturday. By midnight, do you mean I still have time tonight? I
 6263585      6/18/2016      12527012
                                         replied to the email yesterday but got no response. Please respond ASAP :)
 6262767      6/18/2016      5816277
                                         Can i just get my bag now is taking forever to get it!!! next update i hope is the bag instead of whatever products you are testing. this should have been done before you did this indiegogo!!!
                                         Disappointed I'm not on the beta list. :( It was mentioned in a FB convo I had with a Nori that I'd get to be part of it. I messaged Doug on Skype so I'm hoping I can get added. :) Excited to try it
 6263405      6/18/2016      14406272
                                         out.
 6262756      6/18/2016      8007983     Don't see my name on the UPS list :-(
 6258724      6/17/2016      12414081    What will i be receiving for my ibackpack 1.0 version if i do not upgrade to the 2.0 version??
                                         Hi all! Lucille here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my
 6256839      6/17/2016      13966229
                                         phone is 512-402-5286. You can call me directly if you wish.
 6258858      6/17/2016      11779629    how do you know if your in the beta program?
 6259173      6/17/2016      11864144    Any information on the wifi component, Bluetooth speakers and finally confirm the bag is in production and not STILL in concept mode? I'm over the battery updates. I
 6258807      6/17/2016       47047      Real artists ship.
                                         Fantastic update, team! I like everything I'm seeing -- apart from that dang gun holster nonsense... it's kind of silly as most of us don't routinely pack the heat. It's a mobile tech hub, not a mobile
                                         gun rack...
 6259837      6/17/2016      11953182
                                         Got my beta pack today and the interwebs will be hearing from me about it in the coming days. Stay tuned! Already seeing some likes/dislikes (mostly likes), and am starting to see the wisdom of
                                         doing a beta. Also some apparent missing items (tags/fobs, etc.). More details later.
 6258787      6/17/2016      13176426    you told me the different between 1.0 and 2.0 is all about more batteries ...so enhancing, changing, improving for the bag itself doesn't required more money ..correct me if i'm wrong.
                                         When will start shipping ALL stuff instead of send some cheap China product? I know how much of a battery cost, would you mind just produce the backpack and send it out, ok? I don't mind to
 6260694      6/17/2016      11463600
                                         pay money for a backpack which is high quality, but now, you just creating your own band to sell mobile battery and cables.
                                         I got Beta'd!
 6259556      6/17/2016      11794176    I'll create/upload the videos tomorrow.
                                         Where should I upload them though?
                                         I would much rather have the zipper charging cable. I've used these kind with the lightning that plugs into the micro and the lightning one always fails quickly! So please, let me just have the
 6259013      6/17/2016      11789260
                                         zipper cable.
 6260898      6/17/2016      11776802    I rather have the zipper cables the new ones are often buggie for Apple users
 6258778      6/17/2016      5908321     Hello, is it too late to sign up for the beta program??
                                         Any estimate on when the products will be shipped? Y'all had version 2.0 on advertisement when 1.0 is in delay indefinitely? I contributed when I first came to the university. Just hope I will
 6259534      6/17/2016      11673929
                                         receive the backpack before I graduate. Thank you!!
 6254661      6/16/2016      5111890     Why do you delete comments. And when is the new release date?
                                         I received the box full of beta product last night. There are definable issues that people will be glad the beta program is a thing. So look out YouTube criticism and praise are coming. I will post a
 6256831      6/16/2016      12435181
                                         link on here when my first reviews go up.
 6253141      6/16/2016      9629360     Can I be removed from the beta? I don't have enough time to dedicate the amount of hours that is required.
                                         I'll take Circask8ers place in the beta program, if and only if my order is fixed, which it looks like someone is finally looking in to now to get it done. I live out of my backpack, on the bus and train
 6256430      6/16/2016      11777573    to walking miles each day with it on. I put my tools in it to carry when going to work, etc. I need a sturdy strong backpack that can keep up with my daily retinue and also keep my electronics
                                         charged throughout the day.
                                         I was going to make a suggestion and noticed OnTheMark already did. Would you please give us notice when Go-To-Meetings are being hosted? I can't even count on my fingers how many
 6250692      6/16/2016      12851509
                                         meetings I've found out about AFTER the fact.
                                         Why are my request now being ignored? Can this company PLEASE FIX MY ORDER! I've been emailing this company trying to get my order fixed from the pro email package that I never signed
 6249259      6/15/2016      11777573    up for, to the basic backpack package that I DID SIGN UP FOR, PAID FOR, AND WANT! Please stop giving me the run around. You say you will contact me and fix it for eight months and still
                                         NOTHING! Just paypal me back my money NOW or fix my order! Why is that so hard to do? That's all I want, I've been patience!!
                                         I'm uncomfortable with having supported this campaign. Between the bashing of Kickstarter users, the numerous complaints about IGG backers' legitimate grievances, the bashing of Chinese
 6246129      6/15/2016      6805465     workers and factories, and the latest disgusting exploitative sales tactics using the Pulse shooting in Orlando. Deadlines missed, product tiers added, fantastical "upgrades"... I feel totally mislead.
                                         I've completely lost my taste for Doug, his company, and this product. I don't think I'm alone in this.
                                         In the spirit of full participation, could you please plan and announce your GTMs in advance? I like attending and being in the know... but it's not as though most of us are able to do this on a
 6246075      6/15/2016      11953182
                                         moment's notice.
 6246056      6/15/2016      8260513     This is feeling more and more like a scam. Misdirection via continuous updates without any actual product. Claims of upgrades. Stop Greppering us and start shipping something.
 6247389      6/15/2016      5111890     I agree with ALex Harmon
                                         I have a Samsung galaxy tab 4 too, to be honest it's a lot better with QC 2.0 (even better with QC 3.0) than with the one that came in the box. As to whether it's worth it time/money wise, I agree
 6241112      6/14/2016      11794176    it's not worth it but that's IF Apple decides to keep the lightning port and not adopt USB C (USB C charges faster voltage wise). USB C is also used by some (as of now) laptops, tablets, Apple TV,
                                         MacBook. A lot of apple fans would be mad too if the backpack can't charge their new iphone7 fast enough.
                                         I agree with @ontgemark, I just don't see enough pros to delay this campaign any longer. From my understanding, 3 is only going to be more efficient by really just not heating up the battery at
 6240661      6/14/2016      11789260    the last 20% of the change! And as of now, it's only an android capable function. And you know all the apple fans will not enjoy a delay for them to reap absolutely no benefits! Enough with the
                                         delays, we all knew coming in to this what we were getting, I'm extremely happy with everything so far.
                                         Hi all! Lucille here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my
 6238140      6/14/2016      13966229
                                         phone is 512-402-5286. You can call me directly if you wish.
                                         @Luke: I don't think it's rude at all to expect a little more urgency to deliver a product, or to voice one's disappointment at the apparent lack thereof. I'm with you.
 6238690      6/14/2016      11953182
                                         That said, from everything I've heard from Doug and his updates, I think (hope?) som
                                         @Jorge: I own a Samsung Galaxy Tab 4 and it also benefits from Qualcomm 2.0 -- but it also charges pretty darn fast without a special charger. Just saying that in terms of a decision of whether
 6240632      6/14/2016      11953182
                                         it's worth the extra time and $ necessary to bring this into
 6239980      6/14/2016      11794176    Lg g3 does not have QC but it still charges faster than a 2.4amp charger.
 6240232      6/14/2016      11794176    Or I had my phone on turn by turn directions via Bluetooth as I'm biking aaaand I overshoot my destination by miles bc the battery died on my phone/speaker.

                                         Qualcomm 3.0 is pretty sweet. Phone must support it for it to truly take advantage of it. I have an LG g3 and I use a Qualcomm 3.0 charger and it's about 2% per minute but I've seen an lg g5
 6239977      6/14/2016      11794176
                                         charge 84% in 30 minutes (not in airplane mode) .
                                         QC3.0 charges a QC 2.O phone faster than using QC2.0 charger. I work in an electronics store that also sells cell phones. QC is on Android and not apple. Apple devices will see no difference.
                                         Doug, I have done some very cursory research into the Qualcomm charging technology, and from where I'm sitting, I don't think ver. 3 is something terribly worthy of added delay or cost. Firstly,
                                         even ver. 2 appears to be limited to supporting devices with certain Qualcomm processors -- meaning Androids only (no iPhones). And the 3.0 technology only currently applies to a small subset
 6240092      6/14/2016      11953182    of the very latest ones.

                                         Faster charging is nice, but I think this is more of a niche product for now.
                                         If you're using Bluetooth/maps/watching a movie (at least two at the same time.) it'll keep charging instead of depleting. For me that's a plus I hate it when I'm watching a movie as I'm charging
 6240227      6/14/2016      11794176
                                         and my phone cuts off at the cliff hanger.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Hi iBackPack team.
                                         You are destroying this campaigns credibility by ignoring your backers and constantly stringing out the length of time it runs by trying to influence existing Backers to Pledge more!. It is a real
 6234394      6/13/2016      11615484
                                         shame as your product had / has real potential without doing this. The shame of dragging this campaign out to almost a year is that there are now other "fledgling" companies and products on
                                         IGG and Kickstarter that have seized on your idea. You really are your own worse enemy!
                                         Wow, a lot of comments were deleted. Seriously, is this how your company runs business? When people are angered by your comments, you just pretend nothing happened? You sure like
 6233123      6/13/2016      9277324
                                         favoring one amendment over another, don't you?
                                         I've sent several emails & made several calls attempting to tell you that I need to change the shipping address on my account, all without response. The address is no longer right because Im a
 6233640      6/13/2016      11756381    college student and didn't think this product to still not have been delivered before summer vacation. Also, I was very offended by your update the other day. If I do not receive a response by this
                                         Friday, I will file a complaint with IGG and call my credit card company and have them cancel the purchase
 6234663      6/13/2016      11794176    Anyone know how to pledge forb the captain America or iron man batteries?or what they look like?

 6237855      6/13/2016      13221091    To continue: While BETA programs can be helpful, will it really be necessary to have a bunch of people post videos on the same products? You are hurting yourself here, and I'm struggling to
                                         truly stay cooperative and patient. I apologize if I sound rude with these comments, but it has been building up in me for a while now, and I have no doubt it has in many others as well.
                                         Can I please get my money back. I have been promised over and over again that the issue with my order would be resolved, even though it still is not. I was promised to be contacted back about
 6234313      6/13/2016      11777573    this a few times and still never received a message back. Then I was promised that I was finally going to get a email within 24 hours from someone is customer service personally looking into my
                                         order mixed up. And that never happened.
                                         You are horrible at customer service. You are behind schedule... You change your product as you wish. No where in the original startup did you post Kevlar shield. You can't and shouldn't keep
 6234209      6/13/2016      5111890
                                         adding stuff to the quote. Especially when it raises the price. You are wasting my time.
                                         I have pro audio and video equipment and software for editing. I have the time to do the beta testing on as many products as you send me except the mobile wifi, since I don't currently have a
 6231007      6/13/2016      11754774
                                         account with any provider for it.
                                         Hey, in order status I get Order Locked what that means? I did email phone number and all other details but never got an answer I just get a lot of notifications about what's new but nothing about
 6237493      6/13/2016      9712769
                                         shipping dates and other stuff. So. what's the deal guys?
                                         As much as I like this product, I have been so disappointed. I understand that projects can run a bit over their ETA, but it is getting ridiculous now. Your project is soon approaching the year mark,
 6237848      6/13/2016      13221091    and you said in an update that the backpack itself is still in the design process. Rather than perfecting every little detail, and trying to make every single component better, just ship the backpack.
                                         It was obviously appealing to backers before you started to change everything.
 6232759      6/13/2016      11789260    Have you guys picked who will be in the beta program? Or how exactly is this going to happen?
                                         Doug and Co.... has anyone tried shooting into the batteries?
 6227656      6/12/2016      11955673
                                         I'm not sure holding a very heavy (once filled with batteries and tech) bag with one hand whilst hiding behind a couple of inches of Kevlar is much protection if the batteries catch fire once
                                         penetrated.
 6230542      6/12/2016      6726573     Un-beta me. After yesterday's comment, I'll just wait for my backpack. I don't want any other connection.
                                         They can promote their product ASAP after the shooting (murder)...but no ASAP apologize to the backers for their disgusting comment to upgrade...your PR department should has their hands
 6226944      6/12/2016      10842301
                                         full getting this snafu rectified! We should ALL contact Indiegogo customer service and the tech-community of this?
 6226308      6/12/2016      11756381    James, can you give us a link to do so
 6226114      6/12/2016      10516982    the mama battery for me, it has been said before; I need the backpack to keep all my stuff working all day long and the mama is for me the best option for that
                                         Still waiting for what I ordered.Focus..please. Using other people's deaths for personal gains is sick... I ordered the wi-fi.... Not the survival zombie one.. Complaint filed for not fulfilling what I
 6228437      6/12/2016      5111890
                                         ordered. This company is a legend in it's own mind...
 6226228      6/12/2016      11756381    @James Lightfoot, couldn't agree more

 6227569      6/12/2016      2040878     That was one of the most disgusting things I've ever read. What was it that was earlier said in an early update that also implied all Muslims are terrorists I believe? I've contacted IGG about a
                                         refund. I wanted a center for my digital life out in the field, not a product from hateful people for paramilitary activities. Also hey genius, couldn't a shooter use the backpack themselves?
 6227230      6/12/2016      11754774    Also I haven't received an answer about the 50,000 mAh battery: will it have a 12V outlet to plug devices into if I'm not in or near my car?
                                         "50 people dead in another mass shootings. If this isn't a signal for everybody to upgrade their ibackpack to Kevlar support I don't know what is."

                                         Absolutely disgusting and shocking comment. Send me my bag. I don't want any more from this company. Just the product I have paid for.
 6226345      6/12/2016      8342118
                                         I mean, I was already sick of this company, after they used my medical condition, without my permission, in an update after I stated that I wasn't comfortable with phone calls. But this takes the
                                         biscuit.

 6226472      6/12/2016      9934742     Hey Jack, I went to Contact Us at the bottom of the page, click in Backer, then I chose Refund, then I clicked on NO does not answer my question then you can post a message, here is the link:
                                         https://support.indiegogo.com/hc/en-us/requests/new?ticket_form_id=45336
                                         hey hows you doing
 6227050      6/12/2016      10429749
                                         any news on the ibackpack as I ordered in to go to Thailand with in aug 2016 just wondering will I get in before aug as I need it for Thailand ?
                                         I'm a US vet and I find it very disrespectful that you would use a mass shooting to benefit your company. I am ashamed of your company and how you use that to try to benefit your pockets with
 6226244      6/12/2016      10842301
                                         more money.
 6226239      6/12/2016      11399392    Completely agree with @dciszeski absolutely awful cash-in on a very fresh tragedy.
 6226204      6/12/2016      9934742
                                         I totally agree, that is the most despicable update post I have ever read. I will be reporting you to Indiegogo and want a refund now and nothing to do with this product. Absolutely sickening.
                                         â€œ50 people dead in another mass shootings. If this isnâ€™t a signal for everybody to upgrade their ibackpack to Kevlar support I donâ€™t know what is.â€
 6227996      6/12/2016      2454442
                                         What the HELL are you thinking posting this crap? This is EXTREMELY offensive. Either post an apology or give me my money back NOW.
 6226094      6/12/2016      10593430    The last update isnt a shocker for me.. After i get my ibackpack whenever that is.. I will never buy a product from them again
                                         Honestly, I just want this backpack already so I can be done with this company. How dare you use a tragedy like what happened in Orlando to hock your product and ideology. Nightclubs
 6226197      6/12/2016      9277324
                                         traditionally don't even let patrons bring in backpacks, let alone the kind of bulletproof vaporware you're peddling.
                                         2/2) Therefore, I need to make sure that Factory and you are testing its behaviour in case of overloading and of short circuit. I think this â €œMama Batteryâ€ should include an automatic circuit
 6226909      6/12/2016      11940255    breaker. Can you let us have some more technical information about it? Will TSA approve these permanent connections during a flight? Otherwise, we should stick to the original 20.000mAh
                                         battery.
 6227205      6/12/2016      11754774    I don't just want to beta test to get the products faster, my friends know I can give a very unbiased and thorough evaluation of whatever I review...

 6226908      6/12/2016      11940255    1/2) SAFETY CONCERN: Concerning what you call â€œMama Batteryâ€, personally I preferred the original, lighter, and removable battery. I would feel safer if all connections could be removed
                                         before a flight. But I see that backersâ€™ preferences go to the â€œMama Batteryâ€, which will be permanently installed in the bag, with all the cables always plugged in each input and output.
 6228427      6/12/2016      9934742     Everyone goes to the Let Us Know tab at the bottom of the campaign page and reports the post as abusive content. I have.
                                         I think the member Doug who posted the comment about upgrading your backpack to R should give a public apology to the investors as well. It was disrespectful distasteful and if it was their
 6226258      6/12/2016      10842301
                                         family members they would be irate over this too.
 6226260      6/12/2016      9934742     I encourage you all to message Indiegogo and complain
                                         I really appreciate the efforts you all are putting into this bag. However, I'd like the bag and components while I'm still on this side of the dirt! I know you do realize that tech will change. Get the
 6220736      6/11/2016      6726573
                                         best that's there right now and stop worrying about 'discovering' the next best thing.
                                         From Joshua Bakerâ€™s reply, I understand that my question was not clear. Iâ€™ll try to explain it better: In all the updates in which you describe what products you are going to send to the
 6221440      6/11/2016      11940255    Beta testers, you always mention different batteries, but only the car charger. My question is: You never mention the Wall charger. Why? You canâ €™t really test batteries if you charge them only
                                         during a few hours in your car. Is it just an omission or are you having technical problems with the Wall chargers?
 6221840      6/11/2016      11940255    @ Matthew Osborn. Thank you.
                                         Steve I'm one of the core beta testers working with the ibackpack team. I have been in meetings with and on the phone with doug over the past two days. we have been discussing how to
 6220904      6/11/2016      12435181    effectively to get all the products to all of the betas and backers effectively. Doug has started printing packing slips for the betas and you should start seeing them appear in your email any time
                                         now.
                                         I'm interested in being part of the BETA. There are two problems though. I do not own a Facebook account, nor do I have a nice camera for recording. I have an iPhone which I could prop up, but
 6221293      6/11/2016      13221091
                                         I don't know if you guys would want that... Let me know :)
                                         reply: the wall chargers that were originally purchased. They didn't have enough outputs with the amount of batteries and hardware the needed charging, they have ordered new ones with more
 6221827      6/11/2016      12435181
                                         outputs and even a smart quick charge. Be looking for an update about them soon.
 6216219      6/10/2016      11794176    Thanks Shelline! I understand, it's fine, thanks for you consideration and putting me back on.
 6216624      6/10/2016      8007983     Mama battery for me as wel
 6215170      6/10/2016      12239596    The mama battery without question
                                         RESENT: I already asked by e-mail but got no reply: Why donâ €™t you ever show the Wall charger among the products that you are going to ship to Beta-testers? They certainly canâ€™t test all
 6219446      6/10/2016      11940255
                                         the products with the car charger only? Charging only a few hours will never allow to check batteriesâ€™ possible overheating.
                                         Doug & Co: Thank you for giving us the option and for trying to anticipate our needs. That said, I think the "mama" battery best serves the original vision of having that "one battery to rule them
 6215518      6/10/2016      11953182    all" power hub that mostly stays right there in the backpack. And I agree 110% about not delaying anything just to get a % display on that one. The only thing I'd wish for (and also not at expense
                                         of time) is for it to be "app enabled" to check status. But consider it a stretch goal for later...
                                         If you decide to select the â€œMama batteryâ€, it will be necessary to bring outside the two charging inputs. I suppose you will add them to the 4 USB hug. In this case, I hope this hug will not
 6219440      6/10/2016      11940255    become wider. Have you considered my suggestion to place the hug vertically instead of horizontally, in order to reduce the side size of the bag? I agree with On The Mark about battery status
                                         being â€œapp enabledâ€. Or through a remote display, since the battery will be â€œhiddenâ€.
 6216509      6/10/2016      3439085     Mama Battery for me!
 6215482      6/10/2016      11771108    The Mama battery hands down. I see this as a portable office. 5 plugs means iPhone, iPad, wifi hotspot, headphones, & kindle can all be charging at once.
                                         Mama one the hole point off the backpack was keeping stuff charged wen your on the move and that is easier with a big one the with 2 separate ones. Agreed one don't need a nother flashlight.
 6215354      6/10/2016      11776802
                                         Have 5400mh battery now never use the lamp.it has no lcd screen but the 4 led indicates works just fine don't need a lcd screen.
                                         Re battery choice

                                         Definitely the big one. As a field engineer the whole point to my purchase of this was to be able to charge it at night and have my devices running all day while hooked into the bag. Also being able
 6214990      6/10/2016      12237296
                                         to keep my camera charged on the road for days at a time would be my main reasons for purchase

                                         Have we any news who when or if we are going to be beta testers for this? And is there a production schedule for the actual bag it's self?




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         I already asked to be in the beta program, and the latest update said you wanted us to send in our names again to confirm, how do we do that?
 6208942       6/9/2016      11754774
                                         Also on the 50,000 mAh battery, will it have a 12V socket or plug to run devices that you would normally plug into your car?
                                         Good afternoon all:

                                         With respect to the larger, 5 port 20,000 mAh battery vs the smaller 10,000 mAh battery question, we would be better served with the single larger battery. We don't own any Apple devices, and
 6209018       6/9/2016      6539297
                                         therefore wouldn't be able to use the Lightning port on the smaller battery.

                                         In our particular usage, portability shouldn't be a problem, capacity is what we are looking for. Thanks!
 6208965       6/9/2016      10593430    Anyone else feel like were getting fucked over.. I know I feel that way with the latest updates
 6209005       6/9/2016      12414081    Is there a final date for when we will be receiving the product? Its a few months after the estimated delivery, and I just want my backpack
 6208784       6/9/2016      11794176    Is there anyway to leave the beta program? I thought it was just a video breaking down the product and posting it on the IGG page not fb and Instagram or be in tv.
 6208897       6/9/2016      11694974    I would like to participate in the beta program and have an overseas trip coming up in a few weeks from which to test.
 6210925       6/9/2016      11794176    Nevermind get I can back on the beta program? Sorry about that but I changed my mind.
 6211027       6/9/2016      11794176    *can I get back on the beta program
 6211674       6/9/2016      12851509    Now that I've seen what's required of the BETA program, I'd be happy to help out with it. Social media and talking in front of a camera are things I do often as is.
 6209864       6/9/2016      11789260    I would also like the larger battery with the 5 ports. I don't plan on having to take it out! So mark me down for the large one of you don't mind terribly! Thanks iBackPack team!
 6206761       6/9/2016      1844699     People chosen for BETA have been notified already? I ask because I put my name out there to BETA test not sure if I was chosen or not.
 6208789       6/9/2016      11794176    I would like to be removed from the beta program.
 6209631       6/9/2016      12414081    Can I get on the beta program? I already asked a few months back, but want to make sure im on it.
                                         Re: the choice of one big battery vs two smaller.
 6212447       6/9/2016      11955673
                                          I would prefer the one big one please.
 6202380       6/8/2016      13221091    When is the estimated time that BETA will be finished? Just wondering since I have a big trip in the middle of July and I'm hoping to get the backpack by that point.
                                         Hello this is my 5th try at making sure that the error with my order has finally been fixed. I ordered the basic backpack back when this compain was still live. And for some reason the system
 6201745       6/8/2016      11777573    mixed up my order and put me down for a business option which I DO NOT WANT! I have given my phone number, and emailed conless times and still haven't gotten a straight response. Can
                                         you please fix my problem or simple refund me my money. It's been nearly eight months of me waiting for this company to fix
 6201276       6/8/2016      12438054    I have emailed my phone number, but never received any feedback. I need to change shipping address, who should I contact with?
 6195277       6/7/2016      11463600    May I know any schedule on delivery?
                                         Hey team, the new battery pack's specs look awesome! Not sure I care that much about having 5 vs 2 charging ports, but the dual inputs are a great touch. Hopefully if you go with this one, some
 6181055       6/5/2016      11953182    minor mods can be made so that the fit is complimentary to the iBackPack. And with the added weight, you will need to consider center of gravity in your design - like a centered vertical
                                         compartment or a padded, centered horizontal one. Just my $.02
 6181258       6/5/2016      9086635     Quit changing crap and send us what we paid for. Mathis is seemingly just a major scam

                                         Two questions regarding the proposed 20k battery pack...
                                         1. Will this unit feature overcharge protection? Meaning if you leave it plugged in overnight, does it have circuitry to protect from overcharging and/or heating up? This should be a requirement.
 6181117       6/5/2016      11953182
                                         2. Are there plans to make the charging system "app-enabled?" Since the unit will more or less stay in the bottom of the pack, it would be a nice innovation to be able to see its status via the
                                         iBackPack app.
                                         Thanks, and keep up the good work.
                                         The 5 usb port, 2.1a each, 2 Port to charge battery looks good if it's removable it will also be pretty sweet. I vote for it being removable, not permanent. I like the flexibility of it not being
 6181122       6/5/2016      11794176
                                         permanent
 6181225       6/5/2016      11135850    what if the battery packs charged wirelessly lol
                                         Hi all! Jean here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is jean.lucero@ibackpack.mobi and my phone is
 6180125       6/5/2016      13966225
                                         512-380-1121. You can call me directly if you wish.
                                         What is the new target delivery date please? You must be working to a new internal deadline. The beta testing is all good fun but entirely unscientific so won't prove anything that you haven't
 6181014       6/5/2016       47047      already concluded yourself. Without a new deadline the danger is that this project continues to slip until finances are exhausted. What a monumental waste of time and resources it must be
                                         calling everyone. Please give us your best estimate of when you will start putting a finished product our hands. Thks.
 6182650       6/5/2016      13328608    i just wanted to say that i like the new battery just not the designe i just think the old battery is better
                                         I'm also getting irritated with the constant changes too BUT I'm looking at this like a fine wine. We also have the option of making pledges towards the difference of quality in specific pledges and
 6181370       6/5/2016      11794176    as some who works in the electronics industry and sees the constant, constant changes in products, I'm appreciative of their initiative towards leaning closer to better specs, quality and
                                         performance. As a customer I'm glad I'm getting a better bang for my buck.
 6180277       6/5/2016      11135850    LOVE THE NEW BATTERY
 6180485       6/5/2016      11776802    Just sent that battery really want to test that one. Have 5 USB ports charging everything every day. Have this will make my very happy.
 6182702       6/5/2016      13328608    i also just wanted to comfirm the TSA locks like how many will be there and how will they work

 6181557       6/5/2016      11789260    I would surely love to have this new 20k mah battery. And if you're thinking of 2, why not make one stationary, and the 2nd portable? I'm pretty damn excited to start using this backpack and
                                         appreciate everyone still trying to give us more than we really thought we would get! Keep it up, and let's get the finalized backpack out so we can enjoy this bad maamajama!
                                         Can I suggest that on the ibackpack website or Facebook page perhaps that an area is developed so that those who cannot attend the webinars can lodge questions which can be discussed at the
                                         Webinar.
 6182400       6/5/2016      11955673
                                         Perhaps maybe even record the Webinar and make that available on the ibackpack website for download?
 6181345       6/5/2016      13982561    If we are voting on stuff can we vote on keeping the Ibackpack project on budget and on schedule.
                                         The flexibility of it being removable would be great for those that picked the sales pro version, soccer mom's, ride share service workers and those in the customer care industry. Speaking of, if it's
 6181166       6/5/2016      11794176    decided to go forward with a removable version, would it be possible to implement a locking mechanism similar to laptop locks or bike locks (with less slack of course, 4-6ft. would be
                                         excessive.)? With the monolith too. I'd hate to misplace it or for someone to steal it.
 6181223       6/5/2016      11766276    I like the design agree with my fellow contributors...make it removable
 6180162       6/5/2016      1054443     Please confirm that the mobile hotspot is 3G AND 4G compatible. Specifically, can you list the support and specs for connecting to the major US and Int'l carrier 4G LTE networks?
                                         As you know, the iBackPack includes a 20,000 mAh main battery. We've been testing many for months and THOUGHT we had an excellent solution - this past week we've found something that
 6178534       6/4/2016      10019428    JUST MIGHT be much better and want to get your opinion about same. The BETA Program is starting - Some will receive the portable 20,000 mAh battery and others this new device - UNLESS
                                         we get deluged with people who say - hell yes - just send me this new device. My personal feeling is this new device is FAR BETTER -
                                         so if you were to have the smartphone case - then you're pretty much covered. I think this new device should be stationary and "hard wired" using the cables and clamps we are including. As you
 6178554       6/4/2016      10019428    may have read, we are adding in new clamps designed specifically for the cables. The clamps are in the right hand and left hand side of the bag with three clamps per side. With the addition of
                                         the 100 ports (holes) you can string dozens of cables throughout the iBackPack and still keep everything organized
                                         I vote for the new battery. Really really pleased that the battery is also being secured. Thanks!
 6179829       6/4/2016      11955673
                                         ps I'm still concerned that the holes for the cables to run through are in the top of the bag and not the bottom....
                                         Ok... Ok...... send the backpack already.... One thing in technology is... you never have the latest technology. It changes daily. I ordered it as a gift... Delivery has gone by.... I get two phone
 6177307       6/4/2016      5111890
                                         calls... the same person asking me if I want to upgrade.. you would think the 1st call would be on record... no.. have to call again.
                                         2) You never replied to my concerns about rubber zipper pulls. You have 4 main pockets in the bag but you protect only one, with the TSA lock. What will you do when your backers will complain
 6179442       6/4/2016      11940255
                                         that they have been robbed in the subway because you didnâ€™t give them the possibility to use padlocks in the other pockets?
                                         4) Size of the bags: Months ago, I had asked you to show us comparative pictures of the various prototypes. Last picture seen in the update seem still extremely wide. I suppose it is because you
 6179447       6/4/2016      11940255
                                         put the 20.000 mAh battery horizontally. If it were vertical, you would save a lot of space on the side. Am I wrong?
                                         The new 20,000 mAh battery isn't as portable as the others - but with 5 USB ports and 2 Micro USB ports that can be used to simultaneously recharge the battery coupled with the fact you have
 6178539       6/4/2016      10019428    the credit card style battery, the lipstick style battery and the 8,000 mAh battery that is built into the modem - you are already pretty set when it comes to portable batteries. Also keep in mind that
                                         we are building a smartphone case that has 10,000 mAh built into it in less than 3 mm - so if you have
 6177007       6/4/2016      10019428    Check out the Photo Shoot Images Taken today about the Kevlar. Read the updates to learn about how we are testing Kevlar this weekend.
                                         1) June 5th: Requested opinion about possible new 20.000 mAh Battery with 5 USB: No, please stick to original 4 USB. The new one will be even bigger and heavier. And what if next month you
 6179439       6/4/2016      11940255    discover another â€œbetterâ€ model? Weâ€™ll never stop. I think each new product should be available as an option. Same thing for 17 inches laptop size as I already wrote: Standard should
                                         be 15,6 inches while 17 inches should be an option. Please confirm.
                                         3) I already asked by e-mail but got no reply: Why donâ €™t you ever show the Wall charger among the products that you are going to ship to Beta-testers? They certainly canâ€™t test all the
 6179444       6/4/2016      11940255
                                         products with the car charger only? Charging only a few hours will never allow to check batteriesâ€™ possible overheating.
                                         Hi all! Lucille here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my
 6176441       6/4/2016      13966229
                                         phone is 512-402-5286. You can call me directly if you wish.
 6179529       6/4/2016      11940255    Amendment of my post n. 2: Sorry, I meant "you have 3 main pockets" (instead of 4) but you protect only one...
 6176577       6/4/2016      11794176    Anyone know if the MIFIs are 4glte compatible or what the down/up load speeds are? Also are they GSM or CDMA?
 6170744       6/3/2016      9773147     I love the upgrades but at this point I just want to get my hands on the bag. Would much rather see you putting your time into the actual delivery of the bag.
 6170955       6/3/2016      11789260    One more question...can we see a picture of the tsa lock in action with these new rubberized zippers? I just want to make sure the lock will still actually go in and be secured.
                                         Nice job so far on the beta... I hope you received the reviews I've submitted on what I've seen to date. Nice update, too -- though again, I hope delivery isn't needlessly delayed in the elusive
 6171326       6/3/2016      11953182    pursuit of perfection. You guys have a good thing going and just need to get it out there. You can leave some of it to a later model -- we will understand.
                                         Keep up the good work.
                                         sending out cheap chinese plastic products to people to "beta" will keep their mind off the real reason we all funded this project: the bag. i funded the bag and the wifi module. shipping dates have
 6172205       6/3/2016      12793462    been passed. its now june. these cheap plastic parts can be shipped later and dont need to be a part of the shipping of the bag.
                                         give people something "Free" and they will jump at it. don't forget why we are all here. you can get these plastic "beta" products at better quality right now elsewhere.
 6169699       6/2/2016       47047      Based on the update today is it fair to say we are unlikely to take delivery of a backpack before Christmas 2016 and most likely even later than that?
                                         So I was looking over the newest update and finally seeing some photos of the mifi!
 6169581       6/2/2016      11789260    My concern is that it is only 3g, since that's what the picture shows. Is that modern just a sample? Because I thought it was going to be a 4G mifi! Other than that, I'm very excited with everything!
                                         Keep up the hard work!
                                         Hi all! Lucille here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my
 6170087       6/2/2016      13966229
                                         phone is 512-402-5286. You can call me directly if you wish.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                      Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Hi all! Lucille here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my
 6164435       6/2/2016      13966229
                                         phone is 512-402-5286. You can call me directly if you wish.
 6167073       6/2/2016      11754774    What is the progress on the 50k mah battery? I haven't seen any updates on it...
                                         Getting ready for BETA Shipping - Expected to start next week. We've been getting the boxes ready, setting up an online UPS account to better allow you to track your packages, training the team
 6166898       6/2/2016      10019428    to answer all questions you may have about the various technologies . . . a great deal of things to get done. The iBackPack is really like 20 different campaigns all put into one with all of the
                                         various components we have in it. The lithium ion situation didn't help things - but we will get through it.
                                         Morning iBackPack team - I have left posting any further messages on this forum as I believe in giving you a chance to prove me wrong. Sent a mail to Shelline Rose earlier this week as you keep
 6168303       6/2/2016      11615484    asking the same questions and I keep pointing out that I have jumped through all your Hoops already. I hand has Missed Calls from you, which is fine as we don't really need to discuss anything
                                         further. I also upgraded my Hardware to 2.0 despite early campaign promises that this wouldn't be necessary.
                                         8 days have passed and no response, so here again. Iâ€™m one of the early contributors. Originally you stated for the iBackpack WiFi: â€ œiBackpack has negotiated deep discounted pricing
 6152129      5/31/2016      6107065     with AT&T, Verizon, Sprint, T-Mobile, Time Warner Cable and many others. You should be able to save over 50% for your data access and have multiple carriers vs. one.â € All this info now has
                                         disappeared and your old discussion forums about this on your site are gone, too. What happened to this original promise?
                                         3 days ago you explained the referral program that "at the end of each month you can choose products you want with your 20% commission". I never knew about this and now would like to add
 6152202      5/31/2016      6107065     with this credit the 50K monolith. Should I add a custom pledge with the amount of $75 - 20% credit of $42.80, which then amounts to $32.20? Based on your rules is this too late with a last year
                                         pledge credit or not correct? How will you know I want the Monolith with that custom amount?
 6147535      5/30/2016      10593430    March has since come and gone and now so has May, and all we got was updates on new products but yet the question still remains .. Where the heck is my back pack?!
                                         Hi all! Lucille here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my
 6144234      5/29/2016      13966229
                                         phone is 512-402-5286. You can call me directly if you wish.
                                         IGG users, I just want to share my experience with ibackpack with you all. I pledged for the backpack 1.0 with Wi-Fi perk. I assumed that since the estimated date March 2016, it was ready to
 6141152      5/29/2016      13982561    ship. However, this is not the case and the backpack is still in beta testing. I requested a refund but the owner refused stating "We have a NO REFUND policy". As IGG states, any project in the
                                         early stages carries risk. It is in my opinion, this is one risk you should stay away from. Thank you.
                                         Thank you for the g2m last night. Looking forward to beta testing whatever I can for you. From yesterday's discussion on which size backpack, I would prefer the larger. If that would need to be
 6137421      5/28/2016      11771108
                                         an additional cost, I understand & would gladly upgrade.

                                         It really is time to quit looking for Beta Testers, input, comments, and dreams. Find a CEO, make some decisions, and SHIP PRODUCT. And i am not being negative. I am trying to be helpful.
 6136809      5/28/2016      5879584
                                         You can do more campaigns. But this is leadership by committee. It really doesn't work.
                                         Great ongoing meeting, nice to see the product till now what it looks like. For sure the best product I have come across on here in regards to keeping in the loop. I will do my best to push this
 6134174      5/27/2016      8301663
                                         also.
 6136585      5/27/2016      11754774    I have already given my number, do I need to give it again as part of the beta program?
 6135107      5/27/2016      10018814    Doug I noticed the "rain cover" built into the bag. It appears this cover is not to cover the mag itself
 6134175      5/27/2016      11766302    Being in the education and travel business this is a game changer when I am so mobile
 6135124      5/27/2016      10018814    Sorry bag itself is what I meant to say, originally I thought that cover was for the iBackpack, to help keep iBackpack nice and dry. I'm not as worried about keeping my jean down
                                         Thanks for providing the live stream, Doug -- it was very informative, and I appreciated the opportunity to bounce ideas around with you and some of my fellow backers. Looking forward to future
 6134440      5/27/2016      11953182
                                         developments.
 6134436      5/27/2016      14251141    So does anyone want to clarify what I missed?
 6135289      5/27/2016      14251141    regarding the hardware upgrade I love it but I don't need it right now....I want to know is it possible for us backers in the future to get that deal if we were ever to change our minds?
                                         Doug saw the meeting great information, you asked about some suggestions for a possible 3.0 version. First suggestion I would be interested in either a messenger bag version of the iBackpack
 6135092      5/27/2016      10018814    or one that can convert to a messenger bag. A feature I have noticed on some backpacks is a steal cable sewn into the top carrying handle on the iBackpack this provides more security as a lock
                                         and chain can be secured to the cable sewn into the handle.
 6133823      5/27/2016      14251141    Damn I can't see the live stream :( meeting is full
 6134164      5/27/2016      11766302    Enjoyed the call tonight! Being in Austin I can help publicize by demonstrating, etc. This is HUGE to see it!
 6127565      5/26/2016      11794176    Gustavo-They decided to not go forward with custom logos.
 6123802      5/25/2016      10593430    Does anyone know anything about customizing the BackPack with a logo or to our liking?
                                         Seeing as how there's gonna be 4 levels to the bulletproof plates and some of us already having pledged towards a plate, I take it you guys will be asking for an additional pledge towards each
 6123932      5/25/2016      11794176
                                         level up and the base pledge being the base model, how much is each additional pledge up going to be?
                                         Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is shelline.ates@ibackpack.mobi and my phone
 6119577      5/24/2016      13720258
                                         number is +1 512 377 6948. You can call me directly if you wish. Thank you.
                                         https://global.gotomeeting.com/join/624180149
 6108044      5/23/2016      10019428
                                         just got the new 17 inch backpacks - happy to show them to you if you have the time. doug
 6107471      5/23/2016      11962489    I'm moving in December. Please tell me the ETD and ETA to my place(Tokyo) so that I can change my address before it shipped.
                                         Most recent email update now states that "those receiving the BETA products are ONLY those we have previously spoken to and have agreed to provide a video review of our numerous
                                         technologies." That's quite a sudden change in criteria. Please tell me this is just another case of less than clear communications...
 6106242      5/23/2016      11953182
                                         I really want to believe in you guys... but I have to say, some of what I'm seeing of your communication, organization and planning is frankly an embarrassment.
                                         I'm one of the early contributors. This has been nagging me for a while. Originally you stated for the iBackpack WiFi: "iBackpack has negotiated deep discounted pricing with AT&T, Verizon,
 6105980      5/23/2016      6107065     Sprint, T-Mobile, Time Warner Cable and many others. You should be able to save over 50% for your data access and have multiple carriers vs. one." All this info now has disappeared and your
                                         old discussion forums about this on your site are gone, too. What happened to this original promise?
 6105550      5/23/2016      14205115    Steven Spielberg Move Over
                                         Hi iBackPackers! This is Sherly - I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My phone number is +1 512 333 2584 and
 6112303      5/23/2016      13720269
                                         email address is sherly.mojello@ibackpack.mobi. You can call me directly if you wish. Thank you
 6103457      5/22/2016      11753216    I'm disappointed that I'm not receiving any of the beta stuff even though I signed up
 6103935      5/22/2016      9934742     Hi, if I update to 2.0, when would I receive my goods? I bought this bag for my month trip around the US in September as expected delivery was July, will I receive 1.0 or 2.0 in time?
                                         Hi Everybody - I just posted a urge for quotes for a major US news magazine regarding the iBackPack and Kevlar. They are looking for quotes to include in same - specific about why you want to
 6101305      5/22/2016      10019428    be protected - their deadline for this news story is Monday - so post them right away - should they wish to include same they will contact you to verify the authenticity etc. about your quote. Keep
                                         the quote around the Kevlar and protection vs. the technology please
                                         Hi all! Jean here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is jean.lucero@ibackpack.mobi and my phone is
 6100267      5/21/2016      13966225
                                         512-380-1121. You can call me directly if you wish.
                                         Like many others here, I am somewhat taken aback by the lack of decorum displayed in some the team's updates. Someone really needs to learn the concept of "professionalism." And this is
 6098618      5/21/2016      11953182    not limited to posts -- it's also reflected in the team's inability to organize a simple email campaign. It's not necessary (and frankly dumb) to chase everyone down via phone. You have our
                                         addresses. You have our emails. Figure it out, people!
                                         Hello All - Doug Monahan here - I apologize to the whole community for some of the posts as we get ready to ship. Perhaps some of us on the team should be to charm school, etiquette school
 6097748      5/21/2016      10019428    while we study customer service as well. I can in defense of the team here - that everybody is doing their best to offer a world class backpack - something like no-other you have seen. I'll write an
                                         update myself here in a bit regarding all that is happening - orders - shipments etc.
                                         Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is shelline.ates@ibackpack.mobi and my phone
 6100276      5/21/2016      13720258
                                         number is +1 512 377 6948. You can call me directly if you wish. Thank you.
                                         Whoever replies to your comments here should write your emails. Huge fan and long term supporter who has upgraded to version 2. But yeah, bit of frustration and negativity coming across in
 6097668      5/21/2016      11399392
                                         Comms out to people which other people have mentioned so I'm not going to comment further. Very keen to get the backpack.
                                         Ok, I've had enough!
                                         No! You do NOT need my phone number to ship something to me. I have worked in logistics and have shipped things to people for years, never needed to call them or their phone number. So,
 6098966      5/21/2016      10604064    you are basically either really bad at this, or you are misleading people.
                                         With that said: If my phone number, name or address appears in your sales database, I WILL sue you. I never gave you permission to do that and my lawyer agrees.
                                         This is making you look REALLY bad and disorganized!
 6098825      5/21/2016      10429749    what about the ibackpack any news on that need it for aug for Thailand going for 4 weeks
                                         The credit card style batteries 3,000 mAh, Lipstick style batteries, Lightsticks and various other polymer ion batteries are on their way from Shenzhen. We'll be packaging and shipping as quickly
 6099797      5/21/2016      10019428
                                         as possible. There are also 6 more Kevlar plates coming our way for field testing.
                                         Never trust any campaign from this website. It is awful. I asked which color we can choose before I contribute to this Backpack. They said they will have designer for this part, and we can choose
 6098177      5/21/2016      12069129    one of them. And now they said they only have one color. Another thing is, they provide $300 for 2 for the people who didn't contribute to them 1 year ago. Can't believe it. I would like to spend
                                         more money to buy a finalize product, at least I can return it they are liars.
                                         Hi, one additional question. I guess for foreigners it does not make sense to receive the iBackPack with its ingredients in individual deliveries as it makes the delivery more costly and custom
 6092638      5/20/2016      7775668     handling more complex (I guess). Thus we are out of the BETA program. Thus, can you please explain how are you going to deal with deliveries to Europe (in my case Germany)? Thanks,
                                         Matthias

                                         I keep replying with "No Call Needed", I had hoped that was sufficient, it's becoming clear it is not. Reading through the comments below I tend agree with most of them that process is not very
 6097410      5/20/2016      11765610
                                         efficient. Also I don't appreciate comments in the email, such as the recent one; ".......unless you are autistic - which one anonymous pledger is - then you have no excuse..."
                                         Not appropriate and unnecessary. Disappointed in the direction this is going.
                                         I understand the concern over lithium batteries but given the ubiquity of these devices today I'm really not sure what you think can be gained by sending a few out to a small group of your backers.
 6096502      5/20/2016       47047      It will prove absolutely nothing about the safety, or not, of the batteries given the unscientific nature of testing and small sample size. Much better to simply make a choice based on the scientific
                                         research of bigger companies who have already performed testing and/or reliable manufacturer.
 6092623      5/20/2016      7775668     Hi, I would like to adjust my address but cannot do it (in other campaigns I can easily do it!). Why is this? Please advise what to do! Thanks, Matthias
 6093660      5/20/2016      10842301    To whom do I send my phone # two? I thought I already sent it to you?




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                      Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Quick suggestion.Stop calling people.

                                         It is inefficent, and reading some of the responses below seems to be counter productive.

 6095689      5/20/2016      11955673    Your app designer should be able to create a bulk email routine in a few minutes. In the email ask people for their phone numbers and addresses and for any questions they have.

                                         Once responses are recieved its a straightforward exercise in Excel with a couple of formula to see who's responded.

                                         Then follow up non respondents with additional emails or phone calls.
 6097432      5/20/2016      11955673    @Jim Basa.. Totally agree.

                                         A Month ago you said that a team of 3 people would be calling backers to confirm (A) Their Orders and (B) Their Shipping Address
 6097023      5/20/2016      11615484
                                         If every success call took 10 minutes to conclude, that would be 6 Backers called per hour per person making the call. Using a UK Based 7.5hr day, that would be 45 people called per day per
                                         person. So a month has passed and so that should equal 4050 Backers called. You are now asking for 3 x volunteers to call Backers a Month later. The Math just doesn't add up?
                                         Maria Lucille Lacsican - I am getting concerned as whenever any Backer asks the question about when the product will be shipped the same ambiguous answer is given about Beta testers will
 6090181      5/19/2016      11615484    receive the first Beta Products Shortly. This has been ongoing for weeks and the message hasn't changed. I Backed you in August 2015, I opted to be a Beta tester, I gave you my Order Details
                                         and contact detail in an email, I STILL HAVE NOT received a call and to my knowledge NO-ONE has yet received anything??
                                         Hi Maria Lucille Lacsican

                                         RE: "Hi! We are about to ship the items for the beta program. We want to ensure that all the items that we will be sending you meet with your expectations and safe to use. We will then do a
 6092457      5/19/2016      11615484
                                         mass production of the items after the beta program is completed and will start shipping the iBackPacks once everything is ready."

                                         Exactly my point I made about ambiguity! What does that mean, 2 weeks, 3 weeks, 4 weeks, July, August? How long is a piece of string??
                                         Hi all! Lucille here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my
 6092440      5/19/2016      13966229
                                         phone is5124025286. You can call me directly if you wish.
                                         The campaign was 800+% funded when it ended in October 2015. It's now nearly end May 2016 and there seems to be no sign of shipment of the backpacks.

                                         Given the recent articles on fraudulent campaigns on Kickstarter, with money being embezzled, etc., I am beginning to feel a bit jittery about such campaigns.

                                         When are the backpacks being shipped?
 6084821      5/18/2016      9797830
                                         Why are the 2.0 people getting a better product and better deal funded by the backers of the 1.0 version??

                                         Thank you for reading me

                                         Jorge Janeiro
                                         Hi all! Lucille here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my
 6085760      5/18/2016      13966229
                                         phone is 512-402-5286. You can call me directly if you wish.
                                         Dear Sirs & Madam
 6083422      5/18/2016      13880321    When shipping and delivery?
                                         Thank you so much
                                         So to clarify, if you check my order: I ordered the original iBackPack WiFi version you first launched, and subsequently paid for upgraded electronics from 1.0 to 2.0 after you informed me you
 6079926      5/18/2016      7774429     were - for "free" - upgrading it from the 1.0 to 2.0 version (even though a 1.0 versional hadn't even been released).So you are sending me the iBackPack WiFi 2.0 version with all the associated
                                         electronics the Wifi 2.0 would have, all the cables and features of the WiFi 2.0 backpack, plus my 50k battery?
 6076246      5/17/2016      11135850    I got a call but never got an estimate on when LOL
 6075488      5/17/2016      12077929    Someone know when i'll get my bag ?
                                         Hi all! Jean here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is jean.lucero@ibackpack.mobi and my phone is
 6079401      5/17/2016      13966225
                                         512-380-1121. You can call me directly if you wish.
 6074860      5/17/2016      11879358    I contributed for 6 backpacks.. andi have had an email. a phone call or anything.. when will these be shipped out?
 6077083      5/17/2016      11794176    Thanks Jean!
                                         Hi all! Jean here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is jean.lucero@ibackpack.mobi and my phone is
 6073606      5/16/2016      13966225
                                         512-380-1121. You can call me directly if you wish.
                                         So me in sales pro version I want logo and choose color like you provide at start your campaign
 6071712      5/16/2016      11766005
                                         What the Deal and you donâ€™t respect customer and politics of start of project!
 6068421      5/16/2016      11135850    If you call me is there a way I could get a call after 5 I have work m-f 8am to 5pm
                                         Hello heu when i read you re email I just want do one THING, cancel all my orders !
                                         At start of campaign, you propose 3 versions PACK, i buy wifi, sales pro and middle version.
 6071711      5/16/2016      11766005
                                         For info, I make order on indiegogo in june.so you say in last june, order arrive in march 2016 and?
                                         So after you propose to customer to pay again for 70 dollars for upgrade 2.0 but sorry all this options is always provide at start of campagn
 6060558      5/14/2016      13117616    We have some indiegogo projects without updates... And then we have ibackpack!
 6061453      5/14/2016      11794176    Anyone know what the output on the monolith battery is? It say 5v but it doesn't show the amperage. I'm hoping for 2.4a.
 6060600      5/14/2016      11776802    At the hospital I work at we use RICOH printers there fast and stable and you can set it up how every you want to print it prints is. Even on labels

 6061929      5/14/2016      11455705    I'm no printer expert but it seems like most businesses lease their printers as somebody else already mentioned. You'll have to find a local dealer for Xerox, Ricoh, Cannon, etc. to find out about
                                         pricing and features. There are a ton of possibilities there. You could also just make the brochure available as a PDF instead of printing 8 pages or so per person. That should be way cheaper.
 6060714      5/14/2016      5061634     Printer: Most companies I know rent their printer. And get yourself a Paper & Letter Folder, otherwise you get crazy doing that manually.
 6060885      5/14/2016      11084760    I'm sure when all is done it will be great. My problem is how you can make changes and offer a 2.0 when the 1.0 isn't even produced?
                                         Please make sure you check the update section. It lists the products that have arrived and detailed description of those we are getting ready to ship first. Our entire team is quite excited to hear
 6060656      5/14/2016      10019428    your feedback on the products. They are sensational in every sense of the word. We keep emphasizing it over and over - but here it is again GIVE RENAE YOUR PHONE NUMBER - Make sure
                                         to answer phone calls coming in from AUSTIN, TEXAS - AREA CODE 512 - and call us back please.
                                         Just wanted to drop my 2 cents here. You guys have come up with a great product and your hard work is appreciated. My advice for the future though would be to apply a concept we use in
 6061946      5/14/2016      11455705    software development called minimum viable product. People tend to try to make version 1 of what they do perfect but the reality is that you can't and you'll need to make many adjustments to
                                         your plans. Basically, you should make version 1 the minimum needed to succeed and focus on the most important things only.
 6056315      5/13/2016      11794176    Anyone know what the output on the monolith batter is? The picture only says 5v. I'm hoping it's 2.4a.
 6056318      5/13/2016      11794176    *battery
 6054168      5/12/2016      11938981    Hi! I missed a call from you. Please send me my order asap. You don't need to call me again, all information about address of delivery is correct
                                         About your last updates (BTW could you please give them a date or a number rather than â €œx days agoâ€ ?)
                                         1. Size: The laptops we use are 13 inches. When I pledged, the description said â€œfits 15.6 inches laptopâ€. It was already too big for me, but in no case would I be happy with a bigger bag
 6054586      5/12/2016      11940255
                                         fitting 17 inches laptops. Please make a separate production for 17 inches.
                                         2. Battery: I am pleased to know that you use polymer. Please note that the packaging of your MP909 says â €œlithium ionâ €.
                                         Doug, I have a question about the wireless charging pad, so far this is only useful to individuals who already have a phone that has this feature built in, or if they make a phone case with wireless
                                         charging built for your model phone.
 6052480      5/12/2016      10018814    What would be helpful is if iBackpack can sell cellphone cases that allow the phone to use the wireless charging pads.

                                         I have an iPhone 6plus, so far I have been unable find a wireless charging phone case. Just an idea for an another accessory you can sell
                                         RESENT
                                         Thanks for your reply to my comment about rubber coated zipper fobs. I agree that they are nice and avoid burning your fingers in case it is too hot. I know there is one TSA style lock at the top of
 6054592      5/12/2016      11940255
                                         the bag, but it protects only one of the three larger pockets. Would it be possible to use the rubber coated zipper fobs but still have sliders with a ring for a padlock? Otherwise, if I remove the
                                         rubber, will I find a traditional zipper pull underneath in which I can use a padlock?
                                         The newest update (5/12/2016) confused me a bit with the batteries.
 6051951      5/12/2016      12851509
                                         Are any of these batteries included with the 2.0 hardware package or are they additional pledge with the POW bundle? Thanks
 6052278      5/12/2016      11135850    Hey Doug I like the 15 inch style better in my opinion
 6054736      5/12/2016      10593430    I have a question in regards to the sales ibackpack.. Where do we send in out logo so that you can place it on the ibackpack?
                                         Hi iBackpack Team - I pledged to this campaign on August 25th; I supplied details of my iBackpack Wifi edition with an upgrade to the 2.0 Hardware about a month ago along with my contact
 6050148      5/11/2016      11615484    details and so far I have not received anything from you as per your claims about contacting backers. I am now stating to get worried that it will be a year before I see anything as a result of the
                                         money I have pledged; please can you confirm when Backers Perks will be shipped??
 6045827      5/11/2016      12076060    Is the iBackpack waterproof in any way?
 6049526      5/11/2016      9750632     Hi Doug, can you approximately estimate, when you will deliver the IBACKPACK?
                                         Hello - The amount for the CUSTOM PLEDGE is fixed at $25 and I cannot find a way to alter it. I've already pledged for the backpack and shouldn't have to pay for additional shipping, as is
 6041175      5/10/2016      5204373
                                         required if I pledge for the Monolith battery separately. Please advise on the appropriate way to pledge $75 for the 50,000 mAh battery. Thank you!
 6039974      5/10/2016      9018866     Hi Doug. Can you add the monoloth battery to the custom pledge link so that I can buy a couple of these along with kevlar inserts a little easier? Many thanks
                                         Glad you were offering the 1.0 to 2.0 upgrade for a cheap cost! would have hated to miss out. Hopefully the bag is got when ordering on indie gogo is the same as the Kickstarter one since I was
 6036963       5/9/2016      11765634
                                         one of the contributors on this page when it was still being funded.
                                         Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is shelline.ates@ibackpack.mobi and my phone
 6034040       5/9/2016      13720258
                                         number is +1 512 377 6948. You can call me directly if you wish. Please make sure to send me an email with your phone number. Thank you.
 6034134       5/9/2016      12527012    Steven Spielberg Move Over - I am able to review the backpack and it's products in 1080p with high quality editing and motion tracking.
                                         Hi iBackPackers! Sherly here. I am one of our Director's of Customer Service and will be making outbound phone calls to everybody today. My email is sherly.mojello@ibackpack.mobi and my
 6032553       5/9/2016      13720269
                                         phone is 5123332584. You can call me directly if you wish.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID

 6036376       5/9/2016      13513749    Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is samantha.abellanosa@ibackpack.mobi and my
                                         phone number is +15124025283. You can call me directly if you wish. Please make sure to send me an email with your phone number. Thank you.
                                         Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is shelline.ates@ibackpack.mobi and my phone
 6034039       5/9/2016      13720258
                                         number is +1 512 377 6948. You can call me directly if you wish. Please make sure to send me an email with your phone number. Thank you.
                                         Hey Everybody - looking for people to video the BETA products - so ping us with your information if you would be willing to do same. It simply means holding the products upin front of your
 6028132       5/8/2016      10019428
                                         webcam or getting a high-end camera to show you using them and sending to us so we can share on youtube. We are confident everyone will be impressed.
 6028323       5/8/2016      12446907    Move over Steven Spielberg!
 6028763       5/8/2016      11754774    I would say Steven Spielberg move over, but what if the final version is different from the testing stuff? Will we still get the completed product? Or just the test products?
 6027695       5/8/2016      11692015    Steven Spielberg Move Over - I will review whatever you need with 4k video.
                                         Doug. Thanks for the reply. ToS provide a baseline for engagement and set expectations. Projects will have changes and that's fine. However definitely having a timeline in mind helps with
                                         communication, right?
 6028036       5/8/2016      11906310
                                         Look forward to seeing a product by end of summer!
 6029315       5/8/2016      12527012    I have a few questions about the reviewing "process" which I sent in an email.
                                         I just talked to one of the customer service reps. They are pushing for me to purchase the 1.0 to 2.0 upgrade. The beta program is launching, will last a month and then the product will ship 45-60
                                         days after that. This means 90+ days until product is received. At this point, I am happy to sit tight and hope the product ships. No sense in spending money for the 1.0-2.0 upgrade for product
 6028394       5/8/2016      1054443     that I do not know when will be shipped.

                                         Lesson learned: Be a lot more wary of crowdfunding programs.
 6027632       5/8/2016      13221091    I'm interested in making those videos for the cables, but I'm not great at editing. Would that be a problem?
 6027495       5/8/2016      12043055    Steven Spielberg Move Over! I'll help with review videos!
                                         Hi All.
                                         Unfortunately I gotta write it here. I have sent you several emails with a problem I have with my pledge but I got zero response. Waiting for more than 2 weeks.

 6027392       5/8/2016      4353766     Can you let me know where can I contact you at?

                                         Thanks.
                                         Oren
                                         Howdy! I get the momentum here is power by positive feedbacks and comments, I get that. Campaign for the 1.0 version ended in March.

 6027529       5/8/2016      11906310    Could you provide a final ship date for the product as defined by/is consistent with Indiegogo ToS?

                                         You have great communication here in terms of frequency. Just up the level of content quality with deadlines less the beta program here.
                                         Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is shelline.ates@ibackpack.mobi and my phone
 6027316       5/7/2016      13720258
                                         number is +1 512 377 6948. You can call me directly if you wish. Thank you.
                                         I'm getting a little antsy about whether or not my phone number is on the call list because I didn't receive a confirmation e-mail as a response when I e-mailed it to Renae.
 6026767       5/7/2016      12851509
                                         Are all of the phone calls going to be made within the next 7 days? Or should I be patient for the next 14 days instead?
                                         Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is shelline.ates@ibackpack.mobi and my phone
 6027315       5/7/2016      13720258
                                         number is +1 512 377 6948. You can call me directly if you wish. Thank you.
                                         Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is shelline.ates@ibackpack.mobi and my phone
 6027317       5/7/2016      13720258
                                         number is +1 512 377 6948. You can call me directly if you wish. Thank you.
 6020345       5/6/2016      11794176    Also I appreciate you effort in your calls and replies to my comments I know you guys are under a lot of pressure.
                                         Here are my pledge reference numbers. I almost got a free monolith battery lol

                                         Item              Pledge ID
 6018851       5/6/2016      11794176
                                         Ibackpack pro 12966460
                                         Kevlar plate      15194933
                                         POW! Cables        3341994
                                         The
                                         3k mAh credit card battery
                                         2.6k mAh lipstick
                                         3 in 1 zipper cable
 6020341       5/6/2016      11794176    Bluetooth audio headphones
                                         8k mAh lightstick

                                         I can do without, with that in mind, is the 1.0 and 2.0 the same bag (just bag, not the guts ( (cables, power packs, etc., ) )? I know what I'm getting "guts" wise but confused as to the bag. Is 1.0
                                         and 2.0 are the same I apologize for the confusion.
 6018856       5/6/2016      11794176    The lipstick battery didn't come up in the phone conversation. Will I still be getting it?
 6018729       5/6/2016      11794176    *If true
                                         So I just got off the phone with Lucille and she said I have to pay $60 to upgrade to 2.0 after early backers were promised a free hardware upgrade to 2.0 from 1.0. Months ago it was said that
 6018728       5/6/2016      11794176
                                         early 1.0 backers would get just the 2.0 backpack with 1.0 components. This is bogus is true.
                                         Hi iBackPackers! Sherly here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is sherly.mojello@ibackpack.mobi
 6018204       5/6/2016      13720269
                                         and my phone number is 5123332584. You can call me directly if you wish.
 6018331       5/6/2016      8609720     How do I change my shipping address for the backpack?
                                         Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is shelline.ates@ibackpack.mobi and my phone
 6023519       5/6/2016      13720258
                                         number is +1 512 377 6948. You can call me directly if you wish. Thank you.
                                         WHOOPS!
 6020373       5/6/2016      11794176
                                         An update from 7 days ago answered my question (after the update about beta products being shipped out) sorry iBP team.
                                         Hi, last week in the update it says: The lipstick style battery is included in the 2.0 product if you haven't already upgraded to 2.0 you can do so for $60 now - the price is going up to $100 in about
                                         a week." But I've not seen any indication how to do this.
 6011396       5/5/2016      4822604     I've also emailed about a phone number contact with no response either by email or phone.

                                         Julian
                                         when they finished the final draft?.
 6014422       5/5/2016      11646503    I would like at some point to have my backpack.
                                         They have any estimates or projections of shipping to Argentina?.
                                         I have sent an email with my number 7 days ago, but I haven't heard from anyone. You keep on posting that we are supposed to send our phone number but when are we going to receive a call
 6011259       5/5/2016      12444317
                                         from you?
                                         Hi all! Jean here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is jean.lucero@ibackpack.mobi and my phone is
 6018098       5/5/2016      13966225
                                         512-380-1121. You can call me directly if you wish.
                                         So I was called and had a nice conversation. But I didn't fully understand the answer to a question I had. I'm going on a big trip starting on July 17, and was really hoping I would get the
 6017500       5/5/2016      13221091
                                         backpack. If I'm correct, BETA will last until about the end of May, then I would start to get the components 45-60 days after the end of BETA? Or is it different?
                                         Hi all! Jean here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is jean.lucero@ibackpack.mobi and my phone is
 6010790       5/4/2016      13966225
                                         512-380-1121. You can call me directly if you wish.
                                         Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is shelline.ates@ibackpack.mobi and my phone
 6004928       5/4/2016      13720258
                                         number is +1 512 377 6948. You can call me directly if you wish. Make sure to post your phone number, so I can call you. Thank you.
                                         Hi iBackPackers! Sherly here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is sherly.mojello@ibackpack.mobi
 6010873       5/4/2016      13720269
                                         and my phone number is 5123332584. You can call me directly if you wish â €“ make sure to post your phone so I can call. Have a wonderful day!
                                         Hi all! Lucille here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my
 6010761       5/4/2016      13966229
                                         phone is 512-402-5286. You can call me directly if you wish.
                                         Hi iBackPackers! Sherly here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is sherly.mojello@ibackpack.mobi
 6004967       5/4/2016      13720269
                                         and my phone number is 5123332584. You can call me directly if you wish - make sure to post your phone so I can call. Have a wonderful day!
 6009593       5/4/2016      11794176                                                                                                                                                                                                  7735875638
                                         Hi all! Lucille here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my
 6004673       5/4/2016      13966229
                                         phone is 512-402-5286. You can call me directly if you wish.
                                         Part 3
                                         I got completely lost in the constant flow of rubbish information about what is in scope of delivery, what you are testing just because you think it is cool, what am I supposed to get if the
 6002965       5/3/2016      10606904
                                         Kickstarter campaign will be successful and excitement about the Kevlar plates. Stuff which I didnâ €™t sign up for and never requested. You turned this campaign for a Backpack into a very poor
                                         quality blog about junk electronics from China.
                                         Hi all! Jean here. I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email is jean.lucero@ibackpack.mobi and my phone is
 6004437       5/3/2016      13966225
                                         512-380-1121. You can call me directly if you wish.
                                         Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is shelline.ates@ibackpack.mobi and my phone
 5998514       5/3/2016      13720258
                                         number is +1 512 377 6948. You can call me directly if you wish. Make sure to post your phone number, so I can call you. Thank you.
                                         Hey All - Lucille here. I am one of our Director's of Customer Service and will be making outbound phone calls to everybody today. My email is lucille.lacsican@ibackpack.mobi and my phone is
 5998477       5/3/2016      13966229
                                         5124025286 you can call me directly if you wish - make sure to post your phone so I can call.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID

                                         Part 4
 6002967       5/3/2016      10606904
                                         Dear campaign owner, you completely lost the track and I am starting to be convinced that this was always the primary plan. I and many other backers wrote comments and emails with very
                                         simple question â€“ â€œWhen will the backpack be shippedâ€. You never answered the question. You either ignored it, or replied to the comment that person asking should write an email.
                                         Part 1
                                         Dear campaign owner, the time has come for me to let my frustration out.
 6002961       5/3/2016      10606904
                                         I am really frustrated and pissed off about this â €œRevolutionary campaignâ€. I signed up and paid for a Backpack, which I believed, was to be a high-quality business style backpack with some
                                         basic infrastructure for mobile office smartly woven in the body.
                                         Part 2
                                         Briefly following the constant flow of spam from the campaign, I now understand that if I get anything at all, I will get some bag with lots of Chinese electronic junk just thrown in it.
 6002963       5/3/2016      10606904
                                         I really cannot appreciate the updates with billions of pictures of a battery, and another battery, some cables, different cables, some other battery, car charger, pocket fan or any other junk which I
                                         never wanted. Pictures that were taken on the table, in the factory, held in hand or hanging in the air.
 6004553       5/3/2016      6419058     How do I get a refund? I emailed and never heard back. Thank you
                                         Hi all! I am one of the Customer Service Directors for iBackPack. I will be making outbound phone calls to everybody today. My email address is samantha.abellanosa@ibackpack.mobi and my
 6000843       5/3/2016      13513749
                                         phone number is +1 512 402 5283. You can call me directly if you wish. Thank you.
                                         Part 5
                                         All I wanted was a business style backpack with the function to charge my phone and act as a hotspot. I understand it is my mistake and I should have bought a Samsonite, battery bank and a
                                         4G portable modem. I understand that I lost my money to bullshit and I need to buy me another backpack.
 6002970       5/3/2016      10606904
                                         But the problem is, that I am convinced that your campaign is complete fraud and I will inform Indiegogo and see what is their policy for dealing with this.
                                         Regards,
                                         Jan
 6000301       5/3/2016      11458033    Hi, I sent you my number but nobody called or send me a reply?!
 5998734       5/3/2016      11135850    Are you able to call me after I get out of work at 5 eastern time
                                         Hey All - Jean here. I am one of our Director's of Customer Service and will be making outbound phone calls to everybody today. My email is jean.lucero@ibackpack.mobi and my phone is 512-
 5998449       5/3/2016      13966225
                                         380-1121 you can call me directly if you wish - make sure to post your phone so I can call.
                                         Hi iBackPackers! Sherly here. I am one of our Director's of Customer Service and will be making outbound phone calls to everybody today. My email is sherly.mojello@ibackpack.mobi and my
 5998426       5/3/2016      13720269
                                         phone is xxx. 5123332584. You can call me directly if you wish - make sure to post your phone so I can call. Have a wonderful day!
 6002474       5/3/2016      13636500    Is it possible to get a number or numbers to add to my phonebook so that I don't ignore the call when you all make it? (sent this same message in my email)
                                         <scratches head>
 6001485       5/3/2016      9727208     Receives a call from an iBackPack rep at a phone number that I'm sure I didn't give them.
                                         I return the call only to hear a voice telling me that she's unavailable and to call the number I called.......
                                         Thx fire the updates I already have a power pack witch I can charge my iPhone 3 times with. And it has the 4 blue led. My experience with is just fine and you only use it wen your a way off a wall
 5995972       5/2/2016      11776802    plug. So having a screen on which shows % is a bit unnecessary. Just drown it off power every month and charge it fully every month and it keeps working just fine. Screen even uses it power led
                                         as wel but less a lot less.
                                         First of all your comment is pretty harsh. I'm not asking for handouts since like I mentioned I contributed actually to 4 bags. I thought maybe since you're asking we help get the word out what a
 5993243       5/2/2016      9557475     better way to do it while the devices get tested You consistently have said " you will be the hotspot" I ve always had but good comments. I'm just hoping maybe you're just having a bad day and
                                         this is not how you treat others. By the way Erica is great. Have a good day...
                                         Good Day,
                                         My question is I purchased multiple bags and signed up for the beta program am I going to receive beta testing devices based on the amount of bags I purchased or just for one bag. I believe I
 5992759       5/2/2016      9557475
                                         should receive for each bag purchased because my high school kids will really show them off at school and hopefully will get their parents to purchase. Kids are one of the best marketing tools.
                                         Thank you so much for taking your time to deliver an outstanding product...
                                         @Ruth - Don't take this the wrong way, but as someone who has had his disagreements with Doug and co., I think he's absolutely on point and not being harsh at all in his reply. "Beta" does not
 5993360       5/2/2016      11953182
                                         mean product marketing. It means actual testing of a product
                                         Doug your assistance is needed please. Can you please update me. My shipping address is: Ernie L. Vecchio 2954 Scott Depot Road, Scott Depot, WV 25560 My purchase was August 31, 2015
 5992245       5/2/2016      11983245    and billed September 2, 2015. Transaction ID: 62F67296LL685991D. Seller info iBackPack Invoice ID 13237434 My email: innerscape@depthwork.com (System ID 13237434) Your purchase
                                         $214.00. My Mobile #:304.552.9832
                                         I'm not home Doug I wasn't wanting to get all 4 , it wasn't just I guess you can say an innocent question. I've been a backer from the get go and have been extremely patient. I'm not trying to be
 5994223       5/2/2016      9557475
                                         greedy at all. I've previously waited for other projects for over a year. Let me tell you I was very patient and got one GREAT! product. So once again... I was misunderstood:)
                                         @OnTheMark I believe the point is being missed how can one test the products then...aren't we supposed to be able to have multiple people on wifi or charge multiple devices, how better to test
 5993734       5/2/2016      9557475
                                         but to allow others to be able to join . Once again I believe
                                         Is the backpack version 1.0 considered the beta, or is there a separate beta for the 1.0 backpack? I'm asking because my address might change in a month or so, and I'm not sure if I'm supposed
 5995688       5/2/2016      12076060
                                         to sign up for the beta or wait until the final product
                                         Hi iBackpackers - Doug here. Happy Sunday to all. I'm on the phone with Sherly right now making sure she is up-to-date regarding the BETA program and the contents that you will be receiving.
 5988305       5/1/2016      10019428    We begin shipping products this week. WE have thousands of credit card and lipstick style batteries already paid for, and being shipped to our Austin, Texas headquarters. We will be shipping
                                         about 50 - 100 per day - it depends on how many people we can speak with. We must speak with you.
                                         The latest email update is a little "off" so some clarification. Do you get to participate in the BEAT because you have spoken to us or because we signed up for it? I signed up for it - twice - and
 5988502       5/1/2016      11395150    early - and have not received a call. I have already given my number to three people at iBP now, once where I was told you would call me "right now" (Even stayed up until 3am because of time
                                         difference). BETA numbers are limited so does it matter if you signed up or only if you get a call?
 5988718       5/1/2016      11953182    Relatively, not tentatively. Darn spell check...
                                         Doug this is reply to your response to my question regarding a flip up battery you said was not included in the 1.0 bag or 2.0 bag, yet if you look on the campaign page for Kickstarter photos show
 5989902       5/1/2016      10018814    a flip up battery, described as "The iBackPack 2.0 includes a 10,400 mAh charger, mirror and stand to hold your smartphone" I took this to mean it was part of the upgrade between the 1.0 & 2.0.
                                         If it is not you might want to remove it from the 2.0 product page on Kickstarter to avoid confusion
                                         This my new shipping address

                                         Karim Bukres
                                         7 Sukawi Street from Al Khalifa Al Mamoun Street
                                         6Floor # 601
 5988596       5/1/2016      11748041
                                         Manshit Al Bakrey
                                         Cairo 11757
                                         Egypt

                                         Mobile # 01000190180
                                         Hi Everybody - We need some volunteers to help us out. The BETA program is starting its shipments this week and we have to get on the telephone and call everybody who is part of it. If you
 5988326       5/1/2016      10019428    have the ability to work for at minimum 2 hours a day for the next month - it would help us out greatly AND it could lead to a full-time paid position - or perhaps a PT paid position. The 80 hours or
                                         so that you would be helping us out with are not paid. However, you would receive your BETA units immediately.

 5989922       5/1/2016      10018814    FYI I'm not trying to create a problem I am only pointing out something that is a contradiction. So that you and your staff can correct any misinterpretation. It might be beneficial to show in a
                                         photo comparison what comes in 1.0 WiFi Bag and what is the same and what is different in upgrade to the 2.0 bag. Best Wishes to you & the staff. I hope the beta testing goes well
                                         For the safety and privacy of all backers, it is not a good idea to invite us to post personal information here. We may be a tentatively closed group, but the world we now live in suggests a more
                                         careful approach.
 5988715       5/1/2016      11953182
                                         One more thing. Conflicting messages regarding the necessity of a phone conversation. Please be clear and consistent.
                                         Hi Doug. Thanks for your reply to my comment about rubber coated zipper fobs. I agree that they are nice and avoid burning your fingers in case it is too hot. I know there is one TSA style lock at
 5991427       5/1/2016      11940255    the top of the bag, but it protects only one of the three larger pockets. Would it be possible to use the rubber coated zipper fobs but still have sliders with a ring for a padlock? Otherwise, if I
                                         remove the rubber, will I find a traditional zipper pull underneath in which I can use a padlock?
 5988506       5/1/2016      8342118     I'm autistic and the last thing I want is a phone conversation. You have my address, you have my pledge, you don't need to know anything more. Please just ship me my bag.
                                         QUESTIONS? WANT ANSWERS? READ THROUGH THE POSTS AND COMMENTS HERE. We are meticulously going through each of the comments today and answering them in great detail.
 5988416       5/1/2016      10019428    Your question has probably been already asked by someone - and answered by one of our Customer Service representatives. We don't mind answering your question again - but it would save
                                         you time and you would learn much more about the iBackPack if you would merely take the time to read through the Q and A for the past past week or so
                                         G'day from down under :-)

                                         For the beta testing will you be supplying some testing guidelines?
 5988394       5/1/2016      11955673
                                         I.e. time to recharge from various levels of charge etc?

                                         Cheers
                                         Hi iBackPackers - on the phone right now with Slaven going over the tasks we need to accomplish this week. We have products being delivered this week and are going to be distributing the
 5991243       5/1/2016      10019428    BETA products to those in the BETA program - based on a) who we talk to today and b) we originally signed up first - Even if you signed up early - we do want to speak you though - and go over
                                         your order make sure we have the right address, etc. Please check out the update section to see the products that are com
 5987653       5/1/2016      8347283     Please you don't respond to my email, I'd like a refund. Can you get in touch with me please?
                                         You asked for comments about some of the batteries you have shown us. I like the one that has a flip up lid that looks like it can hold a phone for FaceTime, however I'm concerned about how
 5985157      4/30/2016      10018814    sturdy it is, can it hold a tablet, or would that break it? I like the models you've shown with dual USB ports I assume at least one of those 2.1A?, I also like the digital display as you can tell what's
                                         left to charge other devices. One idea how about notching the battery case to hold a device?
 5984307      4/30/2016      11939211    um,,just asking stupid question here,but do u know how many indonesian backers here?
 5983775      4/30/2016      8347283     Please would it be possible to get a refund?
                                         Hello And greeting from New York I just want to make sure that's I just upgraded the Electronic components,can you confirm please that I'm getting everything together in one shipment thank you
 5984510      4/30/2016      10958119
                                         so much in advance

 5983691      4/29/2016      11727811    I know everything was supposed to be shipped and to us by March, but I appreciate the free upgrades and the fact that iBackPack is ensuring the quality is top-notch. I would rather wait and get a
                                         quality product than to have them rush out junk products to me just to meet a deadline. Keep doing what your doing Doug and team, I think you all are doing a wonderful job.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Thanks for your updates. On April 28th, you asked for our opinion about the new rubber coated zipper fobs. I like them but, unless they come with an additional strong lateral ring, I don't see any
 5983407      4/29/2016      11940255
                                         way to add a padlock if necessary. It's easy to get objects stolen from your backpack in a crowdy place.

 5979595      4/29/2016      10019428    Please check your email. We are sending numerous updates today. Please help us spread the word once you get the products. We are in this for the long-haul - hope to get the products into
                                         WalMart, KMart, Amazon etc. - Don't worry - we aren't going to pull a Coolest Cooler though - and start shipping and selling to other channels before we take care of you guys.
                                         Just a quick question. I just purchased the 1.0 to 2.0 Hardware Package and also the POW Battery Pack (3) Extras. I notice at the bottom it said that no extra shipping for IBPers, but it charged
 5983682      4/29/2016      11727811    $15 at checkout for shipping. I went ahead and paid it because I want the extra battery packs, but I wanted to know if the shipping charge would be taken off or not. Just a question. Either way, I
                                         think you all are doing an amazing job.
                                         I have small question. I have the wifi pledge with a 20k batterie. I just pledged for the 50k batterie. So I will get both right. The 20
                                         And the 50 in one shipping and I will
 5981132      4/29/2016      12069548    Get back my shipping cost .!'v thx you and keep
                                         Up the hard work. Can't wait to
                                         Have my backpack
                                         Hey Everybody - WE need some help with the BETA Program. We are looking for a handful of volunteers to help us administer it. Ping us at doug.monahan.50 on skype and we can tell you what
 5981422      4/29/2016      10019428
                                         we need. I can't do voice calls or video calls - but can chat - we only need about 5 people who can spend about a week or so calling the backers.
 5979672      4/29/2016      11135850    Doug a while ago I
 5980847      4/29/2016      12861003    i hope my name isnt lost for the beta program, i know i put in for it a long while back lol.
                                         Hey Everybody - WE need some help with the BETA Program. We are looking for a handful of volunteers to help us administer it. Ping us at doug.monahan.50 on skype and we can tell you what
 5981431      4/29/2016      10019428
                                         we need. I can't do voice calls or video calls - but can chat - we only need about 5 people who can spend about a week or so calling the backers.
 5979182      4/29/2016      11953182
                                         Team: May I suggest including durability as a ratable item for your beta? It is after all a key objective for the final product, and I think early feedback on same could be vital to future decisions.
 5979684      4/29/2016      11135850    oops what I was saying is a while ago I was chosen to be in the beta program does that still stand.??

 5982049      4/29/2016       274688     hey there, I'm a little confused. I put forth funds for the ibackpack 1.0 and upgraded with the Kevlar and something else as well. I'd like to make sure I get the 2.0 version. How do I upgrade that?
                                         I've emailed my phone number to customer service and I'm awaiting a call. Please let me know how I can upgrade before the price goes from 60 to $100. Thanks so much.
                                         hey guys, just a suggestion regarding kevlar... tested and proved quality, just in your neighborhood (Arizona). You might want to consider partnering with them http://www.ar500armor.com/ar500-
 5982838      4/29/2016      11775750
                                         armor-body-armor/backpack-armor.html
                                         Ok with giving you guys my phone number. But I am a student and may not be able to pick up the phone most of the time (test time, class time, and work). Don't you have other methods to let
 5978751      4/28/2016      11673929    people know what they will receive without all the calling and talking... I am talking about some record or report that you can have for who pledge what that you can email people. I am positive you
                                         have such a report in hand. So why not copy and paste and give people a courtesy email without all the hassle
 5979004      4/28/2016      11582918
                                         I have sent many of emails regarding the beta program/my current order, haven't heard anything back either way, hoping you guys are just backed up with participants in line ahead of myself.
                                         WE are adding two more people to help make the phone calls. if you don't want a call - we wont' call you. renae.recher@ibackpack.mobi - send her your email. Or you can call Samantha right
 5976356      4/28/2016      10019428
                                         now at 512-402-5283 -
                                         So I am totally confused about what is included at shipping. At some point during the campaign, I received emails about free upgrades to those very first backers. Now, I hear that there is nothing
 5975949      4/28/2016      11673929    extra being offered with the original purchase since the extras are considered "promotional offers" and there is no way you guys can go back and add more to what was offered at the time of
                                         purchase. Many pictures coming but there is not a definite confirmation about the ship date yet.
 5976721      4/28/2016      11789260    Keep up the good work! Everything seems like it's falling into place! I would still be interested in testing electronics and Kevlar if possible! Thanks guys and girls!
 5975374      4/28/2016      11953182    Excellent updates this week. Rubber coated zipper pulls look okay, but personally I think the metal ones (like Swiss Gear's) look and hold up better.
 5974239      4/28/2016      10593430    Still waiting on my call. I even emailed you guys with my phone number and have yet to receive a call from anyone. 414-897-2355
 5978759      4/28/2016      11914015    Will you call a BETA Testers from the Philippines? Here's my no. 09177101069. Thanks ^_^
 5976482      4/28/2016      10842301    When should all bags be shipped out?
 5976483      4/28/2016      10842301    When should all bags be shipped out?
                                         Hey everybody - BETA products are arriving daily. We are going to be shipping out we guess about 50 - 100 packages a day - until the big shipment gets here. They were supposed to be here a
 5976334      4/28/2016      10019428    month ago but we had to start yelling and screaming and the manufacturer yesterday. Amazingly it worked we at least got 50 great batteries and cables today - with promises of more coming
                                         daily. If you don't want a call - no problem. If you do 512-402-5283
 5976139      4/28/2016      1844699     Why are calls necessary? My shipping info is in my profile and has not changed. Didn't we do a survey already to confirm this already?
                                         Guys love the updates, I was curious about one update where it mentions a 8000 mAh battery that can wirelessly charge an iPhone if the phone has a charging case. I was wondering which
 5976775      4/28/2016      10018814
                                         models of the iPhone did they have cases for and if you might be selling those wireless phone cases on your site?
 5961803      4/26/2016      2604764     How to go about making the pledge for the monolith battery the upgrade to the 2.0 together and no extra shipping charges?
                                         Aleksandr Kaplan: I have tried to ask this already many times, but no progress...... I also would like to order Monolith but I donÂ´t want to pay extra shipping costs.
 5962655      4/26/2016      12348251
                                         Sherly or Renae! Could you please solve this!
 5957838      4/25/2016      11875938    Thanks Aaron Gunderson, that makes it less confusing. I'm perfectly fine with receiving the 2.0 version of the backpack with 1.0 electronics.
 5959503      4/25/2016      12237296    Hi. I've been waiting for a few days for an email to confirm what I will actually be receiving. I just want to check it hasn't been lost along the way.
                                         Thank you very much for your updates. It is very refreshing to see a creator communicate so much with their backers. However we haven't heard anything about the actual bag itself in a while.
 5960489      4/25/2016      7887510     Can we get an update about the progress of the bag. The batteries and charging cables and all the other technology is amazing, but without the bag it is not complete. As a whole I am vey
                                         satisfied with your updates and please do not take this as impatience it's just that I am very excited about this project.
 5957533      4/25/2016      8007983     Please send email instead :-)
                                         @ Colin_Wu - from my understanding we will be getting the 2.0 BACKPACK - as in the physical backup. The electronics inside will be the 1.0 components - which the list on the front page or on
 5957214      4/25/2016      6360482
                                         the pledge bar to the right. There's a slight difference betwe
                                         From an update on IGG dated 1 month ago: "For anyone who pledged to receive the 1.0 bag - you are going to get 2.0 for no additional charges - We had originally said that it would only be
                                         based on the successful launch of the Kickstarter campaign but it became too confusing...All we ask is a) your support emotionally, b) support online via positive comments mainly on our FB
 5956358      4/25/2016      11875938    page - show the love - how about some appreciation for the 2.0 bag for no extra monies..."

                                         Has this been reneged?
                                         I too find the phone call unnecessary, but I would absolutely appreciate a personalized email update that we can use to confirm or correct any order details. I would think this both easier on you
 5955212      4/25/2016      11953182
                                         and more effective than trying to track everyone down in real time. Just my $.02 worth...
 5949819      4/24/2016      10654988    Enjoy your well deserved and much needed vacation!!!!
                                         Hi am trying to create custom pledge to add 2 x monolith to current order but as I ordered before you went in demand I cant amend the amount. When I tried to add 2 x monoliths I git charged
 5950419      4/24/2016      9018866
                                         200 USD so I cancelled those. Please advise how I can proceed so I dont get charged additional shipping thanks
                                         Would you mind clarifying the need for the personal call to each backer? Specifically, do you need to speak with everyone to clarify the pledge? Or are you providing the option in case folks have
 5951604      4/24/2016      9128006     a question? I believe I understand what I'm getting at this point and don't need to discuss anything with y'all for my sake. I assume that you know what I'm supposed to get and you have all the
                                         details you need from me to ship. Am I right to assume you don't need to call me? Please advise. Thank.
                                         Please don't ship this to me via DHL! I had another indiegogo project ship to me through DHL and I had to pay $50+ for customs/duties. USPS is the best way to go for Canadian shipments
 5949368      4/24/2016      8960136
                                         please!!
                                         Hi, I agree with pkesling's comment regarding the personal call to be unnecessary. I am pretty clear on what I will be getting when I backed this project. You should have all my shipping
 5954043      4/24/2016      11579165
                                         information and don't have any changes to my initial contribution. Am I correct to assume I don't need the personal call. Thank you.
                                         I agree with Shane Brown. I'm also confused about what I'm currently expected to receive. It would be nice to get a list of what I'm going to get so. Should I just look at the current description of
 5946403      4/23/2016      11911623
                                         the 1.0 power pack?
                                         Hello everyone Renae here - Please be patient with us. We will be calling every single customer to go over their orders, shipping etc. If you have not sent in your phone number please do so now
 5946412      4/23/2016      13513897
                                         as we will begin Monday morning calling all 2,500 customers. As you see that is a large amount of calls and the team consists of 3 people. We will be in touch very shortly.
                                         Now I'm confused with the hardware upgrade. I was under the impression that the 1.0 bag had the zipper cables already included. It's so hard for your original backers to keep track of what we
                                         are getting when the updates are all over the place and you've updated all of the information on this site as well.
 5945341      4/23/2016      4863120
                                         Can you confirm if the 1.0 bag has zipper cables installed by default?
                                         Hi.
                                         I presume the phone call will be in English, my question then is what happens if I can't speak English?
 5946502      4/23/2016      11955673
                                         Can I just write an email listing my questions for you to reply to?
 5945529      4/23/2016      11953182    Hey Team, is there an ETA on the beta? I'm confused about whether that's still on and what the plan is. Please update. Tks
                                         I appreciate all your hard work getting this product to the best possible product possible. With any type of campaign of a new product there will be changes and delays. Anyone backing a new
 5939946      4/22/2016      11765680    product like this should understand this, be patient and flexible. Being negative will never help you, the pledger, or the production of the product. Having backed other campaigns I appreciate all
                                         the updates that have been provided. Thank you.

                                         The biggest issue with this campaign BY FAR is shaky communications - too much detail and not enough focus. Frequent updates are nice, but they tend to drown out important details in the
 5939883      4/22/2016      11953182    process. This is where a status page might be more useful. Ex:, a thermometer widget displaying reach goal status, with clear details on what's at stake. Don't leave people guessing.

                                         I'll still give you all the benefit of doubt, but know that all the snarkiness on both sides could have easily been prevented.
 5939544      4/22/2016      11912125    it would be great to see a post from Doug et al. that says: "if you pledged between August and October of 2015, you will receive:...."
                                         I made a comment a while back voicing several concerns when 2 for 1 was announced. After seeing Update #105, I want to thank the team for the amount of transparency delivered in that post. I
                                         wish the post came sooner so I wouldn't have acted like such an ass, but now its evident that you guys are doing everything you can to make sure things work for everyone.
 5940583      4/22/2016      12851509
                                         Thank you again and I hope others start to understand and empathize as well.
                                         One last thing. If the zipper cables aren't included in 1.0, then why are they in the 1.0 picture on the front page of the campaign, listed under what's included? In fact according to the 1.0 pictures
 5940487      4/22/2016      6360482
                                         on the front page, aren't 5x zipper cables included with each backpack?
 5940564      4/22/2016      12237296    Sherley- re the message below, why was the reply to me in regards the zipper cables that they were included in the upgrade but to Aaron below he was getting them?
 5939979      4/22/2016      12027875    My phone # 1-646-465-4568
 5940594      4/22/2016      11135850    renae I just sent the email
 5941470      4/22/2016      11794176    Hey guys I'm early pledger, just wondering if I'd be getting a free upgrade from 1.0 to 2.0 I received a confusing E mail and just wanted to clarify.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         I still don't understand why Doug wants to call everyone instead of typing here. Even I asked for what I will get, iBackpack team still ask me to email them, I still don't understand, the choose of
 5939520      4/22/2016      11463600
                                         contribute item is not over 1000. It is so confused.
 5939510      4/22/2016      12926138    I can't wait to get mine. It's been a lot of changes and updates but I happily put my money towards the original kit, anything extra to me will be a sweet bonus!
 5940579      4/22/2016      11776802    U know renae that there many of us I will wait fore the call
 5939477      4/22/2016      11395150    Doug and co. I just received the reply to my reply to give you my number so we can discuss this issue. My number has already been supplied as requested, to the email as requested.
 5939672      4/22/2016      6360482     Want to see an update from Doug? Read my post about 5 people down. Asked a simple question, and Doug "replied."
 5940099      4/22/2016      11776802    Renae have mails you my phone number wen can I expect to receive your phone call
                                         I think an update saying if you pledged for 1.0 you get this. The 2.0 upgrade adds this. That would be great. There seems to be so much confusion around that. Ideally in detail down to which one
 5939948      4/22/2016      12237296
                                         gets the zips that are the cables as I assumed that would be included in the 1.0 to 2.0 free upgrade.
                                         I'm not asking for an exact date, since I know you have expressed that everything is still in production, but I'm just wondering if we will receive the majority of the items before mid-July?
 5940797      4/22/2016      13221091
                                         Thanks for the updates and helping clear up many questions :)
                                         Thank you vbhurley - Just trying to help make this a win for all of us, and the project team too. If that is what THEY want -- and let's be honest, that's the ONLY thing that will truly make the
 5935130      4/21/2016      11953182
                                         difference here.
                                         I'm not giving out my phone number... THIS WHOLE TIME I THOUGHT WE ARE GETTING ALOT MORE STUFF (FAN,ZIPPER CABLE,ETC) LOOKS LIKE WE NOT GETTING EVERYTHING
                                         AS PROMISED...
 5933908      4/21/2016      11135850
                                         I DON'T WANT YOUR SERVICE TEAM TO ANSWER ME. THIS IS JUST FOR DOUG. WHY SO MANY EMPTY PROMISES?

                                         IM THINKING ABOUT FILLING A DISPUTE WITH MY CC COMPANY
                                         "Any negativity will not be tolerated". And once again this company shits all over the people who provided the money to get it started. Frankly these "don't dis us emails" make you sound a bit
 5939397      4/21/2016      11395150    petulant and churlish. We appreciate you are working hard and want to get it right but I don't believe that's been an issue for anyone really. Your attitude to your backers on the other hand, never
                                         seems to improve.
                                         Hello I pledge back in August for 1 backpack and then for a double this past December. I see you are offering an upgrade for $60. What does that mean? Is it different than you upgrading from
 5932943      4/21/2016      10784266
                                         1.0 to 2.0? What do you suggest I do?? Let me know what mine include so that I can see what else I might need
 5935040      4/21/2016      6596419     OnTheMark did not attain his moniker by accident.
                                         I have pulled the following excerpts from these previous â€œUpdates from â€˜iBackPack Revolutionary HiTech Backpack with Wi-Fiâ€™ â€œemail messages:

                                         11-28-16

                                         â€¢iBackPack Bluetooth Headphones
                                         oâ€œ.. stretch goal..â€
                                         oâ€œ.. ONLY for IGG pledges..â€
                                         â€¢USB Fan
 5934089      4/21/2016      1566911     oâ€œ.. stretch goal..â€
                                         oâ€œ.. ONLY for IGG pledges..â€
                                         â€¢Flexible USB Lamp
                                         oâ€œ.. stretch goal..â€
                                         oâ€œ.. exclusive for IGG pledges..â€

                                         â€œUnique to the iBackPack is how we are treating the two major crowd-funding sites as one regarding goalsâ€.

                                         Your response?
 5939365      4/21/2016      11764739    to the post that i just received : VERY VERY WELL SAID
                                         I've reluctantly ponied-up the extra cash for the component upgrade 1.0 to 2.0 and added in the 50,000 mAh battery. I hope I'm not throwing good money after bad; at this point I'm just fed up with
 5939458      4/21/2016      7774429     shenanigans and simply want my luggage. Note that your custom pledge isn't working so I paid $75+$25 shipping instead of free shipping for the battery; I hope you'll include some extras in
                                         consideration. NOTE: change my shipping address from the ORIGINAL for the backpack to the NEW one for the upgrade.
                                         Are the backpacks offered here different from the ones at Kickstater? Those seem to have a lot more perks and are a 2.0 version. Do we automatically get the upgrade or do we need to pay for
 5932948      4/21/2016      10784266
                                         it?
                                         Thanks for answering however I would rather not provide my phone number as you already have my address. As others I am a bit confused as to why you are selling sales lead data alongside a
 5933139      4/21/2016       47047      backpack. How are the two connected? This project started very well with clarity and focus but has become more and more confusing as it has progressed. I am really only interested in the
                                         delivery of the the final product now whatever that may turns out to be.
                                         I was shocked to receive the update berating me (or us) for "negativity" this morning. With all the updates & changes I am completely confused as to what I am getting- never asked or demanded
 5939467      4/21/2016      11912125    more than originally pledged & don't appreciate emails that feel more like an attack than an update. Anyway, understand how frustrating product launches are .... & I can let the distasteful
                                         explosion slide. But, can someone please help me figure out exactly what I am getting & when I can expect it?
                                         "We did state we would give the hardware upgrade to everyone as a stretch goal if and Only if we hit 1 million in Kickstarter. However, we only did 76k."
 5939410      4/21/2016      6360482
                                         Mind showing me the update where you stated this? Seems a convenient after the fact...
                                         I really appreciate the effort it takes to build something from nothing, but the management of this effort is really terrible. I can't keep up with what was promised and changed, who screwed who or
 5933107      4/21/2016      12175397    what I will end up with in the end. I get emails with calls to action and get no response when I respond. When I fund these campaigns I really don't expect to get the product, I just want to support
                                         a budding entrepreneur. Maybe just create a matrix of the (current) final build for clarity.
                                         Why do we need to send our phone number? I don't want to share my number to a random email address. Verifiying my order and my details - it should all be handled within the campaign or
 5932931      4/21/2016      10137102    through a BackerKit, like all the other legit campaigns that I've funded. And combining a "sales lead" database with a backpack - makes me think you want my number to add to a cold-call list that
                                         I'll just have to fight to be removed from. No thanks. Ship to my address provided in my campaign details.
                                         How do I go about getting a detailed list of EXACTLY what I am getting. I had assumed that the 1.0 to 2.0 free upgrade included the zipper cable as it is in essence a part of the actual backpack,
 5933339      4/21/2016      12237296
                                         but now that is not the case. So how can I find out what ACCURATELY will be delivered to me when / if the time ever comes.
                                         Good to see that more backers are experiencing the same concerns that I've been, and are openly talking about them. But it seems the only response any of us is getting falls under 1 of 3
 5934790      4/21/2016      11953182    categories: 1. canned non-response, 2. Renae making threats, or 3. some inexplicable request for our phone number, so that we can privately be informed of the details.
                                         Why all the evasiveness? This is an honest campaign with real intent to deliver, right? Right???
                                         "Hello, Aaron, This is crowdfunding and you are part of the process."

 5928801      4/20/2016      6360482     Please don't be patronizing. I've back 83 successful campaigns on KS going back to 2011. I know how crowdfunding works. I also know what happens to a company that makes multiple
                                         promises during the campaign and then conveniently forgets them after funding. Word of mouth is everything. This more than anything accounts for the very low kickstarter $$. At this point you
                                         seem shady. Real responses, not canned, would help.
 5932558      4/20/2016      11463600    To be honest, what will early bird get at final? Would you mind to list it out?
                                         This message is for DOUG! the customer service that you have spams everyone's comments with the same answers over and over that don't even relate to the questions being asked.. this just
 5927157      4/20/2016      11135850    frustrates them even more I know that you are doing everything in your power to get this products in our hands we appreciate it, but if your team puts a little bit of thought in the replies that would
                                         help immensely. We just need real answers !
                                         This is an absolute joke. It's got so complicated I no longer know what or when I'm receiving. I mean we're getting upgraded from 1.0 to 2.0 but not with the cable zip. So disappointed in this entire
 5932887      4/20/2016      12237296
                                         situation.
                                         "Hello, Renae, You're so right when you say "this is crowdfunding and you are part of the process." You have certainly managed a "process," but nothing to be proud of, with spam-loads of self-
 5926859      4/20/2016      7774429     congratulatory emails extolling the wonders of the 'groundbreaking' new accessories we'd receive for free, only to offer to charge us for them instead. A con is all about getting money from a mark
                                         and keeping them engaged until you can disengage safely. 10/10 on engagement. Shame about the fulfilment.

                                         At this point, I hope we are not getting greppered. It seems to be following the same pattern as The Coolest Cooler; successful campaign, constant upgrades to the product and delayed shipping.
 5928667      4/20/2016      8260513     The next step would be to trickle out a few units and then declare that the costs to produce were much higher than anticipated and everyone who hasn't received anything yet is SOL.

                                         But we can all find solace in "This is crowdfunding and you are part of the process. Thank you for supporting iBackPack."

                                         Justin Morad, don't be naive.. their wheels have come off and they're in damage limitation mode. I can take failures - after all "this is crowdfunding" - but that's no excuse for fob-off replies and
 5927963      4/20/2016      7774429
                                         outright untruths from the team, after months of grandstanding and shouting from the rooftops with proclamations that iBackpack will do almost everything except cure world poverty.
                                         iBackpack might be bulletproofed with kevlar. The same can't be said of their honey-trap "update" tactics.
 5932775      4/20/2016      6726573     UPS already has my phone number. Please send my ibackpack when ready. I don't need you calling me...which will probably be a robo call anyway.
 5929547      4/20/2016      10593430    Im still waiting for my call. Any day now, to go over my order of course.
 5932279      4/20/2016      12237296    At this stage I've had enough. How do I go about requesting a f I'll refund please.
 5930108      4/20/2016      12443065
                                         When will be the site on with the questions for delivery? The site which you made for the backer Kit site. There should be the same Infos as with your phone call. I would prefer this Option.
 5932172      4/20/2016       47047      If I provide my phone number will you be selling this data to other parties?
 5923730      4/19/2016      11201672    So what's the next estimate date of shipment?
 5920605      4/19/2016      11953182
                                         Careful, fellow backers. If you push too hard to get answers, you will instead get chastised for being "negative" and Renae will privately threaten you with a ban. That has been my experience.
                                         So, not to belabor the point, but months ago as the IGG campaign was rolling you made many, many promised of items we would be receiving with our pledge. Then 1 month ago, after you had
 5918604      4/18/2016      6360482     our money, suddenly changed it to "we upgraded the backpack, (did I mention the TSA lock?) be thankful, ignore what we said before." That's not how you run a company. People pledged in
                                         good faith based on YOUR updates, now is the time to follow through for the people that got you to this point.
                                         "We aren't yet ready to launch on Kickstarter because of all of the new features we are adding - of course - provided the KS campaign goes successfully - YOU as our IGG early bird backers are
                                         going to receive FOR FREE - as a reward for your early participation. "
 5918567      4/18/2016      6360482
                                         And then you list the lightstick, the fan, the smart cables, the lipstick battery, the Bluetooth headphones. Basically everything you are charging $60 you had promised "free" to IGG backers in
                                         multiple updates.




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                                         "We are going to be releasing these as a separate campaign - BUT - you - as our original backers - get these free of charge - the are just one more way we can thank you for your support. "
 5918591      4/18/2016      6360482
                                          - these are the POW cables.
                                         "We think it is only fair you receive more, for less than those from Kickstarter campaign. You were first - so you EARNED THE RIGHT to benefit from same."

                                         "We are not trying to belabor the point - but it is important you understand how the KS campaign benefits YOU - on Indiegogo - as one of the original pledgers. There are a myriad of various
 5918530      4/18/2016      6360482
                                         options we are going to be offering in iBackPack. 2.0 - they are going to be provided to YOU - as the original backer of the iBackPack project"

                                         Really?

                                         "Tiny, ultra-silent fan to plug into any smartphone or tablet. We are going to be sending one of these to all of our IGG backers PROVIDED our Kickstarter campaign goes as scheduled."
 5918521      4/18/2016      6360482
                                         "Stretch goal for IGG pledgers ONLY - Kickstarter pledgers must pay for this feature. " - this is listed under multiple, multiple items we now need to pay $60 to get.

                                         "our IGG early backers through stretch goals - additional products included in your STANDARD offering.You get MORE for NO ADDITIONAL FUNDS! It's a win, win, win."
 5910059      4/17/2016      11864144
                                         "It will NOT delay our March, 2016 ship date either. Read the previous update to see many of the stretch goals we are planning on announcing to you - our ultra loyal - IGG - early supporters. "
                                         Gets worse the further down I read the old updates. Lots of wild promises
 5910031      4/17/2016      11864144    These are all direct statements made by you on previous updates (cut and paste). Not sure one of them has come to fruition. Just feel a little cheated to be honest.
                                         "You will be receiving these cables as part of the BETA Program. They are also included in your original pledge. What is unique about these cables is the LED lights that display the level of
 5910027      4/17/2016      11864144    charge in your phone, tablet, camera or other electronic device. When dead - the cables light up red - when fully charged - they are bright blue. We take great pride in delivering the latest and
                                         great technology as part of the iBackPack"
                                         "SPECIAL SURPRISE GIFT FOR YOU - provided the Kickstarter Campaign is successful. Kickstarter is an all or nothing gig - if it is not successful - then all of these additional perks are off the
 5910025      4/17/2016      11864144
                                         table "
                                         Just allot of false promises which is disappointing. Here are just a few a read over "FREE bulletproof pocket for kevler - as a reward for a successful kickstarter campaign" "FREE SMART
 5910024      4/17/2016      11864144    CABLES - lights up when charging - STRETCH goal for successful Kickstarter campaign" "ZIPPER CABLES - SMART CABLES - stretch goals for successful Kickstarter campaign - these zipper
                                         are practically unbreakable btw"
 5906888      4/17/2016      6990987
                                         Hello, This is Silverio, I was also part of the first IGG campaign and I am confused as to the ship date. Also, when can we choose what internet provider we can choose for the wifi-hotspot?
 5909048      4/17/2016      11789260    Please read over the update from 11-15.
                                         I thing everything is in the perk as we speak. Al that the spook off in there updates is there just the march shipping date is overdue. That's normal with these projects. Hoop they will make May
 5910120      4/17/2016      11776802
                                         have a big conference coming up then and I am part off the organization so fingers crossed.
 5903914      4/16/2016      11939211    excuse me,,can i know what hardware we original get as igg backer for 1.0 bag,and what hardware would be in the ibackpack if upgraded?
                                         @anonymous - the Mach 2016 was a rough shipping date , they made no promises to shipping that month. It might be around June that it gets shipped but no one knows yet. Everything is still in
 5906343      4/16/2016      13483313
                                         production
                                         so I noticed that the kickstarter campaign was fully funded. Good job guys!
 5905851      4/16/2016      11828622    That being said, I backed the project way back in August and I just have to ask if we as IGG backers will be receiving those perks that were mentioned in earlier updates.
                                         I'm referring to some of the post that were made back in January that we'll get this, this, and this if the kickstarter campaign is successful?
                                         Thanks, maybe I am confused about what "hardware" isn't included after looking at the KS campaign.
 5903759      4/16/2016      11764068
                                         Thanks for the response.
                                         I have now emailed no less than 6 times and yet to get a reply. I pledged back in Early August and shipping was advised to be March 2016... It is now nearly June and no sign of shipping dates,
 5906322      4/16/2016      11791671    Despite my numerous emails, No one has bothered to get back to me. Please could you advise the worst case shipping date as I am now without a backpack and if it is going to take longer than
                                         another month, I would like a refund.
                                         I remember being swamped with updates that as an early backer on IGG I would receive ALL of the updated benefits of the 2.0 backpack and ALL those wonderful POW electronic extras cables
                                         batteries charges and hubs in my IGG backed order.
 5906416      4/16/2016      7774429
                                         Why am I now being asked to pay $60 for a hardware upgrade? The updates specifically said as IGG backers we would get these AT NO EXTRA COST whereas KS backers wouldn't. You
                                         expressed gratitude to IGG backers and said this was your way of offering thanks.Respond.
                                         Thanks for replying to everyone else's comments but mine. No mention of the wifi/mifi status that I very distinctly remember from the start of the campaign. Also, it's funny how many emails from
 5903530      4/16/2016      11764068    you I have stating all IGG backers would get the upgrades FREE. That's pretty interesting that now you want to charge us all $60 for something you said was free. No one, including myself,
                                         should be paying for ANY upgrade to 2.0. Don't make promises you can't keep or at least be upfront about them.
                                         @andrew wilson. So should I wait forever more and just be happy with whatever 'Shipping date' they can make? Surely there has to be some limit to this. - As you said, 'No one knows yet' and
 5906463      4/16/2016      11791671
                                         that is what is frustrating, I am requesting a refund asap. Doug
                                         Please! Could you change the Monolith Perk to an upgrade perk? Now I canÂ´t order it without extra shipping costs, but can upgrade from 1.0 HW to 2.0 HW without extra SC. Custom pledge
 5905887      4/16/2016      12348251
                                         doesnÂ´t work like you said :-(
 5903539      4/16/2016      11764068    And frankly- who cares what packaging its in? This is IGG, not Walmart. We backed you bc we just want the product.
                                         First, great job on all the photos, & thanks for the information on the cost to upgrade the electronics from 1.0 to 2.0, I do have a couple of questions regarding the upgrades. If I decide to upgrade
 5901414      4/15/2016      10018814    one of my bags (I have three in total-a 1.0 power pack & 2 1.0 WiFi bags as part of the 2 for 1 special) Will upgrading the electronics of 1 bag cause a delay in the shipping of that bag and/or the
                                         other 2 bags I have ordered? It might change whether I update just one bag, or more than one bag
                                         The pictures of the latest version seem are excellent. Comments below:
                                         - Love the high-contrast orange interior. This will make it much easier to see what is inside the backpack.
 5900423      4/15/2016      6539297     - Love it that my suggestion for a sunglasses/eyeglasses pocket just above the shoulder straps also seems to have made it into this version!
                                         Concerns:
                                         - The larger size pocket for 17" computers. Will the sides of that "box" pocket interfere with the zipper? Hard to tell from the pictures, but it seems awful close.
 5903126      4/15/2016      2027574     Can someone share a link for the 1.0 to 2.0 upgrade?
                                         Nice pics. Thanks for the update....

 5899235      4/14/2016      11955673
                                         Still think the cable holes would be better at the bottom than the top. It's going to be a nightmare going through customs opening the bag fully and having everything get unplugged because the
                                         cable is being pulled.
 5895209      4/14/2016      11764068
                                         What's the deal with the wifi/mifi? No updates in quite some time. I recalled there being a mention of free internet access at the very start of this campaign. Is this no longer part of the deal?
 5895043      4/14/2016      11953182    Hey team, any word on upgraded electronics for early backers? Just following up on a comment made by a team member a few days ago... Thanks in advance.
                                         Hey. Thanks for the update.

                                         Just want to know, can you please show us, using a photo, how the headphone "holder" should be used?
 5898788      4/14/2016      7075234
                                         Up to this moment, I still don't know how that "holder" should be used.

                                         Thank you very much. Hope we can receive that soon.
 5894782      4/13/2016      10819923    Hi, I was wondering which version of the iBackpack I will be receiving, what the differences are, and if there is an upgrade option. Thanks.
                                         I was just wondering what you can actually get as part of the 2 for 1 deal. I know it has been stated that it ahs to be over $149.00. Do you have to pledge for just a backpack? Can you pledge for
 5889084      4/13/2016      12314689
                                         the POW Super Battery Bundle and still get the 2 for 1?
                                         I just purchased the WiFi iBackPack please confirm that I will receive the 2 for 1 special including the special gift of the Bluetooth headset that was advertised for purchasing today in the
 5886193      4/12/2016      10018814
                                         Facebook special, I was however charged for an additional $25 for shipping even though I had already paid for shipping previously.
                                         A full team of more than a dozen members that can post like 3 to 4 updates in a single day answer and almost reply to about 10 different inquiries per day running four campaigns in parallel
                                         (none delivered by the way so fat) but can't take a single decision about a refund process offered by their boss himself and stated clearly to the public!!!
 5884627      4/12/2016      8861108
                                         Raises many questions!! With handful of different scenarios of how is this gonna end.

                                         What a shame!
                                         I just tried to make the purchase on Indiegogo for the 2 for 1 and it wants to charge me for shipping again making the total $250.00 instead of $225.00 how do I fix this or do I need to pay for
 5884011      4/12/2016      10018814
                                         shipping twice?
 5883173      4/12/2016      9750632     Ok. I understand, shipping is mid June. Let's hope, it will work and the whole project is no clever fraud.
                                         Secondly, I frankly find the ID card concept to be utterly pointless and possibly even counter-productive if I were to actually flash it in the middle of an airport checkup (I won't be, BTW). I honestly
                                         think that focusing on these kinds of extras just slows the rest of the process down.
 5879004      4/11/2016      2454442
                                         Finally, I would like a confirmation that I will be getting 2.0 components on my order. Could you please confirm that this is the case?
                                         You kept talking about 1.0 vs 2.0 but there was never a comparison nor an "upgrade price" that kept being promised. I also agree that the ID card is ridiculous and seems indicative of this whole
 5879048      4/11/2016      2040878
                                         thing where everything wrong is focused on. Kevlar? How about focusing on how the thing works in normal rough conditions like bad storms.
                                         It seems that a lot of the slowdowns and misunderstandings with the manufacturers have been due to a language barrier. I wonder if hiring a Chinese translator would've saved everybody some
                                         time? Maybe it's worth considering hiring one now to speed things up a bit?
 5879002      4/11/2016      2454442
                                         (I'm going to have to split my comment up... Sorry about that.)
                                         I can't say I'm not annoyed that you're not shipping on time. I paid a premium for a backpack that I need for my trip at the end of the month, and now I'm going to have to purchase yet another
 5879006      4/11/2016      2454442
                                         backpack, which leaves me with less money for my trip. Not good at all...

 5876755      4/11/2016      10018814    I know the 2 for 1 offer runs thru 4/13, but other than the differences between the 1.0 and 2.0 electronics if I place a 2 for 1 order on here instead of on Kickstarter, will the bag ship sooner? I'm
                                         seriously considering making the purchase thru Kickstarter, because of the newer electronics, I just want to know if I place the 2 for 1 order thru Indiegogo if it will ship before the Kickstarter bags.
 5873846      4/10/2016      12886050    I did not get any clarification about my two pledges. I'm still waiting for the clarification.




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 5873386      4/10/2016      11938981    Hi! Let me please know whether you sent my order. Can I track the delivery?
                                         Hello, I just got a email stating that my pro contacts were ready. But I never wanted the pro contact package, this error was suppose to be fixed. I ordered the basic backpack package NOT the
 5870375      4/10/2016      11777573    pro contacts. PLEASE can I get a final confirmation that this error has been finally FIXED! I am going to be upgrading to a few other perks. But I will not do this until I know for sure that my order
                                         has been fixed! Please fix it. Thank you.
                                         I feel the need to give thanks to the ibackpack team. Throughout all the negative comments and the people saying what about us, you guys are still digging deeper and deeper to ensure that
 5871082      4/10/2016      11764739
                                         everyone is going to be taken care of. However anxiously awaiting the arrival of the backpack that is on its way. Just saying Thanks, keep it up.
 5870443      4/10/2016      9768518     I think I also was given contacts that I never requested. I also don't know where to give the names for the backpacks, I ordered three.
                                         Doug, I am very pleased to know from your recent update that your batteries are â€œtotally safe, donâ€™t catch on fire and donâ€™t explodeâ€, therefore fully approved by TSA. But I totally
 5869609       4/9/2016      11940255
                                         disagree on the ID card that you have prepared.
                                         is it still possible to upgrade to a beta version of this product? kind Regards.
 5870198       4/9/2016      10988451
                                         Chris OReilly.
 5869533       4/9/2016      8347283     When is shipping planned?
                                         Sherly, am I reading right from your recent reply to F. Bruno below, that early 1.0 backers may be upgraded to 2.0 components? If so, this would really redeem your team in the eyes of all your
 5868264       4/9/2016      11953182    supporters -- not to mention make things a whole lot simpler for both your processes and general communication. Next to properly reconciling the 2 for 1 disaster, this is about the best news we
                                         early backers could wish for.
                                         On the ID Card, wording â€œEmerging Technology VIPâ€ together with the seal of â€œUS Department of Homeland Securityâ€ are misleading. It looks like the owner is an expert in technology
 5869607       4/9/2016      11940255    working for the US department of Homeland Security. This can create troubles in US, but may even be dangerous in other countries. If this is final, I will be obliged to destroy these ID cards
                                         before offering the backpacks to my sons. Please confirm.
 5869583       4/9/2016      11955673    So according to the latest update, shipment of a few bits and pieces at the earliest is mid May and at the latest mid June.
                                         I just wanted to thank Doug & the design & support team at iBackPack for the videos of the product production, looks like things are moving along great. FYI If you guys still need testers for the
 5869094       4/9/2016      10018814    Kevlar insert, I have a cousin who is the Chief of police for a city near Dallas I could make an inquiry to see if he might be willing to help you with testing the durability of the various Kevlar inserts
                                         you want to test check for my email & I can work on making introductions between you & him.
 5869143       4/9/2016      12886050    Am I missing something ?? Neither IGG nor KS say anything regarding 2 for one . And IGG still only has the 1.0 for $225 what's the real story???
                                         So I met your 20 day 2 for 1 offer bought another back pack for 225 and the confirmation order say onl one 1.0 back pack not 2???? Are you capable of producing this product if you can't even
 5869134       4/9/2016      12886050
                                         run your advertising on the Web????
                                         Thanks Sheryl. On the POW IGG page (I saw it before you replied ) it said 3 usb ports 1 @1amp the other two @2.1.Is it anything close to this? I'm interested in getting it if any are 2.4, preferably
 5863343       4/8/2016      11794176
                                         all of them.
                                         Hi Slaven, good to see the designer of the mobile app chime in. How is the development of the app? I would like to see updates on the app features as well as the "more expensive" tech like the
 5858069       4/7/2016      11875938
                                         4G/wifi unit and the bag itself. The endless cables and portable power pack updates is not as informative. Thanks.
 5861332       4/7/2016      11794176    Anybody know the specs on the 50k monolith battery?
                                         Could someone please remind all of us original backers exactly what exclusive perks we will be receiving that KS backers won't be? Maybe if we understood that there are actually some
                                         advantages (as promised) for us, we might be more forgiving of the obvious 2 for 1 gaffe and all the canned responses.
 5860022       4/7/2016      11953182
                                         I WANT TO BELIEVE. But you're not making this easy.
                                         I have backed this project twice to help roll out this back pack. All I see is version 1.0I travel internationally oftend and now I get an email about an upcoming 2 for 1, but never received a link. Are
 5861947       4/7/2016      12011365
                                         we getting a 1.0 or 2.0?
                                         How is there an iBackpack 2.0 campaign going when the 1st version hasn't been delivered yet? Are you still producing the 1st version or will everyone who backed get the 2nd version? I'm
 5857965       4/7/2016      11767478
                                         confused and feeling had!
                                         I already backed the IBACKPACK 1.0 on this site and I also am currently backing the IBACKPACK 2.0 on kickstarter. Is it worth it to back the ibackpack on both kickstarter and indiegogo or am I
 5859243       4/7/2016      8265328
                                         getting the 2 for 1 offer just by backing the ibackpack 1.0 on Indiegogo?
 5853225       4/6/2016      11794176    @shelline so I would get two batteries just not two jumper cables?
 5852388       4/6/2016      9152130     when will my backpack home
 5857767       4/6/2016      11135850
                                         This has been asked several times by many people and no concrete answer has been given BESIDES THE BACKPACK IT SELF WHAT ELSE COMES WITH IT I WOULD LIKE TO KNOW!!!
                                         It looks like the backers on Kickstarter are also figuring out that there is no benefit to pledging early in the campaign.
 5852778       4/6/2016      8260513
                                         https://www.kickstarter.com/projects/ibackpack/ibackpack-20-3g-4g-mi-fi-bulletproof-bluetooth-aud/comments
 5857462       4/6/2016      12168317    Hi I want to know when I can receive my order?
 5855473       4/6/2016      11794176    @shelline on the 5th to last iBP update (update 91) it says 2 for 1 applies for all products pledged whether through IGG or KS.
 5855444       4/6/2016      11794176    @shelline What counts as a battery and what counts as a component? I'd like to take advantage of the 2 for 1, if I can, before the window of opportunity closes.
                                         Not trying to rush anything and i know that the crew's been working on this project day and night, but is it possible to give us an idea or a cutoff date to **notify us to when shipping would roughly
 5850760       4/5/2016      10407699
                                         be. (not tell us when shipping date would be) but just a rough estimated deadline to notify us on the rough shipping date.
 5852219       4/5/2016      10331364    Im still not really sure how to order additional items as in updates it states theyll be shipped together but it wants to charge me another round of shipping?
                                         How do I find out what is actually included with my order? It is getting confusing with all the updates. I would like to add the larger battery to my bag as well. The solar panel was being mentioned
 5847786       4/5/2016      2604764
                                         that it was going to be included. Now its another pricier add-on just like the larger battery which was also advertised earlier?
                                         Wow, several comments from yesterday have been erased, and not any that had any questionable language either. Not a good business practice to try and quiet your critics, especially when they
 5849156       4/5/2016      6360482
                                         are the customers that helped get the project funded.
 5849728       4/5/2016      11794176
                                         Hey guys in one of the people who's comment got deleted. If I wanted to order the 50k monolith would it be a 2 for 1? I don't wanna order it and only get 1 also does it include the jumper cables?
                                         @Luke Winand -- You may feel differently if it were your comments being censored.
 5849401       4/5/2016      11953182
                                         Have some people been letting their emotions get the better of them? Absolutely. Has anyone crossed any sort of line? I challenge anyone to point out even one such insta
                                         @craig severance Everybody have a right to his opinion i just dont like seeing people like you judging people and tell them to stop complaining...People gave big money blindly to a company
 5847520       4/5/2016      12640940
                                         based only on their word so yes when they contradict themselves m
 5849730       4/5/2016      11794176    *I'm
                                         @Aaron Gunderson Perhaps it was because the comments were repeating the same problems and issues that have already been answered. Yes, there have been issues, but everyone has to be
 5849214       4/5/2016      13221091
                                         patient. You wouldn't like if you were creating a project and people kept
 5852153       4/5/2016      12076060    Thanks for the updates guys. The videos look great and I can't wait to get my iBackpack. It will be perfect for going camping, and not worrying about electronics running out of power.
                                         Enough with the TSA lock and straps. You keep droning on about them like these are unexpected upgrades. Again:

                                         "" ALL OF THESE ITEMS COST MORE MONEY that you DO NOT have to pay â€“ why? Because of our commitment to you""
 5849147       4/5/2016      6360482
                                         So as you had already promised all the upgrades would be at no cost to the original backers, constantly bringing them up make it seem you're not even aware of what you've said in the past.
                                         Seriously, an apology for the delay and the tone of staff would be a better direction.

 5843174       4/4/2016      13720269    Hi iBackPackers! I'm writing to introduce myself. My name is Sherly Enaje and I am one of the Customer Service Representatives for iBackPack. I am here to help answer any questions you may
                                         have about iBackPack. This includes verifying your shipping address, feature set, ship dates, upgrades, etc. My email address is sherly.mojello@ibackpack.mobi. Thank you.
                                         and honestly I didn't care about the KS vs IGG things until I saw the CR rep repeatedly chastise people who were questioning this and calling everyone "greedy". Not a good way to build
 5843557       4/4/2016      6360482     customer support and no way to breed brand loyalty. Hopefully they realize the correct thing to do with the 2for1 offer from the factory would have been to use the savings to upgrade the IGG
                                         users instead berating us.

                                         And the big one:

 5843437       4/4/2016      6360482     "We are not trying to belabor the point - but it is important you understand how the KS campaign benefits YOU - on Indiegogo - as one of the original pledgers. There are a myriad of various
                                         options we are going to be offering in iBackPack. 2.0 - they are going to be provided to YOU - as the original backer of the iBackPack project - provided the KS campaign goes as scheduled."

                                         "We think it is only fair you receive more, for less than those from Kickstarter campaign. "
                                         @Aaron Gunderson - I could not have said it better myself. You hit the nail on the head, and using their exact words, no less. Well done, sir!
 5843500       4/4/2016      11953182
                                         This is not and never was a question of greed or entitlement, iBP. It's about accountability and trust. Whe
 5842666       4/4/2016      12640940
                                         @craig severance People have the right to their opinion please mind your own business and dont treat people like you are right and they are wrong and respect others you are not judge or jury
                                         Few more:

                                         "all of the new features we are adding - of course - provided the KS campaign goes successfully - YOU as our IGG early bird backers are going to receive FOR FREE - as a reward for your early
 5843419       4/4/2016      6360482     participation. "

                                         "The campaign is not yet live - we are still working on the individual features and how much more we are going to have to charge on KS. Your price remains the same - perks go up - stretch goals
                                         are met FOR YOU - nobody else other than IGG pledgers. "
                                         quote from previous updates you clearly forgot:

                                         "Plus - we aren't giving away nearly as many perks to the KS community as we are here to our original backers - the IGG group. "
 5843413       4/4/2016      6360482
                                         "Still honoring pricing on IGG until Kickstarter campaign launches - you will ALWAYS get best deal. "

                                         " ALL OF THESE ITEMS COST MORE MONEY that you DO NOT have to pay - why? Because of our commitment to you"

 5842350       4/4/2016      13720258    Hi iBackPackers! I'm writing to introduce myself. My name is Shelline Rose Ates and I am one of the Customer Service Representatives for iBackPack. I am here to help answer any questions
                                         you may have about iBackPack. This includes verifying your shipping address, feature set, ship dates, upgrades, etc. My email address is shelline.ates@ibackpack.mobi. Thank you.




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 Comments     Comments                                                                                                          Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         I think this is the problem most of us have. You spend multiple updates saying how those of us that pledged early on IGG would receive as much if not more than those that pledged later on
 5843454       4/4/2016      6360482     kickstarter. Now, you're saying "be thankful you're getting the 2.0 bag even though we'd lose money making 2 versions" but ignore what we said when it comes to the electronics. Seems all
                                         those lofty promises are just hot air. Don't know why I was expecting anything more...
                                         Renae and everyone else on the iBackpack team:

                                         First of all, thank you for what you are trying to do! We know it is difficult, and we appreciate it.

                                         Second, can you point me to a definitive list of what the IGG backers will receive when the orders are shipped? The reason I'm asking is I may want some accessories, but not if they are going
 5841079       4/4/2016      6539297
                                         to be duplicated on my original backer orders.

                                         Third, does the company have a timeline for a solar charger, and what the cost will be?

                                         Thank you!
                                         Just read @AaronGunderson posts. Spot on! The IBP team have only themselves to blame. If you didn't make such a whoha about us getting a better deal then that of the KS community then
 5845626       4/4/2016      11864144    most people would have just taken it on the chin. Also some of your comments are insulting. Greed! Really is that how a company talks to its customers? I think an applogy for the tone of
                                         lanuague would go a long way to calming tempers here.
                                         @SebastianDurand, you tell me to mind my own business, well I am a contributor, so it is my business to offer my opinion here. I'm sick of the negative comments, I'm trying to point out, that
 5845534       4/4/2016      10018814
                                         things could be far worse. Here they provide us with updates,
                                         And there are even more I could post. How IGG backers would have exclusive stretch goals, that plugging the KS to our friends would only benefit us as we'd get all the KS would as early
 5843545       4/4/2016      6360482     backers. There was a huge push just before the KS launched saying to pledge here using the "secret" link to get a better deal than the KS backers would. It was all just lies. KS will be lucky to
                                         break $100k, we pledged almost $600k, but still get kicked in the teeth. Disappointing, really.
                                         Let's not forget the initial ship date of mid-March, which has flown by and they are now admitting that testing and production hasn't even finished. In fact they are still negotiating with suppliers
 5845429       4/4/2016      11395150
                                         over production issues. I'm not a factory worker but I would have to estimate we are still months away from having all of the equipment in the offer.
                                         Hi I have a current pledge here on Indiegogo, and a question about the 2 for 1 pricing for the WiFi version. The WiFi version on Indiegogo $225 versus $299 on Kickstarter, what is the difference
 5845402       4/4/2016      10018814
                                         between the two? Also how do I make the complete a purchase of the two for one special, I tried using the link in the updates. But I can't get it to work.
                                         Renae: your accusation of greed is somewhat infuriating. As it is nothing to do with greed. I have absolutely no use for two backpacks. I only want one. My point was more directed at the fact that
 5840704       4/4/2016      12237296    the earlier supporters. The ones that made it possible are no longer getting the better deal. We're getting the upgraded backpack, yes, but with earlier electronics. For not much less of an incentive
                                         and now kick starters are getting two. It's not greed.
                                         Again, you guys DID promise us perks that future backers would not get -- not the other way around.

                                         Personally, I would be more than happy to pay the extra $100 to "upgrade" into that 2 for 1 deal, and get at least one iBP with 2.0 tech -- if that option were made available to us. This would go a
 5840964       4/4/2016      11953182
                                         log way toward validating the commitment of your early backers.

                                         But telling us to just go spend another $299 to get *TWO more* iBPs is just dumb.
 5840379       4/3/2016      6360482     So technically we can cancel our current pledges on KS, repledge and get 2 of everything even the electronics?
                                         Renae -
 5837661       4/3/2016      10283913    Thanks for reaching out to clarify delivery times, etc.
                                         we're all looking forward to this product.
 5840096       4/3/2016       912676     I was just asking about the electronic upgrade, I understand we are getting the 2.0 bag which is appreciated. No need to sound frustrated at someone who backed your company.

 5837721       4/3/2016      11953182    Renae, I find your behavior toward your supporters shocking and irresponsible. We question the appropriateness of this 2 for 1 offer, and your response is that we should be thanking you for the
                                         sweet deal. And then you call us GREEDY for our petulance in daring to question the campaign. If this is how you folks run a business, I can assure you it won't last very long.
                                         I could not agree more! I have sent several emails to the team regarding a solid delivery date with absolutely no response. I am very early backer for this project and just have one simple
 5837549       4/3/2016      11904861
                                         question: when will I get my backpack????
                                         Thanks team for the last update. The 2 for 1 pack is dangerous for your business, I think: the complaints were easily predictable.
 5839906       4/3/2016      8542374
                                         I'm waiting for the electronic upgrade for our 1.0 wifi versions.
                                         I understand all the frustration all the original backers have. To be able to get a 2 for 1 deal, though sounds. As a good incentive to new backers I. Kickstarter, is a slap in the face to the IGG
 5836053       4/3/2016       912676
                                         backers. I know we got the 1.0 to 2.0 upgrade for free, why not give us the complete electronics of the 2.0 or at a discounted price to compensate?
                                         Hi. I already pledged for
                                         The wifi backpack and I want to
 5838174       4/3/2016      12069548
                                         Add the bulletproof stuff. You guys said that you guys won't charge shipping but when I going to pay I see a $25 extra for shipping. So before I proceed I want to know if there is something
                                         especial I have to do or you guys will give the 25 back
 5837691       4/3/2016      12454350    I request a refund.
                                         Much as I hate to stomp on anyone's dreams and aspirations, I just can't accept the iBackPack team's general lack of response to the concerns of early backers. (And no, canned non-responses
                                         don't count, no matter now many times you repeat them.) So much time, so much pledge money collected - and nothing delivered but a lot of confusing and conflicting messages and pretty
 5836624       4/3/2016      11953182    pictures.

                                         I'll give this a few more days, but I'm about ready to take this to social media, and not in a flattering way.
 5837082       4/3/2016      11201672    When can I get my tracking numberï¼Ÿ
                                         Thanks for the latest update, and for calling backers who have simply asked to see something "greedy". We are bombarded with confusing emails about this and that and told to contact the
 5837660       4/3/2016      11395150    company with any questions, but when we do they go unanswered. And all the while you are planning and offering updates for new backers while still not delivering to your original backers.
                                         What kind of business model is this? Your indignant and angry responses to your backers is actually quite concerning.
                                         Well, at least we aren't getting pictures of the CEO brandishing firearms, right? Of course this company has a PR problem. It's shady, terrible, and disturbing. And I fear that the only way anyone
 5837877       4/3/2016      9277324
                                         is going to get a refund is if a lawsuit is filed.
                                         Renae, I wasn't being greedy at all. If you read my message I even asked why the electronic upgrade between 1.0 and 2.0 couldn't be available to us for a discount? I also said that I understood
 5840095       4/3/2016       912676     the frustration of my fellow backers but the same time I do know that your company is doing what it can to keep us updated. I was not asking for the 2 for 1. I wouldn't know what to do with
                                         another back pack anyway.
 5837961       4/3/2016      11754618    Great updates ! Very exciting !!
                                         I'm very disappointed with many of my fellow backers & the complaints, iBackPack sends us updates, photos of products included with the purchase, I see progress, not failure. You want to talk
 5839753       4/3/2016      10018814    about failure? I can name a backpack launched by a company that promised to deliver a bag in Sept 2015, that people are still waiting on. That same company hasn't offered an update to their
                                         supporters in over 4 months. iBackPack provides updates, shows photos, videos of the products, quit complaining.
                                         This company has a PR problem. They don't have a product yet for people to judge them on, in fact that is their biggest problem. That and confusing communication. As a result they are being
 5837753       4/3/2016      11395150    judged entirely on their online presence and their attitude towards their backers which is deplorable. Updates are confusing and don't actually tell us anything beyond new backers get better
                                         products. But nothing is actually produced yet, so it isn't clear why that's the case.
                                         Hello,
 5838933       4/3/2016      12348251    Could you make it somehow possible to order a Monolith 50000mAh battery (or batteries now in th 2for1 period) without paying extra shipping costs? I have asked about this many times, but it
                                         still doesnÂ´t work. In KS there is no such a custom perk available.
                                         This has been said many times already but You don't (won't?) fix that.
                                         In stead of calling us greedy better pay attention to mistakes like that, if You treat customers like that all the time Your business will end up bankrupt very soon as nobody will accept insults like
 5839791       4/3/2016      10516982
                                         that.
                                         Fix all those errors and start shipping !!
 5839776       4/3/2016      10516982    I can not get the Monolith battery without paying again for shipping but in the perk it says: NO EXTRA SHIPPING IF YOU ALREADY PLEDGED FOR iBACKPACK.
                                         As for this we gave you the upgrade from 1.0 to 2.0 bag for free. Yes. Because it makes sense for you to make more money not having to produce two products. I'm getting more and more angry
                                         at this being done over repeatedly especially from being the early adopter and the lack of communication is just taking the piss
 5833208       4/2/2016      12237296
                                         The deal were getting is the 2.0 bag with the 1.0 electronics. The deal they're getting is the 2 with 2 electrics. And we're STILL waiting.
                                         Please update the opening page on what the 1.0 vs 2.0 bag is and what everyone will be getting because this campaign has been very confusing. Also, I still want DETAILED updates on the
 5833733       4/2/2016      11875938    mifi/wifi module and anti-theft system. Your reply summarized how the anti-theft works in theory but there has been zero info on the tech and app development. A video demo would also be nice
                                         and would be more useful than the many iterations of cables/batteries related updates.
                                         As an early backer will we be receiving the two for one offer or any of the other new offers available? You had promised earlier that we were getting the lowest price available by being early
 5832666       4/2/2016      6419058     Indiegogo backers but with this 2 for 1 offer and many other extras coming along for Kickstarter backers that's just not true. Hopefully we're being included in these offers? Still looking forward to
                                         this cool product, just not at a disadvantage to those who waited.
 5833789       4/2/2016      2454442     I don't care about the 2 for 1 thing... I just want to know what the new ETA is. I have a trip coming up and it's the ONLY reason why I got this backpack. Please get back to me ASAP.
                                         Nothing but regrets, being an early backer. It seems that for all the glittering promises that we would benefit in ways beyond that of later KS backers, things have turned out very differently. As
 5832639       4/2/2016      11953182
                                         we wait and watch, it's the late comers who are enjoying the benefits of the faith that all of us placed in Doug Monahan & Co. Lesson learned. Never again.
                                         I have contributed to several campaigns and all no exception have not delivered on time.... I have so far received 2 out of 8 campaigns I'm in one being the Dashbon projector boombox etc. etc. I
 5828966       4/1/2016      9557475     waited a long time but boy was it worth it... Let's give this team the time they need in order for them to deliver a superior backpack... Remember we are contributing to someone's dream and we
                                         will reap what they dreamt and made real. I'm just saying
                                         When is delivery for my order? March 2016 has come and gone. It seems like I'm far from the only backer who feels slighted and frankly, a bit ripped off. This looks like an incredible product that
 5831981       4/1/2016      10283913
                                         we are ALL eager to receive. What gives?
                                         Quote from Renae Recher: "...There are some who are pissed and feel slighted - sorry you feel that way.Rather than feeling cheated you should embrace the fact that the Chinese manufacturers
                                         are willing to give us a special deal...".
 5828853       4/1/2016      1566911
                                         And here I thought all along that the original contributors were the ones that were suppose to get a "special deal". You know, the ones that were responsible for you even being able to successfully
                                         complete your campaign.
                                         As a conciliatory gesture to appease those that feel slighted by the 2 for 1 Kickstarter campaign, offer a 1/2 price 2.0 version, with all of the goodies not being shipped to the original IGG backers.
 5829120       4/1/2016      6596419
                                         As with politics, optics matter in marketing too. You will want positive reviews from them to help garner future sales.
                                         I'm not upset with iBackPack, unfortunately I don't have the funds to make a 2 for 1 purchase, if they could offer a 1/2 price bag with all the electronics I might be interested in that. This is still a
 5831147       4/1/2016      10018814
                                         better campaign then a different backpack project I contributed to, they never responded to anyone's emails, at least the people at iBackPack respond to people's questions




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         People, I hope you understand a "campaign". They are starting from the ground up. We pledge a certain amount for the product that we want. The "March" expected ship date was only a
 5828498       4/1/2016      8007983     predicted one. This is my second pledge. I pledged for another "tech" product, and it too did not ship when they too predicted it would ship. I know that we are all frustated, and so am I,because
                                         of all the confusion, and emails. Lets leave the campaigners alone so that they can focus on getting our product.
                                         I am more concerned that they only have $47,000 pledged on Kickstarter after 20 days. Is this a viable venture? With a decent sized staff working on this for 8 months how much money have
 5828344       4/1/2016      8260513
                                         they burned through? Do they have the money to to produce any product? If Grepper and Coolest can squander $13 million, anything is possible.
 5825046      3/31/2016      12640940    @justin you really dont understand its not the new version that bother most people its the 2 for 1 that kickstarter have that upset people and its normal
                                         @justin that maybe be true but those previous models were released, apple's customers got a look and feel THEN 6months later ( iPhones especially 5,5s,6,6s) a new one was released after the
 5824498      3/31/2016      11794176
                                         previous models were devalued (cell phone lose their value fast)
                                         What insult me the most is i ask for legitimate question on facebook and you know what they gave me generic all prepared message, then they see im not that stupid and i want more details they
 5825078      3/31/2016      12640940
                                         just delete my post...Really professional im missing Doug at least with him we had real tangible anwser and not crap generic message
 5822062      3/31/2016      11794176    You can message them on FB if you have concerns about your E mails not getting answered.
                                         @sebastien they do that all the time, call them out asking for details or bring up previous claims (getting 2 50k mAh batteries instead of one 20000mah) with screen shots and they'll delete it. One
 5825755      3/31/2016      11794176
                                         of my E mails says 2 for1 any accessories while another
                                         I've refrained from venting my frustrations on here as so many already have. But today you send me another 2 emails about this promotion I'm assuming its some sort of explanation to all the
 5824355      3/31/2016      11864144    negative feedback. It doesn't address the fact that your backers here feel let down. 100 pointless updates numerous promises but when push comes to shove we receive a slightly upgraded bag
                                         however if we had waited we would have an 2bags of with "superior" components for an extra $100.
                                         What electronics we will get with upgraded pledge? (1.0 -> 2.0)
 5823815      3/31/2016      12348251
                                         And what we wonÂ´t get comparing to new 2.0 Wifi/Mifi pack?
 5821942      3/31/2016      11201672    Plz ship asap, thx
                                         iBackPack early adopters = SUCKERS.
                                         iBackPack team = Completely out of touch. Or worse.
 5822605      3/31/2016      11953182
                                         The $ say this campaign is a success. The droves of angry backers say otherwise.
                                         Enjoy the revenue stream while it lasts. It surely won't if you continue to alienate your most loyal customers -- you know, the ones who sent you $ on faith...

 5825135      3/31/2016      11875938    Please update the opening page on what the 1.0 vs 2.0 bag is and what everyone will be getting because this campaign has been very confusing. Also, I still want DETAILED updates on the
                                         mifi/wifi module and anti-theft system. Your reply summarized how the anti-theft should work but there has been zero info on the tech and app development. I video demo would also be nice.

 5826797      3/31/2016      10516982    why should I be happy that KS people get 2 for 1, the early backers have paid for that, start shipping IGG backers first and then start a new campaign, when I want all those extra batteries I will
                                         order them later on KS or in regular store. Start shipping in stead of all those copy and paste answers. Faith in IGG has gone sub-zero, last time I've pledged for anything there because of You.
                                         Did any of you ever purchase an early iPhone? Maybe the original? Those purchases allowed Apple to further develop their product so that the 5, 5s, 6... and so forth were an even better
                                         product for the same, or a cheaper, price point.
 5824442      3/31/2016      1045075
                                         That is how this works. iBackPack has done the same and it is not unusual. We early pledgers gave them the opportunity to push their product forward and release a better version. No need to
                                         be sour that there now exists a better product for a better deal.
 5827166      3/31/2016      11962489    March is over, I would like to know when do I get this item. Thank you,
 5827353      3/31/2016      12851509    So here's the question. Can I just cancel my original backing and get a new one on kickstarter? They seem to be getting better treatment over there.
                                         Wow, highly upset at how things are going now..
                                         NEVER got any info on beta details, nor any info on when I'd get my backpack (expected date was March 2016...it's now the end of march)...and yet you are on Kickstarter doing a 2.0 back and
 5818206      3/30/2016      10146672    offering 2 for the price of 1..yet screwing us original backers...not cool.
                                         Half tempted to ask for a refund because this is just ridiculous...
                                         And when I ask about it on Facebook, I get no response....really poor business tactics.
 5818799      3/30/2016      10146672    Doug or his 'team' won't respond I bet...I posted on the KS an hour or so ago, and the facebook page 16 hours ago, with no response.
                                         I guess I'm reassured (?) to see that I'm not the only one who is confused and unable to keep up. I can't tell if we really are getting the raw end of this deal or not, to be honest. I've been patiently
 5816971      3/30/2016      9128006     waiting for the product and wanting it to be good and solid when it arrives. Things seem to be getting awfully fishy though. Maybe time to start taking our concerns to the blogosphere and other
                                         outlets so others don't end up backing this product without expecting confusion? I don't know...
                                         Doug, im really hoping you guys have some logical explanation on this project that seem to become a mess. You are in the business for a long time im sure you could see that this sudden move
 5817176      3/30/2016      12640940    to promote kickstarter 2vs1 would create a panic, if not its not reassuring. If we dont get a clear explanation on whats going on we will assume, you guys dosent take this project seriously and
                                         nobody will promote your products.
                                         2 for 1 is a joke right? In order to even know about 2for1 you'd have to be receiving emails or checking comments (aka PLEDGED).
 5816096      3/30/2016      12851509
                                         And on top of all that, IGG backers are getting shoved on to the side for this one with the excuse that the factory is allowing it? Wouldn't a better negotiation be to figure something out for both
                                         parties? That is the people that have pledged early and the ones just getting in now since those are the ones that the factories are interested in.
                                         Yep sent emails that don't get answered at all, despite them saying email us with any concerns. Here is a concern: you screwed the early backers with v1.0 to give you enough money to supply
 5821391      3/30/2016      11395150
                                         later backers with v2.0 and 2 for 1 while failing to deliver to your original pledges
 5818470      3/30/2016      8861108     May someone please go to the other campaigns "4 in total - non is delivered" and face the music there?!
                                         This is ridiculous. The early IGC backers are getting railroaded. We backed early. They used our cash to develop the product (i.e. 1.0) it was not delivered. Then they use that cash to make 2.0
 5816481      3/30/2016      4529924     and we don't get that (or all of that) and then they reward new backers with 2 for 1 at almost the same price. I want my money back and to have nothing to do these jokers ever again. It is people
                                         like this that give IGC and all crowd funding sites a bad name!

                                         I cant believe its been a day since the announcement was made. there have been replies to comments, but completely ignoring those of unhappiness.
 5817708      3/30/2016      12237296
                                         Just to clarify. WE... all 2486 of us pledged at the 1.0 stage... the early adopters... but were not getting that... were getting the 2.0 bag... ok cool... but with the 1.0 electronics... ermmmmm ok...

                                         the 2.0 bag were getting obviously because it makes business sense to make just one bag with the delays etc... whatever..
 5815570      3/30/2016      4219427     I am looking forward to receiving the pack and actually trying it in the real world so that I can provide some feedback .
                                         So, let me get this straight... early backers spend their $200 only to be rewarded with bombastic update after update and a product whose delivery is already delayed. And new backers spend $25
 5815929      3/30/2016      11953182    more to get not one of the newer version, but TWO??? WTF? So much for loyalty, Doug and Co.
                                         Smells like just another cash grab to me...
 5814749      3/29/2016      11765610    Well I'm sticking with you all. Jumped on 1.0 at midnight opening day, and just signed on for the 2 for 1 for 2.0.
 5811502      3/29/2016      12348251    Yes Bob, itÂ´s not fair. Also for us should be some opportunity to enjoy 2for1 offer.
                                         Do I understand this correctly? I can order the Wifi 2.0 electronic components individually using the calculator? Is there a list of equipment not included in the Wifi 1.0 bundle but are part of the
 5811768      3/29/2016      2332434     Wifi 2.0 bundle so that I don't accidently purchase something that has been upgraded or is already included? I did see on an earlier comment that there would be an option to upgrade 1.0 to 2.0
                                         equipment, but I can't find it, has it been removed?
                                         i'm so upset of you because we back this project first so if there is any benefits we should have it first because the successful of this project is thanks to us not kickstarter ...we should get that
 5813773      3/29/2016      13176426    offer 2 for 1 because we made this project success. how about you cancel my order now and i'll move on to kickstarter ?? or why not you make a new perk which can upgrade from 1.0 to 2.0 for
                                         little extra bucks ??
 5815297      3/29/2016      10529360    I just made a 195 dollar pledge on kickstart I think this is what I do to get a 2 for 1 on the 10 USB smart dock and the mi fi battery. Am I correct.
                                         So now. The indiegogo backers, who were supposed to be getting the better deal because backing from the very beginning, aren't because Kickstarter backers are getting a 2for1 offer for the next
 5811455      3/29/2016      12237296
                                         two weeks???
 5811434      3/29/2016      9816870     I clicked on it and it said "something is wrong here."
                                         Badlink?????? http://bit.ly/iBackPack2/


                                         Something's wrong here...
 5811671      3/29/2016      11765610
                                         Uh oh, Bitly couldn't find a link for the bitly URL you clicked.

                                         Most Bitlinks are 4-6 characters, and only include letters and numbers (and are case sensitive).
 5811432      3/29/2016      12348251
                                         I would like to order 50000mAh power bank. IÂ´m a backer and like to have it without extra shipping costs. I canÂ´t do it here because IGG adds extra shipping costs to it anyway. What can I do?
                                         Is there a simple FAQ or a specific Update that clearly explains what I should expect to receive at this point? I can't figure out what I should be expecting to receive and when, what I may or may
 5813056      3/29/2016      9128006     not need to buy separately or upgrade, and so on. Very confused and it seems to become even more confusing with each new update. Please point me to an update or FAQ that clearly
                                         describes/summarizes what I can expect as an IGG backer.
                                         I trust and hope that the IGG backers will receive the 2-for-1 offer that is advertised via Kickstarter. I have received several emails assuring me that early backers would receive the same if not
 5811532      3/29/2016      11724823
                                         better deal than subsequent backers. Thank you.
                                         Can we have a clear statement as to who is getting what? It now seems that to take advantage of receiving the upgraded pack we have to buy 3 of them, 1 original and then 2 through KS. I, like
 5814634      3/29/2016      8929341
                                         many others have been very patient and supportive of this development but now it seems we are being pushed to the back of the line.
 5812355      3/29/2016      12020993    So are getting LED Zippers? I really want those.
                                         I previously said that I was happy to wait and wanted a well polished product that worked. Now this is just ridiculous. I get a couple of updates a week, new backers are getting 2X, we're
 5814642      3/29/2016      11395150    experimenting with batteries, we'll be shipping in bits, you'll get this now and this later. It's just confusing what is coming and when. It doesn't even seem like final decisions have been made
                                         about things like battery packs, but it seems like the early backers are getting the stiff end of the deal now.

 5814370      3/29/2016      8993240     like other comments here, I'm confused at to what I'm expecting to be delivered and when. Also, it appears others are able to benefit from our initial support. I ordered the original iBackPack Wi-
                                         Fi Version and can't work out what I will be receiving and if/how I could upgrade to other options. I didn't back this campaign to receive an inferior product to what is now being offered.
                                         This is the stupidest campaign I have ever had the misfortune of being involved in. We get update after update with confusing information, you have spent all of our initial investment and
 5814927      3/29/2016      9086635     delivered NOTHING except confusing emails. I am tired of this and would love to get my money back. this backpack is the most ridiculous thing ever and will probably weigh more than a 4 year
                                         old child. Get your crap together, send me a nice polished backpack complete with all the latest and then go away.
                                         Why is Kickstarter getting double what they pay for, we here on IGG have been backing from minute 1, you'd better start shipping all to IGG-pledgers first and after that go to Kickstarter who just
 5811496      3/29/2016      10516982
                                         joined. This is misleading, I read all comments, nobody knows when who is getting what. Patience is dropping fast.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         ...I don't understand. Indiegogo backers were the first to take risks, and were suppose to have a good deal. Personally, I have not been upset about the new 2.0 electronic : the bag is $50-$100
 5814173      3/29/2016      8542374     more expensive and we won the same design. But now? Two wifi 2.0 bags for $300, so $150 for 1 bag better than our 1.0? What? How can we not be disappoint? Especially when we see that we
                                         can not upgrade our 1.0 with the electronic of the 2.0?
 5811504      3/29/2016      12348251    Yes Bob, itÂ´s not fair. Also for us should be some opportunity to enjoy 2for1 offer.
 5811503      3/29/2016      12348251    Yes Bob, itÂ´s not fair. Also for us should be some opportunity to enjoy 2for1 offer.

                                         I just think straight-forward answers instead of hype would be wonderful for once.

 5812167      3/29/2016      11079183    I've reached a point that I've already written off my pledge as a loss and I'll never see a backpack. First, it was shipping a complete backpack. Now it's a circus that can't even tell what it's doing in
                                         a simple sentence.

                                         So now pledging over on Kickstarter for a 2.0 backpack and it's suddenly a 2-for-1? After already pledging for a 1.0-magically-autoupgraded-to-2.0 over here? Seriously? Use small words here.
 5811759      3/29/2016      11941121    When is the shipping starting to roll out?
                                         I'm disappointed with your latest update with the 2 for 1 LIMITED OFFER for those pledging to support the iBackPack 2.0 via Kickstarter. I was led to believe that initial Indiegogo supporters
 5812194      3/29/2016      1566911     would only benefit from the Kickstarter campaign. While I do understand that there will be some IGOGO perks that come from a successful Kickstarter campaign, I also understood that I was still
                                         getting an individual iBackPack cheaper than if purchased it from Kickstarter. Apparently this isn't the case now.
 5811444      3/29/2016      10593430    .......... Patience Dropped to 0
                                         im really starting to be upset here. At first kickstarter was more expensive because of extra component. Now they get 2 for 1!? i even heard that you guys were initially not able to upgrade us to
 5812675      3/29/2016      12640940    2.0 if kickstarter was not sucessful. Now its 2 for 1 on the bag + the component!..Im starting to wonder if its a serious project but one thing is sure... if it sound too good to be true its usually
                                         because its not... I would really like to have a logical explanation to that because i cant find one now
                                         Hello,
 5812150      3/29/2016      12442127
                                         The IGG backers should receive the same offers you're offering on KS because we backed the product first. Not fair to offer them a better deal when they could've backed on IGG.
 5812994      3/29/2016      8007983     Guys, read the updatespage please, before getting upset. It is not iBackpack, it is the production factory.
 5811393      3/29/2016      12931197    I understand the bag design changes to 2.0 are included, but how do we pledge for the 2.0 electronics? Thanks, and keep up the great work!
                                         Hi. Can you confirm the shipping date? I am about to move countries and addresses in the next month so didn't know which to use. If easier I will excuse myself from the beta program so my
 5802995      3/28/2016      11864144
                                         shipments come to the same place. Please advise. thanks
 5804355      3/28/2016      4219427     I woshipping date for my items?uld like to know if you have a
 5802497      3/27/2016      11666270    Hi, any estimate on a possible shipping window? Are we talking April, May, June for shipments to begin?
 5797315      3/26/2016      11776802    Am I in the beta list I knows signed up but never got a confirmation off that.
                                         Hello All - We have photos and videos being taken at our factories next week. For those who don't understand the importance of this - just imagine if we wound up getting a shipment from China
 5796351      3/26/2016      10019428    of products with paper weights inside the boxes vs. the actual high-quality batteries and then discovered we had been scammed. That won't happen due to the effort we are spending to visit each
                                         plant, video it, share the videos with you and the photos. An ounce of prevention is worth a pound of cure.
 5798134      3/26/2016      11939211    for one last time,,can i make sure of what i have pledged?
 5790490      3/25/2016      10593430    After looking at my reply.. I can see the corporate tree replying to my questions about delivery.
                                         Hello! how are you? I need to know when to send my order to estimate Argentina. I am overwhelmed to see so many updates, I could not read all the mails. They could make me a summary of
 5793696      3/25/2016      11646503
                                         the current status of the project ?, I'm lost.
 5793530      3/25/2016      9816870     March is almost over. Have you readied for shipping yet?
 5793854      3/25/2016      11899336    Hi, I was wondering how I upgrade to the 2.0 version of the Wi-Fi 1.0 bag for free. Do I need to update my order or is it an automatic thing you guys are doing when you ship them out?
 5793646      3/25/2016      10018814    I'm thinking of adding the WiFi module to my pledge, can I set up the WiFi "HotSpot" so that it's password protected so that only people I allow have access?
                                         Hi Renae, I'm not ask about the LTE band, I'm asking the data speed. Which LTE category it is supported?
 5793907      3/25/2016      11463600
                                         Please read:http://www.3gpp.org/keywords-acronyms/1612-ue-category
                                         Hello team, Thank you for keep us update. I contributions on iBackPack Sales Professional 1.0, and as the iBackPack team say i will get iBackPack Sales Professional 2.0 without any extra price.
 5790700      3/25/2016      12860107    My question is what is the perk can i get by new perk and that perk its not include in my contributions by default. For example i want [iBackPack BulletProof Shield] & [POW Super Battery
                                         Bundle]. Only i need is get this perk from the right side of this page?. Big thanks to best team. :)
                                         The plastic trapeziod case looks nice, but two questions is this a reusable security case for the retailers, because if it is a locking security case it can help keep the bags or the contents of the
                                         bags from "walking away" from the bag and/or store.
 5786395      3/24/2016      10018814
                                         Otherwise while it looks good it's not environmentally friendly, since it would involve a lot of recycling. Think like Apple who's products use recycled paper, crisp clean lines that allow items to be
                                         stacked & take a minimal amount of floor space
 5784766      3/24/2016      6726573     I think the trapezoid box is eye catching. However, is it feasible for shipping so there is no wasted space per carton?
 5790001      3/24/2016      11463600    What's the speed of the Mi-Fi device? 300Mbps? 150Mbps or 100Mbps? Thanks.
                                         @Ibackpack team, I know we can upgrade from the power pack to the WIFI for 65$USD...I also know we will get the backpack only 2.0 upgrade for free...My question is even if we upgrade from
 5785977      3/24/2016      12640940
                                         power 1.0 to WIFI 1.0 there is no way to get the wifi 2.0 upgrad
                                         Hello, Sorry for repeat same question, but I want know how can I get iBackPack 2.0 with full of equipment after I pay for 1.0? did I need to pay separate for ever equipment? or ther is another
 5785217      3/24/2016      12860107    way?
                                         Thank you
 5787622      3/24/2016      11135850    where is the option to upgrade to v2? I don't see it at the right of the screen
                                         I would like a detailed update on the wifi mifi tech that is included. I asked a few times earlier and was just told to "sign up for updates" (which I already did). There are tons of updates on cables
 5787427      3/24/2016      11875938
                                         and accessories. I would like to know more about the wifi and anti theft features since those were the reasons I backed this project in the first place. Thanks!
                                         Doing the math and looking at the timing why wouldn't I get the kick starter pledge and ask for a refund??? The math ends up hurting the original backers. I've given you 7 suggestion all of which
 5779614      3/23/2016      12886050
                                         you have incorporated into the 2.0 and that's without the Beta bag you promised.
                                         Hey @Team,
                                         We've got many informations from everywhere and that's a good thing. But I've got a small head, so I want to be sure: I took the iBackPack 1.0 Wifi on Indiegogo, and if I understand, I'll receive
 5778948      3/23/2016      8542374
                                         exactly the same as the iBackPack 2.0 Wifi (and not the iBackPack 2.0 Power Backpack) on Kickstarter, is it?
                                         I think I'll take some optional pledges on Kickstarter but I just want to be sure.
 5778857      3/23/2016      12352322    Guys (and gals). The progress to date is looking good. I too am looking forward to receiving mine.
                                         @Evan The bag itself going to be the same as the 2.0..The equipment inside going to be what you ordered. They said they will offer an upgrade for the equipment WIFI 1.0 to WIFI 2.0 but there
 5779073      3/23/2016      12640940
                                         is no set price yet.
 5775519      3/22/2016      10593430    Estimated Deliver March 2016... Well i hope i get mine by end lf month....
                                         When the iBackpack will be black I would use a black cardboard box, looks good on the shelves and is environment friendly because nobody will keep the box when he gets home and starts using
 5774593      3/22/2016      10516982
                                         it. Christmass packaging I let that to be decided by You and the retailers.
 5772797      3/22/2016      11776802    I have never bought a backpack in a box. But if I have the choose simple carboordt box cheap. People will trow it away any way. This way it can be invermently friendly ass wel
 5772817      3/22/2016      9750632     Can anyone tell me, when we will receive our iBackPack? Within nine days, March is over!
                                         I think that the hard plastic case would be could for retail stores if they were on a shelf. For the "Merry Christmas" and "Happy Birthday" ones though, I think those should only be from an online
 5771602      3/21/2016      13221091
                                         order or with a special order within the store, just because it would require special packaging.
 5772334      3/21/2016      12329020    I think the white packaging with the Christmas tree would be the best for Costum Christmas, but definitely any other time of year (save maybe Halloween) should be the black theme.
 5768504      3/21/2016      12069129    Hi, I am wondering when can we start to choose the exterior color&&paint?
 5771667      3/21/2016      12507918    Can someone advise when we gonna receive our iBackPack ???
 5770898      3/21/2016      8900239     Hi I was wondering if there will be an email sent to people when there iBackpack gets shipped to them? Also how do you go about changing your address?
                                         Ok hopefully this will help everyone. I've got a couple questions that hopefully will answer anyone else. I want to know are we getting the iBackpack 1.0 or 2.0? If so when? I'm confused as to if I
 5756889      3/19/2016      11537868
                                         will be getting my iBackPack 1.0 this month or not :/ and thinking of a refund
 5756374      3/19/2016      8007983     How soon for the beta testing?
                                         Have a question about the batteries and airline travel. Are these batteries okay for carry-on baggage? Air Canada allows a maximum of 160 Wh batteries but these are rated in mAh. I don't know
 5759106      3/19/2016      6195336
                                         the output voltages so I can't do the conversion. Are the standard batteries ok for traveling? What about the new 50k monster? Sorry if this has already been answered.
                                         As the batteries are at he voltage of 5V and have 50kmAh it would have 250Wh.
 5759309      3/19/2016      12443065
                                         So you can only take a 32kAh battery with you for 160Wh. I hope this help you.
                                         hy there,i just want state some answer there as i seen below,first i think we will be getting ibackpack 2.0 for the backpack(only bag),if u want upgrades in device,i think u must buy the upgrades as
 5757189      3/19/2016      11939211    options and as u know when u pledged, it clearly say that estimated date is march,not the exact date.so please have patience too,the team is working hard to get the product done and they are
                                         reaching final stages in manufacturing now,so just have patience and wait for the bag itself, (no provokating)
 5756373      3/19/2016      8007983     How soon for the beta testing?
                                         @maryperrault and complainers..IF you would just take the time to read the message about update and delivery date you would see that they said multiple time they will "TRY" to delivery in
 5751030      3/18/2016      12640940
                                         march but most likely fall next month as they are in final stage o
                                         Agree. I was at first confuse but with so many update I got the idea and the effort they doing. I defenilly will upgrade my 1.0 with the bullet proof as soon is available. Keep the good work; so far I
 5754255      3/18/2016      12069548
                                         love the backpack and I can't wait to have it.
 5750935      3/17/2016      9086635
                                         So this is so confusing... so many updates and yet no product. I am frankly tired of this whole thing. When will I get my completed, tested and working backpack. I just want to be done with this
                                         EVERYONE LETD ALL COLLECTIVELY GO ON OUR SOCIAL MEDIA AND PROMITE THIS PROJECT THEY DESERVE IT AND WE ARE GETTING OUR BANK FOR THE BUCK ONE SIMPLE
 5748895      3/17/2016      11135850
                                         SHARE ON FACEBOOK,TWITTER WONT RUIN YOHR LIVES WE HELP THEM AND THEY HELP US!!!!!!!!!!!
 5749386      3/17/2016      12027875    Can I know when you guys will start shipping the IBACKPACK?
                                         The upgrade is awesome news! Canâ€™t say thank you enough! Itâ€™s been great watching this campaign and progress, I for one waited that opening night when midnight hit my time to
                                         pledge right away for two units!!!!!!
 5748381      3/17/2016      11765610
                                         Thanks!
                                         Great news about 2.0! It was getting so confusing trying to figure out exactly what was going on. It must have gotten very confusing for all of you. So my iBackPack 1.0 Power Pack now
 5750882      3/17/2016      6726573
                                         becomes iBackPack 2.0 Power Pack. I can't thank you enough for making this journey an exciting one.
 5747214      3/17/2016      12886050    Will you have a chance to answer my questions regarding my pledge and the beta program?
 5743553      3/16/2016      13221091    When it says "Estimated Delivery" for each perk, does that mean when you think it'll be completely done or actually shipped to all contributers?
 5742161      3/16/2016      9047000     can we still contribute for add ons? how long do we have to still be able to contribute for the add ons?




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 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Now I'm a little confused about what product I will receive? What will be included and how much and for what can I upgrade to. Glad you took all my suggestions and incorporated them into the
 5740961      3/15/2016      12886050
                                         bag!! I didn't suggest the gun pocket for fear of making you guys look bad!
 5739852      3/15/2016      7887510     Is the credit card sized battery included in the original campaign or is that an add on?
                                         What is the difference between the 2 versions? Just a higher 50,000 battery?
 5732938      3/14/2016      2604764
                                         Is there a solar panel and usb-c cables that can charge a google device?
 5731892      3/14/2016      12452532    I have moved since when I originally backed this program. How do I update this in your guys system?
                                         I apologize if this question has been asked already but what is the current Estimated ETA of receiving the backpacks since the original one was March 2016.
 5732766      3/14/2016      4153158
                                         Thanks
 5732713      3/14/2016      11135850    love the updates Doug keep it up
 5735206      3/14/2016      13513897
                                         Hello -Renae here- Please join John and the customer service team from 9 A.M. - 9 P.M. Eastern time for all your questions. Please join us here https://global.gotomeeting.com/join/156688965
                                         We just sent a SALES PRO UPDATE - and need to know which files you want to have access to - we are allowing 100k at a time vs. the 10k promised. We need you to tell us the following and
 5732707      3/14/2016      10019428    we will try to do the query for you - a) job title, b) industry, c) geographic locale, d) number of employees, e) revenue of company - we'll put together these individual searches as best we can -
                                         keep in mind we are up to our eye'balls with other ibackpack tasks. thanks
                                         We just sent a SALES PRO UPDATE - and need to know which files you want to have access to - we are allowing 100k at a time vs. the 10k promised. We need you to tell us the following and
 5732706      3/14/2016      10019428    we will try to do the query for you - a) job title, b) industry, c) geographic locale, d) number of employees, e) revenue of company - we'll put together these individual searches as best we can -
                                         keep in mind we are up to our eye'balls with other ibackpack tasks. thanks
                                         Hi,

 5734972      3/14/2016      12348251    I tried to order 50000mAh battery as a backer. It added extra shipping costs to the order although it shouldnÂ´t. What to do?

                                         Jussi
                                         I see a lot of good updates here, what I do not see is an expected ship date to all who pleged and gave for the 1.0 bags. I am asking because I am going over seas in mid April and want to take it
 5724402      3/13/2016      12239596
                                         with me to see how it performs on internation travel on in berach and desert conditions - Thanks
                                         Hi, I pleged for iBackPack Pro version and was going to design it and get it in March. Now I'm lost in your e-mails and extra features, please help.
                                         1. When and how do I submit my logo?
 5723746      3/13/2016      12249547
                                         2. You kept saying we'll get new features for free. Now, you say ver. 2.0 is for an extra fee. Please give me a link to a ver. 1.0 with all current features I get for my pledge.
                                         3. This mess with Backer Kit is frustrating. Where should I update my address? Which carrier will you use to ship to foreign countirs?
                                         Hi I placed my order about 14 hours ago, & I have a few questions: 1. Do 1.0 bags still have an estimated delivery date of later this month, if not when?
 5724090      3/13/2016      10018814    2. What is the POW Super Battery Bundle is it just all the batteries list or does it include the bag as well? If it included the bag, that wasn't clear it wasn't really clear. I saw it has a 50,000 battery
                                         & wireless charger is that for charging the bag or items that have the feature built in? 3. Difference between WiFi vs Power Bag just WiFi?

                                         SALES PRO UPDATE - DATA IS BEING MADE AVAILABLE NOW . . . THIS WEEK. If you opted for the SALES PRO version of the iBackPack - we have great news for you. We are making our
 5724164      3/13/2016      10019428    database available NOW and upping the number of contacts you can "check out" to 100k at a time vs. the 10k per month.

                                         This is considerably more than we originally promised (10 times to be exact) but we hope it shows as our commitment to you. Make sure your email is updated so we can send dropbox invite .
                                         iBackPack SALES PRO VERSION UPDATE - We are working to get all of the various cities, states, job titles, number of employees, revenue - you name it and we are exporting the data into
 5727613      3/13/2016      10019428    blocks of 100k - which is TEN TIMES what we had originally promised. We are announcing a new program where other who haven't pledge to get the iBackPack 1.0 can get the data but it will be
                                         for 250 dollars - not the 100 dollars that everyone has pledged. We are always focusing on ways we can better support IGG backe
 5727189      3/13/2016      11915119    I itereating a beta program
 5725014      3/13/2016      11399392    Really looking forwards to receiving this. You guys are doing great work...
                                         +1 for zippers of the highest quality. LED zippers in my opinion seem a bit pointless given the batteries inside have lights integrated into them.
 5721172      3/12/2016      11955673
                                         Cable holes as above, good quality and well stitched into the bag is of utmost importance. Depending on
 5720091      3/12/2016      13328608
                                         the LED zippers would be great but how would they work and also as long as you guys can try your very best on makeing it high quaility so the LEDS don't go our that would be awesome
                                         Opinions on cable holes, grommets, etc - Part 1:

 5720134      3/12/2016      10654988    Cable holes: I like both steel options , with stainless steel preferred (allergic to metal so stainless steel would be 'safer' for me)

                                         Grommets: I prefer the ones that are just holes
 5722305      3/12/2016      8007983     Zippers should be YKK as I mentioned, because they are self-repairing, and longest lasting.
 5722409      3/12/2016      11776802    A tip the increase kickstartes. Close it here people wil be going fore cheapest one.

                                         Opinions on cable holes, grommets, etc â €“ Part 2:

 5720144      3/12/2016      10654988    Zippers: Since the iBackPack can hold a lot of weight, and is a quality product and somewhat of an 'investment' vs cost of other backpacks, I want to be sure the zipper is able to hold the weight
                                         when 2 or 3 laptops are packed along with the batteries etc. So, my zipper vote is, whatever is the best quality and if it pops open is easily fixed and as good as new when fixed.

                                         BTW - love the personalized zipper slider and pullers!
                                         Have you considered offering for an additional fee a padded shoulder strap that can be attached to allow the bag to be carried as either a sling bag, or a vertical messenger bag all that would be
 5722733      3/12/2016      10018814    needed is a few strategic D rings. Maybe something that can be added to the next generation bag, iBackPack 2.0. Another option would be to consider creating messenger iBag as a second
                                         choice as part of the K.S. Campaign.
                                         Sorry lost connection when I was posting my comment what I wanted to suggest was a combination of both types of holes, for any holes that give access to the outside of the bag how about a
 5722725      3/12/2016      10018814
                                         metal grommet with an attached rubber plug? Just a thought.
 5722306      3/12/2016      8007983     Zippers should be YKK as I mentioned, because they are self-repairing, and longest lasting.
                                         I vote for the simple ring cables holes. Just as you mentioned they provide a better passthrough for multiple cables. While the LED Zipper is cool I'm not a fan. I think it may attract too much
 5721731      3/12/2016      11899111
                                         attention to my iBackPack. I vote for the PVC Zipper yet during the tests if another performs better let's go with that one.
 5722377      3/12/2016      12860107    Hello
                                         My opinion re: cable holes is every backpack I have owned with eyelets come loose after a while (I don't buy cheap either). The rubber grommets have been much more stable and reliable over
 5721006      3/12/2016      11395150    time. I agree with MJ Foley about the zip quality. Whatever is best. These are another thing I have had fail in the past. Mostly my concern is getting a quality product that lasts given the
                                         comparative cost. The wider shoulder straps would be good as would the chest strap.
                                         So, I purchased the Sales Pro version and had a couple questions to ask, first and foremost how will I know you have matched and verified my account? And when and how will we submit our
 5723016      3/12/2016      10593430
                                         logos for the Sales Pro iBackPack?
                                         Question about the types cable holes you are testing are these just for internal use between compartments within the backpack itself or are you also talking about external holes? I think the metal
                                         holes are idea for internal use but maybe a combination of p
 5722352      3/12/2016      10018814
                                         By hymn
                                         Hi
                                         With the holes for cable routing, can they be at the bottom of each compartment.
 5721185      3/12/2016      11955673
                                         If they are at the top and you need to open your bag for an inspection etc the cables will pull and likely either disconnect from the batteries or tangle etc...
                                         I prefer the hole that closes around thats wires so that it can minimize things from getting into the backpack while still letting the wires out. As for the LED zippers it really doesn't do anything for
 5721774      3/12/2016      12239596
                                         me as I am not a flashy\bling person. I can see where it can come in handy iin a dark place though.

                                         I am definitely against the led zipper. It would only draw attention on the iBackpack, increasing thefts, and is not a good choice for a professional use. Please select the best traditional zipper.
 5722866      3/12/2016      11940255
                                         I am also against Velcro on the strap. Even if male, when Velcro becomes older, it might stick to your scarf, hair or other.
                                         And I see no reason for a compass in the buckle. Thanks for your attention.
 5721205      3/12/2016      11955673    ps also like the pvc zipper slider.... nifty :-)
                                         have you started with the international shipping?
 5718121      3/11/2016      12004589
                                         thank you for the efforts...
                                         Fore the hold just make a hole with no flaps and choose rubber ore silicone so it protect the cables.fore zappers don't go whit led it's a fun fester but you have 2power them and I am not looking
 5717553      3/11/2016      11776802
                                         forward to disco on my back as well we I arrive at work.
                                         Waist strap: No, only when it's removable.
                                         Buckle with compass: No, not easy to use when you have to look at your waist strap, there are plenty of similar products in your phone.
 5718425      3/11/2016      10516982    Key holder: Yes
                                         Wider shoulder straps: Yes
                                         Velcro on the outside: No, it will wear out fast and stick to clothes, hair, your dog, everything that comes close to it.

 5717706      3/11/2016      11776802    Doug you and you team are keeping us updated so much. And we are also able 2 choose what we want how we want the final product 2 be. Making a bag fore electronics is not easy. Have been
                                         looking fore one fore a long time but most of them a crap. So I hav high hoops on this but. 1 other thing Doug please take care at your self. Sending us update like 3/4 am at night is not healthy.
                                         OMG I want those LED Zippers SO BADLY!!! I am willing to pay extra for those to be included, I don't care what it takes. That would make the iBackPack Super COMPLETE!!! Please Please
 5717411      3/11/2016      12020993
                                         include those!! I don't care if it delays the iBackPack a bit I NEED those LED Zippers!!!
 5718173      3/11/2016      11135850    Led zippers on main compartment
                                         Better not use the LED zippers as up till now they won't last very long, better use A-class YKK-zippers (could be in orange) , they've proved themselves for many years.
 5718381      3/11/2016      10516982    Can you update the date of shipment as I think March 15th isn't possible when you're still changing things.
                                         Regards, Perry
 5717481      3/11/2016      11775750    hello, instead of using led zippers or similar, better use high quality YKK zippers in my opinion, quality rulez :-)




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                            Commenter
Comment ID   Created Date
                            Account ID
                                         "cable holes"-shape: Round rubber patch silicone or the "good quality rubber patch" as they provide the best "water resistance" to the equipment I will be carry around.
                                         Which leads to the "Backpack Rubber Hole", Earphone port hole patch" or the "Eco-friendly puncher backpack earphone hole".
 5717975      3/11/2016      11918374
                                         For zippers, go for high quality zippers, and I would rather have high reflective than "led" as all led-clothing tested have broke within a year and I guess you wouldn't want that high RMA rate do
                                         you?!
                                         i really like the plastic buckle backpack only because of the compass i think something like that should be essential to the bag and someone else metioned this but maybe you can fit a solar panel
 5710780      3/10/2016      13328608
                                         (mini) somewhere on the sholder straps to chagre your devices but you guys are doing amazing with this bag i love it
                                         Regarding key attachment: I prefer the "high quality black zinc swivel metal snap hook for backpacks"
 5708893      3/10/2016      6267470
                                         It's smooth edges will prevent anything from catching on it other than what I want to snap into it.

                                         Good Morning from the UK Doug
 5711892      3/10/2016      11615484    Can you confirm when the iBackpack & associated parts will be shipping, is this still intended for March? I have read what you have said about the Beta for the component parts, but then I see
                                         more updates suggesting you are encouraging people to go for the iBackpack 2.0
                                         I am pleased to hear your product is picking up pace and more is being put into v2.0, however I was an early backer that opted for the Wifi version; it would be good to receive this product first?
                                         Yes I also want to know what's the different between the the 1.0 and the 2.0. I feel rob. Because the product we paid isn't finish yet and there is another one that will be lunch almost at the same
 5713594      3/10/2016      12069548
                                         time. Is like buying a phone thinking you have the latest version and one day later you find out that there is another one already.
 5709251      3/10/2016      11776802    For key chain the high quality zinc one
 5708287      3/10/2016      8465935     Sorry, stupid question, but I couldn't figure it out on my own: What will be the difference between the iBackPack 1.0 and 2.0?
 5710501      3/10/2016      10060808    I'll be taking the Velcro off too.
                                         Yea I also want to know the different between the 1.0 and 2.0 I feel like rob because the 1.0 is sit. Finish and we paid for it and there is another one already that will be lunch, almost at the same
                                         time. I like buying a phone and 2 days later the same company have a update if that phone. I know everything cost $ but is not fair that we support this idea and product and now we won't have
 5713582      3/10/2016      12069548
                                         the latest and best product.
                                         I need to know what's the different between them

                                         Hello,
 5712212      3/10/2016      10654988
                                         With regard to the buckle options, I think option 1 High quality side buckle for backpacks looks best. My experience withe these types of buckles is that they lock tight so you don't need to be
                                         concerned about the buckle opening up when you are not prepared to fix it. Also, I've had good experiences with this type of buckle lasting longer than many types of buckles.
                                         If you read the comment and there updates that tells you, the bag it self wil be the same but the stuff that's in there is different. And we will be able 2 update price is currently unknown. So we just
 5713720      3/10/2016      11776802
                                         wait and see.
 5711382      3/10/2016      12011874    What is the difference between ibackpack1.0 and the ibackpack 2.0?
                                         Keys .yes
                                         Large waist strap. yes
 5710590      3/10/2016      12069548
                                         Chest strap. Of course
                                         20 mm zinc alloy buckle
                                         Keys - Yes,
                                         Large waist straps - Yes!
                                         Chest strap - Yes!
 5710232      3/10/2016      11887739
                                         Anything velcro anywhere - NO!
                                         Even the most high end velcro becomes worn really fast and after that the male half of it just catches on to any fabric, hair and smilar it can, ruining it in the process. I'm bitter about this to the
                                         point where I remove velcro from things I buy and replace it with magnets (or whatever fulfills the original purpose of the velcro)
 5704362       3/9/2016      8007983     No pictures on the kick starter website?
                                         The Keys on the shoulder straps - NO.

                                         The Larger strap across the waist - more like a military bag - with about 3 inches vs. one half inch - We believe this will be better when carrying a lot of equipment - NO.
 5704526       3/9/2016      11899111
                                         We've had some requests to make the strap across the chest adaptable - such that it can be raised or lowered depending on someone's physical anatomy and to maximize comfort. Do you feel
                                         this is a good idea - it would require another small buckle for you to plug the strap into - NO.
 5708103       3/9/2016      11541779    Keys on the shoulder straps yes
 5707620       3/9/2016      11789260    I'm gonna vote for the 20 mm zinc alloy buckle!
 5708196       3/9/2016      11875938    I would like the strap buckles to have some sort of anti-slipping/sliding mechanism. I find the straps of my current pack loosen over time especially when I have my laptop around.
 5707567       3/9/2016      12444829    So with beta components being shipped to testers when can non beta backers expect to receive their backpacks?
                                         I have a camelback which I am very happy with and those have the basic buckles and they work fine. Don't go fore metal because the paint we fall off I time. Don't care about a lock ore compass.
 5707481       3/9/2016      11776802
                                         Have the look at my belly to find the way and try 2 unlock it
 5707565       3/9/2016      11135850    Doug please please please my phone is USB C I would love to have USB C chargers I absolutely love the shoulder straps keep up the good work exclamation point
 5708100       3/9/2016      11541779    The shoulder straps lookgreat
                                         To the keys on the strap, it is a yes. Suggestion, the use of Velcro that can be strapped over the keys to prevent them from making noise .
 5699369       3/8/2016      11179413    Waist strap is a yea as long they can be removed
                                         Adjustable chest strap is a yes.
 5697308       3/8/2016      12886050    Yes to all three perhaps a retractable key retaining line. They are cheap and easily replaceable. Be careful the key retainer isn't a hazard to the eyes!!
                                         Yes to all three. And like others have said, maybe have another strap to keep the keys from jingling.
 5701861       3/8/2016      13221091
                                         P.S. I cannot wait for the arrival of the backpack. Don't take this in a negative way, but I'm almost getting impatient because of the anticipation :D
                                         "Keys on shoulder strap": No, I prefer keys to be in a zipper pocket.

                                         "Larger strap across the waist": No, I don't see a tech/computer backpack as something that would need that kind of carry-weight support that they are intended for. it is still added, they must be
 5702013       3/8/2016      11918374
                                         adjustable, and please - removable!

                                         "Strap across the chest" : I have never seen a use for that on current prior computer/tech backpacks, if it is still added, they must be adjustable, and please - removable!
                                         Keys: yes
 5696921       3/8/2016      12001261    Thicker waist belt: yes but removable or stowable
                                         Adjustable chest strap: yes
 5702411       3/8/2016      11135850    For the fan that comes with the backpack you should PLEASE make a USB C type version!!!!!
                                         Yes to the keys on strap . With a Velcro system to keep the keys in place?
 5698974       3/8/2016      9260952       Yes to the thicker waist belt
                                         Yes to the adjustable chest strap
 5697379       3/8/2016      6267470     Yes to all three. Yet the keys on a hook need to not be free swinging so that they jingle.
 5702059       3/8/2016      8861108     Live on Kickstarter now !! :)
 5697745       3/8/2016      12886050    Have you thought about an attachable solar panel to charge batteries???
                                         Yes
 5696664       3/8/2016      11942357    Yes
                                         Yes
                                         Keys on strap - yes
 5696695       3/8/2016      11455705    Thicker waist belt - yes, but removable
                                         Adjustable chest strap - yes
 5699777       3/8/2016      13328608    i know that this kind of passed but i think there should be more TSA locks can you guys make that happen? (reply if you agree please)
 5691932       3/7/2016      10429749    can some one send me a pic of version 1.0 backpack please and the version 2.0 to um31982@hotmail.co.uk
                                         Keys on the shoulder straps - YES

 5695712       3/7/2016      11884231    The Larger strap across the waist - NO.

                                         strap across the chest adaptable - YES
 5694179       3/7/2016      8960136     Yes to all! If instead the keys had a female velco to attach to the male one then it'd be just as good if not better because then its easy to detach and reattach
                                         Keys on the shoulder straps â€“ YES
 5695732       3/7/2016      11765610    The Larger strap across the waist â€“ NO. ***If modded into a sort of bug out bag with larger compartments, then keep.
                                         The strap across the chest adaptable/removable â€“ YES
                                         Keys on the shoulder straps â€“ YES

 5695738       3/7/2016      9699759     The larger strap across the waist â€“ Yes, but regardless of size, be removable.

                                         The strap across the chest adaptable â€“ YES
 5691930       3/7/2016      10429749    can some one send me a pic of version 1.0 backpack please and the version 2.0 to um31982@hotmail.co.uk
                                         Yes to everything.

                                         Massive NO, NO, NO to Velcro to hold mobile phone.
 5693702       3/7/2016      11955673
                                         Not sure how much a mobile phone costs in the States but having your potentially really expensive smart device available to be nicked that easily, is a significant flaw in my opinion.

                                         Can't one of the strap pockets be enlarged to allow a phone to slide into it?




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Keys on the shoulder straps - YES.

 5692979       3/7/2016      11856862    The Larger strap across the waist - YES.

                                          Adaptable chest strap - YES.
 5692972       3/7/2016      11557350    hey when are they going to start shipping
                                         My votes:
                                         The Keys on the shoulder straps = NO
 5693551       3/7/2016       77329
                                         The Larger strap across the waist = YES
                                         The Adaptable strap across the chest = YES
 5689810       3/7/2016      11135850    I WOULD LOVE TO UPGRADE TO VERSION TWO!!!!!!!!!!!
 5692929       3/7/2016      11789260    yes to keys. yes to wide mid strap. no to cross body.
                                         key on the shoulder straps - absolutly
 5693067       3/7/2016      13328608    large strap across waist- NO
                                         adaptable chest strap-YES
                                         keys on shoulder straps â€“ YES (I might still keep some of the keys inside)
 5693952       3/7/2016      5061634     large waist strap â€“ YES (2 exchangeable versions would be nice. So one can change those the strap with in regard to the weight of the backpack)
                                         adaptable chest strap â€“ YES!!
 5691929       3/7/2016      10429749    can some one send me a pic of version 1.0 backpack please and the version 2.0 to um31982@hotmail.co.uk
                                         Keys on the shoulder straps â€“ YES
                                         Large strap across waist â€“ No
 5693528       3/7/2016      1862339
                                         â†’ This also could be made detachable for both ways to use
                                         Adaptable chest strap â€“ YES
                                         Yes to Keys
 5693065       3/7/2016      11753216    yes to waist strap IF it's removable
                                         and yes to chest strap
 5691933       3/7/2016      10429749    can some one send me a pic of version 1.0 backpack please and the version 2.0 to um31982@hotmail.co.uk
 5691938       3/7/2016      10429749    ops sorry for all them pc would not send
                                         1 van make iT a option inside ore on straps
 5693242       3/7/2016      11776802    Yes
                                         Yes
                                         hello
                                         keys on shoulder straps - YES
                                         large waist strap - YES
 5693504       3/7/2016      11775750
                                         adaptable chest strap - YES

                                         option to have straps removable is also very welcome
                                         Keys on the shoulder strap Yes
 5696411       3/7/2016      8592227     Larger strap on the waist Yes
                                         Strap across chest Yes removable would be preferred
                                         Keys on the shoulder straps â€“ YES

 5696132       3/7/2016      8840129     The larger strap across the waist â€“ Yes, but regardless of size, be removable.

                                         The strap across the chest adaptable â€“ YES
                                         My votes:
                                         Keys: no
 5692942       3/7/2016      8868512
                                         Larger waist Strap: Yes
                                         Adjustable chest strap: Yes
                                         Hi, I placed an order for iBackPack Sales Professional and have some questions.
                                         Is it possible to make some changes to my order? I would like to replace 100 Million contact list database to the 50k mAh Monolith battery option, moreover I still need WiFi option itself don`t
 5689427       3/7/2016      11938981
                                         want it to be excluded. I'm ready to pay for this change, so please let me know if it is possible and how much would it cost.
                                         In addition I want to know how to become a part of the BETA program?
                                         Keys on the shoulder straps â€“ YES
 5696587       3/7/2016      12329271    The larger strap across the waist â€“ Yes, but removable.
                                         Adaptable chest strap â€“ Yes
                                         My votes:
                                         Keys: NO
 5692921       3/7/2016      12076060
                                         Waist Strap: YES
                                         Chest Strap: YES
                                         Keys on the shoulder straps - YES
 5693163       3/7/2016      12020993    Large strap across waist - YES
                                         Adaptable chest strap - YES
                                         Keys on the shoulder straps - YES
                                           -> but why don't you make it detachable so that it can be on the shoulder or inside the bag, as the user wants it.
 5693373       3/7/2016      13451794    Large strap across waist - No
                                           -> This also could be made detachable for both ways to use
                                         Adaptable chest strap - YES
                                         Waist strap can be hurdle for me. So would prefer if it's detachable.

 5694573       3/7/2016      10471404    Adjustable chest strap yes

                                         Keys again not so keen. Will mostly keep the keys inside somewhere safe.
 5693924       3/7/2016      12443065    Maybe there would be a pocket where you can put your keys on the straps. Because it is not good if they are open. If not a pocket than something (a lash or so) to secure the keys.
                                         Keys on the shoulder straps - Yes
 5696137       3/7/2016      8007983     The larger strap across the waist - Yes
                                         The strap across the chest, be moveable - Yes
 5692957       3/7/2016      12414081    Yes to keys no to wide mid strap yes to adaptable chest strap
 5691931       3/7/2016      10429749    can some one send me a pic of version 1.0 backpack please and the version 2.0 to um31982@hotmail.co.uk
 5691934       3/7/2016      10429749    can some one send me a pic of version 1.0 backpack please and the version 2.0 to um31982@hotmail.co.uk
 5692977       3/7/2016      11557350    and how can I get in the beta program
                                         Hey Guys - John here - I have spent 4 hours going over all the different option we are going to be offering in the iBackPack 2.0. It is going to be amazing and most definitely an extraordinary
 5685598       3/6/2016      11912192
                                         backpack just like the 1.0!
 5679952       3/5/2016      12131405    What is being shipped to us for the Beta program?
                                         Question, I will be flying out to Florida in a couple of weeks for a working vacation and I want to know if the iBackpack will be shipped around the third week of March or after that? Just want to
 5680809       3/5/2016      11179413
                                         make arrangements to have them brought up to my apartment while I'm gone.
 5679734       3/5/2016      10429749    still on time for this month delivery
                                         Would it be possible to make the cell phone pocket on the strap a little wider? I have a iPhone 6 Plus in a case and it is measuring 9x18 cms. Also, how about a little case or storage compartment
 5680002       3/5/2016      8868512
                                         for sim cards? I am currently using two listerine packs for them.
 5681753       3/5/2016      8101361     I wanted to know if I request to add Kevlar sheets in backpack, will it create any trouble crossing Airport Security ?
                                         Straps look great but I thing with al the pockets make it easy 2 replace the cables inside of it al I case the break ore wen you switch phone ore wen the world changes connectors. And the
 5679547       3/5/2016      11776802    suggestion of having a place fire the long straps is also welcome. Now I just and up cutting them off and melting the end. Would very nice 2 have place fore over size parts so if I every increase in
                                         size I don't have 2 buy a new backpack
                                         The thing is I am skinny person and the straps mostly very long. So what i do is. I cut the straps and if you don't melt the very end of the nylon straps. It will destroy the strap and become useless.
 5680978       3/5/2016      11776802
                                         So if you have solution fore oversized straps 2 store in the strap ore bag it would be very useful.
 5677577       3/4/2016      11789260    I think the all in one charger is where it's at, unless we would get all the adapters with the original charger.
                                         Hi iBackPackers â€“ I am writing to introduce myself. My name is Rosalie Recher I am one of the new Customer Service Managerâ€™s for the iBackPack. I am here to help answer answer any
 5675563       3/4/2016      13513748    questions you may have about the iBackPack 1.0. This include verifying your shipping address, feature set, ship dates, upgrades . . . you name it â €“ and my job is to answer your question. If I
                                         donâ€™t know the answer â€“ I will find out and get back to you. My email address is Rosalie Recher@ibackpack.mobi
 5675351       3/4/2016      11135850    Doug***** auto correction kicked in lol
                                         Hi iBackPackers - I am writing to introduce myself. My name is Renae Recher, I am one of the new Customer Service Manager's for the iBackPack. I am here to help answer answer any
 5675365       3/4/2016      13513897    questions you may have about the iBackPack 1.0. This include verifying your shipping address, feature set, ship dates, upgrades . . . you name it - and my job is to answer your question. If I don't
                                         know the answer - I will find out and get back to you. My email address is Renea.seymour@ibackpack.mobi
                                         Hi iBackPackers - I am writing to introduce myself. My name is Samantha Abellanosa, I am one of the new Customer Service Manager's for the iBackPack. I am here to help answer any
 5674654       3/4/2016      13513749    questions you may have about the iBackPack 1.0. This include verifying your shipping address, feature set, ship dates, upgrades . . . you name it. If I don't know the answer - I will find out and get
                                         back to you. My email address is samantha.abellanosa@ibackpack.mobi
                                         hey dog I know you said you do not want to make this like a survival backpack but just the thought most of our backpacks are left in our vehicles I think a glass breaker somehow implemented as
 5675348       3/4/2016      11135850
                                         an accessory or in the backpack would be a great addition
                                         The all-in-one adapter is nice. However, does either support the current newer smartphones that draw more usb power or have fast charging capabilities. The USA version seems to be more
 5673778       3/4/2016      11743155
                                         compact.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         We need someone to help us make a video - or really edit the current videos we have of the iBackPack. Post I DO VIDEOS here and write us too - info@ibackpack.co - We need someone who
 5676118       3/4/2016      10019428    can start immediately. We need a video that can show off the prototypes we have, batteries, how the product works, how it connects to the internet and everything else about it. We will work with
                                         you - full time over the next week or so - but want to get this done right away
                                         Would it be possible to design the straps so that the extra strap material after tightening could be tucked away somewhere or secured to the bag somehow? With other bags I own there is usually
 5677778       3/4/2016      11455705    a decent amount of the strap that is left dangling after I adjust them and it gets dragged through things or caught on stuff or just otherwise in the way. It would be nice if I could maybe roll up the
                                         excess material and secure it to the strap or something along those lines.
                                         Please stop whining about the BackerKit hurdle. At this point you've told us way too many times that you feel wronged, and you sound like a child. We get it; it didn't go as planned. Move on and
 5677495       3/4/2016      12931197
                                         continue working on the project.
                                         Regarding accessories, something to consider is that Android phones and laptops may start using USB type c connectors. I just bought a Nexus 5X which has that connector so I now have to buy
 5677802       3/4/2016      11455705    adaptors and new cables which is annoying but may be the way things are headed. It's not as widespread now so lightning and micro USB should cover the vast majority of devices out now but
                                         that may not be the case in a year or two.
                                         Hi
                                         Thank you very much for your hard work in Saturday. Your staff hard-work is well noticed and highly appreciated.
 5677580       3/4/2016      7075234
                                         I am a backer of V1.0 and I am interested in the Shoulder straps, please let me know when will it be ready and I am going to add it to my iBackpack.

                                         Thank you very much for your help.
                                         Concerning 20,000 mAh Battery: In my opinion quality is more important than the number of USB. All the batteries will have to be charged inside the iBackpak, therefore there should be no
 5670277       3/3/2016      11940255
                                         overheating, but I suppose this will be checked by your Beta testers.
 5669336       3/3/2016      11544917    Was just wondering if you have me down for the beta program thank you
 5671914       3/3/2016      10353729    Stay with the American version plug device instead of the universal device.
 5669647       3/3/2016      11864144    Hi there, Is it still possible to join the Beta program?
                                         Hi Doug. Thanks for keeping us updated. About the wall charger, aesthetically, I prefer the previous, thinner, american version with the various european adapters (Apple style) that I already
 5670275       3/3/2016      11940255
                                         requested by e-mail. The new one is certainly bulk and heavy. But the important for me is that both can handle our european 220/230 V. without heating.
 5670877       3/3/2016      5308335     The all in one wall charger is genius. Go for it
 5671333       3/3/2016      11135850    love the all in one wall adapter and the tech on the battery pack
 5670204       3/3/2016      12860107    Hello
 5669640       3/3/2016      11914015    Hi, I'm a contributor of IBackPack from Philippines, i opt for BETA program since last year but there was no confirmation yet, may i know if I'm on the list? Thanks
                                         I would like to add my vote for the international wall charger rather than the older one, if possible to swap.
 5670088       3/3/2016      11764288
                                         Thank you for the hard work!

                                         With regard to the wall charger, my preference is to have the one that works worldwide. I like the wide straps - if for no other reason than for comfort.
 5669796       3/3/2016      10654988
                                         You guys have been doing a phenomenal job! It is truly amazing all that has gone into this iBackpack to date and the changes/upgrades are really wonderful! Thank you for all of your hard work!
                                         Hello,
                                         Thanks team for hard works, actually I get confused after several updates get for this iBackPack.
                                         I take iBackPack 1.0 by $299, did I need to pay for extra perk or not?
 5671587       3/3/2016      12860107
                                         If not what perks I will get in my iBackPack?
                                         Also I remember ther is one featuring to writing my name or any name in front in my iBackPack whats happening to this feature?
                                         I write this question here because I send email to the owner of this campaign toetime and did not get any replay, wish dont ignore me here also!
                                         John (Rump) Well aware there was no question. The problem with IGG is that comments and replies don't necessarily stay together. Doug and I had a couple of messages and that was my
 5666595       3/3/2016      6726573
                                         clarification. And as another backer saw my comment and was wondering the same thing, there was no need on your part to be critical.
 5670761       3/3/2016      11955673    Hi Doug, as requested I've added Rosalinda to my Skype.
                                         I am so confused. I just want the complete backpack tested and working sent to me. This sounds like you still do not have a complete photo type and are as confused as I am. When will I get
 5672040       3/3/2016      9086635
                                         my backpack with all the parts? And by the way how heavy is this thing?
                                         Oh, and also agree with everything you've said about the shoulder straps too. Excellent idea about cabling, and love he idea of access to the other bits and pieces as described.
 5669344       3/3/2016      11955673
                                         I may be unpopular with some, but would prefer to have the backpack really really well designed and delivered a few weeks late rather than rushed to deliver it on time!
                                         Same reaction whit below like the apple look I like more. And battery. The always be updates in world of technology. This one off if there is no delay the update it if there would be a delay just
 5670330       3/3/2016      11776802
                                         stick with what you got. And make de option that in future we can buy it. In case we wane upgrade ore the other one brakes.
 5669294       3/3/2016      11955673    New style charger please. Looks far more robust, as long as it handles 240v :-)
                                         Please place me on the beta list too!
                                         Prefer the international charger.
                                         I know you guys are trying to include the most up-to-date upgrades and add-ons so I am happy to wait for these.
 5670188       3/3/2016      12159350
                                         It is good to have our opinions regarding options - certainly better than most of the other Indiegogo campaigners who have not bothered to ask. It is clear you guys want to give us the best bang
                                         for our bucks, even if it means a slight delay!
                                         Thanks.

                                         Hi, I would like you to send the Worldwide compatible adapter so I do not have to buy an extra accessory for USA-to-Italy.
 5670241       3/3/2016      7901709
                                         For answering about shoulder strap I say yes - i'd like to have the phone held on my shoulder. I'd suggest to create a touch sensitive surface so you can control the phone from there without
                                         extracting it - i am totally blind and I am figuring the scene where I keep my White cane on right hand, and control phone with left, for GPS information, having it speaking aloud.
                                         another bump on my post a few days ago about 1.0 backers upgrading to the 2.0 tech since the physical backpack is the same. i dont mind paying extra for the updated tech if it's worth it. i am
 5670164       3/3/2016      12793462
                                         sure i am not alone on this.
                                         Sent an email as well, but Beta Me
 5669190       3/3/2016      6360482
                                         Thanks.
                                         I'm an early adopter from CANADA, where we're not afraid of each other because we don't often kill each other because we don't treasure guns as though they're important. I don't give a fuck
                                         about Kevlar panels, 'cuz I don't live where you do. Please stop wasting my time with paranoid shit I don't care about.
 5669277       3/3/2016      9330334
                                         Thanks.

 5658376       3/2/2016      11776802    Doug I can see you guys are working very hard and keeping us informed at the same time I knows I just pledge en February. But I have been following this fire almost a year before I pledge
                                         because of bad experience in the past. But just to ask as there a chance that we have the complete bag in May because I have a big international conference and I want 2 show my new thing.
 5660736       3/2/2016      4863120     Note sure if I've said this before... but Beta me please! :)
 5660537       3/2/2016      12131405    Beta me please!!!
 5660215       3/2/2016      10593430    I agree with Van Nguyen, When are we supposed to send out our logos? I donated a while back and have not heard anything back from you guys in regards to that.
                                         hello... just one plain question as with all beta and non beta confusion on shipping.
 5663133       3/2/2016      11775750    I have pledged in August 2015, I am NOT part of the beta, when can I expect my ibp to be shipped (estimated month would be fine) and when will the address questionnaires be sent as I can't put
                                         full address here on igg. Thanks! :-)
                                         I saw the news abut the beta, but do not recall ever seeing the original opportunity to participate. Would love to, if there are still openings. Please sign me up, if so.
 5664606       3/2/2016      1830504
                                         Thanks!
                                         I had pledge 4 months ago for the business one. I thought we were suppose to get ours for early birds in feb2016? not only but what about our logo on the backpack and choosing Color ect?what
 5649246      2/29/2016      11776748
                                         about the leads ? lack of information after I place my money in this company, gets me a little worried. first time I tried indiegogo . I'm sure be my last too
                                         Doug,
                                         Do you have a projected dated for the IGG Beta Backers?
 5646604      2/29/2016      12012123
                                         I will be traveling cross-country on March 20th, and feel this would be the perfect opportunity to test everything out for the team. Also, What has the stretch goal included as of late and what isn't
                                         included in Beta/Stretch goals? Just wondering, as I would like to upgrade and test all I can. :) Thank you, and Keep up the amazing work! -Jared Simoneau
                                         Doug,
                                         I know you all have been working your tails off. You and I communicated way back when I told you I thought I was probably the oldest backer. My only question was concerning the previous
 5642037      2/28/2016      6726573
                                         posts that stated "With greater purchasing power we can lower the cost of components - and pass the savings onto you - our IGG early backers through stretch goals - additional products
                                         included in your STANDARD offering. You get MORE for NO ADDITIONAL FUNDS! It's a win, win, win. Prior to the KS launch"
                                         Steve (Duncan)... I was going to ask the same question. I've been very excited from the start from across the Atlantic in the UK when I pledge on IGG for 2 of the iBackPacks WiFi Versions last
                                         October & have been very impressed with the comprehensive updates throughout. There was indeed a lot of mention about the so called 'stretch goals' for all IGG early birds, but now we
 5644201      2/28/2016      11693985
                                         approach shipment it is no longer clear whether these still exist or if they do what they actually include?
                                         Thanks.
                                         Sorry if you got the wrong impression. Not complaining at all, in fact I'm impressed with your campaign and its strong work. Just interested in the option in buying any updated tech if it comes out
 5640165      2/28/2016      10529360
                                         after the delivery date. I am sorry if you got the wrong impression. I wish you the best on an AWSOME project.
 5638351      2/27/2016      11135850    I think there should be an option to upgrade to have version 2
 5639021      2/27/2016      11753216    Does the beta program include just the electronics or the back pack too?
 5637385      2/27/2016      12793462    so since the 2.0 update is just tech, and the physical backpack will be the same, can original 1.0 backers just purchase the technology that will be included in the 2.0 model?
 5637264      2/27/2016      12329271    Doug, how do I update my address? I have moved in the last year and I'm not sure what address I originally signed up with.
                                         I understand upgrades and the drive for improving a product. I am sure once 1.0 was lined up, you found options that make it better, but you need to deliver. It would be great if for those of us that
 5638117      2/27/2016      10529360
                                         are tech addicts (if it is apple I own at least one). We had the option to buy the improved tech that will go into 2.0. I am not against paying for an upgrade.
 5637906      2/27/2016      11135850    yes what Marc said! that's a great idea!
 5638616      2/27/2016      1616612     is there anyway we can voice our disappointment to backerkit?
 5638071      2/27/2016      10174731    BETA me. Thanks!
                                         Just curious...what happened to all the talk about all the additional tech the 1.0 folks would get based on the success of the Kickstarter campaign? We shared, we posted, we did what you asked
 5639975      2/27/2016      6726573
                                         and now there is no mention of stretch goal goodies for your original backers. Feeling a little used.
 5638067      2/27/2016      2454442     I would also be interested in an 2.0 upgrade package.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Hey Everybody - We sent a few emails to update you on what is going on. All is good - except for being delayed by the BackerKit snafu. We take our obligations seriously and handing them $299
 5636403      2/26/2016      10019428    to help is what we consider fair - handing them $10k plus . . . well - isn't going to happen. We'd rather spend that money on better zippers, buckles, straps and technology for you. We are going to
                                         have to rely on the IGG system until we can figure out a different solution to Backer Kit - Recommendations?
 5636885      2/26/2016      4219427     always patient, thanks for the post. but still have trouble waiting.
 5632753      2/26/2016      11557350    what steps do I have to take to update my address, can you post a link
                                         I believe I already did this but to make sure.
 5636991      2/26/2016      11788690
                                         BETA ME!
 5636466      2/26/2016      9570044     I have to say: I love your updates and appreciate the progress. Can hardly wait to have the backpack in my hands! Keep up the great work
 5636690      2/26/2016      11135850    are there USB c cables? or just lightning and micro usb
 5633305      2/26/2016      4219427     I am sorrt to hear about the teams problems. Anyway that you want to organize delivery and following through with your obligations, you just go for it. The product will speak for itself.
 5636286      2/26/2016      11779629    do we still get to put our logo if we got the old sales professional perk?
 5636044      2/26/2016      8251331     beta me
                                         hi doug, wow, what an update... amazing.pretty sad about backer... good to know for future.
 5630253      2/25/2016      4004086
                                         will the kevlar be in same type packaging for possibly sportsmans guide, midwayusa, etc??? will it also be sent as beta still?? thx. mike
 5628925      2/25/2016      7887510     I have not received the backerkit survey either.
 5631959      2/25/2016      4310493     If you still have space for the Beta me program sign me in please
                                         Hey Everybody - Trying to get 3 weeks worth of updates into one day. Sorry that we don't have the questionnaires handy right now.As mentioned in the emails we have always been hopeful that
 5630594      2/25/2016      10019428    BackerKit would have eventually come around - who knows what they will do - The most important thing at this time is to k=make sure you, our backers - understand what we have been doing.
                                         The iBackPack is going to be evolutionary in every single way. If anybody has a better suggestion compared to Backer Kit -
 5631995      2/25/2016      11135850    hey Doug try this website I believe this is similar to backerkit http://www.pledgemanager.com I have had other campaigns use this website
 5630192      2/25/2016      10454042    I too have not received the survey. Do I need to worry here...
                                         Sorry to hear about the extortion BackerKit is giving you. I would recommend cutting your loss of $299 and tell BackerKit "Good Luck, you'll need it". Also my bad on not suggesting an
 5631679      2/25/2016      8132503
                                         alternative, but what about USP, they have a big marketing campaign that says "We do Logistics". I would expect at moving the decimal point the right two or three spaces.
                                         Hey Everybody - Trying to get 3 weeks worth of updates into one day. Sorry that we don't have the questionnaires handy right now.As mentioned in the emails we have always been hopeful that
 5630595      2/25/2016      10019428    BackerKit would have eventually come around - who knows what they will do - The most important thing at this time is to k=make sure you, our backers - understand what we have been doing.
                                         The iBackPack is going to be evolutionary in every single way. If anybody has a better suggestion compared to Backer Kit -
                                         Bit confused here. If your address is the same as that you signed up on do you need to do anything further or just sit back and wait? I see the shipping estimate hasn't changed and I don't really
 5629497      2/25/2016      11395150
                                         want to delay that if I am meant to have done a survey or something. Any advice welcome
                                         My address has not changed since I ordered two iBackpacks at the start of the campaign and signed on for the Beta. Even with the troubles with BackerKit, I'm still excited about these products
 5631992      2/25/2016      11765610
                                         and glad to see your pushing forward!
 5632524      2/25/2016      11463600    how to be a beta me?
 5630375      2/25/2016      12083177    Can I still be beta tester
 5631890      2/25/2016      12414081    BETA ME
 5630294      2/25/2016      11557350    how do I update my address
 5622991      2/24/2016      7400277     I have not gotten the survey either. Not sure when the backpacks will be shipped, if there's tracking info on the products, etc. Jus tlost about what's going on right now.
 5620057      2/23/2016      10193622    Hello, I have not received the survey. Or maybe I missed it. Please send it again. Thank you. 1485320@qq.com
 5614089      2/22/2016      4219427     I have the same question about the Beta. Am I getting one or when do I get my order?
 5604122      2/20/2016      12414081    If I do not do the BETA program, when will I receive my iBackpack?
                                         Reposting bc someone had the same question: Any updates regarding the WiFi hotspot module, GPS tracking, and anti theft features? Are these all in one box? The campaign page now says
 5592466      2/18/2016      11875938    GPS â€œSIM card not included,â€ contrary to the original campaign page. Is a paid SIM subscription needed for GPS tracking? Is this separate from the bluetooth alarm? I would appreciate
                                         comments/updates on these features. There has been no info on this tech so far and they were why I wanted the bag in the first place.
 5580059      2/16/2016      11828622    When are the backerkit surveys supposed to be sent out? Cause if they have already, then I never received an email about it
                                         Hi,
                                         I checked again and I have not received any link for the bakerkit Survey. Can you send me a new one?
 5578994      2/15/2016      8689967
                                         Thank you.
                                         Hello,
                                         I need something cleared up. I originally ordered the iBackPack 1.0 WiFi Version before the campaign officially ended (that was before the BulletProof shield was announced). And I want to know
 5573087      2/15/2016      12020993    if my perk already has included the ButtetProof shield or do I have to order that separately now? I remember you mentioned that any additional things added after the campaign will be included
                                         with our iBackPacks at no extra cost to us, the original backers. Is this true or?
                                         Thanks.
                                         Doug, can you please, instead of sending us hundreds of photos, most of them identical and useless (it took me hours to download and view all of them last week), just select 10 or 15 best views
 5561611      2/13/2016      11940255    of each prototype and send us one file for each, so that we may compare them, make sure that the second is thinner, as promised, than the enormous first one, check that the side pocket is not
                                         white but black, etc.? And did you notice that your battery IBP-802 says â €œmade in chainâ€ instead of Made in China?
                                         Doug, last but not least, I am rather upset to see that you never reply to the questions concerning the real features for which I supported your project: Wi-Fi and Data Roaming, GPS, anti-theft,
 5561612      2/13/2016      11940255
                                         appâ€™s functions. Although you promised me a reply on January 14th. Thanks.
                                         I just pledged on the POW cables page. Do I need to do anything affirmative to have them included with my ibackpack order? And my understanding is that I will now receive some extra product
 5556365      2/12/2016      12329271
                                         to cover the shipping that was charged on that. Is that correct?
 5560285      2/12/2016      11776802    Hello I have checked your website and is every thing that is on website on the table device. Is that al coming with the bag. Ore is just wat is standing on this page
 5543835      2/10/2016      11766276    I am wondering if and am I a beta member?
                                         Doug
 5543836      2/10/2016      11179413
                                          Will there be tracking so the beta testers know when their ibackpack will be delivered?
 5544715      2/10/2016      11624542    So initially you said that if we had already pledged we wont be charged more shipping on new perks but it is still charging shipping!!
 5544331      2/10/2016      10429749    hey Doug. can you please clarify the difference between the 1.0 and 2.0 iBackpack? could u send a pic of 1.0 and 2.0 please
                                         Hi Doug, thanks for the frequent updates along the way and I am excited to beta test the bag. With that said, can you please clarify the difference between the 1.0 and 2.0 iBackpack? You may
 5543993      2/10/2016      11875938    have addressed this already but the answer is probably buried in an update somwhere. My understanding is that 2.0 just refers to the upcoming Kickstarter campaign but otherwise the actual bag
                                         pack and accessories included are identical. Is this correct?
 5547660      2/10/2016      9924620     I vote on the multiple locks because I want a better protection even for my lap top, it feel safe if I can lock not only for my wallet but also for my lap top.
                                         We just announced the POW cables systems which are an add-on to the iBackPack. There isn't a way to exclude shipping with the current IGG system thus you will receive the additional
 5543811      2/10/2016      10019428
                                         products since we already shipping your ibackpack to you
                                         Also, while I appreciate the revisions on the batteries/cables, I am very much interested in updates regarding the WiFi hotspot module, GPS tracking, and anti theft features. Are these all
 5544014      2/10/2016      11875938    integrated into one box? The campaign page now says GPS "SIM card not included," contrary to the original campaign page. So is a paid SIM subscription required for the GPS tracking? Is this
                                         separate from the bluetooth proximity alarm? I would appreciate comments/updates on these features. Thanks.
 5544721      2/10/2016      11624542    How do we update on backer kit?
                                         Doug,
 5544045      2/10/2016      10034505
                                         sorry for ignorance but I could not get how to update shipping details on bakerkit
                                         ok doug, will do. I'll setup a high speed camera on kevlar side with items that will explode with breakthrough as well as front view cam to see impact.. will use
 5537820       2/9/2016      4004086
                                         22, 9mm, 45, 17hmr,!, 5.56, 308, 7.62x54. thx. mike
                                         doug, why can't the kevlar be shipped with the bag, saving u guys labor and us costs for extra shipping.. thx .
 5537870       2/9/2016      4004086     also, for those of us that bought 5 or more will things come individually or in groups? I'm speaking logistically here.... ::))
                                         m
 5539709       2/9/2016      6726573     Where's the link to backer kit?
                                         Ok I have a few questions. You mentioned the baker kit, how exactly are supposed to update out adress on an account that we have yet to create. And a second question, when will we be able
 5540289       2/9/2016      10593430
                                         to send in our designs for our bags?
                                         BETA ME - Kevlar - DO NOT WEAR BACKPACK WHEN TESTING -
 5531425       2/8/2016      4004086
                                         hi doug, didnt hear so I don't know if u got the last message... do u want all calibers through or do u want to stop at .308 or .223/5.56mm?? what is actual the rating of it? thx. mike
 5530017       2/8/2016      2332434     Beta me kevlar
 5528978       2/8/2016      13023284    Well the Bluetooth speaker be built into the backpack?
 5533071       2/8/2016      12329271    Beta me.
                                         Dear Doug,

                                         Thank you for everything you are doing for iBackPackers!

                                         1. I updated my address here at IGG. Do I need to update it at BackerKit? I don't have an account there.
 5533645       2/8/2016      12249547
                                         2. I'd like to point out that I live in Russia and we have problems with expensive deliveries by a default state delivery company, which is Russian Post/Pochta Rossii. Please confirm that you'll
                                         send the backpack and components by commercial delivery service with tracking number. Otherwise we'll lose it :(

                                         Many thanks!
 5530199       2/8/2016      11776802    Is there je a way too charge the every while its in the bag and can I fit a camel bag inside the bag with the tube.
 5530307       2/8/2016      10006050    Beta Me
 5534779       2/8/2016      12237296    Will this come with a UK charging option?
 5524464       2/7/2016      11624542    already pledged registered follow on facebook and share photos work in law enforcement have guns and wear a kevlar vest everyday
 5524958       2/7/2016      9699759     BETA ME KEVLAR
 5525806       2/7/2016      6013670     Beta Me
                                         BETA ME, if you haven't, as my name on Facebook is different than on here.
 5523990       2/7/2016      12012123
                                         Also would like to test the KEVLAR. :-)
 5528520       2/7/2016      10060808    Is there anywhere I could fit a camelbak bladder in this backpack and have access to the tube while it's zipped up?




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         I have pledged for ibp in August 2015, if I add kevlar + battery pack, will that delay delivery of my ibp or kevlar+batteries will be shipped separately upon availability? Can u also provide with
 5526396       2/7/2016      11775750
                                         dimensions of kevlar sleeve? thanks
 5523998       2/7/2016      12012123    simoneaujared@gmail.com
                                         BETA ME KEVLAR- ALAN HARBER
 5523265       2/7/2016      11775189
                                         I HAVE MANY DIFFERENT GUNS THAT WE CAN TEST ON IT AND VIDEO OF IT
 5525033       2/7/2016      10853141    Beta Me please
 5527219       2/7/2016      7678843     BETA ME
 5525749       2/7/2016      11775189    BETA ME ALAN HARBER KEVLAR US PLUGS
                                         Download link - http://we.tl/SloJpj4LK3
                                         Download link - http://we.tl/hhr2CwMZe5
 5523180       2/7/2016      10019428
                                         OVER ONE THOUSAND PHOTOS IN PDF FORMAT - These are not-edited - some are blurry and out of focus - they aren't meant to be published - and possibly not even shared with anyone as
                                         they are - BUT - what the heck - you can see the level of attention to detail we are putting forth, get a better look at batteries, pockets, etc. REMEMBER - This is NOT FINAL - especially the bag
                                         itself - MAJOR POSITIVE CHANGES coming
                                         BETA ME + KEVLAR - jon@jonmfrye.com
                                         I'm a Service Engineer for an AV/Home Theater/Automation/Security company. Every day I visit clients with custom programmed remote controls, automation systems, security alarms,
 5523801       2/7/2016      12931197
                                         surveillance cameras, and general home entertainment products. My Amazon backpack goes everywhere with me, packed with my laptop, iPad, iPhone, cables , and tools. Can do photos and
                                         videos; 9mm and .22LR ready for the Kevlar. I've backed the Wifi + Kevlar.
 5523665       2/7/2016      10613813    BETA ME, Sorry about that
 5525600       2/7/2016      8007983     Beta me - Kevlar-
                                         PLEASE REMEMBER - everything is a work-in-progress. The reason we are sharing all of the photos with you is to get your input on them - not to say - here it is - take it or leave it. The
 5523401       2/7/2016      10019428    iBackPack is being built with the help and advice of several thousand people - of which you are one. Let's continue to work together in order to make this project one of the best in the history of
                                         crowd-funding. As Steve Jobs so adequately stated "The Journey Is The Reward".
 5524494       2/7/2016      10271804    While looking at the photos you just sent out. I was thinking, tablet sleeve should be a soft cloth inline. I just don't know if the material of the backpack will scratch it or not?
 5523217       2/7/2016      11135850    I have a gun so I can test Kevlar if you'd like
 5523231       2/7/2016      9047000     I keep seeing all this stuff about the 1.0 and 2.0. I pre ordered back when the campaign originally started. how do I know if I am getting the 1.0 or 2.0 and what the difference is?
                                         Doug
 5523652       2/7/2016      11179413
                                           Question, how long will the discounted price of the 50 mAH battery and the kevlar shield be available to us IGG backers?
 5523206       2/7/2016      12452532
                                         Beta me! I did on the FB & an email, but just realized I didn't on the IGG page yet, & i think thats the one we were supposed to do. I did my pre order a few months back. Super excited for this!
                                         BETA ME KEVLAR
 5523734       2/7/2016      10795684
                                         will test all types of ammo from handgun to rifle

 5528655       2/7/2016      8132503     What happen to the design from 5-6 months ago? It was very professional looking and would compete with high end luggage, such as Tumi or BrileyRiggs. Now it looks like it is competing with
                                         Eastpak. Mr. Monahan PLEASE TAKE BACK CONTROL OF YOUR PRODUCT! You have let the team go off tangent and not producing the dream product you presented.
                                         Hi doug.
 5523292       2/7/2016      4004086     is replying to the email ok or do we need to reply here? I already replied to email.. thx.
                                         m
 5524226       2/7/2016      3712998     I dislike the TSA lock on top very much. It looks heavy and clumsy to use. You should talk to the AirBolt team (www.theairbolt.com) about using their locks instead.
 5523612       2/7/2016      5844681     BETA ME KEVLAR
 5523182       2/7/2016      11624542    beta me. usa. I also shoot so I can test kevlar
 5525601       2/7/2016      8007983     Beta me - Kevlar-
 5523351       2/7/2016      12793462    BETA ME KEVLAR - ive a gopro and i have a handgun.
 5524735       2/7/2016      10429749    hey could you send me the pics of the backpack 1.0 please as not sure what pics are 1.0 or 2.0 where could i get all the extra add ons
 5524577       2/7/2016      9304138     How do I update my shipping address?
 5523659       2/7/2016      10613813    BATA ME
                                         BETA ME KEVLAR-ALAN HARBER i have a small collection of about 20 guns and my uncle also has a private gun range and a collection of around 200 guns so i have pretty much any caliber
 5523389       2/7/2016      11775189
                                         you can think of as well as a decent camera
 5525536       2/7/2016      11919325    John Martland - go here https://support.indiegogo.com/hc/en-us/articles/212528078?
                                         Indiegogo's Update system is being quite difficult tonight. We are trying to update everybody regarding the BETA program and the components that are going to be shipped soon. We are
 5521717       2/6/2016      10019428    uploading a number of PDF files to a system called we transfer where you can download up to 3 or 4 GB. The photos aren't "cleaned up" they are 'raw" in nature - but at least you will be able to
                                         see the various products that we are reviewing. The BETA products that you will be receiving are expected to be those to kee
 5520867       2/6/2016      10994381    BETA ME
 5520855       2/6/2016      11794176    BETA ME.
 5521754       2/6/2016      10654988    BETA ME (did this earlier but, in case you need again): Standard US plug
 5520882       2/6/2016      12986565    BETA
 5522964       2/6/2016      9787619     BETA ME. Can I get US, UK and EU plugs? I travel a lot.
 5521067       2/6/2016      6726573     Beta Me...retired educator working for a child centered non profit. (US standard plug)
 5521146       2/6/2016      11765610    US Standard Plug!
                                         the wording of how it was back then implies that the wifi was to be included, while the way it is now shows otherwise. This is what it said before:
                                         "iBackPack Wi-Fi Version
 5521770       2/6/2016      11928544
                                         iBackPack in all of its glory. 3G and 4G WiFi connection for up to six friends."
                                         But now there is an option to buy the perk?
 5521725       2/6/2016      11928544
                                         Also, during the original campaign on IGG, there were different options than what are up now. I'm fairly certain I ordered the wifi one at $200. Does that mean that wifi is included already?
 5520907       2/6/2016      11955673
                                         The wall charger you mention in the update says 110v to USB, what happens when its plugged into 240v i.e Europe/rest of the world does the device have a step down converter or similar?
 5522125       2/6/2016      10429749    BETA ME
 5520917       2/6/2016      11764739    i will be needing the us standard plug
                                         the wording of how it was back then implies that the wifi was to be included, while the way it is now shows otherwise. This is what it said before:
                                         "iBackPack Wi-Fi Version
 5521771       2/6/2016      11928544
                                         iBackPack in all of its glory. 3G and 4G WiFi connection for up to six friends."
                                         But now there is an option to buy the perk?
 5521061       2/6/2016      11666270    Do you have photos of the WiFi modem and the GPS that you can share?
 5520842       2/6/2016      10019428    Everybody who has asked to be part of the BETA program is being included. We are going through and counting up all - but if you stated you wish to be part of it - you are included.
 5520948       2/6/2016      8007983     US Standard Plug
 5522243       2/6/2016      12240438    BETA ME
 5522256       2/6/2016      12240438    BETA ME ALL PLUGS
 5521667       2/6/2016      5844681     Please send me all the different plugs for the chargers as i travel alot. Thanks
 5521936       2/6/2016      10516982    BETA me
 5521784       2/6/2016      10521169    BETA me
                                         hi
 5520889       2/6/2016      11573673
                                         what about a 220v to usb?
 5521543       2/6/2016      13221091    Just a question about the beta program. If you beta, how is the feedback supposed to be submitted? I'm still not sure if I should and I know that time is running out now.
 5520859       2/6/2016      11794176    Beta me please.
 5520909       2/6/2016      11764739    Beta me please. I would love to help
 5522481       2/6/2016      4601693     beta me as well
 5522879       2/6/2016      5257376     BETA me
 5521213       2/6/2016      11179413    US standard plug
 5521143       2/6/2016      11765610    BETA ME
 5521722       2/6/2016      11928544    BETA ME, Standard US plugin
 5521242       2/6/2016      11789260    I really need a us plug and eu as I travel to Germany from time to time.
 5521778       2/6/2016      10658443    Beta Me.
 5521721       2/6/2016      11828622    I will probably need all plugs
 5520904       2/6/2016      11794176    Nvm I don't wanna be beta.
 5520865       2/6/2016      11794176    Will the 1.0 or 2.0 be shipping?
 5520241       2/6/2016      11135850    Will we be getting notifications stating we are in beta i know you said I was just would like to confirm
 5521365       2/6/2016      11135850    Since I'm in beta and receiving a beta product do we send them back and then get the final product or the beta product is the final product.... Sorry for all the questions I'm just curious
 5521797       2/6/2016      5061634     BETA me
 5518865       2/5/2016      13342970    Beta me please.
                                         Our BETA Program is starting. We will be shipping a number of the technologic products included with the iBackPack to be tested. Your test results are very important to the successful
 5518153       2/5/2016      10019428
                                         implementation of the iBackPack. Make sure you have updated your shipping address.
                                         This is a team with no integrity! The current design is a far cry from what it was when it started. My feedback on Facebook was blocked as I attach pictures of the initial design and no replies from
 5510564       2/4/2016      12491712
                                         the campaigner for my queries. It will be a waste of my money as of today and wonder what it will be when they finally ship!
 5508713       2/3/2016      13023284    Are all the components built into the back?
 5506241       2/3/2016      13221091    I would just like to say that I am beyond excited to see this product. I had my eye on it for a while before finally contributing. It's such a great idea and I know that it will go far. :)
 5507670       2/3/2016      8035833     BETA ME (please)
 5500216       2/2/2016      10271804    If you still need beta testers I can do it. I've tested items before.




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                        Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Is there enough space for camera gear? Maybe there could be some pieces of modular pads with Velcro and some padding to protect your gear around. and the zipper of the middle part could be
 5498064       2/2/2016      12443065
                                         to the bottum too. So you can pack your camera gear easier.
 5500456       2/2/2016      4004086     hi john. I dont understand, u said go to the link to sign up but it's the sales site. .. I did send a nesssge... don't know what u wanted us to do... thx mike
 5501547       2/2/2016      11915119    Helo may i know when the ibackpack will send to me, please reply me
 5499187       2/2/2016      11135850    Thank you for adding me to the beta I have quite a few ideas on the backpack!!
                                         my issue is those that already pledged and now they have added more stuff and the email update said to do a custom pledge. that is what I want to know is how to make sure I would get the
 5498922       2/2/2016      11624542
                                         extra stuff with the ibackpack.
 5500403       2/2/2016      10822360    I'd love to be a beta tester. Beta me.
 5500568       2/2/2016      11912192    @mikeriggs wanted you to register if you haven't already
 5497026       2/2/2016      11766116    BETA ME PLEASE!
 5502776       2/2/2016      13176426    hi there ..the Side handle is not convenient because all my compartment inside will be upside down ....please make it top padded Handel
                                         All pockets and zips are used by gadgets & batteries.. Where should i put my own stuff ?!
 5493286       2/1/2016      8861108
                                         Now I'll need a bag for this bag :))
                                         Will the extra accessories pockets be zippered, or will there be a Velcro option to secure them. The TSA lock, will we get the key, in case we forget the combination? I see a white curved thing
 5489414       2/1/2016      8007983     hanging out of a side pocket, is that earphones or? What is the Velcro patch on one of the straps. Do the pockets lay flat? Are the mesh pockets custom designed for the accessories. only? I must
                                         be the only one that likes the orange. The orange is easier to identify. Do I see a retractable lanyard?
                                         Hi Doug, It was my understanding when I pledged that the accessories shown in your recent photos would be hidden within the iBackpack, and that wiring connections among these accessories
 5489299       2/1/2016      11940255    would be internal. Since this doesnâ€™t clearly appear in your updates, would you please confirm it? I also agree with other comments that orange color make the iBackpack less professional
                                         than shown in your initial pictures and videos. And what about the appâ €™s details you announced me on January 14th? Thanks.
                                         Beta me Rowell Salvado
 5482349      1/31/2016      11931717
                                         Rowell.salvado@gmail.com
                                         BETA ME, Hi iBackPack Team, I'm a DJ and travel from LA to Vegas every weekend. I planned on using the iBackPack for my DJ bag with everything..Laptop, iPad, records, hardrives,
 5485773      1/31/2016      5836279
                                         headphones, etc... I would love to get a unit and test it and provide feedback on a regular basis.... Robert Jason Wagers (Kid Jay) kidjayjw@gmail.com
                                         BETA ME. (WALID SALEM)
 5482885      1/31/2016      11696376    Beta Me mucho
                                         Beta Me Baby
 5487114      1/31/2016      11919325    Beta Me
 5482254      1/31/2016      12931197
                                         Beta Me. I'm am a home automation and home theater service engineer. I'm traveling daily with my laptop, iPad, company phone, and an Amazon backpack full of cables and tools. Thanks!
                                         Beta me! I am taking 45 kids to Disneyland March 14th and would love to be able to see how it holds up to the constant abuse of walking around there with kids going in and out of it and charging
 5483242      1/31/2016      12918445
                                         their devices. I would love to be able to provide feedback on it to help improve the product.
                                         I've asked on your Facebook page with no answer doug, I funded a wifi version, will it come with everything you have advertised before you and your team made the pow batteries and
 5484158      1/31/2016      11789260    accessories? I was under the impression I would be getting all that! But now it seems I'll have to pay an extra $200 to get what I already thought I was getting! Can you please contact me and
                                         explain this to me? skype: derekneely23@yahoo.com
                                         beta me , on my twitch feed I have talking about this bag for months and cant wait to talk about after I got my hands on it . I have done beta for a number of kickstarter products but this is
 5488619      1/31/2016      12435181
                                         something I'm truly excited about.
                                         BETA ME.
 5482889      1/31/2016      11696376    Beta Me mucho
                                         Beta Me Baby
                                         BETA ME.
 5482881      1/31/2016      11696376    Beta Me mucho
                                         Beta Me Baby
 5486748      1/31/2016      11624542    Still wondering exactly about custom pledging especially for us that pledged already
 5481609      1/31/2016      11772621    Beta me please! Would love to put it through its paces.
 5481535      1/31/2016      12675686    BETA ME, I use my current backpack for work and it's put through the paces, would be a good opportunity to test this one.
                                         Beta Me.
 5482793      1/31/2016      11804216
                                         Quality Assurance (Software & Hardware) Manager here. Down to help out with what I can.
                                         Beta Me please
 5482274      1/31/2016      12239596
                                         Ben.meltzer@gmail.com
                                         Beta me, please.
 5482867      1/31/2016      11781123
                                         Garrett.Friedrich@gmail.com
 5482180      1/31/2016       658564     Beta Me - I own 3 PowerBags and travel every month for work as a Freelance AV Technician.
                                         To reiterate the comments of some, I too would much prefer that the first priority for the design of the iBackPack always be ease of use. Ergonomics matter. And let's please allow this beautiful
 5484620      1/31/2016      11953182
                                         concept remain "grown up" in its editing, resisting the temptation of trying to be everything to everyone. Stick to your core mission and watch out for scope creep.

 5482213      1/31/2016      11179413    Beta Me. I am an amateur photographer as well as a floor nurse. I like the to test the bag for everday use. I like to see how the bag handles with a camera inside, a tablet , first aid kit and other
                                         gear. Also, I am interested in assessing the durability of the backpack since I am one of those people who tend to be very rough on the backpack by tossing it to the ground or floor.
                                         Can you consider changing the orange interior fabric to something more neutral like the grey in the bag renderings and than add a touch of orange? I believe this will make the Backpack look
 5481920      1/31/2016      11789253
                                         more smarter(as in elegant/ more professional looking) for people who want to use it at their workplace.
                                         Beta me.
 5483334      1/31/2016       47047
                                         One thing that stuck me reading the emails recently and based on my current backpack. Is there a easy access pocket for my passport and boarding pass and another for my wallet, mobile and
                                         one small items. I know there are plenty of pockets internally but for these items you don't want to have to open the entire bag each time.
                                         To comment on the TSA lock, I would not be checking this bag if I had all my electronics in it. If you have watched outside the plane as luggage is loaded and unloaded, I would never subject my
 5484571      1/31/2016      8132503     computer to that handling. Also, airport luggage handlers are not the most trustworthy. One airport near me is well noted for theft of items from checked bags, so I would say this feature is just
                                         window dressing and not very useful in my opinion.
                                         This new design from the original one presented in the campaign is starting to be a disappoint to me. Where is the integrated handle on the top? The side handles look like some marketer added
 5481496      1/31/2016      8132503     them without consulting the design department. Doug, are you cutting costs in material and designs to make payroll? This 1.0 version is a big disappointment to me from what I was expecting
                                         from the envisioned product presented. Please revise to the original, that was the cool version.
 5482891      1/31/2016      11696376    (WALID SALEM)
                                         BETA ME. I've been involved in many different product launch BETA tests and can provide you a good deal of feedback with regards to user experience / quality / etc. Additionally I have a lot of
 5488085      1/31/2016      10313806
                                         travel planned over the next few months, so I will be able to test at Airports and etc.
                                         beta me. hi doug, I've ordered either 5 or 10 packs, cant remember which... I'm a computer consultant for a large law enforcement agency.
 5484607      1/31/2016      4004086
                                         also, do u have the specs and dimensions for the kevlar? thx.. mike
                                         Beta me, beta me mucho
                                         BÃ©same, bÃ©same mucho
                                          Como si fuera esta noche
                                          La Ãºltima vez
                                         BÃ©same, bÃ©same mucho
 5482922      1/31/2016      11696376
                                          Que tengo miedo a perderte
                                          Perderte despuÃ©s
                                         BÃ©same, bÃ©same mucho
                                          Como si fuera esta noche
                                          La Ãºltima vez
 5481763      1/31/2016      3823678     BETA ME I would test it to its fullest ability.
                                         Hi. I just have a crazy idea.

                                         Given that your backpack has so many "stuff" and I am quite worry about the protection for those stuff. Would you mind doing something like a "drop test" so that we can be assured that even if
 5481555      1/31/2016      7075234
                                         this backpack is dropped from a higher place, everything inside is still well-protected to certain extend?

                                         Thank you very much in advance for your help.
 5481688      1/31/2016      12918366    Beta me
 5482571      1/31/2016      6460485     Beta me.
 5484582      1/31/2016      11953182    Beta me. I am also willing and able to test the kevlar shield at the local shooting range...
                                         Beta Me
 5481961      1/31/2016      12148566
                                         I use a backpack everyday of the week and even to carry heavy books at times. On most weekends I am either traveling to DFW or CLT International airport. I would love to help with the
                                         improvement of this bag for TSA security check points.
                                         Beta me! John Thomas
 5482375      1/31/2016      9781896
                                         Cyberjohn1@me.com
                                         BETA ME

 5481870      1/31/2016      10529360    I would be interested in being part of the beta program. But I would like the finished product if it changes after the beta program, I am an anesthesiologist and I use my technology and equipment
                                         extensively. I can be rough on it so often I have to get the high-end backpacks and briefcases for work. I'll be more than happy to return the beta product back to you after done testing it. I take
                                         my technology very seriously
 5485599      1/31/2016      11918374    BETA ME
 5481577      1/31/2016      11582918    Beta Me Please, I would love to help in anyway possible
 5484836      1/31/2016      12036273    I would like to join your beta community in March and test out this product and give feedback. Please add me to your beta me list. Thanks




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                                         BETA ME.
 5486839      1/31/2016      7901709     PS: sorry if I do not give you particular feedbacks in these days, but as most information you send is based on images, I cannot give you direct feedback on shape or colors as I am blind, I'll be
                                         present on feedbacks regarding functionalities, such as batteries, cables, gps or so.
                                         Beta ME
 5483563      1/31/2016       11885      Thanks and sucess
                                         https://www.youtube.com/user/adsactor
                                         Mr. Monahan's dream is now looking like a nightmare to me now. It has changed so much from the design presented in the original Indiegogo campaign and is documented in the YouTube video
 5484526      1/31/2016      8132503     just 5 months ago. (see iBackPackâ„¢ 3D presentation) I am now entertaining the idea of investigating how I can withdraw my pledge to this project, but I will maintain faith this prototype will
                                         return to its original design.
 5488189      1/31/2016      12250529    Beta Me
 5483665      1/31/2016      12151195    beta me please
 5481358      1/30/2016      11862117    BETA Me
 5481381      1/30/2016      9823697     Beta me
 5480209      1/30/2016      11915119    Hai, may i know when my stuff will send to me? Thanks
 5481409      1/30/2016      11872542    BETA ME
 5481371      1/30/2016      12163748    Beta me
 5481463      1/30/2016      9930945     Beta me. I have beta tested 2 products already and I give thorough reviews.
 5481201      1/30/2016      9997616     Beta me
                                         BETA ME
 5481414      1/30/2016      11765610
                                         Would love to be part of the program, unfortunately I do not use Facebook. My goal for jumping on this at the very beginning here on IGG was to find a solution for my Desktop and Network team
                                         road warriors.
                                         Beta Me
 5481289      1/30/2016      11828622
                                         Please
 5481110      1/30/2016      11135850    I already know like we're going to be giving our feedback but when are we going to be starting this program
                                         BETA ME. My office IS my backpack. I'm an independent consultant, an entrepreneur and I travel (three trips w/one international upcoming). I have an iBackPack coming so it needs to work.
 5481454      1/30/2016      12035385
                                         Can't complain if you don't want to contribute and help.
 5481133      1/30/2016      7494895     BETA me
 5481357      1/30/2016      11541779    The only thing missing is a hard drive
 5481366      1/30/2016      11915119    BETA ME
 5481072      1/30/2016      11775750    any specs on kevlar plate?
                                         Thanks for the prototype pics. Really like how things are going. My only comment/questions is about the exterior material. Would it be possible to use a larger weave ballistic nylon. I wonder if this
 5481334      1/30/2016      9832240     would be harder wearing and keep its appearance with use. Also would it be possible to consider a flap to conceal the backpack straps when they arent in use eg see this link to see what I mean
                                         (http://www.tamrac.com/collections/gura-gear/products/g-elite-32l).
 5481253      1/30/2016      12369831    BETA ME
 5481321      1/30/2016      11705571    Beta Me! headed to Disneyworld for Spring Break!!!
 5481127      1/30/2016      10625735    BETA me
 5481424      1/30/2016      12414081    Thanks for keeping us updated. Love it when I see an email from you guys!
 5481337      1/30/2016      11777060    BETA ME
 5481361      1/30/2016      11915119    I want BETA program
 5481254      1/30/2016      11135850    And being in the beta program does that mean we also get our final product as well since the products are still in beta
 5481132      1/30/2016      3491220     BETA me
 5481364      1/30/2016      9699759     Beta me. I currently use two backpacks, depending on my priorities. I believe this one will be able to be used daily and fulfill all my requirements.
 5481079      1/30/2016      11624542    how do you do a custom pledge if you have already pledged.
 5481346      1/30/2016      1803651     Beta Me please. Have an upcoming trip to Iceland
 5481347      1/30/2016      5973931     BETA ME
 5481311      1/30/2016      4539236     Beta Me Please
 5481140      1/30/2016      3491220     beta me
 5481260      1/30/2016      10942402    beta me
 5481108      1/30/2016      11135850    How is this beta program going to work
 5481134      1/30/2016      3374892     beta me!
 5481446      1/30/2016      12191086    Beta me
 5466083      1/28/2016      9995740     BETA ME - I WILL HELP THE BETA PROGRAM
 5464124      1/27/2016      1616612     I would say please beta me but as i live in australia I don't think I would be a cheap option to do the beta testing
 5458468      1/27/2016      12099704    How can I upgrade from the Power Pack and add everything in the super POW bundle?
 5458394      1/27/2016      11875938    Beta me please. You have my Skype ID :)
 5459147      1/27/2016      6432744     Please Beta Me..
                                         beta me
                                         skype jwgull
 5452699      1/26/2016      8580308
                                         i just ordered another one for one of my sons!
                                         i live in austin
                                         Beta me. Beta me. Beta me.
 5447136      1/25/2016      9727208
                                         You already have my skype :)
 5447526      1/25/2016      13176426    is iBackpack 1.0 power pack has GPS and upcoming Pow Cable ?? ... Beta Me my skype: sayed.mohamed1984
                                         Hey Doug I realize I didn't give you my skype name.
 5446781      1/25/2016      9249768
                                         BETA ME - skype - jtcloser82
 5441083      1/24/2016      11135850    BETA ME
 5441838      1/24/2016      6726573     So you shared ZapTip as a great compatible add on to IBP. Now it's going to be included with IBP 2.0. Looks like I'll have plenty now.

 5438861      1/23/2016      10019428    Hello All - It's been a busy week. We will be sending additional updates later on next week. We've been focusing a great deal of time on getting the BETA program put together such that we can
                                         send some of the batteries out to a select group of individuals - who have said BETA me - here on the group. If you wish to be included in the BETA program - say BETA ME here.
 5435708      1/23/2016      11771108    I ordered the Wifi backpack, and since the pow battery pack became an option. How much to add that into the wifi backpack?
                                         It says:estimated delivery March 2016. Would you want your hard earned money wasted, because they rushed to meet the "estimated" ship time, or would you want a product that is going to last,
 5431259      1/22/2016      8007983
                                         because they beta tested things?
                                         Just for your attention: this is the reply of the campaigner when I wrote about my concerns regarding the credibility of this project . I am sharing this so that everyone knows who they are dealing
                                         with. Below direct copy paste without any additional comment from me.
 5435325      1/22/2016      12004589
                                         "Are you kidding me? We are busting our tails to incorporate and test all of the components - we are still several months away from our self-imposed deadline to deliver the technology - and you
                                         are here BITCHING - get real."
                                         Hi Doug & co,

                                         stumbled across this:

 5421398      1/20/2016      11955673    http://www.amazon.com/gp/aw/s//ref=mw_dp_a_s?ie=UTF8&k=Kayo+Maxtar+BATTERY+LIMITED

                                         and wondered if the car battery charger cable could be included as an option.

                                         Not only save the day with WiFi and the ability to charge tech, but be able to start your car etc in the event of a flat battery!
                                         Sorry, naff link - try this:
 5421498      1/20/2016      11955673
                                         http://www.amazon.com/gp/aw/d/B010FKCO3A/ref=mp_s_a_1_fkmr0_1?qid=1453330840&sr=8-1-fkmr0&pi=AC_SX110_SY165_QL70&keywords=mobile+jump+syary+battery+cable
 5422327      1/20/2016      11931717    BETA ME - I WILL HELP THE BETA PROGRAM
                                         I start to have some doubts about the seriousness of this company. Only two months left but still "testing components" and registering patents. I will wait another two weeks and then will ask for
 5416174      1/19/2016      12004589
                                         my money back.
 5419522      1/19/2016      10593430    Mustafa sorry to say but you cant get your money back.
                                         Hello All. We posted 4 updates tonight and could have posted another ten considering all of the great changes we are making with the bag itself and the technology. We need someone or two
 5412738      1/18/2016      10019428    people to help us manage the BETA program - as well as help to keep you - the IGG backers aware of everything that is happening. We are extremely short staffed - and really need to focus on
                                         the design of the bag itself as well as the technology vs. updates - POST I CAN HELP and give us your skype address.
 5413237      1/18/2016      11776216    Beta me - I will help the beta program...
 5412775      1/18/2016      11624542    beta me I will help with beta
                                         BETA ME - I WILL HELP THE BETA PROGRAM
 5412753      1/18/2016      12675686
                                         David Martinez - dmarti3192
 5414026      1/18/2016      10060808    I would like to be able to lock at least one of the zippered areas. Is that an option?
 5412748      1/18/2016      11775189    BETA ME - I WILL HELP THE BETA PROGRAM Alan Harber adi1443
 5413085      1/18/2016      11775750    guys check out AR500 for armor plates (especially carbon nano tube insert option), might be a perfect match for iBackpack
 5412751      1/18/2016      11135850    BETA ME - I WILL HELP THE BETA PROGRAM




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                                         BETA ME - I WILL HELP THE BETA PROGRAM
 5413077      1/18/2016      13107773
                                         My name is Kendyl Reisinger. I am a computer science major in college and have extensive beta testing experience. I am very technology savvy and use a cell phone, tablet, or laptop for 95% of
                                         the day, and mostly away from home. My Skype name is flyingfanatic001 and the email is flyingfanatic001@yahoo.com. Thanks so much!
 5413742      1/18/2016      11666270    Beta Me - I will help out with no pay. I am experienced with managing projects, in fact I am a certified SCRUM Master. my Skype is cutatl26. thanks.
 5414286      1/18/2016      10795684    When will this ship? Will the strike plate cost extra? And how much?
                                         My skype is the same as my email cmillard@iwncsdc.org I haven't managed a BETA program before.
 5413027      1/18/2016      11771108    I have a few ideas on the backpack, & the technology. Some may be a bit biased to my demographic. The things that drew me to this project, is the incorporation of the batteries, wifi, & the
                                         recognition that space is premium. I look forward to assisting in any capacity I can.
                                         BETA ME - I WILL HELP THE BETA PROGRAM
 5412826      1/18/2016      11771108
                                         I travel weekly, carry clothes, technology, etc. All in a backpack.
                                         Hi Doug, you recently mentioned that USB-A to USB-C cables would be included. Many such cables have wrong resistors and will damage chargers they're attached to. A Google engineer who
 5407798      1/17/2016      3385874     worked on USB-C wrote about this here: https://plus.google.com/u/0/wm/1/+BensonLeung/posts/HakwCMmd346 Please test your cables using one of the methods he mentions to ensure they
                                         comply with the USB-C power spec. The easiest is probably using the CheckR app, which requires a Nexus 5X or 6P and a computer.
 5407603      1/17/2016      11666270    Hi Doug, I haven't seen any recent updates on the GPS components or the WIFI components. Can you please update us on these? Will the WiFi be compatible with AT&T?
 5408700      1/17/2016       507949     beta me please... skype: greenmarsh
 5407046      1/17/2016      8007983     I turned the copycat campaigner into Indiegogo. He may copycat, but, that arse, couldn't deliver.
 5406866      1/17/2016      5571148     I would like to be in the beta, as time permits. stormkngiht2258
 5407472      1/17/2016      8007983     The question, may already been asked, but are the Apple charge tips Apple certified?
 5402319      1/16/2016      9629360     Beta me Skype:Jonathan.mcclanahan1
                                         Thought of another suggestion, not sure if its been mentioned below...

                                         RFID shielding
 5403794      1/16/2016      11955673
                                         Cheers

                                         Jon
 5402318      1/16/2016      9629360     Beta me Skype:Jonathan.mcclanahan1
 5402483      1/16/2016      8007983     Hey Doug, I didn't get reply to whether I was part of the beta program.
                                         Hello All. We are getting Prototype 1 back from "The Monogram Lady" here in Austin - it should have the Logo on it - and plan on doing much more video showing off the inside of the bag for
 5402405      1/16/2016      10019428    everybody - and will post when done. We have Prototype II on its way to us from the manufacturing plant - that should be here on Thursday - and will do videos of it next weekend. We are doing
                                         six prototypes - that way we can get all of your changes done - like sunglass pocket on the shoulder strap etc. etc.
                                         @Doug

                                         I think an action need to be taken:
 5403327      1/16/2016      8861108
                                         Check out iBackPack on #indiegogo! http://igg.me/at/8yya-zHF6-Q

                                         Another thief!! Strangely enough on the same platform!!!
                                         Please appreciate the updates from the ibackpack guys,,the team just added the kevlar just in case if our safety was threatened,please look for the bright side of the project because it can help us
 5398163      1/15/2016      11939211    in many ways in the future more than we think it has and the last update in the ibackpack sure is a bit offending but the team had already deleted the update here and apologize to everyone who
                                         find the update is offensive so please dont make any negative comment and act like an adult,no offensive here
                                         We live in such a ultra sensitive world today. . I thought that picture was humorous.I get it. Thanks for the extra peers since the campaign has evolved. This bag is stacked with goodies at this
 5397987      1/15/2016      9249768
                                         point! Doug thank you for the Kevlar! Times are changing and people will appreciate details like that one day when it saves your life.
 5398049      1/15/2016      9249768     Beta me. I would like to test the Kevlar
                                         Hello, it still says that my perk is upgrade to sales pro, instead of basic backpack. Can you please confirm with me 100% that this error has been changed? I do not want any issues with getting
 5401987      1/15/2016      11777573    my backpack.
                                         Thank you.
                                         Doug, people are easily offended these days and there's just not much anyone can do about it. I would personally like to thank you for incorporating this feature! This world we live in has became
 5398019      1/15/2016      11789260
                                         unpredictable, and I would like to even my odds by having a backpack that does just that! Thank you iBackPack team for all that you're doing!
                                         Beta me
 5400214      1/15/2016      12644099
                                         Skype=willyt1961
                                         @Doug
 5400299      1/15/2016      8861108
                                         A twice a day update post!! And not a single one for the other project "mojo" !!!
                                         And please don't invite me to Skype. I'm not the only contributor to that project... All of them has a right to be updated!!
 5400169      1/15/2016      12644099    Beta me. Would like to test the Kevlar.
 5394041      1/14/2016      12348251    In this: http://www.planettravelerusa.com/preorder/ which I have backed, they use zippers with pen-proof feature.
                                         Hey Everybody - We will have another update tomorrow that describes some revolutionary new cables we have invented. Yes - magnetic style cables, micro-USB, Lightning USB, new type C
 5394143      1/14/2016      10019428    USB, lights to signal when charge is complete - these cables flipping rock! And . . . guess what - guess how much you will have to pay for them as an early IGG backer - NADA, NOTHING,
                                         ZILCH, ZERO, -0- AS just one more way we support our early backers. Keep your ideas coming - we are building BETA program
                                         BETA PROGRAM UPDATES - We are ordering close to one thousand of various batteries that we are going to be distributing to those who are part of the BETA program we are assembling right
 5397703      1/14/2016      10019428
                                         now. Please make sure your physical street address is updated if you are going to be part of the Beta Program.
                                         Wilfredo, yes I would still have an issue. I want a backpack not fear messages and whatever the classification of that rant were. Thanks so much for the clarification. Your opinion is yours alone,
 5395304      1/14/2016      11952782
                                         not a fact. So is mine. Go away.
 5395023      1/14/2016      12279901    Hi Wilfredo, Yes , I am A moslem, but I dont like
                                         Why has this turned from a backpack with tech to an islamophobic Kevlar gladiator shield. Beyond stupid and offensive. Will I have a chance to customize mine minus the racism and garbage
 5394701      1/14/2016      11952782
                                         Kevlar?! Shame.
                                         Bruce Lim
 5394385      1/14/2016      8007983
                                         Beta Me.
 5395342      1/14/2016      11952782    How do I take back my funding commitment. I want no part of this.
                                         Hi Doug.
                                         Thanks for your updates. I would be pleased to receive also some info about the app that you are developing, not only about anti-theft and Gps features, but also about the way to remotely enable
 5393160      1/14/2016      11940255
                                         and disable data roaming. As I told you by e-mail, I am Italian, and data roaming can be extremely expensive from country to country with our internet providers. Therefore, I would like to make
                                         sure that it will be possible to disable/enable it, without removing the SIM. Thanks.
                                         When I participated to iBackPack funding, I was expected to support an innovative and inoffensive project, not a military backpack full of low cost gadgets...

 5396223      1/14/2016      11952138    Project goals should more be focused on low ecological and social impacts then trying ridiculously to maintain fear of terrorism and strangers.

                                         I don't know if it's possible to cancel my funding, but please stop your border-line statements...
                                         I love the improvements you are making for the iBackpack and the extras are wonderful. I hope that my iBackpack will arrive before the third week of March since I will be flying out to Tampa for a
 5394261      1/14/2016      11179413
                                         possible job interview.
 5393835      1/14/2016      11098781    Have you seen the flux backpack on Indiegogo is that a idea that you would be interested in fitting on the iBackPack
                                         If you are interested in being part of the beta program - put BETA ME here on the comments section - make sure to put your real name - and also give us your skype so we can ping you there.
 5394152      1/14/2016      10019428    We are going to be starting off by sending batteries for people to test. We want you to drain them, charge them, drain them, charge them over and over and over. Our batteries can be recharged
                                         FIVE THOUSAND times vs. 500 what everbody else advertises - so we want you guys to test the crap out of them.
                                         Doug,
 5394466      1/14/2016      12279901
                                         Please don't racist for your statement
 5395473      1/14/2016      9277324     Based on the recent updates, I would also like to cancel my funding commitment. Who should I contact about this matter?
                                         And I have no problem in what you believed in and I believe Doug as well. If people of other faiths can survive with their Bibles or religious books burnt, their synagogues, churches and temples
 5395105      1/14/2016      11179413    desecrated and people make light of other people's faith in live TV, radio or in this case, a campaign site without screaming racism or having fracking riots or spreading death threats. The world
                                         would be a better place. Again, this is not racism and not a cause for hysteria.
                                         Hello All - I sincerely apologize for a post made yesterday - in no way would we wish to offend anyone and distract from the whole purpose which is to make the iBackPack something we are all
 5397648      1/14/2016      10019428    proud to own. It was my fault. Nobody else. It was wrong - and I can't do anything but apologize here and hope anybody who was offended will accept my apology and allow us to move on toward
                                         creating this great technology. Update coming today about CABLES - BATTERIES AND BAG only.
                                         Team, a few comments: Please keep RED as a color option. That bag looks great, and I've grown bored with black bags. Also, see what other bag companies are doing for TSA compliance. I
 5393050      1/14/2016      12407912    recently flew with a new bag that had a completely separate compartment entirely for a notebook and was never asked to open it once during 4 separate flights. The pocket folded flat, but I didn't
                                         have to open it. Protected my notebook and sped things up quite a bit. Just a thought...
                                         Dylan Hill
                                           Would your post be different if he uses the Christian white militia as an example ? Seriously, you guys have to lighten up. If I were you, I'll be more worried if the creator is more afraid to speak
 5394883      1/14/2016      11179413    his mind or Politically Correct in order not to offend others.
                                         Supri Yanto
                                             Islam is not a race. It is a religion. Like Christianity, Judaism, Hinduism Buddhism and other religions, its adherents came from all races.
 5397669      1/14/2016      10569378    "Note: "arms" is in no reference to guns or violence - hope that word doesn't offend you too." Really? Antagonizing your customers is definitely not the right move here.
 5397313      1/14/2016      9823697     Beta me
                                         Doug, my sincerest compliments on how you've engaged your community in this campaign. The only request I'd like to make is a little more lead time on the impromptu webex-style meetings
 5394470      1/14/2016      9823697     you've recently held. I run two businesses myself and can make any meeting when I am able to plan for it. I can rarely make spur of the moment gatherings particularly when I'm given virtually no
                                         time at all to join in. Otherwise, love your product and your community engagement. Can't wait to get my iBackpack!
 5391332      1/13/2016      12348251    Maybe already asked and answered, but are the zippers "pen-proof"?




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                                         I also realize a slimmer profile would require the use of of smaller batteries and less accessories overall and that may deter from ibackpacks goal. I would still love to see a slimmer profile. The
 5388203      1/13/2016      9249768
                                         current bag engulfs Emma's entire body! Hehe
                                         Booked a ticket to go to the UK in the middle of March.
 5392571      1/13/2016      9727208
                                         Fingers crossed I'll be taking my new iBackPack with me......
                                         Hey Doug,
 5388179      1/13/2016      9249768     I wanted to give you guys some feed back in regards to my thoughts on the design of the current ibackpack Emma is using in her recent videos. I think ibackpack would appeal to an even
                                         GREATER audience if the back pack had a slimmer/smaller profile. However what do I know lol. I'm a big fan. Can't wait for my bag
 5388867      1/13/2016      8260513     Can you make some of the materials reflective for safety?
 5386445      1/12/2016      1586597     TaipeiNY
                                         Hi Doug,
 5386465      1/12/2016      10454042    I can't wait to see this...
                                         I've added you on Skype. My id is lohithnk.
 5379168      1/11/2016      3754576     Hi. I'm sure once I get my iBackPack I'm going to get stopped in my travels by people asking where I got it. You should add business cards we can give out to potential customers.
                                         Hi, I contributed because I'm interested in the anti-theft and gps features of the backpack. I definitely appreciate the updates on the other tech but would like some more information and updates
 5378671      1/11/2016      11875938    on the anti-theft and gps features, especially since some of these will require an app. Other GPS trackers I've looked at requires an active subscription with a wireless carrier or a prepaid simcard.
                                         I assume something here since a sim card is listed in the campaign page for the GPS? Thanks!
                                         Hi Doug,
 5370644       1/9/2016      5973931
                                         I live in Pittsburgh, PA. I'd love to do some videos of me testing the bag.
 5368314       1/8/2016      11455705    Can you guys record the go to meeting calls for those of us who can not participate?
 5367341       1/8/2016      4567169     I tried to get in the gotomeeting but the session was full :(
                                         Hi,

 5367183       1/8/2016      8861108     It would be nice if every now and a while you would check the contributors of your other project !!

                                         I understand that this is your milking cow.. But people over there actually trusted you too and handed you their hard earned money.. Don't you think so?!
 5362650       1/7/2016      11098572    does anyone know if ibackpack has booth at the Vegas CES 2016?
 5365420       1/7/2016      11773677    Shane Kaahu- BETA ME I'm so excited for this to start coming out!
                                         i got the power pack during the original indiegogo campaign. if I purchased the upgrade now to the Wi-Fi pack would that affect my getting the extras from the first campaign and the stretch goals
 5365305       1/7/2016      12435181
                                         from Kickstarter.
 5358617       1/6/2016      8007983     Zipped lower side pocket to fit a laptop in, for quick easy access when going through TSA.
 5360603       1/6/2016      10958119    Hi there, the orange liner inside the bag make it very very cheap it should be darker color it's a very flashy
 5356604       1/6/2016      11776216    Jedrick Steven Yu - Beta Me
 5353339       1/5/2016      11914015    Beta Me
                                         During my commute yesterday in 8* weather I thought to myself how nice it would be to have my heated car seat follow me around and that got me thinking about portable heating devices. Would
 5355338       1/5/2016      11455705
                                         it make sense to offer an upgrade to this bag to get a heating pad in the back? Maybe something to consider offering after v1 is out the door.
                                         Hi Doug,
 5352243       1/5/2016      10006050
                                         another idea: pocket PC to organize with removable padding
 5352799       1/5/2016      8260513     Thin, Inflatable, internal bladder to allow use as a pillow or headrest.
 5355953       1/5/2016      11775189    BETA ME- ALAN HARBER
                                         The new designs are looking much better. I still like the sleeker profile of your original idea - it shaves off unnecessary material. The original design had clean lines and avoided the pillowy look at
                                         each seam which the most recent models have.
 5355634       1/5/2016      10560372
                                         Example: http://imgur.com/gallery/35yuhb5
                                         Hi Doug,
 5352253       1/5/2016      10006050
                                         another idea: pocket PC to organize with removable padding
 5345836       1/4/2016      5973931     Rahul Shah - BETA ME
 5346421       1/4/2016      6539297     Matthew Naas - Beta Me (please)
 5346480       1/4/2016      12861003    Joshua Dufresne - Beta Me please and tyvm!
                                         Additional idea: I prefer it, when the laptop compartment is hidden behind the shoulder straps, so that you first have to take the bag off to gain access to the compartment. BTW: Many great ideas
 5349540       1/4/2016      5061634
                                         in you last updates!
 5345691       1/4/2016      10142885    Laura Hayden and BETA ME!
 5346178       1/4/2016      11664242    Beta Me!
 5348660       1/4/2016      8260513     Beta Me
 5350271       1/4/2016      12010878    Beta me.
                                         Beta me.

 5350140       1/4/2016      11955673    Just in case you don't have the numbers.

                                         Cheers Jon
 5346349       1/4/2016      11911979    Beta Me
 5346018       1/4/2016      9699759     Tom Follis - BETA ME
 5350445       1/4/2016      12444419    BETA me. Please & thank you.
 5350359       1/4/2016      10146672    Doug, I know you got my skype message, did you get my BETA ME message too?
                                         BETA ME
 5348560       1/4/2016      4203718     Thanks,
                                         Haitham
 5350647       1/4/2016      12121386    BETA ME
 5347894       1/4/2016      9773147     Beta ME, Thanks whether I am included or not.
 5346638       1/4/2016      10146672    Just wondering if starter kits were ever mailed out. I purchased an early bird WiFi version, and never got any kind of starter kit?
 5346890       1/4/2016      10006050    Beta me, please
 5346016       1/4/2016      9527129     Albert Menendez - BETA ME
 5349447       1/4/2016      9018866     HI any chance of a retractable ski pass holder?
 5345460       1/3/2016      9425924     Scott Wells and BETA ME
 5342283       1/3/2016      6750507     BETA ME! Really enjoying all the updates and seeing the entire package come together.
 5342944       1/3/2016      12012123    BETA ME - Jared Simoneau
                                         (continued) - the best way in order to show you what we are doing - and get your input about same. Nobody ever said this was going to be easy to do - because we are continuing to add features,
 5342191       1/3/2016      10019428    we are continuing to make this product far better than anything on the market today. The fact that we are going to include tremendous stretch goals using Kickstarter is also revolutionary and
                                         different. You - as one of our original backers will never be lost - and you will always get the very best.
 5345216       1/3/2016      11688541    Josh Davis - BETA ME
 5342315       1/3/2016      12156437    BETA ME - Joe Heitkamp
 5344722       1/3/2016      7894680     BETA ME --THANKS!
 5345448       1/3/2016      10137102    Jen DeAngelo - BETA ME (And I'm in Austin!)
 5342452       1/3/2016      11911868    Lance Allen BETA ME
                                         Doug,
                                         Happy New Year
 5345576       1/3/2016      8589946     Am I mistaken, or was one of the original options to add my own Corporate logo to my IBP? Is this still available? I know that you guys are all 'working your tails off', but can someone get back to
                                         me on this? I would like to do this, but no longer see this as an option.
                                         Thank you and keep up the great communication
 5344740       1/3/2016      5999917     Jim Zalzalah - BETA ME! Please
 5342295       1/3/2016      1566911     I would appreciate and gladly be part of the BETA program.
 5345398       1/3/2016      12228812    Beta Me
 5343993       1/3/2016      10309164    Brendan Hoop - Beta Me!
 5343036       1/3/2016      11615484    BETA ME â€“ Gary Moreton
 5342371       1/3/2016      6726573     My comment is to commend you on this inclusive method of perfecting your product. As an educator, giving everyone a voice always leads to a positive outcome.
 5345021       1/3/2016      3754576     Kim Billings - BETA ME
 5342831       1/3/2016      11962791    BETA ME
                                         Joey Queniahan, Vegas
 5342423       1/3/2016      11098572
                                         BETA ME
 5342454       1/3/2016      10060808    Beta me - Laura Pippen :)
 5342346       1/3/2016      12488810    BETA ME- I travel all the time for business. I am the Chief Technology Officer for a window manufacturing company and an early adopter.
                                         Kelly McAllister
 5342431       1/3/2016      11887463
                                         Beta Me
 5342303       1/3/2016      11918888    BETA ME - Fernie Hernandez
 5345173       1/3/2016      12026020    Daniel CotÃ© - BETA ME
 5342566       1/3/2016      10854790    Jonathan Edwards. BETA ME.
 5342280       1/3/2016      11766302    Beta me - Austin, TX
                                         Beta me!
 5343111       1/3/2016      11723143
                                         Kimberly Crouch
 5342436       1/3/2016      9111384     BETA ME maxime deleris




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 5342757       1/3/2016      11725444    BETA ME
 5345130       1/3/2016      7471934     BETA ME - Rafael Bullrich
 5342294       1/3/2016      12043964    Samir Dave. BETA ME. Thanks
 5342679       1/3/2016      6397241     Rhianna Willock, BETA ME
 5342432       1/3/2016      9781896     John Thomas BETA ME
                                         Hello Everybody. Last night we had an impromptu meeting with about a hundred people that went quite well. The meeting was one of those "AHA moments" as in why in the world had we not
 5342186       1/3/2016      10019428    done this earlier. that said - we are going to be hosting weekly meetings on Saturday or Sunday. I am not aware of any campaign ever doing this - and quite frankly shocked. It is really the ONLY
                                         WAY for us to be able to communicate all that we are doing - and to get your input. We have to figure out the best way
 5345125       1/3/2016      7471934     Rafael Bullrich - BETA ME
 5342408       1/3/2016      11775189    i would also like to add one more backpavk to my order would that be possible to get the same price as the first?
 5344850       1/3/2016      11079183    BETA ME
 5343163       1/3/2016      8987376     BETA ME! Thanks :-)
 5345394       1/3/2016      8589946     BETA ME
 5343455       1/3/2016      11765680    Beta me! - Christopher Youngman
 5342252       1/3/2016      11624542    Chris Harrison BETA ME
                                         Hi there, I ordered one and if this questions has been answered previously and/or I'm asking this in the wrong place, my apologies. With all of the electrical components being used in this
 5342285       1/3/2016       274688     awesome backpack, is the material of the pack itself water/dust proof/resistant in any way to keep any of the wires, speakers, batteries, etc from getting damaged in case one is wearing the pack
                                         and gets stuck in inclement weather? Thanks for any info.!
 5343170       1/3/2016      11906677    Beta Me! - Ron Lee
 5343073       1/3/2016      12012123
                                         If we contributed early for the $199 Power + WiFi iBackPack, do we get all the upgrades and perks, or what upgrades are available to receive ALL available perks? simoneaujared@gmail.com
                                         Ethan Sommerfeld
                                         BETA ME! :D
 5342281       1/3/2016      10146672
                                         Hey, did we ever get our starter kits? I never got mine if they were sent out.
                                         Adam Eckerman
 5342257       1/3/2016      11856862
                                         BETA ME
 5342440       1/3/2016      2604764     Alex Kaplan Beta Me
 5344692       1/3/2016      12260266    David Sultan - Beta Me ! Thanks
 5342678       1/3/2016      6397241     Rhianna Willock, BETA ME
 5342301       1/3/2016      8927336     BETA ME - Please!
 5343407       1/3/2016      11910604    BETA ME! - Patrick Hendrickx
 5342502       1/3/2016      8165375     Andrew Villa - Beta me
                                         Hi @Doug - I have to agree with @viswam - the prototype bag falls a long way short of the initial photos that we saw on the project page. I really liked the original external and internal designs -
                                         they looked professional and rugged. The colour scheme was also good - muted and without lots of gory orange everywhere.
 5341882       1/3/2016      11865075
                                         I was expecting this --> https://res.cloudinary.com/indiegogo-media-prod-cld/image/upload/c_limit,w_620/v1439609631/ow1tflqp8kgn2ffkuhlt.jpg

                                         Why is the bag now being re-designed?
 5343082       1/3/2016      12793462    "BETA ME" Marc A
 5342344       1/3/2016      5844681     BETA ME - Brice Twombly
 5342372       1/3/2016      12040101    BETA ME: Max Hudler. Please and thank you!
 5342382       1/3/2016       382856     I guess I'm an anonymous contributor. Brian Perlis
 5342255       1/3/2016      11789260    Derek beta ma
 5342713       1/3/2016      10654988    MJ Foley - BETA ME
 5342624       1/3/2016      8861108     BETA ME (Mojo backer too l!! That's definitely a bounce) ;)
                                         I'm really looking forward too receiving my iBackPack soon. One concern/question. The original bag did not have a pocket for the Kevlar which apparently the new one does. Has there been any
 5342422       1/3/2016      1566911     consideration to offering the iBackPack with the option of coming with or without the Kevlar pocket? I assume that this pocket is fairly thin, but I would appreciate the extra space so that I might be
                                         able to include a change of clothes in the iBackPack for the quick overnight trip. Continued success.
 5342355       1/3/2016      13107773    BETA ME - Kendyl Reisinger - full time student
 5344580       1/3/2016      11573673    Antonio Goncalves - Beta Me
 5342297       1/3/2016      12237296    Bob Kennedy. BETA ME!! I'm excited for this!
 5342453       1/3/2016      5816277     Juan Diaz beta me
 5342261       1/3/2016      10827241    BETA ME
                                         BETA ME -- Tracy Tran -- Your product description, and videos got me so excited and convinced me so much that I bought the 5+1 package during your original campaign. I like technology and
 5342362       1/3/2016       437720     writing so I hope you will choose me to help you test your product and write reviews. I want to contribute to important data for your continued research on improving the iBackPack to make it the
                                         best product of its kind on the market. Good job Doug!
 5342250       1/3/2016      4567169     Beta Me - Kathleen DiAngelo
                                         BETA ME I am going to Madagascar in the Peace Corps for over two years..good testing ground. I leave the end of Jan but can have them mailed unless you can Mail to my Peace Corps
 5342592       1/3/2016      5048903
                                         address
 5342588       1/3/2016      11931717    Rowell Salvado BETA ME
 5342565       1/3/2016      9995740     Jose Baxter - Beta Me
 5342429       1/3/2016      11666270    Charles Donaldson BETA ME
 5344742       1/3/2016      11455705    Vincent Scuorzo - BETA ME
 5345428       1/3/2016      11727811    Scott Pastorick -- Beta Me
 5342312       1/3/2016      11775189    BETA ME Alan Harber
 5342492       1/3/2016      8580308     jack gullahorn beta me
 5343429       1/3/2016      11772621    Beta me!
 5345069       1/3/2016      11764068    Beta me!
 5342381       1/3/2016      12675686    BETA ME
 5342342       1/3/2016      12918445    BETA Me - Jeff Christ
 5342378       1/3/2016       382856     BETA ME - Brian Perlis, IL. I was in on the gotomeeting last night.
 5342868       1/3/2016      3761236     BETA ME!
 5342284       1/3/2016      6750507     BETA ME! Really enjoying all the updates and seeing the entire package come together.
 5342589       1/3/2016      3894267     Beta me (fyi - I'm a road warrior, with close to 140 flights last year - already TSA Precheck approved, and would use the components on the road)
 5342445       1/3/2016      10317102    Matt Dobecka - Beta Me
 5342368       1/3/2016      11744276    BETA ME -- Christopher Stange
 5345100       1/3/2016      3754576     I would like to see a way to attach the backpack onto my suitcase handle for those times I don't want to carry it.
                                         Erica Jenkins : BETA ME PLEASE!! I am a traveling consultant , I fly out ever single week. I am already TSA Precheck, and use it every week. I would love to put it to the test!! (Which I know
 5342622       1/3/2016      12770234
                                         would pass with flying colors :) pun intended lol!!
 5342575       1/3/2016      4820846     BETA ME
 5344491       1/3/2016      11766005    johan milani - Beta Me !
 5345403       1/3/2016      12228812    Walt Taylor - beta me
 5342292       1/3/2016      8007983     Beta me. Please
 5342298       1/3/2016      12454350    BETA ME - Madison Moon
                                         I ordered two (2) sets of ibackpack and I would like to get one more set. Would I be able to get the same price as the previous one I paid last Nov 2015. Moreover, for the ordered ones, I would
 5336376       1/1/2016      11779358
                                         like to select the type of design and color for each set from the available choices. Can you please provide me information how would I be able to do so?
                                         Something to consider for adding modularity to parts of the bag is PALS/MOLLE webbing (https://en.m.wikipedia.org/wiki/MOLLE). It's used by the military to attach pouches to things. I own
 5335710       1/1/2016      11455705    paintball gear with this as well and pouches feel sewn on but can easily be removed and rearranged as needed. Not as fast to change as Velcro but way more secure and many accessories are
                                         available. Not sure if it will help with the design of this bag at all but thought I'd mention it.
                                         you might want to think about plastic tag covers for the usb ports so if you remove the velcro not all the ports are exposed. here is a link to a picture of what i am thinking.
 5335195       1/1/2016      1616612
                                         http://www.rookaps.com/images/klugs.jpg
                                         Thanks for regular updates - it keeps us excited. I am a bit concerned on the actual bag itself. The prototype photos lacks or fails to impress me as compared to the material/design of the bag in
 5334883       1/1/2016      12491712    the ads and initial pictures. Besides tech stuffs, I really liked the design http://ibackpack.co/downloads/360Rotate.gif, the inner design https://res.cloudinary.com/indiegogo-media-prod-
                                         cld/image/upload/c_limit,w_620/v1439609631/ow1tflqp8kgn2ffkuhlt.jpg and the padded handles, buckles, zippers etc.
 5334885       1/1/2016      12443065    I bought a second ibackpack for my girlfriend. How can I the TSA-tag for her?
 5332929      12/31/2015     8007983     How about a direct connection from solar panels to the batteries. Is that possible?
                                         Doug, here is the link: https://chargetech.com/product/portable-power-outlet/
 5332925      12/31/2015     8007983
                                         I have one of those portable power outlets. It's a great product.
                                         Hi iBackpack team. Any of us can buy a backpack and stick a bunch of electronics in it and poke holes in the backpack to access the components. Hopefully what makes the iBackpack special is
 5328418      12/30/2015     11666270    the integration and ease of use of those electronics. Meaning that the primary electronics in the iBackpage have special compartments to store them and a way to access the components without
                                         having to open the backspace each time or having to fish a cord through a hole.....continued
                                         .....I believe some kind of Velcro flaps hiding the retractable cords to access and recharge the components would be best. Hopefully this isn't redundant and I'm sure you guys are working hard to
                                         create the best backpack possible.
 5328424      12/30/2015     11666270
                                         Lastly Chargetech makes a portable power outlet that includes an AC Outlet that allows you to charge a laptop in addition to USB devices. Worth a look I think. Thanks




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Comment ID   Created Date
                            Account ID
                                         Hey everybody - It's time for another update - and We've got a number of really good ones this week. We will be sharing what I think is way way cool - that is the TSA Pre Check system we are
 5331388      12/30/2015     10019428    adding. In a nutshell it means you will be able to go through TSA lightning fast - we are getting new ID cards printed with the TSA information plus speaking with the government (homeland
                                         security group) about how we can offer our services to facilitate same.
                                         Guys, putting a device on the side of the pocket to charge isn't a very good idea. It's a great way to get the device stolen. Is there a way to feed a cable through the backpack into the strap so you
 5311197      12/25/2015     9495957     can charge the device while its in front of you? Or will there be ports on the inside of the backpack so we can leave the device on the inside zipped up? Theft is a major issue, and if someone
                                         sees the device it's gone before you even know it...
                                         Merry Christmas Everybody. We are taking off a couple of days for the Christmas Holidays but back at it soon. As everybody should know we are planning on launching the iBackPack 2.0 on
 5308241      12/23/2015     10019428    Kickstarter right after the 1st of the year and will be using the funds to be able to provide stretch goals for our IGG backers. Combining the pledges we get on KS with IGG will drop our per unit
                                         cost for all components - it shouldn't delay the delivery of the ibackpack to you either - so all is good. Merry Xmas
                                         I agree with Nipul about the discreet logo. That was the first thing I thought of when I saw the bright orange logo on the bag!
 5305568      12/23/2015     12275833
                                         Also, just throwing this out there for future ideas... it would be awesome to have a purse version for the ladies... the iPurse! When I purse shop I'm so picky, and have a hard time finding one with
                                         ALL THE POCKETS!! So as I was looking through this prototype, I was thinking "purses should be made like this too!"
                                         Make the logo discreet otherwise people will know it's full of gadgets and it will be an easy target for thieves. Have a covered hole for the cable to go inside the mesh, as it could get caught whilst
 5305489      12/23/2015     10730809
                                         on the move
                                         I would prefer there to be 2 separate pockets rather than one large one. I also agree with Jonathan Waygood, you would not want to hang anything off of the clip in its proposed position as
 5306782      12/23/2015     9304138
                                         whatever you did hang from it would surely 'rub' against your tech.
                                         Good thought on the rainhood, but.... Personally I would prefer it covered the backpack rather than my head.

 5307851      12/23/2015     11955673    Assuming it is stitched to the backpack it has the potential when worn to actually collect water in a 'hammock' type of affect.

                                         Also definitely agree with previous poster about a hole on outside to charge tech through the mesh etc
                                         This campaign had improved tremendously!
 5306997      12/23/2015     11941121
                                         I have a question, how durable is the backpack? I don't want my backpack to tear up after half a year of usage!
 5305411      12/23/2015     9047000     Does Emma come with my iBackpack?
                                         thanks for the continous updates. Will the cords be retractable or will we have to fish the cords thru the backpack holes each time we need to charge/connect? It would be great/convenient if the
 5305432      12/23/2015     11666270
                                         cords were retractable.
                                         A fair point about the airline ticket.
 5308321      12/23/2015     11955673
                                         How about a compromise...... rather than stitching the pocket into two separate pockets, use Velcro (or similar) that way the pocket is configurable by the owner . Velcro it into 2 compartments or
                                         'un-velcro' it for tickets it other longer items :-)
                                         Here are my comments to the latest update. I would leave the mesh pockets in the inside separate. There is no reason to hold an airline ticket inside your bag anymore due to most of the time I
 5305469      12/23/2015     12099704    use my Smart Phone as my boarding pass. I would also like to see a convenient way to have my passport accessible from outside my bag while still being secured perhaps a small pouch against
                                         the small of my back that I can reach back into while wearing the bag.
                                         Add a 'hole' at the bottom of the external mesh pocket immediately above the USB connectors in order that a charging cable may be fed from the USB Connector through this 'hole' and directly
 5306798      12/23/2015     9304138     into the pocket where it can be securely held along with the tech it is charging rather than it be left 'hanging' outside the pocket (as is shown in your photo) because such a hanging cable presents
                                         both a grab/theft risk and a hazard of it being inadvertently hooked on something like a door handle.
 5307669      12/23/2015      499536     I recommend the hood cover the bag, not the person carrying it.
                                         Agree with previous post, I'd prefer two separate pockets than one long one.
 5306375      12/23/2015     11955673
                                         Also the little clip/carabinier could I suggest its moved more centrally, if you're hanging keys etc off of it, it will hang directly on your tech and press against screens etc which has the potential to
                                         aide in cracking or scratching.
                                         Merry Christmas iBackPackers - we have our first prototype of the iBackPack and will be sharing in the update section shortly. REMEMBER - this is just the very first prototype - and we have
 5305213      12/22/2015     10019428    schedule 4 other versions BEFORE we finalize same. Please understand same when you make comments - although we do wish to receive all positive comments. Building a high-technology
                                         backpack is quite complicated, there are many moving parts. merry christmas all.
 5278278      12/16/2015     11875484    Thanks for the email update but curious on the shoulder straps will there be a crossover buckle system to help support the weight?
                                         Will this bag have a side pocket to hold a water bottle/travel mug? I'm looking to replace my simple laptop bag with this for my daily commute to work and although I have a backpack that could
                                         do this, it's not quite like the one you guys are building.
 5279690      12/16/2015     11455705
                                         However, it does have a mesh pocket with a drawstring on the side to hold various sizes of water bottles which I've found very useful and would love to have that on this bag but can't tell from the
                                         pictures if that's in the design or not.
                                         Hi Doug,
 5275688      12/15/2015     11659091
                                         I think the designs are looking great. 1 question, will we be able to charge our laptops from the main battery, i.e. is there an invertor on-board?
                                         Hi Doug & co. cheers for the better quality images, they've answered my questions.... Thanks.

 5275695      12/15/2015     11955673    Quick suggestion, can the accessory cables have 'channels' or similar as that way when removing something from the bag you won't snag it on a cable plus it will keep things tidy.

                                         Keep up the good work. Regards and Happy Christmas from Down-Under :-)
                                         Hi iBackPackers - We all hope you are getting ready for Christmas, Hannukah, etc. The components are pretty much decided by now - at least chosen - now we have to work on the final
 5275377      12/15/2015     10019428    packaging and get some of the products edited with advanced configurations so they fit with the rest of the other hardware. We are now focusing our attention on the bag itself - Hopefully all will
                                         go as planned. I'll be sending another update tonight.
                                         Hey Doug! Great update with readable renderings of the bag. I think I'm going to need a placement map to remember where I put things with all those pockets! Will the non-wifi version still have
 5276660      12/15/2015     6726573
                                         the 2 batteries stated in the original offering? All descriptions recently seem to tie that second battery to the wifi device. As always, thanks for keeping us up to date.
                                         hey Doug how are you doing
                                         what will ill be deaf getting with the bag in march if you don't mined me asking.


 5262229      12/13/2015     10429749    2nd gen astro e7 is a good battery to use

                                         have you thought about putting led lights strip lights around the back so if ur on a bike etc it act like a high vis with a sensor on so soon as it gos dark with an on and off botton

                                         http://www.ebay.co.uk/itm/LED-Backpack-Light-up-high-visibility-rucksack-bag-flashing-safety-/291313684797?_trksid=p2141725.m3641.l6368
                                         Dear Doug,

                                         Thanks for the regular updates on your progress, and since recently on the Kickstarter campaign as well.

                                         The updates always concern battery packs, car charges, USB zippers and retail packaging.
 5257066      12/12/2015     10188143
                                         Are there also updates on shipping schedules?

                                         Kind regards,

                                         Stan
 5257286      12/12/2015     12163748    Hi iBackPack, Is there a place to 15 laptop? Can we charge the whole bag (The wifi modem, speaker,batteries...) in one cable?
                                         Merry Christmas All - Make sure to check your email. We just sent three updates to everyone. Next week we will be posting many more videos and images of the bag themselves. It is kind of hard
 5254471      12/11/2015     10019428    to show off the inside of the bag without actually cutting it into pieces - which we may have to do for the example - Post questions, comments here and we will answer them as quickly as possible.
                                         Please try to be kind with your statements - everybody is working their tails off - and hey - its the Holidays.
 5254729      12/11/2015     11463600    The external USB port is missing? It is totally different from the original design!
 5254268      12/11/2015     12163748    Is there a place to 15 laptop? Can we charge the whole bag (The wifi modem, speaker,batteries...) in one cable?
 5253073      12/11/2015     11755704    How does one change his or her shipping address if they moved recently? Dont want backpack going to wrong address lol.
                                         Hi everybody - When asking about updates - we were told the more the better - if you don't want to receive updates you can unsubscribe to same by simply clicking a button at the bottom of the
 5254114      12/11/2015     10019428    email (or so we have been told by IGG) We are going to work toward focusing much more on the actual bag vs. the electronics for a few weeks. If you've never manufactured anything - you
                                         should try it - it brings a whole new level of appreciation for minute details.
                                         Hi iBackPack team, is there any way that we can get a interactive blueprint of the bag itself or maybe a link we can click to be able to read all the point tabs and labels. Even it I blow it up on my
 5256105      12/11/2015     11727811
                                         computer screen, the text goes out of focus and you cannot read it. Just a suggestion, but think it would enhance the bag design if you could read what each label is.
 5254700      12/11/2015     11775750    is there any chance to get couple of MOLLE attachment points in front/side? at least as an option :-) ty
                                         Morning everybody. DHL is delivering some more components today for us to consider. The light stick, Fan and wireless charger system are supposed to be here today. Woo Hoo. We are going
 5234808      12/9/2015      10019428    to be shifting gears and focusing much more on the actual bag. Our designers are designing the pockets, straps, hidden compartments etc - we will be sharing much more about the bag itself vs.
                                         electronics in the upcoming posts. Please leave any positive comments here and we will write you back right away.
 5241905      12/9/2015      12444829    With all these changes and now with the inclusion of hidden pockets and such, is the bag still considered tsa approved/friendly?
                                         hey from some of ur pics on the main page the bag has 2 speakers one on each side of the back also you have the usb on the side of the back is that all going to be the same on the final bag. just
 5229486      12/8/2015      10429749
                                         the one in the pics/vids look a lot different
 5219838      12/6/2015      5571148     Thanks for keeping us in the loop. I appreciate the updates. This definitely looks better than what I had for the last tech-capable backpack.
                                         I have no idea what I'm getting anymore... Don't get me wrong I'm not so much complaining as I just really don't know what changed. It seems like there have been a lot of updates and changes
 5220940      12/6/2015      8960136     to the final product could anyone please make a simple list of whats changed? I backed the Power backpack and know the battery got updated but is it now 10000 for all? why are we getting a
                                         separate USB splicer? Are we really talking about adding a Kevlar plate to this? Whats with all these random add-ons?
                                         The initial prototype looked very cool but the latest photos don't look like the prototype. I loved the initial idea but it appears that you guys have lost focus on the most important component, the
                                         backpack. Now you've launched on Kickstarter for additional funding?
 5215919      12/6/2015      10560372
                                         The additional gadgets are fine but your value proposition was was a great looking, solid backpack that also included tech, not great tech that also included a backpack. This is what people were
                                         hoping for = http://bit.ly/1Q8KcXH




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Hey iBackPackers - I just sent a couple of updates via email. Hopefully you got them. Please read carefully - the main thing we need you to understand, and embrace, is the stretch goals and the
 5215134      12/5/2015      10019428    fact our March, 2016 timeline is still right on target - Despite the fact we have added way cool new products, despite the fact we are upping the quality of the packaging - despite all - March is set
                                         in stone. Thanks and an Early Merry Christmas to all. Update in one week From Today.

                                         Hi Doug,
 5215436      12/5/2015       499536
                                         You are by far the best communicator of any campaign seen to date! And the value you are planning to provide is second to none. Great job. Wonderful to see a veteran doing great things.
                                         Hi Everybody - Just touching base. We are expected to get a number of new accessories shipped to us this week. In addition, we are finishing up the designs of the bags - meaning the pockets -
 5202433      12/3/2015      10019428    especially the hidden pockets - we are going to even have decoy pockets that you can put stuff in such that if someone were to feel something in the bag - they would go to the decoy pocket and
                                         find the decoy - but not find the REAL STASH - if you know what I mean. We will be sending another update on Saturd
                                         Hey Everybody - Getting ready for our Kickstarter campaign - the bags are coming in - we are sewing on the hood style snow/rain cover and also doing the hidden pockets - seems like people
 5196986      12/2/2015      10019428    REALLY WANT hidden pockets - for all sorts of things that I can't type here - but we are going to exceed all of your HIGH EXPECTATIONS - if you know what I mean. Also hidden money pockets
                                         so you can stuff 5 different pockets with bills and nobody could find them - not even yourself if you dont remember
 5181490      11/29/2015     1788856     Any news on the WIFI for Canadian backers?
                                         hi Doug,
                                         I'm really excited about the iBackPack and really appreciate all the work you're putting into it. I do live video broadcasts out and about and can't wait to get my hands on this sweet piece of
                                         technology! You did mention a wheel system for it early on and I hope that still in the works.
 5178150      11/28/2015     10167163
                                         If you need anyone to test the pack, I'd be happy to volunteer and talk about it live on air to help promote it.
                                         Cheers
                                         Dennis
                                         hey doug,,i have a question...u said that u'll send first 25 iBackPack to the people who most active in fb,,but after receiving the iBP and the receiver said that the backpack is not good enough or
 5175401      11/28/2015     11939211    have an error,,what're you gonna do about that?
                                         Thanks before @VinsentRK
 5175156      11/28/2015     11098572    lol....ibackpack will not pull a "coolest cooler" on us backers!
                                         I personally prefer the hook over the ear style headphones. Maybe I have wonky ears but the ones that just push in never seem to stay in when I'm being active, the hook ones seem to be more
 5177754      11/28/2015     8223766
                                         secure and I don't have to worry about them falling out while riding my bike or building a bridge between the two peaks of Mount Kilimanjaro.
 5175451      11/28/2015     11666270    Hi Doug, it would be great if we could recharge the iBackpack batteries without removing them from the backpack. just a thought.
 5177113      11/28/2015     12239596    Have you thought about a place to put a water bladder? and the bottom part should be water proof in case there is a spill or you are not paying attention and pout it down in some liquid
                                         Ear-buds vs. wrap-around. Ear buds fall out of some people's ears regardless of the brand (like me for example) yet wrap-around will fall out of nobody's ears. I vote for the red Dreaminex models
 5176654      11/28/2015     6195336
                                         you have pictured. They would be universal.
 5175511      11/28/2015     12076060    I'm not sure if this has been asked before, but will USB-C cables be included with the backpack?
                                         Hey Everybody - I just posted two updates - and actually have enough good information to post another. I want to address Kickstarter. It is important that you understand and support this
 5175088      11/27/2015     10019428    decision. We are putting together stretch goals FOR YOU IGG pledgers - I don't believe it has ever been done before - but definitely within the IGG & KS rules. We are always going to take care
                                         of those who help us in the early days. IGG takes priority of KS and all others - do not forget this. doug
                                         Hey there,,i just write some suggestion here based on fb incase you dont read it,,first zipper lock option,second about the weight,third about security system in airport and the last is protection
 5168691      11/26/2015     11939211
                                         system for the iBackPack incase someone dropped it or being stolen and be forced ripped or something like that..Thanks before :D
                                         GREAT NEWS TEAM - The components are showing up here in Austin and the ROCK. Each of them are turning out to be everything we wanted and more. We will have photos of the iBackPack
 5164165      11/25/2015     10019428
                                         itself shortly - but for now you can look at all of the various components you will receive or have the option to purchase.
                                         I have spent hours looking for a wifi hotspot because I need one before March. I can't find one that has a simple but important feature. I want a hotspot unit that will automatically turn off when I
 5152989      11/23/2015     9606348     am near my home or office wifi zones, or ideally the hotspot would act as an extender or relay connecting to the wifi and acting as a relay. Otherwise it needs to shut itself down when it detects
                                         friendly wifi zones and turn back on when when they are gone. Have you tested a hotspot like this?
 5153697      11/23/2015     8007983     They said that the luggage tags were to go to the printer Nov 15th, and to make sure that they have your correct address.
                                         Just read your most recent updates. I have a pair of those bluetooth headphones (the orange and white ones). I can confirm they, so far, have performed well under Manchester, UK (rainy and
 5148511      11/22/2015     8223766     frequently cold) bicycle commuting conditions. The one drawback (and you may have resolved this already) is that the voice prompts are only in Chinese, it isn't helpful when your phone rings
                                         and it reads out the calling number in a language you don't speak.
 5148139      11/22/2015     2604764     Is a solar panel going to be an add on for the bag.
                                         The adapters should be interchangeable, just add the correct adapter. Second, the Chargers for Appke, should be Appke certified, otherwise, you will see on your screen "thi is an unsupported"
 5147540      11/22/2015     8007983
                                         accessory, or a message like it. The Apple chargers, also, must not overheat the device being charged.

 5147728      11/22/2015     8347283     Hey Creator, will Indiegogo preorders stop once the Kickstarter campaign will be launched? Do you plan to RFID shield the bag or at least some compartments? Stashes must in my opinion be
                                         shielded in order to not reveal their emplacements. What will be the 4G modem used for the iBackpack? Have you decided yet? Led flashlight hidden somewhere would also be cool.
                                         Hi iBackPackers - put whatever your questions are here. We are working day and night to make the ibackPack the best pledge you have ever made whether here on IGG or Kickstarter. The devil
 5147567      11/22/2015     10019428
                                         is in the details so they say
 5151146      11/22/2015     11693985    Hi all backers, anyone seen their Ownership Certificate, Luggage Tags and Key Fobs? Advised on 24th October would arrive within 14 to 21 days... thanks in advance.
                                         Hey Doug! Thanks for the continuous updates. Feels like we are right there with you. I'm seeing lots of pictures of all the tech you guys are working with but now I'm getting confused as to what
 5147588      11/22/2015     6726573
                                         will come with the bag and what become add-ons. In the future, could you make this designation? Quite honestly, I want it ALL! Keep up the Updates!
                                         Hey guys.
                                         First of all, thanks a lot for your work! I read all the updates with a lot of interests, but one question popped up in my head:
 5151748      11/22/2015     8465935     Is there a way to charge the bagpack as a whole? I mean, to plug one socket in and everything gets charged at once?
                                         This would be an awesome feature!
                                         Anyway, keep up the good work!
                                         Opening detection would be tremendous. If we could get notifications when someone attempts to open our bags this would be awesome. Any kind of tampering with the bag should also rise an
 5147736      11/22/2015     8347283     alert. What about waterproofing? Is the bag fully waterproofed? This is really something important to me as the bag will come with me on my bike and I wouldn't like my geek stuff to be wet. A
                                         hidden camera to see in your back might also be fun.
 5147737      11/22/2015     8347283     Oh and: Welcome Emma. Glad to see a beautiful smile to represent iBackpack ;)
                                         Hey Doug,,just a question about the powerbank,,when we get the iBackPack,,what powerbank should have been included in it ? ,because i see you update with many kinds of powerbank,,,of
 5147885      11/22/2015     11939211
                                         course all feature of them is very good to me,,so i just want to confirm it,,Thanks before,and hello Emma...hope to see your updates about the iBackPack soon :D
 5144948      11/21/2015     6195336     It's been asked before but in your updates, you frequently say 110 V only. Hopefully you mean 110/220 V when you say 110 V.
                                         Secret Compartment ideas for bags.

                                         1. On the back strap, and fold over a zipper pocket for cash
 5144904      11/21/2015     6560549
                                         2. In the bottom of the back, inside inside any foam protection for electronics, space for passport
                                         3. RFID protected compartment anywhere for credit cards
                                         4. On the outside of the back pack, the part the would rest on your back, and zipper sleeve covered with a flap to hold passport.
 5144900      11/21/2015     7407896     I got a new Nexus 5x and I'm guessing new phones will start having USB C connections now. Will it be possible to get cables with USB C on them instead of micro USB?
 5140725      11/20/2015     12724911    What do YOU want in your iBackPack? https://vimeo.com/146191387
 5142371      11/20/2015     8347283     Just bought the wifi version. Really impatient to get it in my hands. This iBackPack seems incredible and if delivered in March, I'll get it for my birthday so it's perfect.
                                         Hey Everybody - We got in the car charger today - and getting more products next week. Things are looking very good so far. We are also having a seemtress here in Austin designing the
 5136756      11/19/2015     10019428    backpack with more pockets than we had originally designed - We want it filled with pockets - multiple pockets for every single electronic component that you may ever carry is very important to
                                         us all.
                                         Hey Everybody - Just got off the phone with the whole team - and the cables, batteries, speakers are coming into each day. Woo Hoo! We are working on the pockets for the bag itself this week -
 5122904      11/17/2015     10019428    and getting ready for the Kickstarter launch. The prices will be HIGHER than here - AND - you as an early pledger will receive priority shipment. We are launching on KS because we need the
                                         discount by purchasing in volume. Not so we can pocket the cash but so we can pass on great technology to you!
 5122448      11/17/2015     4004086     Hi doug, I was replying to the update sent yesterday, specifying usb2. Thx for the response.
                                         If you can get the same quality/reliability and pricing as the products made in China, by all means get them made in the USA. As long as they are genuinely certified by UL, CSA, and for some
 5123555      11/17/2015     8007983
                                         products FCC certified.
 5118460      11/16/2015     12329020    I really appreciate how much you guys update us on the status of the product, it's nice.
 5119474      11/16/2015     4004086     I don't understand the reasoning in not using usb3. they are too inexpensive not to utilize considering benefits.
 5121992      11/16/2015     11939211    can i know more of the gps system??is the gps device on the IBackPack is removeable and when we used the gps tracking system ,does it used connection?thanks before :D
                                         A pocket for an iPhone OUTSIDE the bag
 5112395      11/15/2015     12163748
                                         And a pocket for an 15 laptop and a 13 tablet
 5113044      11/15/2015     9930945     The use of photoshop on their website worries me...
                                         Hi - based on the updates, most of the internal devices being tested seem to being mocked up in white. The original video / campaign made them out to be black. Can you confirm colour choice
 5112827      11/15/2015     11865075
                                         please. Hoping for black across the board to match the bag fabric. Thanks
 5116233      11/15/2015     1616612
                                         I think you guys would be interested in a products called iusb port by hyperdrive. You can connect your corded hard drives and make them wireless and also seconds as a phone charger
 5112796      11/15/2015     9930945     I dont really see a need for the zipper cables.. Are the actual zippers going to be cables or what?
 5112787      11/15/2015     9930945     I think there should be a pocket in between your back and the bag for security and accessibility. Like right in where the padding would be
 5112899      11/15/2015     9930945     Is there any way to get a refund after the 10 days?
 5117051      11/15/2015     11939211    is the usb port have no the 3.0 usb for use?
                                         Reading all the updates about batteries and power adapters I have to say that I'm getting a little bit worried. Are we getting an super heavy backpack with standard equipment which I could have
 5112465      11/15/2015     5654794     bought on ebay? I expected to get a cool backback which is light and extremely flexible. I hoped for tailored equipment and not any china power adapters for 1,50$. So - what is the idea? And -
                                         can I cancel my perk?
 5112402      11/15/2015     12163748    Water bottle pocket is a good idea
                                         Continued from above post: Also a webbed strap sewn into the inside of the backpack with a hook on it to hang the bag on a fence would be a great benefit to me. I would like to have a 17" laptop
 5109305      11/14/2015     11727811    sleeve inside the bag and a spot for a Iphone 6 plus. A pocket line with soft material for sunglasses would be a plus or just a pocket for them as my sunglasses stay in a case for protection
                                         anyways.
                                         I agree with the idea of a water bottle pocket. Also, I use a backpack all the time to have my hands free, but it would be great to have a string/line/something that would allow some sort of locked
 5112204      11/14/2015     1626029     pocket(s) to be pulled forward. That way, you wouldn't have to take off the backpack to reach a smallish pocket or two with your money, passport, etc. The pocket could be tucked into each side,
                                         but you could pull them out and unlock/open them to present a passport, pay for a meal, etc.




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                              Project
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                            Comments
 Comments     Comments                                                                                                           Project Comments Comment
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                                         I like Harold Brown's idea about a outside pocket for a water bottle. I work in the sports industry doing photography and videography, so I am outside a lot and need to stay hydrated. Although I
 5109307      11/14/2015     11727811    carry numerous batteries with me, sometimes I am shooting 6-8 hours of video on game days, so if there were an adapter to plug into one of the usb ports to provide a 110v outlet to charge my
                                         batteries instead of trying to find an outlet at the sports complex, that would be a great benefit for me. Cont.
 5111991      11/14/2015     9344376     According to your Halloween Update, it says: "Your luggage tags, keyfobs are at the printers - expected shipment date is before Nov. 15th." What is the current status of this?
 5106530      11/13/2015     8007983     Doug, did you see the Charge Tech portable 85 watt 120 v, 2 USB device I sent you?
 5108690      11/13/2015     8007983     I know that YKK zippers cot more, but they are the best, will that be a consideration? I would like pockets for an IPad, Samsung Note 4, pens/pencils.
                                         KICKSTARTER UPDATE - We have always planned on launching on Kickstarter - in order to be able to purchase in volume and thus give our IGG pledgers a more robust product. You guys are
 5106880      11/13/2015     10019428    going to be the benefactors of a successful KS campaign - as will anyone from Kickstarter will have a benefit from when the products are being sold through Wal-Mart, JC Penney's and other
                                         major US retailers. We are always going to reward those who supported us in the early days - it is the right thing to do.
                                         How about an outside pocket for a water bottle? Maybe even insulate the pocket with a thin, efficient insulating material. I always travel with a water bottle. Recommended to keep you hydrated
                                         while traveling.

 5106531      11/13/2015     1566911     I want to commend you and your group for the timely updates on the iBackPack. Iâ €™m super excited about this campaign and looking forward to receiving my iBackPack and putting it to good
                                         use.

                                         Continued success.
                                         Hi Arleta - Let explain the Kickstarter campaign. Yes - all of the prices are going to be substantially more - we are always going to support YOU as an early adopter. The reason for Kickstarter is
 5106598      11/13/2015     10019428    so we can keep deeper discounts on batteries, bags, cables, modems, routers, plugs etc. by buying in volume - we are going to pass on the savings to YOU through enhanced features sets - like
                                         larger batteries, more USB ports, additional unannounced products - all funded by the Kickstarter community
                                         Hey Doug - Thanks for keeping us up-to-date about what you are doing with the iBackPack. I have pledged for many other campaigns but none of them have been as aggressive about keeping
 5106590      11/13/2015     11775479    me up-to-date about what is going on. Kudo's to you and your team! What I love the most is that you keep improving the product without me having to pay any more money. I hear you are
                                         planning on launching on Kickstarter soon - how is that going to affect me - and my pledge. I hope the guys on Kickstarter pay more!
                                         DESIGNERS - JOIN US - Send us your blueprints of the pockets, and the layers for the iBackPack. We've been spending a great deal of time on the electronics - but now we are focusing on the
 5106499      11/13/2015     10019428    fabrics, where the pockets go, how big they are, how many we have, whether they are clear, solid, mesh, . . . this is your chance to show off your design talents. We will put your signature inside
                                         the iBackPack fabric so the world will know you participated and what you did - JOIN THE DESIGN TEAM.
                                         Hi Doug, thx 4 the updates. Since you are still evaluating/testing power options could you consider testing power option to charge laptops? I'm sure a lot of us will use the iBackpack to carry our
 5104547      11/12/2015     11666270
                                         laptops, it would be great if we could charge them as well. Thanks
 5104732      11/12/2015     12000334    Would you consider providing a 220V to USB for your international customers instead of the US standard 110V to USB?
                                         Hello All - We just updated everyone with an email. Please understand that everything is still a work in progress. The only thing that is final so far is the zipper style cables - they rock. They are
 5104468      11/12/2015     10019428    great. We've tried to tear them apart and won't work. We will keep you informed throughout the whole process unless we get too much feedback about only wanting to know final decisions - final
                                         updates. If you don't want to see the work in progress - we can reduce updates.
 5092075      11/11/2015     12112432    Hello Doug, please give some info regarding Crowdfunding Story - when will it be possible to get access to and how? Thanks in advance.
                                         will I be able to upgrade for International shipping? I will be in the Peace Corps for two years in Madagascar. Will not have an address for Peace Corps till March. Looking forward to having this.
 5069999      11/10/2015     5048903
                                         All my electronics plus tracker!
                                         Hi Everybody - We are probably going to do another post today or tomorrow. We don't want to blow up your email box though - but there is so much stuff going on that 2500 characters allows via
 5072362      11/10/2015     10019428    igg just don't give us enough room. Please keep in mind that everything is a work in progress. As this progresses we will send you the "final" version - of course - but - we are still a full six weeks
                                         away from that date. Now is testing, testing and more testing. If you know of any products we should evalu
 5069234      11/10/2015     6726573     Hey Doug! Two great updates today. In think I know the answer to this as you are being extremely thorough with this bag, but...the cables will all be MFi certified, correct?
                                         Hi Doug, thanks for the updates. It would be really great if we could use the WIFI modem with AT&T. AT&T's data pricing is much better then Verizon. Verizon is very expensive and doesn't offer
 5069865      11/10/2015     11666270    as much data. I currently pay about $122/month for 30GB of data on AT&T (and unlimited talk and text). On Verizon the same amount of data would cost me $185.00. As you can see AT&T
                                         offers much more value for their data.
                                         Will iBackPack be fully TSA compliant? I will use it during international travel and, since I do public presentations, often have a lot of electronics in my backpack. Some airport security people
 5068770      11/9/2015      11772036    here and abroad get concerned when a bunch of wires and battery packs are all together in one bag. So, I was just wondering if this was an issue you looked at and whether the power supply
                                         would be easily removable (without unpacking the whole bag) if a scanner wanted to scan it separately.
 5050931      11/8/2015      12443065    I didn't get an email with an update. Could you please update this site.
 5048697      11/8/2015      9930945     Is the fabric on the photos of the backpacks final? It looks reflective instead of the sleek matte fabric shown in the backpacks advertised
 5014250      11/5/2015      12524994    Totally stoked about this evolution of the backpack, can't wait!
                                         Hi... two questions:
                                         1) I presume this was answered somewhere, but I can't find it. Does the WiFi version of the backpack require a monthly subscription for the modem service?
 4969139      11/2/2015      12022549
                                         2) I've backed the Power BackPack version. IF I wanted to, would I be able to "upgrade" it to a WiFi version?
                                         Thanks!
 4953217      11/1/2015      10429749    hey will the bag look exactly the same as the profile pics
                                         Hi there, I pledged for $250 version and have 2 questions regarding your last newsletter:

                                         1. Your e-mails says you've been downloading "hundreds of thousands" of e-mail from the internet. Why do I need them and how am I supposed to use them?
 4947632      10/31/2015     12249547
                                         2. I'm also worried about the weight of the backpack. I pledged for 2 kg version, but now I see you are trying to fit in as many gadgets as possible. Well, great, but I also want to put MY suff in it
                                         and be able to lift it up! How does the weight changes?
                                         Good Day,
                                         i have two questions:-
                                         1- i want to add one more of the iBackPack Wi-fi Version, so how could that be made possible @ same price i pledged first two of the bags?
 4948165      10/31/2015     10285907    2- if i want to have different address on different bags, then, how could it be made possible?
                                         kindly advice
                                         Regards
                                         Farhat Ali.
 4942607      10/31/2015     12444829    What exactly does the lifetime limited warranty cover?
                                         Happy Halloween! I had a video crew here today putting together the first video with me in it. Yikes. I rarely do "inverviews" but figure that it would be important for me to introduce myself, tell the
 4946476      10/31/2015     10019428    iBackPack story where you can hear from me first-hand. I'll be posting it soon. If you have any questions - please post them here and I'll answer it as quickly as possible. Please keep in mind that
                                         the iBackPack is a work in progress. We are testing a wide range of features.
 4947279      10/31/2015     11878402    I recently saw another backpack that had a phone holster on the strap. Are you guys thinking of including something like this?
 4940087      10/30/2015     6726573     I appreciate all the efforts you and your team are putting into the iBackPack. These updates keep us engaged and a part of that process. Thanks!
                                         Hi iBackPackers - We just posted the weekly update. Please check your email and respond with questions here in the comment section. We will be doing a weekly update - but almost daily on our
 4935006      10/30/2015     10019428    Facebook page we are posting DAILY UPDATES. If you would like to watch the iBackPack unveil day by day - please visit our FB page at
                                         https://www.facebook.com/iBackPackOfficial/?ref=aymt_homepage_panel#
 4937599      10/30/2015     11878402    I CANT WAIT!! It's going to be awesome!
                                         I don't understand what it means gold or regular luggage tags. Who gets gold and who gets regular and what is the difference?
 4939694      10/30/2015     12163748
                                         Thank you
 4935132      10/30/2015     11755704    Just curious, how come the bag doesn't look like the one which was advertised? Excuse my ignorance.
                                         hey guys. I backed the $200 wifi version. Is there some sort of adapter or something that would allow a laptop to plug in? I'd be willing to pay more for some add on or something. I wonder if
 4888144      10/26/2015     6173462
                                         others are as interested as I am in that potential. thanks.
                                         Hello again
                                                 I see that you are doing capacity testing which is great . Have you ever tried to put a full sized DSLR with an all around lens inside the iBackpack along with an iPad or a laptop in addition to
 4890557      10/26/2015     11179413
                                         pens, an occasional T-shirt , smart phone, music player and headphones, a paperback and a water bottle ? Will the backpack straps able to handle the abuse? Will the internal wires and internal
                                         devices of the bag be able to survive the wear and tear of every day use ?
 4891546      10/26/2015     8007983     Is there a wattage limit?
 4878095      10/25/2015     11493886    Sorry about this, im sure it's been asked before, however my address shall be changing and I have paid through paypal, how can I alter this?
 4870436      10/24/2015     12554318    How does this new program work?
 4870673      10/24/2015     11732987    Can you deliver to asia?
 4870531      10/24/2015     12554318    When will the ship?
 4870674      10/24/2015     12540704    How do I change my order to a professional one?
 4870666      10/24/2015     12540704    How does the Mercenary Program work?
 4870681      10/24/2015     12540704    How will I know if my referrals were successful?
 4870700      10/24/2015     11732987    Do you accept credit or debit cards?
 4870529      10/24/2015     12554318    How big is the battery?
                                         Hello iBackPack.. ...

                                         Its not the first time i write to you (email) - but no answer :-( ...

 4876191      10/24/2015     10714648    I want to hear you - How it is, with add-ons ? - Unfortunately, i can't find the add-ons in your "story" on the IGG campaign? ...

                                         Will we get a mail, where we can choose witch add-ons we will have in our iBackPacks? :-) ...

                                         Thank you - And what a lovely product! <3
 4870388      10/24/2015     12554271    Can the backpack be used as a hotspot worldwide? and is there any annual fee or any charge?
 4870684      10/24/2015     12504814    When do we get paid for our referrals?
                                         I do appreciate reading updates on the iBackPack. Communication is a key to a successful campaign. I do have a question on the retractable power cord discussed in your latest update. You only
 4867487      10/24/2015     1566911
                                         mention micro USB. Will there be an Apple lightning connection option? Thank you.
 4870617      10/24/2015     12554522    How do I get a job here?




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Good Morning iBackPack Team - 5 am here in Austin, TX. Please check your email to see the latest update with photos of us testing the bags and the internal technology. There was a reason we
 4865346      10/23/2015     10019428    promised March, 2016 for delivery - because we want to give you the very best technology in the world. I know we are spending time testing vs. shipping - but in the end - you will be happy with
                                         this decision. I am personally testing components - arguing with vendors over free features to provide you.
                                         Hello, I sent two emails about how my pledge was suppose to be for a iback basic starter backpack, but the pro contact option is showing. I never received a response back. Has my pledge been
 4866429      10/23/2015     11777573
                                         updated and changed?
                                         Morning Doug,
 4864973      10/23/2015     9557475
                                         Quick question will a 17" laptop fit? If not may it should be considered.
                                         Morning All - It is 2:am here in Austin. I am up speaking with various manufacturers of the car chargers today. There are various options we are looking at - some of them have standard USB
 4852235      10/22/2015     10019428    ports, some have micro, some have micro but with an elastic retractable cord - numerous options to consider. This is just one example of the depth and breadth of our efforts in order to get you
                                         the very best options on the market. Every single teeny tiny detail is being addressed - which is why March delivery.
 4845039      10/21/2015     9346182     Just a quick question, this wifi version will be able to select color, right?
                                         Hi Everybody - We have added another person to our support team - his name is Chad - so you should be seeing updates from him here. I spent four hours this morning speaking with various
 4828284      10/20/2015     10019428    vendors trying to haggle to get better components - and also trying to determine if it would be better to put the Bluetooth Speaker inside the bag but not mounted - there have been a number of
                                         requests for the Speaker to be able to be taken out and moved without it leaving a hole in the bag. Comments?
                                         Hey Doug! Just a question 'bout my pledge, i want to ask something about my pledge , i think that u are already changed my pledge from starter limited into power backpack version, so why the
 4831129      10/20/2015     11939211
                                         email u sent still says that my pledge is starter limited?although the pledge id is changed from the way before....thanks
                                         Hey Doug! just a question about my pledge , i think that u are already changed my pledge from starter limited into power backpack version, so why the email u sent still says that my pledge is
 4831201      10/20/2015     11939211
                                         starter limited?although the pledge id is changed from before . Thanks
                                         Hi All - Up early today - 2 am here in Texas - On skype chatting with suppliers worldwide for various components - yes - we have already chosen modems, bluetooth speakers, 20,000 mAh
 4822827      10/19/2015     10019428    batteries, etc. - but we are now "beating the bruth" trying to get a better deal, more powerful batteries, more rugged speakers, etc. This is one of the reasons we have established a March shipping
                                         date. We are going above and beyond the norm in order to build your iBackPack.
 4826074      10/19/2015     6726573     Hey Doug! Just a question about the batteries. If I don't have the modem, will there be 2 20,000mAh batteries?
                                         Hi All - I'm on with Slaven - one of our lead designers and we are going over the luggage tag and keyfob that we are going to be sending to everybody - as well as discussing some various options
 4812340      10/18/2015     10019428    for the placement of the USB ports - whether we should stick with a horizontal place or go with a vertical placement. We had a photographer swing by this weekend and took a number of photos
                                         of the iBackPack and will be posting same on our FB page - as well as sending an update later on this week.
                                         Here we go - another exciting Saturday. We have been speaking with battery mfgs last week and have packages coming next week. We are going to thoroughly test all of he batteries to make
 4801147      10/17/2015     10019428    sure they work as they should. Making a product is a lot more complicated that anyone would think - we are testing everything piece by piece - If you have any questions - post same here and
                                         we'll answer as quickly as humanly possible.
 4806013      10/17/2015     12491018    How much will it cost to ship to india? is it possible to ship to india if i pledge now?
                                         Happy Sunday All - It may be the weekend, but that isn't stopping us from working. Yesterday we were testing various ways to configure the 4 USB Ports - whether it would be better to put it on
 4804861      10/17/2015     10019428    the bottom as originally planned or perhaps mount it further up the backpack on the left side. Key to the iBackPack is ensuring easy access to the electronic components - but we also need to
                                         make sure all of the parts remain free of dirt. We have numerous prototypes - just figuring out best options.
 4804371      10/17/2015     12136400    I wanted to buy Power BackPack edition at $149. I need the international shipping too. How much do I need to pay total up? $149 + $50 ??
                                         Hi Everybody. Whew - it has been an interesting past two months. The iBackPack team appreciates each and every pledge. We are going to follow our strategy and launch the iBackPack on
 4794335      10/16/2015     10019428    Kickstarter and see how many pledges we can get there - and consolidate our orders from manufacturer in order to get higher quality products - perhaps larger batteries - items not yet mentioned
                                         to anyone. We are going to make the iBackPack something you can be proud to wear. A post is coming soon to update all.
 4794567      10/16/2015     8007983     Can't wait. This is a backpack that will get a lot of use. I'm super happy that I found this!
 4785205      10/15/2015     8738473     Excited for this!
 4783365      10/15/2015     11179413    When will the Kickstarter campaign start? Might order the Starter limited iBackpack I can use for work .
 4785224      10/15/2015     11765880    Super stoked about this iBackPack....Technology meets the good 'ole Outdoors and everyday connection!
                                         Hi Marvin! Thank you so much for your support! Today is the last official day of the ibackpack program on Indiegogo. We have upped the battery to a whopping 20,000 mAh and added many
 4785641      10/15/2015     11732987
                                         features to the Sales Pro - visit http://igg.me/at/ibackpack to take advantage of same.

 4774137      10/14/2015     11777573    Can someone please answer my concern before I file a claim through paypal and my bank to get my funds back? I would like to know if there is a way to get the pledge that I intended to get
                                         which was the $100 backpack. If there isn't a way to change my mistake, please let me know asap. I want to fix this so that it doesn't linger and become a bigger mess. Thank you.
 4774645      10/14/2015     11793112    Wasn't the backpack supposed to be 50 percent off?
 4780119      10/14/2015     1616612     I wanted to say congrats on a successful opening to you campaign 893% funded! I am looking forward to your product
                                         Hey guys! Great backpack and the design looks just amazing. Moreover, tha gadgets inside are awesome. It's pity I cannot be among the backers - some life troubles. But I noticed that you've
                                         already gained 338% so I thought maybe you will consider looking my campaign. I can promote you in Russia in advance somehow. Anyway, thank you for attention.
 4771822      10/14/2015     12415558
                                         https://www.indiegogo.com/projects/beautiful-house-in-danger/x/12415558#/
                                         Hello,

 4780318      10/14/2015      746254     Is there anyway we can have an earlier release date?

                                         -Sreenadh
                                         Hello All - I apologize for us not answering some of the questions yesterday. Our campaign on Indiegogo is coming to a close of its 60 run and hence we have been slammed with many issues.
 4778282      10/14/2015     10019428    One of the biggest was that it wasn't supposed to end until the 16th - but IGG had opened it on the 13th so we could test the payment processing - and ultimately it ended in 58 days vs. the 60
                                         days we had counted on. For credit card issues you can email doug.monahan@ibackpack.mobi vs. put info here. Thanks
 4764853      10/13/2015     12446890    Thanks Arlene very much for a support. Still have ideas on features and improvements and will be glad to discuss. And always free for feedback and brainstorming.
                                         Hope we can choose between colors ... otherwise I am stuck with black (majority choice)... Other question: by the time you guys are ready to start production, please contact me again at
                                         mark.spiessl@syngenio.de or at mspiessl@mac.com ... might end up flipping this order to corporate designed bags and a larger quantity - would need an offer for the difference.. as the other 5
 4762296      10/13/2015     11429094
                                         bags are going within the company, I might be able to persuade management to do a design with our branding on it ...
                                         Mark
 4766620      10/13/2015     12020993    SO glad I found this when I did. Almost missed it by 4 hours. Can't wait to get it!!
 4764851      10/13/2015     12416301    Great stuff, guys. The backpack really impressed me! I'm looking forward to getting it and using it next year!
                                         sry team, im wrong too .khamiko wrote.I choice 149$"iBackPack - Power BackPack" and paid by paypal.but I really want to 99$"iBackPack - Starter Limited".
 4768877      10/13/2015     12451179
                                         Can this problem please be taken care of for me? Thank you.
                                         Hello, I had clicked on the wrong perk but didn't notice until after the fact. It is after 2am where I am now, and being over tired got the best of me. I wanted the basic backpack for $100 dollars. Not
 4767368      10/13/2015     11777573
                                         the professional contacts upgrade. Can this problem please be taken care of for me? Thank you.
 4762900      10/13/2015     11153316    It's a pleasure supporting this great campaign, I'm excited waiting for my ibackpack!
 4758327      10/12/2015     11764288    I really hope we reach the next stretch goal. Everyone, please help to share this project, with 22 hours left and less than $80K until the next stretch goal reached.
 4755639      10/12/2015     12416301    Hi, The backpack looks fantastic, and I'm really interested! By the way, can you please tell me what features are missing from the controller apps of the $99 perk?
 4754369      10/12/2015     12163748    what is the volume of the backpack?
                                         what is the difference between the starter limited, power backpack, and wifi version of the backpack itself. I want the version with all the hardware features, I'm not very concerned with the
 4756051      10/12/2015     12436473    business part of this produst as of right now. The pledge I make I would like to make before this dead line in 30 hours, but would like an answer to this question first. I want the bag with the most
                                         possible perks. thank you ahead of time
                                         So, will this 3G/4G work in europe? I hope it will. Otherwise a fantastic design, though one thing missing, which I have another bag that does. Solar charging? Then the backpack could really
 4732118      10/9/2015      8099744
                                         have infinite power.
 4732784      10/9/2015      9759993     Hi there, could you please let me know the shipping fee to Australia. Thanks.
 4717928      10/8/2015      12389604    can I put a European sim card in if I buy the wifi version?
 4718819      10/8/2015      11666270    Will we get the opportunity to choose the backpack design that we want?
                                         Charles Donaldson:
 4720131      10/8/2015      12033209
                                         We will be contacting everyone by email after they pledge, and then, after the campaign is over, contacting them again to allow selection of colors and other options to be made.
 4718924      10/8/2015      9187570     If I choose the Sales Professional at 249 USD, will I be able to brand it with my own logo? Or just choose from different colors?
 4713653      10/7/2015      9557475     Sorry I meant instead of 1 wifi and the other is non wifi.
 4709455      10/7/2015      12033209    Yes, The battery upgrade applies to everything, Apologies for missing the comment, Derrrick!
 4711696      10/7/2015      3379743     No 3m Scotchlite piping? I won't be able to use this, I commute by train and have to walk 0.7 miles on dark street.
                                         The newest update says a 20K mAh battery pack will be included in place of the 6K mAh. There were actually 2 X 10K mAh batteries in the Wi-Fi Version. Will 2 x 20K mAh packs now be
 4707727      10/7/2015      11899111
                                         included?
 4708029      10/7/2015      6726573     Same question as Derrick..Will the $149 iBackPack now have two 20K mAh batteries?
 4712812      10/7/2015      11666270    will the backpack have a hard drive for media and file storage? For example 8GB, 16GB etc. For offline viewing/storage of files?
 4712285      10/7/2015      9635695     Sorry I do not speak good English. But have you ever thought of a vibration system in the rear of the bag? A massage function would be very cool :)
                                         I have a question I ordered 2 backpacks but noticed that for 1 dollar more I could purchase 2 of the same is there anyway I can change my order to 2 wifi backpacks instead od the 1 wifi and the
 4713651      10/7/2015      9557475
                                         other non wifi? thank you in advance
                                         Hi, your description says....enough storage for an eight grade report or a company IPO. But when I read the specs I don't see any storage details. Could you share the storage details planned for
 4687264      10/5/2015      11666270
                                         the wifi Version of the ibackpack that is priced at $199?
 4665337      10/3/2015      11988656    Is there an option for DSLR? It seems I can put my camera inside, but it would be better if I can arrange my camera and lens.
                                         Hello, @Mark Vadney
 4646832      10/2/2015      9356146
                                         Please send me your information via email and I will resolve your issue. My email is dan.bannigan@ibackpack.me
 4644135      10/1/2015      10529360    I am moving, how can I provide my new address, I don't want to miss the delivery of this awesome bag
                                         Jedrick Steven Yu,
 4596436      9/28/2015      12245359
                                         The iBackpack is not powerful enough to recharge a laptop-the battery will not be able to do it. However, if your laptop has a USB-enabled charger, you would be able to 'top-up' the laptop's
                                         battery with the iBackpack plugged into the wall.
 4594415      9/28/2015      12097939    what's the app limitation of $99 perk compare to $149?
 4596201      9/28/2015      11776216    Hi... Does iBackpack have an inverter or a capacity to charge a laptop?




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                       Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         I would like to support your campaign. However, I have realized that you do not offer GPS tracking with some of your perks that I am interested in. I really do not want it to be a deal breaker, but I
                                         do see GPS tracking a basic part of all perks that include the bag, however, the WiFi hotspot could be an additional luxury add-on.
 4591435      9/27/2015      5860296
                                         Would you be able to offer GPS tracking with the starter perk?
                                         Melody Shourek:
 4586482      9/27/2015      12033209
                                         We have had many requests for night safety features. We are looking into this to give the best option. And the possibility of having a flashlight, as well.
                                         Waleed Judah:
 4586486      9/27/2015      12033209
                                         Thanks for your support! We have worked hard to make this the best possible bag for everyone-and we still are finding ways to improve it. I think you will be very delighted with your bag when it is
                                         in your hands.
 4581020      9/26/2015      11084760    You asked before what else I would like to see put on the backpack. I think some type of light would be helpful on the strap.
                                         Hi,

                                         Are you planning a bigger version of this as well? I need way more space than offered here. Usually I carry something for work (laptop, ipad, notes, etc) and some private things (water bottle,
                                         sportshoes, shorts/tshort, pullover or jacket) which would fit into this small one here
 4585380      9/26/2015      12249820
                                         It would be ideal to have a kit to upgrade any good bag or backpack to become "smart" :)

                                         Thanks for Feedback
 4583321      9/26/2015      12248739    This is Awesome! I was in the process of my building my own bag when I stumbled upon this! Just had to Contribute!
                                         Great idea!
                                         I'd like to order one for my husband, just has 3 questions:
                                         -- is there any way to cover the USB and other ports from dust, water, etc.? It's a crucial thing for us, He's a reporter and his backpacks usually end up somewhere in a dirty countryside or on the
 4584975      9/26/2015      12249547
                                         airport floor.
                                         -- what's the total weight of iBP for 249 USB with Wi-Fi module, all ports, batteries, etc?
                                         -- if I want my logo to be embroidered on it, which option shall I order?
                                         Sue:

 4573198      9/25/2015      12033209    The link simply didn't stick in the ad! I have it here; https://www.indiegogo.com/projects/comet-world-s-first-buoyant-smartphone#/story

                                         And I will speak with them, about making sure our wonderful iBackpack community gets the discount. Please stay tuned!
                                         Everyone:

 4573276      9/25/2015      12033209    Our misuse of the updates feature has stopped: this section will be reserved for ONLY iBaclpack updates from here on out.

                                         I thank all of you for your patience, and your comments that brought this to our attention.
                                         Very very nice backpack has everything, I want . But I travel a lot to other countries and it the back pack cant be locked it is worthless to me . So if u can thinking about some kind of security so
 4576516      9/25/2015      9888993
                                         the zippers can be locked. thk you
 4559768      9/24/2015       639516     Would you consider making a version that fits on wheelchairs?
 4558926      9/23/2015      5308335     BTW The e-mail link on Doug's page does not work. I tried it on both FireFox and IE - I did respond to the email you sent about the comet smartphone.
 4557312      9/23/2015      9978787     Gee I wish you guys would stop advertising other people's stuff to me
                                         Adolphus Blankson:
 4549416      9/23/2015      12033209
                                         We shared with our iBackpack community the Ziptips, in hopes that quite a few of you would find them a useful item that would compliment your iBackpack. The Ziptips have many advantages
                                         over conventional cords that would make it easier to charge your electronics.
 4558867      9/23/2015      5308335     ok - you've hooked me on the Comet Smart phone, now how to I get the Perk.
                                         Hi I would like to buy the wifi version ibackpack but I was wondering what happens when some electronics break and what the limited lifetime warranty means.also Is is possible to upgrade the
                                         battery,speaker,cables etc...and what are the specs of the speaker?

 4525042      9/21/2015      11461135    Is it possible to add ports for charging inside the backpack and finnaly can we have some sort of auto locking system or something so people can't just open the bag

                                         Regards
                                         -Greg
                                         Bruce:
 4526119      9/21/2015      12033209
                                         We will, of course, be delighted to upgrade your order. Please use the 'additional contribution' selection, and send a private comment. We can then change it here.
                                         Johan Mln:
 4526137      9/21/2015      12033209
                                         Thank you for your question. Our current plan is to contact everyone individually, and get color preference, and add any additional items that you would like. This will happen after the end of the
                                         campaign.
                                         Hi @dj.kapoindigox
 4513813      9/20/2015      9356146
                                         The WiFi will have 3G/4G Access and the sim card will work worldwide.
                                         Hi @Claudio Raimondi
 4513881      9/20/2015      9356146
                                         Currently the retractable power cable is for recharging the iBackPack. We are working on more options for keeping all of your devices charged.
 4516261      9/20/2015      12179139    You need to make a windows app for it too. Not all people have an IPhone or an android..
 4517165      9/20/2015      8007983     Can I change my order and upgrade?
 4512860      9/20/2015      11095740    How does the WiFi device work?Does it have a SIM slot and will it work with all carriers or at least European carriers?
 4508404      9/19/2015      8007983     How do you know that the batteries are fully charged?
 4511259      9/19/2015      10019428    Hi Bruce - There is a light on the side of the battery that indicates it is fully charged.
 4507096      9/19/2015      12165572    so excited for this bag, I can't wait!!!
                                         Peter Huntley,
 4507269      9/19/2015      12033209
                                         We have had several requests for camera options, and we are looking to see if this is a possibility. Rest assured, if we can get it worked out so a camera and lens will be safe, we will let everyone
                                         know!
 4511480      9/19/2015      8660615     Will it be possible to charge devices within the backpack (without using the external ports)?
                                         Hi.
 4506769      9/19/2015      8342118
                                         Part of my essential kit is a DSLR. Have you given any thought to including a safe pocket for a DSLR and a Lens at all?
                                         Shiu Kai Tam,
 4507262      9/19/2015      12033209
                                         I know March can't get here fast enough, but with all of the upgrades and improvements we are making, I think you'll be delighted with the end results.
                                         Peter Huntley,
 4507268      9/19/2015      12033209
                                         We have had several requests for camera options, and we are looking to see if this is a possibility. Rest assured, if we can get it worked out so a camera and lens will be safe, we will let everyone
                                         know!
 4506532      9/19/2015      12144775
                                         I so want one of these with my own logo and color. These would be so useful for conventions and taking trips! But alas I can't afford one for now as I currently have no job. Working on it though!
                                         Hi Chris,
 4506031      9/19/2015      11732986
                                            Thank you for your comment and suggestion. Actually, we will have the solar panel charger as an optional add-on which can be purchased separately. Shortly, our website will have a new
                                         page with a lot of accessories. As soon as we finish this page we will send an update to everybody, so please follow us to get the latest news.
 4511390      9/19/2015      11766005    hello, when available on your site, the option to configure his backpack for the choice of colors and the creation of the logo for those who purchased the Professional version?
                                         I second the appeal for dslr kit for the backpack. Reference the wifi SIM card, will you be covering the whole world (or have you thought of it through one of those international roaming
 4511469      9/19/2015      8660615
                                         companies)? What colors will the wifi version be offered in and when we will be choosing it? Thanks!
                                         Hi Allen Yu,
 4503954      9/18/2015      11732986
                                         Weâ€™re working on it, shortly we will have a brochure with our product presentation and itâ€™s features. Currently we have 3 packages for resellers, the $995 Usd (buy 5 get 6 iBackPacks Wi-
                                         Fi Version), the $1990 Usd ( 10 + 3 version) and the $4975 Usd ( 25 + 5 version)
 4499264      9/18/2015      10509152    So the backpack shouts "this man stole my bag" in case it gets grabbed? Does this mean that women are incapable of theft, inventors? Why so prejudice?
                                         Hi Wilfredo,

 4504139      9/18/2015      11732986    The iBackPack is designed to support the real life scenarios very well. We have chosen the most durable and highest quality fabrics, zippers, buckles and rubber base to last for decades. The
                                         iBackPack is weatherproof also, which means the electronics are 100% safe. The range of the Wi-Fi network each hotspot creates is 33 feet; you can connect a device from as far as 100 feet
                                         away if it's in the direct line of sight
                                         Do you have any stretch goals? You should add solar panels for charging the batteries as a stretch goal. That would make this THE ultimate backpack.
 4504388      9/18/2015      8603661
                                         (I'll immediately start throwing my money at you)
 4500542      9/18/2015      11864144    hey. nice update on the ziptips but what does this mean? are all charging sockets ziptips




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                                         Hi Adolphus,
 4504075      9/18/2015      11732986
                                         We are co-promoting other projects that we are partnering with. The ZAPTIP can be pre-ordered separately which is compatible with the iBackpack.
                                         Question, how are the prototype iBackpacks handling real life scenarios of daily use and abuse? Since my perk is the Wi-Fi version, I am also wondering how far is the range of the wi-fi
 4501452      9/18/2015      11179413
                                         connection in real life tests ?
                                         Hi Sean,

 4503917      9/18/2015      11732986    We are hopeful to have many colors, however, it all depends upon the total number of pledges we receive for the iBackPack. The gps will work in Canada and UK also. Basically the wifi works
                                         anywhere in the world as it requires the 3FF and 4FF sim cards size and generally all carriers support this format. We are working on providing discounts on international internet access plans
                                         too.
 4500469      9/18/2015      6726573     Today I thought I was getting an update. I appreciate your sharing other projects but that's not an update. We'd like to know what's happening with this project.
                                         Hi Steve,
 4504004      9/18/2015      11732986
                                         Weâ€™re working hard to reach new milestones so we can offer even more features. Once we reach $500.000, we will have another upgrade in store for you.
 4479620      9/16/2015      12133830    So when does choosing colors happen?
                                         Hello sir,
 4486448      9/16/2015      11777279
                                         I wouldn't like to resell your product in Taiwan. Do you have products brochure now?
                                         Hello! I have pledged for a Wi-Fi pack but i was wondering what colours it will be offered in (if that has been chosen) as well as whether or not i could get my company logo on it?
 4461321      9/15/2015      11772621
                                         Sean
                                         Hello! I have pledged for a Wi-Fi pack, what colours it will be offered in as well as whether or not I could get my company logo on it?

                                         as well, how will the wi-fi and gps work in Canada and the UK? i noted that sims are included and you mention a list of american cell phone companies. Will the mifi router accept foreign sims
 4461560      9/15/2015      11772621
                                         and will there be any discount to those unable to take advantage of your network agreements ("negotiated deep discount prices" with american companies)?

                                         Sean
                                         Can you elaborate on this statement:
 4460832      9/14/2015      10819923
                                         "The iBackPack is not designed to charge notebooks through the battery system; however, you can plug in the notebook through the USB lines that plug directly into a wall socket."
 4454311      9/14/2015      11755704    Definitely going to hook up an external hard drive to this so i can always have access to my stuff
                                         What is the total contribution amount for an international pledge? From what I understand, the backpack is $199 and shipping is $50 for international. Then, the total should be $249. I am
                                         confused. I keep seeing $265 for international pledges. How is that amount reached.
 4420554      9/10/2015      8689967
                                         Thanks for the help.
                                         Please get in touch with these people. This would be the PERFECT combination with your backpack for business traveller like me!

 4408831       9/9/2015      4304161     https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-pains?ref=category

                                         Thanks :)
                                         @asger_ryg
 4405287       9/8/2015      9356146
                                         We ship internationally. International Shipping is $50 USD If you decide to make your purchase, here's the link: http://igg.me/at/ibackpack/x/9356146
                                         @A Taesuwan

 4405283       9/8/2015      9356146     You will be getting everything for the iBackPack Starter Limited. This includes:

                                         4 USB Ports, 10,000 mAh Battery, Anti-Theft Alarm System, Retractable Power Cord, Bluetooth Audio System , 110V and 220V compatible, iOS/Android Controller apps
                                         @Walter Robinson
 4405302       9/8/2015      9356146
                                         You have the option of adding the Scooter Add-On to the Starter iBackPack if you wish!
 4404215       9/8/2015      11990619    I pledge for$ 99 I backpack starter limited just wonder will I get a backpack itself as well or just a battery
                                         @Will fernau
 4405293       9/8/2015      9356146
                                         iBackPack has 4 Waterproof USB 3.0 Ports. The ports have a suction-based cover so they are more resistant than the open ones. The backpack itself is weatherproof and made with tightly
                                         woven fabric and will be resistant to water. We are work
                                         @Nickolai Leschov
 4405306       9/8/2015      9356146
                                         The GPS uses a signal, you need a signal for it to function. The SIM Card allows you to travel and access WiFi
 4402715       9/8/2015      12048835    Great story guys
 4396108       9/7/2015      11755704    Is it march 2016 yet?!
 4395551       9/7/2015      7201745     Hey! I must say it looks really cool, and I am really considering buying one, however I'm wondering if you ship inernationally, because I live in Denmark. Best Regards Asger
 4394333       9/7/2015      7075234     Thank you very much for inventing such an amazing backpack.
 4387602       9/6/2015      12028408    Is it waterproof?
 4383320       9/5/2015      12027513    Any plans for a rolling version?
 4382143       9/5/2015      12025757    Really excited about this ... GOOD LUCK!
 4383240       9/5/2015      4151072     Why does one need a SIM card/cellular data for GPS functionality?
                                         Will the on-board batteries support pass through/simultaneous charging. and will they also accept quick charge capabilities? (I.e. faster than 1amp?) So, instead of charging your portables
 4385715       9/5/2015      9816870
                                         separately, you can just plug in and have your accessories charge at the same time?
                                         @loesje_muc
 4383386       9/5/2015      11727915
                                         The weight of the backpack with all of the feature inside is 4.5 pounds. This weight does not include if you were to buy any add on features. Thank you for your question.
                                         Could not find anything on the weight of the backpack.
 4380659       9/4/2015      1737862
                                         how heavy is it with all the tech inside?
 4371207       9/3/2015      11864144    Can i charge my devices while they are in my backpack? I.e is there an internal USB port? If not i think one one be a great idea to charge on the go.
                                         I'm psyched for this bag. You might want to think of a stretch goal before the $500K goal. Keeps people interested and more willing to share your story if they think it's within reach. Keep up the
 4367529       9/2/2015      6726573
                                         good work and give us an update once in a while.

                                         Hi, let me first of all wish you all the best with your campaign!

                                         Did you know that all successful campaigns have one thing in common...Online Visibility!
 4363678       9/2/2015      11998980
                                         CrowdBoxPr is by far the most professional Marketing Company to help you getting the necessary exposure in a very short period of time, including guaranteed press coverage, social media,...

                                         Every day counts, so please visit our website www.crowdprbox.com or get in touch with all your questions:info@crowdprbox.com

                                         Joshua Reynolds
 4356904       9/1/2015      11990619    I pledge for$ 99 I backpack starter limited just wonder will I get a backpack itself as well or just a battery
                                         QUESTION: How can I order the iBackPack?
 4343824      8/30/2015      9356146
                                         ANSWER: You can order right here on the Indiegogo page. People who back the project on Indiegogo get to have the very first iBackPacks and save a bunch on the future retail prices. Just click
                                         on the â€œBack this Projectâ€ button on the right-hand side of the campaign page.
                                         QUESTION: Can I personalize iBackPack for our company or or school?
 4343790      8/30/2015      9356146
                                         ANSWER: Yes, you can personalize iBackPack for your company or school. If you want to add your school name or brand logo you can do that. You just have to contact us and let us know how
                                         you want your iBackPack to be personalized.
                                         QUESTION: Will it harm the battery if I charge it before it is completely empty?

 4344115      8/30/2015      9356146     ANSWER: Actually it is best to recharge batteries when they have between 20 â€“ 80% remaining power. Our iBackPack batteries protect the health of the battery by regulating the charging
                                         intensity based on real-time feedback of how the battery is performing, regardless of the charge level. Most battery degradation occurs during charging, and by applying a more intelligent charging
                                         process the damage can be minimized.
                                         Great idea. I hope you will support a lot of different frequencies for the wifi data sim so it will work in lots of countries.
 4349704      8/30/2015      11968765
                                         Someone asked about turning the bags wifi off when they get home. This could potentially be performed with the bag having nfc and having some nfc tags in the doorway.
                                         QUESTION: How much does the iBackPack weigh?
 4343698      8/30/2015      9356146
                                         ANSWER: Total weight for the iBackPack, including all parts is less than five pounds.
                                         QUESTION: Can I come to Austin and pick it up myself?
 4343892      8/30/2015      9356146
                                         ANSWER: At this scale, weâ€™ll be using a full-service logistics and fulfillment company to get everyone their iBackPack. Itâ€™s possible that final assembly and warehousing wonâ€™t actually
                                         be located in Austin, so we canâ€™t make any promises about pick-up right now. We are looking at all options.
 4346708      8/30/2015      6619801     Would the iBackPack be able to fit a laptop with a 17 inch screen?
 4345533      8/30/2015      11972169    Excellent Idea!




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                                         QUESTION: Can I purchase the iBackPack in retail stores?
 4343803      8/30/2015      9356146
                                         ANSWER: We are hopeful that the iBackPack will be wildly successful with our Indiegogo launch â €“ and hence enhance the chances of large retailers such as Wal-Mart, Sears, JP Penneys,
                                         Toys-R-Us and others taking notice. Our plan is to have the iBackPack become a staple product in all major retailers in 2016
                                         QUESTION: What are the speaker specifications?

                                         ANSWER: (2 of 2) Here are the minimum specs weâ€™re sourcing in the waterproof Bluetooth speaker system:



                                         Audio: 2.0 CH+Low frequency passive radiator

                                         Power: DC+5V

 4344029      8/30/2015      9356146     Battery: 1500 mAh Lithium-ion rechargeable battery

                                         Speaker: F45mm 6O*3

                                         Hz-kHz: 80Hz-20KHz

                                         SNR: =85dB

                                         Output Power: RMS 5W *2 (THD=10%,f=1KHz)

                                         PS: Built-in Microphone
                                         QUESTION: How do I charge the batteries in the bag?

 4343981      8/30/2015      9356146     ANSWER: There is an integrated AC adapter housed in a specialized pocket in the bag. It will charge all iBackPack batteries docked into the bag as well as all connected smartphones, tablets
                                         and other USB devices, using an intelligent prioritization algorithm to efficiently route power to every device. Plug in all your gear and the bag will charge everything overnight through a single
                                         power cable.
                                         QUESTION: What are the speaker specifications?
 4344020      8/30/2015      9356146
                                         ANSWER: (1 of 2) We have tested at least ten speakers this year so far, but Bluetooth speakers keep improving in performance and cost so it will be the very last piece we completely lock-in for
                                         the iBackPack.
                                         QUESTION:How long does it take to recharge the iBackPack battery?

 4343944      8/30/2015      9356146     Answer: The battery we have chosen features FastCharging technology which monitors conditions inside the battery in RealTime and adjusts the charging rate accordingly. This intelligent
                                         adaptive charging enables them to recharge more than twice as fast as traditional Li Ion batteries while doubling their expected useful lifetime by reducing degradation caused while charging The
                                         batteries can charge from 0 â€“ 80% in roughly an hour
                                         QUESTION: Does the iBackPack charge all cell phones?
 4344040      8/30/2015      9356146
                                         ANSWER: Yes, any cell phone or device that utilizes a 5V USB port can be charged.

                                         QUESTION: How do you charge the battery?
 4343646      8/30/2015      9356146
                                         ANSWER: You can charge the iBackPack battery by plugging it into the wall or a car charger. The power pad wireless recharging option is another way to recharge the iBackPack battery.

                                         QUESTION: What makes iBackPack different from other backpack campaigns?
 4343784      8/30/2015      9356146
                                         ANSWER: No doubt, the iBackPack is not the first backpack idea to launch via Indiegogo; however, our approach is much different. The DayBreak team hails from the technology business sector.
                                         We have a thorough understanding of how to launch technology because of our past relationship with Intel, HP, Dell, Oracle, Microsoft, NEC, Panasonic, Sony Electronics and other tech giants.
                                         QUESTION: Why is international shipping so expensive?
 4343838      8/30/2015      9356146
                                         ANSWER: Weâ€™re working with a full-scale logistics and distribution team to make our international deliveries as effective as possible. The total price of $265 will still get you an iBackPack for
                                         less than the eventual retail price and should let us ship to anyone, anywhere.
                                         QUESTION: Can I order more than one?

                                         ANSWER: Just increase your pledge by $165 ($150 + US shipping) or by $265 (for international) for each extra unit. So $330 for 2, $495 for 3, etc. Shipping will double because we have to send
 4343846      8/30/2015      9356146
                                         each unit separately.
                                         Youâ€™ll also have a chance to enter different addresses at the end of the campaign for each iBackPack. You can also look at our bulk option for 10 iBackPackâ€™s in one order. Get all your
                                         friends on board or some pretty good savings!
                                         QUESTION: Are all options mandatory or can I configure the iBackPack myself?
 4343811      8/30/2015      9356146
                                         ANSWER: We have three basic versions of the iBackPack. If you want something more, you can visit our accessories page and order what you additionally want from there.
                                         QUESTION: Are you using recycled materials?
 4344109      8/30/2015      9356146
                                         ANSWER: Using recycled pieces is our goal, but we wonâ€™t know how feasible they are until testing is complete. This wonâ€™t happen until after the tooling is made in the fall. The primary
                                         reason they might not be used would be structural.
                                         QUESTION: Will I be able to use the iBackPack in UK/EU/Australia, etc?
 4343707      8/30/2015      9356146
                                         ANSWER: Youâ€™ll be able to use your iBackPack anywhere in the world! Weâ€™re making sure the battery can be re-charged from either a 100v or a 220v outlet. No promises right now on all
                                         of the crazy plug shapes, but we are looking into that.
                                         QUESTION: Are you hiring?
 4343763      8/30/2015      9356146
                                         ANSWER: Yes, we are constantly searching for new individuals eager to work hard. You can check our Career page and if you feel that you can work with us, contact us at any time. We will be
                                         happy to have another creative person in our team.
                                         QUESTION: Is this really going to be delivered by February?

 4343861      8/30/2015      9356146     ANSWER: Yes. We are so excited that so many people are as pumped about the iBackPack as we are, but this level of interest is beyond our wildest dreams. We budgeted extra time in the
                                         process and because we have already hit our goal we can get an early start with our manufacturers.
                                         Weâ€™re still aiming to begin shipping at the end of February 2016/beginning of March. Shipping will be in order they are received.

                                         QUESTION: Will the iBackPack charge my laptop?
 4344105      8/30/2015      9356146
                                         ANSWER: The iBackPack is not designed to charge notebooks through the battery system; however, you can plug in the notebook through the USB lines that plug directly into a wall socket.
                                         QUESTION: How long will the battery last?

                                         ANSWER: The battery charging capabilities depend on how many iPhone, iPad devices you charge before recharging the primary battery.
 4344045      8/30/2015      9356146
                                         The Bluetooth speaker is removable, and with the self-contained battery has +1400 Mah rating good for around 8 hours per charge. It charges separately.

                                         The LED and USB draw very little power, and the smart(er) circuitry you will be able to charge all day without an issue if needed.
                                         QUESTION: Is there a delay to have a "Letterman's iBackPack" created?

 4343750      8/30/2015      9356146     ANSWER: Yes. Each of the letters must be sewn on by hand. Additionally, the individual letters must be ordered from the US manufacturers responsible for making your school letters. Our
                                         chenille letter sourcing partners tell us they can ship letters within two weeks of receiving the order. Add another week or so for our seamstresses to sew the Letter on and youâ€™ll receive your
                                         custom iBackPack Lettermanâ€™s issue.
                                         QUESTION: What are the dimensions and weight?
 4343898      8/30/2015      9356146
                                         ANSWER: The dimensions of the iBackPack are the following: 19.2â€³ x 14.1â€³ x 9.84â€³ and the weight is 3.5lbs.
                                         QUESTION: Are you going to make any bigger/smaller iBackPacks?
 4343695      8/30/2015      9356146
                                         ANSWER: We are always evaluating options â€“ however, right now, the iBackPacks that are offered on this Indiegogo site and on our own ibackpack.co site are all being offered.
                                         QUESTION: Where are the iBackPacks assembled?
 4343755      8/30/2015      9356146
                                         ANSWER: The iBackPacks are assembled in Austin, Texas, USA.
                                         QUESTION: How much money are you expecting to raise?
 4343765      8/30/2015      9356146
                                         ANSWER: Our minimum goal is $50k but we hope there will be much more excitement and consequently more active participants. We are hopeful to be one of the most successful Indiegogo
                                         programs in their history â €“ but . . . realize that a great percentage of those on Indiegogo feel the same way due to their belief in their product.




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                                         QUESTION: Is there a warranty for damaged parts?
 4343714      8/30/2015      9356146
                                         ANSWER: The bag itself has limited lifetime warranty. As far as the electronic parts of the iBackPack are concerned, the manufacturerâ €™s warranty is valid. Of course, there isnâ€™t a warranty
                                         if the iBackPack is damaged on purpose or with violent force etc.
                                         QUESTION: Do I have to take a food container and thermos?
 4343774      8/30/2015      9356146
                                         ANSWER: No, the food container and thermos bottle are optional. You can order them if you want â €“ itâ€™s up to you.

                                         QUESTION: How do I get early bird pricing?
 4343965      8/30/2015      9356146
                                         ANSWER: The Early Bird Special was kind of like a Black Friday super sale, with only a limited quantity on hand. Now the only way to get one is through the Indiegogo page and pledging $165.
                                         QUESTION: Can I pick a color when I order?
 4343879      8/30/2015      9356146
                                         ANSWER: Our backers have voted and selected two additional colors to add to our signature Black! weâ€™ll be reaching out after the campaign closes to confirm your shiipping details and color
                                         choice.
                                         QUESTION: When are iBackPacks expected to ship?
 4343719      8/30/2015      9356146
                                         ANSWER: We expect it will take us six months from the time the Indiegogo programs ends until we are able to complete all shipments.
                                         The first group should be leaving our shipping docks within ninety days.
                                         QUESTION: Do you offer a school or group discount?
                                         ANSWER: Yes â€“ we offer a 10% discount for purchases of 10 or more and a discount of 15% for orders exceeding 25 units.
 4340300      8/29/2015      9356146
                                         QUESTION: What about shipping to Hawaii, Alaska, and Puerto Rico?
                                         ANSWER: Sorry guys but unfortunately the USPS treats you as overseas. For the time being, click on the international option and when everything wraps up weâ€™ll do our best to get you more
                                         accurate (and at least somewhat cheaper) shipping rates.
                                         QUESTION: I didn't include shipping in my original order. What now?
 4340312      8/29/2015      9356146     ANSWER: If you forget to include shipping in your original order, contact us and tell us the personal information that you used to order the iBackPack. We will find your name in our system, thus
                                         will fix the shipping issue.

                                         QUESTIONS: How do you charge the Battery?
 4340272      8/29/2015      9356146
                                         ANSWER: You can charge the iBackPack battery by plugging it into the wall or a car charger. The power pad wireless recharging option is another way to recharge the iBackPack battery.
 4339090      8/29/2015      11800590    Can you tell us how do you advertise your campaign? we wish to get the same results with our project! Thanks
 4337382      8/29/2015      11962086    I hope this bag ends up being as awesome as it looks!
                                         QUESTION: Is the iBackPack going to be made in the USA?
 4343600      8/29/2015      9356146
                                         ANSWER: Regardless of the production location, the design, engineering and fulfillment are all based in the US, along with the sourcing company thatâ €™s helping to make the highest-quality
                                         iBackPack at a price point that is competitive.
                                         QUESTION: I didn't include shipping in my original order. What now?
 4340311      8/29/2015      9356146     ANSWER: If you forget to include shipping in your original order, contact us and tell us the personal information that you used to order the iBackPack. We will find your name in our system, thus
                                         will fix the shipping issue.
                                         QUESTION: What about shipping to an APO address?
                                         ANSWER: Yes, APO shipping is confusing to nail down, but we are working hard on it. If you want an iBackPack, just back at the US option to lock in your early order number.
 4343586      8/29/2015      9356146
                                         Weâ€™ll reach out with an updated shipping estimate prior to the campaign close. If it ends up being more than you want to pay you can cancel it at anytime.

                                         QUESTION: How do you charge the battery?
 4340248      8/29/2015      9356146
                                         ANSWER: You can charge the iBackPack battery by plugging it into the wall or a car charger. The power pad wireless recharging option is another way to recharge the iBackPack battery.
 4334983      8/28/2015      8007983     Will the power banks be accessible, and or serviceable? Where are they located.
 4336325      8/28/2015      11766005    hello i send email at Arlene Andrews for add new components...thanks to read my email..best regards
 4331107      8/28/2015      10407699    Keep the awesome work going!
 4332084      8/28/2015      11721820    @ Brandon Seet - Thank you Brandon. Our iBackpack team loves the appreciation. Please feel free to ping us if you have any questions at all. We would be more than happy to help!
                                         @ ercangueven - Hello. As for your question, the bag's working dimensions, are estimated to be 19.2â€³ x 14.1â€³ x 9.84â€³, which can comfortably fit a 15.6" laptop. When empty, it will weigh
 4332166      8/28/2015      11721820
                                         approximately five pounds and will be able to carry up to 50 ki
                                         Can you tell me how the hotspot works?
 4335623      8/28/2015      7491159     Is this an additional service we need to sign up for?
                                         Also,will this work outside the USA in Asia?
                                         @ Ray DeForest- Hey Ray. We are hopeful to have many colors. However, it all depends upon the total number of pledges we receive for the iBackPack. It appears we are only going to be able to
 4330588      8/28/2015      11721820
                                         offer the Black color for now. Should we be able to receive Vent
                                         How does the "multiple carriers 3g/4g hotspot" functionality work? What is the cost of the data plan?
 4336982      8/28/2015      7370008
                                         As a T-Mo customer, I would be overjoyed by a hotspot that could "roam" between T-Mo, VZW, and ATT...
 4326535      8/27/2015      11726051    id love this but its not big enuf. my lapto is big 17.5'' and almost 2'' thick
 4327522      8/27/2015      1352301     This campaign looks very interesting with the different types of technologies being used all in one package.
 4323838      8/27/2015      11733621
                                         @Johan Min - On behalf of the team, I thank you for such enthusiasm. And yes, we do look forward to reaching $500k and go beyond that. Hope you continue to help us in achieving this!
 4318736      8/26/2015      11582918    so excited, let me know if there is any beta test you need done from NY
 4323032      8/26/2015      9332156     can I ask... do we know what colors will be available for the 199.00 ? When would we pick our color? THX
 4316586      8/26/2015      9735689     Hi ! This is my second pledge now .... Is it possible to have just one international shipment ( low-cost or the same price? 50$ x 2 ?)
 4322987      8/26/2015      11939704
                                         this is a great product and i want to orderr it..just wanted to ask how does it suopport laptop charging as i only see usb points, does it automatically adjust to different watts of different laptops?
                                         @ mag7_44203 - Hey Mag! No worries at all. Would like to leave your email address down below so that we can keep updating you with our latest and greatest advances? This way you'll be sure
 4315425      8/26/2015      11721820
                                         to catch what other versions and sizes of the backpack we come up
                                         Hi.
 4315699      8/26/2015      6023477
                                         Why dont you use sun cell to the new ibackpack.
 4315792      8/26/2015      11875938    Regarding the GPS + SIM card, do I need a separate paid subscription to a cellular service provider to use the GPS tracking feature?
                                         @ Harold Brown - Hey Harold. Our $149 Power BackPack version does indeed contain a GPS system including the SIM card. I hope this answer your questions! Also, We're sorry for causing any
 4315411      8/26/2015      11721820
                                         inconvenience and our team will look into this right away so that we
                                         @Shanze I made my pledge a couple of days ago. I wanted to know when the campaign would charge my credit card and if I would be receiving a receipt/invoice of the pledge other than what
 4317448      8/26/2015      11615629
                                         was sent via email. Thanks
 4323332      8/26/2015      6101735     Looking forward for this geek stuffs, good luck chaps
                                         Hi, can you please tell me which laptop sizes fits into the bag?
 4322753      8/26/2015      8521712
                                         14,15,17? Greetings
                                         @Maik Carretero - Hi Maik! If you mean solar panels, you'll be able to purchase those as add-ons very soon. We're just working on all our Accessories' details, and we'll update everyone via our
                                         website and our other social media sites.
 4320282      8/26/2015      11733335
                                         Have a great day!
 4315276      8/26/2015      11766005    j'adore votre projet et je vais m'en servir tous les jours dans mon travail et faire des envieux !! j'espere qu'on depassera les 500 000 $ pour voir le nouveau bonus...
                                         Would you please confirm something for me? Your website (http://ibackpack.co) specifically states that the iBackPack â €“ Power BackPack ($149 pledge level) includes GPS (including SIM
 4309828      8/25/2015      1566911     card). Your indiegogo campaign site description does not make mention that GPS is included in the Power BackPack. I would like to know which is correct, GPS or no GPS for the Power
                                         BackPack prior to making a pledge.
                                         @ mag7_44203- Hey Mag! At this time, we are finalizing the bag's working dimensions which are estimated to be 19.2â €³ x 14.1â€³ x 9.84â€³. So it can comfortably fit a 15.6" laptop. When
 4309776      8/25/2015      11721820
                                         empty, it will weigh approximately five pounds and will be able to ca
                                         Please clarify...on the right side of screen under "select a perk" it says the $140 iBackPack has (2) 8k mah batteries...on the bottom of this page under "Perks" it says the $149 iBackPack has (2)
 4309186      8/25/2015      11925125
                                         mah batteries...
                                         Question about the wifi version. When I am at home or office I would prefer to use my home or office internet can there be something auto setup whereby the backpacks wifi automatically
 4309746      8/25/2015      9606348     dropped when in the presence of home or office wifi and then automatically returns when those wifi signals disappear. Right now I use my phone as a hotspot and it stops my phone from
                                         connecting to my home and office wifi networks, if it is being a hot spot.
                                         Thanks for the quick response Shanze! If the Wi-Fi version fit a 17" laptop,
 4308915      8/25/2015      11648395
                                         I'd buy it!
 4310201      8/25/2015      11648395    Unfortunately Shanze, I have a 17" laptop and it won't fit. Too bad, I would have bought the backpack otherwise, especially at the $199 price. Thanks anyway.
                                         @ mag7_44203 - Hi Mag! As of now our standard backpack is all set and ready to hit the market in March 2016 but I'd be happy to pass on this suggestion to our design team so they can take it
 4308865      8/25/2015      11721820
                                         from there. Let me know if you need anything else or have any mo
                                         Hello, Please clarify...on the right side under "Select a Perk" it says the $149 iBackPack has (2) 8k maH batteries...on the bottom of the page under "Perks" it says the $149 iBackpack has (2) 6k
 4309243      8/25/2015      11925125
                                         maH batteries....?
                                         If all goes well, do you have any plans to eventually develop a version
 4308674      8/25/2015      11648395
                                         that will fit a 17" laptop?




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Hello..

                                         Very nice product! :-D

                                         But i have one question: In the story, you write that we can get up to 40.000 mAH in the bag.. But in the pledge's there only 1 x 10.000 mAH, or 2 x 8.000 mAH..

 4302815      8/24/2015      10714648    How should we understand this?

                                         ... And if it is accessories, where/when can we se the prices on these/buy them..

                                         Thaanks' - And keep on movin' with the awesome job!

                                         // Simon
                                         Hello..

                                         Very nice product! :-D

                                         But i have one question: In the story, you write that we can get up to 40.000 mAH in the bag.. But in the pledge's there only 1 x 10.000 mAH, or 2 x 8.000 mAH..

 4302814      8/24/2015      10714648    How should we understand this?

                                         ... And if it is accessories, where/when can we se the prices on these/buy them..

                                         Thaanks' - And keep on movin' with the awesome job!

                                         // Simon
                                         @Simon Kristensen
 4304684      8/24/2015      11732926
                                         Hi Simon, our accessories shop is in development and should be online very soon on our website http://ibackpack.co/.
                                         @Chris Perkins
 4304724      8/24/2015      11732926
                                         Hi Chris. I wanted to check out your project but this link doesn't seem to work :-(
 4306601      8/24/2015      9152130     thanks for your reply slaven
                                         @robert batista
 4304719      8/24/2015      11732926
                                         Hi Robert. Technology is charged up by a Powerbank thatâ€™s compatible to any iOS, Android or Windows gadget and it's based on technology similar to that of Teslaâ€™s latest battery
                                         innovation.
 4301423      8/24/2015      6806295     It seems epic, but when are u going to use a speaker in ur backpack? Like, wouldnt it be awkward to listen to loud music while walking in public?
 4304288      8/24/2015      9152130     How will all the technology in the backpack be charged up? Like say what charges your mobile devices.
                                         @Magnus Wiborg
 4304681      8/24/2015      11732926
                                         Hi Magnus. Well, for example you can have your own private party around the backpack. Also speakers are connected to the anti theft system. When your backpack is stolen you can start and
                                         control alarm sound from the included mobile app sui
                                         Get your campaign rolling with one of the great specially designed social media marketing & crowdfunding services offered by the tens of UK and USA based freelancers and marketing agencies
 4304897      8/24/2015      11921516
                                         at http://bit.ly/1Lp4c6o ; 100% Money back guarantee on all orders!
 4304430      8/24/2015      9152130     ay I see this cooperation could not resist to get my ibackpack I'm happy
                                         @ David Landes - Hi David. Yes, you can recharge the batteries with a solar panel if it produces an output of 5V and 1A, therefore you should not be having any problems charging the batteries
 4301087      8/24/2015      11721820    at all. Thanks David.
                                         Give us a shout out if you have any more
                                         @ drlab - Hey David, This is Shanze Gillani, The Executive Assistant to the CEO. I ran a quick search on your order status and yes your order has been confirmed! Now we say that you just get
                                         ready for March 2016. We hope you're as excited as we are!
 4301134      8/24/2015      11721820
                                         Let
                                         Hi you have a very nice project i had one of my friends donate to your campaign it because he loves this type of stuff. I was wondering if you can mention our campaign to your funders so they
 4302630      8/24/2015      11854352
                                         can check out our campaign as well here is the link Please can you help us http://igg.me/at/Hiddentalentfilm/x/11854352 THIS IS OUR DREAM
                                         What is the difference between the
                                         99$ iBackpack Starter and the
 4296350      8/23/2015      11910085
                                         149$ iBackPack PowerBackPack ?
                                         Thanks
                                         @Batbel Temporary
 4297962      8/23/2015      11732926
                                         Hi Batbel, main difference is that 99$ iBackpack Starter has 1x10000 mAh battery and 149$ iBackPack PowerBackPack has 2x8000 mAh batteries. Also features of the mobile app on 99$
                                         iBackpack Starter are limited.
                                         Would you please confirm something for me? Your website (http://ibackpack.co) specifically states that the iBackPack - Power BackPack ($149 pledge level) includes GPS (including SIM card).
 4297634      8/23/2015      1566911     Your indiegogo campaign site description does not make mention that GPS is included in the Power BackPack. I would like to know which is correct, GPS or no GPS for the Power BackPack prior
                                         to making a pledge.
                                         Hey,
 4298018      8/23/2015      5837726     Looks like a great product idea.
                                         However, living in Europe I am concerned about the conformity of the WiFi hotspot. This as US and Europe have slightly different frequencies - especially in 3G.
 4295776      8/23/2015      11544721    I wanted to order 3 starter backpacks @$99 each and one Power BP $149. Total $446. Please confirm this order. Thank you david
                                         Would you provide additional details on the included retractable power cord? It appears that the retractable power cord includes a mini-USB tip. Are there plans to offer an Apple Lightning tip for
 4297647      8/23/2015      1566911
                                         the retractable power cord?
                                         @Harold Brown
 4297977      8/23/2015      11732926
                                         Hi Harold, we are planning to include the adapter through our accessory shop.
 4296338      8/23/2015      8260513     Can you recharge the batteries via a properly sized solar panel?
                                         I've been thinking about funding your project but I'm concerned about the ports on the side of the bag. I see that there are plugs to insert to keep things dry but I'm sure I will lose those. Have you
 4295723      8/23/2015      8643959
                                         guys every thought about having a flap to cover the ports or some special spot to store the covers when not in use?
                                         What is the difference between the
                                         99$ iBackpack Starter and the
 4296312      8/23/2015      11910085
                                         149$ iBackPack PowerBackPack ?
                                         Thanks
                                         @Gail Hartmaier
 4297979      8/23/2015      11732926
                                         Thanks Gail, we are really excited too. Glad to have you on board!
                                         @Denis Smerdov- Hey Denis! We will be offering select WiFi packages very soon so you can get the best of rates, and we are happy to share that we are working on providing discounts on
 4298577      8/23/2015      11721820
                                         international internet access plans too. With that in mind you can alw
 4298017      8/23/2015       820067     This WiFi staff is really works only for US? Does it makes sense for Europe, Germany for example?
 4295976      8/23/2015      11909604    I think this is an innovative, much needed creation. I look forward to owning it. I truly hope it is worth the money.
                                         @George Buckley
 4293215      8/22/2015      11732926
                                         Hi George, I am Slaven Beram â€“ UX/UI designer with the iBackpack. We are going to have a range of colors and also the possibility of customizing the backpack. Watch out soon for our
                                         announcement on Facebook Customize iBackpack competiti
                                         @Alexander Leehr
 4293213      8/22/2015      11732926
                                         Hi Alexander, I am Slaven Beram UX/UI designer of the iBackPack mobile app. Well thatâ €™s certainly a great idea and something to think about. Can you think of any other features that you
                                         might find desirable? You are using windows exclu
                                         No windows app suite? Why not? im a digital artist and travel a bit, i carry a wacom cintiq companion and would love something like this to compliment its capabilities on the go. Without
 4292644      8/22/2015      11903106    prospective windows app support i wont be on board. Are here any future plans to have Microsoft cloud and store access, or skydrive access? cool idea, just think you're missing out on a big
                                         demographic.
                                         Hi
                                         Thanks for replying earlier.
                                         I have a few queries?
 4294103      8/22/2015      6663927     1) Is it possible to charge laptops with this & also upto what size of laptops can we fit in this bag?
                                         2) Is the shipping included in the 199$
                                         3) What about Customs & Import tax for India ? Will they be included in the shipping charges?
                                         4) Are you going to have a service Partner in India? If yes, have you finalized and which city
 4294621      8/22/2015      11732926    @Jamie Davidson Hi Jamie, we are planning to have repair centers worldwide!




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                              Project
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                            Commenter
Comment ID   Created Date
                            Account ID
                                         I'm in! I'm a traveller and this kind of bag is my dream!
 4292564      8/22/2015      8542374     I've got a question about 3G/4G access. How does it work? I think it's a SIM card slot, is it correct?
                                         Good luck and please, please: give us often some news!
                                         @George Buckley
 4293211      8/22/2015      11732926
                                         Hi George, I am Slaven Beram - UX/UI designer with the iBackpack. We are going to have a range of colors and also the possibility of customizing the backpack. Watch out soon for our
                                         announcement on Facebook Customize iBackpack competitio
                                         No windows app suite? Why not? im a digital artist and travel a bit, i carry a wacom cintiq companion and would love something like this to compliment its capabilities on the go. Without
 4292646      8/22/2015      11903106    prospective windows app support i wont be on board. Are here any future plans to have Microsoft cloud and store access, or skydrive access? cool idea, just think youâ€™re missing out on a big
                                         demographic.
                                         Looks fantastic. I want to customize, but I'm a game developer and the sales professional extras are irrelevant. Would it be possible to add a similar version for software engineers & tech
                                         developers?

                                         Can't donate yet though:
 4293785      8/22/2015      11905236
                                         I need to see a talking head, not just stock footage & audio.
                                         I need to see a video of a product prototype in action.

                                         FYI The "be a better boyfriend" and "Impress the hottest looking girl in school" are sexist (male targeted) and degrading (awkward tech guy stereotype).
                                         5) Can you tell me if the Mi-Fi Wifi router will be inbuilt with the GPS or the GPS is a separate module with an independent sim-card and will that sim-card will be from India purchased by me?
                                         coz a USA sim-card would then be on International roaming.?
 4294104      8/22/2015      6663927
                                         I really like your product and would love to try it out but after I get these answers. Thanks in advance.
                                         We got my son a backpack from Duluth Trading which was big but did not realize when we got his laptop for college that it would be too small for the laptop.
 4294952      8/22/2015      10708466
                                         It looks like it will fit but he has an alienware 17 and we are curious if it will fit as this is a VERY nice design and he might be able to keep books for a class and his laptop in one bag.
                                         @Mathew Gollow - Hi there. We have worked on having the WiFi device easily detachable so you can replace the simcard whenever you want. This way it operates on your preferred ISP sim
 4293286      8/22/2015      11721820
                                         card. The speakers are built-in but the battery banks are detachable, ho
                                         I need to cancel one order I ordered the wrong one. I want the iBackPack Wi-Fi Version not the other.
                                         How do I do that?
 4293876      8/22/2015      11905498
                                         Sorry for the mixup
 4293648      8/22/2015      11905127    What dimensions does this backpack have? I'd like to know if my 17.3in MSI GS70 would fit, thanks in advance!
                                         @Evan Lefevre Hey Evan, Josh here with ibackpack the 3g 4g access will be via Sim card slot so you are correct there. Thanks for supporting the project this far. To stay up to date on everything
 4292828      8/22/2015      11623051
                                         ibackpack make sure you are following us on all of are soci
                                         Hi there @Mathew Gollow - Ron here. We have worked on having the WiFi device easily detachable so you can replace the simcard it operates on to your preferred ISP sim card. Most of the
 4293326      8/22/2015      11733621    features are seamlessly integrated into the backpack but that is a great suggestion. I would be happy to pass that along our design team so they can take it from there. Thanks for leaving us a
                                         comment Matthew.
                                         @Shanze Gillani
 4292175      8/22/2015      1616612     Hi, This seems like an amazing product. I was just wondering if any part of the back pack removable? e.g. speaker/wifi to either reduce the weight of the backpack or if I only want to use the wifi
                                         hotspot and not the backpack.
 4294146      8/22/2015      11906606    hello, i just wondered if there will be any repair places in the uk?
                                         @ Derrick Houston - Thank you Derrick! We love the support and we are sure that this backpack will keep you recharged and connected no matter where you are! So we're glad you're excited.
 4292042      8/22/2015      11721820
                                         Give us a shout out if you have any more questions. I would be more
                                         @Alexander Leehr
 4293197      8/22/2015      11732926
                                         Hi Alexander, I am Slaven Beram UX/UI designer of the iBackPack mobile app. Well that's certainly a great idea and something to think about. Can you think of any other features that you might
                                         find desirable? You are using windows exclus
 4292288      8/22/2015      2858581     what are the color options for the backpack?
                                         Hello There! I'm Greg, a marketer (SMILE) (Social Media Interactive Link Experts:) (buy the name from me if you like it!:) Do you have an affiliate program yet? Such an amazingly useful and
                                         creative product!
 4289367      8/21/2015      11495686
                                         -----> Personal Request: (I also have a creative project here too. Will you support my crowdfund as well? Thanks!:)
                                         http://igg.me/at/Black-Broke-Gifted
                                         Hello - I purchased the $150 version but would like to upgrade to the wifi version of the back pack. Can I simply increase my pledge via the app or do I need to cancel the initial pledge and
 4288843      8/21/2015      10283913
                                         restart?
                                         I think this is a great idea and I would considering pledging $200, however I would like to know what the monthly fees might be like. I have Sprint and already pay $120/month for unlimited
 4290896      8/21/2015      11899680    everything (with insurance and what-not). How much extra will the charge me to provide data do the unit? Will it be unlimited? Will I only get 5GB/month and then get slammed with overages if I
                                         do go beyond that? Please clear up and you may have another pledge :D -Joe
                                         My job requires a lot of travel and often to locations with little to no internet access nor power for the many tools that I use, this will revolutionize what I carry, how I carry it and my ability to stay
 4288834      8/21/2015      11615629
                                         connected while working!
 4290245      8/21/2015      11879478    I'm buying this when it comes out, I need help with my project I'm trying to get funded.
                                         @Khadeem Bernard- Hi Khadeem, the GPS system is controlled by an app and therefore requires internet access to operate. But in case where internet access is unavailable, our Bluetooth
 4288941      8/21/2015      11721820    Proximity Locator can kick in but that works in a limited distance.
                                         As
                                         @ Max Bowman - Hi Max. Ideally all the deep discounts and latest offers are pushed through our iBackPack app. Therefore you will have full access to all of these amazing offers when the bag
 4289038      8/21/2015      11721820
                                         ships to you and hits the market. So we hope you're all set for
                                         @ Rahul Rai - Thank you for your question. The Mi-fi works with a sim card. The sim card size will be 3FF and 4FF. Since all mobile carriers support these formats, including International
 4288477      8/21/2015      11643934
                                         carriers, it will work perfectly well in India too. Moreover our GP
                                         @ Russ Hill - Hi Russ! Thank you so much for your appreciation and support! We are sure that with the iBackPack you will never lose power regardless of where you are so you can always stay
 4288974      8/21/2015      11721820    connected.
                                         Let us know if you have any questions or suggestions!
 4290674      8/21/2015      11899111    I can't wait to get this backpack. I am never going to be in my home office again!
                                         @ Joe Oliveri - Hey Joe! We will be offering select WiFi packages very soon that will compliment your use of the iBackPack, and we are happy to share that we are working on providing
 4291978      8/21/2015      11721820
                                         discounts on international internet access plans, at the very least. Th
 4289215      8/21/2015      11615629    When will the credit card be charged and when it is will I receive a more detailed receipt?
                                         Hi Mohammed Mangerah,
 4288266      8/21/2015      11732986
                                            Will check what can we do for you. We will get back with a response shortly.
 4290297      8/21/2015      11879478    I'm buying this when it comes out, I need help with my project I'm trying to get funded.
                                         FIrst off great product thank you for makeing possible. I was wondering of media controls could be placed in the right armband to control the music and volume. Also does the GPS location
 4288486      8/21/2015      9888939
                                         features work if we do not active the mifi to a service?
                                         @Khadeem Bernard- Hi Khadeem, the GPS system is controlled by an app and therefore requires internet access to operate. But in case where internet access is unavailable, our Bluetooth
 4288934      8/21/2015      11643934    Proximity Locator can kick in but that works in a limited distance.
                                         As
                                         @ Rahul Rai - Thank you for your question. The Mi-fi works with a sim card. The sim card size will be 3FF and 4FF. Since all mobile carriers support these formats, including International
 4288428      8/21/2015      11643934
                                         carriers, it will work perfectly well in India too. Moreover our GP

                                         I backed iBackPack for what looks to be great product. Having been a victim of theft were my bag was stolen with my new laptop at the time (https://www.youtube.com/watch?v=XPVHBOFEojk).
 4288032      8/21/2015      7295453
                                         I backed the campaign assuming that the funds would be taken out once the campaign ends, due to my current financial situation, I would not be able to afford the bag at the moment therefore I
                                         was wondering if I could get a refund for now.
                                         Many Thanks
 4288560      8/21/2015       719540     Will users start to having access to the 3rd party discounts when the campaign ends or when the bag actually ships?..Can't wait for a killer bag!
                                         If you would like an email with over 50 Twitter contacts who tweet about Tech crowdfunding campaigns, Over 50 Tech Press email addresses, plus music, film, and tech contacts. Contact me or
 4288870      8/21/2015      10447118    order through a $10 donation through paypal.
                                         cholter7@gmail.com
 4282587      8/20/2015      11727915
                                         Hi @Cyrus Perez: there is a incentive for the 5x option. If you were to pledge to get the 5x you would get 1 for free. You can find other information and different changes under the updates tab.
 4285603      8/20/2015      9630033     Do you accommodate for Australia in the GPS and are the wall charger plugs in US standards only.
                                         @ Nicholasl99 - will consult with my technical colleagues and will get back to you with an answer asap
 4287370      8/20/2015      11732986
                                         @Davidovoded - yes, it will work with 3FF or 4FF sim card size - all Mobile carriers support these formats. Yes, will work with International c
                                         This looks like a great pack. But one thing that bothers me about so many computer packs is that they don't have a hip belt to more effectively distribute the weight. So hauling my computer
 4282820      8/20/2015      5914949     through airports means it's mostly hanging off my shoulders, which becomes painful by the end of the day. Have you considered putting a solid hip belt on this pack (even a removable one)? I'm
                                         not talking a flimsy piece of webbing, but a supportive hip belt that would make wearing it feels so much better.
                                         @Eric Ibsen-Johnson
 4287439      8/20/2015      11721820    Hello Eric. Thank you so much for your appreciation and support!! This is Shanze Gillani, the Executive Assistant to the CEO. I am also as excited as ever so that makes the two of us! The
                                         iBackPack team wishes you happy birthday in ad
                                         @ Juan Barona - I can't really say at the moment. But it will be highly appreciated if you visit this campaign page once in a while or our website to see what the decision of the team will be.
 4284497      8/20/2015      11733621
                                         Thanks.
 4286601      8/20/2015      7733916     How does the wifi version work? Can I put any sim-card in the MIFI device? What kind of a simcard will that be? Will that work with international carriers as well?




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  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
 4284603      8/20/2015      5274102     will you be making a compatible windows phone app?
                                         @Tom Morgan
 4282982      8/20/2015      11727915    Thank you for letting me know my email is not working. I will look into what the problem is. About the bulk pricing, thank you for your advice and we will have our marketing team look into it. Stay
                                         tuned if a decision is made.
                                         @Israel Ramirez
 4284393      8/20/2015      11727915    B2B contacts are Business to Business contacts. All of the contacts are downloadable for our database. http://ibackpack.co/sales-professional/ Here is the link to get all of the information on our
                                         contacts.
                                         @Israel Ramirez
 4284404      8/20/2015      11727915    B2B contacts are Business to Business contacts. All of the contacts are downloadable for our database. To get all of the information on Our B2B contacts database visit our website under Sales
                                         Professional. Thank you for your asking that qu
 4283399      8/20/2015      4779589     Hi, I'm curious about what iBackPack-starter is. Do you get the parts to build your own iBackPack? Or is it an early bird-special?
                                         Hi @Andy Quayle
 4284456      8/20/2015      11727915    The iBackPack is TSA approved. This meaning you should have to many problems going through airport security. Yes there are wires but nothing that would look suspicious. Thank you for your
                                         questions.
 4285565      8/20/2015      11733621
                                         @Erik H who asked about the iBackPack Starter 7 hours ago - it's a limited time offer for a Standard iBackPack model. You can check on the details in the perks description section. Thanks.
                                         @Eve Breckenridge
 4283635      8/20/2015      11727915
                                         Theres no need to worry. You ordered the Wi-Fi version.
 4282456      8/20/2015      11845081    Buying 2 saves you ~$20, buying 10 gives you 3 free. Why is there no discount/incentive for the 5x pledge option?
                                         Hi, my name is Slaven Beram. I am a UX/UI designer with iBackpack and I'' be happy to answer any of your questions especially about the included mobile app suite.
 4287487      8/20/2015      11732926
                                         We are all really excited that our project has come this far and I thank you for all the support :-)
                                         I want to buy the wi-fi version but want to know first if the Mi-Fi only for USA & the sim for the GPS tracker is for USA or what. I am from India and would like to know before I make a purchase.
 4284602      8/20/2015      6663927
                                         Thx in adv.

                                         Hi,
 4287353      8/20/2015      11732986
                                          My name is Oszkar Miklos, the Wizard of Oz :) Iâ €™m a designer and Iâ€™m part of the iBackpack team and more than happy to answer to your questions:

                                         @Melinda Sultana - The GPS will work in Australia also and the charger plugs will be Universal Wall Charger - just like in the image we have near the battery ( 1-st picture from the features)
                                         @Israel Ramirez
 4284396      8/20/2015      11727915    B2B contacts are Business to Business contacts. All of the contacts are downloadable for our database. http://ibackpack.co/sales-professional/ Here is the link to get all of the information on our
                                         contacts.
                                         Can I get a little more infor about internal power connectors.

                                         I have a use where I have devices that are powered by USB 1amp that that I want to keep fully or near fully charged all day. I want them inside the backpack. will i be able to hook into the battery
 4282737      8/20/2015      9606348     packs from internal connectors.

                                         How easy will the battery packs be to charge. I currently have several external batteries. some have built in wall connectors some need usb chargers and can be a real pain to charge when away
                                         from home.
                                         @Israel Ramirez
 4284394      8/20/2015      11727915    B2B contacts are Business to Business contacts. All of the contacts are downloadable for our database. http://ibackpack.co/sales-professional/ Here is the link to get all of the information on our
                                         contacts.
 4284008      8/20/2015      10074673    I know im probably asking a stupid question but what is B2B contacts?
                                         @Zachary Ard
                                         I just tried to e-mail you at Zach.Ard@ibackapck.mobi
                                         Frontier/Yahoo bounced it back
 4282708      8/20/2015      8393516     <Zach.Ard@ibackapck.mobi>:
                                         No MX or A records for ibackapck.mobi

                                         Question: Is the 10K mAh spec on the 10+3 correct or a typo? Says Buy 10 get 13 iBackPack
                                         @ Eric Ibsen-Johnson - Thank you so much for your appreciation and support!! This is Shanze Gillani, the Executive Assistant to the CEO. I am also as excited as ever so that makes the two of
 4287441      8/20/2015      11721820    us! The iBackPack team wishes you happy birthday in advance.
                                         My
                                         Can i get a little more information on the data wifi for the backpack. I had a wifi box from verizon years ago that I was able to create a wifi hotspot with wherever I could get a cell connection. I
 4282694      8/20/2015      9606348     paid $20 per month i used it. I am in Canada now and I am wondering can i put a telus chip in the system or is it unlocked such that i can use it to connect to my telus account. I have a corporate
                                         account so it only costs me $10 per month to add another line.
 4284608      8/20/2015      5274102     will you be making a compatible windows phone app???
 4286040      8/20/2015      7999555     With the WIFI model, would there be a seperate charge for the internet access?
                                         Hi @Marcel - We will contact you to see which color option you would like to choose. The exact date on when we will contact you has not been decided but it will most likely be after the campaign
 4282723      8/20/2015      11727915
                                         is over. Thank you for asking that question.
                                         Zachary Ard Sorry to be a pest - I'm reading through your information/updates.
                                         FYI - your Bulk Pricing - whoever came up with the program -

                                         5+1
                                         10 + 3 = 1 free per 3.333 paid bags
                                         25 + 5 = same as 5+1, i.e. 1 free with per 5 paid bags.
 4282755      8/20/2015      8393516
                                         If you made that 25 + 8, it would be 1 free per 3.125 bags.

                                         As it stands, the 25 + 5 works against you getting the larger volume orders vs the 10 + 3.

                                         Just the Marketing/Sales/Numbers guy in me.
                                         -Tom Morgan
 4282223      8/20/2015      7741528     How could I choose color in this perk?
                                         I don't know if anyone asked yet, or if it has been covered.
 4284380      8/20/2015      9727208     How will the back pack look going through Airport security?
                                         Surely there are a lot of wires etc. in there that could be construed as suspicious?
 4282247      8/20/2015      7677429     Looking forward to receiving my backpack and seeing the choice of colors and designs. Great job on the features!
                                         @Susanna Maida
 4282868      8/20/2015      11731383    Dear Susanna, there will be the waist belt on our iBackPack for support and also to strap it on the iScoot option we will have on Accessories page that is under construction. It will be one of our
                                         updates coming soon for all iBackPack versi
                                         Zachary Ard - I just read update 1 so that answers that question.
                                         Do you know about the e-mail glitch?
 4282741      8/20/2015      8393516
                                         -Tom
                                         Hi, my name is Slaven Beram. I am a UX/UI designer with iBackpack and you can ask me any questions especially about included mobile suite. I am really excited for our project to come this far
 4287483      8/20/2015      11732926
                                         and thank you for all your support :-)

                                         @Cyruz Perez
                                         Dear Cyruz,
 4282977      8/20/2015      11731383    We have a new update on the Updates page, where you can see that the option for x5 has changed to 5+1 perk. We are sorry it is not updated on the main page, but we are woking on that.
                                         Have a nice day!
                                         Neda Smolovic
                                         Director of Des
 4285980      8/20/2015      11890008    I can't wait for March 2016!!! What a great Happy 40th birthday present!!!
 4283511      8/20/2015      5048903     Please refund first purchase. I ment to order wifi
                                         Looks fantastic.
 4282504      8/20/2015      9358475
                                         If possible, think about adding reflective elements either standard or as an option. It would be great for kids and for anyone who commutes on bikes or motorcycles.
                                         Hi, my name is Slaven Beram. I am a UX/UI designer with iBackpack and Iâ €™ll be happy to answer any of your questions, especially about the included mobile app suite.
 4287490      8/20/2015      11732926
                                         We are all really excited that our project has come this far and I thank you for all the support :-)

                                         Hi ! When it will be possible to choose the color of my Iback pack? Do you provide also power for European standard? As you know here in Europe we use 220W instead 110 of USA.
 4282350      8/20/2015      9090654     Thanks for your answers!
                                         Best
                                         Tommaso
                                         @Israel Ramirez
 4284392      8/20/2015      11727915    B2B contacts are Business to Business contacts. All of the contacts are downloadable for our database. http://ibackpack.co/sales-professional/ Here is the link to get all of the information on our
                                         contacts.
 4283766      8/20/2015       502305     @ Ronald Aldiano Thank you for the reply. I understand what you're saying. Would you guys be offering the 17'' version as a perk or after the campaign?




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                         Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         @ Neil Lindholm who asked about our power voltage 4 days ago as follows: "The video states a 110V recharging system. Is this still the only option? If so, it makes this backpack kind of useless
 4277218      8/19/2015      11733621
                                         for International traveling. Hopefully it will have the optio
                                         Hi, I've been looking for a GPS secured backpack for some time so I'm curious how the anti-theft feature works. Is it through an app (iOS/android support?) and is there a monthly subscription
 4277075      8/19/2015      11875938
                                         fee? Most GPS anti-theft trackers I've seen require a subscription.
                                         Hello,
 4277937      8/19/2015       502305
                                         Do you guys plan to have a version that fits a 17'' laptop?
                                         Hello,
 4277939      8/19/2015       502305
                                         Do you guys plan to have a version that fits a 17â€™â€™ laptop?
                                         Have you considered including a waist strap as part of the design. This seems to be a much needed feature overlooked by companies making business backpacks but standard for hiking
 4281804      8/19/2015      3438291
                                         backpacks. This would make a big difference in terms of comfort to avoid neck and shoulder strain.
                                         @tr71158 from 20 hours ago - If you're pertaining to our iBackPack Buyers Club where you'll be entitled to various 3rd party discounts, all the iBackPack Models have that included. You can
 4277184      8/19/2015      11733621
                                         check on the details on our Story Page, specifically the "iBackpac
                                         Hi @Juan Barona - Yes, we do. We've been looking into it as part of the variations of iBackPack. We did need to focus first on our flagship product now so we hope you can support this first so
 4278284      8/19/2015      11733621
                                         we can further develop more models. Thanks so much for asking that question.
                                         Congrats on a great concept? Two crucial questions:
                                         Will this charge a USB-C product like the new Apple MacBook?
 4280768      8/19/2015      7774429
                                         Will the MiFi 3G/4G WiFi cellular router work on 4G LTE networks like those in the UK and Europe.
                                         Thanks!
                                         Few questions :
                                         - WiFi hotspot ? Will it work in Europe / France ? Can we add a french SIM card ?Do you already have some nogociated prices with french providers
                                         - 1 or 2 batteries needed in the backpack ?
 4281863      8/19/2015      9798356     - Retractable power cord : picture is with micro USB port ; is it available with iPhone port ?
                                         - Universal wall charger : is it a specific item , or the charger for the backpack ?
                                         - Why only 110V power cord ? For european customers, it's important to have 220V feature
                                         Thanks for your response
                                         Helloï¼Œ
 4270139      8/18/2015      10193622
                                         I'm in China, how much of the shipping fee?
 4273424      8/18/2015      11864144    Hey. Great product! Does the bag have storage for files such as MP3 which i can then use bluetooth headphones to access? Is the only audio bluetooth speakers?
 4271696      8/18/2015      11727915    @Carlos: Yes you can turn off all of the wave-emoting devices. You will be able to do this with the help of the app.
                                         @Jake Silverthorn who posted a shipping question 1 day ago - Yes, we will be shipping to Canada as well. It will be covered by our international shipping cost at $50. Thanks for asking. - Ron,
 4271649      8/18/2015      11733621
                                         Social Media Manager
 4271313      8/18/2015      3874135     Thank you too, Doug.
                                         @Mark Vadney who posted a great suggestion 13 hours ago - Again, Ron here. Nameplates and Embroidery sounds great. Embroidery may not quite go with the overall theme of our current
 4270204      8/18/2015      11733621
                                         iBackPack models. Also, we did choose chenille lettering and patches not o
 4271803      8/18/2015      11412781    ok, many Thanks.
                                         Hi there @Gerald, Ron here. As the Social Media Manager of iBackPack, I'd like to mention that we do have a Referral Program for iBackPack. Not quite sure if you mean anything differently by
 4270172      8/18/2015      11733621    mentioning a "Referral Draw". That said, I would suggest going to our www.ibackpack.co site LIVE CHAT and we can discuss the details there so we can communicate more properly. Have a
                                         good day and thanks for visiting our page. Hope we have your support! ^_^
                                         @Joshua Kifer I know you posted your contact information and this might be a question that many have so does the power pack option have the deep discounts too or is it just for the wifi
 4272791      8/18/2015      11765634
                                         version? Thanks for any feedback
                                         @Mike Kauchak
                                         Dear Mike, we are happy to inform you that we have updates on our Indiegogo page coming soon, and that you will be the first one to get 6 backpacks for the price of 5 :).
 4270433      8/18/2015      11731383    We hope that you will enjoy your iBackPack adventure!
                                         Neda Smolovic
                                         Di
 4270385      8/18/2015      11727915    @Xiao: The price of shipping to China is $50 or it is 319.68 Chinese Yaun. Thank you for visiting our page and hope we have your support!
 4270623      8/18/2015      10150062    I'm interested in your backpack, but the 3G/4G data rates are a make-or-break feature for me. As soon as you have your rates worked out with the carriers, please let us know!
                                         @Adolphus Blankson - You can connect any Bluetooth-enabled device like your smartphone to play music. There's no built-in harddrive included in the main tech features but we are actually
 4273995      8/18/2015      11733621
                                         considering having that as part of the accessory line soon. Also yes
                                         hi, I like the project but have pre-sales question. Is it possible to switch off all the wave-emiting devices when not in use? (i.e. wi-fi, bluetooth, gps,...) i suffer from headaches when using wi-fi for
 4271680      8/18/2015      11412781
                                         long. It is ok if it is on for a while, but when not in use i would switchÂ´em all off. Thanks.
                                         Happy Tuesday everyone! Josh here with iBackPack if you have any questions or would like to talk about the product please feel free to get a hold of me at 512-879-1684 or on skype at
 4270914      8/18/2015      11623051
                                         josh.kifer.15. Thanks everyone for continuing to support ibackpack
 4270306      8/18/2015      11837320    Cannot wait for our iBackPacks!
                                         Hey u have 57 days days left (which is actually plenty) so I thought u'd really benefit from joining this growing crowdfunding community online here: http://goo.gl/NlO6hh
 4265357      8/17/2015      11523422
                                          There's a lots of experienced crowdfunders and free resources available to help u out! :)
                                         @Vadney: We will have chenille lettering and emblems that you will be able to add to your backpack. We will look into a flash drive that could be a extra add on feature. Thank you for your
 4266660      8/17/2015      11727915
                                         support!
 4265094      8/17/2015      11623051    Hey everyone Joshhere from iBackPack. Thank you to everyone who is supporting our vision. If you have any questions contact me atJosh.kifer.15 on Skype, Call me at 512-879-1684
                                         Hey everyone Zach here from iBackPack. Thank you to everyone who is supporting our vision. If you have any questions contact me at Zach.ard.15 on Skype, Call me at 512-879-6309 or you
 4265047      8/17/2015      11727915
                                         can email me at Zach.Ard@ibackapck.mobi.
                                         Hey Everyone Josh here with iBackPack, Thanks everyone for supporting the vision of iBackPack please contact me at josh.kifer.15 on skype or at 512-879-1684 i would love to talk with each and
 4264865      8/17/2015      11623051
                                         every one of you about your order and answer any and all questions.
                                         Hey Everyone Josh here with iBackPack, Thanks everyone for supporting the vision of iBackPack please contact me at josh.kifer.15 on skype or at 512-879-1684 i would love to talk with each and
 4264802      8/17/2015      11623051
                                         every one of you about your order and answer any and all questions.
                                         Hello Guys,

                                         Iâ€™m Henrik.
                                         One of the concept developers and UI/UX designers of the iBackPack project.
 4268713      8/17/2015      11732634
                                         If you have any questions regarding the iBackPack, anything at all.
                                         Feel free to add me on skype henrik.lauste-jurvin.15 and I will try answering the questions you have.

                                         Much love
                                         Hello Guys,

                                         I'm Henrik.
                                         One of the concept developers and UI/UX designers of the iBackPack project.
 4268661      8/17/2015      11732634    If you have any questions regarding the iBackPack, anything at all.
                                         Feel free to add me on skype henrik.lauste-jurvin.15 and I will try answering
                                         the questions you have.

                                         Much love

                                         Hey I wanted to tell u about a crowdfunding site that has lots of free resources available for crowdfunders. I saw u have 57 days days left so u got work to do! Hopefully it can help u out.
 4266632      8/17/2015      11129718
                                         Here's the link: http://goo.gl/mlV8Rt
                                         Hi everybody!
                                         I am Jesus Sanz, 3D designer, GC artist and Senior designer of this exciting project for the next generation backpack.
                                         if i can be of any help to explain anything or answer any questions regarding the iBackPack, please let me know, you can write here or add me on skype as well.
                                         jesus.sanz-carasusan
 4268732      8/17/2015      11738053
                                         As my team mates said, we are here, waiting for your questions and oppen to everybody, so dont be afraid on asking!

                                         Cheers!
                                         Hello everybody, I am Xokaido Gnucious, a Database Administrator in this company and I wanted to send out big THANK YOU to all of our customers who helped us to reach the goal. Feel free
 4268689      8/17/2015      11706133
                                         to contact us and ask any questions you might have about the company or the products we offer. We are open for everyone.
                                         Hello Guys,

                                         Iâ€™m Henrik.
                                         One of the concept developers and UI/UX designers of the iBackPack project.
 4268663      8/17/2015      11732634
                                         If you have any questions regarding the iBackPack, anything at all.
                                         Feel free to add me on skype henrik.lauste-jurvin.15 and I will try answering the questions you have.

                                         Much love




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                              Project
  Project       Project
                            Comments
 Comments     Comments                                                                                                      Project Comments Comment
                            Commenter
Comment ID   Created Date
                            Account ID
                                         Hi everyone. As part of the iBackPack Team, we'd like to thank you for the pledges you have contributed to our product so far. Without you guys, we wouldn't have reached this milestone. But the
 4265030      8/17/2015      11733621    journey is not over yet. Share our campaign page with you friends and invite others to support us using your exclusive link which you can get just on the left hand side where you see the social
                                         media/sharing options.
 4268760      8/17/2015      11693242    Curious if you have a referral draw for your project :) ?
 4266186      8/17/2015      10529360    I love this, have you thought about making a nameplate or embroidery an option. Another option might be a flash drive storage option. You have a great product. Good luck
 4261711      8/17/2015      11412565    Can you ship to Canada and if so, how much?
 4266317      8/17/2015      9322223
                                         Wow, I found out about this project from random internet searches months ago. I been waiting for it to pop up here since then, so glad it got funded so quickly. Can't wait guys, great job...
 4266608      8/17/2015      11727915    @Kyle: Thank you for pledging! We got funded in less than a day which is fantastic! Thanks again for your support!
 4260968      8/16/2015      11777279    if I want to buy second one, my ship fee will be charge twice?
                                         Hello, my name is Melissa, and I see you're having success with your campaign. I also have a campaign here about heping children with cancer to survive. I wanted to ask you if you would please
 4259206      8/16/2015      11719572    help me just by letting me know what services you ordered to start to get donations? Could you please just let me know which services you purchased to get the donations pouring in? Children
                                         with cancer need help so I know with the right strategy we can get donations too.Thank you SO MUCH for your help! =)
 4259666      8/16/2015      8606832     How much for just the backpack?
 4261380      8/16/2015      11766005    Congrat for Price just i 2 days !! great
                                         Hi Doug, I really like your campaign. Would it be OK with you if I featured your campaign on my Technology blog? My followers love this kind of stuff! You'll see below that I included my blog
                                         submission form. Please fill this out as best you can and send it off. Give me 2-3 days to get back to you (usually once the article is up).
 4258185      8/16/2015      11128518
                                         http://goo.gl/MtbQW1?=BlogSubmissionForm

                                         Thanks!
 4261207      8/16/2015      11764031    cant wait to see this, keep up..
 4258785      8/16/2015      11664242    With the wifi version, what kind of discount is contracted with companies such as Sprint for portable data plans? What kind of 3rd party discounts in general are in the works
 4258761      8/16/2015      11664242    With the wifi version, what kind of discount is contracted with companies such as Sprint for portable data plans? What kind of 3rd party discounts in general are in the works?
                                         Hello Nice backpack
 4255366      8/16/2015      10240965
                                         Do you know if the gps and wifi 4g Will be able to work in France?
                                         Tank you
 4255462      8/16/2015      11777279    I want black one.
 4252444      8/15/2015      11765610    Congrats on hitting the goal today!!!!!
                                         Your welcome and thank you for coming up with this great idea!
                                         Excited to use it!!
 4251754      8/15/2015      11770348
                                         I believe you guys have a referral program?
                                         How do I get that info?
 4255151      8/15/2015      4998538     Can't wait to add the bulletproof plate and maybe even 4G
 4250889      8/15/2015      9047000     anyone else's "5% off link" not work? they gave me 3 different links and none of them worked to give me 5% off like they said it would!
                                         Hell Yes - Sign Me Up
 4251859      8/15/2015      11768563
                                         Contributed this morning, March CANNOT come soon enough!
 4252416      8/15/2015      11762803    Very Excited to Support a Product like This!!
                                         Hey Brian, the link brought you to our site were the bags are already severely discounted! you ordered the professional model which is $199 USD on indiegogo...however that would cost you a
 4251005      8/15/2015      11765596
                                         whopping $299!! If you were to buy the bag after indiegogo youd be paying another $100 dollars more@
 4252114      8/15/2015      11683286    Hell Yes. Sign me up.
 4253159      8/15/2015      11690534    Since a whole lot of people supported the iBackPack WiFi version, would it be possible to be able to choose textured bags?
 4252071      8/15/2015      11744849    This is a product that I have wanted for years! Can't wait! Beam me up Scotty!
                                         Hi,

                                         Just a short follow-up message to let you know we have a great promotion for this week.

                                         When ordering the Gold package ($289), you'll receive all services included in the Platinum package ($399). Our company will create visibility for your campaign and raise your chances with
 4251516      8/15/2015      11724163    300% to receive funds.

                                         Visit our website www.boostyourcampaign.com or send us an email with all your questions: info@boostyourcampaign.com

                                         Have a great campaign!
                                         BoostYourCampaign Team
 4251455      8/15/2015      11624542    hell yes I want one
 4251885      8/15/2015      11631833    Beam me up Scotty!
                                         The video states a 110V recharging system. Is this still the only option? If so, it makes this backpack kind of useless for International traveling. Hopefully it will have the option to be used
 4253856      8/15/2015      6195336
                                         anywhere in the world.
 4251444      8/15/2015      11766151    Can't wait for it! Is it possible to make first shipments earlier than march 2016?
 4252934      8/15/2015      11718053    Looking forward to this product, a lot of my co-workers"tattoo artist"are buying one of these as well
 4249942      8/14/2015      11755704    I cannot wait to receive this !
 4250538      8/14/2015      11722533    Can't wait
 4249930      8/14/2015       499536     I've been waiting for the campaign to start! This is perfect for me as a project manager in the field. All the best!
 4250074      8/14/2015      10671097    Josh Kifer was a great help.
 4250711      8/14/2015      7563634     Will this work in Australia? I mean will the GPS and Wi-Fi etc.... function here?
 4250656      8/14/2015      11765610    I can't wait! Watched the countdown clock...then clicked furiously to refresh the site!
 4250672      8/14/2015      6539297     Good luck, this should be an awesome product!
 4250809      8/14/2015      11764068    Have been following this for a few months and really excited about this product!
                                         careful before you purchase. They changed stuff last minute. as of 2 days ago when i chatted with them they said there was 12 months of free wifi included and i could of sworn there was a 3rd
 4249967      8/14/2015      11765483    battery pack in the sales professional pack. But as of now its been changed to remove the free wifi for year and they said they will be offering a monthly plan. WTF iBackPack. I was seriously
                                         going to fund you until i found this out.
                                         hi,

                                         what is the 3G and 4G WiFi connection used for? connection for up to six friends??
 4250506      8/14/2015      8919963
                                         Thanks,
                                         Gerald




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                   APPENDIX P
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Shipping Labels Being Done Now - Urgent
Request
email:                                Friday, July 1, 2016 at 10:41:25 AM Pacific Daylight Time
"doug.monahan@ibackpack.mobi Doug Monahan"
To: email: "natasha@indiegogo.com \'Natasha Hoskins\'"



Hi Natasha,




Sorry to pester you but I am doing our shipping labels now and would like to get everybodys name we are shipping to –
these are individual boxes and we don’t consolidate them into one big box – so I need everybody’s individual addresses –
including your mom, dad and boyfriend if you want us to include them. Thanks,




doug




From: Natasha Hoskins [mailto:natasha@indiegogo.com]
Sent: Thursday, June 30, 2016 11:24 AM
To: Doug Monahan <doug.monahan@ibackpack.mobi>
Cc: Indiegogo Customer Happiness <support@indiegogo.com>
Subject: Re: URGENT: RE: Shipping you iBackPack 2.0 BETA Box




Hi Doug,



WOW!!! This is so generous, thank you!!



Our happiness team who is in charge of the refund requests and customer
complaint is based out of the San Francisco office, so I will make sure that they get
them. They are gonna be so excited! Our office manager received them and I she
will pass them to that team today.


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Also congrats on hitting 650k! You will be included in this Monday's InDemand
newsletter.



Again, thank you for your generosity and I'm so excited to be able to see this
amazing product.



Warmly,



Natasha Hoskins



On Wed, Jun 29, 2016 at 7:49 PM, Doug Monahan
<doug.monahan@ibackpack.mobi> wrote:

              Hi Natasha,




 Damn. We shipped your box to San Francisco. Hopefully IGG has intercompany mail such that you will receive the box
 we sent to SF to your New York Oﬃce.




 However, I am going to process a new order today. I am going to send you:




 1.   iBackPack BETA Box for yourself.

 2.   iBackPack BETA Box for your mother.

 3.   iBackPack BETA Box for your father.

 4.   iBackPack BETA Box for your boyfriend.




 One of things I love so much about our technology is that almost everyone In the world can use and appreciate the
 massive ba eries and cables we oﬀer. If you feel your mother and father wouldn’t appreciate and use our technology
 please let me know before I waste the monies. All of us at the iBackPack value IGG very much. We have also done
 campaigns with Kickstarter and have found their customer service team to be substandard compared to IGG, their
 response me and a tude in general doesn’t even compare to IGG. Keep up the good work. Thank you.
      FOIA Confidential Treatment Requested              2                                     IGOGO000622
       Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 310 of 427



Ile Jugovski, our Vice President of Marke ng, has been assembling all of the latest materials for the iBackPack and has
updated our current IGG campaign with same. Please use these materials for the upcoming email you are going to be
including iBackPack in. As I type this to you, I am speaking with Ile on the phone. Ile has asked me to ask you for the
names and physical street addresses of any IGG employees who are associated in some capacity with our company. He
wishes for me to send each of them the iBackPack Beta Box. We have a limited supply so please send right away –
before we run out.




We don’t have enough iBackPack BETA Packages to send to the en re IGG team; however, we certainly want to make
sure that ANYONE who is responsible for addressing REFUND REQUESTS, CUSTOMER COMPLAINTS or anything nega ve
about our campaign receives our latest BETA Box so they can see first-hand the level of a en on to detail and the high-
quality products we are shipping.




Sincerely,




Doug




Doug Monahan

CEO and Founder

iBackPack of Texas, Inc.

101 West Louis Henna Blvd, Suite 200

Aus n, Texas 78728

www.ibackpack.co

www.daybreakdirect.com

doug.monahan. 50 = skype

512.565.2524 Mobile




From: Natasha Hoskins [mailto:natasha@indiegogo.com]
Sent: Tuesday, June 28, 2016 3:23 PM
     FOIA Confidential Treatment Requested                3                                      IGOGO000623
         Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 311 of 427
Indiegogo




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Starting a campaign? Check out our field guide, help center, and avoid the 10 myths.

Join us: Indiegogo is on the lookout for fearless team players -- Apply now!




email: "natasha@indiegogo.com       Friday, July 1, 2016 at 10:45:46 AM Pacific Daylight Time
Natasha Hoskins"
To: email: "doug.monahan@ibackpack.mobi Doug Monahan"


Hi Doug,

It's best to send any gifts or samples to the office here and I can distribute them. No
worries, if you are unable to send multiples in this case. Again thanks so much for
your generosity, our address is below:

145 Hudson Street Suite 204
Ny, NY 10013

Please let me know if you have any other questions.

Warmly,

Natasha Hoskins

On Fri, Jul 1, 2016 at 1:41 PM, Doug Monahan <doug.monahan@ibackpack.mobi>
wrote:
   Hi Natasha,




   Sorry to pester you but I am doing our shipping labels now and would like to get everybodys name we are shipping to –
   these are individual boxes and we don’t consolidate them into one big box – so I need everybody’s individual
   addresses – including your mom, dad and boyfriend if you want us to include them. Thanks,


       FOIA Confidential Treatment Requested                  4                                  IGOGO000624
         Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 312 of 427


--
Natasha Hoskins
InDemand Manager
Indiegogo



www.indiegogo.com

Get involved: Blog / Facebook
Starting a campaign? Check out our field guide, help center, and avoid the 10 myths.
Join us: Indiegogo is on the lookout for fearless team players -- Apply now!




email:                                Friday, July 1, 2016 at 12:05:54 PM Pacific Daylight Time
"doug.monahan@ibackpack.mobi Doug Monahan"
To: email: "natasha@indiegogo.com \'Natasha Hoskins\'"



        Hi Natasha,




        I shipped eight. If you want more please let me know. Hopefully this will allow you to provide one to anybody who
is responsible for refunds, complaints, etc. As I men oned – we had originally planned on shipping the iBackPack in
March, 2016 – but then we decided to add the following:




            1.   Compass

            2.   Hidden money pockets

            3.   Rubber base

            4.   Extra waterproofing

            5.   Reflec ve glass beads for night protec on

            6.   Kevlar pocket for bulletproof protec on

            7.   100 holes for cables to go from segment to segment

            8.   Be er Wall Charger

            9.   5 Port Extra strength ba ery

            10. Enhanced and improved cables

       FOIA Confidential Treatment Requested                 5                                    IGOGO000625
         Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 313 of 427
           11. Dozens of other improvements




The iBackPack includes a number of ba eries. Lithium Ion Ba eries have been the most powerful and commonly used
ba eries for mobile phones. Four months ago, it was discovered that some lithium ion ba eries run the risk of catching
fire or even exploding. Thus – we have had to stop all produc on of the Lithium Ion ba eries and switch to a much safer
ba ery called Polymer Ion. We cannot run the risk of sending people a product that could a) be poten ally damaging or b)
cause the loss of a life – no way are we going to do this. Some of our backers don’t understand this fact – don’t
understand why we don’t just go ahead and ship them a poten ally dangerous product. Common sense doesn’t seem to
be as common as you would think. Anyway – we are doing what is right – both ethically and morally – even though it is
cos ng us a tremendous amount of monies that were not planned. So . . . we are taking a tremendous amount of heat
from some of the backers – not all of course – in fact – the great majority of our 3500 backers are very understanding.
However, I want you and your team to understand the issues we are facing. You will see when using our products, they are
a) safe, b) professional and c) won’t explode or catch your house on fire. One would think those two facts are more
important to pledgers than receiving the iBackPack in March – but ….. some mes the truth is stranger than fic on.




What is upse ng is that a) we haven’t charged anything for these enhancements and b) some of the backers feel that the
March, 2016 deadline was set in stone and are literally flipping out over the me past the March, 2016 ship date.




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MAKING SURE YOU GOT THE BATTERIES
AND PRODUCTS
email:                             Friday, October 21, 2016 at 4:40:42 PM Pacific Daylight Time
"doug.monahan@ibackpack.mobi Doug Monahan"
To: email: "support@indiegogo.com \'Indiegogo Customer Happiness\'" , email:
"natasha@indiegogo.com \'Natasha Hoskins\'"
Cc: email: "support@indiegogo.com \'Indiegogo Customer Happiness\'" , email:
"natasha.hoskins@indiegogo-4290ef67ce6e.mail.intercom.io \'Natasha from Indiegogo\'" , email:
"udayan@indiegogo.com"



Hi Natasha, Udayan and the Indiegogo Team San Francisco Team,



I want to make sure you received the eight boxes we shipped specifically for the
customer satisfaction team out of the San Fran office. We are now in the process of
shipping our products and wanted to share some of them with you guys. We had
shipped about twelve of the same boxes we shipped this week to the New York
team



YOU WILL LOVE THEM.
If you need more – let us know.

Our batteries are great whether you have an iBackPack or not. I’d send some
photos, but considering we shipped eight boxes, there should be plenty of them
floating around.



WHO DID WE FORGET?
Someone always gets left behind – generally the new hire.

Certainly there is someone on the customer satisfaction team who we forgot. We
don’t know the names of each of your team, like we do in New York; hence, there
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has got to be someone who did not get some of our products.



STRATEGIC PARTNERS.
You guys mean a lot to us.

Indiegogo is our strategic partner. We value what you guys do each and every day.
If it were not for all of the hard work that you guys do – we would be stuck dealing
with the gang out of Brooklyn (we prefer to leave nameless) Instead, we get a
chance to work with a group of individuals who recognize great talent, great quality
products and hence we wanted to make sure that each of you have a set of ours.



WHAT’S THE CATCH?
No catch. We don’t want to have to work with anybody in Brooklyn (no
what we mean).

There is no catch. While we aren’t even close to being one of the largest
campaigns you have ever run – we think that at $700k we are respectable.



BATTERIES, BATTERIES AND MORE BATTERIES
Our batteries won’t blow up, catch fire, burn your office down.

Our batteries are safe. Our batteries do not catch fire. Our Lithium Ion Batteries
were hand-picked by the Samsung Team. No doubt, Samsung has made a few
mistakes lately but not with our products.



MOJO BAG IS DONE/FINISHED/SHIPPED/OVER
WITH.
100% customer satisfaction is a tough thing to accomplish – but we did
it..
     FOIA Confidential Treatment Requested   8                        IGOGO000656
      Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 316 of 427

100% of the backers for the MOJO bag should be satisfied. We’re not sure what
sort of status label that now goes on our campaign – but CLOSED and
CUSTOMERS SATISFIED would be appropriate. We realize it is important for IGG
to be able to recognize the campaigns that a) finalize all shipments and b) write you
to announce same – hence this letter.



POW CABLES ARE DONE/FINISHED/NEARLY ALL
SHIPPED/LAST ONES GOING OUT.
We did the impossible. And we are doing it again with the ibackpack.

THE MAGNETIC CABLES ARE FINISHED/ wrapped up/done/over with/mission
accomplished.

The last few of the magnetic cable recipients should be sending in their full release
and acknowledgement any day now. We have a handful of individuals who are still
waiting to receive their orders considering they wanted multiple units. All of these
individuals should be signing their full release and getting in charge of you via their
IGG inbound email system or perhaps posting in the group chat. The point is all the
MAGNETIC CABLES are very close to being finally 100% shipped. You should
have received the video of the ship leaving China with the MOJO, IBACKPACK
AND MAGNETIC CABLES BUNDLED TOGETHER.



CALL OR WRITE CHARLES AGUILLON.
If you need more – let us know.

Charles started as a backer, as did Tracy Tran and a handful of others who are
helping us out. He is responsible for ensuring that everybody at Indiegogo gets
everything that you need. For example – we appreciate someone from your team
moving our campaign into the production mode. The ship has left the dock



OUR SHIP IS COMING IN (LITERALLY AND
FIGURATIVELY)

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As with most campaigns these days – the products come from China.
Especially when the numbers are in the many thousands. We took
photos of the products being loaded, on the docks and are
documenting the entire trip.



IF YOU NEED MORE PRODUCTS FOR YOUR
PERSONAL USE.
DON’T BE AFRAID TO ASK.

Indiegogo is our Strategic Partner You guys do a tremendous amount
for us and we appreciate all.



The ibackpack team



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email:                              Friday, October 21, 2016 at 4:52:27 PM Pacific Daylight Time
"udayan.sinha@indiegogo.com Udayan Sinha"
To: email: "rachel.allen@indiegogo.com Rachel Allen"


Lol our friend up to his old ways

---------- Forwarded message ----------
From: Doug Monahan <doug.monahan@ibackpack.mobi>
Date: Friday, October 21, 2016
Subject: MAKING SURE YOU GOT THE BATTERIES AND PRODUCTS
To: Indiegogo Customer Happiness <support@indiegogo.com>, Natasha Hoskins
<natasha@indiegogo.com>
Cc: Indiegogo Customer Happiness <support@indiegogo.com>, Natasha from
     FOIA Confidential Treatment Requested     10                             IGOGO000658
         Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 318 of 427

    #1048976 Important Notice from Indiegogo

Submitted                   Received via      Requester
October 28, 2016, 15:11     Web Form          Doug Monahan <doug.monahan@ibackpack.mobi>

CCs
Doug Monahan <doug.monahan@daybreak-texas.com>, Hector Armenta <hector.aquiles@ibackpack.mobi>,
iBackpack of Texas <ibackpack@ibackpack.mobi>, udayan <udayan@indiegogo.com>, Udayan Sinha
<udayan.sinha@indiegogo.com>

Status    Group             Assignee
Closed    Trust & Safety    Ming Chiu


Category                Campaign ID       Summary                  Total time spent (sec)
T&S::ToU Violations     1395593           ibackpack indemand       12174
Time spent last update (sec)
176


Ming Chiu October 28, 2016, 15:11
Hi iBackPack team,

My name is Megan and I'm a part of Indiegogo's Trust and Safety team. Based on feedback we've received, it
looks like your campaign has some perks that have been delayed 3 months or more from their estimated delivery
date. Our Terms of Use state that "Indiegogo may remove a Campaign from InDemand if Perks have not been
fulfilled within three (3) months after the estimated delivery date, or if the fulfillment of Perks is delayed
indefinitely."

We understand that this email may seem a little daunting, please note that we are checking in about how
fulfillment has gone for your campaign not to penalize you, but to make sure that you and your backers have the
best possible experience on our platform. This is to ensure that you can continue to focus on fulfillment of your
campaign. Also, any of your backers who are already upset at delays can see that your focus is still on fulfillment,
rather than feeling that they have been neglected and ignored.

In order for us to determine whether your prior crowdfunding obligations have been fulfilled, please provide us
with proof of fulfillment of the specific numbers of perks you have fulfilled (such as a screenshot of fulfilled orders
if you are using a 3rd party order management system, or a list of tracking numbers) within 3 business days.

Thank you in advance for your cooperation and patience while we complete this review, and please feel free to
reach out directly in this email if you have any questions about this process.
Regards,

Megan

Trust and Safety

Indiegogo|
Generosity

Doug Monahan October 31, 2016, 02:00
Hi Megan,

I hope you are doing well? Did you get any of the recent batteries that I shipped to the San Francisco office?
Earlier this year, I shipped roughly 20 boxes that contained the products that have been thus far shipped to over a
thousand of our backers. Once I have the exact number, I will forward the UPS invoices and other proof of
shipping. We shipped another set of roughly 20 more boxes just last week, and the week before. They were
      FOIA Confidential Treatment Requested                11                                             IGOGO000021
          Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 319 of 427
addressed to CUSTOMER SATISFACTION TEAM. I wanted to be proactive vs. reactive because this Litium Ion
Battery situation seems to never stop.

Allow me to explain a bit about our product – the iBackPack. It is a high-tech backpack that was specifically
designed to carry the necessary cables, and all other tools needed to always stay connected to the internet. Since
we introduced the iBackPack in August there have been a great many knock-offs but none of them have the level
of personal attention to detail of our product. Each and every pocket was designed from scratch. The holes in
each of the pockets are specifically there in order to both provide the ability for batteries to be powered up
anywhere in the bag.

The batteries were also all selected or built from scratch. Unfortunately, little did we know, could have known,
would have known that the types of batteries we had chosen for EVERY SINGLE BAG ran the risk of a major fire.
While we had planned on shipping far earlier – the chance that someone could lose their life, be scarred forever,
we deemed far to risky. In case you are unfamiliar with the Lithium iOn Battery Snafu from earlier this year –
please find a list of links and a PDF. I wanted to get something to you immediately vs. later hence me rushing
these documents to you this evening.

Between December, 2015 and March, 2016 we started to notice a huge amount of chatter regarding the safety of
the batteries. As the CEO of the iBackPack I made the decision that we would not risk a potential fire that might
cause a loss of life. I knew that it would make a quite of our backers upset; however, I also feel that it would be the
same backers who would complain and file a lawsuit if we did not take the safest route. Toward the goal of safety,
we created a letter explaining the situation and wrote each and every one of our backers to explain the decision. I
hope that Indiegogo would agree with me that a lost of limb, or life is not worth it.

http://www.wsj.com/articles/samsung-to-permanently-discontinue-galaxy-note-7-smartphone-1476177331

Megan – We carefully considered all of the batteries before making our next purchase. And – it just so happens
that Samsung was wrong with their choice of which of the Lithium Ion batteries was safe to use.

Because of all of these problems, I have had to pull over three hundred thousand dollars out of my own personal
funds. Prior to you pulling the plug on the iBackPack project, I respectfully request a go to meeting where we can
discuss what has happened. I knew there was a risk going into this project but I could never have predicted that
the Samsung USB Batteries would literall go down in flames not just once but twice.

As mentioned. I will get the UPS shipments that we have shipped to people and share them with you. However,
the issue is not our fault. If you are not fully aware of the entire process you and your team can read about
everything in the news wires.

Sincerely,

Doug Monahan

CEO

Founder

iBackPack of Texas, Inc.

Doug Monahan October 31, 2016, 14:47
Hello Megan, Udayan and the IGG Team,

As promised, I am on the telephone with UPS right now. I’ve actually been bounced around for the past 2 hours.
That said, we are going to be sending you the dates and shipments for the thousands of shipments that have
gone out thus far. The primary issue with the iBackPack delays stems around batteries. As you may have heard,
Lithium Ion Batteries have been causing a great deal of problems this year. It started around the Dec. January
2016 time frame. We had ordered thousands of batteries to be shipped and began getting notices, reading on the
news and became quite worried that considering all of the issues being reported in the news that it could be not
only dangerous, but even life-threatening. This was the first major delay that the iBackPack has faced. I stand by
our decision as the most prudent.

Then came October 11th. Less than 3 weeks ago. - As you may have heard, Samsung just ordered 2.5 Million of
their Galaxy batteries returned to them. At the cost of BILLIONS OF DOLLARS, Samsung has shut down the
                                                          12
      FOIA Confidential Treatment Requested                                                             IGOGO000022
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Galaxy line.

When we purchased the second round of batteries, we ASSUMED that if they were good enough for Samsung,
they were good enough for the iBackPackers and as Indiegogo valued customers. As you probably know,
Samsung is one of the largest corporations in the world with revenues topping 300 Billion. October 11th they
pulled the plug on theirs. These batteries are prone to catching fire and possibly explosions. These batteries are
the same that we have ordered as part of the iBackPack project. We have built the very best backpack on the
market today – bar none. Key to the quality of the iBackPack are the batteries that are included. The primary is a
20,000 mAh, 8,000 mAh secondary and multiple other batteries such multiple 3k, 2k, 4k, 6k and even some that
have flashlight features in them. Had we shipped the products with the batteries that had been purchased, it
would run the risk of fire and possibly death to Indiegogo backers. I hope you agree with me that risking the life of
any of the IGG backers for a backpack is not a prudent or wise decision.

In order to speed up the processing of products, I encouraged, and agreed to pay for, UPS AIR SHIPMENTS of
products to be shipped to our backers. I’ll send you my letter under separate cover. I hope that you can see that I,
and my company, have done everything possible. Some of our long-term employees were terminated over this
issue. Each and every person who pledged for anything under the iBackPack will receive their perks. It’s
unfortunate that we trusted Samsung for their choice of batteries, but at the time, it seemed like a very wise thing
to do. The batteries with the “Samsung” stamp of approval were quite a bit more monies than other batteries
which further adds to the sting. I welcome the chance to speak with Udayan or anyone within the Indiegogo team
about this issue. Our team is doing everything and anything possible to ship products to those who pledged as
quickly as possible.

Please keep in mind, It isn’t every day, or every year, that a company the size of Samsung makes a mistake in
their core business units. The problem is affecting many millions of Samsung customers, as well as the iBackPack
backers and Indiegogo in a trickle down system. I’ve attached some of the photos of the products we’ve been
forced to replace. Would you rather us go ahead and ship the batteries and run the risk of explosions, fires and
possibly death? If so, please let me know right away .

If Indiegogo chooses to cancel the iBackPack project, I would appreciate receiving an advance notice. I’d also like
to have a better understanding about what would be said on the IGG site.

From what I have witnessed, whenever Kickstarter or Indiegogo cancels a project – it is the kiss of death for the
project. Thus far, I’ve been willing to continue to fund salaries, expenses, shipments, out of my personal finances
while the project is still “live” and “In Demand”. However, should IGG pull the plug, I’ll need to speak with my legal
counsel, CPAs in order to take the best course of action.

On a side note - did you get any of the recent packages that we sent or are you out of the New York Office?

Sincerely,

Doug Monahan

Doug Monahan

CEO and Founder

iBackPack of Texas, Inc.

101 West Louis Henna Blvd, Suite 200

Austin, Texas 78728

www.ibackpack.co (http://www.ibackpack.co/)

www.daybreakdirect.com

doug.monahan. 50 = skype

512.565.2524 Mobile

From: Doug Monahan [mailto:doug.monahan@ibackpack.mobi]
Sent: Monday, October 31, 2016 4:00 AM
                                                          13

      FOIA Confidential Treatment Requested                                                             IGOGO000023
          Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 321 of 427
To: 'Indiegogo Customer Happiness' <support@indiegogo.com>
Cc: 'udayan@indiegogo.com' <udayan@indiegogo.com>
Subject: RE: Notice from Indiegogo Customer Happiness - FOLLOW UP

Hi Megan,

I hope you are doing well? Did you get any of the recent batteries that I shipped to the San Francisco office?
Earlier this year, I shipped roughly 20 boxes that contained the products that have been thus far shipped to over a
thousand of our backers. Once I have the exact number, I will forward the UPS invoices and other proof of
shipping. We shipped another set of roughly 20 more boxes just last week, and the week before. They were
addressed to CUSTOMER SATISFACTION TEAM. I wanted to be proactive vs. reactive because this Litium Ion
Battery situation seems to never stop.

Allow me to explain a bit about our product – the iBackPack. It is a high-tech backpack that was specifically
designed to carry the necessary cables, and all other tools needed to always stay connected to the internet. Since
we introduced the iBackPack in August there have been a great many knock-offs but none of them have the level
of personal attention to detail of our product. Each and every pocket was designed from scratch. The holes in
each of the pockets are specifically there in order to both provide the ability for batteries to be powered up
anywhere in the bag.

The batteries were also all selected or built from scratch. Unfortunately, little did we know, could have known,
would have known that the types of batteries we had chosen for EVERY SINGLE BAG ran the risk of a major fire.
While we had planned on shipping far earlier – the chance that someone could lose their life, be scarred forever,
we deemed far to risky. In case you are unfamiliar with the Lithium iOn Battery Snafu from earlier this year –
please find a list of links and a PDF. I wanted to get something to you immediately vs. later hence me rushing
these documents to you this evening.

Between December, 2015 and March, 2016 we started to notice a huge amount of chatter regarding the safety of
the batteries. As the CEO of the iBackPack I made the decision that we would not risk a potential fire that might
cause a loss of life. I knew that it would make a quite of our backers upset; however, I also feel that it would be the
same backers who would complain and file a lawsuit if we did not take the safest route. Toward the goal of safety,
we created a letter explaining the situation and wrote each and every one of our backers to explain the decision. I
hope that Indiegogo would agree with me that a lost of limb, or life is not worth it.

http://www.wsj.com/articles/samsung-to-permanently-discontinue-galaxy-note-7-smartphone-1476177331

Megan – We carefully considered all of the batteries before making our next purchase. And – it just so happens
that Samsung was wrong with their choice of which of the Lithium Ion batteries was safe to use.

Because of all of these problems, I have had to pull over three hundred thousand dollars out of my own personal
funds. Prior to you pulling the plug on the iBackPack project, I respectfully request a go to meeting where we can
discuss what has happened. I knew there was a risk going into this project but I could never have predicted that
the Samsung USB Batteries would literall go down in flames not just once but twice.

As mentioned. I will get the UPS shipments that we have shipped to people and share them with you. However,
the issue is not our fault. If you are not fully aware of the entire process you and your team can read about
everything in the news wires.

Sincerely,

Doug Monahan

CEO

Founder

iBackPack of Texas, Inc.

From: Megan (Indiegogo Customer Happiness) [mailto:support@indiegogo.com]
Sent: Friday, October 28, 2016 5:12 PM
To: Doug Monahan <doug.monahan@ibackpack.mobi>
Subject: Notice from Indiegogo Customer Happiness
                                                          14

      FOIA Confidential Treatment Requested                                                             IGOGO000024
         Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 322 of 427
Doug Monahan November 1, 2016, 06:06
Megan,

Are you based in the New York or San Francisco office? The reason I ask is so that I can work toward arranging a
conference call with you. Additionally, I would like to overnight to you the following:

1. The finished iBackPack

2. Zipper Cable Set

3. Wall Charger

4. 20,000 mAh Main Battery

5. 8000 mAh Aux. Battery

6. Multiple Credit card 3,000 mAh Batteries

7. Multiple Lipstick 3,000 mAh Batteries

8. LED Cable

9. LED Lightstick Micro Version

10. LED Lightstick Lightning Version

11. 6,000 mAh Battery

12. Kevlar Bulletproof Shield

13. MANY OTHER PRODUCTS THAT ARE INCLUDED WITH THE IBACKPACK

If you would like, I can send you two of these, or more if you need. You SHOULD have already received all of
these products. As I mentioned in my letter last night, I had roughly ten sets of these products shipped to the New
York Office several months ago. Only two weeks ago, I shipped eight of these boxes to the San Francisco Office. I
believe it is important for you to see what we are both offering and selling.

Additionally, I must have spent three full hours speaking with various departments at UPS and DHL in order to
obtain a list of the hundreds, if not thousands of the products that we have already shipped. We are well past the
prototype phase, and are now in the full production and shipping phase. The fact that batteries have been being
recalled by Samsung has hampered our fulfillment efforts, cost us a fortune in replacement batteries, but have not
stopped our commitment to shipping the promised perks to each and every person who has pledged.

We recently terminated some employees for not providing better customer service and have active interviews to
replace them with five new people. I am happy to share the names and email addresses with the customer
service representative reps with you if you wish. I think that once you have the backpacks in your hand you will
see that we have not only built a quality product – but something that you could be proud to wear and carry each
day. Prior to you taking our site down, removing our In Demand Status and essentially putting “the kiss of death”
on my company – AT MINIMUM – you should review our product and AT MINIMUM have a telephone go-to-
meeting with myself, our CPA, legal counsel and other key members of the iBackPack of Texas, Inc. We are a
Texas Corporation. Our taxes are paid and the corporate structure is in good standing.

Prior to you removing our site, I would also like to speak with Udayan. He knows me personally. We have spent
dozens of hours on the telephone going over the iBackPack project prior to its launch and throughout same. We
may not have achieved the multi-million dollar funding that we both thought was possible – but am proud of the
amount raised as well as the quality of the product. I’d like to point out that throughout the development process
for the iBackPack we have made hundreds of improvements and provided all of these at no charge to all backers.

I am confident that once you have our products in your hand – any concerns about our campaign will be
answered. Admittedly, it would have been ideal to have shipped when we had originally hoped – but there is no
way that I can choose safer batteries than Samsung – and even Samsung made a terrible choice. As you
probably have read, on October 11th, less than three weeks ago, Samsung announced a recall of the Galaxy Line
                                                        15

      FOIA Confidential Treatment Requested                                                          IGOGO000025
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– and are requesting over 2.5 million of their Galaxy products to be returned to them in a special fire-retardant
box. This battery issue is a HUGE DEAL. No doubt, it has delayed the iBackPack for many months, but at least I
can go to sleep at night knowing that no-one was killed, mamed or disfigured due to fires causes by iBackPack
batteries. I would be very surprised if your legal counsel would have disagreed with our decision to be safer than
sorry. Am I happy about some of the comments being made on our IGG page – of course not. However, imagine
what their comments would have been if one of the ibackpack recipients was killed or mamed.

Following Samsung’s lead, we have are positive the new batteries being offered, shipped and provided to the
backers are 100% safe. There are zero chances of any of the products we are offering through IGG not being
100% safe. At a tremendous expense financially – we have been thoroughly testing each and every component
AGAIN. Each of these tests are expensive, time consuming but necessary and have slowed down shipments of
perks. But, despite all of the battery issues as you will see from the UPS documents, hundreds if not thousands of
the backers have already received their perks as promised. The call is yours, but I believe not allowing us to
continue the project In Demand would be doing a huge disservice to the loyal IGG backers.

Please let me know the best time to speak. Skype me at doug.monahan.50 as quickly as possible.

Doug

From: Megan (Indiegogo Customer Happiness) [mailto:support@indiegogo.com]
Sent: Friday, October 28, 2016 5:12 PM
To: Doug Monahan <doug.monahan@ibackpack.mobi>
Subject: Notice from Indiegogo Customer Happiness

Ming Chiu November 2, 2016, 19:53
Hi Doug,

Thank you for your email. We would like to set up a conference call to discuss the status of the iBackPack
campaign and also we had additional questions about your POW - Super Smart USB Magnetic Cable System
campaign as well.

We are based out of the San Francisco office. Would you be available for a conference call sometime this week?
Regards,

Megan

Trust and Safety

Indiegogo|
Generosity

Doug Monahan November 2, 2016, 20:43
Hi Megan,

I want you to know that I have written to UPS, Federal Express and DHL in order to obtain all of the shipping
records for the backers we have shipped to thus far. I should have these documents within the next week or so. I
requested for UPS to overnight them to me but was told they only ship paperwork such as this via US Postal
Service. How strange is that?

You will see that we are committed to the iBackPack. Despite all of the issues with the battery SNAFIS we have
continued to forge ahead. We have shipped thoroughly tested the products as we should have and are simply
waiting for the first shipment of the products to arrive from China so we can begin our fourth wave of product
shipments.

We have told the backers REPEATEDLY that we are going to begin the shipments in the latter days of December.
That is only a few weeks away. The ONLY reason that we haven’t been providing updates as we used to is
because we were getting pledgers complaining about receiving too many updates. If you have the capability to
review your archives, you can see that over one hundreds updates have been made via the online post system.

                                                        16

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         Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 324 of 427
What is your address so I can ship the products to you and you can see for yourself that a) we are shipping and b)
the products are fantastic. I’ll send you hundreds of photos for you to see regarding products coming to USA. The
best thing is to get the product in your hands.

Sincerely,

Doug

Doug Monahan

CEO and Founder

iBackPack of Texas, Inc.

101 West Louis Henna Blvd, Suite 200

Austin, Texas 78728

www.ibackpack.co (http://www.ibackpack.co/)

www.daybreakdirect.com

doug.monahan. 50 = skype

512.565.2524 Mobile

Megan,

Are you based in the New York or San Francisco office? The reason I ask is so that I can work toward arranging a
conference call with you. Additionally, I would like to overnight to you the following:

1. The finished iBackPack

2. Zipper Cable Set

3. Wall Charger

4. 20,000 mAh Main Battery

5. 8000 mAh Aux. Battery

6. Multiple Credit card 3,000 mAh Batteries

7. Multiple Lipstick 3,000 mAh Batteries

8. LED Cable

9. LED Lightstick Micro Version

10. LED Lightstick Lightning Version

11. 6,000 mAh Battery

12. Kevlar Bulletproof Shield

13. MANY OTHER PRODUCTS THAT ARE INCLUDED WITH THE IBACKPACK

If you would like, I can send you two of these, or more if you need. You SHOULD have already received all of
these products. As I mentioned in my letter last night, I had roughly ten sets of these products shipped to the New
York Office several months ago. Only two weeks ago, I shipped eight of these boxes to the San Francisco Office. I
believe it is important for you to see what we are both offering and selling.

Additionally, I must have spent three full hours speaking with various departments at UPS and DHL in order to
obtain a list of the hundreds, if not thousands of the products that we have already shipped. We are well past the
                                                        17

       FOIA Confidential Treatment Requested                                                          IGOGO000027
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prototype phase, and are now in the full production and shipping phase. The fact that batteries have been being
recalled by Samsung has hampered our fulfillment efforts, cost us a fortune in replacement batteries, but have not
stopped our commitment to shipping the promised perks to each and every person who has pledged.

We recently terminated some employees for not providing better customer service and have active interviews to
replace them with five new people. I am happy to share the names and email addresses with the customer
service representative reps with you if you wish. I think that once you have the backpacks in your hand you will
see that we have not only built a quality product – but something that you could be proud to wear and carry each
day. Prior to you taking our site down, removing our In Demand Status and essentially putting “the kiss of death”
on my company – AT MINIMUM – you should review our product and AT MINIMUM have a telephone go-to-
meeting with myself, our CPA, legal counsel and other key members of the iBackPack of Texas, Inc. We are a
Texas Corporation. Our taxes are paid and the corporate structure is in good standing.

Prior to you removing our site, I would also like to speak with Udayan. He knows me personally. We have spent
dozens of hours on the telephone going over the iBackPack project prior to its launch and throughout same. We
may not have achieved the multi-million dollar funding that we both thought was possible – but am proud of the
amount raised as well as the quality of the product. I’d like to point out that throughout the development process
for the iBackPack we have made hundreds of improvements and provided all of these at no charge to all backers.

I am confident that once you have our products in your hand – any concerns about our campaign will be
answered. Admittedly, it would have been ideal to have shipped when we had originally hoped – but there is no
way that I can choose safer batteries than Samsung – and even Samsung made a terrible choice. As you
probably have read, on October 11th, less than three weeks ago, Samsung announced a recall of the Galaxy Line
– and are requesting over 2.5 million of their Galaxy products to be returned to them in a special fire-retardant
box. This battery issue is a HUGE DEAL. No doubt, it has delayed the iBackPack for many months, but at least I
can go to sleep at night knowing that no-one was killed, mamed or disfigured due to fires causes by iBackPack
batteries. I would be very surprised if your legal counsel would have disagreed with our decision to be safer than
sorry. Am I happy about some of the comments being made on our IGG page – of course not. However, imagine
what their comments would have been if one of the ibackpack recipients was killed or mamed.

Following Samsung’s lead, we have are positive the new batteries being offered, shipped and provided to the
backers are 100% safe. There are zero chances of any of the products we are offering through IGG not being
100% safe. At a tremendous expense financially – we have been thoroughly testing each and every component
AGAIN. Each of these tests are expensive, time consuming but necessary and have slowed down shipments of
perks. But, despite all of the battery issues as you will see from the UPS documents, hundreds if not thousands of
the backers have already received their perks as promised. The call is yours, but I believe not allowing us to
continue the project In Demand would be doing a huge disservice to the loyal IGG backers.

Please let me know the best time to speak. Skype me at doug.monahan.50 as quickly as possible.

Doug

From: Megan (Indiegogo Customer Happiness) [mailto:support@indiegogo.com]
Sent: Friday, October 28, 2016 5:12 PM
To: Doug Monahan <doug.monahan@ibackpack.mobi>
Subject: Notice from Indiegogo Customer Happiness

Ming Chiu November 3, 2016, 10:27                                                             Internal note
Request #1050475 "iBackPack In Demand Status" was closed and merged into this request. Last comment in
request #1050475:

Hi Megan,

As promised, here is some additional information about the iBackPack. I requested on the 26th for many products
to be shipped via AIR at a considerable greatly expense than sea. See below.

Doug Monahan

CEO and Founder

iBackPack of Texas, Inc.
                                                        18

       FOIA Confidential Treatment Requested                                                         IGOGO000028
        Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 326 of 427
101 West Louis Henna Blvd, Suite 200

Austin, Texas 78728

www.ibackpack.co (http://www.ibackpack.co/)

www.daybreakdirect.com

doug.monahan. 50 = skype

512.565.2524 Mobile

Ming Chiu November 3, 2016, 10:31
Hi Doug,

Thank you for your email explaining about your communication about shipments but we would like to set up a
conference call to discuss the current status of shipments of iBackPack and your future plans for shipment. We
also had a couple questions about a previous campaign, "POW - Super Smart USB Magnetic Cable System".

We are based out of San Francisco so when would you be available to discuss?
Regards,

Megan

Trust and Safety

Indiegogo|
Generosity

Doug Monahan November 3, 2016, 16:38
Hi Megan, Udayan and the IGG Team,

FIRST BATCH OF INVOICES

Here is the first batch of UPS deliveries that you requested. I will call UPS again tomorrow and request they send
more. There are a limit of invoices they can ship each day. However, if you wish to receive each and every invoice
for each shipment and compare them to what we have been shipping – be my guest. I’m happy to have my
assistant spend the time with whoever is doing validations on your side.

THE BATTERY ISSUES – SAMSUNG WAS WRONG AND WE WERE WRONG TO THINK SAMSUNG WOULD
BE RIGHT

As mentioned before, the biggest problem we have faced is the battery issue. We are NOT going to ship batteries
to anyone that might explode or cause mame or injury. We THOUGHT the problem was fixed in June when we
selected the battery that Samsung chose for its Galaxy product line. THEN, on October 11, 2016 Samsung
announced they are recalling 2.5 Million batteries. We have a choice to make – do we ship the batteries that we
have paid for to the backers with the knowledge that they are the same type that are just being recalled by
Samsung? Or, do we do as we are doing – which is to hustle and work our tails off to ensure that we find a safer
solution. This entire issue is terrible. I have racked my brain about what I, as CEO, could have done, to prevent
same. However, I personally chose what Samsung chose. I THOUGHT if there was one company in the world we
could trust to choose the right type of battery – it would be Samsung. Obviously, I was wrong. Samsung made a
terrible choice.T The good news for Samsung is they have ten billion dollars they can write-off, whereas we do
not. We are going to be being much more proactive regarding updates to our backers. If you review our account,
you will see that we sent over 125 updates and wound up getting complaints that we were sending too many. If
IGG were to have an option for us to exclude some of the backers it would be ideal.

IF IGG GIVES UP ON US – WE SURRENDER – UNTIL THEN – WE KEEP FIGHTING

That said we are NOT giving up on our backers unless IGG pulls the plug.
                                                        19

      FOIA Confidential Treatment Requested                                                         IGOGO000029
         Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 327 of 427
REGARDING THE POW MAGNETIC CABLES

Regarding the POW CABLEs. The campaign generated 137 pledges. That wasn’t even enough to cover the
minimum number of products that the manufacturer would make. However, We have written to each of the
backers and thus far have over 120 (guestimate) who have said they be satisfied if they receive the products in
November or December this year. The products have been ordered, they have been paid for. They work exactly
as we have promised and all of us are quite excited to see them. I was not responsible for the letters that were
distributed to the backers. The invoice and proof of shipment of products was sent to you last week. We were able
to get the product through a strategic partner, Lightning Strike. The issue was receiving permission from the
backers to ship them products under another name. Lightning Strike ordered 500 as well as thousands of other
batteries, cables and electronic parts. We were able to get all of the products we needed in order to take care of
our backers.

REGARDING COMMENTS ON THE IBACKPACK PAGE

I have hired someone who I believe will be able to responsibly answer all questions in a fast and professional
manner . I had a team of five doing same but discovered they were spending more time on eBay than answering
questions and learned an important lesson about using offshore work from the Philippines – you get what you pay
for.

IN SUMMARY

My name is on this campaign. I did not list this campaign under a corporate name that I could hide behind. I have
personally put my name and reputation on the line with the world. I am proud of the name Doug Monahan. I am
VERY proud of the iBackPack campaign DESPITE the battery snafus. I welcome the opportunity to speak with
you about this entire issue. My mobile phone is 512-565-2524. I have shared this with hundreds of backers. I’m
currently out (personal loss) of over three hundred and fifty thousand dollars of my personal monies – but I have
not given up. Nor will I, unless IGG pulls the plug.

Sincerely,

Doug Monahan

Doug Monahan

CEO and Founder

iBackPack of Texas, Inc.

101 West Louis Henna Blvd, Suite 200

Austin, Texas 78728

www.ibackpack.co (http://www.ibackpack.co/)

www.daybreakdirect.com

doug.monahan. 50 = skype

512.565.2524 Mobile

Doug Monahan November 3, 2016, 17:05
Megan,

I had sent this info about the POW BATTERY CAMPAIGN BEFORE – but thought I would resend today. Please
give me a call. Oh – BTW Did you receive a box from us? We shipped eight boxes to the San Francisco Office of
Indiegogo within the past two weeks. These boxes contained thousands of dollars of batteries, cables and other
items that are perks within the iBackPack project.

Did you get them? Did anybody get them? Do I need to call UPS and ask who signed for the batteries, cables and
other expensive electronics – or should I assume they were received, but IGG was too busy to acknowledge
same? I need to know if they were not received so I can file a claim with UPS. If they were received, it would be
                                                        20

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nice to know who within the Customer Service received the iBackPack products and have the ability to ask them
their opinion about our products. I would appreciate it if you were to track down whoever got the products and ask
them their opinion about the quality of the products we have manufactured.

My offer still stands to ship you the iBackPack for your personal use. I am POSITIVE that you would be
impressed.

Doug

From: Doug Monahan [mailto:doug.monahan@daybreak-texas.com]
Sent: Thursday, November 3, 2016 6:38 PM
To: 'Indiegogo Customer Happiness' <support@indiegogo.com>
Cc: 'udayan@indiegogo.com' <udayan@indiegogo.com>; 'Udayan Sinha' <udayan.sinha@indiegogo.com>
Subject: RE: Important Notice from Indiegogo - URGENT - RESPONSE - PLEASE CALL ME

Hi Megan, Udayan and the IGG Team,

FIRST BATCH OF INVOICES

Here is the first batch of UPS deliveries that you requested. I will call UPS again tomorrow and request they send
more. There are a limit of invoices they can ship each day. However, if you wish to receive each and every invoice
for each shipment and compare them to what we have been shipping – be my guest. I’m happy to have my
assistant spend the time with whoever is doing validations on your side.

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As mentioned before, the biggest problem we have faced is the battery issue. We are NOT going to ship batteries
to anyone that might explode or cause mame or injury. We THOUGHT the problem was fixed in June when we
selected the battery that Samsung chose for its Galaxy product line. THEN, on October 11, 2016 Samsung
announced they are recalling 2.5 Million batteries. We have a choice to make – do we ship the batteries that we
have paid for to the backers with the knowledge that they are the same type that are just being recalled by
Samsung? Or, do we do as we are doing – which is to hustle and work our tails off to ensure that we find a safer
solution. This entire issue is terrible. I have racked my brain about what I, as CEO, could have done, to prevent
same. However, I personally chose what Samsung chose. I THOUGHT if there was one company in the world we
could trust to choose the right type of battery – it would be Samsung. Obviously, I was wrong. Samsung made a
terrible choice.T The good news for Samsung is they have ten billion dollars they can write-off, whereas we do
not. We are going to be being much more proactive regarding updates to our backers. If you review our account,
you will see that we sent over 125 updates and wound up getting complaints that we were sending too many. If
IGG were to have an option for us to exclude some of the backers it would be ideal.

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That said we are NOT giving up on our backers unless IGG pulls the plug.

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November or December this year. The products have been ordered, they have been paid for. They work exactly
as we have promised and all of us are quite excited to see them. I was not responsible for the letters that were
distributed to the backers. The invoice and proof of shipment of products was sent to you last week. We were able
to get the product through a strategic partner, Lightning Strike. The issue was receiving permission from the
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batteries, cables and electronic parts. We were able to get all of the products we needed in order to take care of
our backers.

REGARDING COMMENTS ON THE IBACKPACK PAGE

I have hired someone who I believe will be able to responsibly answer all questions in a fast and professional
manner . I had a team of five doing same but discovered they were spending more time on eBay than answering
                                                        21

       FOIA Confidential Treatment Requested                                                         IGOGO000031
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questions and learned an important lesson about using offshore work from the Philippines – you get what you pay
for.

IN SUMMARY

My name is on this campaign. I did not list this campaign under a corporate name that I could hide behind. I have
personally put my name and reputation on the line with the world. I am proud of the name Doug Monahan. I am
VERY proud of the iBackPack campaign DESPITE the battery snafus. I welcome the opportunity to speak with
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Sincerely,

Doug Monahan

Doug Monahan

CEO and Founder

iBackPack of Texas, Inc.

101 West Louis Henna Blvd, Suite 200

Austin, Texas 78728

www.ibackpack.co (http://www.ibackpack.co/)

www.daybreakdirect.com

doug.monahan. 50 = skype

512.565.2524 Mobile

From: Megan (Indiegogo Customer Happiness) [mailto:support@indiegogo.com]
Sent: Thursday, November 3, 2016 12:32 PM
Cc: Udayan Sinha <udayan.sinha@indiegogo.com>; udayan <udayan@indiegogo.com>; Doug Monahan
<doug.monahan@daybreak-texas.com>; iBackpack of Texas <ibackpack@ibackpack.mobi>
Subject: Important Notice from Indiegogo

Ming Chiu November 4, 2016, 11:06
Hi Doug,

Thank you for your email. I have looked through the files you have attached but we would still like a call to discuss
your campaigns. I saw that you have included your mobile number in one email.

Will you be available for a call next week? We will require a call with you in order to determine the status of your
campaign.
Regards,

Megan

Trust and Safety

Indiegogo|
Generosity

Doug Monahan November 7, 2016, 14:51
Hi Megan,

                                                          22

      FOIA Confidential Treatment Requested                                                             IGOGO000032
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We have had a number of action items in place prior to your introductory letter that I’m happy to outline for you.
First of all, we take the crowd-funding experience and our commitment to the backers and our relationship with
Indiegogo quite seriously. We have thoroughly studied a great man campaigns and keep copious notes regarding
what makes a great campaign vs. a mediocre. While there is no one formula for success, in our opinion – at the
very top of the list sis a long term commitment to your backers. We also believe that a great many backers
engage in the crowd funding experience for the experience. Meaning . . . the chance to have their input listened to
and at the end of the day, after the perk is delivered they get a great deal of personal enjoyment when looking at
something that might be mundane to a normal purchaser .

Because of the battery snafu’s that have plagued the battery industry in 2016, we have been able to spend a
tremendous amount of quality time with our backers regarding the identification of the ideal set of features each
person wants and desires. Several thousand of our backers have taken the time to communicate with us one.
They have shared with us their most intimate details about how the plan and are using the iBackPack. While there
are many high-tech backpacks on the market today – none of them have focused on the details in the manner the
iBackPack has.

Prior to our telephone conversation next week, we will be assembling a new and upgraded customer service team
as we plan for our December ship date. We will be creating and sharing with you videos of our backers during our
Beta Program. We are creating a new photo gallery for your review. I’ll send you some more of the photos each
day until be speak or you tell me I, or my team, is to rapidly filling up our email box.

On a side note Tomorrow is a huge day. It’s going to be either President Clinton or Trump. I hope you make the
time to get to the polls and change our country in the way you feel best suits yourself, Indiegogo and your
personal interests. We are going to be proactively answering any, and all questions our backers may have. We
have dozens of videos that we are going to start assembling and posting. More updates will be coming tomorrow.

I’ve asked Hector write you to introduce some of the members who work for him in the customer service side of
things. We have a huge amount of tasks to accomplish in order to be able to meet our December launch date.

Doug Monahan

Doug Monahan

CEO and Founder

iBackPack of Texas, Inc.

101 West Louis Henna Blvd, Suite 200

Austin, Texas 78728

www.ibackpack.co (http://www.ibackpack.co/)

www.daybreakdirect.com

doug.monahan. 50 = skype

512.565.2524 Mobile

Ming Chiu November 7, 2016, 16:33
Hi Doug,

Thank you for your email. You had stated that we will be having a phone conversation this week. Please specify
your available times for a call by the end of the day Wednesday, 11/9 , otherwise we will have to end your
campaign.
Regards,

Megan

Trust and Safety

                                                        23

      FOIA Confidential Treatment Requested                                                          IGOGO000033
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Indiegogo|
Generosity

Doug Monahan November 8, 2016, 15:47
Hi Megan,

How about now.

Doug

Doug Monahan

CEO and Founder

iBackPack of Texas, Inc.

101 West Louis Henna Blvd, Suite 200

Austin, Texas 78728

www.ibackpack.co (http://www.ibackpack.co/)

www.daybreakdirect.com

doug.monahan. 50 = skype

512.565.2524 Mobile

From: Megan (Indiegogo Customer Happiness) [mailto:support@indiegogo.com]
Sent: Monday, November 7, 2016 6:33 PM
Cc: Udayan Sinha <udayan.sinha@indiegogo.com>; udayan <udayan@indiegogo.com>; Doug Monahan
<doug.monahan@daybreak-texas.com>; iBackpack of Texas <ibackpack@ibackpack.mobi>; Hector Aquiles
<hector.aquiles@ibackpack.mobi>
Subject: Important Notice from Indiegogo

Doug Monahan November 8, 2016, 16:00
Hi Megan,

My phone has been beside me this entire week. 512-565-2524. It’s fairly easy to dial. You don’t need a telephone
conference call time to reach me. I’ll be standing by awaiting your call.

I have written multiple times this week and repeatedly said that I welcome a call from you. Your letter implies that
there has been no answer from me regarding same. Did you not get any of my previous letters? Do you need me
to resend?

Doug

From: Megan (Indiegogo Customer Happiness) [mailto:support@indiegogo.com]
Sent: Friday, November 4, 2016 1:06 PM
Cc: Udayan Sinha <udayan.sinha@indiegogo.com>; udayan <udayan@indiegogo.com>; Doug Monahan
<doug.monahan@daybreak-texas.com>; iBackpack of Texas <ibackpack@ibackpack.mobi>
Subject: Important Notice from Indiegogo

Doug Monahan November 8, 2016, 22:51
Megan,

I have written you many times and told you that I am available any time you wish to call me my telephone I would
take the call. You do not need an appointment to call me. My phone number is 512.565.2524. Please explain what
you mean by “end my campaign.”
                                                         24

       FOIA Confidential Treatment Requested                                                           IGOGO000034
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I have been plagued with problems due to the Lithium Ion Issues and the fact that they have been catching fire. It
is because of this fact that my campaign had to delay the shipment to December, 2016. After having to “eat the
costs” of a small fortune in batteries that might possibly be dangerous to our backers, I chose to purchase the
most reliable batteries on the market at the time - those manufactured by Samsung. I did this - even though it
would put my campaign into a huge loss – in order to protect both the reputation of myself and Indiegogo.

Much my surprise, the same batteries that I had paid a premium price – those made by Samsung – were recalled
by Samsung on October 11th, 2016. If you are unaware of the chaos the Samsung recall has caused – it has cost
Samsung over ten billion dollars, 2.5 million of the Galaxy phone batteries have been recalled and once again my
campaign is facing major problems. Despite all of this, I have continued to fight and stick to our announcement
that we would be starting our shipment of products in December. I have not received one phone call from you, or
anyone at Indiegogo, regarding same. I have sent you, and everyone on your team, a set of our products and not
received any notice of receipt. I have sent another dozen of our batteries, cables and products to the New York
Office. For you to state to me that you are going to cancel my campaign by the end of Wednesday, November 9,
2016 without bothering to even call me to speak about this is shocking.

I urge you to look up the penalties for someone who knowingly ships a product to someone that could cause injury
or death – and then does. It isn’t manslaughter – it is second degree murder. I have spent a small fortune on
attorney fees speaking with counsel about how best to approach this situation. If I ship the products and someone
is burned I could be held criminally liable. Should I ship the iBackPack with the knowledge that I now know, and
someone dies because of the iBackPack, I would be facing second degree murder charges. To be facing this
terrible situation, and receive the letter that you have sent me, is quite disturbing. I have a moral obligation to do
the right thing for all of the Indiegogo backers. I also have an obligation to myself to ensure that I will not be
breaking a law that could possibly send me to prison for second degree murder for the rest of my life.

Below are some of the photos of the fires that have been caused by the same batteries that were the ones that
were to be shipped by the iBackPack prior to March, 2016 as well as those manufactured by Samsung that we
switched to. I want you to think of the possibility of a child sitting next to this backpack while the parent is In a
store for a few minutes. I would like for you to think of the consequences would be for me, my employees, and
possibly Indiegogo if one of the thousands of backers of the iBackPack were to be in an automobile wreck and
have a screwdriver or other such device punch a hole in the battery. I hope you watch these videos.

Udayan, if IGG pulls my campaign without watching these videos, and speaking to me about my campaign, I will
lose all respect for IGG. I have gone through hell this past eight months and IGG is adding insult to injury. I’ve
made myself available – and have appointments throughout the day tomorrow. It’s 12:46 am here in Texas and I
am watching the election of our new President, but feel that this issue is much more important to my life as well as
those of the thousands of backers for the IGG.

I need to speak with you – not Megan. She and I have never spoken. I am now receiving automatic messages
whenever I write her about what to do about deleting your account, how to delete your account and things like
that. Obviously, Megan has decided she Is terminating my account and I cannot promise I will be available to
speak with her tomorrow. I have had numerous health issues that require I visit doctors tomorrow. But, my
appointments with doctors have nothing to do with this.

Doug monahan

JULY 3, 2016

June, 2016

https://www.youtube.com/watch?v=hkPMts4DS3Y

https://www.youtube.com/watch?v=AAZ62tUtc0w

From: Megan (Indiegogo Customer Happiness) [mailto:support@indiegogo.com]
Sent: Monday, November 7, 2016 6:33 PM
To: Doug Monahan <doug.monahan@ibackpack.mobi>
Subject: [Indiegogo Support] Re: Important Notice from Indiegogo

Ming Chiu November 9, 2016, 14:09

                                                           25

      FOIA Confidential Treatment Requested                                                               IGOGO000035
         Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 333 of 427
Hi Doug,

Thank you for your email. I will give you a call at 3:00 PST.
Regards,

Megan

Trust and Safety

Indiegogo|
Generosity

Doug Monahan November 9, 2016, 14:54
Hi Megan,

Per your letter yesterday, stating that unless we spoke today you would be terminating the IGG, iBackPack
relationship, I have had my phone next to me throughout the day. Because I have not heard from you via email,
voice or text, I assumed you became engaged with other meetings. I’m already tied up with other activities
between now and 4:30 pm PST. Due to the importance of this telephone call I will cancel all engagements
between 4:30 PST and midnight PST. This should give us plenty of time to discuss whatever is on your mind. Or
give me your phone number and I’ll call you the minute I’m available.

What’s your phone and extension? BTW What’s your job title and last name? I’ve never received a formal
introduction

Doug

From: Megan (Indiegogo Customer Happiness) [mailto:support@indiegogo.com]
Sent: Wednesday, November 9, 2016 4:09 PM
Cc: Udayan Sinha <udayan.sinha@indiegogo.com>; udayan <udayan@indiegogo.com>; Doug Monahan
<doug.monahan@daybreak-texas.com>; iBackpack of Texas <ibackpack@ibackpack.mobi>; Hector Aquiles
<hector.aquiles@ibackpack.mobi>
Subject: Important Notice from Indiegogo

Ming Chiu November 9, 2016, 15:08
Hi Doug,

Thank you for your email. I can give you a call at 5:30 PST.


Regards,

Megan

Trust and Safety

Indiegogo|
Generosity

Ming Chiu November 10, 2016, 18:34
Hi Doug,

Thank you again for taking time out of your day yesterday to speak with me.

As stated on the call, we have ended your Indemand campaign.

Also as stated on the call, once you have fulfilled your outstanding orders, we will be able to reactivate your
InDemand campaign.
                                                          26

       FOIA Confidential Treatment Requested                                                            IGOGO000036
        Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 334 of 427
Regards,

Megan

Trust and Safety

Indiegogo|
Generosity

                                      Support Software by Zendesk




                                                  27

      FOIA Confidential Treatment Requested                                   IGOGO000037
       Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 335 of 427



Videos of Customers Using Products, More
Info about IBackPack
email:                         Tuesday, November 8, 2016 at 3:38:41 PM Pacific Standard Time
"doug.monahan@daybreak-texas.com Doug Monahan"
To: email: "support@indiegogo.com \'Indiegogo Customer Happiness\'"
Cc: email: "udayan@indiegogo.com" , email: "udayan.sinha@indiegogo.com \'Udayan Sinha\'"



Hi Megan and Udayan,



         I.    As promised, here is additional information regarding many of the
         shipments of the iBackPack to our Backers.



1. https://vimeo.com/189328062

This is Kid Jay – he is a DJ with a radio station in Southern California 99.1



2. https://vimeo.com/189328061

3. This is a review of the 20,000 mAh Battery that we have included as one of the
many Perks and Upgrades



4. https://vimeo.com/189328055

This is a review of many of the Perks and Upgrades



5. https://vimeo.com/189328054

Review of the Perks and Upgrades


     FOIA Confidential Treatment Requested   28                           IGOGO000666
      Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 336 of 427

6. https://vimeo.com/189328052

The freezer test where some of our batteries were placed in a freezer for 24 hours
prior to testing.



7. https://vimeo.com/189328046

Numerous individuals using the iBackPack on a camping trip.



8. https://vimeo.com/189328011

     Testing of the iBackPack and presentation of pockets



9. https://vimeo.com/189328001

Testing of the iBackPack at night – especially the testing of the batteries



10. https://vimeo.com/album/4241074/video/186120324

Tracy Tran – one of our Backers –



I’m awaiting receipts from UPS, DHL and Federal Express to demonstrate the
shipments of our products to backers. I will forward same to you upon receipt.



        II.     We had started two other campaigns and as far as I know they are
        100% satisfied. I need to determine the exact status of the campaigns and
        will be sending over same to you as soon as I have same. We should have
        receipts for all of the shipments to the backers for:

            a. MOJO Bag

            b. POW CABLES

     FOIA Confidential Treatment Requested   29                        IGOGO000667
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           iii. As mentioned in my other emails, I welcome the opportunity to speak
           with you about all of our campaigns and what we have learned. We have
           recently added an additional three individuals to help out with customer
           service and shipments of PERKS.



           Sincerely,



           Doug Monahan

           CEO




email:                        Tuesday, November 8, 2016 at 4:15:24 PM Pacific Standard Time
"support@indiegogo.com Doug Monahan (Indiegogo Customer Happiness)"
Cc: email: "udayan.sinha@indiegogo.com Udayan Sinha" , email: "udayan@indiegogo.com udayan"




 ## Please do not write below this line ##




      FOIA Confidential Treatment Requested   30                         IGOGO000668
Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 338 of 427




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                                                            FRQWDFWHPDLORILQIR#LEDFNSDFNPRELLWNLFNVEDFNDVXQGHOLYHUDEOH6RZHDSSHDUWREH
                                                            YLFWLPVRIWKLV'RXJ0RQDKDQJX\ZKRJHWVSHRSOHWRLQYHVWLQKLVVWXSLGLGHDVWKHQZDONVZLWK
                                                            WKHLUPRQH\$Q\ZD\VEHZDUHL%DFNSDFNDQG'RXJ0RQDKDQ'RQRWLQYHVWLQRUWUXVWDQ\WKLQJ
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                                                             JRDOLVWRRSHQWKHOLQHVRIFRPPXQLFDWLRQDQGHQFRXUDJHWKHPWRXSGDWHPRUHHIIHFWLYHO\
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                                                             MRLQWHIIRUWZH¶OOEHUHPLQGLQJWKHFUHDWRUWRFKHFNLQ

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                                                             DQGH[FLWLQJLGHDVWROLIH7KLVRIWHQPHDQVWKDWZKHQSURMHFWVODXQFKRQ.LFNVWDUWHUWKH\¶UHLQ
                                                             WKHHDUO\VWDJHVRIGHYHORSPHQW:KLOHZHHQFRXUDJHFUHDWRUVWRFRPPXQLFDWHUHJXODUO\WKURXJK
                                                             WKLVSURFHVVLW¶VLPSRUWDQWWRUHPHPEHUWKDWHDFKRIWKHPZLOODSSURDFKWKLVGLIIHUHQWO\,QPRVW
                                                             FDVHVWKLVPD\EHWKHILUVWWLPHWKDWDFUHDWRUKDVWKHUHVSRQVLELOLW\RIFRPPXQLFDWLQJZLWKD
                                                             ODUJHVXSSRUWFRPPXQLW\6WLOOZHH[SHFWWKDWFUHDWRUVZLOOPDNHHYHU\HIIRUWWRFRPSOHWHWKHLU
                                                             SURMHFWDVSURPLVHGDQGNHHSEDFNHUVXSGDWHGDORQJWKHZD\:HDOVRKRSHWKDWEDFNHUVZLOO
                                                             UHPDLQXQGHUVWDQGLQJDVHYHU\RQHOHDUQVWKURXJKWKLVSURFHVV

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                                                             WXUQHGLQWRDVFDPVLQFHQRRQHIURPL%DFNSDFNLVUHVSRQGLQJQRUVHQGLQJWKLVLWHPRXW7KH\
                                                             NHHSSXVKLQJWKHUHOHDVHGDWHDQGQRZLW VDQGVWLOOQRXSGDWH

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                                                             UHGIODJV7KH\SRVWHGLQ2FWREHUWKDWD'HFHPEHUUHOHDVHGDWHZRXOGRFFXU%XWQRWLQJKDV
                                                             EHHQVDLGVLQFH0XOWLSOHEDFNHUVKDYHH[SUHVVHGWKDWWKH\KDYHWULHGWRFDOOHPDLODQGFRQWDFW
                                                             WKH&(2DQGWKHFXVWRPHUVHUYLFHDJHQWVDQGQRWDVLQJOHUHVSRQVHLVJLYHQXSRQDQ\UHTXHVW
                                                             PDGHWRWKHP7KHSKRQHVDUHGLVFRQQHFWHGDQGHYHU\HPDLOWKDW\RXVHQGKDVDQDXWR
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                                                             \RXWRLQYHVWLJDWHDQGVHHZKDWLVJRLQJRQXVEDFNHUVDUHFOHDUO\ZRUULHGWKDWZHKDYHEHHQ
                                                             VFDPPHGDQGWKDWZHZLOOEHRXWDQGPRUH

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                                                             SURMHFWVHPSOR\HHVZHKDYHQRFKRLFHEXWWRUHO\RQ\RXUDVVLVWDQFHLQWKLVKRUULEOHWLPHRI
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                                                             EDFNHUVDQRSSRUWXQLW\WREHDSDUWRIWKHFUHDWLYHSURFHVVIURPWKHEHJLQQLQJ,WDOVRPDNHV
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                                                             PDLQWDLQRULPSURYHWKHTXDOLW\RIWKHSURMHFW¶VHQGUHVXOW6WLOODSURMHFWFUHDWRULVH[SHFWHGWR
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                                                             SDWLHQWDQGVXSSRUWLYH2IWHQWKHPRVWSURGXFWLYHWKLQJDEDFNHUFDQGRLVWRFKHHUDFUHDWRURQ
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                                                             FUHDWLYHIUHHGRPLVDIXQGDPHQWDOSDUWRIRXUZRUNZHVWULYHWRPDLQWDLQDVHFXUHDQGYLEUDQW
                                                             FRPPXQLW\ZKLOHDOORZLQJFUHDWRUVWRDXWRQRPRXVO\H[HFXWHWKHLUSURMHFWV

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                                                         LPSRUWDQWSDGGLQJOHIWH[LPSRUWDQWEDFNJURXQGFRORUZKLWHLPSRUWDQW`/LNH,VDLGHDUOLHU
                                                         'RXJQHYHUFRQWDFWHGPHEDFNDQGWKHUHKDVEHHQQRXSGDWHVVLQFH2FWREHUWREH
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                                                            3OHDVHWU\ORJJLQJLQWR.LFNVWDUWHUXVLQJDQ\RWKHUHPDLODGGUHVVHV\RXPD\KDYHRULJLQDOO\
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                                                            DQGWKLQNVLWVDJUHDWLGHDEXWILQGLQJRXWQRQHRIXVZLOOEHJHWWLQJWKHEDFNSDFNLVQRWJRRGDW
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                                                            VRPHFKDQJHVIRUWKHQHZ\HDU,KDYHFDOOHGP\SROLFH,KDYHZURWHUHSRUWV,KDYHWDONHG
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                                                      FRPPHQW,W VSRVVLEOHWKHFUHDWRULVUHVSRQGLQJWRPDQ\PHVVDJHVIURPEDFNHUVDORQJZLWK
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                                                      PLJKWZDQWWRFRQVLGHUUHDFKLQJRXWWKURXJKRWKHUFKDQQHOVVXFKDVVRFLDOPHGLDRUWKHFUHDWRU¶V
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                                                           VRPHWLPHVEHGLVDSSRLQWHGLQRXWFRPHV:HVWULYHWRFRQVWDQWO\OHDUQIURPWKLVDQGWRPDNH
                                                           VXUHWKDWH[SHFWDWLRQVDUHDSSURSULDWHO\VHWIRUEDFNHUV OLNHRQRXU7UXVW 6DIHW\SDJH 

                                                           ,I\RXKDYHIHHGEDFNRQZD\VWKDWZHFDQLPSURYHWKLVH[SHULHQFHDQGPRUHDSSURSULDWHO\VHW
                                                           H[SHFWDWLRQVSOHDVHOHWXVNQRZ,W¶VRXUPLVVLRQWRPDNHVXUHWKDW.LFNVWDUWHULVDSODFHZKHUH
                                                           IRONVFDQODXQFKDQGVXSSRUWSURMHFWVZLWKFRQILGHQFHDQGH[FLWHPHQW

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                                                           $VNKLPZKHUHP\PRQH\LVDQGHYHU\ERG\HOVHV

                                                           :KDWLV.LFNVWDUWHUGRLQJWRJHWP\PRQH\UHWXUQHG"

                                                           *RDVN<DQF\



                                                           /DVW\HDUWKRXVDQGVRILQGHSHQGHQWFUHDWRUVVSRNHWKHLUPLQGVHDUQHGDQDXGLHQFHDQG
                                                           FUHDWHGVRPHWKLQJQHZZLWK.LFNVWDUWHU

                                                           7KUHHDQGKDOIPLOOLRQJHQHURXVSHRSOHIURPDURXQGWKHZRUOGMRLQHGWKHPRQWKDWMRXUQH\DQG
                                                           SURSHOOHGWKHPIRUZDUG

                                                           7RJHWKHU\RXEURXJKWPDQ\EHDXWLIXOWKLQJVWROLIH+HUH¶VDORRNDWVRPHRIWKHPKWWSVHPDLOV
                                                           NLFNVWDUWHUFRPPSVVFJ$9&ZW
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                                                           L%DFNSDFNDQGLWVIRXQGHU'RXJ0RQDKDQKDVVFDPPHGKXQGUHGVRIWKRXVDQGVRIWKURXJK
                                                           ,QGLH*R*RDQG.LFNVWDUWHU7KHFDPSDLJQVVWDUWHGEDFNLQ,ZDVDQRULJLQDOVXSSRUWHU
                                                           ZKRLQYHVWHGLQWKHL%DFNSDFNEDFNLQ0DUFK,QWKHEHJLQQLQJWKHUHZRXOGOLWHUDOO\EH
                                                           GR]HQVRIHPDLOVSHUPRQWKIURPWKHPGLVFXVVLQJDOORIWKHH[FLWLQJIHDWXUHVWKHL%DFNSDFN
                                                           ZRXOGKDYH7KHQSURPLVHVRIVKLSSLQJGDWHVWKDWZRXOGWKHQJHWGHOD\HG,UHFHLYHGHPDLOVRQ
                                                           DWOHDVWWKUHHVHSDUDWHRFFDVLRQVDVNLQJPHWRJLYHWKHPP\VKLSSLQJDGGUHVVLQDUXVHWRPDNH
                                                           PHWKLQN,ZDVDERXWWRUHFHLYHP\L%DFNSDFN%XWQRWKLQJHYHUDUULYHG7KHUHZHUHXSJUDGH
                                                           RIIHUVDQG%2*2RIIHUV,WDOOVHHPHGTXLWHOHJLWH[FHSWWKH\QHYHUIXOILOOHGWKHLUSURPLVHRI
                                                           VHQGLQJSURMHFWLQYHVWRUVDEDFNSDFN7KHQGXULQJWKHYROXPHDQGIUHTXHQF\RIHPDLO
                                                           XSGDWHVVORZHGXQWLOLQODWHWKH\VWRSSHG1RZZKHQ\RXJRWRWKHLUZHEVLWHLWOLQNVWR
                                                           VRPHRXWGDWHGZHEVLWHIRUDFRPSDQ\FDOOHG'D\EUHDNDQGZKHQ\RXVHQGDQHPDLOWRWKHLU
                                                           FRQWDFWHPDLORILQIR#LEDFNSDFNPRELLWNLFNVEDFNDVXQGHOLYHUDEOH6RZHDSSHDUWREH
                                                           YLFWLPVRIWKLV'RXJ0RQDKDQJX\ZKRJHWVSHRSOHWRLQYHVWLQKLVVWXSLGLGHDVWKHQZDONVZLWK
                                                           WKHLUPRQH\$Q\ZD\VEHZDUHL%DFNSDFNDQG'RXJ0RQDKDQ'RQRWLQYHVWLQRUWUXVWDQ\WKLQJ
                                                           WKDW'RXJ0RQDKDQLVDVVRFLDWHGZLWK<RXZLOOORVH\RXUPRQH\



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                                                           FRPSOHWHWKHLUSURMHFWDQGFRPPXQLFDWHZLWKEDFNHUVDWHYHU\VWHSDORQJWKHZD\:KLOH
                                                           .LFNVWDUWHULVWKHSODWIRUPIRUWKLVDJUHHPHQWZHDUHQRWDSDUWRILW:HGRQRWLQYHVWLJDWHD
                                                           SURMHFWFUHDWRU¶VDELOLW\WRFRPSOHWHWKHLUSURMHFWQRUGRZHIDFLOLWDWHUHIXQGVRUWKHIXOILOOPHQWRI
                                                           UHZDUGV:KLOHLQPRVWFDVHV\RX¶OOILQGWKDWUHZDUGVDUHGHOLYHUHGDVSURPLVHGLW¶VDOVR
                                                           LPSRUWDQWWRUHDOL]HWKDWVRPHSURMHFWVPLJKWQRWIXOILOODVSODQQHG

                                                           :KHQ\RXEDFNDSURMHFWRQ.LFNVWDUWHU\RXHQWHULQWRDQDJUHHPHQWZLWKWKHSURMHFWFUHDWRUDV
                                                           GHVFULEHGLQRXU7HUPVRI8VHKWWSVZZZNLFNVWDUWHUFRPWHUPVRIXVH

                                                           7KHVHWHUPVRXWOLQHWKHUHVSRQVLELOLWLHVRIEDFNHUVDQGFUHDWRUV7KLVLQIRUPDWLRQFDQVHUYHDVD
                                                           EDVLVIRUOHJDOUHFRXUVHLIDFUHDWRUGRHVQ¶WIXOILOOWKHLUREOLJDWLRQVXQGHUWKHDJUHHPHQW:HKRSH
                                                           WKDWEDFNHUVZLOOFRQVLGHUXVLQJWKLVSURYLVLRQRQO\LQFDVHVZKHUHWKH\IHHOWKDWDFUHDWRUKDVQRW
                                                           PDGHDJRRGIDLWKHIIRUWWRFRPSOHWHWKHSURMHFWDQGIXOILOO

                                                           ,KRSHWKDWWKLVKHOSVWRDGGUHVV\RXUFRQFHUQVEXWSOHDVHGRQ¶WKHVLWDWHWROHWXVNQRZLI\RX
                                                           KDYHDQ\RWKHUTXHVWLRQV

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                                                           5HTXHVW,EDFNSDFNZDVFORVHGDQGPHUJHGLQWRWKLVUHTXHVW/DVWFRPPHQWLQ
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                                                           <RXWRWDOO\LJQRUWKHIDFWWKDWZHDOOKDYHEHHQULSHGRIIE\,EDFNSDFN
                                                           :KDWDUH\RXJRLQJWRGRDERXWLW"
                                                           ,KROG\RXUFRPSDQ\WRWDOO\UHVSRQVLEOHIRURXUILQLFDOO\ORVV
                                                           :KDWDUH\RXJRLQJWRGRDERXWLW"
                                                           $QGWKHIDFWWKDW\RXVWLOODGYHUWLVHWKH,EDFNSDFNSURJUDPVKRZV\RXGRQ WFDUHDERXW\RXU
                                                           LQYHVWRUV
                                                           :KDWDUH\RXJRLQJWRGRDERXWLW"
                                                           :KDWKDYH\RXGRQHWRLQYHVWLJDWHWKHULSHRII"
                                                           0D\EH\RXVKRXOGGRDSUHVVUHOHDVHDWWKH&(6VKRZ
                                                           :KDWDUH\RXGRLQJWRPDNHVXUHWKLVGRHVQ WKDSSHQDJDLQ"
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                                                          XQVXUHLIEDFNHUDFWXDOO\EDFNHGWKHSURGXFWRQLJJDVZHOO WKH\VHHPHGWRKDYHDWWHPSWHGWR
                                                          FRQWDFWLQGLHJRJR HVWLPDWHGGHOLYHU\GDWHIRUWKLV.6SURMHFW WRZKLFKEDFNHUKDVHYLGHQWO\
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                                                           7RVD\WKDW,DPQRWDKDSS\FDPSHULVDXQGHUVWDWHPHQW

                                                           7KLVSURJUDPLVVWDUWLQJWRVPHOOOLNHWDNHWKHPRQH\DQGUXQ

                                                           <RXFDQEHDQ\ERG\DQ\WKLQJDQ\FRPSDQ\\RXZDQWWREHRQWKHLQWHUQHW,KROG\RXU
                                                           FRPSDQ\SDUWLDOO\UHVSRQVLEOHIRUWKHVFUHHQLQJRIWKHVHVWDUWXSV

                                                           ,WVHDVV\ZKHQ\RXUPRQH\LVQRWDWVWDNHKHUHLVFKXPSFKDQJHLWVWKHSULQFLSOH
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                                                           <RXUHDOO\FUDFNPHXS0D\EH\RXVKRXOGVWDUWDFDPSDLJQRQRZQLQJDFRPLFFOXE

                                                           <RXWDNHQRULVNZKDWVRHYHUZHWDNHDOOWKHULVN,WVQRW\RXUPRQH\LWVHYHU\ERG\HOVHV

                                                           7KLVZDVQRWDSURMHFWLWZDVDVFDPIURPWKHVWDUWLWZLOOEHH[SRVHG5RGQH\

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                                                           <RXUDQWLIUDXGILOWHULQJKRZ GWKDWZRUNRXW

                                                           <RXUFRPSDQ\LVMXVWDVUHVSRQVLEOHDVHYHU\ERG\HOVHIRUVHWWLQJXSWKLVSURJUDPZLWKDGHDG
                                                           EHDW

                                                           7KLVLVDULSRIIDQG\RXNQRZLW

                                                           $QWLIUDXGILOWHULQJKRZ GWKDWZRUNRXW

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                                                H[WUHPHVKLSSLQJGHOD\VIDLOXUHWRUHSO\WRFXVWRPHUFRQFHUQVDQGTXHVWLRQVWKHVDOHDQG
                                                SURPRWLRQRIJXQVDQGUHODWHGDFFHVVRULHVDQGWKHLUSULFLQJVFDPV$IXOOUHIXQGZDVUHTXHVWHG
                                                LQ$XJXVWDQGWKHFRPSDQ\GLGQRWUHVSRQG

                                                7KHRULJLQDOVKLSSLQJGDWHZDVHVWLPDWHGWREHLQ0DUFKWKLV\HDU7KDWJRWSXVKHGEDFNWR
                                                6HSWHPEHUDZKLOHDJRDQGQRZWR'HFHPEHU6LQFHEDFNLQJWKHSURMHFWWKHYHUVLRQKDV
                                                DOUHDG\EHHQDYDLODEOHIRUSXUFKDVHDQGQXPHURXVEHWDWHVWHUVKDYHUHFHLYHGLW WKH\RULJLQDOO\
                                                VDLGWKDWEDFNHUVZHUHHOLJLEOHDQGDXWRPDWLFDOO\HQUROOHGEXWQRZWKH\VD\RQO\EDFNHUV
                                                DUHDEOHWRJHWWKHEHWDZKLFKUHTXLUHVDXSJUDGH 

                                                ,Q$SULOWKHFRPSDQ\RIIHUHGD%2*2GHDOIRUWKHDWDURXQGIRUWZREDFNSDFNV
                                                7KDWHTXDWHVWRURXJKO\>FRQWLQXHGEHORZ@

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                                                $FFRUGLQJWR,** V7R6FDPSDLJQVPD\QRWRIIHUDQ\ZHDSRQVDPPXQLWLRQDQGUHODWHG
                                                DFFHVVRULHV\HWWKH\DUHRIIHULQJDEXOOHWSURRINHYODUSODWH,KDYHDWWDFKHGDVFUHHQVKRWRI
                                                WKDW7KH\DUHDOVRSURPRWLQJWKHXVHRIJXQV VFUHHQVKRWDWWDFKHGIURPKWWSVGRFVJRRJOH
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                                                DQGKDYHUHFHLYHGQRUHVSRQVH,WULHGWKHLUSKRQHQXPEHUOLVWHGRQWKHLUZHEVLWHDQGDIWHU
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                                                QRWFDOOHGPHEDFN$QG,WULHGWKHSKRQHQXPEHUOLVWHGRQWKHLUGRPDLQ V:+2,6LQIREXWWKDW
                                                GLVFRQQHFWVWRR$FFRUGLQJWR,** V7R6&DPSDLJQ2ZQHUVZLOOUHVSRQGSURPSWO\DQGWUXWKIXOO\
                                                WRDOOTXHVWLRQVSRVHGWRWKHPE\,QGLHJRJRRUDQ\&RQWULEXWRU0\ILUVWHPDLOWRWKHPUHJDUGLQJ
                                                P\IUXVWUDWLRQVDQGUHTXHVWIRUDUHIXQGRUXSJUDGHWRIRUWKHSULFHGLIIHUHQFHDQGSUHYLRXV
                                                SURPLVHWRWKHLURULJLQDOIRXQGLQJSDUWQHUVJHWWKHEHVWGHDO VFUHHQVKRWRI,QGLHJRJRXSGDWHLV
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                                                LQD)DFHERRNPHVVDJHWRDUHFHQWO\KLUHGHPSOR\HHWKH&(2 V([HFXWLYH$VVLVWDQW

                                                )XUWKHUPRUHWKHFRPSDQ\KDVEHHQVFDPPLQJSHRSOHE\RIIHULQJDQXSJUDGHWRWKHEDFNHUV
                                                IRUEXWRQWKHLUZHEVLWHWKHEDJLVRQO\PRUHWKDQWKH,SDLGIRU7KHLU,QGLHJRJR
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                                                SHUNVKRZVWKDWSHRSOHSOHGJHGIRUWKLV


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                                                           7KDQNVIRUUHDFKLQJRXWDQGWDNLQJWKHWLPHWREULQJWKLVWRRXUDWWHQWLRQ

                                                           ,¶YHUHDFKHGRXWWRWKLVFUHDWRUDQGRIIHUHGRXUDVVLVWDQFH0\JRDOLVWRRSHQWKHOLQHVRI
                                                           FRPPXQLFDWLRQDQGHQFRXUDJHWKHPWRXSGDWHPRUHHIIHFWLYHO\PRYLQJIRUZDUG<RXVKRXOG
                                                           FRQWLQXHUHDFKLQJRXWWRWKHPRQ\RXUHQGDVZHOO7KURXJKWKLVMRLQWHIIRUWZH¶OOEHUHPLQGLQJ
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                                                           DQGH[FLWLQJLGHDVWROLIH7KLVRIWHQPHDQVWKDWZKHQSURMHFWVODXQFKRQ.LFNVWDUWHUWKH\¶UHLQ
                                                           WKHHDUO\VWDJHVRIGHYHORSPHQW:KLOHZHHQFRXUDJHFUHDWRUVWRFRPPXQLFDWHUHJXODUO\WKURXJK
                                                           WKLVSURFHVVLW¶VLPSRUWDQWWRUHPHPEHUWKDWHDFKRIWKHPZLOODSSURDFKWKLVGLIIHUHQWO\,QPRVW
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                                                           ODUJHVXSSRUWFRPPXQLW\6WLOOZHH[SHFWWKDWFUHDWRUVZLOOPDNHHYHU\HIIRUWWRFRPSOHWHWKHLU
                                                           SURMHFWDVSURPLVHGDQGNHHSEDFNHUVXSGDWHGDORQJWKHZD\:HDOVRKRSHWKDWEDFNHUVZLOO
                                                           UHPDLQXQGHUVWDQGLQJDVHYHU\RQHOHDUQVWKURXJKWKLVSURFHVV

                                                           7KDQNVIRUEHLQJDWKRXJKWIXOEDFNHUDQGPHPEHURIWKH.LFNVWDUWHUFRPPXQLW\,KRSH\RXKHDU
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                                                           3OHDVHVSDUHPH\RXULJQRUDQWFOXHOHVVUHPDUNV
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                                                         WDNHQZLWKDJUDLQRIVDOW,ZRXOGUHFRPPHQGUHDGLQJWKLVEORJSRVWDERXWVRPHRIWKHWKLQJV
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                                                              VRSURDFWLYHO\HGXFDWLQJXVDERXWWKLVPHVVDJH:HUHO\RQWKHLQSXWRIZKLVWOHEORZHUVOLNH\RX
                                                              WRKHOSXVPDLQWDLQWKHKHDOWKRIRXUHFRV\VWHP3OHDVHNHHSXSWKHJUHDWZRUNDQGDJDLQ
                                                              WKDQN\RX

                                                              5HJDUGV
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        NLFNVWDUWHU#KXVKKXVKSURMHFWV                        .HOVH\
        FRP                                  .LFNVWDUWHU,QWHJULW\



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                                                              7KDQNVIRUZULWLQJLQ.LFNVWDUWHULVQ WDIILOLDWHGZLWKDQ\DGYHUWLVLQJSURPRWLRQDORUPDUNHWLQJ
                                                              VHUYLFHVVRDQ\XQVROLFLWHGRIIHUV\RXUHFHLYHVKRXOGEHWDNHQZLWKDJUDLQRIVDOW,ZRXOG
                                                              UHFRPPHQGUHDGLQJWKLVEORJSRVWDERXWVRPHRIWKHWKLQJV\RXVKRXOGFRQVLGHUEHIRUHZRUNLQJ
                                                              ZLWKDQ\VHUYLFHV

                                                              :KLOHLW VXOWLPDWHO\XSWR\RXWRGHWHUPLQHZKDW VEHVWIRU\RXUSURMHFWZHWDNHVSDPEHKDYLRU
                                                              YHU\VHULRXVO\DQGZLOOWDNHWKHDSSURSULDWHDFWLRQDFFRUGLQJWRRXU&RPPXQLW\*XLGHOLQHV
                                                              3OHDVHPDUNWKHVHPHVVDJHVDVVSDPDQGRXU,QWHJULW\WHDPZLOOORRNLQWRWKLVDVVRRQDV
                                                              SRVVLEOH$SRORJLHVIRUDQ\LQFRQYHQLHQFH

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                                                              LEDFNSDFNPREL6XSSRVHGO\WKH\DUHJDWKHULQJFRQWDFWLQIRUPDWLRQIURPEDFNHUV,GRQ WDJUHH
                                                              ZLWKWKLVDVLWGRHVQRWSURWHFWRXUEDFNHUV,NQRZ,SHUVRQDOO\KDYHEDFNHGDQXPEHURI
                                                              SURMHFWVDQG,ZRXOGKDWHWRKDYHP\LQIRUPDWLRQVKDUHGRXWWKHUH0D\EH\RXFRXOGUHDFKRXW
                                                              WRWKHPDQGHQFRXUDJHWKHPWRVWRS

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                                                              'D\%UHDN, GOLNHWRVSHDNZLWK\RXUHJDUGLQJWKHVLPSOHVZDSSLQJRIQDPHVRILQGLYLGXDOVZKR
                                                              SDUWLFLSDWHLQ.LFNVWDUWHURU,QGLHJRJRFDPSDLJQV

                                                              :HFXUUHQWO\KDYHRYHUQDPHVHPDLOVSOHGJHVDQGRWKHUSHUWLQHQWDQGUHOHYDQW
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                                                              :HZRXOGWRGRDVLPSOHQDPHVZDSRQHDRQHE\RQHEDVLV:HDUHQRWVHOOLQJDQ\VHUYLFHV
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                                                              FRQWDFWDGYHUWLVHWRYLD)DFHERRNDVZHOODVWKHLU)ULHQGVDQGRWKHUVZKRPHHWWKHLU)DFHERRN
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                                                UHDGLQJZLOOYLRODWH\RXU7HUPVRI8VH,WKLQNLW VDQDNHGDWWHPSWWRPRQHWL]HEDFNHUVIRU
                                                PDUNHWLQJFDPSDLJQVZKLFKDOVRYLRODWHVWKHVSDPSURYLVLRQ

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                                                ZRXOGQRWZDQWP\LQIRUPDWLRQWUDGHGLQWKLVPDQQHU7KHUHIRUHZHZLOOGHFOLQH\RXURIIHUEXW
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                                                              SURYLGHGZDVIDNHDQGQRWZRUNLQJ,I\RXORRNLQWKHFRPPHQWV\RXFDQVHHWKDW,KDYHJRWWHQ
                                                              I FNHGRIIZLWKWKHPDQGVRDUHDORWRIRWKHUV

                                                              ,I\RXJRWRWKHLUZHEVLWHWKH\QRZOLQN\RXWRSOHGJHRQ,QGHJRJRDQGLWLVFKHDSHUWKDQRQ
                                                              KHUH7KH\DUHUHIXVLQJWRFRPPXQLFDWHZLWKFOLHQWVFRPLQJIURP.LFN6WDUWHUHYHQRQWKHLU
                                                              /LYH&KDWDVVRRQDV\RXPHQWLRQDUHIXQGRU.LFNVWDUWHUWKH\GRSHUPDQHQWO\LQDFWLYH

                                                             ,ZDQWWRKDYHP\PRQH\UHIXQGHGLQIXOOLQDGGLWLRQWRP\UHSRUW)DLOLQJWKDW, OOEHKHDGLQJWR
                                                             P\EDQNWRPRUURZWRJHWDUHYHUVDODQGIODJWKHPDVIUDXGXOHQWZKLFKWKH\DUH%ORFNLQJFOLHQWV
                                                             FRPPXQLFDWLRQDIWHUSD\PHQWVHOOLQJWKHVDPHSURGXFWIRUFKHDSHUVRPHZKHUHHOVH,WLV
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                                                              DQGLW¶VQRWXQFRPPRQIRUZULQNOHVWRFURSXSWKDWSXVKEDFNDSURMHFW¶VHVWLPDWHGGHOLYHU\GDWH
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                                                            7KHUHDUHPDQ\QRFRVWZD\VZHFDQZRUNWRJHWKHU7KHILUVWVWHSLVIRUXVWRUHFHLYHDQH[SRUW
                                                            RI\RXUEDFNHUVDQGLQUHWXUQZHZLOOSURYLGH\RXZLWKDQH[FHOILOHFRQWDLQLQJUHWDLOFRUSRUDWH
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                                                             VSDPEHKDYLRUYHU\VHULRXVO\DQGZLOOWDNHWKHDSSURSULDWHDFWLRQDFFRUGLQJWRRXU>&RPPXQLW\
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                                                             2YHUWKHSDVWWKLUW\\HDUVZHKDYHDPDVVHGDGDWDEDVHRI0LOOLRQ%%GHFLVLRQPDNHUV:H
                                                             FDQSURYLGH\RXZLWKWKHQDPHVMREWLWOHVWHOHSKRQHQXPEHUVDQGHPDLODGGUHVVHVIRUWKHULJKW
                                                             FRQWDFWVIRUUHWDLOGLVWULEXWLRQDW-&3HQQH\ V6HDUV:DOPDUW0DF\ V$PD]RQ%HVW%X\HW$O
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                                                             7KHUHDUHPDQ\QRFRVWZD\VZHFDQZRUNWRJHWKHU7KHILUVWVWHSLVIRUXVWRUHFHLYHDQH[SRUW
                                                             RI\RXUEDFNHUVDQGLQUHWXUQZHZLOOSURYLGH\RXZLWKDQH[FHOILOHFRQWDLQLQJUHWDLOFRUSRUDWH
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                                                             :KLOHLW VXOWLPDWHO\XSWR\RXWRUHVHDUFKDQGGHWHUPLQHZKDW VEHVWIRU\RXUSURMHFWZHWDNH
                                                             VSDPEHKDYLRUYHU\VHULRXVO\DQGZLOOWDNHWKHDSSURSULDWHDFWLRQDFFRUGLQJWRRXU>&RPPXQLW\
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                                                             LVZRUNLQJKDUGWRSUHYHQWWKLVW\SHRIDFWLYLW\IURPFRQWLQXLQJLQWKHIXWXUH

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                                                             VLVWHUEURDGFDVWLQJSDUWQHUVDLULQJVWRULHVDERXWWKHL%DFN3DFNLQ/XEERFN:DFR7\OHU:LFKLWD
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                                                          ZDQWWKHKHDGHULQIRUPDWLRQ

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                                                P\VHOIRWKHU.LFNVWDUWHUFUHDWRUVLQWRJLYLQJXSWKHLUEDFNHUOLVWXQGHUWKHWKLQYHLORIFRRSHUDWLYH
                                                PDUNHWLQJEXWWKHUHLVDEVROXWHO\VRPHWKLQJVKDG\JRLQJRQKHUHDQGWKH\DUHSUH\LQJRQ
                                                <285FUHDWRUXVHUV

                                                7KHUHPLJKWQRWEHVRPHWKLQJVSHFLILFWKH\DUHYLRODWLQJKHUHEXWFOHDUO\WKHVHJX\VDUHWU\LQJWR
                                                WDNHDGYDQWDJHRISHRSOHDQG,WKLQNLWZRXOGEHLQ\RXUEHVWLQWHUHVWWRVRPHKRZSURWHFW\RXU
                                                FUHDWRUVIURPVKDG\SUDFWLFHVOLNHWKLV

                                                7KH27+(5SURMHFWLV
                                                KWWSVZZZNLFNVWDUWHUFRPSURMHFWVLEDFNSDFNLEDFNSDFNJJPLILEXOOHWSURRIEOXHWRRWK
                                                DXGGHVFULSWLRQ

                                                0HVVDJH,KDYHUHFHLYHGIURPWKHPWKURXJK.LFNVWDUWHU
                                                

                                                +L&ROLQ

                                                , GOLNHWRVSHDNZLWK\RXDERXWFRRSHUDWLYHPDUNHWLQJ:HKDYHWKHEX\HUV¶QDPHVWLWOHV
                                                LQFOXGLQJHPDLOVIRU:DO0DUW6HDUV%HVW%X\-&3HQQH\ VHWDO:H YHOLNHWRGRDVZDSIRU
                                                \RXUXVHUVLQH[FKDQJHIRUVDPH

                                                7KLVLVDZLQZLQZLQDQGWKHUHLVQRFRVWWR\RX2XUFDPSDLJQKDVJURVVHGRYHUNDQGLV
                                                JURZLQJH[SRQHQWLDOO\GXHWRKWWSELWO\UHWDLOFRQWDFWV
                                                6LQFHUHO\

                                                5HQDH5HFKHU
                                                9LFH3UHVLGHQW6WUDWHJLF$OOLDQFHV
                                                UHQDHUHFKHU#LEDFNSDFNPREL
                                                L%DFN3DFNRI7H[DV,QF

                                                0HVVDJH,KDYHUHFHLYHGIURPWKHPYLDHPDLO MHDQOXFHUR#LEDFNSDFNEL] 
                                                

                                                +L
                                                                                                                                                          Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 395 of 427




                                                , GOLNHWRDUUDQJHDWLPHWRVSHDNZLWK\RXUHJDUGLQJKRZZHFDQDVVLVWWKHSURDFWLYHSURPRWLRQ
                                                RIWKHSURGXFW V \RXSURPRWHGYLDFURZGIXQGLQJ
                                                2XUFRPSDQ\WKHL%DFN3DFNKDVEHHQDEOHWRVLJQLILFDQWO\GULYHLQFUHPHQWDOUHYHQXHVWKURXJK
                                                RXWERXQGWHOHSKRQHFDPSDLJQV:HDJUHHWRZRUNRQDVWUDLJKWFRPPLVVLRQEDVLV,QRUGHUWR
                                                GHWHUPLQHWKHFRPPLVVLRQDQGRSSRUWXQLW\ZHRQO\QHHGDXVHUQDPHDQGSDVVZRUGLQRUGHUWR

                                               WKRURXJKO\UHYLHZ\RXUXVHUVRU\RXFDQVHQGXVDFVYILOHIURP\RXUFDPSDLJQ:HFDQGRWKH            
                                                GRZQORDGRQRXURZQRU\RXFDQSURYLGHLWEXWZHDUHJRLQJWRQHHGWKLVLQRUGHUWRDUULYHDWD
Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 396 of 427




                  APPENDIX R
        Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 397 of 427


BusinessDBA                              KickstarteriBackPack
BusinessLegalName                       iBackPackofTexasInc.
PhoneNumber                              Unknown(accountmanagedbyKickstarter)
Address                                   4500SteinerRanchBlvd.
City                                      Austin
State                                     TX
ZipCode                                  78732
Url                                       www.kickstarter.com
                                          iBackPackͲTechnologyFilledBackpack&CommunicationsHub$99.00USD:iBackPackStarterͲOnetimelimitedofferiBa
                                          Ports,10,000mAhBattery,AntiͲTheftAlarmSystem,RetractablePowerCord,BluetoothAudioSystem,110Vand220Vco
                                          Controllerapps(limitedfeatures),$149.00USD:iBackPackͲPowerBackPackiBackPackisbuiltfromscratchwiththehigh
                                          expectedtolastfordecades.ElectronicsInclude:4USBPorts,2x8KmAhbatteries,AntiͲTheftAlarmSystem,Retractable
                                          AudioSystem&amp;amp;proximitylocator,110Vand220Vcompatible,iOS/AndroidControllerappsandmuchmore.,$
                                          FiVersioniBackPackinallofitsglory.3Gand4GWiFiconnection,4USBPorts,2x10KmAhbatteries,retractablePowerC
                                          iOS/AndroidControllerApps,AntiͲTheftAlarmandNotificationSystem,GPSTracking.LifetimeLimitedWarrantyand3rd
                                          $249.00USD:iBackPackProfessionaliBackPackSalesProfessionalincludesallfeaturesfromiBackPackPowerPack+WiFiv
                                          contacts/month(incudingemails)fromour100Millioncontactlistdatabase.,$379.00USD:2xiBackPackWiͲFiVersioniB
                                          3Gand4GWiFiconnection,4USBPorts,2x10KmAhbatteries,retractablePowerCord,BluetoothSpeaker,iOS/Android
                                          AlarmandNotificationSystem,GPSTracking.LifetimeLimitedWarranty.,$995.00USD:5+1iBackPackWiͲFiVersionBuy
                                          Version–Reseller3Gand4GWiͲFiconnection,4USBPorts,2x10KmAhbatteries.RetractablePowerCord,BluetoothSp
                                          ControllerApps,AntiͲTheftAlarmandNotificationSystem,GPSTracking.LifetimeLimitedWarrantyand3rdPartyDeepD
                                          10+3iBackPackWiͲFiVersionBuy10get13iBackPacksWiͲFiVersion–Reseller3Gand4GWiͲFiconnection,4USBPorts
                                          RetractablePowerCord,BluetoothSpeaker,iOS/AndroidControllerApps,AntiͲTheftAlarmandNotificationSystem,GPS
                                          Warrantyand3rdPartyDeepDiscounts.,$4,975.00USD:25+5iBackPackWiͲFiVersionBuy25get30iBackPacksWiͲFiV
                                          WiͲFiconnection,4USBPorts,2x10KmAhbatteries.RetractablePowerCord,BluetoothSpeaker,iOS/AndroidControlle
ProductDescription                       andNotificationSystem,GPSTracking.LifetimeLimitedWarrantyand3rdPartyDeepDiscounts.
CompanyRepFirstName                    Doug
CompanyRepLastName                     Monahan
CompanyRepDateofBirth
OwnerEmailAddress                       Unknown(accountmanagedbyKickstarter)
AccountOpeningDate                      2015Ͳ10Ͳ19T18:36:53.819Z
RoutingNumber                            111322994
AccountNumber                                   4587
CumulativeProcessingVolume(incents)   7132600
CumulativeTransactions                   234
CurrentAccountBalance                   0.00USD
CurrentStatus                            NoactivitysinceApril20th,2016
     Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 398 of 427


BusinessDBA                              null
BusinessLegalName                       iBackPackofTexasInc.
PhoneNumber                              Unknown(accountmanagedbyIndiegogo)
Address                                   4500SteinerRanchBlvd,Suite1106
City                                      Austin
State                                     TX
ZipCode                                  78732
Url                                       null
ProductDescription                       null
CompanyRepFirstName                    Doug
CompanyRepLastName                     Monahan
CompanyRepDateofBirth
OwnerEmailAddress                       Unknown(accountmanagedbyIndiegogo)
AccountOpeningDate                      2016Ͳ02Ͳ10T18:49:22.468Z
RoutingNumber                            111322994
AccountNumber                                  4587
CumulativeProcessingVolume(incents)   491500
CumulativeTransactions                   111
CurrentAccountBalance                   (Ͳ77.90USD)
CurrentStatus                            NoactivitysinceMarch27th,2016
Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 399 of 427




                   APPENDIX S
             
Law Enforcement Officer:          Roy, Patrick
Law Enforcement Agency:           Federal Trade Commission
Requested On:                     Wed, 12 Jul 2017 15:10
Evidence Gathered On:             Wed, 30 Aug 2017 15:43
Law Enforcement Reference: Case655464
All times indicated in this document refer to time zone GMT

Registration Information
User Info
First Name                      doug
Middle Name
Last Name                       monahan
DOB
CC Statement Name               UNIVERSAL T
Email                           monahan.doug@gmail.com, doug.monahan@daybreak-texas.com
Business Info
Business Name                   Universal Global Communications LLC
URL                             http://www.iffinity-communications.com
Customer Service Phone          512-925-4853 - Unknown Trust
Account Info
Account Status                  Open
Account #                       1537026927825861449
Account Type                    Business - Verified - Cat10C - Merchant Manager
Time Created                    Tue, 14 Oct 2008 11:47:18
SSN
SSN
TIN                             XX-XXXXXXX

                                          Email Addresses
                                                                                          Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 400 of 427
Email Address                                          Primary      Confirmed    Active
monahan.doug@gmail.com                                 FALSE        TRUE         TRUE
doug.monahan@daybreak-texas.com                        TRUE         TRUE         TRUE
barry.johnson@austin-design.org                        FALSE        TRUE         FALSE
doug.monahan@daybreakdirect.com                        FALSE        TRUE         FALSE
doug.monahan@ibackpack.mobi                            FALSE        TRUE         FALSE
doug.monahan@mobilezapp.com                            FALSE        TRUE         FALSE
doug@starservicesdirect.com                            FALSE        TRUE         FALSE

                                             Aliases
Name                          Login Alias              Privileges                Active

                                       Phone Numbers
Phone Number                  Confirmation Status                   Type
512-879-6556                  Unconfirmed                           Home - Deleted
512-539-0260                  Unconfirmed                           Home - Deleted
512-565-2524                  Confirmed                             Home - Deleted
661-748-0240                  Unconfirmed                           Work - Deleted
512-565-2524                  Confirmed                             Work - Deleted
559-515-8269                  Unconfirmed (Invalid)                 Work - Deleted
512-879-9891                  Unconfirmed (Invalid)                 Work - Deleted
512-539-0260                  Unconfirmed                           Work - Deleted
918-496-8554                  Unconfirmed                           Work - Deleted
512-402-5303                  Unconfirmed                           Work - Deleted
512-879-6556                  Unconfirmed                           Work - Deleted
512-925-4853                  Unconfirmed                           Customer Service
512-565-2524                  Confirmed                             Customer Service   - Deleted
512-879-6556                  Unconfirmed                           Customer Service   - Deleted
512-879-6891                  Unconfirmed                           Customer Service   - Deleted
512-539-0260                  Unconfirmed                           Customer Service   - Deleted
512-925-4853                  Unconfirmed                           Mobile
512-565-2524                  Confirmed                             Mobile - Deleted

                                            Addresses
Address                                                Use                       Date Entered
                                                                                                   Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 401 of 427
Universal Global Communications LLC
4500 Steiner Ranch Blvd. #1106
Austin, TX 78732                                            08/25/09
United States
 <br>
Universal Global Communications LLC
4500 Steiner Ranch Blvd. #1106        (pDC sent)
                                      (CC 3740 Confirmed)
Austin, TX 78732                                            10/14/08
                                      (CC 0113 Confirmed)
United States                         (CC 0603 Confirmed)
 <br>
Universal Global Communications LLC
4500 Steiner Ranch Blvd
1106
                                      (Home)                07/15/17
AUSTIN, TX 78732
United States
 <br>
Daybreakdirect
4500 Steiner Ranch Blvd
Suite 1106                            (Gift Address)
                                                            10/25/16
Austin, TX 78732                      (Hidden)
United States
 <br>
doug monahan
1106 4500 Steiner Ranch Blvd
                                      (Gift Address)
austin, TX 78732                                            10/03/16
                                      (Hidden)
United States
 <br>
doug monahan
Suite 1106 4500 Steiner Ranch Blvd,
                                      (Gift Address)
Austin, TX 78732                                            09/22/16
                                      (Hidden)
United States
 <br>
iBackPack
4500 Steiner Ranch Blvd. #1106
                                      (Gift Address)
Austin, TX 78732                                            08/28/16
                                      (Hidden)
United States
 <br>
                                                                       Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 402 of 427
Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 403 of 427
Pending Balance to be Released
Minimum Reserve Balance          $0.00 USD* (0 % - $0.00 USD)
Rolling Reserve Balance          $0.00 USD* (0 % - 0 days) $0.00 USD
Secure Card Attributes
Billing Address                  4500 Steiner Ranch Blvd1106AUSTIN TX 78732
Secure Card Numbers              Agent Disabled
Backup Funding Source
Daily Spending Limit             $500
PayPal Credit
PP Credit Account Number
Expiration Date
Account Status
Funding Source Availability      Disabled
Authorized Users                 Not Available

                                            Bank Accounts
Account #                        Status                 Name            Bank Info   Routing #
    3158                         Active - Primary       doug monahan                314074269
Type                             Bank Name              Confirmed                   Country
                                 USAA FEDERAL
Checking                                                Confirmed (admin bypass)
                                 SAVINGS BANK
Account #                        Status                 Name            Bank Info   Routing #
     4587                        Inactive               iBackPack                   111322994
Type                             Bank Name              Confirmed                   Country
                                 PLAINSCAPITAL
Checking                                                Confirmed (rand dep)
                                 BANK
Account #                        Status                 Name            Bank Info   Routing #
                                                        DayBreak
     0641                        Inactive                                           114000093
                                                        Design, Inc.
Type                             Bank Name              Confirmed                   Country
Checking                         FROST BANK             Confirmed (IAV, Disabled)
Account #                        Status                 Name            Bank Info   Routing #
                                                        Mobilezapp,
     7806                        Inactive               Inc. dba                    114000093
                                                        DayBreak
Type                             Bank Name              Confirmed                   Country
Checking                         FROST BANK             Confirmed (admin bypass)
                                                                                                Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 404 of 427
Account #             Status              Name             Bank Info      Routing #
                                          Mobilezapp,
       3654           Inactive            Inc. dba                        114000093
                                          DayBreak
Type                  Bank Name           Confirmed                       Country
                                          Confirmed (admin bypass,
Checking              FROST BANK          Disabled)
Account #             Status              Name             Bank Info      Routing #
                                          Mobilezapp,
       0043           Inactive            Inc. dba                        114000093
                                          DayBreak
Type                  Bank Name           Confirmed                       Country
                                          Unconfirmed (rand dep not yet
Checking              FROST BANK          initiated, Disabled)
Account #             Status              Name             Bank Info      Routing #
                                          Mobilezapp,
       2518           Inactive            Inc. dba                        114000093
                                          DayBreak
Type                  Bank Name           Confirmed                       Country
Checking              FROST BANK          Confirmed (admin bypass)
Account #             Status              Name             Bank Info      Routing #
                                          Mobilezapp,
       0083           Inactive            Inc. dba                        114000093
                                          DayBreak
Type                  Bank Name           Confirmed                       Country
Checking              FROST BANK          Confirmed (admin rand dep)
Account #             Status              Name             Bank Info      Routing #
                                          Star Services,
       7712           Inactive                                            114000093
                                          Inc.
Type                  Bank Name           Confirmed                       Country
Checking              Frost Bank          Confirmed (rand dep)

                                 Credit Cards
Account #             Status              Name             Start Date     Expiration Date
              -3740   Active              doug monahan
Type                  Issuer              Confirmed        Issue #        Currency
Visa Credit                               CVV2                            USD
                                                                                            Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 405 of 427




Account #             Status              Name             Start Date     Expiration Date
               -0113   Primary            doug monahan
Type                   Issuer             Confirmed      Issue #      Currency
Visa Credit                               CVV2                        USD
Account #              Status             Name           Start Date   Expiration Date
               -0603   Active             doug monahan
Type                   Issuer             Confirmed      Issue #      Currency
Visa Debit                                CVV2                        USD
Account #              Status             Name           Start Date   Expiration Date
               1935    Inactive           doug monahan
Type                   Issuer             Confirmed      Issue #      Currency
Visa Credit                               CVV2                        USD
Account #              Status             Name           Start Date   Expiration Date
               6945    Inactive           doug monahan
Type                   Issuer             Confirmed      Issue #      Currency
MasterCard Credit                         CVV2                        USD
Account #              Status             Name           Start Date   Expiration Date
               8764    Inactive           doug monahan
Type                   Issuer             Confirmed      Issue #      Currency
MasterCard Credit                         CVV2                        USD
Account #              Status             Name           Start Date   Expiration Date
               3335    Inactive-Expired   doug monahan
Type                   Issuer             Confirmed      Issue #      Currency
Visa Debit                                CVV2                        USD
Account #              Status             Name           Start Date   Expiration Date
               -6457   Inactive           doug monahan
Type                   Issuer             Confirmed      Issue #      Currency
Visa Debit                                CVV2                        USD
Account #              Status             Name           Start Date   Expiration Date
               -1240   Inactive           doug monahan
Type                   Issuer             Confirmed      Issue #      Currency
Visa Debit                                CVV2                        USD
Account #              Status             Name           Start Date   Expiration Date
               -4178   Inactive           doug monahan
Type                   Issuer             Confirmed      Issue #      Currency
Visa Debit                                CVV2                        USD
Account #              Status             Name           Start Date   Expiration Date
               -1910   Inactive           doug monahan
                                                                                        Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 406 of 427
Type                 Issuer                Confirmed      Issue #      Currency
Visa Debit                                 CVV2                        USD
Account #            Status                Name           Start Date   Expiration Date
             -1894   Inactive Visa-RC      doug monahan
Type                 Issuer                Confirmed      Issue #      Currency
                                           CVV2 RdChg
Visa Debit                                                             USD
                                           sent
Account #            Status                Name           Start Date   Expiration Date
             -6278   Inactive (Disabled)   doug monahan
Type                 Issuer                Confirmed      Issue #      Currency
Visa Debit                                 CVV2                        USD
Account #            Status                Name           Start Date   Expiration Date
             -2913   Inactive              doug monahan
Type                 Issuer                Confirmed      Issue #      Currency
Visa Debit                                 CVV2                        USD
Account #            Status                Name           Start Date   Expiration Date
             -8917   Inactive              doug monahan
Type                 Issuer                Confirmed      Issue #      Currency
Visa Debit                                 CVV2                        USD
Account #            Status                Name           Start Date   Expiration Date
             -8976   Inactive              doug monahan
Type                 Issuer                Confirmed      Issue #      Currency
Visa Debit                                 CVV2                        USD
Account #            Status                Name           Start Date   Expiration Date
             -5742   Inactive Visa-RC      doug monahan
Type                 Issuer                Confirmed      Issue #      Currency
                                           CVV2 RdChg
Visa Debit                                                             USD
                                           (Refunded)
Account #            Status                Name           Start Date   Expiration Date
             -1865   Inactive              doug monahan
Type                 Issuer                Confirmed      Issue #      Currency
Visa Debit                                 CVV2                        USD
Account #            Status                Name           Start Date   Expiration Date
             -7944   Inactive              doug monahan
Type                 Issuer                Confirmed      Issue #      Currency
Visa Debit                                 CVV2                        USD
Account #            Status                Name           Start Date   Expiration Date
                                                                                         Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 407 of 427
               -2374        Inactive                    doug monahan
Type                        Issuer                      Confirmed        Issue #     Currency
MasterCard Debit                                        CVV2                         USD

                                         Debit Cards
Account #                   Status                      Req Date         Act Date    Expiration Date
                            Active                      20-Jan-17        27-Jun-17
Type                                                                     POS Limit   ATM Limit
1-Physical Bus/Prem (DDA)                                                3,000 USD   $400
Account #                   Status                      Req Date         Act Date    Expiration Date
                            Closed                      10-Jan-16        18-Apr-16
Type                                                                     POS Limit   ATM Limit
1-Physical Bus/Prem (DDA)                                                3,000 USD   $400

                                         Restrictions
Restriction                 Time Restricted             Time Lifted                  Attack Case ID

                                         IP Summary
First Used (GMT/BST)        Last Used (GMT/BST) IP Number                Logins      Status
                            Wed, 23 Aug 2017
Wed, 25 Jan 2017 5:35:57                                70.113.33.238    39
                            16:16:53
Thu, 17 Aug 2017 9:30:42    Thu, 17 Aug 2017 9:41:14    70.118.59.194    3
Thu, 22 Dec 2016 18:53:40   Sun, 22 Jan 2017 1:13:01    24.27.4.25       21
Fri, 09 Dec 2016 0:55:18    Sat, 17 Dec 2016 5:12:00    98.6.113.172     2
Mon, 17 Oct 2016 4:40:12    Fri, 02 Dec 2016 22:27:24   70.113.62.18     34
Thu, 20 Nov 2014 19:02:36   Sat, 15 Oct 2016 1:36:41    70.113.62.10     571
Fri, 26 Aug 2016 19:51:06   Fri, 26 Aug 2016 19:51:06   72.182.114.202   1
Sun, 23 Aug 2015 6:09:52    Tue, 27 Oct 2015 1:26:17    63.146.102.30    6
                                                        207.238.107.19
Thu, 22 Oct 2015 0:00:36    Thu, 22 Oct 2015 0:00:36                     1
                                                        0
Sun, 23 Aug 2015 5:22:11    Wed, 21 Oct 2015 5:25:04 184.105.250.5       7
Fri, 14 Nov 2014 15:19:09   Sat, 15 Nov 2014 5:00:24    64.183.247.99    3
                            Tue, 11 Nov 2014
Sun, 29 Dec 2013 10:24:03                               71.41.191.254    183
                            23:03:50
                            Sun, 08 Dec 2013
Fri, 01 Nov 2013 20:53:26                               66.69.251.81     16
                                                                                                       Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 408 of 427




                            10:12:10
                                   Sun, 10 Nov 2013
Sun, 10 Nov 2013 16:27:45                                      64.132.190.126 1
                                   16:27:45
                                   Sun, 27 Oct 2013
Fri, 16 Aug 2013 4:12:29                                       24.153.200.123 46
                                   20:38:47
Tue, 04 Jun 2013 4:05:15           Mon, 05 Aug 2013 4:09:08 108.178.96.7      27
Tue, 16 Apr 2013 5:19:58           Mon, 03 Jun 2013 1:40:30 67.79.217.117     24
                                                             71.42.178.83
Tue, 14 Oct 2008 11:47:19          Thu, 04 Apr 2013 14:28:17                  263
                                                             (Signup)
                                   Wed, 14 Nov 2012
Mon, 23 Feb 2009 20:31:06                                    71.42.178.82     97
                                   20:13:23
Sun, 30 Sep 2012 10:07:08          Tue, 09 Oct 2012 18:12:25 108.178.90.10    8
                                   Wed, 26 Sep 2012
Wed, 08 Feb 2012 17:45:27                                      71.42.178.85   151
                                   20:06:31
Thu, 03 Mar 2011 6:12:49           Sun, 06 Mar 2011 5:18:40    24.153.208.35 10
Fri, 26 Nov 2010 14:10:40          Fri, 26 Nov 2010 14:10:40   178.212.136.84 1
Mon, 26 Apr 2010 19:53:31          Fri, 18 Jun 2010 7:45:30    71.42.178.81   14
                                   Thu, 26 Mar 2009
Thu, 26 Mar 2009 10:30:39                                      71.42.178.84   1
                                   10:30:39

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                                                                                                                  Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 409 of 427
Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 410 of 427




                  APPENDIX T
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                                    1
Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 412 of 427




                                    2
GFX/PAYplus Connect Message Print - Message Inquiry Display Dialog Box
                Case 3:19-cv-00160 Document 35-1 Filed on 02/07/20 in TXSD Page 413 of 427
User: Asegovia       Bank: PlainsCapital Bank        Date: 06/22/17 12:30:14

Message Status: PNRM
Seq Num:                    Related Seq Num:
Pay Method: FED Output     Message ID: FTI0811
Date Recvd: 05/18/2016 13:20:18     Value Date: 05/18/2016

Sender: 111322994,       Receiver: 314074269
Amount: $150,000.00
Debit info --
    Account:        4587 Inst: 01 Br: 4414 Type: DD
    Name:     IBACKPACK OF TEXAS LLC
    Addr1:    4500 STEINER RANCH BLVD APT 1106
    Addr2:    AUSTIN TX 78732-2315
    Addr3:
    Addr4:

Credit info --
    Rcvr:         4269
    Name:    U S A A FEDERAL SAVINGS BANK
    Addr1:
    Addr2:
    Addr3:
    Addr4:

Advice:               Dept:     9173     Trancode: DOMESTIC
Category:             Linesheet:           Create Template:

Message Text:

   Sndr Info     {1500}30         P
   Msg Type      {1510}1000
   IMAD          {1520}20160518K1B7581C000611
   Amount        {2000}000015000000
   Sender DI     {3100}111322994
   Sndr Ref      {3320}20161390176600*
   Rcvr DI       {3400}     4269
   Bus Func      {3600}CTR
   BNF           {4200}     4644*
                 ARLETA KEITH*
                                *
                 FRIENDSWOOD, TX 77549*
   ORG           {5000}        4587*
                 IBACKPACK OF TEXAS LLC*
                 4500 STEINER RANCH BLVD APT 1106*
                 AUSTIN TX 78732-2315*




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GFX/PAYplus Connect Message Print - Message Inquiry Display Dialog Box
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User: Asegovia       Bank: PlainsCapital Bank        Date: 06/22/17 12:30:15

Message Status: PNRM
Seq Num:                    Related Seq Num:
Pay Method: FED Output     Message ID: FTI0811
Date Recvd: 05/19/2016 11:18:25     Value Date: 05/19/2016

Sender: 111322994,       Receiver: 314074269
Amount: $125,000.00
Debit info --
    Account:        4587 Inst: 01 Br: 4414 Type: DD
    Name:     IBACKPACK OF TEXAS LLC
    Addr1:    4500 STEINER RANCH BLVD APT 1106
    Addr2:    AUSTIN TX 78732-2315
    Addr3:
    Addr4:

Credit info --
    Rcvr:    314074269
    Name:    U S A A FEDERAL SAVINGS BANK
    Addr1:
    Addr2:
    Addr3:
    Addr4:

Advice:               Dept:     9173     Trancode: DOMESTIC
Category:             Linesheet:           Create Template: IBP ARLETA

Message Text:

   Sndr Info     {1500}30         P
   Msg Type      {1510}1000
   IMAD          {1520}20160519K1B7581C000486
   Amount        {2000}000012500000
   Sender DI     {3100}111322994
   Sndr Ref      {3320}20161400142100*
   Rcvr DI       {3400}314074269
   Bus Func      {3600}CTR
   BNF           {4200}     4644*
                 ARLETA KEITH*
                                *
                 FRIENDSWOOD, TX 77549*
   ORG           {5000}        4587*
                 IBACKPACK OF TEXAS LLC*
                 4500 STEINER RANCH BLVD APT 1106*
                 AUSTIN TX 78732-2315*




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    Total ATM Withdrawals per Location

     Amount          Name
     $ 3,212.00      11521 N FM 620 Austin
     $ 29,711.00     5145 Ranch Road 620 N
     $ 4,424.00      620 N Austin
     $ 19,272.00     7301 N FM 620 Austin
     $    803.00     8111 N FM 620 Austin
     $ 4,818.00      Austin Four Austin
     $ 3,921.00      Austin TX
     $ 66,161.00
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Total Debit Card Purchases By Vendor

Vendor                                                       Total Debits
HEB 451                                                            $5,739.32
SCHLOTZSKYS 3791                                                   $2,251.33
AAA TX MEMBER                                                        $120.50
TWIN LIQUORS 10                                                    $3,891.78
RUDYS COUNTRY STO                                                  $1,430.95
AUSTIN FOUR P AUSTIN TX *Four Seasons                              $4,818.00
JACK BROWN CLEANERS ST                                                $29.23
RANDALLS STORE 2987                                                  $655.01
SHELL SERVICE STATION                                                 $47.28
HEB 659                                                              $259.67
MCDONALDS F25429                                                      $36.00
MR SHARKYS CAR WASH2                                                  $13.00
THE OLIVE GARDEN 00015370                                          $1,916.61
MICHAELS STORES INC 670                                               $11.90
WPY DRS BILLS FOLLOW U                                               $100.00
WHATABURGER 1022                                                      $17.86
GREENPOINT FLORAL                                                    $299.41
MONOGRAM LADY LLC                                                     $86.60
CRAFTED B IAH 22300719                                                $16.78
GETTY IMAGES                                                         $247.89
AUSTIN AIRPORT F B                                                    $85.79
JACK BROWN CLEANERS 52                                              $396.89
TXDPS CHL *Handgun license                                          $145.20
USAA P&C                                                          $3,103.50
TIME WARNER CABLE                                                $11,397.24
STEINER RANCH STEAKHOU                                              $262.00
STEINER RANCH LIQUOR                                              $1,706.98
CHILIS LAKELINE                                                     $432.91
HEB 024                                                             $643.71
HEB GAS 024                                                          $34.74
TJ MAXX                                                             $204.99
PRECISION CAMERA                                                    $907.00
PAPPASITOS CANTINA                                                   $75.00
RED STELLA *Hair salon                                              $247.00
HEB GAS 451                                                          $45.33
AUSTIN ORAL SURGERY                                                  $94.00
BOAT HOUSE GRILL TX                                                  $27.02
JACK BROW CLEANERS 52                                                $36.96
AUSTIN TX                                                         $1,301.94
HOUSTON 1713-699-0 TX                                               $129.00
SPA MONTGOMERTX                                                     $250.00
WSHS & CONS TRUC ALVIN TX                                           $750.00
SCHLOTZSKYS 3791 AUSTIN TX                                          $352.74
CLEANERS 52 AUSTIN TX                                               $215.78
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TX *Liquor store                                                   $578.65
MERCHANT PURCHASE TERMINAL 15410196 OLIVE GARDEN                   $175.61
Internet Check Card Purchase                                       $843.50
Internet/On-Line Transfer Debit                                    $338.23
PURCHASE TERMINAL 87935702 HEB 451                               $1,640.20
OR AUSTIN TX *Liquor store                                         $453.35
PURCHASE TERMINAL 06290445 NST THE HOME DEPOT 232                  $627.70
PURCHASE TERMINAL 11953078 TARGET T                                  $9.87
PURCHASE TERMINAL 29870007 RANDALLS STORE 2987                      $62.81
PURCHASE TERMINAL 29870061 RANDALLS FUEL 2987                       $45.10
ITUNES.COM                                                          $10.81
CANTIN A 0 AUSTIN TX                                               $377.68
IMAGES 877-438-8 WA                                                $323.67
ICEHOUSE AUSTIN TX                                                  $44.50
RANCH STEA KHOU AUSTIN TX                                          $294.00
WARNER CABLE 888-TWCAB TX                                          $463.37
MERCHANT PURCHASE TERMINAL 55432866 TWIN LIQUORS                   $517.55
PURCHASE TERMINAL 29870006 RANDALLS STORE 2987                     $137.54
MERCHANT PURCHASE TERMINAL 75265867 JACK BROWN CL                  $125.63
MERCHANT PURCHASE TERMINAL 55432867 TWIN LIQUORS                   $214.30
MERCHANT PURCHASE TERMINAL 55263527 SCHLOTZSKYS 3                   $37.11
PURCHASE TERMINAL 87603902 HEB 024                                 $157.88
OMO CAPITOL PAIN IN 430 *Pain management services                  $100.00
OMO CAPITOL PAIN IN 281 *Pain management services                  $125.00
SHERLYS *Clothing                                                $1,166.95
FOUR PNTS DENTAL STUDIO                                          $5,024.00
PURCHASE TERMINAL 29870005 RANDALLS STORE 2987                      $90.91
LAKELINE CEDAR PAR TX *Chilis                                      $142.92
RUDYS COUNTRY STO                                                  $498.57
AMAZON                                                             $187.10
AMAZON.COM                                                       $5,653.15
BEST BUY 0932                                                      $227.28
BEST BUY 0382                                                    $1,363.93
BEST BUY 178                                                        $75.76
BEST BUY 0472                                                      $108.51
BEST BUY 0361                                                      $654.83
SERVICES AWS AMAZO WA                                              $300.00
MERCHANT PURCHASE TERMINAL 15410196 BEST BUY.COM                   $216.49
MERCHANT PURCHASE TERMINAL 55432866 AMAZON WEB SE                  $100.00
PURCHASE TERMINAL 06584212 NST BEST BUY 178480                     $215.42
MERCHANT PURCHASE TERMINAL 55432867 AMAZON WEB SE                  $200.00
PURCHASE TERMINAL 04471821 STEINER RANCH LIQU OR                   $394.83
                                                                $69,159.55
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PayPal Payments to Employees/Vendors
Who Had A Marketing Role

Ile Jugovski                            $   42,310.14
Glauber Rodrigues de Alemeid            $   19,156.37
Milorad Sibalic                         $   14,420.78
David Brecken Payne                     $   12,962.34
Ivana Dundjerski                        $    7,709.52
Freefall Agency                         $    7,354.68
Ognjen Kuljic                           $    6,604.00
Nectarina Simona Radu                   $    5,719.48
Shelline Rose Ates                      $    4,627.00
Sherly Enaje                            $    3,875.00
Francis Ronald Aldiano                  $    2,924.75
Hayley Felchak                          $    5,980.00
